    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 1 of 645
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                                                                  Ft·ffi'18120JPl'li21'.:.JJSBCSI!F-tHR




              1
              2     IN THE BANKRUTCY APPELLATE COURT OF THE SOUTHERN
                                                                     DISTRICT OF
              3                              FLORIDA

              4
                  DEBTOR                                        CASE NO: 18-15825
              5
                                                               APPE LLAT E CASE NO.
              6   NUJBIA MAR ELLA PEREZ.
                                                               18-CV-24463-FAM
              7

              8                                                APPE LLAN T THOM AS NEUS OM'S
                                                               APPE LLAT E DESI GNAT ION
              9
          10
         11
         12
         13
         14
         15
                     APPE LLAN T'S DESI GNAT ION OF THE RECO RD ON APPE AL
         16
         17 Appellant, Thomas Neusom, pursuant to Rule 8009 of the Federal Rules
                                                                                 of Bankr                     uptcy
         18 Procedure, designates the items to be included in the record on appeal (18-CV
                                                                                          -24463          -FAM)
         19 as follows:
         20
         21
         22
         23                        (Remainder ofpage intentionally left blank)

         24
        25
        26
         27
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        28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 2 of 645




          1
          2                      Main Case No.: 18-15825

          3
          4 ,--~~F-i-lin-g~D-a-te~~~~·~~~E-C-F~#·~
                                                                        Docket Text
                                                                                                 __   .,.,.,,,..,,,.,
         5
                                             c.J1          Chapter 11 Voluntary Petition. [Fee
                                               (26 pgs;
      6
                                               2 docs)
                                                           Amount $1717] (Attachme nts:# l
                                                           Supplement Small Business
                                                                                                                   I
                                                                                                                   I

      7                                                    Association Personal Guaranty)
                                                           (Neusom, Thomas) (Entered:
      8       05/15/2018                                   05/15/2018)
      9                                                                                       --·-
                                             Q24           Motion to Dismiss Case for Bad Faith
     10                                       (51 pgs)     and Fraud on the Court Filed by
     11                                                    Creditors Andrea Holland, Brian
                                                           Holland. (Russin, Peter) (Entered:
     12       05/30/2018                                   0513012018)

     13                                      Q25           Motion For Sanctions Pursuant to
     14                                       (52 pgs)     FRBP 9011 Attorney Misconduct
                                                           Against Debtor and Debtor's Counsel
     15                                                    and 11 USC § 105 Filed by
                                                           Creditors Andrea Holland, Brian
     16                                                    Holland. (Russin, Peter) (Entered:
              05/30/2018                                   0513012018)
     17
     18                                     Q26            Motion for Relief From The
                                             (51 pgs)      Automatic Stay Filed by Creditors
     19                                                    Andrea Holland , Brian Holland [Part
     20                                                    2 ofECF #24] (Skinner-Grant, Sheila)
              05/30/2018                                   (Entered: 05/31/2018)
     21
     22
                                            Q29            Notice of Hearing (Re: 26 Motion for
     23                                      (1 pg)        Relief From The Automatic Stay Filed
                                                           by Creditors Andrea Holland , Brian
     24                                                    Holland [Part 2 of ECF #24]) Hearing
    25                                                     scheduled for 06/27/2018 11 :00 AM at
                                                           C. Clyde Atkins U.S. Courthouse, 301
    26                                                     N Miami Ave Courtroom 7 (AJC),
              06/01/2018                                   Miami, FL 33128. (Gutierrez, Susan)
    27
                                               2
    28
    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 3 of 645

'




          1

          2
                                                             (Entered: 06/01/2018)
                                                                                  '"                 J   '
                                                'Ill         Notice of Filing Attachment to              I
                                                                                                         I


          3                                       (15 pgs)   [Schedule G,] SBA Contract Filed by     I
                                                                                                     I'
                                                             Debtor Nubia Marcella Perez.
          4                                                  (Neusom, Thomas) Modified on
                                                             6/4/2018**To edit text** (Skinner-      I
                                                                                                     l
          5                                                                                          I
              06/01/2018                                     Grant, Sheila). (Entered: 06/01/2018)
                                                                                                     I
          6
                                                ~33          Certificate of Service ofNotices of
          7                                       (6 pgs)    Hearing and Compliance with Local
          8                                                  Rule 9073-l(D) by Attorney Peter D.
                                                             Russin Esq (Re: 27 Notice of Hearing,
          9                                                  28 Notice of Hearing, 29 Notice of
                                                             Hearing). (Russin, Peter) (Entered:
         10   06/05/2018                                     0610512018)
         11
                                                '139         Agreed Motion to Compromise
         12                                       (15 pgs;   Controversy with D & K International
                                                  4 docs)    Filed by Debtor Nubia Marcella Perez
         13                                                  (Attachments: # l Exhibit State Court
         14                                                  Docket# 2. Exhibit Letter From Wells
                                                             Fargo regarding Garnishment# 1
         15                                                  Exhibit Settlement Agreement)
                                                             (Neusom, Thomas) Modified on
         16                                                  6/14/2018**Incorrect event code used,
                                                             see re-docketed motion DE#42**
         17
                                                             (Skinner-Grant, Sheila). (Entered:
         18 i 06/12/2018                                     06/12/2018)

         19                                    ~42           Emergency Motion For Order To
         20                                       (15 pgs;   Release Garnished Funds to Debtor
                                                  4 docs)    Filed by Debtor Nubia Marcella Perez
         21                                                  . (Attachments) (Skinner-Grant,
              06/12/2018                                     Sheila) (Entered: 06/14/2018)
        22
         23                                    '140          Notice to Filer of Apparent Filing
                                                             Deficiency: Selected Event Does Not
        24                                                   Match PDF Image. THE FILER IS
                                                             DIRECTED TO REFILE
        25                                                   PLEADING USING THE
        26                                                   CORRECT EVENT (Re: 38 Agreed
              06/13/2018                                     Motion to Compromise Controversy
        27
                                                   3
        28
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          1                                              with D and K International Filed by
          2                                              Debtor Nubia Marcella Perez, 39
                                                         Agreed Motion to Compromise
          3                                              Controversy with D & K International
                                                         Filed by Debtor Nubia Marcella Perez
          4                                              (Attachments: # 1 Exhibit State Court
                                                         Docket# 2 Exhibit Letter From Wells
          5
                                                         Fargo regarding Garnishment # 3
          6                                              Exhibit Settlement Agreement))
                                                         (Skinner-Grant, Sheila) (Entered:
          7                                              06/13/2018)
      8
                                            ~44         Notice of Appearance and Request for
      9                                       (2 pgs)   Service by Howard S Toland Filed by
                                                        Creditor Valley National Bank.
     10                                                 (Toland, Howard) (Entered:
              06/14/2018                                06/14/201
     11
     12                                     ~50         First Response to 25 Motion For
                                              (3 pgs)   Sanctions Pursuant to FRBP 9011
     13                                                 Attorney Misconduct Against Debtor
     14                                                 and Debtor's Counsel and 11 USC§
                                                        105 filed by Creditor Brian Holland,
     15                                                 Creditor Andrea Holland, (Neusom,
                                                        Thomas). Modified on 6/27/2018**To
     16                                                 correct linkage** (Skinner-Grant,
              06/26/2018                                Sheila). (Entered: 06/26/2018)
     17
     18
                                            ~54         BNC Certificate of Mailing - PDF
     19                                       (4 pgs)   Document (Re: 52 Omnibus Order On
     20                                                 (1) Landlord's Motion to Dismiss
                                                        Chapter 11 Bankruptcy Petition For
     21                                                 Bad Faith and Fraud on the Court and
                                                        For Relief From the Automatic Stay
     22                                                 (Re: 24), (2) United States Trustee's
     23                                                 Motion to Dismiss or Convert Case
                                                        (Re: 46), (3) Debtor's Motion to
     24                                                 Dismiss Bankruptcy Case (Re: 49),
                                                        and (4) Landlord's Motion For
    25                                                  Sanctions Pursuant to Bankruptcy
                                                        Rule 9011 and 11 U.S.C. § 105.
    26 07/01/2018
                                                        Evidentiary Hearing On: (Re: 25
    27
                                              4
    28
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      1                                                 Motion For Sanctions Pursuant to
                                                        FRBP 9011 Attorney Misconduct
      2
                                                        Against Debtor and Debtor's Counsel
      3                                                 and 11 U.S.C. § lOS Filed by
                                                        Creditors Andrea Holland, Brian
      4                                                 Holland.) Evidentiary Hearing
                                                        scheduled for 07/27/2018 at 02:00 PM
      5                                                 at C. Clyde Atkins U.S. Courthouse,
      6                                                 301 N Miami Ave Courtroom 7
                                                        (AJC), Miami, FL 33128. Dismissal
      7                                                 Shall Be with 180 Days Prejudice
                                                        [Filing Fee Balance Due: $0.00].)
      8                                                 Notice Date 07/01/2018. (Admin.)
                                                        (Entered: 0710212018)
      9
     10                                     ass         Certificate of Service by Attorney
                                              (2 pgs)   Peter D. Russin Esq (Re: S2 Order on
     11                                                 Miscellaneous Motion, Order on
     12                                                 Motion to Dismiss Case, Order on
                                                        Motion to Convert Case to Chapter 7,
     13                                                 Order on Motion to Dismiss Case,
                                                        Order on Motion to Dismiss Case,
     14                                                 Order on Motion For Relief From
                                                        Stay). (Russin, Peter) (Entered:
     15
          07/03/2018                                    0710312018)
     16
                                           as6          Request for Notice Filed by Creditor
     17                                       (2 pgs)   Nationstar Mortgage LLC.
     18                                                 (Rodriguez, Nathalie) (Entered:
          07/0S/2018                                    07/0S/2018)
     19
                                                                                                '
                                           as8          Witness List Filed by Creditors
     20                                      (6 pgs)    Andrea Holland, Brian Holland.
     21 I 0111612018                                    (Russin, Peter) (Entered: 07/16/2018)

     22                                    as9          Notice of Filing WITNESS AND
                                             (3 pgs)    EXHIBIT LIST by Attorney Thomas G
     23
                                                        Neusom. (Neusom, Thomas) (Entered:
     24   07/16/2018                                    07/16/2018)

     25                                    a6o          First Motion for Abstention on
                                             (10 pgs)   Sanction Motion Filed by Debtor         I
     26
          07/26/2018                                    Nubia Marcella Perez. (Neusom,
    27                                                                                          I
                                               s
    28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 6 of 645




          1                                               Thomas) (Entered: 0712612018)
          2
                                             ~Ql          Order Grantin g Landlord's Ore Tenus
          3                                    (2 pgs)    Motion to Continu e Hearing On (Re:
                                                          25 Landlord's Motion for Sanctions
          4                                               filed by Creditor Brian Holland,
          5                                               Creditor Andrea Holland). Hearing
                                                          scheduled for 08/15/2018 at 03:00 PM           I
          6                                               at C. Clyde Atkins U.S. Courthouse,
                                                          301 N Miami Ave Courtro om 7
          7                                               (AJC), Miami, FL 33128. (Snipes,
               07/30/2018                                 Jeanne) (Entered: 07/30/2018)
         8
         9                                  ~62          Notice of Hearing (Re: 60 First
     10
                                              (1 pg)     Motion for Abstent ion on Sanction          I
                                                         Motion Filed by Debtor Nubia
     11                                                  Marcella Perez.) Hearing scheduled
                                                         for 08/15/2018 at 03:00 PM at C.
     12                                                  Clyde Atkins U.S. Courthouse, 301 N
                                                         Miami Ave Courtro om 7 (AJC),
     13                                                  Miami, FL 33128. (Gutierrez, Susan)
              07/30/2018                                 (Entered: 07/30/2018)
     14
                                                                                                     !
     15                                     ~63          Certificate of Service by Attorney
                                              (2 pgs)    Utibe I Ikpe (Re: Ql Order Continuing
     16                                                  Hearing). (Ikpe, Utibe) (Entered:
              07/31/2018                                 07/31/2018)
     17
                                                                                             -~,




     18                                     ~64           Supplemental Response to (25 Motion
                                              (20 pgs;   For Sanctions Pursuant to FRBP 9011
     19                                       2 docs)    Attorney Miscond uct Against Debtor
     20                                                  and Debtor's Counsel and 11 USC§
                                                         105 filed by Creditor Brian Holland,    I
     21                                                  Creditor Andrea Holland) Motion To
                                                         Abstain Filed by Debtor Nubia
     22                                                  Marcella Perez (Attachments: # l
     23                                                  Supplem ent Supplem ent To Motion
                                                         To Strike) (Neusom, Thomas)
     24       08/14/2018                                 (Entered: 08/14/2018)

     25                                    ~65           Supplemental to Opposition to (25
                                                                                                 !




    26                                       (22 pgs;    Motion For Sanctions Pursuant to
              08/15/2018                     2 docs)     FRBP 9011 Attorne y Misconduct
    27
                                              6
    28
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      1                                                Against Debtor and Debtor's Counsel

      2
                                                       and 11 US.C. § 105 filed by Creditor     I
                                                       Brian Holland, Creditor Andrea
      3                                                Holland) Opposition Filed by Debtor
                                                       Nubia Marcella Perez (Attachments: #
      4                                                l Exhibit) (Neusom, Thomas)              I
                                                       Modified on 8/15/2018 to Add and
      5                                                Remove Verbiage (Catala, Nilda).
      6                                                (Entered: 08/15/2018)                  I
                                                                                          _"__J
      7                                     Q66        Notice of Evidentiary Hearing (Re: 25
                                             (1 pg)    Motion For Sanctions Pursuant to
      8                                                FRBP 9011 Attorney Misconduct
      9                                                Against Debtor and Debtor's Counsel
                                                       and 11 US.C. § 105 Filed by
     10                                                Creditors Andrea Holland, Brian
                                                       Holland.) Evidentiary Hearing
     11                                                scheduled for 09/28/2018 at 02:00 PM
                                                       at C. Clyde Atkins U.S. Courthouse,
     12
                                                       301 N Miami Ave Courtroom 7
     13                                                (AJC), Miami, FL 33128. (Gutierrez,
          08/16/2018                                   Susan) (Entered: 08/16/2018)
     14
     15                                     Q67        BNC Certificate of Mailing - Hearing
                                             (2 pgs)   (Re: 66 Notice ofEvidentiary Hearing
     16                                                (Re: 25 Motion For Sanctions
                                                       Pursuant to FRBP 9011 Attorney
     17                                                Misconduct Against Debtor and
                                                       Debtor's Counsel and 11 US.C. § 105
     18
                                                       Filed by Creditors Andrea Holland,
     19                                                Brian Holland.) Evidentiary Hearing
                                                       scheduled for 09/28/2018 at 02:00 PM
     20                                                at C. Clyde Atkins U.S. Courthouse,
                                                       301 N Miami Ave Courtroom 7
     21
                                                       (AJC), Miami, FL 33128.) Notice
     22                                                Date 08/18/2018. (Admin.) (Entered:
          08/18/2018                                   08/19/2018)
     23
                                           Q68         Certificate of Service of Notice of
     24
                                            (2 pgs)    Evidentiary Hearing and Compliance
     25                                                with Local Rule 9073-1 (DJ by
                                                       Attorney Utibe I Ikpe (Re: 66 Notice
     26   08/20/2018                                   of Evidentiary Hearing). (Ikpe, Utibe)
     27
                                               7
     28
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      2
          1                                            (Entered: 08/20/2018)
                                                                                               J
                                                                                               i

                                            Q69        Omnibus Order (1) Denying Debtor's      I
      3                                      (2 pgs)   Motion to Strike For Summary Denial

      4
                                                       of Landlord Holland's Motion For        I
                                                                                               l

                                                       Sanctions Due to Lack of Jurisdiction
      5                                                (Re: # @and Supplement (Re: # 21)       I
                                                       thereto; and (2) Resetting Landlord's
      6                                                Motion For Sanctions, (Re: 25 Motion
                                                       For Sanctions Pursuant to FRBP 9011
      7                                                Attorney Misconduct Against Debtor
                                                       and Debtor's Counsel and 11 U.S.C. §
      8
                                                       105 Filed by Creditors Andrea
      9                                                Holland, Brian Holland.) Evidentiary
                                                       Hearing scheduled for 09/28/2018 at
     10                                                02:00 PM at C. Clyde Atkins U.S.
                                                       Courthouse, 301 N Miami Ave
     11                                                Courtroom 7 (AJC), Miami, FL
     12                                                33128. (Snipes, Jeanne) (Entered:
              08/2112018                               08/21/2018)
     13
                                            Q70        Certificate of Service by Attorney
     14
                                             (2 pgs)   Utibe I lkpe (Re: 69 Order on
     15                                                for Abstention). (lkpe, Utibe)
              08/22/2018                               (Entered: 08/22/2018)
     16
                                            Qll        Motion to Continue Hearing On: [(69
     17
                                             (3 pgs)   Order on Motion for Abstention)]
     18                                                Filed by Debtor Nubia Marcella Perez.
                                                       (Neusom, Thomas) (Entered:
     19       09/21/2018                               09/2112018)
     20
                                           Q72         Notice of Hearing (Re: l1 Motion to
     21                                     (1 pg)     Continue Hearing On: [(69 Order on
                                                       Motion for Abstention)] Filed by
     22                                                Debtor Nubia Marcella Perez.)
                                                       Hearing scheduled for 09/24/2018 at
     23
                                                       11 :00 AM at C. Clyde Atkins U.S.
     24                                                Courthouse, 301 N Miami Ave
                                                       Courtroom 7 (AJC), Miami, FL
    25                                                 33128. (Gutierrez, Susan) (Entered:
              09/2112018                               09/2112018)
    26
    27
                                               8
    28
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          1                                 ia13          Objection To the Testimony of Coletti
                                              (3 pgs)     and Motion Strike Colletti's Testimony
          2
                                                          Filed by Debtor Nubia Marcella Perez.
          3                                               (Neusom, Thomas) Modified on
                                                          9/27/2018**To edit text** (Skinner-
      4                                                   Grant, Sheila). Modified on 9/28/2018
                                                          (Skinner-Grant, Sheila). (Entered:
      5       09/27/2018                                  09/27/2018)
      6
                                            ia14         First Motion In Limine Filed by
      7                                       (4 pgs)    Debtor Nubia Marcella Perez.
                                                         (Neusom, Thomas) Modified on
      8
                                                         9/28/2018**To edit text** (Skinner-
      9       09/27/2018                                 Grant, Sheila). (Entered: 09/27/2018)

     10                                     ia15         First Motion for Rehearing Filed by
     11                                       (18 pgs)   Debtor Nubia Marcella Perez.
                                                         (Neusom, Thomas) Modified on
     12                                                  9/28/2018**To edit text** (Skinner-
              09/27/2018                                 Grant, Sheila). (Entered: 09/27/2018)
     13

     14                                     ia11          Notice of Appeal and Election to
                                              (5 pgs)     Appeal To District Court Filed by
     15                                                   Debtor Nubia Marcella Perez (Re: 69
                                                          Omnibus Order (1) Denying Debtor's
     16                                                   Motion to Strike For Summary Denial
     17                                                   of Landlord Holland's Motion For
                                                                                                 I
                                                          Sanctions Due to Lack of Jurisdiction 'l
     18                                                  (Re: 60)and Supplement (Re: 64)
                                                         thereto; and (2) Resetting Landlord's
     19                                                  Motion For Sanctions, (Re: 25 Motion
                                                         For Sanctions Pursuant to FRBP 9011
     20                                                                                            I
                                                         Attorney Misconduct Against Debtor
     21                                                  and Debtor's Counsel and 11 U.S.C. §
                                                         105 Filed by Creditors Andrea
     22                                                  Holland, Brian Holland.) Evidentiary
                                                         Hearing scheduled for 09/28/2018 at
     23                                                  02:00 PM at C. Clyde Atkins U.S.
     24                                                  Courthouse, 301 N Miami Ave
                                                         Courtroom 7 (AJC), Miami, FL
    25                                                   33128.). [Fee Amount $298]
                                                         (Neusom, Thomas) Appellant
    26 09/30/2018                                        Designation due 10115/2018. Related
    27
                                               9
    28
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                                     645




     1                                                 document(s) 76 Order on Motion to
                                                       Continue Hearing. Modified on
     2                                                 10/2/2018**To add linkage**
     3                                                 (Skinner-Grant, Sheila). (Entered:
                                                       09/30/2018)
     4
                                           Q78          **REDOCKETED; NO IMAGE
     5
                                                       ATTACHED, SEE ECF # fil_ FOR
     6                                                 CORRECTED ENTRY** Transmittal
                                                       to US District Court (Re: 77 Notice of
     7                                                 Appeal and Election to Appeal To
                                                       District Court Filed by Debtor Nubia
     8                                                 Marcella Perez (Re: 69 Omnibus
     9                                                 Order (1) Denying Debtor's Motion to
                                                       Strike For Summary Denial of
    10                                                 Landlord Holland's Motion For
                                                       Sanctions Due to Lack of Jurisdiction
    11                                                 (Re: 60)and Supplement (Re: 64)
    12                                                 thereto; and (2) Resetting Landlord's
                                                       Motion For Sanctions, (Re: 25 Motion
    13                                                 For Sanctions Pursuant to FRBP 9011
                                                       Attorney Misconduct Against Debtor
    14                                                 and Debtor's Counsel and 11 U.S.C. §
                                                       105 Filed by Creditors Andrea
    15
                                                       Holland, Brian Holland.) Evidentiary
    16                                                 Hearing scheduled for 09/28/2018 at
                                                       02:00 PM at C. Clyde Atkins U.S.
    17                                                 Courthouse, 301 N Miami Ave
                                                       Courtroom 7 (AJC), Miami, FL
    18
                                                       33128.). [Fee Amount $298]
    19                                                 (Neusom, Thomas) Appellant
                              '                        Designation due 10/15/2018.) (Cohen,
    20                                                 Diana). Modified on 10/2/2018
         10/02/2018                                    (Cohen, Diana). (Entered: 10/02/2018)
    21
    22                                     Q79         Certificate of Service by Attorney
                                            (2 pgs)    Utibe I lkpe (Re: 76 Order on Motion
    23
         10/02/2018
                              I                        to Continue Hearing). (Ikpe, Utibe)
                                                       (Entered: 10/02/2018)
    24                        I
    25                                     Q8o         Clerk's Notice of Mailing of (Re: 77
                                            (12 pgs;   Notice of Appeal and Election to
    26   10/02/2018                         4 docs)    Appeal To District Court Filed by
    27
                                             10
    28
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                                     645




     1                                                  Debtor Nubia Marcella Perez (Re: 69
                                                        Omnibus Order (1) Denying Debtor's
     2
                                                        Motion to Strike For Summary Denial
     3                                                  of Landlord Holland's Motion For
                                                        Sanctions Due to Lack of Jurisdiction
     4                                                  (Re: 60)and Supplement (Re: 64)
                                                       thereto; and (2) Resetting Landlord's
     5                                                 Motion For Sanctions, (Re: 25 Motion
     6                                                 For Sanctions Pursuant to FRBP 9011
                                                       Attorney Misconduct Against Debtor
     7                                                 and Debtor's Counsel and 11 U.S.C. §
                                                       105 Filed by Creditors Andrea
     8                                                 Holland, Brian Holland.) Evidentiary
     9                                                 Hearing scheduled for 09/28/2018 at
                                                       02:00 PM at C. Clyde Atkins U.S.
    10                                                 Courthouse, 301 N Miami Ave
                                                       Courtroom 7 (AJC), Miami, FL
    11                                                 33128.). [Fee Amount $298]
                                                       (Neusom, Thomas) Appellant
    12
                                                       Designation due 10/15/2018. Related
    13                                                 document(s) 76 Order on Motion to
                                                       Continue Hearing. Modified on
    14                                                 10/2/2018**To add linkage** .)
                                                       (Attachments: # l Main Document# 2.
    15                                                 Main Document) (Skinner-Grant,
    16                                                 Sheila) (Entered: 10/02/2018)

    17                                    ~ fil.       Transmittal to US District Court (Re:
                                             (2 pgs)   77 Notice of Appeal and Election to
    18
                                                       Appeal To District Court Filed by
   19                                                  Debtor Nubia Marcella Perez (Re: 69
                                                       Omnibus Order (1) Denying Debtor's
   20                                                  Motion to Strike For Summary Denial
                                                       of Landlord Holland's Motion For
   21                                                  Sanctions Due to Lack of Jurisdiction
   22                                                  (Re: 60)and Supplement (Re: 64)
                                                       thereto; and (2) Resetting Landlord's
   23                                                  Motion For Sanctions, (Re: 25 Motion
                                                       For Sanctions Pursuant to FRBP 9011
   24                                                  Attorney Misconduct Against Debtor I
                                                                                             I
                                                       and Debtor's Counsel and 11 U.S.C. §
   25
                                                       105 Filed by Creditors Andrea            I
   26                                                  Holland, Brian Holland.) Evidentiary I
         10/02/2018                                                                          !
                                                       Hearing scheduled for 09/28/2018 at
   27                                                                                           I
                                             11
   28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 12 of
                                     645




        1                                              02:00 PM at C. Clyde Atkins U.S.
                                                       Courthouse, 301 N Miami Ave
        2
                                                       Courtroom 7 (AJC), Miami, FL 33128
        3                                              AND 76 Order on Motion to Continue
                                                       Hearing.). [Fee Amount $298]
     4                                                 (Neusom, Thomas)) (Cohen, Diana)
                                                       (Entered: 10/02/2018)
     5

     6                                     Q82        Order Denying Debtor's Motion In
                                            (2 pgs)   Limine to the Testimony of Joseph
     7                                                Colletti and For Summary Denial of
                                                      Landlord Holland's Motion For
     8
                                                      Sanctions Re:# 74 (Snipes, Jeanne)
     9      10/02/2018                                (Entered: 10/02/2018)

    10                                     Q83        Order Denying Debtor's Motion For
    11
                                            (2 pgs)   Rehearing of the Denial of the Motion
                                                      to Abstain From Hearing, Strike, or
    12                                                Summarily Deny Landlord Holland's
                                                      Motion For Sanctions Due to Lack of
    13                                                Jurisdiction and Other Grounds Re: #
                                                      75 (Snipes, Jeanne) (Entered:
    14      10/02/2018                                10/02/2018)
    15
                                          Q84         Order Over Ruling Debtor's Objection
    16                                     (2 pgs)    to the Testimony of Colletti and
    17                                                Motion to Strike For Summary Denial
                                                      of Landlord Holland's Motion For
    18                                                Sanctions Re:# 73 (Snipes, Jeanne)
            10/02/2018                                (Entered: 10/02/2018)
    19
   20                                     Q85         Notice of U.S. District Court Case
                                                      Assignment. Case Number: 18-cv-
   21                                                 24051-RNS (Re: 77 Notice of Appeal
                                                      and Election to Appeal To District
   22                                                 Court Filed by Debtor Nubia Marcella
   23                                                 Perez (Re: 69 Omnibus Order (1)
                                                      Denying Debtor's Motion to Strike For
   24                                                 Summary Denial of Landlord
                                                      Holland's Motion For Sanctions Due
   25                                                 to Lack of Jurisdiction (Re: QQ)and
                                                      Supplement (Re: M) thereto; and (2)
   26       10/02/2018                                Resetting Landlord's Motion For
                             I
   27
                                             12
   28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 13 of
                                     645




     1                                                 Sanctions, (Re: 25 Motion For
                                                       Sanctions Pursuant to FRBP 9011
     2
                                                       Attorney Misconduct Against Debtor
     3                                                 and Debtor's Counsel and 11 U.S.C. §
                                                       105 Filed by Creditors Andrea
     4                                                 Holland, Brian Holland.) Evidentiary
                                                       Hearing scheduled for 09/28/2018 at
     5                                                 02:00 PM at C. Clyde Atkins U.S.
     6                                                 Courthouse, 301 N Miami Ave
                                                       Courtroom 7 (AJC), Miami, FL
     7                                                 33128.). [Fee Amount $298]
                                                       (Neusom, Thomas) 76 Order on
     8                                                 Motion to Continue Hearing. (Lebron,
                                                       Lorraine) (Entered: 10/02/2018)
     9

    10                                    ~86          First Response to (83 Order on
                                            (19 pgs)   Miscellaneous Motion) Filed by
    11                                                 Debtor Nubia Marcella Perez
    12                                                 (Neusom, Thomas) (Entered:
         10/02/2018                                    10/02/2018)
    13
                                          ~87          Notice of Transmittal of PDF
    14                                      (2 pgs)    Document to BNC for Noticing (Re:
    15                                                 fil Transmittal to US District Court
                                                       (Re: 77 Notice of Appeal and Election
    16                                                 to Appeal To District Court Filed by
                                                       Debtor Nubia Marcella Perez (Re: 69
   17                                                  Omnibus Order (1) Denying Debtor's
   18                                                  Motion to Strike For Summary Denial
                                                       of Landlord Holland's Motion For
   19                                                  Sanctions Due to Lack of Jurisdiction
                                                       (Re: 60)and Supplement (Re: 64)
   20                                                  thereto; and (2) Resetting Landlord's
                                                       Motion For Sanctions, (Re: 25 Motion
   21
                                                       For Sanctions Pursuant to FRBP 9011
   22                                                  Attorney Misconduct Against Debtor
                                                       and Debtor's Counsel and 11 U.S.C. §
   23                                                  105 Filed by Creditors Andrea
                                                       Holland, Brian Holland.) Evidentiary
   24
                                                       Hearing scheduled for 09/28/2018 at
   25                                                  02:00 PM at C. Clyde Atkins U.S.
                                                       Courthouse, 301 N Miami Ave
   26                                                  Courtroom 7 (AJC), Miami, FL 33128
         10/03/2018                                    AND 76 Order on Motion to Continue
   27
                                             13
   28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 14 of
                                     645




        1                                             Hearing.). [Fee Amount $298]             I
                                                      (Neusom, Thomas))) (Cohen, Diana)        I
     2
                                                      (Entered: 10/03/2018)            _J
     3
                                          '389         BNC Certificate of Mailing (Re: 80
     4                                      (4 pgs)    Clerk's Notice of Mailing of (Re: 77
     5                                                 Notice of Appeal and Election to
                                                       Appeal To District Court Filed by
     6                                                 Debtor Nubia Marcella Perez (Re: 69
                                                       Omnibus Order (1) Denying Debtor's      I
     7                                                 Motion to Strike For Summary Denial
                                                       of Landlord Holland's Motion For
     8
                                                       Sanctions Due to Lack of Jurisdiction
     9                                                (Re: 60)and Supplement (Re: 64)
                                                      thereto; and (2) Resetting Landlord's
    10                                                Motion For Sanctions, (Re: 25 Motion
                                                      For Sanctions Pursuant to FRBP 9011
    11                                                Attorney Misconduct Against Debtor
    12                                                and Debtor's Counsel and 11 U.S.C. §
                                                       105 Filed by Creditors Andrea
    13                                                Holland, Brian Holland.) Evidentiary
                                                      Hearing scheduled for 09/28/2018 at
    14                                                02:00 PM at C. Clyde Atkins U.S.
                                                      Courthouse, 301 N Miami Ave
    15
                                                      Courtroom 7 (AJC), Miami, FL
    16                                                33128.). [Fee Amount $298]
                                                      (Neusom, Thomas) Appellant
    17                                                Designation due 10/15/2018. Related
                                                      document(s) 76 Order on Motion to
   18
                                                      Continue Hearing. Modified on
   19                                                 10/2/2018**To add linkage**.)
                                                      (Attachments: # 1 Main Document # 2
   20                                                 Main Document)) Notice Date
                                                      10/04/2018. (Admin.) (Entered:
   21       10/04/2018                                10/05/2018)
   22
                                          '390
                                            (6 pgs)




            10/04/2018

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        1                                               Holland's Motion For Sanctions Due
        2                                               to Lack of Jurisdiction (Re: 60)and
                                                        Supplement (Re: Q1) thereto; and (2)
        3                                              Resetting Landlord's Motion For
                                                        Sanctions, (Re: 25 Motion For
     4                                                  Sanctions Pursuant to FRBP 9011
                                                       Attorney Misconduct Against Debtor
     5
                                                       and Debtor's Counsel and 11 U.S.C. §
     6                                                  105 Filed by Creditors Andrea
                                                       Holland, Brian Holland.) Evidentiary
     7                                                 Hearing scheduled for 09/28/2018 at
                                                       02:00 PM at C. Clyde Atkins U.S.
     8                                                 Courthouse, 301 N Miami Ave
     9                                                 Courtroom 7 (AJC), Miami, FL
                                                       33128.). [Fee Amount $298]
    10                                                 (Neusom, Thomas) Appellant
                                                       Designation due 10/15/2018. Related
    11                                                 document(s) 76 Order on Motion to
                                                       Continue Hearing. Modified on
    12
                                                       10/2/2018**To add linkage**. )
    13                                                 (Attachme nts:# 1 Main Document # 2
                                                       Main Document)) Notice Date
    14                                                 10/04/2018. (Admin.) (Entered:
                                                       10/05/2018)
    15

    16                                    ~91          Findings of Fact and Conclusions of
                                            (11 pgs)   Law On Brian and Andrea Holland's
    17                                                 Motion For Sanctions Under
                                                       Bankruptcy Rule 9011 and 11 U.S.C.
   18
                                                       § 105 (Re: 25 Motion for Sanctions
   19                                                  filed by Creditor Brian Holland,
                                                       Creditor Andrea Holland). (Snipes,
   20        10/05/2018                                Jeanne) (Entered: 10/05/2018)
   21
                                          ~92          BNC Certificate of Mailing - PDF
   22                                       (3 pgs)    Document (Re: 87 Notice of
                                                       Transmittal of PDF Document to BNC
   23                                                  for Noticing (Re: .fil_ Transmittal to US
                                                       District Court (Re: 77 Notice of
   24
                                                       Appeal and Election to Appeal To
   25                                                  District Court Filed by Debtor Nubia
                                                       Marcella Perez (Re: 69 Omnibus
   26                                                  Order (1) Denying Debtor's Motion to
         f   10/05/2018                                Strike For Summary Denial of
   27
                                            15
   28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 16 of
                                     645




        1   l                                           Landlord Holland's Motion For
        2                                               Sanctions Due to Lack of Jurisdiction
                                                        (Re: 60)and Supplement (Re: 64)
        3                                              thereto; and (2) Resetting Landlord's
                                                       Motion For Sanctions, (Re: 25 Motion
        4                                              For Sanctions Pursuant to FRBP 9011
                                                       Attorney Misconduct Against Debtor
        5
                                                       and Debtor's Counsel and 11 U.S.C. §
        6                                               105 Filed by Creditors Andrea
                                                       Holland, Brian Holland.) Evidentiary
        7                                              Hearing scheduled for 09/28/2018 at
                                                       02:00 PM at C. Clyde Atkins U.S.
     8                                                 Courthouse, 301 N Miami Ave
     9                                                 Courtroom 7 (AJC), Miami, FL 33128
                                                       AND 76 Order on Motion to Continue
    10                                                 Hearing.). [Fee Amount $298]
                                                       (Neusom, Thomas)))) Notice Date
    11                                                 10/05/2018. (Admin.) (Entered:
    12 I                                               10/06/2018)

    13                                    ~93          BNC Certificate of Mailing - PDF
                                            (12 pgs)   Document (Re: 91 Findings of Fact
    14                                                 and Conclusions of Law On Brian and
    15                                                 Andrea Holland's Motion For
                                                       Sanctions Under Bankruptcy Rule
    16                                                 9011 and 11 U.S.C. § 105 (Re: 25
                                                       Motion for Sanctions filed by Creditor
    17                                                 Brian Holland, Creditor Andrea
                                                       Holland).) Notice Date 10/07/2018.
    18      10/07/2018                                 (Admin.) (Entered: 10/08/2018)
    19
                                          ~94          Certificate of Service by Attorney       i
   20                                       (2 pgs)    Utibe I Ikpe (Re: 91 Findings of Fact
   21                                                  and Conclusions of Law). (Ikpe,
            10/08/2018                                 Utibe) (Entered: 10/08/2018)
   22                                                                                           )
                                          ~95          Certificate of Service by Attorney
   23                                       (5 pgs)    Utibe I Ikpe (Re: 82 Order on
   24                                                  Miscellaneous Motion, 83 Order on
                                                       Miscellaneous Motion, 84 Order on
   25                                                  Miscellaneous Motion). (Ikpe, Utibe)
            10/12/2018                                 (Entered: 10/12/2018)
   26
   27
                                            16
   28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 17 of
                                     645




                                                                                                         i
        1                                      Q96           Motion to Recuse Judge Filed by
                                                (38 pgs;     Debtor Nubia Marcella Perez.
     2
                                                4 docs)      (Attachments:# l Local Form 11 # 2
     3                                                       Exhibit#~ Exhibit) (Neusom,
            10/15/2018                                       Thomas) (Entered: 10/15/2018)
     4
     5                    ~97          First Motion to Reconsider (Re: 21 Findings of Fact and
                            (34 pgs;   Conclusions of Law) Filed by Debtor Nubia Marcella Perez.
     6                      2 docs)    (Attachments:# l Exhibit) (Neusom, Thomas) (Entered:
            10/16/2018                 10/16/2018)
     7 :

     8 I                  ~98          Order Dismissing Appeal for Failure by Appellant(s) to
                           (2 pgs)     Timely File Designation or Statement of Issues, (Re: 77
     9                                 Notice of Appeal filed by Debtor Nubia Marcella Perez).
            10/16/2018                 (Snipes, Jeanne) (Entered: 10/16/2018)
    10
                                                                                                     i


    11                   ~99           Order Denying Motion to Recuse Judge (Re: # 96)
            10/18/2018     (3 pgs)     (Gutierrez, Susan) (Entered: 10/18/2018)
    12                                                                                               i


                         ~100          Order Denying Motion To Vacate.# 97 (Gutierrez, Susan)
    13
            10/18/2018     (2 pgs)     (Entered: 10/18/2018)
    14
                         ~101          BNC Certificate of Mailing - PDF Document (Re: 98 Order
   15                      (3 pgs)     Dismissing Appeal for Failure by Appellant(s) to Timely
    16                                 File Designation or Statement of Issues, (Re: 77 Notice of
                                       Appeal filed by Debtor Nubia Marcella Perez).) Notice Date
   17       10/18/2018                 10/18/2018. (Admin.) (Entered: 10/19/2018)
   18
                         ~102          Notice of Appeal and Election to Appeal To District Court
   19                      (23 pgs;    Filed by Debtor Nubia Marcella Perez (Re: 82 Order
                           6 docs)     Denying Debtor's Motion In Limine to the Testimony of
   20                                  Joseph Colletti and For Summary Denial of Landlord
                                       Holland's Motion For Sanctions Re: 74, 83 Order Denying
   21                                  Debtor's Motion For Rehearing of the Denial of the Motion
   22                                  to Abstain From Hearing, Strike, or Summarily Deny
                                       Landlord Holland's Motion For Sanctions Due to Lack of
   23                                  Jurisdiction and Other Grounds Re: 75, 84 Order Over
                                       Ruling Debtor's Objection to the Testimony of Colletti and
   24                                  Motion to Strike For Summary Denial of Landlord
   25                                  Holland's Motion For Sanctions Re: 73, 21 Findings of Fact
                                       and Conclusions of Law On Brian and Andrea Holland's
   26                                  Motion For Sanctions Under Bankruptcy Rule 9011 and 11
         110/19/2018                   U.S.C. § 105 (Re: 25 Motion for Sanctions filed by Creditor
   27
                                                 17
   28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 18 of
                                     645




        1I
                                                                                                             ;


                                             Brian Holland, Creditor Andrea Holland)., 99 Order
                                             Denying Motion to Recuse Judge (Re: .2.Q), 100 Order
        2
                                             Denying Motion To Vacate. 21). (Attachments: # l Exhibit
        3                                    CONCLUSIONS ORDER# 2 Exhibit SUMMARY
                                             DENIASL ORDER# J Exhibit VACATE DENIAL # 1
        4                                    Exhibit RECUSAL DENIAL # ~ Exhibit MOTION IN
                                             LIMINE DENIAL) [Fee Amount $298] Appellant
     5                                       Designation due 11/2/2018 .. (Neusom, Thomas) (Entered:
     6                                       10/19/2018)

     7      I                ~              Receipt of Notice of Appeal(18-15825-AJC) [appeal,ntcapl]
                                            ( 298.00) Filing Fee. Receipt number 33030040. Fee
     8          10/19/2018                  amount 298.00. (U.S. Treasury) (Entered: 10/19/2018)
     9
                             ~103           Notice of Appeal and Election to Appeal To District Court
    10                           (14 pgs;   Amended Notice OfAppeal Filed by Debtor Nubia Marcella
    11
                                 2 docs)    Perez (Re: 21 Findings of Fact and Conclusions of Law On
                                            Brian and Andrea Holland's Motion For Sanctions Under
    12                                      Bankruptcy Rule 9011 and 11 U.S.C. § 105 (Re: 25 Motion
                                            for Sanctions filed by Creditor Brian Holland, Creditor
    13                                      Andrea Holland).). (Attachme nts:# l Exhibit) [Appeal Fee
                                            of 298.00 NOT Paid] - Previously paid. Appellant
    14
                                            Designation due 1117/2018 .. (Neusom, Thomas) (Entered:
    15          10/24/2018                  10/24/2018)
                                                                                                         ;
    16                       ~104           Clerk's Notice of Mailing of (Re: 103 Notice of Appeal and
    17
                              (18 pgs;      Election to Appeal To District Court Amended Notice Of       I
                              2 docs)       Appeal Filed by Debtor Nubia Marcella Perez (Re: 21
    18                                      Findings of Fact and Conclusions of Law On Brian and
                                            Andrea Holland's Motion For Sanctions Under Bankruptcy
    19                                      Rule 9011and1 1 U.S.C. § 105 (Re: 25 Motion for
                                            Sanctions filed by Creditor Brian Holland, Creditor Andrea
   20                                       Holland).). (Attachments: # 1 Exhibit) [Appeal Fee of
   21                                       298.00 NOT Paid] - Previously paid. Appellant
                                            Designation due 11/7/2018 .. ) (Snipes, Jeanne) (Entered:
   22           10/25/2018                  10/25/2018)
   23
                             ~105           Transmittal of Proceeding to US District Court. (Re: 103
   24                         (1 pg)        Notice of Appeal and Election to Appeal To District Court
                                            Amended Notice OfAppeal Filed by Debtor Nubia Marcella
   25                                       Perez (Re: 91 Findings of Fact and Conclusions of Law On
                                            Brian and Andrea Holland's Motion For Sanctions Under
   26       10/25/2018                      Bankruptcy Rule 9011 and 11 U.S.C. § 105 (Re: 25 Motion
   27
                                                      18
   28
    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 19 of
                                         645
•




          1I                               for Sanctions filed by Creditor Brian Holland, Creditor
          2
                                           Andrea Holland).). (Attachments:# 1 Exhibit) (Cohen,              I
                                           Diana) (Entered: 10/25/2018)
          3
                              alo6         Notice of Transmittal of PDF Document to BNC for
          4                     (1 pg)     Noticing (Re: 105 Transmittal of Proceeding to US District
                                           Court. (Re: 103 Notice of Appeal and Election to Appeal To
          5
                                           District Court Amended Notice OfAppeal Filed by Debtor
          6                                Nubia Marcella Perez (Re: 21 Findings of Fact and
                                           Conclusions of Law On Brian and Andrea Holland's Motion
          7                                For Sanctions Under Bankruptcy Rule 9011 and 11 U.S.C. §
                                           105 (Re: 25 Motion for Sanctions filed by Creditor Brian
         8                                 Holland, Creditor Andrea Holland).). (Attachments:# 1
         9     10/25/2018                  Exhibit)) (Cohen, Diana) (Entered: 10/25/2018)

        10                    alo7         Notice of U.S. District Court Case Assignment. Case
                                           Number: 18-cv-24463-FAM (Re: 103 AMENDED Notice
        11
                                           of Appeal and Election to Appeal To District Court Filed by
        12                                 Debtor Nubia Marcella Perez (Re: 21 Findings of Fact and
                                           Conclusions of Law On Brian and Andrea Holland's Motion
        13                                 For Sanctions Under Bankruptcy Rule 9011 and 11 U.S.C. §
                                           105 (Re: 25 Motion for Sanctions filed by Creditor Brian
        14     10/26/2018                  Holland, Creditor Andrea Holland) (Entered: 10/26/2018)
        15
                              alo8         BNC Certificate of Mailing (Re: 104 Clerk's Notice of
        16                      (6 pgs)    Mailing of (Re: 103 Notice of Appeal and Election to
                                           Appeal To District Court Amended Notice OfAppeal Filed
        17
                                           by Debtor Nubia Marcella Perez (Re: 91 Findings of Fact
        1f3                                and Conclusions of Law On Brian and Andrea Holland's
                                           Motion For Sanctions Under Bankruptcy Rule 9011 and 11
        19                                 U.S.C. § 105 (Re: 25 Motion for Sanctions filed by Creditor
                                           Brian Holland, Creditor Andrea Holland).). (Attachments:#
        20                                 1 Exhibit) [Appeal Fee of 298.00 NOT Paid] - Previously
        21                                 paid. Appellant Designation due 11/7/2018 .. )) Notice Date
               10/27/2018                  10/27/2018. (Admin.) (Entered: 10/28/2018)
        22
                                                                                                         i
                              alo9         BNC Certificate of Mailing - PDF Document (Re: 104
        23                      (14 pgs)   Clerk's Notice of Mailing of (Re: 103 Notice of Appeal and
        24                                 Election to Appeal To District Court Amended Notice Of
                                           Appeal Filed by Debtor Nubia Marcella Perez (Re: 21
        25                                 Findings of Fact and Conclusions of Law On Brian and
                                           Andrea Holland's Motion For Sanctions Under Bankruptcy
        26    10/27/2018                   Rule 9011 and 11 U.S.C. § 105 (Re: 25 Motion for
       27 '
                                                     19
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 20 of
                                     645




        1
                                                                                                                 -i
                                            Sanctions filed by Creditor Brian Holland, Creditor Andrea
                                            Holland).). (Attachments: # 1 Exhibit) [Appeal Fee of
        2
                                            298.00 NOT Paid] - Previously paid. Appellant                        '
        3                                   Designation due 11/7/2018 .. )) Notice Date 10/27/2018.

        4
                                            (Admin.) (Entered: 10/28/2018)                                       II
                          a 110             BNC Certificate of Mailing - PDF Documen t (Re: 106         i
        5
                            (3 pgs)         Notice of Transmittal of PDF Documen t to BNC for
        6                                   Noticing (Re: 105 Transmittal of Proceeding to US District
                                            Court. (Re: 103 Notice of Appeal and Election to Appeal To
        7                                   District Court Amended Notice OfAppeal Filed by Debtor
                                            Nubia Marcella Perez (Re: 91 Findings of Fact and          I
                                                                                                             I
        8
                                            Conclusions of Law On Brian and Andrea Holland's Motion          I
     9                                      For Sanctions Under Bankruptcy Rule 9011 and 11 U.S.C. §
                                            105 (Re: 25 Motion for Sanctions filed by Creditor Brian         I
    10                                      Holland, Creditor Andrea Holland).). (Attachm ents:# 1
                                            Exhibit))) Notice Date 10/27/2018. (Admin.) (Entered:
    11      10/27/2018                      10/28/2018)
    12                                                                                                       I
                         "ill              Second Motion to Recuse Judge Filed by Debtor Nubia
    13                      (6 pgs;        Marcella Perez. (Attachm ents:# 1 Exhibit) (Neusom,
   14
            10/30/2018      2 docs)        Thomas) (Entered: 10/30/2018)
                                                                                                   !
                                                                                                         I   I
                                      "'           ""-""""          -           ------------------~
                                                                                                             !

   15                    a 112             First Motion To Stay (Re: 107 Notice of Confirmation of
                           (4 pgs)         District Court Case Assignment of Appeal, 108 BNC
   16                                      Certificate of Mailing, 109 BNC Certificate of Mailing -
   17                                      PDF Document, 110 BNC Certificate of Mailing - PDF
                                           Document) Filed by Debtor Nubia Marcella Perez.               I
   18       10/30/2018                     (Neusom, Thomas) (Entered: 10/30/2018)
                                                                                                         I
   19                                                                                                    i
                         a 113             Order Denying Second Motion For Recusal (Re:# ill)
            1110112018     (3 pgs)         (Snipes, Jeanne) (Entered: 1110112018)
   20
   21                    a114              Order Denying Motion For Stay Pending Appeal (Re:#            I
            11101/2018     (2 pgs)         112) (Snipes, Jeanne) (Entered: 1110112018)
   22
   23                    Q115              Order Dismissing Appeal for Failure by Appellant(s) to
                          (2 pgs)          Timely File Designation or Statement of Issues, (Re: 103
   24                                      Notice of Appeal filed by Debtor Nubia Marcella Perez).
            11/08/2018                     (Snipes, Jeanne) (Entered: 11108/2018)
   25
                                                                                                         I
   26                    Q 116             BNC Certificate of Mailing - PDF Documen t (Re: 115           I
            11110/2018     (4 pgs)         Order Dismissing Appeal for Failure by Appellant(s) to
   27
                                                     20
   28
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                                     645




        1                                       Timely File Designation or Statement of Issues, (Re: 103
                                                Notice of Appeal filed by Debtor Nubia Marcella Perez).)
        2
                                                Notice Date 11/10/2018. (Admin.) (Entered: 11/11/2018)
        3
        4
        5

        6
            Thomas Neusom reserves the right to supplement the record as Necessary
        7

        8
        9          The Issues on Appeal Are:
    10         1. The Findings Of Fact And Conclusions Of Law Of Judge A Jay. Cristol Should Have
                                                                                                  Been
    11            Vacated
               2. Debtors Motion In Limine Should Not Have Been Denied
    12         3. Debtor's Motion for Abstenti on, Strike Or Denial of The Motion Should Not Have Been
                  Denied
    13         4. The Bankrup tcy Court Lacked Jurisdic tion To Enter The Findings It Did
   14          5. The Bankrup tcy Courts Findings Of Fact And Conclusions Of Law Are Factually Incorrec
                                                                                                        t
                  and Should Be Vacated Or Reverse d And Vacated
   15
                   Thomas Neusom reserves the right to change the Issues To Be Presente d as needed
   16
   17
   18

   19
   20       .Dated: December 3, 2018:

   21
   22
                                                              ~.~/-e~
                                                               By:/s/Thomas Neusom
   23                                                          Appellant/Attorney For Debtor
                                                               Bar No. 003717
   24                                                          (954)200-3536
                                                               4737 N. Ocean Drive, #129
   25                                                          Fort Lauderdale, FL 33308
   26                                                          Email: tgnoffice35@gmail.com

   27
                                                         21
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 22 of
                                     645




         1

        2                                CERTIFICATE OF SERVICE

        3    I HEREBY CERTIFY that a true and correct copy of
                                                                the foregoing APPELLANT'S
        4    APPELLATE DESIGNATION
              was furnished by email to the following on December
                                                                  3, 2018, to the parties on the efiling portal
        5    service list by email by Court Clerk.

        6
        7
        8
                                                                ~~1v~-
                                                                 By:/s/ThomaS Neusom
        9                                                        Appellant/Attorney For Debtor
                                                                 Bar No. 0037174
    10                                                           Phone; (954)200-3536
                                                                 4737 N. Ocean Drive, #129
    11                                                           Fort Lauderdale, FL 33308
    12                                                           Email: tgnoffice35@gmail.com

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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 23 of
                                     645

     Fill in this information to identify your case

I United States Bankruptcy Court for the:

Sdui-^t^r'        District ol/'Jr      i

i Case number {if known):                                               . Chapter you are filing under:
                                                                          • Chapter?
                                                                         IS Chapter 11
                                                                          • Chapter12
                                                                         •   Chapter 13                                              •   C h e c k if this is an
                                                                                                                                         a m e n d e d filing



Official Form 101
Voluntary Petition for Individuals Filing for B a n k r u p t c y                                                                                             12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When Information is needed about the spouses separately, the form uses Debtor 1 and
 Debtor 2 to distinguish Iretween them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
 same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(If known). Answer every question.


              identify Yourself

                                           About Debtor 1:                                                 About Debtor 2 (Spouse Only In a Joint Case):
1.    Y o u r full name

      Write the name that Is on your
      government-issued picture
                                           First name                                                      Firet name
      identification (for example,         rust iiaiiic
      your driver's license or               M.fXV-CcHcL
      passport).                           Middle name                                                     Middle name

      Bring your picture
      identification to your meeting       Last name                                                       Last name
      with the trustee.
                                           Suffix (Sr.. Jr., II, III)                                      Sufnx(Sr.. Jr..ll, III)




2. All other n a m e s you
   have u s e d in the last 8              First name                                                      First name
   years

      Include your married or              Middle name                                                     Middle name
      maiden names.
                                           Last name                                                      Last name



                                           First name                                                     First name


                                       Middle name                                                        Middle name


                                       Last name                                                          Last name




     Only the last 4 digits of
                                       XXX          -     XX                                              XXX      -    XX
     your S o c i a l Security
     number or federal                 OR                                                                 OR
     Individual T a x p a y e r
     Identification n u m b e r        9 XX -             XX     -                                        9 XX -        XX

     (ITIN)


Official Form 1 0 1                                       Voluntary Petition for Individuals Filing for Bankruptcy                                 page 1
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                                     645

 Debtor                                                                                                    Case number      ijikmwrti_
                               Middle Name




                                             About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


 4. A n y b u s i n e s s n a m e s
    and E m p l o y e r                      •     I have not used any business names or EINs.                    O I have not used any business names or EINs.
    identification Numbers
    (EIN) you have u s e d In
    the last 8 y e a r s                                                                                          Business name

     Include trade names and
     doing business as names
                                             Business name                                                        Business name




                                             EIN                                                                  EIN




5. Where you live                                                                                                 If Debtor 2 lives at a different address:



                                         i       _   .
                                         Number             Street                                                Number          Street




                                                                                            m   m    .
                                                                                                               City                                     State      ZIP Code



                                                                                                               County


                                         If your mailing address Is different from the one                     If Debtor 2's mailing address is different from
                                         above, fill It in here. Note that the court will send                 yours, fill It In here. Note that the court will send
                                         any notices to you at this mailing address.                           any notices to this mailing address.



                                         Number             Street                                             Number            Street



                                         P.O. Box                                                              P.O. Box



                                         City                                       State       ZIP Code       City                                     State     ZIP Code




6. W h y you are c h o o s i n g         Check one:                                                           Check one:
   f/i/sd/sfricftofllefor
   bankruptcy                                    Over the last 1 8 0 days before filing this petition,        •     Over the last 1 8 0 days Ijefore filing this petition,
                                                 I have lived In this district longer than in any                   I have lived in this district longer than in any
                                                 other district,                                                    other district.

                                        •        I have another reason. Explain.                              •     I have another reason. Explain.
                                                 (See 2 8 U.S.C. § 1 4 0 8 . )                                      ( S e e 2 8 U.S.C. § 1 4 0 8 . )




 Ofricial Form 1 0 1                                     Voluntary Petition for Individuals Filing for Bankruptcy                                         page 2
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                                     645

 Debtor    1 tOuka tVy^celU Tb^ez                                                                        Case number        iiikftown)_




                Tell the Court About Your Bankruptcy Case


 7.    The chapter of the                 Check one. (For a brief description of each, s e e Notice Required by 11 U.S.C. §342(b} for Individuals Filing
       Bankruptcy C o d e you          for Bankruptcy (Form 2 0 1 0 ) ) . Also, go to the top of page 1 and check the appropriate box.
       are c h o o s i n g to file
                                          •    Chapter 7
       under
                                       Q r C h a p t e r 11

                                       •       C h a p t e r 12

                                       •       C h a p t e r 13


8.     How you will pay the fee       •       I will pay the entire fee w h e n I file my petition. P l e a s e c h e c k with the clerk's office in your
                                              local court for more details about how you m a y pay. Typically, if you a r e paying the fee
                                              yourself, you m a y pay with c a s h , c a s h i e r ' s c h e c k , or money order. If your attorney Is
                                              submitting your payment on your behalf, your attorney m a y pay with a credit c a r d or c h e c k
                                              with a pre-prlnted a d d r e s s .


                                      S H ' n e e d to pay the fee in installments. If you c h o o s e this option, sign a n d attach the
                                          Application for individuals to Pay The Filing Fee in instaiiments (Official Form 1 0 3 A ) .


                                      •       I r e q u e s t that my fee be waived ( Y o u may request this option only If you a r e filing for Chapter 7 .
                                              B y law, a judge m a y , but is not required to, waive your f e e , a n d m a y do s o only if your income is
                                              less than 1 5 0 % of the official poverty line that applies to your family s i z e a n d you a r e unable to
                                              pay the fee in installments). If you c h o o s e this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 1 0 3 B ) a n d file it with your petition.



9.     Have you filed for             I^NO
       bankruptcy within the
       last 8 y e a r s ?             •       Y e s . District                                 When                            Case number
                                                                                                       MM / D D / Y Y Y Y

                                                      District                                 Wtien                           Case number
                                                                                                       MM/   DD/YYYY

                                                      District                                 When                            Case number
                                                                                                       MM/   DD/YYYY




10. A r e a n y bankruptcy
    c a s e s pending or being
    filed by a s p o u s e w h o is   L I Y e s . Debtor                                                                     . Reiationship to you

    not filing this c a s e with                  District                                                                     Case number, if known
    you, or by a b u s i n e s s                                                                       MM/DD / Y Y Y Y
    partner, or by a n
    affiliate?
                                                      Debtor                                                                   Relationship to you

                                                      District                                 When                            Case number, if known_
                                                                                                       M M / D D / YYYY




11. Do you rent y o ur                • NQ   Go to line 1 2 .
    residence?                        • yes.
                                             Has your landlord obtained an eviction judgment against you?

                                                      H    No. Go to line 1 2 .
                                                      •    Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 1 0 1 A ) and file it as
                                                           part of this bankruptcy petition.




                                                      Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
     Official Form 1 0 1
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                                      645

  Debtor 1                                                                                                     Case number       [Hi(nown)_
                 Firet Name      Middle Name                   Cast Name




               Report About Any Businesses You Own as a Sole Proprietor


. 1 2 . A r e you a s o l e proprietor         Kl    No. Go to Part 4.
        off any ffull-
                  u l l - oor
                            r part-l
                              part-time
        business?                              L I Y e s . Name and location of business
      A sole proprietorship is a
      business you operate as an
      individual, and is not a                             Name of business, if any
      separate legal entity such as
      a corporation, partnership, or
      LLC.                                                 Number          Street

       If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                               City                                                      State                ZIP Code



                                                           Check the appropriate box to describe your        business:

                                                           •      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                           •      Single Asset Real Estate (as defined in 11 U.S.C. § 101(516))

                                                           •     Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                           •     Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                           Q     None of the above


 13. Are you filing under                  if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
     Chapter 11 of the                     can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
     Bankruptcy C o d e a n d              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     are you a small    business
     debtor?
                                           •        No. I am not filing under Chapter 11.
     For a definition of small
     business debtor, see                  •        No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
     11 U.S.C. § 101(510),                              the Bankruptcy Code.

                                                           I am filing under Chapter 11 and I am a small business debtor according to the definition In the
                                                           Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you o w n or h a v e a n y
     property that p o s e s or is
     alleged to p o s e a threat           •        Yes.    What is the hazard?
     of imminent a n d
     Identifiable hazard to
     public health or s a f e t y ?
     Or do you o w n any
     property that n e e d s
     Immediate attention?                                   If Immediate attention is needed, why is it needed?

    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?

                                                           Where is the property?
                                                                                      Number        Street




                                                                                      City                                                      Slate    ZIP Code


  Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                             page 4
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                                     645

 Debtor 1                                                                                                                     Case number (**m>Mi)_
                  Flist NaniB         Midde Name                      LasI Natre




              A n s w e r T h e s e Q u e s t i o n s for Reporting P u r p o s e s

                                                       16a. A r e your debts primarily c o n s u m e r d e b t s ? Consumer debts are defined in 11 U.S.C. § 101(8)
 16. What kind of debts do                                  as "incurred by an individual primarily for a personal, family, or housetiold purpose."
     you h a v e ?
                                                              •   No. Go to line 16b.
                                                              •   Y e s . Go to line 17.

                                                    16b. Are your debts primarily b u s i n e s s d e b t s ? Business debts are debts that you incurred to obtain
                                                         money for a business or investment or through the operation of the business or investment.
                                                              •          Go to line 16c.
                                                                  f e s . Go to line 17.

                                                    16c. State ttie type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                                                        am not filing under Chapter 7. Go to line 18.

    Do you estimate that after                      •     Y e s . I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property Is                                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                                  •      njj,
    administrative e x p e n s e s
    are paid that funds will be                                   •     Yes
    available for distribution
    to u n s e c u r e d c r e d i t o r s ?

18. How many creditors do                          • 1f49                                              •   1,000-5,000                                 •   25,001-50,000
    you estimate that y o u                        [1^50-99                                            •   5,001-10,000                                •   50,001-100,000
    owe?                                           •      100-199                                      •   10,001-25,000                               •   More than 100,000
                                                   •      200-999

19. How m u c h do you                             •     $0-$50.000                                    • H l , 0 0 0 . 0 0 1 - $ 1 0 million          •    $500,000,001-51 billion
    estimate your a s s e t s to                   •     $50,001-$100,000                              • $10,000,001-550 million                      •    $1,000,000,001-$10 billion
    be worth?                                      •     $100,001-$500,000                             • $50,000,001-5100 million                     •    $10,000,000,001-550 billion
                                                   •     $500,001-$1 million                           • $100,000,001-5500 million                    •    More than $50 billion

20. How m u c h do you                             •     $0-$50,000                                    18^1,000,001-$10 million                       •    $500,000,001-51 billion
    estimate your liabilities                      •     $50,001-5100,000                              •   $10,000,001-550 million                    •    $1,000,000,001-510 billion
    to b e ?                                       •     $100,001-$500,000                             •   $50,000,001-5100 million                   •    $10,000,000,001-550 billion
                                                   •     $500,001-51 million                           •   $100,000,001-5500 million                  •    More than $50 billion
             Sign B e l o w

                                                   I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                            correct.
                                                  If I have chosen to file under Chapter 7,1 am aware that 1 may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                  of title 1 1 , United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                  under Chapter 7.

                                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                  this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                  1 request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                  with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                  18 U.S.C. §§ 152. 1341, 1519, and 3571.



                                                                                                                                      Signature of Debtor 2

                                                         Executed on                                                                   Executed on
                                                                                   M   I Pt)   /YYYY                                                  MM / DD     /YYYY
       i,'>siim»vi^mmmiiriiii^:kiiff^Mrkkmmermi^.:i^^<^ - .


 Official Form 101                                                Voluntary Petition for Individuals Filing for Bankruptcy                                                 pages
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                                         645
5:29 PM                A Plus Lamination & Finishing inc. - Combo
05/14/18                        A/P Aging Summary
                                                         As of May 14, 2018

                                                        Current        1-30          31-60        61-90          >90           TOTAL

      Actega North America, Inc.                              0.00           0.00          0.00       0.00       3,046.51        3,046.51
      ALEXANDER E . B O R E L L                            750.00            0.00          0.00       0.00            0.00          750.00
      Amtrust North America                                   0.00           0.00          0.00       0.00       4,987.70        4,987.70
      APF INC.-002                                            0.00           0.00          0.00       0.00            0.00             0.00
      Armas Machine Shop, Inc.                                0.00           0.00          0.00       0.00            0.00             0.00
      Auto Nation Chevrolet Dorel                          173.16            0.00          0.00       0,00            0.00          173.16
      Capital One Bank                                        0.00           0.00       214.85        0.00       1,961.98        2,176.83
      Checksfor less                                          0.00           0.00          0.00       0.00            0.00             0.00
      City of HIaieah                                         0.00        136.09           0.00       0.00            0.00          136.09
      Comcast Business                                        0.00           0.00      415.32         0.00            0.00         415.32
      COSMO CLAIM 2018                                        0.00    18,692.54            0.00       0.00            0.00     18,692.54
      Cosmo Films Inc.-V                                      0.00   -15,800.57            0.00       0.00     15,800.57               0.00
      Credit Management, L P                                  0.00           0.00          0.00       0.00            0.00             0.00
      0 & K CLAIM                                             0.00           0.00          0.00       0.00       3,500.00        3,500.00
      D & K INTERNATIONAL, INC.                               0.00           0.00          0.00       0.00      4,500.00         4,500.00
      DDREPRO                                                 0.00           0.00          0.00       0.00          14.00            14.00
      Delran, Inc.                                            0.00           0.00          0.00       0.00            0.00             0.00
     Department of Water & S e w e r s                     242.15            0.00          0.00       0.00            0.00         242,15
     Derprosa (Taghleef Industries)                           0.00    14,594.33            0.00       0.00       1,322.97      15,917.30
     DISTRIGRAPH INC.                                         0.00           0.00          0.00       0.00      7,956.17         7,956.17
     Ooral Digital Reprographics, Corp.                       0.00        -14.98           0.00       0.00          14.98              0.00
     FLORIDA F L E X I B L E S C R E E N P R                  0.00           0.00        61 50        0.00            0.00           61.50
     FPL                                                 1,868.49            0.00          0.00       0.00            0.00       1,868.49
     Francisco Gabriel Perez LOAN                             0.00           0.00    3,000.00         0.00         750.00       3,750.00
     Frontline Asset Strategies, L L C                        0.00           0.00         0.00        0.00      1,000.00         1,000.00
     GRAINGER                                                 0.00           0.00         000         0.00            6.30             5.30
     HOME D E P O T                                           0.00           0.00         0.00        0.00            0.00            0.00
     INTERNAL R E V E N U E S E R V I C E                     0.00           0.00         0.00        0.00     15,503.44       15,503.44
     KANGDE XIN AMERICA, L L C                                0.00           0.00         0.00        0.00      7,594.09        7,594.09
     LAIRD P L A S T I C S                                    0.00           0.00         0.00        0.00        219.40           219.40
     MARATHON C O U R I E R                                  0.00          20.00       252.00         0.00           0.00          272.00
     MATT D. GOLDMAN T R U S T ACCOUNT                       0.00           0.00          0.00        0.00      1,250.00        1,250.00
    METRO P C S A P L U S AGO                                0.00           0.00          0.00       2.60           -2.60             0.00
    MlAMl-DADE COUNTY TAX C O L L E C T O R                  0.00     16,478.09           0.00       0.00       2,669.73      19,147.82
    Miami Dade Expressway Authority (MDX)                    0.00           0.00          0.00       0.00         311.08           311.08
    MYRON C O R P .                                         14.00           0.00          0.00       0.00            0.00            14.00
    Nobelus L L C                                            0.00           0.00          0.00       0.00       1,578.90        1,578.90
    NUBIA P E R E Z LOANS                                    0.00           0.00     7,100.00      236.94            0.00       7,336.94
    OFFICE DEPOT                                             0.00           0.00          000        0.07           -0.07             0.00
    P A P E R KNIGHT 2018                                    0.00        220.00           0.00       0.00            0.00         220.00
    PHONES R U S , Inc                                       0.00           0.00          0.00       0.00         224.70          224.70
    Platinum Graphics                                        0.00        440.00           0.00       0.00            0.00         440.00
    PROpack Industries, Inc.                                 0.00           0.00          0.00       0.00            0.00             0.00
    QUILL CORPORATION                                        0.00        129.44           0.00       0.00            0.00         129.44
    Santander Consumer USA                                   0.00      2,029.72           0.00       0.00            0.00       2,029.72
    Tape Group USA, Inc.                                     0.00           0.00          0.00       0.00       1,330.00        1,330.00
    TOTAL PACK                                               0.00        162.71           0,00       0.00            0.00         162.71
    Transllwrap Company, Inc.                                0.00           0.00          0.00       0.00       1,944.83        1,944.83
    UNIVERSAL P R E S S R O O M P R O D U C T S L L C        0.00           0.00          0.00       0.00     23,695.65       23,695.65
    UNIVERSAL WIPING C L O T H                               0.00           0.00          0.00     109.00            0.00         109.00
    UPS-V                                                    0.00           0.00         0.00        0.00            0.00             0.00
    URBAPRINT, L L C                                         0.00           0.00         0.00        0.00            000              0.00
    Valley National Bank -2525                               0.00           0.00         0.00        0.00     28,355.00       28,355.00
    Valley National Bank Loan -2198 small                    0.00           0.00         0.00        0.00    100,786.77      100,786.77
    Vencol                                                   0.00      1,739.43          0.00        0.00            0.00       1,739.43
    VH FINANCIAL S E R V I C E S INC                        0.00         125.00       675.00         0,00         225.00        1,025.00
    W A S T E MANAGEMENT O F DADE COUNTY                    0.00         451.72          0.00        0.00           0.00          451.72
  TOTAL                                                 3,047.80     39,403.52      11,718.67      348.61    230,646.10      286,064.70
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5:27 PM               A Plus LaminatioM & Finishing inc. - Combo
05/14/18                          BaiancG Sheet
Accrual Basis                                                      As Of May     14,   2018


                                                                                                         May 14,18

        ASSETS
          Current Assets
            Checking/Savings
              1000 BANKS
                1005 Wells Frgo -5536                                                                       9,843.43
                1001 • Wells Fargo-7624                                                                   -19,681.58
                1002 • WF Savings Recurruing-9447                                                             454.06
                 Total 1000 • BANKS                                                                               -9^.09

             Total Checking/Savings                                                                               -9,384.09
             Accounts Receivable
               1100 • A C C O U N T S R E C E I V A B L E S (Generated account for AR tran)
                 1101 • Accounts Receivable                                                                46,328.64
                 1100 ' A C C O U N T S R E C E I V A B L E S (Generated account for AR tran) - Otfier      5,889.99
                Total 11 DO • A C C O U N T S R E C E I V A B L E S (Generated account for AR tran)              52,218.63

             Total Accounts Receivable                                                                           52,218.63
             Otfier Current A s s e t s
               1200 • O T H E R C U R R E N T A S S E T S
                  1201 • Accounts Recelvable-A* (Generated account for transac)                             4,166.96
                  1203 • Employee Advances                                                                 19,463.73
                  1204 • "Inventory Asset                                                                      8149
                  1206 • Prepaid E x p e n s e s                                                           45,773.78
                  1206 • Raw Materials Inventory                                                           78,142.50
                Total 1200 • O T H E R C U R R E N T A S S E T S                                                147,628.46

                12001 • Undeposited Funds (Funds received, but not yet deposited to a bank account)              26,153.45
             Total Other Current A s s e t s                                                                    173,781.91

          Total Current Assets                                                                                 216,616.45
          Fixed /tssets
            1300 FIXED A S S E T S
              1304 • Accum. Depreciation - Equlpmen                                                      -370,636.00
              1307 • Accum. Depreciation - Other                                                           -12,795.00
              1308 • Automobiles                                                                            40,482.91
              1309 • Equipment                                                                            718,416.95
              1310 • Furniture and Fixtures                                                                  1,569.87

             Total 1 3 0 0 - F I X E D A S S E T S                                                             377,038.73

         Total Fixed A s s e t s                                                                               377,038.73
          Other Assets
            1400 • OTHER A S S E T S
              1401 • Accum. Amortlz. - Org. C o s t s                                                    -11,277 00
              1402 • Deposits                                                                              9,542.85
              1403 • Other Noncurrent Assets                                                             879,126.00

            Total 1400 • O T H E R A S S E T S                                                                 877,391.86

         Total Other A s s e t s                                                                               877,391.85

       TOTAL A S S E T S                                                                                      1,471,047.03
       LIABILITIES & EQUITY
         Liabilities
           Current Liabilities
              Accounts Payable
                  1 5 0 0 - A c c o u n t s Payable                                                            285,064,70
                Total Accounts Payable                                                                         285,064.70

                Credit Cards
                  1600 - C R E D I T C A R D
                    1601 Capital O n e - 1 1 9 5                                                             -214.85
                    1602 - Credit One -4708 (Credit One)                                                   -5,214.22
                                                                                                                              Pagel
 Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 30 of
                                         645
5:27 PM                A Plus Lamination & Finishing inc. - Combo
05/14/18                           Balance Sheet
Accrual Basis                                                     As Of May   14,   2018


                                                                                           May 14^ 18

                     1603 • Shell-823                                                           978^09
                  Total 1600     C R E D I T CARD                                                  -4,450.98

                Total Credit C a r d s                                                             -4,450 98
                Other Current Liabilities
                  1700 • O T H E R C U R R E N T LIABILITY
                    1702 • "Sales Tax Payable                                                   411.43
                    1703 • Wages Payable                                                    270,591 89
                    1700 • O T H E R C U R R E N T LIABILITY - Other                        -24,892.54

                  Total1700 • O T H E R C U R R E N T LIABILITY                                  246,110.78

                Total Other Current Liabilities                                                  246,110.78

            Total Current Liabilities                                                            526,724.50
            Long Term Liabilities
              1800 • LONG T E R M LIABILITY
                1801 • 1st United Bank Loan                                                -184,006.67
                1802 • Jim H Hawk (466K)                                                    184,714.06
                1803 • Nubia M Perez                                                        174,883 00
                1804 'Nubia M Perez ( H E L O C )                                            98,449 00
                1805 • Matt D Goldman                                                       111,500.00
                1806 • Valley National Bank-2198                                            106,916.56
                1807 • Valley National Bank - 2626                                          728,749.73
                1800 • LONG T E R M LIABILITY - Other                                        -7.100.00
                Total 1800 • LONG T E R M LIABILITY                                            T214,105^8

            Total Long Term Liabilities                                                        1,214^105,68

          Total Liabilities                                                                    1,740,830.18
          Equity
            3000 • Beginning Balance Equity                                                     -174,764.12
            3001 • Common Stock                                                                      100.00
            3003 • Opening Bal Equity                                                           -366,506 26
            3005 - Retained Earnings                                                             216,423 09
            Net Income                                                                            12,383.54
          Total Equity                                                                          l312.363T5

       TOTAL LIABILITIES & EQUITY                                                              1,428,466.43




                                                                                                               Page 2
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                                     645

 Debtor 1                                                                                          Case numtier [iikmmn)_
              PlrMName     MIddJ* Mame              Last Name




 F o r you if you are filing this          T h e law allows you, a s a n individual, to represent yourself in bankruptcy court, but you
 bankruptcy without a n                    s h o u l d u n d e r s t a n d that many people find It extremely difficult to represent
 attorney                                  t h e m s e l v e s s u c c e s s f u l l y . B e c a u s e bankruptcy h a s long-term financial and legal
                                           c o n s e q u e n c e s , you are strongly urged to hire a qualified attorney.
 If you are represented by
 a n attorney, you do not                  T o be successful, you must correctly file and handle your bankruptcy c a s e . T h e rules are very
 need to file this page.                   technical, and a mistake or inaction may affect your rights. For example, your case may be
                                           dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                           hearing, or cooperate with the court, c a s e trustee. U.S. trustee, bankruptcy administrator, or audit
                                           firm if your c a s e is selected for audit. If that happens, you could lose your right to file another
                                           case, or you may lose protections. Including the benefit of the automatic stay.

                                           You must list all your property and debts in the schedules that you are required to file with the
                                           court. E v e n if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                           in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                           property or properly claim it a s exempt, you may not be able to keep the property. The judge can
                                           also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                           case, such a s destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                           c a s e s are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                           Bankruptcy fraud Is a serious crime; you could be fined and imprisoned.

                                           If you decide to file without an attorney, the court expects you to follow the rules a s if you had
                                           hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal R u l e s of
                                           Bankruptcy Procedure, and the local rules of the court in which your c a s e is filed. Y o u must also
                                           be familiar with any state exemption laws that apply.


                                           Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                           consequences?
                                           •   No
                                           B'Yes

                                           Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                           inaccurate or incomplete, you could be fined or imprisoned?
                                           •   No
                                           a-Ves

                                           Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                           a^No
                                           G   Yes. Name of Person                                                                              .
                                                    Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                           By signing here, I acknowledge that I understand the risks involved in filing without an attorney,
                                           have read and understood this notice, and I am aware that filing a bankruptcy c a s e without an
                                           attorney may causg,me to lose my rights or property if I do not properly handle the case.




                                                                                                            Signature of Debtor 2



                                                                                                                             MM /   DD / YYYY

                                          Contact phone                                                     Contact phone


                                         • cellphone            - ^ ^ - ^ 1 0 '    I    O    ^              Cell phone


                                           Email address         g ^ ^ \ ( A s \ o y Y N O Q/V\0)t1-(^^ Email address
                                                                                                                                                 mk:mk ' L-LiLLiA-

  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                        pages
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  Debtor   1 t\!\AoiCL
                 FlrBt N a m e   Middle N « d e
                                                  l^ifcAL Pe^rez                                                    Case number (/r*nomi)_




              Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                  About Debtor 1:                                                         About Debtor 2 (Spouse Only In a Joint Case):
  15., Tell the court w h e t h e r
       you have r e c e i v e d a
       briefing about credit                      You must check one:                                                      You must check one:
       counseling.
                                                  Q I received a briefing from an approved credit                         G I received a briefing from an approved credit
                                                    counseling agency within the 180 days before I                          counseling agency within the 180 days before I
     The law requires that you                      filed this bankruptcy petition, and I received a                        filed this bankruptcy petition, and I received a
     receive a briefing about credit                certificate of completion.                                              certificate of completion.
     counseling before you file for
     bankruptcy. You must                                 Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
     truthfully check one of the                          plan, if any, that you developed with the agency.                   plan, if any, that you developed witti the agency.
     following choices. If you
                                                  •       I received a briefing from an approved credit                   G i received a briefing from an approved credit
     cannot do so, you are not
                                                          counseling agency within the 180 days before I                    counseling agency within the 180 days before I
     eligible to file.
                                                          filed this bankruptcy petition, but I do not have a               filed this bankruptcy petition, but I do not have a
                                                          certificate of completion.                                        certificate of completion.
     If you file anyway, the court
                                                          Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
     can dismiss your case, you
                                                          you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
     will lose whatever filing fee
                                                          plan, if any.                                                       plan, if any.
     you paid, and your creditors
     can begin collection activities
                                                          i certify that I asked for credit counseling                    G I certify that I asked for credit counseling
     again.
                                                          services from an approved agency, but was                         services from an approved agency, but was
                                                          unable to obtain those services during the 7                      unable to obtain those services during the 7
                                                          days after I made my request, and exigent                         days after I made my request, and exigent
                                                          circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                                          of the requirement.                                               of the requirement.
                                                      To ask for a 30-day temporary waiver of the                             To ask for a 30-day temporary waiver of the
                                                      requirement, attach a separate sheet explaining                         requirement, attach a separate sheet explaining
                                                      what efforts you made to obtain the briefing, why                       what efforts you made to obtain the briefing, why
                                                      you were unable to obtain it tiefore you filed for                      you were unable to obtain it before you filed for
                                                      bankruptcy, and what exigent circumstances                              bankruptcy, and what exigent circumstances
                                                      required you to file this case.                                         required you to file this case.

                                                      Your case may be dismissed if the court is                             Your case may be dismissed if the court is
                                                      dissatisfied with your reasons for not receiving a                     dissatisfied with your reasons for not receiving a
                                                      briefing before you filed for bankruptcy.                              briefing before you filed for bankruptcy.
                                                      If the court is satisfied with your reasons, you must                  If the court is satisfied with your reasons, you must
                                                      still receive a briefing within 30 days after you file.                still receive a briefing within 30 days after you file.
                                                      You must file a certificate from the approved                          You must file a certificate from the approved
                                                      agency, along with a copy of the payment plan you                      agency, along with a copy of the payment plan you
                                                      developed, if any. If you do not do so, your case                      developed, if any. If you do not do so. your case
                                                      may be dismissed.                                                      may be dismissed.
                                                      Any extension of the 30-day deadline Is granted                        Any extension of the 30-day deadline is granted
                                                      only for cause and is limited to a maximum of 15                       only for cause and is limited to a maximum of 15
                                                      days.                                                                  days.

                                              •       I am not required to receive a briefing about                      G I am not required to receive a briefing about
                                                      credit counseling because of:                                        credit counseling trecause of:

                                                      •      Incapacity.   I have a mental illness or a mental               G Incapacity.     I have a mental illness or a mental
                                                                           deficiency that makes me                                            deficiency that makes me
                                                                           incapable of realizing or making                                    incapable of realizing or making
                                                                           rational decisions about finances.                                  rational decisions about finances.
                                                      •     Disability.    My physical disability causes me                  G Disability.     My physical disability causes me
                                                                           to be unable to participate in a                                    to be unable to participate In a
                                                                           briefing in person, by phone, or                                    briefing In person, by phone, or
                                                                           through the internet, even after I                                  through the internet, even after I
                                                                           reasonably tried to do so.                                          reasonably tried to do so.
                                                      •     Active duty. I am currently on active military                   G Active duty. I am currently on active military
                                                                         duty in a military combat zone.                                    duty in a military combat zone.
                                                      If you believe you are not required to receive a                       If you believe you are not required to receive a
                                                      briefing about credit counseling, you must file a                      briefing about credit counseling, you must file a
                                                      motion for waiver of credit counseling with the court.                 motion for waiver of credit counseling with the court.




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Debtor 1       hl(A lo//^         Mrft)<cc         //<-                  Pe/^e-Ey                        Case number (/known).
               F«N«me          Middle Name               Leal Name




_          „        ..                       I, ttie attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
l-or your attorney, IT you are                   proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by o n e                         available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not r e p r e s e n t e d         knowledge after an inquiry that the information in the schedules filed with the petition is Incorrect.
by a n attorney, you d o not
n e e d to file this page.
                                                               2f=X'                                             Date
                                                Signature of Attorney for Debtor                                                  MM        /   DD   /WW




                                                                          -r-i   < J
                                                Printed nafhe'       '



                                                Firm name



                                                Number      Street                                   tr^"               ^         <=^




                                                City                                                            State             ZIP Code




                                                Contact phone    f 7 . 7 ) 0            ~3                        Email address     A^^i         O'ffj'(     6     3'l   ^   ^/l^   // •
                                                                                                                                        7

                                                Bar number                                                      State




 Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                            page?
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                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION
                                          www.flsb.uscourts.gov


  In re:                                                                   Case No.: 18-15825-ACJ

  NUBIA MARCELLA PEREZ,                                                    Chapter 11

               Debtors.
  ____________________________________/

              LANDLORD’S MOTION TO DISMISS CHAPTER 11 BANKRUPTCY
                 PETITION FOR BAD FAITH AND FRAUD ON THE COURT
                    AND FOR RELIEF FROM THE AUTOMATIC STAY

           Brian Holland and Andrea Holland also known as Brian Holland 5561 Rent Account

  (“Landlord”) respectfully request that the Court dismiss Nubia Marcella Perez’s (“Debtor”)

  chapter 11 bankruptcy petition for bad faith and fraud on the court or in the alternative grant

  Landlord relief from the automatic stay, under 11 U.S.C. §362, to continue its state court eviction

  action.

      I.       Background.

           Debtor is the President of A Plus Lamination and Finishing Inc. (“Tenant”), which is an

  active Florida corporation. A printout from Sunbiz is attached as Exhibit “A.” Tenant entered a

  one-year commercial lease (“Lease”) with Landlord to rent property located at 5559 NW 36th

  Avenue Miami, Florida 33142 (“Property”). The Lease’s one-year term runs from August 1, 2017

  to July 31, 2018. A copy of the Lease is attached as Exhibit “B.”

            Tenant agreed to pay $8,666.67 in monthly rent, plus sales tax, water, and fees to lease the

  Property. See Ex. B. Tenant defaulted on the Lease by failing to make the March 1, 2018 rent

  payment and all subsequent payments. On April 13, 2018, Landlord initiated an eviction action


                                                            1
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  against Tenant in the County Court in and for Miami-Dade County, case number 2018-008187-

  CC-05 (“Eviction Action”).

         On May 10, 2018, Judge Alexander Boker ordered Tenant to deposit rent into the court

  registry (“Deposit Order”). A copy of the Deposit Order is attached as Exhibit “C.” Tenant was

  ordered to deposit funds as follows: (1) $9,000 by May 7, 2018; (2) $9,000 by May 14, 2018; (3)

  Tenant was ordered make additional timely deposits as additional rent became due; and (4)

  Tenant’s failure to make timely deposits constitutes “an absolute waiver of its defenses, other

  than payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final

  Judgment for Removal of Tenant and Writ of Possession to issue forthwith without the

  necessity of further hearing pursuant to Section 83.232, Florida Statutes.” See Ex. C (emphasis

  added). Landlord and Tenant were ordered to attend a mediation on May 15, 2018, after the timely

  deposit of Tenant’s May 14, 2018, $9,000 payment. Id.

         Tenant did not make the May 14, 2018, $9,000 deposit into the court registry, resulting in

  a waiver of its defenses and entitling Landlord to immediate default final judgment and writ of

  possession. A copy of the Eviction Action docket is attached as Exhibit “D.” On the day after

  missing this payment, Debtor, who is Tenant’s President, filed an individual chapter 11

  bankruptcy, but claimed to be a small business debtor that does business under Tenant’s name. A

  copy of the bankruptcy petition is attached as Exhibit “E.” This assertion made it appear that

  Tenant was filing bankruptcy, and on May 17, 2018, only three days after failing to make the

  second $9,000 deposit, the Eviction Action was stayed because of the pending bankruptcy. A copy

  of the bankruptcy stay order is attached as Exhibit “F.” As of the date of this motion, Tenant




                                                           2
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  retains possession of the Property, but has not made any payments to Landlord nor has Tenant

  made any additional deposits into the court registry.

      II.      Debtor’s bankruptcy petition is a bad faith filing and fraud on the court.

            Debtor filed the bankruptcy petition for the sole purpose of hindering Landlord’s Eviction

  Action. The Court has inherent authority to dismiss an action when a litigant has perpetuated a

  fraud on the court. In re Houston, 305 B.R. 111, 114 (Bankr. M.D. Fla. 2003) (“When a party lies

  about matters pertinent to his own claim, or a portion of it, and perpetrates a fraud, dismissal of

  the whole case is proper.”). Also, a chapter 11 bankruptcy action may be dismissed “for cause”

  under section 1112 of the Bankruptcy Code if the petition was not filed in good faith. In re Phoenix

  Piccadilly, Ltd., 849 F.2d 1393, 1394 (11th Cir. 1988); In re Nat. Land Corp., 825 F.2d 296, 297

  (11th Cir. 1987). In determining bad faith, “the courts may consider any factors which evidence

  ‘an intent to abuse the judicial process and the purposes of the reorganization provisions’ or, in

  particular, factors which evidence that the petition was filed ‘to delay or frustrate the legitimate

  efforts of secured creditors to enforce their rights.’” In re Phoenix Piccadilly, Ltd., 849 F.2d at

  1394 (citing In re Albany Partners, Ltd., 749 F.2d at 674).

            Courts have considered the following non-exclusive factors: (1) the debtor has only one

  asset; (2) debtor has few unsecured creditors whose claims are small in relation to the claims of

  the secured creditors; (3) debtor has few employees; (4) there is a pending foreclosure action (5)

  debtor’s financial problems involve a financial dispute between the debtor and the secured

  creditors, which can be resolved in the pending state court action; and (6) the timing of the debtor's

  filing evidences an intent to delay or frustrate the legitimate efforts of the debtor's secured creditors

  to enforce their rights. In re Phoenix Piccadilly, Ltd., 849 F.2d at 1394–95. “In determining the


                                                           3
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  existence of bad faith, all facts and circumstances of a case must be considered by the Court.” In

  re Indian Rocks Landscaping of Indian Rocks Beach, Inc. (“Indian Rock Landscaping”), 77 B.R.

  909, 911 (Bankr. M.D. Fla. 1987).

          For example, in Indian Rock Landscaping, the court found bad faith when debtor filed

  bankruptcy merely to forestall a state court eviction action. 77 B.R. at 911 (“of great importance

  in the determination of bad faith filing is the fact that the Debtor filed its Chapter 11 Petition merely

  to forestall and delay the state court eviction action and to gain the protection of the automatic

  stay.”). In making this decision, the Indian Rock Landscaping court considered the fact that the

  hearing on the eviction action was set for April 15, 1987 at 9:45 a.m. and debtor, seeking to avoid

  that hearing, filed its bankruptcy petition at 9:08 a.m. on the same day as the hearing. Id. Similarly,

  the court found bad faith when bankruptcy was initiated to prevent an entity from exercising its

  option to purchase real property. In re Panache Dev. Co., Inc., 123 B.R. 929, 932 (Bankr. S.D. Fla.

  1991) (noting that the timing of the filing and the misstatements in the bankruptcy schedules

  evidence “motives [that] are a specific abuse of the Bankruptcy Court system.”).

          Debtor filed a personal chapter 11 bankruptcy only one day after Tenant violated the State

  Court’s order directing it to deposit $9,000 into the court registry, resulting in a waiver of Tenant’s

  defenses and entitling Landlord to immediate default final judgment and writ of possession. Tenant

  is not the Debtor in this bankruptcy proceeding, but Debtor, who is Tenant’s President, claims to

  be filing bankruptcy as a small business debtor that does business under Tenant’s name. Tenant is

  an active Florida corporation, and “[a] general principle of corporate law is that a corporation is a

  separate legal entity, distinct from the persons comprising them.” Gasparini v. Pordomingo, 972

  So. 2d 1053, 1055 (Fla. 3d DCA 2008). Debtor’s intentional misstatements in the chapter 11


                                                           4
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  petition resulted in a stay of the Eviction Action. Debtor’s intentional misstatements and the timing

  of this bankruptcy filing evidences bad faith and fraud on the court. Thus, the Court should dismiss

  Debtor’s bankruptcy petition and either ban a future bankruptcy filing by Tenant or rule that

  Landlord’s Eviction Action will not be subject to an automatic stay if Tenant files a future

  bankruptcy.

     III.      Landlord is entitled to relief from the automatic stay.

            In the alternative, Landlord requests relief from the automatic stay, so it can conclude the

  Eviction Action. An automatic stay may be terminated for “cause” pursuant to section 362(d)(1)

  of the Bankruptcy Code if a petition was filed in bad faith. In re Phoenix Piccadilly, Ltd., 849 F.2d

  at 1394. The Court’s “bad faith” analysis for granting relief from the automatic stay is identical to

  the analysis for dismissal of a bad faith filing. Id. (“what amounts to bad faith is the same for both

  proceedings”). The In re Phoenix Piccadilly, Ltd. court found bad faith when evidence showed

  that debtor’s bankruptcy petition was filed to forestall a pending foreclosure proceeding. Id.

            As discussed above, Debtor filed this bankruptcy petition and made intentional

  misstatements for the sole purpose of obtaining a stay of the Eviction Action. Debtor’s petition

  was filed after Tenant failed to comply with the Deposit Order, and in a frantic attempt to stop

  Landlord from exercising its right to obtain immediate default final judgment and writ of

  possession. Moreover, Tenant is not the Debtor in this bankruptcy proceeding, although Debtor’s

  misstatements make it appear as if Tenant is filing bankruptcy. Debtor’s misstatements resulted in

  an improper stay of the Eviction Action. The Court should grant Landlord relief from the automatic

  stay due to Debtors bad faith, allowing Landlord to proceed with the Eviction Action.




                                                           5
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     IV.      Conclusion.

           Debtor’s bankruptcy petition was filed in bad faith and constitutes a fraud on this Court.

  Thus, Landlord is entitled to dismissal of the bankruptcy petition or, in the alternative, relief from

  the automatic stay. Landlord also requests that the Court bar Tenant from filing a future bankruptcy

  petition or issue an order excluding Landlord’s Eviction Action from an automatic stay if Tenant

  files a future bankruptcy.

           Dated: May 30, 2018.

                                                        s/ Peter D. Russin
                                                       Peter D. Russin, Esquire
                                                       Florida Bar No. 765902
                                                       prussin@meladnrussin.com
                                                       Utibe I. Ikpe, Esq.
                                                       Florida Bar Number: 90301
                                                       uikpe@melandrussin.com
                                                       MELAND RUSSIN & BUDWICK, P.A.
                                                       3200 Southeast Financial Center
                                                       200 South Biscayne Boulevard
                                                       Miami, Florida 33131
                                                       Telephone: (305) 358-6363
                                                       Telecopy: (305) 358-1221

                                                       Attorneys for Brian Holland and Andrea Holland




                                                           6
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                                         CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that a true and correct copy of the foregoing was served on May

  29, 2018, via the Court’s Notice of Electronic Filing upon registered Users listed on the attached

  hereto as Exhibit 1 and via Regular U.S. Mail on all parties listed on the Court’s Matrix attached

  hereto as Exhibit 2.

                                                       s/ Peter D. Russin
                                                       Peter D. Russin, Esquire




                                                           7
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Mailing Information for Case 18-15825-AJC
Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for this
case.

    • Thomas G Neusom tgnoffice34@gmail.com
    • Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov




                                                                                           Exhibit 1
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Label Matrix for local noticing     Actega North America645
                                                         Inc           Brian Holland
113C-1                               26537 Network Place               13105 NW Le Jeune Rd
Case 18-15825-AJC                    Chicago, IL 60673-1265            Opa Locka, FL 33054-4435
Southern District of Florida
Miami
Wed May 30 13:40:34 EDT 2018
Capital One Bank                     Cosmo Claim 2018                  D & K International Inc
POB 71083                            Rosenfeld Stein Batta, PA         Ryan E Sprechman
Charlotte, NC 28272-1083             21490 West Dixie Hwy              2775 Sunny Isle Blvd #100
                                     Aventura, FL 33180-1144           Miami, FL 33160-4078


Distrigraph Inc                      Francisco Gabriel Perez Loan      Internal Revenue Service
Gabriel Fernandez                    3845 Sw 149th Pl                  POB 80110
5248 SW 93rd Ave                     Miami, FL 33185-3931              Cincinnati, OH 45280-0110
Cooper City, FL 33328-4225


Matt D Goldman Trust                 Miami-Dade County Tax             Noelus LLC
Account                              Collector                         POB 639027
7190 SW 100 St                       140 West Flagler St               Cincinnati, OH 45263-9027
Miami, FL 33156-3069                 14th Floor
                                     Miami, FL 33130-1561

Nubia Perez Loans                    Office of the US Trustee          SANTANDER CONSUMER USA
5559 NW 36th Ave                     51 S.W. 1st Ave.                  P.O. Box 560284
Miami, FL 33142-2709                 Suite 1204                        Dallas, TX 75356-0284
                                     Miami, FL 33130-1614


Santander Consumer USA               Transilwrap Company Inc           Universal Pressroom
POB 660633                           9201 W Belmont Ave                Productsa LLC
Dallas, TX 75266-0633                Franklin Park, IL 60131-2842      POB 1697
                                                                       Woodstock, GA 30188-1366


Valley National Bank -2625           Valley National Bank Loan         Vencol
Newtex Small Business                2198 Small Street                 8209 NW 70th St
Finance, LLC                         POB 952                           Miami, FL 33166-2743
POB 2006                             Wayne, NJ 07474-0952
Hicksville, NY 11802-2006

Nubia Marcella Perez                 Thomas G Neusom
5559 NW 36 Ave                       4737 N. Ocean Drive, #129
Miami, FL 33142-2709                 Fort Lauderdale, FL 33308-2920




                                                                                  Exhibit 2
Detail by Entity Name                                                    Page 1 of 2
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Honda Department of State                                                                                          Division ot: Corporations




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     Department of Stale    / Division ot Corporations   / Search Records   / Detail By Document Number /




        Detail by Entity Name
        Florida Profit Corporation

        A PLUS LAMINATION & FINISHING, INC,

        Filing Information

        Document Number                       P060001 54680

        FEI/EIN Number                        XX-XXXXXXX

        Date Filed                            12/18/2006

        State                                 FL

        Status                                ACTIVE

        Last Event                            REINSTATEMENT

        Event Date Filed                      09/29/2010

        Principal Address

        5559 NW36TH AVENUE
        MIAMI, FL 33142



        Changed: 10/02/2007

        Mailing Address

        5559 NW36TH AVENUE
        MIAMI, FL 33142



        Changed: 10/02/2007

        Registered Agent Name & Address

        PEREZ, NUBIA M

        5559 NW 36TH AVENUE
        MIAMI, FL 33142



        Address Changed: 10/02/2007

        Officer/Director Detail

        Name & Address


        Title PRESIDENT


        PEREZ, NUBIA M

        5559 NW36TH AVENUE
        MIAMI, FL 33142



        Annual Reports

         Report Year               Filed Date




http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype-Entity...                                    5/30/2018
                                                                                                                   Exhibit A
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      2016                      03/22/2016

      2017                      02/24/2017

      2018                      03/26/2018



      Document Images


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      01/09/2008 - ANNUAL REPOR            View image in PDF format


      10/02/2007 •••• RFiNS'l A i FMF NT   View image in PDF formal


      12/18/2006 -• Domestic Profit        View image in PDF formal




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 RENT: S 8.666.67                                                   FOLIO #         BH 5561                        BAY: 5559 NW 36th AVENUE
 TAX:     S 606.67                                                                                                 TERMS: 08/01/2017-07/31/2018
 WATER: TENANT PAYS                                                                                                YEARS : (HONE YEARS
 TRASH: TENANT PAYS                                                                                                NEW            RENEWAL             X
 SEC. SERV. TENANT PAYS                                                                                            SECURITY : S 17.333.34
 TOTAL: $9.273.34                                                BUSINESS LEASE                                    OTHER:

 THIS AGREEMENT, entered into this           iST   day of AUGUST. 2017           between     BRIAN HOLLAND AND ANDREA HOLLAND a.k.a BRIAN
HOLLAND 5561 RENT ACCOUNT hereinafter called the "LESSOR", party of the first part, and APLUS LAMINATION & FINISHING. LESSEE" or
tenant, party of the second part, in the County of DADE and State of FLORIDA :

That the Lessor, for and in consideration of the rents herein reserved to be paid by the Lessee, for and in consideration of the covenants to be kept and
performed by the Lessee does hereby lease, let and demise unto the Lessee, the following described property located at:
  5559 NW 36™ AVENUE. MIAMI, FL 33142

ACCEPTANCE OF                    1 . The Lessee in consideration of the demise of said property by the Lessor, and for the further considerations herein set
DEMISE BY LESSEE:               has rented, leased and hired, and does hereby rent, lease and hire the said property for the Lessor, on the terms and conditions
                                hereinafter stated. Sq. Footage occupied +/- I6.00Q Sq. Feet.

DURATION OF                     2. The Primary Term and duration of this Lease shall be for a period of            ( I) ONE YEARS         . commencing
TERM:                              1st   dav of AUGUST. 2017 and terminating dre 31st               day of JULY. 2017

AMOUNT OF RENT                  3. The Lessee shall pay unto the Lessor the minimum rent for the full Term of this Lease the total rental in the sum of
MANNER OF PAYMENT:               ONE HUNDRED FOUR THOUSAND DOLLARS                                                    Q4/1QQ--(S 104.000.041

MONIES REQUIRED                 S9.273.34 on signing of this Lease, receipt in which is hereby acknowledged, to be applied as follows:
TO MOVE IN                      S 8.666.67 as rent in advance for the period of 08/01/2017 to 08/31/2017 , and S 606.67 for Sales Tax, TENANT PAYS
                                for Water, TENANT PAYS FOR Trash and TENANT PAYS FOR Security Service; plus 7% Sales Tax.
                                 The balance of the rent shall be payable as follows:

Is'   YEAR                      AUGUST 1. 2017 THRU JULY 31. 2018 the rent will be S 8.666.67 per month; payable on the 1st dav of each month until
                                entire rental is paid, plus Florida Sales Tax. If the rent is not paid by the first day of any month, the rent for that month will be
                                S9.533.34 plus Florida Sales Tax.

      YEAR                                               the ront will bo S                 per month; payable on the 1st dav ofeach month until entire rental is paid.
                                plusFloridn Sales Tax. If the rent is not poid bv the first dav of any month, the rent for that month will bo S       plus Florida Sales


3Kt) YEAR                                               the rent will bo $                   per month; payable on the 1st day of each month until entire rental is paid,
                                plus Florida Sales Tax. If the rent is not paid bv die first day of any month, the rent for that month will be &    plus Florida Sales


4™ YEAR                                                 the ront will be S                   per month; payable on tho 1st day ofeach month until entire rental is paid.
                                plus Florida Sales Tax. If the rent is not paid bv the first day of any mouth, the rent for that month will bo S   plus Florida Sales
                                Te*r

5* YEAR                                                 the rent will be S_                  per month; payable on the I st day ofeach month until entire rental is paid,
                                plus Florida Sales Tax. If the rent is not paid bv die first dav of any month, the rent for that month will be S    plus Florida Sales
                                Tejtr

AMOUNT OF SECURITY              4. Simultaneously with the execution of this Lease, the Lessee shall deposit with the Lessor the sum of
MANNER OF PAYMENT:                     SEVENTEEN THOUSAND THREE HUNDRED THIRTY THREE DOLLARS AND 34/100                                            (S 17.333.341
                                receipt of which said sum is hereby acknowledged by the Lessor, as a security deposit to guarantee the full and faithful
                                performance of ail the terms, conditions and obligations to be performed by the Lessee under the terms of this Lease; same to be
                                returned upon the expiration of this Lease after all cost of returning the premises to there original condition, reasonable wear and
                                tear excepted, thereafter it shall be applied to all remaining obligations including but not limited to, rent in arrears, this deposit
                                does not relieve the Lessee of his obligations to pay each and every payment when due hereunder. The Lessor may demand
                                additional security during the term of this lease, should it be deemed necessary in order lo guarantee that die premises shall be
                                restored to the original condition. ***ADDITIONAL DEPOSIT OF S2.000.00 REQUIRED ***

                                A. Lessee's security must always equal TWO (2) months rent or more on all lease increases and renewalsi

ADDITIONAL PAYMENT             5. Lessee shall pay all occupational licenses, and other licenses, which are necessary in the operation of the business to be
REQUIREMENTS:                  carried on in the demised premises. All utility services which may be provided to the premises, including but not limited to: water,
                               gas, electric, telephone, as they from time to time shall accrue and be due and payable. Lessee will be required to have garbage
                               senice pickup. Lessee shall pay all Sales and Use Taxes due as a result of business conducted on the premises, and Personal
                               Property Taxes assessed against the personality situate thereon.

ADDITIONAL                     6. PAYMENTS ARE TO BE MADE PAYABLE TO: BRIAN HOLLAND 5561 RENT ACCOUNT
AGREEMENTS:                        Located at: 1 3 1 05 NW LE JEUNE ROAD. OPA LOCKA. FLORIDA 33054


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                                                                                                                                        Exhibit B
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USF. AND            7. THE LESSEE SHALL USE AND OCCUPY THE PREMISES FOR PA1NT.FIN1SH1NG.DYE & CUT OF
OCCUPANCY:                 LAMINATION and tor rio other purpose.


REAL ESTATE         8. Real Estate taxes for the year 2007          assessed against the building will he paid by the lessor and said year will be
PROPERTY TAX:       considered the base year in any succeeding year. Any increases ih taxes over (he base year's taxes will be paid proportionately by
                    all the Lessee's of the building in the proportion that their respective premises bear to the total leased premises. Lessee shall pay to
                    the lessor his proportional increase within 1 5 days after the Lessor notifies the Lessee that the real estate taxes have been paid by
                    the Lessor.


INSURANCE:          9. Ixjssee covenants to provide on or before the commencement of this lease at lessee's expense; comprehensive genera! liability
                    insurance relating to lessees premises on an occurrence basis with minimum limits of liability in an amount rio less than
                    5500,000.00 for bodily injury, personal injur)- or death to any one person. S 1 ,000,000.00 for bodily injur)-, personal injur)- or
                    death to more than one person, and S 100,000.00 with respect to damage to property by water or otherwise; and fire and extended
                    coverage, vandalism, and special extended coverage in an amount adequate to cover the cost or replacement of all improvements
                    in the premises as well as the cost of all fixtures and contents therein. The above coverages must be maintained in force at all
                    times. All of die aforesaid insurance shall be issued in the name of Lessor and Lessee. In the event ofpayment of any loss covered
                    by such policy, Lessor shall be paid first by Ihe insurance company for its loss. Lessee accepts all liability lor the interior and
                    exterior of the occupied space and surrounding area. If lessee cannot show proof of insurance. Lessee shall indemnify and hold
                    harmless the Owner, their Agents and Employees from and against all claims, damages losses and expenses, including attorney
                    fees arising from or resulting from the occupancy of the premises.

EXTENSIVE           ! 0. In the event that the premises shall be destroyed by fire or other casualty, whereby the premises shall be rendered
DAMAGED:            untenantable, then the Lessor shall have the option to render said premises tcnantablc by repairs within one hundred eighty days
                    therefrom. If the premises are not rendered tenantable within said period, Lessee may cancel this lease by notice in writing to
                    Lessor within ten days of the expiration of said one hundred eighty days period. In the event of cancellation the rent shall be paid
                    only to the date of such cancellation. Under no circumstances shall Lessor be responsible to Lessee for any damage occasioned by
                    the inability of Lessee to use the premises during any period that the same shall be destroyed or damaged or injured by fire or
                    other casualty. Except to the extent, specifically set forth herein, none of the rent payable by Lessee or any of Lessee's obligations
                    hereunder, shall be affected by any damage to or destruction of the premises by any cause whatsoever, and Lessee hereby
                    specificaily waives any and all additional rights it may otherwise have under any law or statue.

DAMAGE             i 1 . Lessor will not be liable or responsible for any damage or loss, either to person or property sustained by Lessee or by
AND LOSS:           other pctsons, due to the building or any part thereof becoming defective or out of repair due to any accident in or about the
                    premises or due to the act or neglect of any Lessee or occupant of the building. This provision shall apply particularly, but not
                    exclusively, to damage or loss to Lessee's merchandise, equipment, inventory, fixtures or other personal property and to Lessee's
                    business, caused by water, roof leakage, odors, bursting or leaking of pipes or plumbing, wind, rain, hurricane, acts of God or
                    other casuaities, or caused by any defect, latent or otherwise in any structure, equipment, pipe, wires or otherwise, comprising all
                    or part of the premises- or the building of which the premises are a part, and shall apply equally, whether such damage is caused by
                    the act or neglect of other tenants, occupants of the building or any other person, and whether such damage be caused or
                    occasioned by any circumstances above mentioned, or by any other thing or circumstances whether of a like or wholly different
                    nature. If any such damage is caused by the act or neglect of Lessee, Lessor may at its option, repair such damage, whether caused
                    to the building or tenants thereof, and Lessee agrees to reimburse Lessor ior cost of 9ueii repair, which shall be at Lessor's actual
                    cost plus twenty percent (20%) overhead and administration fee. All personal property upon the premises shall be at the risk of
                    Lessee, and Lessor shall not be liable for any damage thereto or theft thereof. Lessor shall not be liable for damages or repairs
                    resulting from the stoppage or interruption of water, light, heat, janitor or elevators service caused by riot, strike, accident, or any
                    cause over which Lessor has no control, nor shall Lessor be liable for any act or neglect of janitors or other employees not
                    authorized by Lessor, nor shall any such failure, delay or default of janitors or employees be construed or considered as an actual
                    or constructive eviction of lessee, nor shall it in any way operate to release Lessee from performance of the covenants herein
                    agreed to be performed by Lessee. In the event that Lessor is required to make repairs to the premises following the termination
                    (natural or premature) of this Lease, lessee shall be responsible for the cost of said repairs and for rent for the period of time
                    required to complete such repairs on a per diem basis calculated by the rental rate then in effect, all of which sums may be
                    claimed against Lessee's security deposit in accordance with the provisions of Chapter 83, Florida Statutes.

INDEMNIFICATION:    12. Lessee shall indemnify and save Lessor harmless from and against any and all claims, demands, suits, actions, damages,
                    liability and expense, including attorney's fees, for or in connection with any accident, injury or damage whatsoever caused to any
                    person or property arising, directly or indirectly out of the Lessee's tenancy hereunder, or occurring in, on or about the premises or
                    a tiy part thereof, on the sidewalks adjoining the same and any common areas and facilities within nor appurtenant to the premises

                    or arising directly or indirectly from any act or omission of Lessee, its agents, contractors, employees, servants, invites, licenses,
                    or subtenant, acts of God or otherwise Lessee shall within five days thereof give notice in writing to Lessor of any fall or other
                    accident in any fixtures' or equipment thereon. The comprehensive general liability insurance coverage maintained by Lessee
                    pursuant to this lease shall specifically insure the contractual obligation of Lessee as set forth in this paragraph.

MAINTENANCE OF      13. Lessee shall maintain all of the electric, electrical fixtures, air conditioning, "plumbing, plumbing fixtures, exhaust fans,
THE PREMISES:       concrete floors, carpeting, tile, entry and overhead garage doors, locks, fire sprinklers, roof, interior walls, interior paint, windows,
                    paved area and landscaping in front of die premises, and sewer stoppages. All of the aforesaid items shall apply regardless of
                    ownership. Lessee shall be solely responsible for the payment of repairs to maintain all of the above items and shall replace any


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                 item beyond repair, to the satisfaction of the lessor; and lessee will have ten days from date of notice to make such repairs. Lessor
                 has the right to increase the security or cleanup any damage caused by glue or any other material at the expense of Lessee, which
                 shall be at Lessor's actual cost plus twenty percent (20%) overhead and administration fee.


IMPROVEMENTS.    1 4. On the last day of this lease, Lessee shall quit and surrender the premises, together with all of the fixtures, alterations,
ALTERATIONS,     additions and improvements which may have been made in, on. or to the premises, except movable furniture, or unattached
FIXTURES, AND    movable trade fixtures. Lessee shall broom clean, in as good condition and repair as the premises were in at the beginning
EQUIPMENT        of the term of this lease, reasonable wear and tear accepted. All the air conditioning and other mechanical equipment of
                 evety nature, must remain on the premises, and the Lessee fully acknowledges that all other improvement, including but
                 not limited to offices, partitions, lighting fixtures, electrical wiring, plumbing fixtures. A/C units, mezzanines, carpeting, tile,
                 paneling, etc must remain on the premises regardless of ownership.

SUBORDINATION    15. LESSEE agrees that if Lessor secures a construction and/or first mortgage on the demised premises from a
AGREEMENT:       recognized lending institution; and that this lease is and shall be subordinate to the lien of said construction and/orfirst mortgage;
                 and the lessee agrees that it will execute such subordination or other documents or agreements as may be requested or required by
                 such lending institution; however, and that the mortgage and/or subordination agreement, as the lending institution may direct,
                 shall contain a provision which states, in effect, that the lessee shall not be disturbed in its possession and occupancy of the
                 premises during the term of this lease, not withstanding any such mortgage or mortgages, provided that the lessee shall comply
                 with and perform its obligations hereunder.

APPROVAL AND      1 6. LESSEE must obtain written approval from the lessor before any changes, alterations or improvements are made to the
PERMITS          interior or exterior portions of the building. At lessee's expense, lessee is required to obtain the necessary permits and plans; a
                 copy of each is to be given to the lessor prior to the commencement of any work . Any and all improvements made to the premises
                 and attached to the real property must be approved by the Lessor and all attached improvements will remain on the property of the
                 Lessor forever more, unless Lessor requires Lessee to remove upon termination of the lease agreement.

NOTICE TO        1 7. LESSEE must notify the Lessor in writing, no later than 90 days before the expiration of this lease, of its intentions to
VACATE:         cither vacate, negotiate a new lease or exercise the option agreement, if any. If Lessee fails to notify lessor, in writing, the Lessor
                shall have the authority and right to rent the premises, and the Lessee shall vacate the premises immediately on the last day of this
                lease and will forfeit all security which will be applied to unpaid rent until the space is leased and any remaining security will be
                refunded. A refund of any portion of security or tender of refund of any portion of security shall not operate as a waiver of
                Lessor's rights to retain any or all security under this section. Should Lessee hold over and remain in possession ofthe Premises at
                the expiration of any term hereby created, Lessee shall, by virtue of this paragraph, become a Lessee by the month at twice the
                Rent per month of the last monthly installment of Rent above provided to be paid, which said monthly tenancy shall be subject to
                all the conditions and covenants of this Lease as though the same had been a monthly tenancy instead of a tenancy as provided
                herein, and Lessee shall give to Lessor at least thirty (30) days' written notice of any intention to remove from the Premises, and
                shall be entitled to ten ( 1 0) days' notice from Lessor in the event Lessor desires possession of the Premises; provided, however,
                that said Lessee by the month shall not be entitled to ten (10) days' notice in the event said Rent is not paid in advance without
                demand, the usual ten (10) days' written notice being hereby expressly waived.

NOISE, ODORS,   18.  LESSEE will not use the interior and/or exterior portion of the premises so as to cause noise, noxious odors,
                accumulation of waste and garbage, vibrations from machinery, or any other disturbance or nuisance which may create
                 undue annoyance or hardship to another tenant of the lessor, and/or damage or impairment to Lessor's property.
                Bands will not be allowed to practice until after 6:00 PM and up to midnight. Lessee will not be allowed to disturb other tenants
                while practicing or this lease will become null and void.

SIGNS:          1 9. LESSEE must obtain approval from the Lessor prior to erecting any signs. Lessor shall have the right to determine the size,
                materials and lighting thereof; and the Lessor, may, at its option, order and have the signs installed from one source, same to be at
                the expense of the Lessee. No painting of signs shall be permitted direct to the masonry. Lessee fully understands that the Lessor
                may remove, without notice, any such signs which w ill be in violation of this lease. At the termination of this lease, at Lessee's
                sole expense. Lessee shall remove all signs and restore the building's masonry paint to its original state. If directory sign becomes
                available. Lessee will be responsible for all expenses associated with its position on such a directory sign, including the pro-rata
                costs of erecting and maintaining such a directory sign.

RECEIVERSHIP,   20. LESSEE expressly covenants that, unless agreed in writing by Lessor, neither adverse zoning nor other governmental
BANKRUPTCY,     regulations, nor receivership, bankruptcy, insolvency, nor any other event, shall operate to relieve Lessee from the
INSOLVENCY:     obligations of Lessee hereunder, and Lessee waives the defense of impossibility of performance, whether arising thereby
                or by reason of any other matter or event, however caused.

PARKING AREA    21. LESSEE will use the parking spaces directly in front of Lessee's premises. Any vehicle not operational and which
RESTRICTIONS:   remains in front of Lessee's premises for a period of five days or more, will be considered "Junk" and Lessor will have the right to
                have such "Junk" vehicle or vehicles towed from the premises and Lessee shall be responsible for all towing expenses. Lessee also
                will not use the outside of the premises for storing auto pans, machinery, equipment, or anything other than Lessee's vehicles.
                Lessor shall have the right to remove all of the above articles at the expense of the Lessee.

SUBLETTING      22. LESSEE may not assign this lease, or let or underlet the whole or any part of said premises without the written consent
OF PREMISES:     of the Lessor, provided: the Lessee remains liable on the within lease, and the assignee shall execute an assumption of this lease
                agreement in recordable form.



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INSURANCE            23. LESSEE will not use ihe premises for any purpose which may increase ihe base rate of fire, extended coverage
PAYMENT:             and liability insurance; that in the event the standard base rates cannot be obtained by reason of the Lessee's use of the premises,
                     then and in that event, the Lessee sbali forthwith upon notice, either desist from said unacceptable use and-'or pay such additional
                     insurance premiums. Lessee acknowledges that the standard insurance rate for the year 2007        assessed against the building
                     will be paid by the Lessor and said year will be considered the base premium year. In any succeeding year, any increases in the
                     insurance premium over the base year's insurance will be paid proportionally by all the Lessees of the building in the proportion
                     that theif respective premises bears to the total leased premises. Lessee shall pay to the Lessor his proportional increase within 1 5
                     days after the Lessor notifies the Lessee that Lessor has paid the increase.


ADDITIONAL           24.       a/ LESSEE will pay the rent as herein specified without noiice.
COVENANTS OF                   b/ LESSEE will furnish u mail box.
THE LEASE:                     c/ LESSEE will furnish (he accessary type fire extinguisher, exit signs and emergency lights to meet ail codes,
                               d/ LESSEE will furnish an adequate trash chntainer and proof submitted to the Lessor within 30 days or a
                                         dumpster will be ordered at Lessee's own expense,
                               e/ LESSEE is required to have waste and recycling service as required by the Lessor and all governing
                                         Municipalities.
                               f/ LESSEE will not keep flammable chemicals on the premises, unless properly ventilated.
                               g/ LESSEE will comply with all lawful requirements of the Board of Health, Police and Fire Departments,
                                       Municipal, Count}-, State and Federal authorities respecting the manner in which Lessee uses the
                                                       leased premises.
                               h/ LESSEE will not be permitted to have pets or guard dugs of any kind.
                               1/ LESSEE PAYS TENANT PAYS WATER CHARGE and IS SUBJECT TO CHANGE AT ANYTIME
                               j/ LESSEE Will not be allowed on the roof without written permission from the Lessor. If Lessee shall install
                                        any type of equipment oh the roof, such as an air conditioner, antennas, air vents, etc., the Lessor shall
                                         not be responsible for any damage caused by leakage to the premises, which may also result in damage
                                         to Lessee's personal property. In the event of damage due to the above said, Lessee shall be responsible
                                         far repairing the entire roof area above Lessee's premises as soon as possible an at the expense of Lessee,
                               k/ Absolutely no car repair, painting or storage of cars on the exterior of the premises. Painting wiil not be
                                         allowed on the interior of the premises without an approved fire rated spray booth. Any violation of
                                             the above wiil cause this lease to become null and void.

                 25. LESSEE has examined Ihe premises and is familiar with the condition thereof, and accepts the same in their present condition.
                 Lessor has made no representations or warranties to Lessee respecting the condition of the premises.

LESSOR'S RIGHT   26. The LESSOR, its' agents, or employees, shall have the right to enter said premises during all reasonable hours, to
OF ENTRY:        examine make repairs, alterations, etc. as may be deemed necessary. Lessor, in his sole judgment may enter the premises at any time
                 and by any means, if there appears to be an emergency with the premises. No additional locks or bolts of any kind shall be placed
                 upon any of the doors or windows by Lessee, nor shall any changes be made in the existing locks or the mechanism thereof unless
                 Lessee shall simultaneously therewith give keys to the same to Lessor. If Lessee shall make any modifications such as welding plates
                 or changes to doors or windows. Lessee will be responsible to replace doors or windows at lessee's expense.

LEGAL:           27. a/ In the event of a default by Lessee entitling Lessor to serve a three day notice of eviction pursuant in Florida Statute Section
                 83.20, as uow or hereafter existing and if Lessor or Lessors attorneys shall serve siich a notice upon Lessee, Lessee agrees to pay an
                 attorneys fee of Fifty ($50.00) Dollars for each time that service of said notice is effected. Said notice shall be deemed served if
                 accomplished in a manner described by law or by certified mail, return receipt requested.
                      b/ The parties acknowledge and agree that all provisions contained herein with respect to liquidated damages are reasonable, in
                 amount it being the agreement of the parties, that, as of the date hereof, actual damages that may be suffered by Lessor in the event of
                 default or breaches of die terms hereof by Lessee are incapable of ascertainment.
                     c/ Lessee agrees to pay all legal fees and expenses incurred by Lessor in enforcing any of the terms hereof, or in the defense of
                 any action brought by Lessee hereuhder, or incident to any other litigation or negotiation in which Lessor shall become involved,
                 subsequent to the date of the execution hereof, through or on account of this lease, including but not limited to appellate fees, if
                 applicable.
                     H With respect to any provision of this lease which provides that Lessor shall not unreasonably withhold or unreasonably delay
                 any consent or any approval. Lessee, in no event, shall be entitled to make nor shall Lessee make any claim for and Lessee Hereby
                 waives any claim for money damages; nor shall Lessee claim any money damages by way of set off, counterclaim or defense, based
                 upon any claim or assertion by Lessee that Lessor has unreasonably withheld or unreasonably delayed any consent or approval; but
                 Lessee's sole remedy shall be an action or proceeding to enforce any such provision.
                     e/ It is expressly agreed by the parties hereto that Lessor shall have no liability to Lessee whatsoever if Lessor shall be unable to
                 deliver possession of the premises to Lessee on the date of the commencement of the term hereof for any reason whatsoever,
                 including* but not limited to. the fact thai the building in which the premises are located has not been completely or sufficiently-
                 completed to make the premises ready for occupancy. Under such circumstances, the rental reserved and covenanted to be paid herein
                 shall be abated pending the making available of the premises to Lessee. No such failure to deliver possession of the premises on the
                 commencement date of the term of this lease shall in any manner affect the validity of this lease or its terms.
                     f/ Lessee shall not be entitled to any abatement of rent or rental value or diminution of rent in any eviction or distress action of
                 proceeding instituted by the Lessor for non-payment of rent or additional rent or in any eviction or distress action or proceeding by
                 reason of any breach of default by the Lessor of any covenant contained in this lease or its part to be performed. Lessee will not
                 interpose any counterclaim of whatever iiaUirc or description in any such proceeding. The Lessee shall hot have the right of set off by
                 way of damages, recoupment, or counterclaim for any damages which Lessee may have sustained by reason of Lessor's failure to


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              perform any of the terms, covenants or conditions contained in this Lease. Lessee shall, however, have the right to commence
              independent action for any relief to which Lessee may deem it is entitled.
                  g/ If Lessee vacates or abandons the demised premises in violation of this lease agreement, any property shall be deemed to have
              been abandoned and may either be retained by Lessor as the property of, or may be sold at public or private sale with such terms
              Lessor, in good faith see fit. Any property of Lessee sold at the public or private sales shall be applied by Lessor against (1) the
              expenses of Lessor for removal, storage or sale of the personal property. (2) the arrears of rent or future rent payable under this lease
              agreement, and (3) any other damages to which Lessor may be entitled under this lease agreement. The balance of such amounts, if
              any, shall be given to Lessee.
                  h/ Lessee hereby waives all right of subrogation against Lessor as respects any insurance proceeds that it may collect from its own
              insurance carrier.
                   M It is mutually agreed by and between Lessor and Lessee that the respective parties herein hereby waive trial byjury in any action
              or proceeding brought by either party pertaining to any matter whatsoever arising out of or in any way connected with this lease or
              Lessee's occupancy of the premises. Any action brought by either party arising from or in any way pertaining to this lease or Lessees
              occupancy of the premises shall be brought in a state court of competent jurisdiction in the County in which the Premises is located.
                  j / Unless expressly so stated in writing by Lessor, no act or thing done or omitted by Lessor or Lessor's agents during the term of
              this lease shall constitute an eviction by Lessor, nor shall any such act or thing done be deemed an acceptance of the surrender of the
              premises and no agreement to accept a surrender shall be valid unless in writing signed by Lessor. No employee of Lessor or Lessor's
              agent shall have any power to accept the keys of the premises prior to the termination of this lease. The delivery of keys to any
              employee of Lessor shall not operate as a termination of the lease or a surrender of the premises. However, the non-delivery of keys to
              Lessor at the termination (natural or premature) of any lease agreement shall operate to continue the obligatioas of Lessee for payment
              of rent irrespective of its possession of the premises until such time as the keys are delivered to Lessor.
                   k/ Lessee shall not do any act or make any contract which may create or be the foundation for any lien or other encumbrance upon
              any interest of Lessor in the premises. If as the result of any act. or omission or alleged act or omission of Lessee, any mechanic's,
              materialmen's, laborer's or other lien charge or order for the payment of money or other encumbrance shall be filed against Lessor or
              any portion of premises, whether or not such lien, charge, order or encumbrance is valid or enforceable as such. Lessee shall, at its
              own cost and expense, cause the same to be discharged of record or bonded within ten days after notice to Lessee of the filing thereof.
              Lessee shall indemnify and save harmless Lessor from all cost, liabilities, suits, penalties, claims and demands, including reasonable
              attorney's fees, resulting therefrom. At Lessor's option Lessee will fumish lien waivers or a bond in form and with surety satisfactory
              to Lessor prior to commencing any work in connection with making alterations or improvements to the premises, if Lessee fails to
              comply with the foregoing provisions, Lessor shall have the option of discharging or bonding any such lien, charge, order or
              encumbrance, and Lessee agrees to reimburse Lessor for all costs, expense and other sums of money in connection therewith upon
              demand all materialmen, contractors, artisans, mechanics, laborers and any other persons now or hereafter contracting with Lessee for
              the furnishing of any labor, services, materials, supplies or equipment with respect to any portion of the premises are hereby charges
              with notice that they must look exclusively to Lessee to obtain payment for same, and Lessee agrees to so inform such persons.
                   1/ Wherever throughout this lease, the Lessee is required to do any act or expend any money to a third party, including but not
              limited to the repair and maintenance of the premises, trash removal, if Lessee refuses or neglects to perform any such act or make
              any such payment Lessor may, without notice, cause said act to be performed or expend said money on behalf of and or the account of
              Lessee, and in such event, Lessee shall reimburse Lessor for all such expenditures within ten days from demand therefore by Lessor.
                   m/ All sums of money which may, in addition to the rent herein provided, be due and payable by Lessee to Lessor pursuant to any
              of the terms of this lease, shall be considered as additional rental.
                 n/ Any notice, approval, consent or other communication required or permitted to be served pursuant to this lease shall be
              considered served on Lessor if delivered to Lessor and receipted therefore in writing or delivered to Lessor and receipted therefore by
              certified mail with return receipt requested, at the address set forth herein or such other address as Lessor from time to time designated
              in writing, and any notices, approvals, consents or other communications required or permitted to be delivered to Lessee shall be
              deemed delivered il' delivered to the premises, or deposited in the United States mail, postage prepaid, and addressed to the premises,
                 o/ This agreement shall be governed by the laws of the State of Florida.
                 p/ Nothing contained in this lease shall be construed to create the relationship of principal and agent, partnership, joint venture or
              any other relationship between the parties hereto other than the relationship of Lessor and Lessee.
                 q/ If the Lessor deems it necessary' to obtain security service for the protection of the tenants, in that event the Lessor shall have the
              authority to assess each tenant within the premises an amount based upon square footage of the tenants premises. The payment will be
              assessed and become due and payable with the monthly rent. This assessment shall be based upon the actual cost of service.
                  r/ In the event the business is sold the Lessor has the option to adjust the rent and a new lease shall be made between
              the new buyer and the Lessor.
                 si Under no circumstances shall glue, lacquer thinner or other toxins or any other items that could be environmentally liazardous be
              permitted to ooze, seep or be spilled into the ground. Any violations of the above, shall cause the tenant to be personally responsible to
              bear the total expense of the curing of the problems created by his negligence and shall satisfy- all of the Municipal, State and Federal
              agency requirements and cost to correct the condition.
                M Lessee shall indemnify and hold harmless the owner and their agents and employees from and against all claims, damages, losses
              and expenses including attorney's fees arising from or resulting from the occupancy of the premises, including damage or loss to
              contents of personal property from water, lire, theft, or any other reason.
                 u/RADON GAS NOTIFICATION: (the following notification may be required in some states): Radon is a naturally occurring
              radioactive gas that, when it has accumulated in a building in sufficient quantities, may present health risks to persons who arc
              exposed to it over time. Levels of radon that exceed federal state guidelines have been found in buildings. Additional information
              regarding radon and radon testing may be obtained from your county public health unit.




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                                          645



              WJTO1KS WHEREOF, the parties hereto set (heir hands and seals on the day and year first above written.                                                                       *


                                                                                    BRIAN HOLLAND AND ANDREA HOLLAND a.k.u
                                                                                    BRIAN HOLLAND 556 1 RENT ACQ




          \\vrfv.z/                                                                 BRIAN K. HOLLA.NT5I .VMKaCER



                                                                                    Al'LUS LAMIN ATION                    £G



                                                                               D(
          wrfjfEss                                                                  MAKCEjk                                            ISLAMllSS                INISHING

TENANT MUST FURNISH TrHT LANDLORD WITH CERTIFICATE OF INSURANCE AS STATED IN THE RJwjCSE.

I ENANT MUST FURNISH THE LANDLORD WITH A FULL COPY OF CORPORATE DOCUMENTS.

POSSESSION OF THE ABOVE DESCRIBED PREMISES WILL NOT BE GIVEN TO TENANT UNTIL;


I.      TENANT MUST FURNISH THE LANDLORD WITH CERTIFICATE OF INSURANCE AS STATED IN THE LEASE.
2.      TENANT MUST FURNISH THE LANDLORD WITH A FULL COPY OF CORPORATE DOCUMENTS.
3.      POSSESSION OF THE ABOVE DESCRIBED PREMISES WILL NOT BE GIVEN TO TENANT UNTIL:
                    A.          THIS APPLICATION HAS BEEN CHECKED AND APPROVED BY LANDLORD.
                    B.          THE LEASE HAS BEEN SIGNED AND THE RENT AND SECURITY HAVE BEEN DEPOSITED WITH THE LANDLORD.
                    C.          THE TENANT HAS PROVIDED THE PROCESS NUMBER FOR THE OCCUPATIONAL LICENSE WITH THE APPROPRIATE CU V
                                 MUNldPAI TIT AND TENANT MAS 30 DAYS FROM SIGNING THIS APPLICATION TO PROVIDE LANDLORD A COPY OF THE
                                OCCUPATIONAL LICENSE, CERTIFICATED OF USE & FIRE INSPECTION PERMIT FOR TENANT FILE.
                    D.          THE TENANT HAS PROVIDED A RECEIPT AS PROOF THAT THE WATER ACCOUN T HAS BEEN ACTIVATED
                    E.          IF THE BUILDING HAS A FIRE ALARM PANEL. TENANT IS RESPONSE)!. E FOR MAINTAINING THE MONI TORINO SERVICE AND
                                PROVIDE THE LANDLORD PROOF OF SERVICE
                    F.          ALL REQUIRED DOCUMENTS HAVE BEEN PROVIDED.
A.      THE LANDLORD HAS THE OPTION TO ACCEPT OR REJECT THIS APPLICATION. IF ACCEPTED, THE DEPOSIT SPECIFIED ABOVE WILL BE CREDITED ON
        THE ACCOUNT OF THE FIRST MONT H'S RENT. IF NOT ACCEPTED. THE DEPOSIT WILL BE RETURNED. THE TENANT HEREBY WAIVES ANY CLAIM FOR
        THE DAMAGES BY REASON OF NON-ACCEPTANCE OF THIS APPLICATION. WHICH THE LANDI .ORD MAY REJECT WITHOUT ST AUNG ANY REASON
        FOR SAME.
5.      NO DOGS, CATS OR OTHER ANIMALS WILL BE ALLOWED ON THE PREMISES.
6.      THE LANDLORD WILL NOT BE RESPONSIBLE FOR OCCUPANCY ON THE ABOVE MENTIONED BAY TO THE TENANT, DUE TO ANY DEL AY.
7.      THE LESSEE SHALL BE RESPONSIBLE TO OBTAIN THE NECESSARY FEDERAL, STATE AND LOCAL LICENSES TO CONDUCT LESSEE'S BUSINESS AT THE
        ABOVE ADDRESS AND SHAI.I BEAR ALL COSTS NECESSARY TO OBTAIN SUCH LICENSES,

          In consideration of the letting of the premises within mentioned to the within named Tenant and the sunt of S 1 .00 paid to the undersigned by the within named Landlord, die
          undesigned docs hereby covenant and agree, to and with the Landlord and Landlord's legal representatives and assigns, that if default shall at any time be made by the
          Tenant in the payment of any rent or the performance ofany of the terms, covenants or agreements contained the within lease on the Tenant's to be paid and performed, the
          undersigned will well and truly pay tiie said rent, or any arrears hereof that may be due unto die landlord as well as any damages that may arise as consequence ot such lion-
          performance without requiring notice of any default from the Landlord and the Undersigned agrees that this guaranty shall not be atfected by reasoil of the assertion by
          Landlord against Tenant of any rights or remedies reserved to Landlord in said lease or by reason of summary or other proceedings against Tenant or by reason of any
          extension of indulgences granted by Tenant. The undersigned waives trial by jury in any action or proceeding brought by eirher Landlord or the undersigned against die
          other oii ai   natters relating to saidjea.se or this guaranty.


                                                                                               BRIAN HOLLAND                        EA HOLLAND a.k.n
                                                                                               BRIAN HOi J^MrgflirrRICV



          WITN!                                                                                BRIAN K. HOL/AND, MANAGER




                                                                                            Of APIA'S LAMINATION & FINISHING


          W1TM&                                                                                                   1APRI-S1
                                                                                                                                            ^22
                                                                                                                                     -fOR APLU347?> MI NATION & FINISHING




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          BRIAN HOLLAND AND ANDREA                                           IN THE COUNTY COURT IN AND
                                                            FOR
          HOLLAND a/k/a/ BRIAN HOLLAND                               MIAMI-DADE COUNTY
          5561 RENT ACCOUNT,
                                                                     CIVIL DIVISION
                   Plaintiff,
          vs.                                                                                       CASE        NO:
                                                                     18-8187 CC 05

          APLUS LAMINATION & FINISHING
          INC., a Florida Corporation and all
          other occupants,

                   Defendants.



                       ORDER DIRECTING DEPOSIT OF RENT INTO REGISTRY OF COURT

                   THIS CAUSE CAME ON TO BE HEARD before me. on May 3, 2018, upon Plaintiff's
          Motion for Order Directing Deposit of Rent Into Registry of Court, and. having appeared counsel for
          Plaintiff and Defendant and the respective parties, after hat ing heard argument from counsel, having
          reviewed the Court file and being otherwise fully advised in the premises, it is:

                   ORDERED AND ADJUDGED:

                   1 . Plaintiff s Motion for Order Directing Deposit of Rent Into Registrv of Court be and the same
          is hereby granted

                   2. The Defendant. APLUS LAMINATION & FINISHING. INC., is hereby ordered to deposit the
          sum of $9,000.00 into the Miami-Dade County Registry of Court on or before May 7, 2018.

                   3. The Defendant, APLUS LAMINATION & FINISHING, INC., is hereby ordered to deposit the
          sum of $9,000.00 into the Miami-Dade County Registry of Court on or before May 14, 2018.

                   3. The Defendant shall further timely deposit the rent as it becomes due into the Registry of
          Court.

                   4. The Defendant's failure to timely pay the ordered sums into the Registry of Court shall
          constitute and absolute waiver of its defenses, other than payment or proof of payment, and Plaintiff shall
          be entitled to a Default/Default Final judgment for Removal of Tenant and a Writ of Possession to issue
          forthw ith without the necessity of further hearing pursuant to Section 83 .232. Florida Statutes.

                 5. Upon Defendant making timely deposit into the Registry of Court of the sums due on May 7.
          2018 and May 14, 201 8. the parties shall appear for mediation oil May 15, 2018 at 1:30 PM.


                   DONE AND ORDERED in Chambers at Miami-Dade County, Florida, on 05/10/18.




                                                    ALEXANDER S. BOKOR
                                                    COUNTY COURT JUDGE


          The parties served with this Order are indicated in the accompanying 11th Circuit email
          confirmation which includes all emails provided by the submitter.                    The movant shall




                                                                                                             Exhibit C
https://www2.miami-dadeclerk.com/ocs/ViewerHTML5.aspx?QS=B6%2f9EwnZlIiih%2b... 5/30/2018
                                                                       Page 2 of 2
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          IMMEDIATELY serve a true and correct copy of this Order, by mail, facsimile, email or
          hand -delivery, to all parties/counsel of record for whom service is not indicated by the
          accompanying 11th Circuit confirmation, and file proof of service with the Clerk of Court.


          Signed original order sent electronically to the Clerk of Courts for filing in the Court file.

          Conformed copies to:

          JOSEPH R, COLLETTI. P A.
          Attorney for Plaintiff

          ALEXANDER E. BORELL. ESQ
          Attorney for Defendant




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ontact Us (http://www.miami-dadeclerk.com/contact.asp)
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     Miami-Dade County Civil, Family and Probate Courts
                     Online System


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    BRIAN HOLLAND ET AL VS. APLUS LAMINATION & FINISHING, INC.
    Local Case Number: 2018-008187-CC-05
    Filing Date: 04/13/2018
    State Case Number: 132018CC008187000005
    Case Type: Evictions < $15,000
    Consolidated Case No.: N/A
    Judicial Section: CC04
    Case Status: OPEN



    Ä Parties                                                              Number of Parties: 4   +


    å Hearing Details                                                     Number of Hearing: 2    +


    ± Dockets                                                             Dockets Retrieved: 26   −




                                                                                   Exhibit D
https://www2.miami-dadeclerk.com/ocs/Search.aspx                                            5/30/2018
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     Export to

                                                               Event
            Number   Date         Book/Page   Docket Entry     Type      Comments


           23       05/17/2018               Order Case       Event
                                              Pending
                                              Bankruptcy
                                              Stay

           22       05/17/2018               Mediators        Event     CASE CANCELLED
                                              Report

           21       05/17/2018               Memorandum       Event
                                              of Disposition

           20       05/15/2018               Notice of        Event
                                              Filing:

                     05/15/2018               Mediation        Hearing

           19       05/10/2018               Order:           Event     DIRECTING DEPOSIT OF
                                                                         RENT INTO REGISTRY OF
                                                                         COURT

           18       05/09/2018               Order of         Event
                                              Referral to
                                              Mediation Unit

            16       05/07/2018               Receipt:         Event     RECEIPT#:2430012 AMT
                                                                         PAID:$9,142.50
                                                                         NAME:NUBIA
                                                                         PEREZ/APLUS LAMATION
                                                                         COMMENT:RENT DEPOSIT
                                                                         ALLOCATION CODE
                                                                         QUANTITY UNIT AMOUNT
                                                                         2106-COURT REGISTRY
                                                                         DEP 1 $9,000.00 $9,000.00
                                                                         2108-COURT REGISTRY
                                                                         FEE 1 $142.50 $142.50
                                                                         TENDER TYPE:CHECK

           15       05/04/2018               Memorandum       Event
                                              of Disposition

                     05/03/2018               Status           Hearing
                                              Hearing

           17       04/27/2018               Notice of        Event     05/03/2018
                                              Hearing-




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                                                               Event
           Number   Date         Book/Page   Docket Entry      Type    Comments

          14       04/25/2018               Affidavit as to   Event
                                             Costs

          13       04/25/2018               Affidavit of      Event
                                             Non-Payment

          12       04/25/2018               Non-Military      Event
                                             Affidavit

          11       04/25/2018               Service           Event
                                             Returned

          10       04/25/2018               Motion:           Event


          9        04/25/2018               Answer and        Event
                                             Affirmative
                                             Defense

          8        04/25/2018               Notice of         Event
                                             Appearance

           7        04/24/2018               Receipt:          Event   RECEIPT#:2350016 AMT
                                                                       PAID:$5,082.50
                                                                       NAME:APLUS LAMINATION
                                                                       COMMENT:RENT DEPOSIT
                                                                       ALLOCATION CODE
                                                                       QUANTITY UNIT AMOUNT
                                                                       2106-COURT REGISTRY
                                                                       DEP 1 $5,000.00 $5,000.00
                                                                       2108-COURT REGISTRY
                                                                       FEE 1 $82.50 $82.50
                                                                       TENDER TYPE:CHECK T

           6        04/18/2018               Receipt:          Event   RECEIPT#:2200061 AMT
                                                                       PAID:$10.00 COMMENT:
                                                                       ALLOCATION CODE
                                                                       QUANTITY UNIT AMOUNT
                                                                       2139-SUMMONS ISSUE FEE
                                                                       1 $10.00 $10.00 TENDER
                                                                       TYPE:CHECK TENDER
                                                                       AMT:$10.00 RECEIPT
                                                                       DATE:04/18/2018
                                                                       REGISTER#:220
                                                                       CASHIER:NMERKER




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                                                                       Event
             Number     Date           Book/Page     Docket Entry      Type       Comments

             5          04/18/2018                   Summons and       Event      Parties: Aplus Lamination &
                                                     Complaint                    Finishing Inc.
                                                     Mailed

                        04/18/2018                   5 Day             Service
                                                     Summons
                                                     Issued

             4          04/18/2018                   5 Day             Event      Parties: Aplus Lamination &
                                                     Summons                      Finishing Inc.
                                                     Issued

             3          04/17/2018                    Receipt:         Event      RECEIPT#:3430137 AMT
                                                                                  PAID:$185.00
                                                                                  NAME:COLLETTI, JOSEPH
                                                                                  R. 4770 BISCAYNE BLVD
                                                                                  STE 1400 MIAMI FL 33137-
                                                                                  3243 COMMENT:
                                                                                  ALLOCATION CODE
                                                                                  QUANTITY UNIT AMOUNT
                                                                                  2100-COUNTY FILING FEE
                                                                                  1 $185.00 $185.00 TENDER
                                                                                  TYPE:E-FILING ACH
                                                                                  TENDER AMT:$1

            2          04/13/2018                   Motion:           Event      FOR DIRECTING DEPOSIT
                                                                                  OF RENT INTO REGISTRY
                                                                                  OF COURT.

            1          04/13/2018                    Complaint        Event




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 Please be advised:

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     Fill in this information to identify your case

I United States Bankruptcy Court for the:

Sdui-^t^r'        District ol/'Jr      i

i Case number {if known):                                               . Chapter you are filing under:
                                                                          • Chapter?
                                                                         IS Chapter 11
                                                                          • Chapter12
                                                                         •   Chapter 13                                              •   C h e c k if this is an
                                                                                                                                         a m e n d e d filing



Official Form 101
Voluntary Petition for Individuals Filing for B a n k r u p t c y                                                                                             12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When Information is needed about the spouses separately, the form uses Debtor 1 and
 Debtor 2 to distinguish Iretween them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
 same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(If known). Answer every question.


              identify Yourself

                                           About Debtor 1:                                                 About Debtor 2 (Spouse Only In a Joint Case):
1.    Y o u r full name

      Write the name that Is on your
      government-issued picture
                                           First name                                                      Firet name
      identification (for example,         rust iiaiiic
      your driver's license or               M.fXV-CcHcL
      passport).                           Middle name                                                     Middle name

      Bring your picture
      identification to your meeting       Last name                                                       Last name
      with the trustee.
                                           Suffix (Sr.. Jr., II, III)                                      Sufnx(Sr.. Jr..ll, III)




2. All other n a m e s you
   have u s e d in the last 8              First name                                                      First name
   years

      Include your married or              Middle name                                                     Middle name
      maiden names.
                                           Last name                                                      Last name



                                           First name                                                     First name


                                       Middle name                                                        Middle name


                                       Last name                                                          Last name




     Only the last 4 digits of
                                       XXX          -     XX                                              XXX      -    XX
     your S o c i a l Security
     number or federal                 OR                                                                 OR
     Individual T a x p a y e r
     Identification n u m b e r        9 XX -             XX     -                                        9 XX -        XX

     (ITIN)


Official Form 1 0 1                                       Voluntary Petition for Individuals Filing for Bankruptcy                                 page 1




                                                                                                                                           Exhibit E
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 Debtor                                                                                                    Case number      ijikmwrti_
                               Middle Name




                                             About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


 4. A n y b u s i n e s s n a m e s
    and E m p l o y e r                      •     I have not used any business names or EINs.                    O I have not used any business names or EINs.
    identification Numbers
    (EIN) you have u s e d In
    the last 8 y e a r s                                                                                          Business name

     Include trade names and
     doing business as names
                                             Business name                                                        Business name




                                             EIN                                                                  EIN




5. Where you live                                                                                                 If Debtor 2 lives at a different address:



                                         i       _   .
                                         Number             Street                                                Number          Street




                                                                                            m   m    .
                                                                                                               City                                     State      ZIP Code



                                                                                                               County


                                         If your mailing address Is different from the one                     If Debtor 2's mailing address is different from
                                         above, fill It in here. Note that the court will send                 yours, fill It In here. Note that the court will send
                                         any notices to you at this mailing address.                           any notices to this mailing address.



                                         Number             Street                                             Number            Street



                                         P.O. Box                                                              P.O. Box



                                         City                                       State       ZIP Code       City                                     State     ZIP Code




6. W h y you are c h o o s i n g         Check one:                                                           Check one:
   f/i/sd/sfricftofllefor
   bankruptcy                                    Over the last 1 8 0 days before filing this petition,        •     Over the last 1 8 0 days Ijefore filing this petition,
                                                 I have lived In this district longer than in any                   I have lived in this district longer than in any
                                                 other district,                                                    other district.

                                        •        I have another reason. Explain.                              •     I have another reason. Explain.
                                                 (See 2 8 U.S.C. § 1 4 0 8 . )                                      ( S e e 2 8 U.S.C. § 1 4 0 8 . )




 Ofricial Form 1 0 1                                     Voluntary Petition for Individuals Filing for Bankruptcy                                         page 2
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                                       645

 Debtor    1 tOuka tVy^celU Tb^ez                                                                        Case number        iiikftown)_




                Tell the Court About Your Bankruptcy Case


 7.    The chapter of the                 Check one. (For a brief description of each, s e e Notice Required by 11 U.S.C. §342(b} for Individuals Filing
       Bankruptcy C o d e you          for Bankruptcy (Form 2 0 1 0 ) ) . Also, go to the top of page 1 and check the appropriate box.
       are c h o o s i n g to file
                                          •    Chapter 7
       under
                                       Q r C h a p t e r 11

                                       •       C h a p t e r 12

                                       •       C h a p t e r 13


8.     How you will pay the fee       •       I will pay the entire fee w h e n I file my petition. P l e a s e c h e c k with the clerk's office in your
                                              local court for more details about how you m a y pay. Typically, if you a r e paying the fee
                                              yourself, you m a y pay with c a s h , c a s h i e r ' s c h e c k , or money order. If your attorney Is
                                              submitting your payment on your behalf, your attorney m a y pay with a credit c a r d or c h e c k
                                              with a pre-prlnted a d d r e s s .


                                      S H ' n e e d to pay the fee in installments. If you c h o o s e this option, sign a n d attach the
                                          Application for individuals to Pay The Filing Fee in instaiiments (Official Form 1 0 3 A ) .


                                      •       I r e q u e s t that my fee be waived ( Y o u may request this option only If you a r e filing for Chapter 7 .
                                              B y law, a judge m a y , but is not required to, waive your f e e , a n d m a y do s o only if your income is
                                              less than 1 5 0 % of the official poverty line that applies to your family s i z e a n d you a r e unable to
                                              pay the fee in installments). If you c h o o s e this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 1 0 3 B ) a n d file it with your petition.



9.     Have you filed for             I^NO
       bankruptcy within the
       last 8 y e a r s ?             •       Y e s . District                                 When                            Case number
                                                                                                       MM / D D / Y Y Y Y

                                                      District                                 Wtien                           Case number
                                                                                                       MM/   DD/YYYY

                                                      District                                 When                            Case number
                                                                                                       MM/   DD/YYYY




10. A r e a n y bankruptcy
    c a s e s pending or being
    filed by a s p o u s e w h o is   L I Y e s . Debtor                                                                     . Reiationship to you

    not filing this c a s e with                  District                                                                     Case number, if known
    you, or by a b u s i n e s s                                                                       MM/DD / Y Y Y Y
    partner, or by a n
    affiliate?
                                                      Debtor                                                                   Relationship to you

                                                      District                                 When                            Case number, if known_
                                                                                                       M M / D D / YYYY




11. Do you rent y o ur                • NQ   Go to line 1 2 .
    residence?                        • yes.
                                             Has your landlord obtained an eviction judgment against you?

                                                      H    No. Go to line 1 2 .
                                                      •    Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 1 0 1 A ) and file it as
                                                           part of this bankruptcy petition.




                                                      Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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  Debtor 1                                                                                                     Case number       [Hi(nown)_
                 Firet Name      Middle Name                   Cast Name




               Report About Any Businesses You Own as a Sole Proprietor


. 1 2 . A r e you a s o l e proprietor         Kl    No. Go to Part 4.
        off any ffull-
                  u l l - oor
                            r part-l
                              part-time
        business?                              L I Y e s . Name and location of business
      A sole proprietorship is a
      business you operate as an
      individual, and is not a                             Name of business, if any
      separate legal entity such as
      a corporation, partnership, or
      LLC.                                                 Number          Street

       If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                               City                                                      State                ZIP Code



                                                           Check the appropriate box to describe your        business:

                                                           •      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                           •      Single Asset Real Estate (as defined in 11 U.S.C. § 101(516))

                                                           •     Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                           •     Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                           Q     None of the above


 13. Are you filing under                  if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
     Chapter 11 of the                     can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
     Bankruptcy C o d e a n d              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     are you a small    business
     debtor?
                                           •        No. I am not filing under Chapter 11.
     For a definition of small
     business debtor, see                  •        No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
     11 U.S.C. § 101(510),                              the Bankruptcy Code.

                                                           I am filing under Chapter 11 and I am a small business debtor according to the definition In the
                                                           Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you o w n or h a v e a n y
     property that p o s e s or is
     alleged to p o s e a threat           •        Yes.    What is the hazard?
     of imminent a n d
     Identifiable hazard to
     public health or s a f e t y ?
     Or do you o w n any
     property that n e e d s
     Immediate attention?                                   If Immediate attention is needed, why is it needed?

    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?

                                                           Where is the property?
                                                                                      Number        Street




                                                                                      City                                                      Slate    ZIP Code


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 Debtor 1                                                                                                                     Case number (**m>Mi)_
                  Flist NaniB         Midde Name                      LasI Natre




              A n s w e r T h e s e Q u e s t i o n s for Reporting P u r p o s e s

                                                       16a. A r e your debts primarily c o n s u m e r d e b t s ? Consumer debts are defined in 11 U.S.C. § 101(8)
 16. What kind of debts do                                  as "incurred by an individual primarily for a personal, family, or housetiold purpose."
     you h a v e ?
                                                              •   No. Go to line 16b.
                                                              •   Y e s . Go to line 17.

                                                    16b. Are your debts primarily b u s i n e s s d e b t s ? Business debts are debts that you incurred to obtain
                                                         money for a business or investment or through the operation of the business or investment.
                                                              •          Go to line 16c.
                                                                  f e s . Go to line 17.

                                                    16c. State ttie type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                                                        am not filing under Chapter 7. Go to line 18.

    Do you estimate that after                      •     Y e s . I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property Is                                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                                  •      njj,
    administrative e x p e n s e s
    are paid that funds will be                                   •     Yes
    available for distribution
    to u n s e c u r e d c r e d i t o r s ?

18. How many creditors do                          • 1f49                                              •   1,000-5,000                                 •   25,001-50,000
    you estimate that y o u                        [1^50-99                                            •   5,001-10,000                                •   50,001-100,000
    owe?                                           •      100-199                                      •   10,001-25,000                               •   More than 100,000
                                                   •      200-999

19. How m u c h do you                             •     $0-$50.000                                    • H l , 0 0 0 . 0 0 1 - $ 1 0 million          •    $500,000,001-51 billion
    estimate your a s s e t s to                   •     $50,001-$100,000                              • $10,000,001-550 million                      •    $1,000,000,001-$10 billion
    be worth?                                      •     $100,001-$500,000                             • $50,000,001-5100 million                     •    $10,000,000,001-550 billion
                                                   •     $500,001-$1 million                           • $100,000,001-5500 million                    •    More than $50 billion

20. How m u c h do you                             •     $0-$50,000                                    18^1,000,001-$10 million                       •    $500,000,001-51 billion
    estimate your liabilities                      •     $50,001-5100,000                              •   $10,000,001-550 million                    •    $1,000,000,001-510 billion
    to b e ?                                       •     $100,001-$500,000                             •   $50,000,001-5100 million                   •    $10,000,000,001-550 billion
                                                   •     $500,001-51 million                           •   $100,000,001-5500 million                  •    More than $50 billion
             Sign B e l o w

                                                   I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                            correct.
                                                  If I have chosen to file under Chapter 7,1 am aware that 1 may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                  of title 1 1 , United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                  under Chapter 7.

                                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                  this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                  1 request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                  with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                  18 U.S.C. §§ 152. 1341, 1519, and 3571.



                                                                                                                                      Signature of Debtor 2

                                                         Executed on                                                                   Executed on
                                                                                   M   I Pt)   /YYYY                                                  MM / DD     /YYYY
       i,'>siim»vi^mmmiiriiii^:kiiff^Mrkkmmermi^.:i^^<^ - .


 Official Form 101                                                Voluntary Petition for Individuals Filing for Bankruptcy                                                 pages
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5:29 PM                A Plus Lamination & Finishing inc. - Combo
05/14/18                        A/P Aging Summary
                                                         As of May 14, 2018

                                                        Current        1-30          31-60        61-90          >90           TOTAL

      Actega North America, Inc.                              0.00           0.00          0.00       0.00       3,046.51        3,046.51
      ALEXANDER E . B O R E L L                            750.00            0.00          0.00       0.00            0.00          750.00
      Amtrust North America                                   0.00           0.00          0.00       0.00       4,987.70        4,987.70
      APF INC.-002                                            0.00           0.00          0.00       0.00            0.00             0.00
      Armas Machine Shop, Inc.                                0.00           0.00          0.00       0.00            0.00             0.00
      Auto Nation Chevrolet Dorel                          173.16            0.00          0.00       0,00            0.00          173.16
      Capital One Bank                                        0.00           0.00       214.85        0.00       1,961.98        2,176.83
      Checksfor less                                          0.00           0.00          0.00       0.00            0.00             0.00
      City of HIaieah                                         0.00        136.09           0.00       0.00            0.00          136.09
      Comcast Business                                        0.00           0.00      415.32         0.00            0.00         415.32
      COSMO CLAIM 2018                                        0.00    18,692.54            0.00       0.00            0.00     18,692.54
      Cosmo Films Inc.-V                                      0.00   -15,800.57            0.00       0.00     15,800.57               0.00
      Credit Management, L P                                  0.00           0.00          0.00       0.00            0.00             0.00
      0 & K CLAIM                                             0.00           0.00          0.00       0.00       3,500.00        3,500.00
      D & K INTERNATIONAL, INC.                               0.00           0.00          0.00       0.00      4,500.00         4,500.00
      DDREPRO                                                 0.00           0.00          0.00       0.00          14.00            14.00
      Delran, Inc.                                            0.00           0.00          0.00       0.00            0.00             0.00
     Department of Water & S e w e r s                     242.15            0.00          0.00       0.00            0.00         242,15
     Derprosa (Taghleef Industries)                           0.00    14,594.33            0.00       0.00       1,322.97      15,917.30
     DISTRIGRAPH INC.                                         0.00           0.00          0.00       0.00      7,956.17         7,956.17
     Ooral Digital Reprographics, Corp.                       0.00        -14.98           0.00       0.00          14.98              0.00
     FLORIDA F L E X I B L E S C R E E N P R                  0.00           0.00        61 50        0.00            0.00           61.50
     FPL                                                 1,868.49            0.00          0.00       0.00            0.00       1,868.49
     Francisco Gabriel Perez LOAN                             0.00           0.00    3,000.00         0.00         750.00       3,750.00
     Frontline Asset Strategies, L L C                        0.00           0.00         0.00        0.00      1,000.00         1,000.00
     GRAINGER                                                 0.00           0.00         000         0.00            6.30             5.30
     HOME D E P O T                                           0.00           0.00         0.00        0.00            0.00            0.00
     INTERNAL R E V E N U E S E R V I C E                     0.00           0.00         0.00        0.00     15,503.44       15,503.44
     KANGDE XIN AMERICA, L L C                                0.00           0.00         0.00        0.00      7,594.09        7,594.09
     LAIRD P L A S T I C S                                    0.00           0.00         0.00        0.00        219.40           219.40
     MARATHON C O U R I E R                                  0.00          20.00       252.00         0.00           0.00          272.00
     MATT D. GOLDMAN T R U S T ACCOUNT                       0.00           0.00          0.00        0.00      1,250.00        1,250.00
    METRO P C S A P L U S AGO                                0.00           0.00          0.00       2.60           -2.60             0.00
    MlAMl-DADE COUNTY TAX C O L L E C T O R                  0.00     16,478.09           0.00       0.00       2,669.73      19,147.82
    Miami Dade Expressway Authority (MDX)                    0.00           0.00          0.00       0.00         311.08           311.08
    MYRON C O R P .                                         14.00           0.00          0.00       0.00            0.00            14.00
    Nobelus L L C                                            0.00           0.00          0.00       0.00       1,578.90        1,578.90
    NUBIA P E R E Z LOANS                                    0.00           0.00     7,100.00      236.94            0.00       7,336.94
    OFFICE DEPOT                                             0.00           0.00          000        0.07           -0.07             0.00
    P A P E R KNIGHT 2018                                    0.00        220.00           0.00       0.00            0.00         220.00
    PHONES R U S , Inc                                       0.00           0.00          0.00       0.00         224.70          224.70
    Platinum Graphics                                        0.00        440.00           0.00       0.00            0.00         440.00
    PROpack Industries, Inc.                                 0.00           0.00          0.00       0.00            0.00             0.00
    QUILL CORPORATION                                        0.00        129.44           0.00       0.00            0.00         129.44
    Santander Consumer USA                                   0.00      2,029.72           0.00       0.00            0.00       2,029.72
    Tape Group USA, Inc.                                     0.00           0.00          0.00       0.00       1,330.00        1,330.00
    TOTAL PACK                                               0.00        162.71           0,00       0.00            0.00         162.71
    Transllwrap Company, Inc.                                0.00           0.00          0.00       0.00       1,944.83        1,944.83
    UNIVERSAL P R E S S R O O M P R O D U C T S L L C        0.00           0.00          0.00       0.00     23,695.65       23,695.65
    UNIVERSAL WIPING C L O T H                               0.00           0.00          0.00     109.00            0.00         109.00
    UPS-V                                                    0.00           0.00         0.00        0.00            0.00             0.00
    URBAPRINT, L L C                                         0.00           0.00         0.00        0.00            000              0.00
    Valley National Bank -2525                               0.00           0.00         0.00        0.00     28,355.00       28,355.00
    Valley National Bank Loan -2198 small                    0.00           0.00         0.00        0.00    100,786.77      100,786.77
    Vencol                                                   0.00      1,739.43          0.00        0.00            0.00       1,739.43
    VH FINANCIAL S E R V I C E S INC                        0.00         125.00       675.00         0,00         225.00        1,025.00
    W A S T E MANAGEMENT O F DADE COUNTY                    0.00         451.72          0.00        0.00           0.00          451.72
   TOTAL                                                3,047.80     39,403.52      11,718.67      348.61    230,646.10      286,064.70
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5:27 PM                A Plus LaminatioM & Finishing inc. - Combo
05/14/18                           BaiancG Sheet
Accrual Basis                                                      As Of May     14,   2018


                                                                                                         May 14,18

        ASSETS
          Current Assets
            Checking/Savings
              1000 BANKS
                1005 Wells Frgo -5536                                                                       9,843.43
                1001 • Wells Fargo-7624                                                                   -19,681.58
                1002 • WF Savings Recurruing-9447                                                             454.06
                 Total 1000 • BANKS                                                                               -9^.09

             Total Checking/Savings                                                                               -9,384.09
             Accounts Receivable
               1100 • A C C O U N T S R E C E I V A B L E S (Generated account for AR tran)
                 1101 • Accounts Receivable                                                                46,328.64
                 1100 ' A C C O U N T S R E C E I V A B L E S (Generated account for AR tran) - Otfier      5,889.99
                Total 11 DO • A C C O U N T S R E C E I V A B L E S (Generated account for AR tran)              52,218.63

             Total Accounts Receivable                                                                           52,218.63
             Otfier Current A s s e t s
               1200 • O T H E R C U R R E N T A S S E T S
                  1201 • Accounts Recelvable-A* (Generated account for transac)                             4,166.96
                  1203 • Employee Advances                                                                 19,463.73
                  1204 • "Inventory Asset                                                                      8149
                  1206 • Prepaid E x p e n s e s                                                           45,773.78
                  1206 • Raw Materials Inventory                                                           78,142.50
                Total 1200 • O T H E R C U R R E N T A S S E T S                                                147,628.46

                12001 • Undeposited Funds (Funds received, but not yet deposited to a bank account)              26,153.45
             Total Other Current A s s e t s                                                                    173,781.91

          Total Current Assets                                                                                 216,616.45
          Fixed /tssets
            1300 FIXED A S S E T S
              1304 • Accum. Depreciation - Equlpmen                                                      -370,636.00
              1307 • Accum. Depreciation - Other                                                           -12,795.00
              1308 • Automobiles                                                                            40,482.91
              1309 • Equipment                                                                            718,416.95
              1310 • Furniture and Fixtures                                                                  1,569.87

             Total 1 3 0 0 - F I X E D A S S E T S                                                             377,038.73

         Total Fixed A s s e t s                                                                               377,038.73
          Other Assets
            1400 • OTHER A S S E T S
              1401 • Accum. Amortlz. - Org. C o s t s                                                    -11,277 00
              1402 • Deposits                                                                              9,542.85
              1403 • Other Noncurrent Assets                                                             879,126.00

            Total 1400 • O T H E R A S S E T S                                                                 877,391.86

         Total Other A s s e t s                                                                               877,391.85

       TOTAL A S S E T S                                                                                      1,471,047.03
       LIABILITIES & EQUITY
         Liabilities
           Current Liabilities
              Accounts Payable
                  1 5 0 0 - A c c o u n t s Payable                                                            285,064,70
                Total Accounts Payable                                                                         285,064.70

                Credit Cards
                  1600 - C R E D I T C A R D
                    1601 Capital O n e - 1 1 9 5                                                             -214.85
                    1602 - Credit One -4708 (Credit One)                                                   -5,214.22
                                                                                                                              Pagel
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5:27 PM                A Plus Lamination & Finishing inc. - Combo
05/14/18                           Balance Sheet
Accrual Basis                                                     As Of May   14,   2018


                                                                                           May 14^ 18

                     1603 • Shell-823                                                           978^09
                  Total 1600     C R E D I T CARD                                                  -4,450.98

                Total Credit C a r d s                                                             -4,450 98
                Other Current Liabilities
                  1700 • O T H E R C U R R E N T LIABILITY
                    1702 • "Sales Tax Payable                                                   411.43
                    1703 • Wages Payable                                                    270,591 89
                    1700 • O T H E R C U R R E N T LIABILITY - Other                        -24,892.54

                  Total1700 • O T H E R C U R R E N T LIABILITY                                  246,110.78

                Total Other Current Liabilities                                                  246,110.78

            Total Current Liabilities                                                            526,724.50
            Long Term Liabilities
              1800 • LONG T E R M LIABILITY
                1801 • 1st United Bank Loan                                                -184,006.67
                1802 • Jim H Hawk (466K)                                                    184,714.06
                1803 • Nubia M Perez                                                        174,883 00
                1804 'Nubia M Perez ( H E L O C )                                            98,449 00
                1805 • Matt D Goldman                                                       111,500.00
                1806 • Valley National Bank-2198                                            106,916.56
                1807 • Valley National Bank - 2626                                          728,749.73
                1800 • LONG T E R M LIABILITY - Other                                        -7.100.00
                Total 1800 • LONG T E R M LIABILITY                                            T214,105^8

            Total Long Term Liabilities                                                        1,214^105,68

          Total Liabilities                                                                    1,740,830.18
          Equity
            3000 • Beginning Balance Equity                                                     -174,764.12
            3001 • Common Stock                                                                      100.00
            3003 • Opening Bal Equity                                                           -366,506 26
            3005 - Retained Earnings                                                             216,423 09
            Net Income                                                                            12,383.54
          Total Equity                                                                          l312.363T5

       TOTAL LIABILITIES & EQUITY                                                              1,428,466.43




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 Debtor 1                                                                                          Case numtier [iikmmn)_
              PlrMName     MIddJ* Mame              Last Name




 F o r you if you are filing this          T h e law allows you, a s a n individual, to represent yourself in bankruptcy court, but you
 bankruptcy without a n                    s h o u l d u n d e r s t a n d that many people find It extremely difficult to represent
 attorney                                  t h e m s e l v e s s u c c e s s f u l l y . B e c a u s e bankruptcy h a s long-term financial and legal
                                           c o n s e q u e n c e s , you are strongly urged to hire a qualified attorney.
 If you are represented by
 a n attorney, you do not                  T o be successful, you must correctly file and handle your bankruptcy c a s e . T h e rules are very
 need to file this page.                   technical, and a mistake or inaction may affect your rights. For example, your case may be
                                           dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                           hearing, or cooperate with the court, c a s e trustee. U.S. trustee, bankruptcy administrator, or audit
                                           firm if your c a s e is selected for audit. If that happens, you could lose your right to file another
                                           case, or you may lose protections. Including the benefit of the automatic stay.

                                           You must list all your property and debts in the schedules that you are required to file with the
                                           court. E v e n if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                           in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                           property or properly claim it a s exempt, you may not be able to keep the property. The judge can
                                           also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                           case, such a s destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                           c a s e s are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                           Bankruptcy fraud Is a serious crime; you could be fined and imprisoned.

                                           If you decide to file without an attorney, the court expects you to follow the rules a s if you had
                                           hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal R u l e s of
                                           Bankruptcy Procedure, and the local rules of the court in which your c a s e is filed. Y o u must also
                                           be familiar with any state exemption laws that apply.


                                           Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                           consequences?
                                           •   No
                                           B'Yes

                                           Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                           inaccurate or incomplete, you could be fined or imprisoned?
                                           •   No
                                           a-Ves

                                           Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                           a^No
                                           G   Yes. Name of Person                                                                              .
                                                    Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                           By signing here, I acknowledge that I understand the risks involved in filing without an attorney,
                                           have read and understood this notice, and I am aware that filing a bankruptcy c a s e without an
                                           attorney may causg,me to lose my rights or property if I do not properly handle the case.




                                                                                                            Signature of Debtor 2



                                                                                                                             MM /   DD / YYYY

                                          Contact phone                                                     Contact phone


                                         • cellphone            - ^ ^ - ^ 1 0 '    I    O    ^              Cell phone


                                           Email address         g ^ ^ \ ( A s \ o y Y N O Q/V\0)t1-(^^ Email address
                                                                                                                                                 mk:mk ' L-LiLLiA-

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  Debtor   1 t\!\AoiCL
                 FlrBt N a m e   Middle N « d e
                                                  l^ifcAL Pe^rez                                                    Case number (/r*nomi)_




              Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                  About Debtor 1:                                                         About Debtor 2 (Spouse Only In a Joint Case):
  15., Tell the court w h e t h e r
       you have r e c e i v e d a
       briefing about credit                      You must check one:                                                      You must check one:
       counseling.
                                                  Q I received a briefing from an approved credit                         G I received a briefing from an approved credit
                                                    counseling agency within the 180 days before I                          counseling agency within the 180 days before I
     The law requires that you                      filed this bankruptcy petition, and I received a                        filed this bankruptcy petition, and I received a
     receive a briefing about credit                certificate of completion.                                              certificate of completion.
     counseling before you file for
     bankruptcy. You must                                 Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
     truthfully check one of the                          plan, if any, that you developed with the agency.                   plan, if any, that you developed witti the agency.
     following choices. If you
                                                  •       I received a briefing from an approved credit                   G i received a briefing from an approved credit
     cannot do so, you are not
                                                          counseling agency within the 180 days before I                    counseling agency within the 180 days before I
     eligible to file.
                                                          filed this bankruptcy petition, but I do not have a               filed this bankruptcy petition, but I do not have a
                                                          certificate of completion.                                        certificate of completion.
     If you file anyway, the court
                                                          Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
     can dismiss your case, you
                                                          you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
     will lose whatever filing fee
                                                          plan, if any.                                                       plan, if any.
     you paid, and your creditors
     can begin collection activities
                                                          i certify that I asked for credit counseling                    G I certify that I asked for credit counseling
     again.
                                                          services from an approved agency, but was                         services from an approved agency, but was
                                                          unable to obtain those services during the 7                      unable to obtain those services during the 7
                                                          days after I made my request, and exigent                         days after I made my request, and exigent
                                                          circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                                          of the requirement.                                               of the requirement.
                                                      To ask for a 30-day temporary waiver of the                             To ask for a 30-day temporary waiver of the
                                                      requirement, attach a separate sheet explaining                         requirement, attach a separate sheet explaining
                                                      what efforts you made to obtain the briefing, why                       what efforts you made to obtain the briefing, why
                                                      you were unable to obtain it tiefore you filed for                      you were unable to obtain it before you filed for
                                                      bankruptcy, and what exigent circumstances                              bankruptcy, and what exigent circumstances
                                                      required you to file this case.                                         required you to file this case.

                                                      Your case may be dismissed if the court is                             Your case may be dismissed if the court is
                                                      dissatisfied with your reasons for not receiving a                     dissatisfied with your reasons for not receiving a
                                                      briefing before you filed for bankruptcy.                              briefing before you filed for bankruptcy.
                                                      If the court is satisfied with your reasons, you must                  If the court is satisfied with your reasons, you must
                                                      still receive a briefing within 30 days after you file.                still receive a briefing within 30 days after you file.
                                                      You must file a certificate from the approved                          You must file a certificate from the approved
                                                      agency, along with a copy of the payment plan you                      agency, along with a copy of the payment plan you
                                                      developed, if any. If you do not do so, your case                      developed, if any. If you do not do so. your case
                                                      may be dismissed.                                                      may be dismissed.
                                                      Any extension of the 30-day deadline Is granted                        Any extension of the 30-day deadline is granted
                                                      only for cause and is limited to a maximum of 15                       only for cause and is limited to a maximum of 15
                                                      days.                                                                  days.

                                              •       I am not required to receive a briefing about                      G I am not required to receive a briefing about
                                                      credit counseling because of:                                        credit counseling trecause of:

                                                      •      Incapacity.   I have a mental illness or a mental               G Incapacity.     I have a mental illness or a mental
                                                                           deficiency that makes me                                            deficiency that makes me
                                                                           incapable of realizing or making                                    incapable of realizing or making
                                                                           rational decisions about finances.                                  rational decisions about finances.
                                                      •     Disability.    My physical disability causes me                  G Disability.     My physical disability causes me
                                                                           to be unable to participate in a                                    to be unable to participate In a
                                                                           briefing in person, by phone, or                                    briefing In person, by phone, or
                                                                           through the internet, even after I                                  through the internet, even after I
                                                                           reasonably tried to do so.                                          reasonably tried to do so.
                                                      •     Active duty. I am currently on active military                   G Active duty. I am currently on active military
                                                                         duty in a military combat zone.                                    duty in a military combat zone.
                                                      If you believe you are not required to receive a                       If you believe you are not required to receive a
                                                      briefing about credit counseling, you must file a                      briefing about credit counseling, you must file a
                                                      motion for waiver of credit counseling with the court.                 motion for waiver of credit counseling with the court.




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Debtor 1       hl(A lo//^         Mrft)<cc         //<-                  Pe/^e-Ey                        Case number (/known).
               F«N«me          Middle Name               Leal Name




_          „        ..                       I, ttie attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
l-or your attorney, IT you are                   proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by o n e                         available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not r e p r e s e n t e d         knowledge after an inquiry that the information in the schedules filed with the petition is Incorrect.
by a n attorney, you d o not
n e e d to file this page.
                                                               2f=X'                                             Date
                                                Signature of Attorney for Debtor                                                  MM        /   DD   /WW




                                                                          -r-i   < J
                                                Printed nafhe'       '



                                                Firm name



                                                Number      Street                                   tr^"               ^         <=^




                                                City                                                            State             ZIP Code




                                                Contact phone    f 7 . 7 ) 0            ~3                        Email address     A^^i         O'ffj'(     6     3'l   ^   ^/l^   // •
                                                                                                                                        7

                                                Bar number                                                      State




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                                guaranty of payment and perf
                                                                              ormance-

                   This Guaranty of Payment and Performance (this
                                                                       '"Guaranty") is made as of the 4® day of
     •      December, 2017. by NUBTA M. PFRF.7, (the "Gua
                                                                  rantor"). with an address of 5559 NW 36,h
            Avenue, Miami, TL 33142, in favor of VAL
                                                           LY NATIONAL. BANK, its successors or
           ("Lender"), as successor by merger to V Unite                                                    assigns
                                                             d Bank ("Ist United"), with an address of 1455
           Valley Road, Wayne, NJ 07470.


                                                       RECITALS

                    A PLUS LAMINATION & FINISHING
                                                             , INC. (sometimes hereinafter each indiv
           and all collectively referred to as "Borr                                                    idually
                                                     ower") has requested and Lender has
                                                                                            agreed to extend
           credit, renew an existing loan and/or make
                                                       a loan to Borrower not to exceed the Princ
           of Light Hundred Three Thousand Eight                                                  ipal amount
                                                      een Dollars and Thirty-Two Cents ($803
                                                                                                ,018.32) (the
           "LfiSlf'T as evidenced by that certain U. S. Smal
                                                              l Business Administra
                                                                        tion ("SBA'T Note in the:
           principal amount of One Million Three
                                                 Hundred Fifty Thousand Dollars ($1,350,00
           executed and delivered by Borrower on May                                       0.00)
                                                             5, 2007. to ls< United with a maturity date
           August 1, 2017. which was modified by                                                                of
                                                      a Change to Terms Agreement executed
           by Borrower to 1st United on April 15, 2013                                              and delivered
                                                          in the principal amount of One Million Thirty
          Thousand Seven Hundred Eighteen Dolla                                                              -Five
                                                       rs and Thirty-Two Cents ($1,035,718.32)
                                                                                                     , and which
          was further modified by a Change in Terras
                                                     Agreement executed and delivered by Borro
                                                                                                            wer to
          r United on April 15, 2014 in the principal
                                                           amount of Nine Hundred Seventy-Five Thou
          Two Hundred Eighteen Dollars and Thirt                                                             sand
                                                       y-Two Cents ($975,218.32) (together with
          renewals, extensions, modifications and amen                                                  all other
                                                          dments thereto, the "Note"), which Note
          the extension of a commercial SBA loan made                                                  evidenced
                                                             by 1 si United to Borrower on or about May
          2007, in the original principal amount of                                                             3,
                                                       One Million Three Hundred Fifty Thousand
                                                                                                           Dollars
          |$ 1,3 50,000,00) (as amended, extended and/or
                                                            renewed, the "Loan"). As a condition precedent
          to Lender making the Loan. Lender has
                                                     required Guarantor to execute and delive
                                                                                              r this Guaranty
          to Lender.   Any capitalized term used and not defin
                                                                 ed in this Guaranty shall have the mean
          given to such term in the Note (as modi                                                         ing
                                                   fied, extended and renewed).
                                                                                             .

                                                    AGREEMENTS

                 Guarantor will receive a material benefit from
                                                                  Lender making the Loan to Borrower, For
          good and valuable consideration, the receip
                                                        t and adequacy of which are hereby ackno
         and in order to induce Lender to make                                                         wledged,
                                                    the Loan to Borrower, Guarantor hereb
                                                                                                 y guarantees to
         .Lender trie prompt and full payment of
                                                    the indebtedness and obligations described
                                                                                                   below
                                                                                              in this
         Guaranty (collectively called the "Guarante
                                                     ed Objurations ft. this Guaranty being upon
         following terms and cond                                                                 the
                                    itions;

                 Section J.     Guaranty of Payment.

                 Guarantor hereby unconditionally and
                                                             irrevocably guarantees to Lender the
         payment when due, whether by lapse of                                                       punctual
                                                      time, by acceleration of maturity, or other
.        principal, interest (including interest accru
                                                                                                  wise, of all
                                                       ing after maturity and after the commencem
                                                                                                   ent of any




         Nubia Guaranty
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        bankruptcy or insolvency proceeding by or against Borrower, whether or not allowed in
                                                                                                              such
        proceeding),   prepayment   premiums,    fees,     late   charges,   costs,   expenses,   iodenrnification
        indebtedness, and other sums of money now or hereafter due and owing, or which Borrower
                                                                                                                   is
        obligated to pay, pursuant to the terras of the Loan Documents (as such term is defined
                                                                                                            Irr '.he
        Note), which Loan Documents include, without limitation, the Note, the Loan;
                                                                                     Agreement, that
        certain Mortgage (as such tern is defined in the Note), Assignment of Rents
                                                                                     (as such term is
        defined in the Note), Environmental Indemnity Agreement (as such term is defined in the
                                                                                                           Note),
       and all other documents, agreements and instruments executed and/or delivered in
                                                                                            connection
       with or contemplated by the Loan, as the same msiy ' from time to time be
                                                                                              amended,
       supplemented, restated or otherwise modified (collectively, the "Indebtedn
                                                                                         ess"').    The
       Indebtedness includes all reasonable costs and expenses incurred by Lender in seeking
                                                                                             to enforce
       Lender's rights and remedies with respect to the indebtedness, and to protect, defend,
                                                                                               maintain
       or enforce Lender's liens or security interests, including, without limitation,
                                                                                       collection costs,
       default rates of interest, reasonable attorneys' fees and costs at trial add appellate
                                                                                              levels and
       related costs, and costs of alternative dispute resolution, whether or not suit is filed or other
       proceedings are initiated thereon.   This Guaranty covers the Indebtedness presently outstanding
       and the Indebtedness arising subsequent to the date hereof, including all amounts advanced
                                                                                                                by
       Lender in stages or installments.    The guaranty of Guarantor as set forth in this Section is-a
       continuing guaranty of payment and not. a guaranty of collection.


             The foregoing obligations guaranteed tinder this Section are defined as the "Guarantee
                                                                                                    d.
       Payment Obligations".    The Guaranteed Payment Obligations are included as part of the
       Guaranteed Obligations for all purposes of this Guaranty.


              Section 2.      Guaranty of Performance.


              Guarantor hereby unconditionally and irrevocably guarantees to Lender the complete
       performance when due of all other Obligations of Borrower under ail of the Loan Documents
                                                                                                 ,
       including, without- limiting the generality of the foregoing, all such Obligations of Borrower
                                                                                                                to
       duly and punctually perform and observe all other terms, covenants and conditions
                                                                                                    of the Note,
       the Loan Agreement, the Mortgage, the Environmental Indemnity Agreement, and
                                                                                                  all other Loan
       Documents,

              The foregoing obligations guaranteed under this Section are defined as the "Guarantee
                                                                                                                 d
       Performance Obil gatioi! s T The Guaranteed Performance Obligations are included as part of the
       Guaranteed Obligations for all purposes of this Guaranty.


              The liability and obligations under this Section shall not he limited or .restricted by the
       existence of, or any terms of. the guaranty of payment under Section I.

   I


              Section 3.      Primary Liability of Guarantor.


              (a)      This Guaranty is an absolute, irrevocable and unconditional guaranty of payment
       and performance, and Guarantor shall he liable for the payment and. performance of the
       Guaranteed Obligations as a primary obligor. This Guaranty shall be effective as a waiver of
       and Guarantor hereby expressly waives, any right to which Guarantor may otherwise have been



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     entitled, whether existing under statute, at
                                                  Jaw or in equity, to require Lender to take
     recourse or proceedings against any collateral,                                             prior
                                                     security or person. It shall not be necessary
     Lender, in order to enforce such payment or                                                    far
                                                  performance by Guarantor, first to institute
     pursue or exhaust any rights or remedies                                                  suit  or
                                                 against Borrower or other person liable on
     indebtedne                                                                                  such
               ss or performance, or to enforce any rights
                                                           against any security given to secure such
     indebtedness or for such performance, or
                                               to join Borrower or any other person liable
     payment or performance of the Guaranteed                                                 for the
                                                  Obligations or any part, thereof in any
                                                                                           action to
     enforce this Guaranty, or to resort to any other
                                                            means of obtaining payment or performan
                                                                                              ce of
     the Guaranteed Obligations provided, howe
                                                  ver, that nothing herein contained shall
     Lender from suing an the Note or exercising                                            prevent
                                                 any other right under the Loan Documents
                                                                                          .

              Cb)    Suit may be brought or demand may be made
                                                                       against Borrower or against any or
     all parties who have signed this Guaranty
                                                  or any other guaranty- covering all or any
                                                                                               part of the
     Guaranteed Obligations, or against any
                                               one or more of them, separately or togeth
                                                                                              er, without
     impairing the rights of Lender against any
                                                    patty hereto. Any time that Lender is entitle
    exercise its rights or remedies hereunder, it                                                     d to
                                                  may in its discretion elect to demand paym
                                                                                               ent and/or
    performance. If Lender elects to demand
                                                  performance, it shall at all times thereafter
    right to demand payment until ail of the                                                     have the
                                               Guaranteed Obligations have been paid and
                                                                                               performed
    in full. If Lender elects to demand paym
                                                  ent, it shall at all times thereafter have the
    demand performance until all of the Guara
                                                                                                  right to
                                                   nteed Obligations have been paid and
                                                                                            performed in
    full


            (c)     The liability of Guarantor or any other
                                                                 Person hereunder for Guaranteed
    Obligations arising out of or related to the
                                                  Environmental Indemnity Agreement shall
    limited or affected in any way by any provi                                             not be
                                                sion in this Guaranty, the other Loan Docu
                                                                                           ments or
    applicable law limiting the liability of Borrower. Guara
                                                             ntor or such other Person, or Lender's
    recourse or rights to a deficiency judgment.

            Section 4.     Certain Agreements and Waivers by Guara
                                                                         ntor.          ,

            (a)     Guarantor agrees that neither Lender's
                                                              rights or remedies nor Guarantor's
   obligations under the terms of this Guaranty
                                                shall be released, diminished, impaired, reduc
   affected by any one or more of the follow                                                   ed or
                                              ing events, actions, facts, or circumstances,
   liability of Guarantor under this Guaranty                                               and  the
                                                shall be absolute, unconditional and irrevo
                                                                                              cable
   irrespective of:


                   (i)     any limitation on the liability of or recou
                                                                        rse against, any other person in
           any Loan Document or arising under
                                                   any law;


                   (ii)   any claim or defense that this Guaranty was
                                                                        made without consideration or
           is not supported by adequate consideration
                                                       or that the obligations of Guarantor hereu
                                                                                                  nder
           exceed or are more burdensome than those
                                                       of Borrower under the other Loan Documents
                                                                                                     ;

                   (hi)   the taking or accepting of any other security
                                                                            or guaranty for, or right of
           recourse with respect to, aov or all of the
                                                         Guaranteed Obligations;




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                   (iv)    the operation of any laws (other than statutes of limitati
                                                                                        on) regarding the
           limitation of actions, all of which are hereby waived
                                                                    as a defense to any action or
           proceeding brought by Lender against Guarantor, to the
                                                                  fullest extent permitted by law;

                  (v)      any homestead exemption or any other exemption under-a
                                                                                          pplicable law;

                  (vi)     any release, surrender, abandonment, exchange, alterati
                                                                                   on, sale or other
          disposition,    subordination, deterioration, waste, failure to protect
                                                                                       or preserve,
          impairment* or loss of, or any failure- to create or perfect any lien
                                                                                  or security interest with
          respect to, or any other dealings with, any collateral
                                                                       or security at any time existing or
          purported, believed or expected to exist in connection
                                                                        with any or all of the Guaranteed
          Obligations, or any impairment of Guarantor's recours
                                                                   e against any person or collateral;

                 (vii)  whether express or by operation of law, any partial release
                                                                                     of the liability
          of Guarantor hereunder (except to the extent paid, perform
                                                                     ed or expressly so released) or
          any complete or partial release of Borrower or any other
                                                                         person liable, directly or
          indirectly, for the payment or performance of any or all
                                                                       of the Guaranteed Obligations;

                  (via)   the   insolvency,    bankruptcy,    dissolution,     liquidation,   termination,
          receivership,   reorganization,   merger,   consolidation,    change    of form,    structure   or
          ownership, sale of all assets, or lack of corporate, partner
                                                                        ship or other power of Borrower
          or any other person at any time liable for the payment
                                                                 of any or all of the Guaranteed
          Obligations;


                 (ix.)    either with or without notice to or consent of Guaran
                                                                                       tor, any renewal
         extension, modification, supplement subordination or rearran
                                                                             gement of die terms of any
         or all of. the Guaranteed Obligations and/or any of
                                                                 the Loan Documents, including
         material alterations of the terms of payment (including
                                                                  changes in maturity date(s) and
         interest rate(s) or performance (including changes with
                                                                    respect to construction of the
         Improvements) or any other terms thereof, or any waiver,
                                                                      termination, or release of, or
         consent to departure from, any of the Loan Documents or any
                                                                     other guaranty of any or all
         of the Guaranteed Obligations, or any adjustment,
                                                                  indulgence, forbearance, or
         compromise that may be granted from time to time by Lender
                                                                       to Borrower or any other
         person at any time liable for the payment or perform
                                                                 ance of any or all of the Guaranteed
         Obligations;

                <x)    any neglect, lack of diligence, delay, omission, failure,
                                                                                     or refusal of
         Lender to take or prosecute (or in taking or prosecuting)
                                                                   any action for the collection or
         enforcement of any of the Guaranteed Obligations, or to foreclo
                                                                               se or take or prosecute
         any action, to foreclose (or in foreclosing or taking or prosec
                                                                         uting any action to foreclose)
         upon any security therefor, or to exercise (or in exercising)
                                                                       any other right or power with
         respect to any security therefor, or to take or prosecute (or
                                                                        in taking or prosecuting) any
         action in connection with any Loan Document, or any failure
                                                                          to sell or otherwise dispose
         of in a commercially reasonable manner- any collate
                                                                    ral securing any or all of the
         Guaranteed Obligations;




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                  (xi)    any failure of Lender to notify Guarantor
                                                                        of any creation, renewal
           extension, rearrangement, modification, supple
                                                          ment, subordination, or assignment of the
           Guaranteed Obligations or any past thereof,
                                                       or of any Loan Document, or of any release
           of or change in any security, or of the occurrence
                                                                or existence of any Event of Default, or
           of any other action taken or refrained from
                                                          being taken by Lender against Borrower or
           any security or other recourse, or of any new agree
                                                               ment between Lender and Borrower, it
           being understood that Lender shall not be requir
                                                             ed to give Guarantor any notice of any
           kind under any circumstances with respect
                                                          to or in connection with the Guaranteed
           Obligations, any and ail rights to notice Guarantor
                                                               may have otherwise had being hereby
           waived by Guarantor, and Guarantor shall
                                                            be responsible for obtaining for itself:
           information regarding Borrower, including any
                                                         changes in the business or financial
           condition of Borrower, and Guarantor ackno
                                                 wledges and agrees that Lender shall have no
          duty to notify Guarantor of any information
                                                      which Lender may have concerning
          Borrower;


                  fx it)    the existence of any claim, counterclaim,
                                                                      set-off or other right that
          Guarantor may at any time have against Borrower.
                                                            Lender, or any other person, whether
          or not arising in connection with this Guara
                                                       nty, the Note, the Loan Agreement, the:
          Mortgage, the Environmental Indemnity Agree
                                                          ment, or any other Loan Document;
          provided, however, that: tire foregoing shall not
                                                              be deemed a waiver of Guarantor's right
          to assert any compulsory counterclaim mainta
                                                           ined in a court of the United States or the
          State of Florida if such counterclaim is comp
                                                         elled under local law or procedure;

                 (xiii)    the unenforceability of all or any part of the
                                                                          Guaranteed Obligations
          against Borrower, whether because the Guara
                                                      nteed Obligations exceed the amount
          permitted by law or violate any usury law,
                                                     or because the persons creating the
          Guaranteed Obligations acted in excess of their
                                                            authority, or because of a lack of validity
          or enforceability of or defect or deficiency
                                                         In any of the Loan Documents, or because
          Borrower has any valid defense, claim
                                                or offset with respect thereto, or becau
                                                                                         se
         Borrower's obligation ceases to exist by opera
                                                        tion of law, or because of any other reason
         or circumstance, it being agreed that Guarantor
                                                           shall remain liable hereon regardless of
         whether Borrower or any other person be found
                                                          not liable on the Guaranteed Obligations,
         or any part thereof tor any reason (and
                                                 regardless of any joinde      r of Borrower or any
         other party in any action to obtain payme
                                                   nt or performance of any or all of the
         Guaranteed Obligations);


                 (xiv)     any order, ruling or plan of reorganization eman
                                                                             ating from proceedings
         •under Title i 1. of the United States Code with respec
                                                                 t to Borrower or any o titer person,
         including any extension, reduction, composition
                                                            , or other alteration of the Guaranteed
         Obligations, whether or not consented to by
                                                     Lender, or any action taken or omitted by
         Lender in any such proceedings, Including
                                                   any election to have Lender's claim allowe
                                                                                              d
         as being secured, partially secured or unsecured,
                                                           any extension of credit by Lender in any
         such proceedings or the taking and holdin
                                                      g by Lender of any security for any such
         extension of credit;




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                    (xv)   any other condition, event, omission, or action that would in the
                                                                                                absence
            of this paragraph result in the release or discharge of the Guarantor
                                                                                  from the performance
            or observance of any obligation, covenant or agreement containe
                                                                              d in this Guaranty or any
            other agreement;
                                                                                                    •

                   (xvi)   any early termination of any of the Guaranteed Obligations; or

                  (xvii) Lender's enforcement or forbearance from enforcement
                                                                              of the Guaranteed
           Obligations on a net or gross basis,                .

            (b)    In the event any payment by Borrower or any other person
                                                                                to Lender is held to"
    constitute a preference, fraudulent.- transfer or other voidable
                                                                     .payment under any bankruptcy,
    insolvency or similar law, or if for any other reason Lender is required
                                                                               to refund such payment or
    pay the amount thereof to any othbr party, such payment
                                                            by Borrower or any other party to
    Lender shall not constitute a release of Guarantor from any liabi
                                                                        lity hereunder, and this Guaranty
    shall continue to be effective or shall be reinstated (notwithstanding
                                                                             any prior release, surrender
    or discharge by Lender of this Guaranty or of Guarantor), as
                                                                    the case may be, with respect to,
    and this Guaranty shall apply to, any and all amounts so refunded
                                                                  by Lender or paid- by Lender tcy
    another person (which amounts shall constitute part of the Guarant
                                                                       eed Obligations), and any
    interest paid by Lender and any reasonable attorneys' tees, costs and
                                                                               expenses paid or incurred
    by Lender in connection with any such event.


           (c)    It is the intent of Guarantor and Lender that the obligatio
                                                                              ns and liabilities of
   Guarantor hereunder are absolute, irrevocable and unconditional under
                                                                               any and all circumstances
   and that until the Guaranteed Obligations -are fully and finally
                                                                    paid and performed, and not.            •
   subject to refund or disgorgement, the obligations and liabilities of Guarant
                                                                                   or hereunder shall not
   be discharged or released, in whole or in part, by any act or occurren
                                                                               ce that might, bid for the
   provisions of this Guaranty, be deemed a legal, or equitable discharg
                                                                          e or release of a guarantor.

           (d)    Guarantor's obligations shall not be affected, impaired, lessened
                                                                                          or released by
   loans, credits or other financial accommodations now existing or hereafte
                                                                                  r advanced by Lender
   to Borrower in     excess   of the   Guaranteed Obligations.     All    payments,    repayments   and
   prepayments of the Loan, whether voluntary or involuntary, received
                                                                             by Lender from Borrower,
   any other person or any other source (other than from Guarantor pursuan
                                                                              t to a demand by Lender
   hereunder), and any amounts realized from any collateral for the
                                                                          Loan, shall be deemed to be
   applied first to any portion of the Loan which is not covered by this
                                                                               Guaranty, and last to the
   Guaranteed Obligations, and this Guaranty shall bind Guarantor to
                                                                       die extent of any Guaranteed
   Obligations that may remain owing to Lender. Lender shall have
                                                                        the right to apply any sums
   paid, by Guarantor to any portion of the Loan in Lender's sole and absolute
                                                                               discretion.

    i     (e)     If acceleration of the time for payment of any amount payable by Borrowe
                                                                                           r under
   the Note, the Loan Agreement, or any other Loan Document is stayed
                                                                          or delayed by any law or
   tribunal, all such amounts shall nonetheless be payable by Guarantor on demand
                                                                                        by Lender.

          (0     Guarantor hereby waives and agrees not to assert or take advantage of
                                                                                                 (i) any-
   right or claim of right to cause a .marshalling of any of Borrower's assets
                                                                                    or the assets of any




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           other party now or hereafter held as security for the
                                                                       Indebtedness; (It) the defense of laches In
     •     any ac tion hereunder or for the payment of the Indebt
                                                                       edness and performance of any obligation
           hereby guaranteed; (Hi) any defense that may arise
                                                                    by reason of the incapacity, lack of authority,
           death or disability of Guarantor, any other guarantor
                                                                         of the Loan, or Borrower or any other
           person or entity, or the voluntary or involuntary
                                                                 dissolution of Borrower, or the failure of Lende
                                                                                                                       r
           to file or enforce a claim against the estate (either in
                                                                        administration, bankruptcy, or any other
           proceeding) of Borrower or any other person or entity;
                                                                (iv) any defense based on the failure of
          Lender to give notice of the existence, creatio
                                                           n, or incurring of any new ox additional
          indebtedness or obligation, or of any action or
                                                           nonaction on the part of any other person
          whomsoever, or any modification of the terms of
                                                          the Loan Documents, or the Indebtedness, in
          connection with any obligation, hereby guaran
                                                            teed; (v) any defease based upon an election
                                                                                                                  of
          remedies by Lender which destroys or otherwise impair
                                                                        s any subrogation rights of Guarantor or
          any other guarantor of the Loan or the right of
                                                                 Guarantor to proceed against Borrower or any
          other guarantor for reimbursement, or both; (vi)
                                                                   any defense based upon failure of Lender to
          commence an action against Borrower; (vii) any
                                                                 defense based upon acceptance of tins Guaranty
          by Lender: (viii) any defense based upon the invalid
                                                                      ity or unenforceability of any of the Loan
          Documents; (ix) any defense based upon any comple
                                                                     te or partial release of liability contained in
          any of the Loan Documents; (x) any defense
                                                          based upon any transfer by Borrower of all or
                                                                                                                any
          part, of the collateral for the Loan; (xi) any defens
                                                                  e based upon the failure of Lender to perfect
          any security or to extend, or renew the perfection
                                                            of any security; and (xii) any other legal or
          equitable defenses whatsoever to which Guarantor might
                                                                 otherwise be entitled.

                  Section 5 .    Subordination.

                 If, for any reason whatsoever. Borrower is now
                                                                or hereafter becomes indebted to
          Guarantor:


                 (a)      such indebtedness and all interest thereon and
                                                                         all liens, security interests and
         rights now or hereafter existing with respect to proper
                                                                      ty of Borrower securing such indebtedness
         shall, at all limes, be subordinate in all respects
                                                                 to the Guaranteed Obligations and to all liens,
         security interests and rights now or hereafter existin
                                                                  g to secure the Guaranteed Obligations;

                 (b)     Guarantor shall not be entitled to enforce or
                                                                         receive payment, directly or
         indirectly, of any such indebtedness of Borrower
                                                          to Guarantor until the Guaranteed Obligations
         have been fully and finally paid and performed;


                 (c)     Guarantor hereby assigns and grants to Lende
                                                                      r a security interest in all such
         indebtedness and security therefor, if any, of Borrow
                                                               er to Guarantor now existing or hereafter
         arising, including any dividends and payments
                                                             pursuant to debtor relief or insolvency
         proceedings referred to below,      in the event of receivership, bankruptcy, reorga
                                                                                               nization,
         arrangement or other debtor relief or insolvency
                                                                proceedings involving Borrower as debtor,
         Lender shall have the right to prove its claim in
                                                           any such proceeding so as to establish its rights
.        hereunder and shall have the right to receive directl
                                                               y from the receiver, trustee or other custodian
         (whether or not an Event of Default shall have occurr
                                                                  ed or be continuing under any of the Loan
         Documents), dividends and payments that are
                                                            payable upon any obligation of Borrower to
         Guarantor now existing or hereafter arising,
                                                         and to have all benefits of any security therefo
                                                                                                          r.




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      until the Guaranteed
                           Obligations have          been fully and fin
     notwithstanding, the                                                  ally paid and perfo
                               foregoing provisions.                                              rmed.    If,
     distribution that is pro                          Guarantor should rec
                                hibited as provided                           eive any payment, cla
                                                    ab ove in this Section, Guara                      im  or
     Lender immediately.                                                          ntor shall pay the sam
                                Guarantor hereby ag                                                      e to
                                                     reeing that it shall
     distribution .in. trust for                                            receive the paymen
                                  Lender and shall hav                                            t claim or
     pay it immediately                                e absolutely no domi
                           to Lender; and                                     nion over the same exc
                                                                                                       ept to

             (d)    Guarantor shall promp
                                             tly upon request of Le
    documents and perfo                                              nder from time to tim
                          rm such acts as Lend                                              e execute such
    interest and to perm                           er may reasonably req
                         it or facilitate exercis                         uire to evidence and
                                                  e of its rights under                         perfect its
    and delivery of pro                                                 this Section, including
                        ofs of claim, furthe                                                     execution
                                                r assignments and se
    Lender of any promi                                               curity agreements,
                                                                                           and dellvepflo
                          ssory notes or other
    Guarantor.                                     instruments evidenc
                 All promissory no                                      ing indebtedness of
                                       tes, accou
                                               nts receivable ledge                           Borrower to
    hereafter held by Gu                                            rs or other- evidence
                            arantor, of obligatio                                          s, now or
    written notice thereo                     ns  of Borrower to Gu
                          n that the indebtedne                      arantor shall conta
                                                                                         in a Specific
    subject to the terms                        ss evidenced thereb
                         of this Guaranty.                          y is subordinated un
                                                                                           der and is

            Section 6.        Qffrer liability of Qffiff
                                                        aatpr y Spyrovy^.
           If Guarantor is or be
                                     comes liable, by en
   owing by Borrowe                                          dorsement or otherw
                         r to Lender other                                    ise, for any indebted
                                              than under this Gu                                       ness
   manner impaired or                                         aranty, such liabil
                        affected hereby, and                                      ity shall not be in
                                              the rights of Lender                                       any
   any and all other rig                                             hereunder shall be cu
                         hts that Lender ma                                                   mu  lative of
                                             y have against Guara
   indebted to Lender for                                            ntor. If Borrower is
                            any indebtedness oth                                             or becomes
                                                 er than or in excess
   any 'payment received                                                of the Guaranteed Ob
                          or recovery realized                                                  ligations,
  may be applied to suc                        up on such other indebted
                          h other indebtedness.                            ness of Borrower to
                                                  This Guaranty is ind                              Lender
  limited by) any other                                                  ependent of (and sh
                          guaranty now existi                                                  all  not be
  under this Guaranty                         ng  or hereafter given.
                       is in addition to any                             Further, Guarantor's
                                             and all other liability                              lia bility
  capacity to Lender.                                                Guarantor may have
                                                                                            in any other

          Section 7.      kend^r Am; Pfccfo
                                                     SWP <rf Information.
         This Guaranty is for
                                the benefit, of Lender
  event of an assignme                                  and Lender's successor
                        nt of the Guaranteed                                     s and assigns, and in
                                                Obligations, or any pa                                   the
  hereunder, to the exten                                              rt thereof, the rights
                          t applicable to the Gu                                              and benefits
 with such Guaranteed                             aranteed Obligations
                         Obligations. Guara                              so assigned, may be tra
                                               nto r waives notice of an                          nsferred
 Guaranteed Obligatio                                                     y transfer or assignme
                       ns or any part thereo                                                      nt of the
                                               f. Leader may sell or
 therein to one or more                                               offer to sell the Loan
                            assign
                                 ees or participants. Gu                                       or inte rests
 deliver any and all instru                                  arantor shall execute,
                           ments- reasonably reque                                    acknowledge and
 the extent, if any, sp                              ste d by Lender in connection
                         ecified in any such,                                         therewith, and to
participants) shall have                        assignment or participa
                          the same rights and bene                          tion, such assignee-(s)
                                                     fits with respect to the Lo                      or
persen(s) would have                                                             an Documents as such
                      if such personfs) were
assignee or participant                       Le nder hereunder. Lend
                          or prospective assignee                          er may disclose to any
                                                                                                   such
regulatory body havin                                  or participant, to Lend
                       g jurisdiction over Le                                   er's affiliates, to any
appropriate in Lender's                          nder and to any other
                           reasonable judgment, an                            parties as necessary or
obtains pertaining to                                  y information Lender no
                        the Guaranteed Obliga                                      w has or hereafter
                                                  tions, this Guaranty,
                                                                             or Guarantor, including



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     information regarding any security for the
                                                      Guaranteed Obligations or for this Guara
                                                                                                    nty, and/or
     credit or other information on Guarantor and/o
                                                          r any other person liable, directly or indirectly,
     any part of the Guaranteed Obligations.                                                                   for


             Section 8.         Binding Effect; Joint and Several Liability.


            This Guaranty is binding not only on Guara
                                                                 ntor, but also on Guarantor's heirs, personal
     representatives, successors and assigns.
                                                   If this Guaranty is signed by more than
                                                                                             one person, then
    all ol the obligations of Guarantor arisin
                                                    g hereunder shall be jointly and severally
                                                                                        binding on
    each of the undersigned, and their respe
                                             ctive heirs, personal representatives, succe
                                                                                          ssors and
    assigns, and the term "Guarantor" shall mean
                                                        all of such persons and each of them indivi
                                                                                                     dually.

            Section 9.         Governing- Law.

            The validity, enforcement, and interpretati
                                                        on of this Guaranty, shall for all purposes
    .governed by and construed in accordance with                                                     be
                                                    the laws of the State of Florida (exclusive
    conflict of laws principles) and applicable                                                    of its
                                                  United States federal law, and is intended
    performed in accordance with, and only to                                                     to  be
                                               the extent permitted by, such laws. All obliga
    Guarantor hereunder are payable and perfo                                                  tions  of
                                                rmable at the place or places where the Guara
    Obligations                                                                                   nteed
                 are payable and performable.


           Section 10.         invalidity of Pertain Provisions.

           If any provision of this Guaranty or the applic
                                                           ation thereof to any person or circumstance
   shall, for any reason and to any extent, be
                                                 declared to be invalid or unenforceable, neithe
   rema                                                                                           r the
         ining provisions of this Guaranty nor the
                                                   application of such provision to any other
   or circumstance shall be affected thereby,                                                   person
                                               and the remaining provisions of this Guara
   applicability of such provision to other                                                nty,  or the
                                            persons or circumstances, as applicable,
                                                                                      shall remain in
   effect and be enforceable to the maximum
                                              extent permitted by applicable law.   '

           Section 1 1 .      Costs and Expenses of Enforcement.

          Guarantor agrees to pay to Lender on dema
                                                    nd ail reasonable costs and expenses incurr
   by Lender in seeking to enforce Lender's                                                     ed
                                             rights and remedies under this Guaranty,
   court costs, costs                                                                   including
                           of alternative dispute resolution and
                                                                 reasonable attorneys' fees and costs,
   whether or not suit is filed or other proce
                                                  edings are initiated hereon. All such reaso
   and expenses incurred by Lender shall                                        nable costs
                                         constitute a portion of the Guaranteed
                                                                                Obligations
   hereunder, shall be subject to the provisions
                                                      hereof with respect to the Guaranteed Oblig
                                                                                                      ations
   and shall be payable by Guarantor within ten
                                                     (10) days of written demand by Lender.

          Section 12.        No Usurv,

          ft is not the intention of Leader or Guara
                                                              ntor to obligate Guarantor to pay intere
                                                                                            st in
  excess of that lawfully permitted to be paid
                                                by Guarantor under applicable law. Should
  determined that any portion of the Guaranteed                                             it be
                                                     Obligations or any other amount payable
  Guarantor under this Guaranty constitutes intere                                             by
                                                   st in excess of the maximum amount of intere
                                                                                                st




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 that Guarantor, in Guarantors capacity as guarantor, may lawfully he required to pay under
 applicable law, the obligation of Guarantor to pay such interest shall automat a ally be limited to
 the payment thereof in. the maximum, amount so permitted under applicable law. The provisions .
 of this Section shall override and control all other provisions of this Guaranty and of any other
 agreement between Guarantor and Lender.


        Section 1 3,   Representations. Warranties, and Covenants of Guarantor.

        Until the Guaranteed Obligations are paid and performed in lull and each and every term,
 covenant and condition of this Guaranty is fully performed, Guarantor hereby represents,               - •
 warrants, and covenants that: (a) Guarantor has a financial interest in Borrower and will derive,%,,
 material and substantial benefit, directly or indirectly, from the making of the Loan to Borrower
 and from the making of this Guaranty % Guarantor; (b) this Guaranty is valid, and Is binding
 upon and enforceable again,s! Guarantor; (c) Guarantor Is not, and the execution, delivery and
 performance* by Guarantor of this Guaranty will not cause Guarantor to be, in violation of or in
 default with respect to any law or in default (or at risk of acceleration of indebtedness) under any
 agreement or restriction by which Guarantor is bound or affected: (d) except as previously             __
 disclosed to Lender in writing, there is no litigation pe tiding or to the knowledge of < tuaranto
 threatened by or before any tribunal against or affecting Guarantor; (e) all financial statements
 and information heretofore furnished to Lender by Guarantor do, and all financial statements and
 information hereafter furnished to Lender by Guarantor will, fully and accurately. In all material
 aspects, present the condition (financial or otherwise) of Guarantor as of their dates and the
 results of Guarantor's operations for the periods therein specified, and, since the date of the most
 recent financial statements of Guarantor heretofore furnished to Lender, no material adverse
 change has occurred in. the financial condition of Guarantor, nor, except as heretofore disclosed
 in writing to Lender, has Guarantor incurred any material liability, direct or indirect, fixed or
 contingent; (f) after giving effect to this Guaranty, Guarantor is solvent, is not engaged or about
 to engage in business or a transaction for which the property of Guarantor is an unreasonably
 small capital, and does not intend to incur or believe that if will incur debts that will be beyond
 its ability to pay as such debts mature; (g) Guarantor has read and fully understands the
 provisions contained in the Note, the Loan Agreement, the Mortgage, the Environmental
 Indemnity Agreement and the other Loan Documents. No Loan Documents or other document,
 certificate or statement (including, without limitation, any financial statements provided to
 Lender by Guarantor) furnished, to Lender by or on behalf of Guarantor contains any untrue
 statement of a material fact or omits to state a material feet necessary m order to make the
 statements contained herein and therein not misleading. Guarantor acknowledges that all. such
 statements, representations and warranties shall be deemed to have been relied upon by Lender
 as 'an inducement to make the Loan to Borrower. Guarantor's representations, warranties and
 covenants are a material inducement to Lender to enter into the other Loan Documents shall
 survive the execution hereof and any bankruptcy, foreclosure* transfer of security or other event
 affecting Borrower, Guarantor, any other party, or any security for all or any part of the
 Guaranteed Obligations.




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                Section 14.       Notices.


               All notices front tbe Guarantor to Lender and Lender to Guarant
                                                                                or required or permitted
        by any provision of this Guaranty shall be in writing and sent by
                                                                            certified mail or nationally
        recognized overnight delivery service or hand-delivered. All
                                                                        notices to Guarantor shall be
        sufficiently given if mailed or delivered to Guarantor's address shown above,
                                                                                          and all notices to
        Lender, shall be mailed arid delivered to Lender at the address
                                                                           shown above, or such other
        address as Lender may specify in writing from time to time.
                                                                         Any notice required under this
        Guaranty shall be given in writing, and shall be effective when
                                                                           actually delivered or one (})
        business day after deposit with a nationally recognized overnigh
                                                                            t courier or, if mailed, five
        business days after deposit In the United States mail Any party
                                                                             may designate a change of
        address by written notice to the other party, received by such other
                                                                              party at least ten (10) days
        he tore such change of address is to becoi     >

               Section- 1 5 ..   Cumulative Rights.

               AH of the rights and remedies of Lender under this Guarant
                                                                          y and the other Loan
        Documents are cumulative of each other and of any and all other
                                                                            rights at law or in equity, and
        the exercise by Lender of any one or more of such rights and
                                                                          remedies shall not preclude the
        simultaneous or later exercise by Lender of any or all such other rights
                                                                                   and remedies. No single
       or partial exercise of any right or remedy shall exhaust it
                                                                         or preclude any other or further
       exercise thereof, and every right and remedy may be exercised at
                                                                            any time and from time to time.
       No failure by Lender to exercise, nor delay in exercising, any
                                                                         right or remedy shall operate as a
       waiver of such right or remedy or as a waiver of any Event of Default.
                                                                                    No notice to or demand
       on Guarantor in any case shall of itself entitle Guarantor to any
                                                                          other or further notice or demand
       in similar or other circumstances. No provision of litis Guarant
                                                                              y or any right or remedy of
       Lender with respect hereto, or any default or breach, can he waived,
                                                                                   nor can this Guaranty or
       Guarantor be released or discharged in any way or to any extent
                                                                            except specifically in each case
       by a writing intended for that purpose (and which refers specific
                                                                            ally to this Guaranty) executed
       and delivered by Lender to Guarantor.


              Section 16,        Term of Guaranty.


               This Guaranty shall continue in effect until all the Guaranteed Obligati
                                                                                        ons and all of the
       obligations of Guarantor to Lender under this Guaranty are fully
                                                                         and finally paid, performed and
       discharged and are not subject to any bankruptcy preference period
                                                                            or any other disgorgement.

              Section 17.        Subrogation.


               Guarantor shall not have any right of subrogation under any of
                                                                               the Loan Documents or
       any  right to participate in any security for foe Guaranteed Obligati
                                                                                 ons or any right to
       reimbursement, exoneration, contribution, indemnification or
                                                                        any similar rights, until the
       Guaranteed Obligations have been fully and finally paid,
                                                                       performed and discharged in
.      accordance with Section 16 above, and Guarantor hereby waives
                                                                      all of such rights.




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               Section 18,      No Transfer of Assets.

                Guarantor glial! not, during the term of the Loan, transfer any material, portion of his
        assets unless such transfer is in the ordinary course of Guarantor's business, for fair market value
        anci such fair market value is given to Guarantor, in Ms sole name, and such transfer will not
       have a materia! adverse effect on the financial condition of Guarantor and/or .his ability to
       perform his obligations hereunder, as determined by Lender in its sole and absolute discretion.


               Section 19.      Event of Default,

               If any of the following events occur, an event of default ("Event of Default") under this
       Guaranty* shall exist:      (a) failure of timely payment or performance of the Guaranteed.
       Obligations or a default or event of default under any Loan Document (as such terms are defined,
       in the Loan Document); (b) a bread! of any agreement or representation contained or referred to
       in the Guaranty, or any of the f     t Documents* or contained in mt
                                                                         any other contract or agreement
       of Guarantor with Lender or its affiliates, whether now existing or hereafter arising; (e) the death
       of. the incompetence of, appointment of            guardian, for, appointment of a receiver a for.
       assignment for the benefit of creditors of, or the commencement of any insolvency or bankruptcy,
       proceeding by. or against. Guarantor; and (d) Lender determines in good, faith, in its sole
       discretion, that the prospects for payment or performance of the Guaranteed Obligations are
       impaired or a material adverse change has occurred in the business or prospects of Borrower or
       Guarantor, financial or otherwise.                                                                -

               Section 2 1 .    limg.MEssracg.


               Time shall be of the essence in this Guaranty with respect to all of Guarantor's
       obligations hereunder.


               Section 22.      Entire Agreement: Construction.

               •This Guaranty embodies the entire agreement between Lender and Guarantor with
       respect to the guaranty by Guarantor of the Guaranteed Obligations. This Guaranty supersedes
       all prior agreements and understandings, if any, with respect to the guaranty by Guarantor of the
       Guaranteed Obligations. This Guaranty shall be effective upon execution by Guarantor and
       delivery to Lender..    This Guaranty may not be modified, amended or superseded except in a
       writing signed by Lender and Guarantor referencing this Guaranty by its date and specifically
       identifying the portions hereof that are to be modified, amended or superseded. As used herein,
       the words "include" and Including" shall be interpreted as if followed by the words "without
       limitation,"    •                                           .

   f
              Section 23.       Forum.

               Guarantor hereby irrevocably submits generally and unconditionally for itself and 'in
       respect of its property to the jurisdiction of any state court or any United States federal, court
       sitting in Miami-Dade County. Florida. Guarantor hereby irrevocably wai ves, to the fullest
   extent permitted by law, any objection that Guarantor may now or hereafter have to the laying of




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     venue in any such court and any claim that any
                                                           suck court is an inconvenient forum.   Nothing
     contained herein shall, however, prevent Lender
                                                             from bringing any action or exercising any
     rights in the Courts of the State of Florida sitting in
                                                             or for Broward County, Florida or the United
     States District Courts sitting in or for such Count
                                                                y and Guarantor irrevocably agrees and
     consents to such venue and jurisdiction and expressly
                                                                 waives any objections as to venue and
    jurisdiction in any such courts.    Guarantor hereby agrees and consents that, in additio
                                                                                                  n to any
     methods of service of process provided for under applica
                                                                   ble law, all service of process in any
     such. suit, action or proceeding in any state court
                                                         or any United States federal court sitting in the
     state specified in the governing law section, of
                                                          this Guaranty may. be made by certified or
     registered mail, return receipt requested, directed
                                                         to Guarantor at its address for notice set forth
     m this Guaranty, or at a subsequent address of which
                                                          Lender received actual notice from.
    Guarantor in accordance with the notice section
                                                      of this Guaranty, and sendee so made shall be
    complete five (5) days after the same shall have
                                                     been, so mailed. Nothing herein, shall affect the
    rigid of Leader to serve process in any manner permit
                                                            ted by law or limit the right, of Lender to
    bring proceedings against Guarantor in any other
                                                     court or jurisdiction.

            Section 24.     WAIVER OF JURY TRIAL.:


         GUARANTOR     HEREBY    KNOWINGLY,     VOLUNTARILY      AM)
    INTENTIONALLY WAIVES THE RIGHT ANY
                                       MAY HAVE TO A TRIAL BY JURY IN
    RESPECT OF ANY LITIGATION BASED
                                    HEREON OR ARISING OUT OF, UNDER
    OR IN CONNECTION WITH THIS GUAR
                                        ANTY AND ANY AGREEMENT
    CONTEMPLATED TO BE EXECUTED IN CONJ
                                        UNCTION HEREWITH, OR ANY
    COURSE OF CONDUCT, COURSE OF
                                     DEALING, STATEMENTS (WHETHER
    VERBAL- OR WRITTEN) OR ACTIONS OF
                                      ANY PARTY. THIS PROVISION IS A
    MATERIAL INDUCEMENT FOR LENDER
                                    ENTERING INTO THIS AGREEMENT.



                                 (CONTINUES ON THE FOLLOWING PAGE]                     .   .




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                IN WITNESS WHEREOF, Guarantor has duly executed
                                                                this Guaranty as of the date
       first written above.

       Witnesses;
                                                                           GUARANTOR:
                                                                           NUMA. M. PEREZ,, mdmduatty




       Print
                                          .w
                                                                          Nate       JTa



       Priiffmrne:                                    Gr5




      STATE OF FLORIDA              '                  '}
                                                       )SS:
      COUNTY OF MIAMI-DADE
                                                       )

                 The foregoing Guaranty was acknowledged before me
                                                                                       this   7     day of December,
      201 7, by Nubia M, Perez, individually as the Guaran
                                                                          tor, as her individual act. Nubia M. Perez is
      personally known to me or has produced a Hone                       Oft to ^ U\a>n3C as identification, and took
      an oath.




                                                               NOTARY TOBMC.                            ,
                     ^           Stephan Desroches             Print Name:                    ^roc
                                                                                                 Sftyk
                                                                                                   hc* m
                                   State of Florida
                                                               My Commission Expires:         OS/OS/ BjQI 0
                   \   y My Commission Expires 03/08
                              Commission No. FF 968971




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      Lender;
                                VALLEY NATIONAL BANK
      narrower:                 A PLUS LAMINATION &
                                                                    FINISHING, INC.
      Guarantors;              FRANCISCO PEREZ; & NUB
      Transaction:                                           IA M. PEREZ
                               Note & Mortgage Modlfiea
                                                        tle® awl Extension Agreeme
                                                                                   nt


          G;LARANT0R, NUBIA M,
                                          PEREZ'S waiver of exe
                                                                              mption from garnishm
                                                                                                              ent

     IF YOU PROVIDE MORE
                                      THAN ONE-HALF OF THE
                                                   PORT FOR A CHILD OR      SUP
     DEPENDENT, ALL OR PAR                                             OTHER
                           T OF YOUR INCOME IS EXE
     UNDER FLORIDA LAW.                            MPT FROM GARNISHMENT
                         YOU CAN WAIVE THIS PRO
     DOCUMENT. BY SIGNIN                         TECTION ONLY BY SIGNIN
                         G BELOW, YOU AS BOR                            G THIS
                                             ROWER AGREE TO WA
     PROTECTION FROM GAR                                         IVE THE
                          NISHMENT.


    1 certify that I have read and unde
                                          rstood the notice above before
    referenced above, and agree to                                           signing the attached GUARAN
                                       waive the protection from Garnish                                   TY-
                                                                              ment"



    SignatraB^^fi^^E                  ;A MrlPpB?---
                                                                                       Date
    STATE OF FLORIDA
    COUNTY Of MIAMI-DADE


            The foregoing waiver was acknowle
                                                     dged before me this 7          day of December 2017. by NUBS A
    M.PEREZ, individually, who
                                     { ] is personally known to roe
                                                                       or who [ ] has produced his
     Ftmdq Mwm U ecu **                           as identification.


   (Sea!)
                J**,          Stepban Desroches
               /•Ny*      Stats of Florida
               V Y My Commission Expires 03/08/2020                 Notary PuSfic
                          Commission No. FF 968971                  Print Nmm:*

   i have fully explained this docu
                                     ment to the Guarantor.


   VALLEY NATIONAL BAN
                                 K

  •B>L
  Name:
  Its:,
                                                                    Date:




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  IN THE COUNTY COURT IN AND FOR MIAMI-DADE COUNTY, FLORIDA


                                                     CASE NO: 20 1 8-8 1 87-CC-05 (04)


   BRIAN HOLLAND et al,
          Plaintiff,


  vs.




  APLUS LAMINATION &
  FINISHING, INC.,


          Defendant.



                       ORDER OF BANKRUPTCY STAY AND CLOSING CASE


          Based on a suggestion of bankruptcy, the cause is automatically STAYED. The action shall

  be administratively closed until further order of court. The parties are directed to advise the court in

  writing when the stay is lifted and the case is ready to proceed.

          DONE AND ORDERED in Chambers at Miami-Dad^CouMy, Florida on May 15, 2018.
                                                                  /




                                                           ALEXANDER S. BOKOR
                                                           County Court Judge


          THE CLERK IS ORDERED NOT TO                                       s\Gtt£°
         DESTROY FILE UNTIL FURTHER                                               0iy»
          ORDER OF THE COURT


  Copies furnished to all parties




                                                                                           Exhibit F
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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-AJC

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

                         LANDLORD’S MOTION FOR SANCTIONS
                  PURSUANT TO BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

            Brian Holland and Andrea Holland also known as Brian Holland 5561 Rent Account

   (“Landlord”) respectfully request that the Court, under Bankruptcy Rule 9011 and 11 U.S.C. §

   105, enter sanctions against Nubia Marcella Perez (“Debtor”) and Debtor’s counsel for their bad

   faith and improper filing of the pending bankruptcy petition.

       I.       Background.

            Debtor is the President of A Plus Lamination and Finishing Inc. (“Tenant”), which is an

   active Florida corporation. A printout from Sunbiz is attached as Exhibit “A.” Tenant entered a

   one-year commercial lease (“Lease”) with Landlord to rent property located at 5559 NW 36th

   Avenue Miami, Florida 33142 (“Property”). The Lease’s one-year term runs from August 1, 2017

   to July 31, 2018. A copy of the Lease is attached as Exhibit “B.”

            Tenant agreed to pay $8,666.67 in monthly rent, plus sales tax, water and fees to lease the

   Property. See Ex. B. Tenant defaulted on the Lease by failing to make the March 1, 2018 rent

   payment and all subsequent payments. On April 13, 2018, Landlord initiated an eviction action

   against Tenant in the County Court in and for Miami-Dade County, case number 2018-008187-

   CC-05 (“Eviction Action”).


                                                             1
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          On May 10, 2018, Judge Alexander Boker ordered Tenant to deposit rent into the court

   registry (“Deposit Order”). A copy of the Deposit Order is attached as Exhibit “C.” Tenant was

   ordered to deposit funds as follows: (1) $9,000 by May 7, 2018; (2) $9,000 by May 14, 2018; (3)

   Tenant was ordered make additional timely deposits as additional rent became due; and (4)

   Tenant’s failure to make timely deposits constitutes “an absolute waiver of its defenses, other

   than payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final

   Judgment for Removal of Tenant and Writ of Possession to issue forthwith without the

   necessity of further hearing pursuant to Section 83.232, Florida Statutes.” See Ex. C (emphasis

   added). Landlord and Tenant were also ordered to attend a mediation on May 15, 2018, after the

   timely deposit of Tenant’s May 14, 2018, $9,000 payment. Id.

          Tenant did not make the May 14, 2018, $9,000 deposit into the court registry, resulting in

   a waiver of its defenses and entitling Landlord to immediate default final judgment and writ of

   possession. A copy of the Eviction Action docket is attached as Exhibit “D.” On the day after

   missing this payment, Debtor, who is Tenant’s President, filed an individual chapter 11

   bankruptcy, but claimed to be a small business debtor that does business under Tenant’s name. A

   copy of the bankruptcy petition is attached as Exhibit “E.” This assertion made it appear that

   Tenant was filing bankruptcy, and on May 17, 2018, only three days after failing to make the

   second $9,000 deposit, the Eviction Action was stayed because of the pending bankruptcy. A copy

   of the order of bankruptcy stay is attached as Exhibit “F.” As of the date of this motion, Tenant

   retains possession of the Property, but has not made any payments to Landlord nor has Tenant

   made any additional deposits into the court registry.




                                                            2
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       II.      Landlord is entitled to sanctions under Bankruptcy Rule 9011.

             Landlord is entitled to sanctions against Debtor and Debtor’s counsel because they filed

   the bankruptcy petition for the improper purpose of unnecessarily delaying the Eviction Action.

             By presenting to the court (whether by signing, filing, submitting, or later
             advocating) a petition, pleading, written motion, or other paper, an attorney or
             unrepresented party is certifying that to the best of the person's knowledge,
             information, and belief, formed after an inquiry reasonable under the
             circumstances,

             (1) it is not being presented for any improper purpose, such as to harass or to
                 cause unnecessary delay or needless increase in the cost of litigation;
             ...

   Fed. R. Bankr. P. 9011(emphasis added). A sanction under this rule shall include “what is sufficient

   to deter repetition of such conduct or comparable conduct by others similarly situated.” Id. And

   may include non-monetary directives and an order directing the payment of movant’s attorney’s

   fees. Id.

             Landlord was not required to notify Debtor or Debtor’s counsel of Landlord’s intent to

   seek sanctions because Bankruptcy Rule 9011’s 21-day safe harbor period is inapplicable when

   the improper conduct is the filing of a petition.1 Fed. R. Bankr. P. 9011(c); In re Smith, 257 B.R.

   344, 351 (Bankr. N.D. Ala. 2001) (“The petition is excluded from the safe harbor provision of

   Rule 9011 because its filing has immediate serious consequences.”).

             The invocation of the automatic stay is perhaps one of the most powerful safeguards
             in all the law. With the filing of a single piece of paper, the law imposes a broad
             sweeping and powerful injunction which carries with it great implications and
             provides for sanctions for its violation. The purpose of the automatic stay is to give
             the debtor breathing room. The automatic stay is not to be used as an abusive
             litigation tactic.

   1
          Although inapplicable in this instance, Rule 9011(c)(1)(A) prohibits a party from filing a
   motion for sanctions unless the violating party does not withdraw or correct the challenged paper
   within 21-days after service. Fed. R. Bankr. P. 9011; In re Smith, 257 B.R. 344, 351 (Bankr. N.D.
   Ala. 2001).
                                                             3
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   Id.

             Debtor and Debtor’s counsel purposefully used the bankruptcy petition as a litigation tactic

   to stay the Eviction Action. “The court may find a party and counsel jointly and severally liable

   for sanctionable conduct engaged in by counsel on the party's behalf if the party and counsel knew

   or should have known that their conduct in the case was improper.” In re Douglas, 141 B.R. 252,

   256 (Bankr. N.D. Ga. 1992); see In re Morgan, 85 B.R. 622, 623 (Bankr. M.D. Fla. 1987)

   (imposing sanctions when bankruptcy was filed to delay foreclosure). The Court, in imposing

   sanctions, determines not just “whether the Petition was filed in bad faith, but whether the debtors

   or their attorneys knew or should have known that the filing was in bad faith.” In re McBride

   Estates, Ltd., 154 B.R. 339, 342 (Bankr. N.D. Fla. 1993) (quoting In re Whitney Place Partners,

   123 B.R. 117 (Bankr.N.D.Ga.1991).

             The In re Indian Rocks Landscaping of Indian Rocks Beach, Inc., court imposed

   sanctions under Rule 9011 after finding that debtor’s bankruptcy petition was filed in bad faith to

   delay a state court eviction action, debtor’s counsel did not comply with the requirements of Rule

   9011 and based on the factual circumstances, knew that “the sole purpose for the filing of the

   Debtor's Petition was to stall state court litigation.” In re Indian Rocks Landscaping of Indian

   Rocks Beach, Inc. (“Indian Rock Landscaping”), 77 B.R. 909, 912 (Bankr. M.D. Fla. 1987). The

   Indian Rock Landscaping bankruptcy petition was filed minutes before the start of a state court

   eviction hearing: the eviction hearing was set for April 15, 1987 at 9:45 a.m. and debtor, seeking

   to avoid that hearing, filed its bankruptcy petition at 9:08 a.m. on the same day. Id. at 910.

             Similarly, the In re McBride Estates, Ltd., court held debtor and debtor’s counsel jointly

   and severally liable for sanctions when debtor filed a chapter 11 bankruptcy only two hours before

                                                               4
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   a scheduled foreclosure sale and made intentional misstatements on debtor’s bankruptcy

   schedules. 154 B.R. at 343. The court concluded that the bad-faith filing was done for the improper

   purpose of delaying the completion of the foreclosure action. Id. (awarding the movant its litigation

   costs and fees).

            Debtor, with the aid of counsel, filed this bankruptcy petition for the improper purpose of

   stalling the Eviction Action. Debtor’s bankruptcy was filed on the day after Tenant violated the

   Deposit Order, resulting in the waiver of Tenant’s defenses and entitling Landlord to immediate

   default final judgment and writ of possession. See Ex. C. Moreover, Tenant is not the debtor in

   this bankruptcy action. Debtor, who is Tenant’s President, claims to be filing bankruptcy as a small

   business debtor that does business under Tenant’s name. Tenant is an active Florida corporation,

   and a “[a] general principle of corporate law is that a corporation is a separate legal entity, distinct

   from the persons comprising them.” Gasparini v. Pordomingo, 972 So. 2d 1053, 1055 (Fla. 3d

   DCA 2008). Debtor purposefully filed this bankruptcy petition, improperly blurring the lines

   between Debtor and Tenant, for the sole purpose of stalling the Eviction Action, evidenced by the

   fact that Debtor, acting as Tenant’s agent, sought and obtained a stay of the Eviction Action. See

   Ex. F.

            Debtor and Debtor’s counsel knew that the Petition was filed to improperly delay the

   Eviction Action, evidenced by the timing of the filing, Tenant’s continued failure to make

   additional rent payments or deposit money in the court registry, Tenant seeking and obtaining a

   stay of the Eviction Action, and the intentional misstatements on the bankruptcy petition that

   improperly intertwine Debtor and Tenant. Thus, Debtor and Debtor’s counsel should be held

   jointly and severely liable for all fees and costs incurred by Landlord in this bankruptcy action.



                                                            5
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   And, the Court should issue an order banning Tenant from filing bankruptcy or exempting

   Landlord from an automatic stay if Tenant files a future bankruptcy.

      III.      Landlord is entitled to sanctions under the Court’s inherent authority to impose
                sanctions.

             Debtor’s and Debtor’s counsel’s bad-faith conduct is sanctionable under the Court’s

   inherent authority to issue sanctions. The Court, under 11 U.S.C. § 105, has the inherent power to

   sanction bad faith conduct. In re IAMEC Funding, Inc., 236 B.R. 490, 491 (Bankr. M.D. Fla. 1999)

   (noting that the power to punish for contempt and bad-faith conduct is inherent in all courts).

   “Clearly the abuse of the judicial system to achieve an improper purpose is sanctionable.” Id.

   (imposing sanctions when bankruptcy was filed to frustrate the advancement of a legitimate

   interest). The filing of bad-faith bankruptcy petitions are sanctionable under 11 U.S.C. § 105. In

   re Hidalgo, 96 B.R. 389, 390 (Bankr. S.D. Fla. 1988).

             These bad faith filings result in unwarranted delay in enforcement of the just claims
             and rights of innocent creditors and a disruption of the system and a clogging of
             already crowded calendars to the delay and detriment of those persons Congress
             intended to benefit by enactment of the Bankruptcy Code.
   Id. (noting that in eviction proceedings, individuals, with advice of counsel, are submitting

   bad-faith bankruptcy filings on the eve of judgment or issuance of a writ of possession).

             As described above, Debtor and Debtor’s counsel filed this bankruptcy petition in

   bad faith, and for the sole purpose of delaying the Eviction Action. Debtor, through

   counsel, filed this Bankruptcy petition the day after Tenant violated the Deposit Order,

   entitling Landlord to immediate final judgment and writ of possession. Debtor and Debtor’s

   counsel made intentional misstatements on the bankruptcy petition and convoluted the

   relationship between Debtor and Tenant to obtain a stay of the Eviction Action. Thus,

   Debtor and Debtor’s counsel should be held jointly and severely liable for all fees incurred

                                                            6
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   by Landlord in this bankruptcy action, and the Court should issue an order banning Tenant

   from filing a future bankruptcy or exempting Landlord’s Eviction Action from a future stay

   if Tenant files bankruptcy.

      IV.      Conclusion.

            Debtor’s bankruptcy petition was filed in bad faith and for the improper purpose of

   delaying Landlord’s Eviction Action. Thus, Landlord is entitled to sanctions against Debtor and

   Debtor’s Counsel under Bankruptcy Rule 9011 and 11 U.S.C. § 105. Landlord also requests that

   the Court issue an order banning Tenant from filing a future bankruptcy or exempting Landlord’s

   Eviction Action from a future stay if Tenant files bankruptcy.

      Dated: May 30, 2018.
                                                         s/ Peter D. Russin
                                                        Peter D. Russin, Esquire
                                                        Florida Bar No. 765902
                                                        prussin@meladnrussin.com
                                                        Utibe I. Ikpe, Esq.
                                                        Florida Bar Number: 90301
                                                        uikpe@melandrussin.com
                                                        MELAND RUSSIN & BUDWICK, P.A.
                                                        3200 Southeast Financial Center
                                                        200 South Biscayne Boulevard
                                                        Miami, Florida 33131
                                                        Telephone: (305) 358-6363
                                                        Telecopy: (305) 358-1221

                                                        Attorneys for Brian Holland and Andrea Holland




                                                            7
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                                          CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a true and correct copy of the foregoing was served on May

   30, 2018, via the Court’s Notice of Electronic Filing upon registered Users listed on the attached

   hereto as Exhibit 1 and via Regular U.S. Mail on all parties listed on the Court’s Matrix attached

   hereto as Exhibit 2.

                                                        s/ Peter D. Russin
                                                        Peter D. Russin, Esquire




                                                            8
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Mailing Information for Case 18-15825-AJC
Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for this
case.

    • Thomas G Neusom tgnoffice34@gmail.com
    • Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov




                                                                                           Exhibit 1
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Label Matrix for local noticing     Actega North America645
                                                         Inc          Brian Holland
113C-1                               26537 Network Place              13105 NW Le Jeune Rd
Case 18-15825-AJC                    Chicago, IL 60673-1265           Opa Locka, FL 33054-4435
Southern District of Florida
Miami
Wed May 30 13:40:34 EDT 2018
Capital One Bank                     Cosmo Claim 2018                 D & K International Inc
POB 71083                            Rosenfeld Stein Batta, PA        Ryan E Sprechman
Charlotte, NC 28272-1083             21490 West Dixie Hwy             2775 Sunny Isle Blvd #100
                                     Aventura, FL 33180-1144          Miami, FL 33160-4078


Distrigraph Inc                      Francisco Gabriel Perez Loan     Internal Revenue Service
Gabriel Fernandez                    3845 Sw 149th Pl                 POB 80110
5248 SW 93rd Ave                     Miami, FL 33185-3931             Cincinnati, OH 45280-0110
Cooper City, FL 33328-4225


Matt D Goldman Trust                 Miami-Dade County Tax            Noelus LLC
Account                              Collector                        POB 639027
7190 SW 100 St                       140 West Flagler St              Cincinnati, OH 45263-9027
Miami, FL 33156-3069                 14th Floor
                                     Miami, FL 33130-1561

Nubia Perez Loans                    Office of the US Trustee         SANTANDER CONSUMER USA
5559 NW 36th Ave                     51 S.W. 1st Ave.                 P.O. Box 560284
Miami, FL 33142-2709                 Suite 1204                       Dallas, TX 75356-0284
                                     Miami, FL 33130-1614


Santander Consumer USA               Transilwrap Company Inc          Universal Pressroom
POB 660633                           9201 W Belmont Ave               Productsa LLC
Dallas, TX 75266-0633                Franklin Park, IL 60131-2842     POB 1697
                                                                      Woodstock, GA 30188-1366


Valley National Bank -2625           Valley National Bank Loan        Vencol
Newtex Small Business                2198 Small Street                8209 NW 70th St
Finance, LLC                         POB 952                          Miami, FL 33166-2743
POB 2006                             Wayne, NJ 07474-0952
Hicksville, NY 11802-2006

Nubia Marcella Perez                 Thomas G Neusom
5559 NW 36 Ave                       4737 N. Ocean Drive, #129
Miami, FL 33142-2709                 Fort Lauderdale, FL 33308-2920




                                                                                 Exhibit 2
 Detail by Entity Name                                                   Page 1 of 2
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 Honda Department of State                                                                                          Division ot: Corporations




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      Department of Stale    / Division ot Corporations   / Search Records   / Detail By Document Number /




         Detail by Entity Name
         Florida Profit Corporation

         A PLUS LAMINATION & FINISHING, INC,

         Filing Information

         Document Number                       P060001 54680

         FEI/EIN Number                        XX-XXXXXXX

         Date Filed                            12/18/2006

         State                                 FL

         Status                                ACTIVE

         Last Event                            REINSTATEMENT

         Event Date Filed                      09/29/2010

         Principal Address

         5559 NW36TH AVENUE
         MIAMI, FL 33142



         Changed: 10/02/2007

         Mailing Address

         5559 NW36TH AVENUE
         MIAMI, FL 33142



         Changed: 10/02/2007

         Registered Agent Name & Address

         PEREZ, NUBIA M

         5559 NW 36TH AVENUE
         MIAMI, FL 33142



         Address Changed: 10/02/2007

         Officer/Director Detail

         Name & Address


         Title PRESIDENT


         PEREZ, NUBIA M

         5559 NW36TH AVENUE
         MIAMI, FL 33142



         Annual Reports

          Report Year               Filed Date




http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype-Entity...                                     5/30/2018
                                                                                                                    Exhibit A
 Detail1:18-cv-24463-FAM
Case    by Entity Name                                                    Page 111
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      2016                      03/22/2016

      2017                      02/24/2017

      2018                      03/26/2018



      Document Images


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      04/29/2013 - ANNUAL REPORT           View image in PDF format


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      02/05/2009 - ANNUAL REPOR            View image in PDF format


      01/09/2008 - ANNUAL REPOR            View image in PDF format


      10/02/2007 •••• RFiNS'l A i FMF NT   View image in PDF formal


      12/18/2006 -• Domestic Profit        View image in PDF formal




http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail7inquirytype-Entity...   5/30/2018
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 RENT: S 8.666.67                                                   FOLIO #         BH 5561                        BAY: 5559 NW 36th AVENUE
 TAX:     S 606.67                                                                                                 TERMS: 08/01/2017-07/31/2018
 WATER: TENANT PAYS                                                                                                YEARS : (HONE YEARS
 TRASH: TENANT PAYS                                                                                                NEW            RENEWAL             X
 SEC. SERV. TENANT PAYS                                                                                            SECURITY : S 17.333.34
 TOTAL: $9.273.34                                                BUSINESS LEASE                                    OTHER:

 THIS AGREEMENT, entered into this           iST   day of AUGUST. 2017           between     BRIAN HOLLAND AND ANDREA HOLLAND a.k.a BRIAN
HOLLAND 5561 RENT ACCOUNT hereinafter called the "LESSOR", party of the first part, and APLUS LAMINATION & FINISHING. LESSEE" or
tenant, party of the second part, in the County of DADE and State of FLORIDA :

That the Lessor, for and in consideration of the rents herein reserved to be paid by the Lessee, for and in consideration of the covenants to be kept and
performed by the Lessee does hereby lease, let and demise unto the Lessee, the following described property located at:
  5559 NW 36™ AVENUE. MIAMI, FL 33142

ACCEPTANCE OF                    1 . The Lessee in consideration of the demise of said property by the Lessor, and for the further considerations herein set
DEMISE BY LESSEE:               has rented, leased and hired, and does hereby rent, lease and hire the said property for the Lessor, on the terms and conditions
                                hereinafter stated. Sq. Footage occupied +/- I6.00Q Sq. Feet.

DURATION OF                     2. The Primary Term and duration of this Lease shall be for a period of            ( I) ONE YEARS         . commencing
TERM:                              1st   dav of AUGUST. 2017 and terminating dre 31st               day of JULY. 2017

AMOUNT OF RENT                  3. The Lessee shall pay unto the Lessor the minimum rent for the full Term of this Lease the total rental in the sum of
MANNER OF PAYMENT:               ONE HUNDRED FOUR THOUSAND DOLLARS                                                    Q4/1QQ--(S 104.000.041

MONIES REQUIRED                 S9.273.34 on signing of this Lease, receipt in which is hereby acknowledged, to be applied as follows:
TO MOVE IN                      S 8.666.67 as rent in advance for the period of 08/01/2017 to 08/31/2017 , and S 606.67 for Sales Tax, TENANT PAYS
                                for Water, TENANT PAYS FOR Trash and TENANT PAYS FOR Security Service; plus 7% Sales Tax.
                                 The balance of the rent shall be payable as follows:

Is'   YEAR                      AUGUST 1. 2017 THRU JULY 31. 2018 the rent will be S 8.666.67 per month; payable on the 1st dav of each month until
                                entire rental is paid, plus Florida Sales Tax. If the rent is not paid by the first day of any month, the rent for that month will be
                                S9.533.34 plus Florida Sales Tax.

      YEAR                                               the ront will bo S                 per month; payable on the 1st dav ofeach month until entire rental is paid.
                                plusFloridn Sales Tax. If the rent is not poid bv the first dav of any month, the rent for that month will bo S       plus Florida Sales


3Kt) YEAR                                               the rent will bo $                   per month; payable on the 1st day of each month until entire rental is paid,
                                plus Florida Sales Tax. If the rent is not paid bv die first day of any month, the rent for that month will be &    plus Florida Sales


4™ YEAR                                                 the ront will be S                   per month; payable on tho 1st day ofeach month until entire rental is paid.
                                plus Florida Sales Tax. If the rent is not paid bv the first day of any mouth, the rent for that month will bo S   plus Florida Sales
                                Te*r

5* YEAR                                                 the rent will be S_                  per month; payable on the I st day ofeach month until entire rental is paid,
                                plus Florida Sales Tax. If the rent is not paid bv die first dav of any month, the rent for that month will be S    plus Florida Sales
                                Tejtr

AMOUNT OF SECURITY              4. Simultaneously with the execution of this Lease, the Lessee shall deposit with the Lessor the sum of
MANNER OF PAYMENT:                     SEVENTEEN THOUSAND THREE HUNDRED THIRTY THREE DOLLARS AND 34/100                                            (S 17.333.341
                                receipt of which said sum is hereby acknowledged by the Lessor, as a security deposit to guarantee the full and faithful
                                performance of ail the terms, conditions and obligations to be performed by the Lessee under the terms of this Lease; same to be
                                returned upon the expiration of this Lease after all cost of returning the premises to there original condition, reasonable wear and
                                tear excepted, thereafter it shall be applied to all remaining obligations including but not limited to, rent in arrears, this deposit
                                does not relieve the Lessee of his obligations to pay each and every payment when due hereunder. The Lessor may demand
                                additional security during the term of this lease, should it be deemed necessary in order lo guarantee that die premises shall be
                                restored to the original condition. ***ADDITIONAL DEPOSIT OF S2.000.00 REQUIRED ***

                                A. Lessee's security must always equal TWO (2) months rent or more on all lease increases and renewalsi

ADDITIONAL PAYMENT             5. Lessee shall pay all occupational licenses, and other licenses, which are necessary in the operation of the business to be
REQUIREMENTS:                  carried on in the demised premises. All utility services which may be provided to the premises, including but not limited to: water,
                               gas, electric, telephone, as they from time to time shall accrue and be due and payable. Lessee will be required to have garbage
                               senice pickup. Lessee shall pay all Sales and Use Taxes due as a result of business conducted on the premises, and Personal
                               Property Taxes assessed against the personality situate thereon.

ADDITIONAL                     6. PAYMENTS ARE TO BE MADE PAYABLE TO: BRIAN HOLLAND 5561 RENT ACCOUNT
AGREEMENTS:                        Located at: 1 3 1 05 NW LE JEUNE ROAD. OPA LOCKA. FLORIDA 33054


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                                                                                                                                        Exhibit B
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USF. AND            7. THE LESSEE SHALL USE AND OCCUPY THE PREMISES FOR PA1NT.FIN1SH1NG.DYE & CUT OF
OCCUPANCY:                 LAMINATION and tor rio other purpose.


REAL ESTATE         8. Real Estate taxes for the year 2007          assessed against the building will he paid by the lessor and said year will be
PROPERTY TAX:       considered the base year in any succeeding year. Any increases ih taxes over (he base year's taxes will be paid proportionately by
                    all the Lessee's of the building in the proportion that their respective premises bear to the total leased premises. Lessee shall pay to
                    the lessor his proportional increase within 1 5 days after the Lessor notifies the Lessee that the real estate taxes have been paid by
                    the Lessor.


INSURANCE:          9. Ixjssee covenants to provide on or before the commencement of this lease at lessee's expense; comprehensive genera! liability
                    insurance relating to lessees premises on an occurrence basis with minimum limits of liability in an amount rio less than
                    5500,000.00 for bodily injury, personal injur)- or death to any one person. S 1 ,000,000.00 for bodily injur)-, personal injur)- or
                    death to more than one person, and S 100,000.00 with respect to damage to property by water or otherwise; and fire and extended
                    coverage, vandalism, and special extended coverage in an amount adequate to cover the cost or replacement of all improvements
                    in the premises as well as the cost of all fixtures and contents therein. The above coverages must be maintained in force at all
                    times. All of die aforesaid insurance shall be issued in the name of Lessor and Lessee. In the event ofpayment of any loss covered
                    by such policy, Lessor shall be paid first by Ihe insurance company for its loss. Lessee accepts all liability lor the interior and
                    exterior of the occupied space and surrounding area. If lessee cannot show proof of insurance. Lessee shall indemnify and hold
                    harmless the Owner, their Agents and Employees from and against all claims, damages losses and expenses, including attorney
                    fees arising from or resulting from the occupancy of the premises.

EXTENSIVE           ! 0. In the event that the premises shall be destroyed by fire or other casualty, whereby the premises shall be rendered
DAMAGED:            untenantable, then the Lessor shall have the option to render said premises tcnantablc by repairs within one hundred eighty days
                    therefrom. If the premises are not rendered tenantable within said period, Lessee may cancel this lease by notice in writing to
                    Lessor within ten days of the expiration of said one hundred eighty days period. In the event of cancellation the rent shall be paid
                    only to the date of such cancellation. Under no circumstances shall Lessor be responsible to Lessee for any damage occasioned by
                    the inability of Lessee to use the premises during any period that the same shall be destroyed or damaged or injured by fire or
                    other casualty. Except to the extent, specifically set forth herein, none of the rent payable by Lessee or any of Lessee's obligations
                    hereunder, shall be affected by any damage to or destruction of the premises by any cause whatsoever, and Lessee hereby
                    specificaily waives any and all additional rights it may otherwise have under any law or statue.

DAMAGE             i 1 . Lessor will not be liable or responsible for any damage or loss, either to person or property sustained by Lessee or by
AND LOSS:           other pctsons, due to the building or any part thereof becoming defective or out of repair due to any accident in or about the
                    premises or due to the act or neglect of any Lessee or occupant of the building. This provision shall apply particularly, but not
                    exclusively, to damage or loss to Lessee's merchandise, equipment, inventory, fixtures or other personal property and to Lessee's
                    business, caused by water, roof leakage, odors, bursting or leaking of pipes or plumbing, wind, rain, hurricane, acts of God or
                    other casuaities, or caused by any defect, latent or otherwise in any structure, equipment, pipe, wires or otherwise, comprising all
                    or part of the premises- or the building of which the premises are a part, and shall apply equally, whether such damage is caused by
                    the act or neglect of other tenants, occupants of the building or any other person, and whether such damage be caused or
                    occasioned by any circumstances above mentioned, or by any other thing or circumstances whether of a like or wholly different
                    nature. If any such damage is caused by the act or neglect of Lessee, Lessor may at its option, repair such damage, whether caused
                    to the building or tenants thereof, and Lessee agrees to reimburse Lessor ior cost of 9ueii repair, which shall be at Lessor's actual
                    cost plus twenty percent (20%) overhead and administration fee. All personal property upon the premises shall be at the risk of
                    Lessee, and Lessor shall not be liable for any damage thereto or theft thereof. Lessor shall not be liable for damages or repairs
                    resulting from the stoppage or interruption of water, light, heat, janitor or elevators service caused by riot, strike, accident, or any
                    cause over which Lessor has no control, nor shall Lessor be liable for any act or neglect of janitors or other employees not
                    authorized by Lessor, nor shall any such failure, delay or default of janitors or employees be construed or considered as an actual
                    or constructive eviction of lessee, nor shall it in any way operate to release Lessee from performance of the covenants herein
                    agreed to be performed by Lessee. In the event that Lessor is required to make repairs to the premises following the termination
                    (natural or premature) of this Lease, lessee shall be responsible for the cost of said repairs and for rent for the period of time
                    required to complete such repairs on a per diem basis calculated by the rental rate then in effect, all of which sums may be
                    claimed against Lessee's security deposit in accordance with the provisions of Chapter 83, Florida Statutes.

INDEMNIFICATION:    12. Lessee shall indemnify and save Lessor harmless from and against any and all claims, demands, suits, actions, damages,
                    liability and expense, including attorney's fees, for or in connection with any accident, injury or damage whatsoever caused to any
                    person or property arising, directly or indirectly out of the Lessee's tenancy hereunder, or occurring in, on or about the premises or
                    a tiy part thereof, on the sidewalks adjoining the same and any common areas and facilities within nor appurtenant to the premises

                    or arising directly or indirectly from any act or omission of Lessee, its agents, contractors, employees, servants, invites, licenses,
                    or subtenant, acts of God or otherwise Lessee shall within five days thereof give notice in writing to Lessor of any fall or other
                    accident in any fixtures' or equipment thereon. The comprehensive general liability insurance coverage maintained by Lessee
                    pursuant to this lease shall specifically insure the contractual obligation of Lessee as set forth in this paragraph.

MAINTENANCE OF      13. Lessee shall maintain all of the electric, electrical fixtures, air conditioning, "plumbing, plumbing fixtures, exhaust fans,
THE PREMISES:       concrete floors, carpeting, tile, entry and overhead garage doors, locks, fire sprinklers, roof, interior walls, interior paint, windows,
                    paved area and landscaping in front of die premises, and sewer stoppages. All of the aforesaid items shall apply regardless of
                    ownership. Lessee shall be solely responsible for the payment of repairs to maintain all of the above items and shall replace any


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                  item beyond repair, to the satisfaction of the lessor; and lessee will have ten days from date of notice to make such repairs. Lessor
                  has the right to increase the security or cleanup any damage caused by glue or any other material at the expense of Lessee, which
                  shall be at Lessor's actual cost plus twenty percent (20%) overhead and administration fee.


 IMPROVEMENTS.    1 4. On the last day of this lease, Lessee shall quit and surrender the premises, together with all of the fixtures, alterations,
 ALTERATIONS,     additions and improvements which may have been made in, on. or to the premises, except movable furniture, or unattached
 FIXTURES, AND    movable trade fixtures. Lessee shall broom clean, in as good condition and repair as the premises were in at the beginning
 EQUIPMENT        of the term of this lease, reasonable wear and tear accepted. All the air conditioning and other mechanical equipment of
                  evety nature, must remain on the premises, and the Lessee fully acknowledges that all other improvement, including but
                  not limited to offices, partitions, lighting fixtures, electrical wiring, plumbing fixtures. A/C units, mezzanines, carpeting, tile,
                  paneling, etc must remain on the premises regardless of ownership.

SUBORDINATION     15. LESSEE agrees that if Lessor secures a construction and/or first mortgage on the demised premises from a
AGREEMENT:        recognized lending institution; and that this lease is and shall be subordinate to the lien of said construction and/orfirst mortgage;
                  and the lessee agrees that it will execute such subordination or other documents or agreements as may be requested or required by
                  such lending institution; however, and that the mortgage and/or subordination agreement, as the lending institution may direct,
                  shall contain a provision which states, in effect, that the lessee shall not be disturbed in its possession and occupancy of the
                  premises during the term of this lease, not withstanding any such mortgage or mortgages, provided that the lessee shall comply
                  with and perform its obligations hereunder.

APPROVAL AND       1 6. LESSEE must obtain written approval from the lessor before any changes, alterations or improvements are made to the
PERMITS           interior or exterior portions of the building. At lessee's expense, lessee is required to obtain the necessary permits and plans; a
                  copy of each is to be given to the lessor prior to the commencement of any work . Any and all improvements made to the premises
                  and attached to the real property must be approved by the Lessor and all attached improvements will remain on the property of the
                  Lessor forever more, unless Lessor requires Lessee to remove upon termination of the lease agreement.

NOTICE TO         1 7. LESSEE must notify the Lessor in writing, no later than 90 days before the expiration of this lease, of its intentions to
VACATE:          cither vacate, negotiate a new lease or exercise the option agreement, if any. If Lessee fails to notify lessor, in writing, the Lessor
                 shall have the authority and right to rent the premises, and the Lessee shall vacate the premises immediately on the last day of this
                 lease and will forfeit all security which will be applied to unpaid rent until the space is leased and any remaining security will be
                 refunded. A refund of any portion of security or tender of refund of any portion of security shall not operate as a waiver of
                 Lessor's rights to retain any or all security under this section. Should Lessee hold over and remain in possession ofthe Premises at
                 the expiration of any term hereby created, Lessee shall, by virtue of this paragraph, become a Lessee by the month at twice the
                 Rent per month of the last monthly installment of Rent above provided to be paid, which said monthly tenancy shall be subject to
                 all the conditions and covenants of this Lease as though the same had been a monthly tenancy instead of a tenancy as provided
                 herein, and Lessee shall give to Lessor at least thirty (30) days' written notice of any intention to remove from the Premises, and
                 shall be entitled to ten ( 1 0) days' notice from Lessor in the event Lessor desires possession of the Premises; provided, however,
                 that said Lessee by the month shall not be entitled to ten (10) days' notice in the event said Rent is not paid in advance without
                 demand, the usual ten (10) days' written notice being hereby expressly waived.

NOISE, ODORS,    18.  LESSEE will not use the interior and/or exterior portion of the premises so as to cause noise, noxious odors,
                 accumulation of waste and garbage, vibrations from machinery, or any other disturbance or nuisance which may create
                  undue annoyance or hardship to another tenant of the lessor, and/or damage or impairment to Lessor's property.
                 Bands will not be allowed to practice until after 6:00 PM and up to midnight. Lessee will not be allowed to disturb other tenants
                 while practicing or this lease will become null and void.

SIGNS:           1 9. LESSEE must obtain approval from the Lessor prior to erecting any signs. Lessor shall have the right to determine the size,
                 materials and lighting thereof; and the Lessor, may, at its option, order and have the signs installed from one source, same to be at
                 the expense of the Lessee. No painting of signs shall be permitted direct to the masonry. Lessee fully understands that the Lessor
                 may remove, without notice, any such signs which w ill be in violation of this lease. At the termination of this lease, at Lessee's
                 sole expense. Lessee shall remove all signs and restore the building's masonry paint to its original state. If directory sign becomes
                 available. Lessee will be responsible for all expenses associated with its position on such a directory sign, including the pro-rata
                 costs of erecting and maintaining such a directory sign.

RECEIVERSHIP,    20. LESSEE expressly covenants that, unless agreed in writing by Lessor, neither adverse zoning nor other governmental
BANKRUPTCY,      regulations, nor receivership, bankruptcy, insolvency, nor any other event, shall operate to relieve Lessee from the
INSOLVENCY:      obligations of Lessee hereunder, and Lessee waives the defense of impossibility of performance, whether arising thereby
                 or by reason of any other matter or event, however caused.

PARKING AREA     21. LESSEE will use the parking spaces directly in front of Lessee's premises. Any vehicle not operational and which
RESTRICTIONS:    remains in front of Lessee's premises for a period of five days or more, will be considered "Junk" and Lessor will have the right to
                 have such "Junk" vehicle or vehicles towed from the premises and Lessee shall be responsible for all towing expenses. Lessee also
                 will not use the outside of the premises for storing auto pans, machinery, equipment, or anything other than Lessee's vehicles.
                 Lessor shall have the right to remove all of the above articles at the expense of the Lessee.

SUBLETTING       22. LESSEE may not assign this lease, or let or underlet the whole or any part of said premises without the written consent
OF PREMISES:      of the Lessor, provided: the Lessee remains liable on the within lease, and the assignee shall execute an assumption of this lease
                 agreement in recordable form.



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INSURANCE            23. LESSEE will not use ihe premises for any purpose which may increase ihe base rate of fire, extended coverage
PAYMENT:             and liability insurance; that in the event the standard base rates cannot be obtained by reason of the Lessee's use of the premises,
                     then and in that event, the Lessee sbali forthwith upon notice, either desist from said unacceptable use and-'or pay such additional
                     insurance premiums. Lessee acknowledges that the standard insurance rate for the year 2007        assessed against the building
                     will be paid by the Lessor and said year will be considered the base premium year. In any succeeding year, any increases in the
                     insurance premium over the base year's insurance will be paid proportionally by all the Lessees of the building in the proportion
                     that theif respective premises bears to the total leased premises. Lessee shall pay to the Lessor his proportional increase within 1 5
                     days after the Lessor notifies the Lessee that Lessor has paid the increase.


ADDITIONAL           24.       a/ LESSEE will pay the rent as herein specified without noiice.
COVENANTS OF                   b/ LESSEE will furnish u mail box.
THE LEASE:                     c/ LESSEE will furnish (he accessary type fire extinguisher, exit signs and emergency lights to meet ail codes,
                               d/ LESSEE will furnish an adequate trash chntainer and proof submitted to the Lessor within 30 days or a
                                         dumpster will be ordered at Lessee's own expense,
                               e/ LESSEE is required to have waste and recycling service as required by the Lessor and all governing
                                         Municipalities.
                               f/ LESSEE will not keep flammable chemicals on the premises, unless properly ventilated.
                               g/ LESSEE will comply with all lawful requirements of the Board of Health, Police and Fire Departments,
                                       Municipal, Count}-, State and Federal authorities respecting the manner in which Lessee uses the
                                                       leased premises.
                               h/ LESSEE will not be permitted to have pets or guard dugs of any kind.
                               1/ LESSEE PAYS TENANT PAYS WATER CHARGE and IS SUBJECT TO CHANGE AT ANYTIME
                               j/ LESSEE Will not be allowed on the roof without written permission from the Lessor. If Lessee shall install
                                        any type of equipment oh the roof, such as an air conditioner, antennas, air vents, etc., the Lessor shall
                                         not be responsible for any damage caused by leakage to the premises, which may also result in damage
                                         to Lessee's personal property. In the event of damage due to the above said, Lessee shall be responsible
                                         far repairing the entire roof area above Lessee's premises as soon as possible an at the expense of Lessee,
                               k/ Absolutely no car repair, painting or storage of cars on the exterior of the premises. Painting wiil not be
                                         allowed on the interior of the premises without an approved fire rated spray booth. Any violation of
                                             the above wiil cause this lease to become null and void.

                 25. LESSEE has examined Ihe premises and is familiar with the condition thereof, and accepts the same in their present condition.
                 Lessor has made no representations or warranties to Lessee respecting the condition of the premises.

LESSOR'S RIGHT   26. The LESSOR, its' agents, or employees, shall have the right to enter said premises during all reasonable hours, to
OF ENTRY:        examine make repairs, alterations, etc. as may be deemed necessary. Lessor, in his sole judgment may enter the premises at any time
                 and by any means, if there appears to be an emergency with the premises. No additional locks or bolts of any kind shall be placed
                 upon any of the doors or windows by Lessee, nor shall any changes be made in the existing locks or the mechanism thereof unless
                 Lessee shall simultaneously therewith give keys to the same to Lessor. If Lessee shall make any modifications such as welding plates
                 or changes to doors or windows. Lessee will be responsible to replace doors or windows at lessee's expense.

LEGAL:           27. a/ In the event of a default by Lessee entitling Lessor to serve a three day notice of eviction pursuant in Florida Statute Section
                 83.20, as uow or hereafter existing and if Lessor or Lessors attorneys shall serve siich a notice upon Lessee, Lessee agrees to pay an
                 attorneys fee of Fifty ($50.00) Dollars for each time that service of said notice is effected. Said notice shall be deemed served if
                 accomplished in a manner described by law or by certified mail, return receipt requested.
                      b/ The parties acknowledge and agree that all provisions contained herein with respect to liquidated damages are reasonable, in
                 amount it being the agreement of the parties, that, as of the date hereof, actual damages that may be suffered by Lessor in the event of
                 default or breaches of die terms hereof by Lessee are incapable of ascertainment.
                     c/ Lessee agrees to pay all legal fees and expenses incurred by Lessor in enforcing any of the terms hereof, or in the defense of
                 any action brought by Lessee hereuhder, or incident to any other litigation or negotiation in which Lessor shall become involved,
                 subsequent to the date of the execution hereof, through or on account of this lease, including but not limited to appellate fees, if
                 applicable.
                     H With respect to any provision of this lease which provides that Lessor shall not unreasonably withhold or unreasonably delay
                 any consent or any approval. Lessee, in no event, shall be entitled to make nor shall Lessee make any claim for and Lessee Hereby
                 waives any claim for money damages; nor shall Lessee claim any money damages by way of set off, counterclaim or defense, based
                 upon any claim or assertion by Lessee that Lessor has unreasonably withheld or unreasonably delayed any consent or approval; but
                 Lessee's sole remedy shall be an action or proceeding to enforce any such provision.
                     e/ It is expressly agreed by the parties hereto that Lessor shall have no liability to Lessee whatsoever if Lessor shall be unable to
                 deliver possession of the premises to Lessee on the date of the commencement of the term hereof for any reason whatsoever,
                 including* but not limited to. the fact thai the building in which the premises are located has not been completely or sufficiently-
                 completed to make the premises ready for occupancy. Under such circumstances, the rental reserved and covenanted to be paid herein
                 shall be abated pending the making available of the premises to Lessee. No such failure to deliver possession of the premises on the
                 commencement date of the term of this lease shall in any manner affect the validity of this lease or its terms.
                     f/ Lessee shall not be entitled to any abatement of rent or rental value or diminution of rent in any eviction or distress action of
                 proceeding instituted by the Lessor for non-payment of rent or additional rent or in any eviction or distress action or proceeding by
                 reason of any breach of default by the Lessor of any covenant contained in this lease or its part to be performed. Lessee will not
                 interpose any counterclaim of whatever iiaUirc or description in any such proceeding. The Lessee shall hot have the right of set off by
                 way of damages, recoupment, or counterclaim for any damages which Lessee may have sustained by reason of Lessor's failure to


                                                                       4
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               perform any of the terms, covenants or conditions contained in this Lease. Lessee shall, however, have the right to commence
               independent action for any relief to which Lessee may deem it is entitled.
                   g/ If Lessee vacates or abandons the demised premises in violation of this lease agreement, any property shall be deemed to have
               been abandoned and may either be retained by Lessor as the property of, or may be sold at public or private sale with such terms
               Lessor, in good faith see fit. Any property of Lessee sold at the public or private sales shall be applied by Lessor against (1) the
               expenses of Lessor for removal, storage or sale of the personal property. (2) the arrears of rent or future rent payable under this lease
               agreement, and (3) any other damages to which Lessor may be entitled under this lease agreement. The balance of such amounts, if
               any, shall be given to Lessee.
                   h/ Lessee hereby waives all right of subrogation against Lessor as respects any insurance proceeds that it may collect from its own
               insurance carrier.
                    M It is mutually agreed by and between Lessor and Lessee that the respective parties herein hereby waive trial byjury in any action
               or proceeding brought by either party pertaining to any matter whatsoever arising out of or in any way connected with this lease or
              Lessee's occupancy of the premises. Any action brought by either party arising from or in any way pertaining to this lease or Lessees
              occupancy of the premises shall be brought in a state court of competent jurisdiction in the County in which the Premises is located.
                  j / Unless expressly so stated in writing by Lessor, no act or thing done or omitted by Lessor or Lessor's agents during the term of
              this lease shall constitute an eviction by Lessor, nor shall any such act or thing done be deemed an acceptance of the surrender of the
              premises and no agreement to accept a surrender shall be valid unless in writing signed by Lessor. No employee of Lessor or Lessor's
              agent shall have any power to accept the keys of the premises prior to the termination of this lease. The delivery of keys to any
              employee of Lessor shall not operate as a termination of the lease or a surrender of the premises. However, the non-delivery of keys to
              Lessor at the termination (natural or premature) of any lease agreement shall operate to continue the obligatioas of Lessee for payment
              of rent irrespective of its possession of the premises until such time as the keys are delivered to Lessor.
                   k/ Lessee shall not do any act or make any contract which may create or be the foundation for any lien or other encumbrance upon
              any interest of Lessor in the premises. If as the result of any act. or omission or alleged act or omission of Lessee, any mechanic's,
               materialmen's, laborer's or other lien charge or order for the payment of money or other encumbrance shall be filed against Lessor or
              any portion of premises, whether or not such lien, charge, order or encumbrance is valid or enforceable as such. Lessee shall, at its
              own cost and expense, cause the same to be discharged of record or bonded within ten days after notice to Lessee of the filing thereof.
              Lessee shall indemnify and save harmless Lessor from all cost, liabilities, suits, penalties, claims and demands, including reasonable
              attorney's fees, resulting therefrom. At Lessor's option Lessee will fumish lien waivers or a bond in form and with surety satisfactory
              to Lessor prior to commencing any work in connection with making alterations or improvements to the premises, if Lessee fails to
              comply with the foregoing provisions, Lessor shall have the option of discharging or bonding any such lien, charge, order or
              encumbrance, and Lessee agrees to reimburse Lessor for all costs, expense and other sums of money in connection therewith upon
              demand all materialmen, contractors, artisans, mechanics, laborers and any other persons now or hereafter contracting with Lessee for
              the furnishing of any labor, services, materials, supplies or equipment with respect to any portion of the premises are hereby charges
              with notice that they must look exclusively to Lessee to obtain payment for same, and Lessee agrees to so inform such persons.
                   1/ Wherever throughout this lease, the Lessee is required to do any act or expend any money to a third party, including but not
              limited to the repair and maintenance of the premises, trash removal, if Lessee refuses or neglects to perform any such act or make
              any such payment Lessor may, without notice, cause said act to be performed or expend said money on behalf of and or the account of
              Lessee, and in such event, Lessee shall reimburse Lessor for all such expenditures within ten days from demand therefore by Lessor.
                   m/ All sums of money which may, in addition to the rent herein provided, be due and payable by Lessee to Lessor pursuant to any
              of the terms of this lease, shall be considered as additional rental.
                  n/ Any notice, approval, consent or other communication required or permitted to be served pursuant to this lease shall be
              considered served on Lessor if delivered to Lessor and receipted therefore in writing or delivered to Lessor and receipted therefore by
              certified mail with return receipt requested, at the address set forth herein or such other address as Lessor from time to time designated
              in writing, and any notices, approvals, consents or other communications required or permitted to be delivered to Lessee shall be
              deemed delivered il' delivered to the premises, or deposited in the United States mail, postage prepaid, and addressed to the premises,
                 o/ This agreement shall be governed by the laws of the State of Florida.
                 p/ Nothing contained in this lease shall be construed to create the relationship of principal and agent, partnership, joint venture or
              any other relationship between the parties hereto other than the relationship of Lessor and Lessee.
                 q/ If the Lessor deems it necessary' to obtain security service for the protection of the tenants, in that event the Lessor shall have the
              authority to assess each tenant within the premises an amount based upon square footage of the tenants premises. The payment will be
              assessed and become due and payable with the monthly rent. This assessment shall be based upon the actual cost of service.
                  r/ In the event the business is sold the Lessor has the option to adjust the rent and a new lease shall be made between
              the new buyer and the Lessor.
                 si Under no circumstances shall glue, lacquer thinner or other toxins or any other items that could be environmentally liazardous be
              permitted to ooze, seep or be spilled into the ground. Any violations of the above, shall cause the tenant to be personally responsible to
              bear the total expense of the curing of the problems created by his negligence and shall satisfy- all of the Municipal, State and Federal
              agency requirements and cost to correct the condition.
                M Lessee shall indemnify and hold harmless the owner and their agents and employees from and against all claims, damages, losses
              and expenses including attorney's fees arising from or resulting from the occupancy of the premises, including damage or loss to
              contents of personal property from water, lire, theft, or any other reason.
                 u/RADON GAS NOTIFICATION: (the following notification may be required in some states): Radon is a naturally occurring
              radioactive gas that, when it has accumulated in a building in sufficient quantities, may present health risks to persons who arc
              exposed to it over time. Levels of radon that exceed federal state guidelines have been found in buildings. Additional information
              regarding radon and radon testing may be obtained from your county public health unit.




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                                           645



              WJTO1KS WHEREOF, the parties hereto set (heir hands and seals on the day and year first above written.                                                                       *


                                                                                    BRIAN HOLLAND AND ANDREA HOLLAND a.k.u
                                                                                    BRIAN HOLLAND 556 1 RENT ACQ




          \\vrfv.z/                                                                 BRIAN K. HOLLA.NT5I .VMKaCER



                                                                                    Al'LUS LAMIN ATION                    £G



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          wrfjfEss                                                                  MAKCEjk                                            ISLAMllSS                INISHING

TENANT MUST FURNISH TrHT LANDLORD WITH CERTIFICATE OF INSURANCE AS STATED IN THE RJwjCSE.

I ENANT MUST FURNISH THE LANDLORD WITH A FULL COPY OF CORPORATE DOCUMENTS.

POSSESSION OF THE ABOVE DESCRIBED PREMISES WILL NOT BE GIVEN TO TENANT UNTIL;


I.      TENANT MUST FURNISH THE LANDLORD WITH CERTIFICATE OF INSURANCE AS STATED IN THE LEASE.
2.      TENANT MUST FURNISH THE LANDLORD WITH A FULL COPY OF CORPORATE DOCUMENTS.
3.      POSSESSION OF THE ABOVE DESCRIBED PREMISES WILL NOT BE GIVEN TO TENANT UNTIL:
                    A.          THIS APPLICATION HAS BEEN CHECKED AND APPROVED BY LANDLORD.
                    B.          THE LEASE HAS BEEN SIGNED AND THE RENT AND SECURITY HAVE BEEN DEPOSITED WITH THE LANDLORD.
                    C.          THE TENANT HAS PROVIDED THE PROCESS NUMBER FOR THE OCCUPATIONAL LICENSE WITH THE APPROPRIATE CU V
                                 MUNldPAI TIT AND TENANT MAS 30 DAYS FROM SIGNING THIS APPLICATION TO PROVIDE LANDLORD A COPY OF THE
                                OCCUPATIONAL LICENSE, CERTIFICATED OF USE & FIRE INSPECTION PERMIT FOR TENANT FILE.
                    D.          THE TENANT HAS PROVIDED A RECEIPT AS PROOF THAT THE WATER ACCOUN T HAS BEEN ACTIVATED
                    E.          IF THE BUILDING HAS A FIRE ALARM PANEL. TENANT IS RESPONSE)!. E FOR MAINTAINING THE MONI TORINO SERVICE AND
                                PROVIDE THE LANDLORD PROOF OF SERVICE
                    F.          ALL REQUIRED DOCUMENTS HAVE BEEN PROVIDED.
A.      THE LANDLORD HAS THE OPTION TO ACCEPT OR REJECT THIS APPLICATION. IF ACCEPTED, THE DEPOSIT SPECIFIED ABOVE WILL BE CREDITED ON
        THE ACCOUNT OF THE FIRST MONT H'S RENT. IF NOT ACCEPTED. THE DEPOSIT WILL BE RETURNED. THE TENANT HEREBY WAIVES ANY CLAIM FOR
        THE DAMAGES BY REASON OF NON-ACCEPTANCE OF THIS APPLICATION. WHICH THE LANDI .ORD MAY REJECT WITHOUT ST AUNG ANY REASON
        FOR SAME.
5.      NO DOGS, CATS OR OTHER ANIMALS WILL BE ALLOWED ON THE PREMISES.
6.      THE LANDLORD WILL NOT BE RESPONSIBLE FOR OCCUPANCY ON THE ABOVE MENTIONED BAY TO THE TENANT, DUE TO ANY DEL AY.
7.      THE LESSEE SHALL BE RESPONSIBLE TO OBTAIN THE NECESSARY FEDERAL, STATE AND LOCAL LICENSES TO CONDUCT LESSEE'S BUSINESS AT THE
        ABOVE ADDRESS AND SHAI.I BEAR ALL COSTS NECESSARY TO OBTAIN SUCH LICENSES,

          In consideration of the letting of the premises within mentioned to the within named Tenant and the sunt of S 1 .00 paid to the undersigned by the within named Landlord, die
          undesigned docs hereby covenant and agree, to and with the Landlord and Landlord's legal representatives and assigns, that if default shall at any time be made by the
          Tenant in the payment of any rent or the performance ofany of the terms, covenants or agreements contained the within lease on the Tenant's to be paid and performed, the
          undersigned will well and truly pay tiie said rent, or any arrears hereof that may be due unto die landlord as well as any damages that may arise as consequence ot such lion-
          performance without requiring notice of any default from the Landlord and the Undersigned agrees that this guaranty shall not be atfected by reasoil of the assertion by
          Landlord against Tenant of any rights or remedies reserved to Landlord in said lease or by reason of summary or other proceedings against Tenant or by reason of any
          extension of indulgences granted by Tenant. The undersigned waives trial by jury in any action or proceeding brought by eirher Landlord or the undersigned against die
          other oii ai   natters relating to saidjea.se or this guaranty.


                                                                                               BRIAN HOLLAND                        EA HOLLAND a.k.n
                                                                                               BRIAN HOi J^MrgflirrRICV



          WITN!                                                                                BRIAN K. HOL/AND, MANAGER




                                                                                            Of APIA'S LAMINATION & FINISHING


          W1TM&                                                                                                   1APRI-S1
                                                                                                                                            ^22
                                                                                                                                     -fOR APLU347?> MI NATION & FINISHING




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          BRIAN HOLLAND AND ANDREA                                           IN THE COUNTY COURT IN AND
                                                            FOR
          HOLLAND a/k/a/ BRIAN HOLLAND                               MIAMI-DADE COUNTY
          5561 RENT ACCOUNT,
                                                                     CIVIL DIVISION
                   Plaintiff,
          vs.                                                                                       CASE        NO:
                                                                     18-8187 CC 05

          APLUS LAMINATION & FINISHING
          INC., a Florida Corporation and all
          other occupants,

                   Defendants.



                       ORDER DIRECTING DEPOSIT OF RENT INTO REGISTRY OF COURT

                   THIS CAUSE CAME ON TO BE HEARD before me. on May 3, 2018, upon Plaintiff's
          Motion for Order Directing Deposit of Rent Into Registry of Court, and. having appeared counsel for
          Plaintiff and Defendant and the respective parties, after hat ing heard argument from counsel, having
          reviewed the Court file and being otherwise fully advised in the premises, it is:

                   ORDERED AND ADJUDGED:

                   1 . Plaintiff s Motion for Order Directing Deposit of Rent Into Registrv of Court be and the same
          is hereby granted

                   2. The Defendant. APLUS LAMINATION & FINISHING. INC., is hereby ordered to deposit the
          sum of $9,000.00 into the Miami-Dade County Registry of Court on or before May 7, 2018.

                   3. The Defendant, APLUS LAMINATION & FINISHING, INC., is hereby ordered to deposit the
          sum of $9,000.00 into the Miami-Dade County Registry of Court on or before May 14, 2018.

                   3. The Defendant shall further timely deposit the rent as it becomes due into the Registry of
          Court.

                   4. The Defendant's failure to timely pay the ordered sums into the Registry of Court shall
          constitute and absolute waiver of its defenses, other than payment or proof of payment, and Plaintiff shall
          be entitled to a Default/Default Final judgment for Removal of Tenant and a Writ of Possession to issue
          forthw ith without the necessity of further hearing pursuant to Section 83 .232. Florida Statutes.

                 5. Upon Defendant making timely deposit into the Registry of Court of the sums due on May 7.
          2018 and May 14, 201 8. the parties shall appear for mediation oil May 15, 2018 at 1:30 PM.


                   DONE AND ORDERED in Chambers at Miami-Dade County, Florida, on 05/10/18.




                                                    ALEXANDER S. BOKOR
                                                    COUNTY COURT JUDGE


          The parties served with this Order are indicated in the accompanying 11th Circuit email
          confirmation which includes all emails provided by the submitter.                    The movant shall




                                                                                                             Exhibit C
https://www2.miami-dadeclerk.com/ocs/ViewerHTML5.aspx?QS=B6%2f9EwnZlIiih%2b... 5/30/2018
                                                                        Page 2 of 2
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          IMMEDIATELY serve a true and correct copy of this Order, by mail, facsimile, email or
          hand -delivery, to all parties/counsel of record for whom service is not indicated by the
          accompanying 11th Circuit confirmation, and file proof of service with the Clerk of Court.


          Signed original order sent electronically to the Clerk of Courts for filing in the Court file.

          Conformed copies to:

          JOSEPH R, COLLETTI. P A.
          Attorney for Plaintiff

          ALEXANDER E. BORELL. ESQ
          Attorney for Defendant




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     Miami-Dade County Civil, Family and Probate Courts
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    BRIAN HOLLAND ET AL VS. APLUS LAMINATION & FINISHING, INC.
    Local Case Number: 2018-008187-CC-05
    Filing Date: 04/13/2018
    State Case Number: 132018CC008187000005
    Case Type: Evictions < $15,000
    Consolidated Case No.: N/A
    Judicial Section: CC04
    Case Status: OPEN



    Ä Parties                                                              Number of Parties: 4   +


    å Hearing Details                                                     Number of Hearing: 2    +


    ± Dockets                                                             Dockets Retrieved: 26   −




                                                                                   Exhibit D
https://www2.miami-dadeclerk.com/ocs/Search.aspx                                            5/30/2018
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     Export to

                                                               Event
            Number   Date         Book/Page   Docket Entry     Type      Comments


           23       05/17/2018               Order Case       Event
                                              Pending
                                              Bankruptcy
                                              Stay

           22       05/17/2018               Mediators        Event     CASE CANCELLED
                                              Report

           21       05/17/2018               Memorandum       Event
                                              of Disposition

           20       05/15/2018               Notice of        Event
                                              Filing:

                     05/15/2018               Mediation        Hearing

           19       05/10/2018               Order:           Event     DIRECTING DEPOSIT OF
                                                                         RENT INTO REGISTRY OF
                                                                         COURT

           18       05/09/2018               Order of         Event
                                              Referral to
                                              Mediation Unit

            16       05/07/2018               Receipt:         Event     RECEIPT#:2430012 AMT
                                                                         PAID:$9,142.50
                                                                         NAME:NUBIA
                                                                         PEREZ/APLUS LAMATION
                                                                         COMMENT:RENT DEPOSIT
                                                                         ALLOCATION CODE
                                                                         QUANTITY UNIT AMOUNT
                                                                         2106-COURT REGISTRY
                                                                         DEP 1 $9,000.00 $9,000.00
                                                                         2108-COURT REGISTRY
                                                                         FEE 1 $142.50 $142.50
                                                                         TENDER TYPE:CHECK

           15       05/04/2018               Memorandum       Event
                                              of Disposition

                     05/03/2018               Status           Hearing
                                              Hearing

           17       04/27/2018               Notice of        Event     05/03/2018
                                              Hearing-




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                                                               Event
           Number   Date         Book/Page   Docket Entry      Type    Comments

          14       04/25/2018               Affidavit as to   Event
                                             Costs

          13       04/25/2018               Affidavit of      Event
                                             Non-Payment

          12       04/25/2018               Non-Military      Event
                                             Affidavit

          11       04/25/2018               Service           Event
                                             Returned

          10       04/25/2018               Motion:           Event


          9        04/25/2018               Answer and        Event
                                             Affirmative
                                             Defense

          8        04/25/2018               Notice of         Event
                                             Appearance

           7        04/24/2018               Receipt:          Event   RECEIPT#:2350016 AMT
                                                                       PAID:$5,082.50
                                                                       NAME:APLUS LAMINATION
                                                                       COMMENT:RENT DEPOSIT
                                                                       ALLOCATION CODE
                                                                       QUANTITY UNIT AMOUNT
                                                                       2106-COURT REGISTRY
                                                                       DEP 1 $5,000.00 $5,000.00
                                                                       2108-COURT REGISTRY
                                                                       FEE 1 $82.50 $82.50
                                                                       TENDER TYPE:CHECK T

           6        04/18/2018               Receipt:          Event   RECEIPT#:2200061 AMT
                                                                       PAID:$10.00 COMMENT:
                                                                       ALLOCATION CODE
                                                                       QUANTITY UNIT AMOUNT
                                                                       2139-SUMMONS ISSUE FEE
                                                                       1 $10.00 $10.00 TENDER
                                                                       TYPE:CHECK TENDER
                                                                       AMT:$10.00 RECEIPT
                                                                       DATE:04/18/2018
                                                                       REGISTER#:220
                                                                       CASHIER:NMERKER




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                                                                        Event
              Number     Date           Book/Page     Docket Entry      Type       Comments

              5          04/18/2018                   Summons and       Event      Parties: Aplus Lamination &
                                                      Complaint                    Finishing Inc.
                                                      Mailed

                         04/18/2018                   5 Day             Service
                                                      Summons
                                                      Issued

              4          04/18/2018                   5 Day             Event      Parties: Aplus Lamination &
                                                      Summons                      Finishing Inc.
                                                      Issued

              3          04/17/2018                    Receipt:         Event      RECEIPT#:3430137 AMT
                                                                                   PAID:$185.00
                                                                                   NAME:COLLETTI, JOSEPH
                                                                                   R. 4770 BISCAYNE BLVD
                                                                                   STE 1400 MIAMI FL 33137-
                                                                                   3243 COMMENT:
                                                                                   ALLOCATION CODE
                                                                                   QUANTITY UNIT AMOUNT
                                                                                   2100-COUNTY FILING FEE
                                                                                   1 $185.00 $185.00 TENDER
                                                                                   TYPE:E-FILING ACH
                                                                                   TENDER AMT:$1

             2          04/13/2018                   Motion:           Event      FOR DIRECTING DEPOSIT
                                                                                   OF RENT INTO REGISTRY
                                                                                   OF COURT.

             1          04/13/2018                    Complaint        Event




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                                        1 Filedon FLSD Docket
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                                         645

     Fill in this information to identify your case

I United States Bankruptcy Court for the:

Sdui-^t^r'        District ol/'Jr      i

i Case number {if known):                                               . Chapter you are filing under:
                                                                          • Chapter?
                                                                         IS Chapter 11
                                                                          • Chapter12
                                                                         •   Chapter 13                                              •   C h e c k if this is an
                                                                                                                                         a m e n d e d filing



Official Form 101
Voluntary Petition for Individuals Filing for B a n k r u p t c y                                                                                             12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When Information is needed about the spouses separately, the form uses Debtor 1 and
 Debtor 2 to distinguish Iretween them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
 same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(If known). Answer every question.


              identify Yourself

                                           About Debtor 1:                                                 About Debtor 2 (Spouse Only In a Joint Case):
1.    Y o u r full name

      Write the name that Is on your
      government-issued picture
                                           First name                                                      Firet name
      identification (for example,         rust iiaiiic
      your driver's license or               M.fXV-CcHcL
      passport).                           Middle name                                                     Middle name

      Bring your picture
      identification to your meeting       Last name                                                       Last name
      with the trustee.
                                           Suffix (Sr.. Jr., II, III)                                      Sufnx(Sr.. Jr..ll, III)




2. All other n a m e s you
   have u s e d in the last 8              First name                                                      First name
   years

      Include your married or              Middle name                                                     Middle name
      maiden names.
                                           Last name                                                      Last name



                                           First name                                                     First name


                                       Middle name                                                        Middle name


                                       Last name                                                          Last name




     Only the last 4 digits of
                                       XXX          -     XX                                              XXX      -    XX
     your S o c i a l Security
     number or federal                 OR                                                                 OR
     Individual T a x p a y e r
     Identification n u m b e r        9 XX -             XX     -                                        9 XX -        XX

     (ITIN)


Official Form 1 0 1                                       Voluntary Petition for Individuals Filing for Bankruptcy                                 page 1




                                                                                                                                           Exhibit E
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 Debtor                                                                                                    Case number      ijikmwrti_
                               Middle Name




                                             About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


 4. A n y b u s i n e s s n a m e s
    and E m p l o y e r                      •     I have not used any business names or EINs.                    O I have not used any business names or EINs.
    identification Numbers
    (EIN) you have u s e d In
    the last 8 y e a r s                                                                                          Business name

     Include trade names and
     doing business as names
                                             Business name                                                        Business name




                                             EIN                                                                  EIN




5. Where you live                                                                                                 If Debtor 2 lives at a different address:



                                         i       _   .
                                         Number             Street                                                Number          Street




                                                                                            m   m    .
                                                                                                               City                                     State      ZIP Code



                                                                                                               County


                                         If your mailing address Is different from the one                     If Debtor 2's mailing address is different from
                                         above, fill It in here. Note that the court will send                 yours, fill It In here. Note that the court will send
                                         any notices to you at this mailing address.                           any notices to this mailing address.



                                         Number             Street                                             Number            Street



                                         P.O. Box                                                              P.O. Box



                                         City                                       State       ZIP Code       City                                     State     ZIP Code




6. W h y you are c h o o s i n g         Check one:                                                           Check one:
   f/i/sd/sfricftofllefor
   bankruptcy                                    Over the last 1 8 0 days before filing this petition,        •     Over the last 1 8 0 days Ijefore filing this petition,
                                                 I have lived In this district longer than in any                   I have lived in this district longer than in any
                                                 other district,                                                    other district.

                                        •        I have another reason. Explain.                              •     I have another reason. Explain.
                                                 (See 2 8 U.S.C. § 1 4 0 8 . )                                      ( S e e 2 8 U.S.C. § 1 4 0 8 . )




 Ofricial Form 1 0 1                                     Voluntary Petition for Individuals Filing for Bankruptcy                                         page 2
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                                         645

 Debtor     1 tOuka tVy^celU Tb^ez                                                                       Case number        iiikftown)_




                 Tell the Court About Your Bankruptcy Case


 7.     The chapter of the                Check one. (For a brief description of each, s e e Notice Required by 11 U.S.C. §342(b} for Individuals Filing
        Bankruptcy C o d e you         for Bankruptcy (Form 2 0 1 0 ) ) . Also, go to the top of page 1 and check the appropriate box.
        are c h o o s i n g to file
                                          •    Chapter 7
        under
                                       Q r C h a p t e r 11

                                       •       C h a p t e r 12

                                       •       C h a p t e r 13


 8.     How you will pay the fee      •       I will pay the entire fee w h e n I file my petition. P l e a s e c h e c k with the clerk's office in your
                                              local court for more details about how you m a y pay. Typically, if you a r e paying the fee
                                              yourself, you m a y pay with c a s h , c a s h i e r ' s c h e c k , or money order. If your attorney Is
                                              submitting your payment on your behalf, your attorney m a y pay with a credit c a r d or c h e c k
                                              with a pre-prlnted a d d r e s s .


                                      S H ' n e e d to pay the fee in installments. If you c h o o s e this option, sign a n d attach the
                                          Application for individuals to Pay The Filing Fee in instaiiments (Official Form 1 0 3 A ) .


                                      •       I r e q u e s t that my fee be waived ( Y o u may request this option only If you a r e filing for Chapter 7 .
                                              B y law, a judge m a y , but is not required to, waive your f e e , a n d m a y do s o only if your income is
                                              less than 1 5 0 % of the official poverty line that applies to your family s i z e a n d you a r e unable to
                                              pay the fee in installments). If you c h o o s e this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 1 0 3 B ) a n d file it with your petition.



9.      Have you filed for            I^NO
        bankruptcy within the
        last 8 y e a r s ?            •       Y e s . District                                 When                            Case number
                                                                                                       MM / D D / Y Y Y Y

                                                      District                                 Wtien                           Case number
                                                                                                       MM/   DD/YYYY

                                                      District                                 When                            Case number
                                                                                                       MM/   DD/YYYY




10. A r e a n y bankruptcy
    c a s e s pending or being
    filed by a s p o u s e w h o is   L I Y e s . Debtor                                                                     . Reiationship to you

    not filing this c a s e with                  District                                                                     Case number, if known
    you, or by a b u s i n e s s                                                                       MM/DD / Y Y Y Y
    partner, or by a n
    affiliate?
                                                      Debtor                                                                   Relationship to you

                                                      District                                 When                            Case number, if known_
                                                                                                       M M / D D / YYYY




11. Do you rent y o ur                • NQ   Go to line 1 2 .
    residence?                        • yes.
                                             Has your landlord obtained an eviction judgment against you?

                                                      H    No. Go to line 1 2 .
                                                      •    Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 1 0 1 A ) and file it as
                                                           part of this bankruptcy petition.




                                                      Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
      Official Form 1 0 1
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  Debtor 1                                                                                                     Case number       [Hi(nown)_
                 Firet Name      Middle Name                   Cast Name




               Report About Any Businesses You Own as a Sole Proprietor


. 1 2 . A r e you a s o l e proprietor         Kl    No. Go to Part 4.
        off any ffull-
                  u l l - oor
                            r part-l
                              part-time
        business?                              L I Y e s . Name and location of business
      A sole proprietorship is a
      business you operate as an
      individual, and is not a                             Name of business, if any
      separate legal entity such as
      a corporation, partnership, or
      LLC.                                                 Number          Street

       If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                               City                                                      State                ZIP Code



                                                           Check the appropriate box to describe your        business:

                                                           •      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                           •      Single Asset Real Estate (as defined in 11 U.S.C. § 101(516))

                                                           •     Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                           •     Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                           Q     None of the above


 13. Are you filing under                  if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
     Chapter 11 of the                     can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
     Bankruptcy C o d e a n d              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     are you a small    business
     debtor?
                                           •        No. I am not filing under Chapter 11.
     For a definition of small
     business debtor, see                  •        No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
     11 U.S.C. § 101(510),                              the Bankruptcy Code.

                                                           I am filing under Chapter 11 and I am a small business debtor according to the definition In the
                                                           Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you o w n or h a v e a n y
     property that p o s e s or is
     alleged to p o s e a threat           •        Yes.    What is the hazard?
     of imminent a n d
     Identifiable hazard to
     public health or s a f e t y ?
     Or do you o w n any
     property that n e e d s
     Immediate attention?                                   If Immediate attention is needed, why is it needed?

    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?

                                                           Where is the property?
                                                                                      Number        Street




                                                                                      City                                                      Slate    ZIP Code


  Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                             page 4
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 Debtor 1                                                                                                                     Case number (**m>Mi)_
                  Flist NaniB         Midde Name                      LasI Natre




              A n s w e r T h e s e Q u e s t i o n s for Reporting P u r p o s e s

                                                       16a. A r e your debts primarily c o n s u m e r d e b t s ? Consumer debts are defined in 11 U.S.C. § 101(8)
 16. What kind of debts do                                  as "incurred by an individual primarily for a personal, family, or housetiold purpose."
     you h a v e ?
                                                              •   No. Go to line 16b.
                                                              •   Y e s . Go to line 17.

                                                    16b. Are your debts primarily b u s i n e s s d e b t s ? Business debts are debts that you incurred to obtain
                                                         money for a business or investment or through the operation of the business or investment.
                                                              •          Go to line 16c.
                                                                  f e s . Go to line 17.

                                                    16c. State ttie type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                                                        am not filing under Chapter 7. Go to line 18.

    Do you estimate that after                      •     Y e s . I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property Is                                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                                  •      njj,
    administrative e x p e n s e s
    are paid that funds will be                                   •     Yes
    available for distribution
    to u n s e c u r e d c r e d i t o r s ?

18. How many creditors do                          • 1f49                                              •   1,000-5,000                                 •   25,001-50,000
    you estimate that y o u                        [1^50-99                                            •   5,001-10,000                                •   50,001-100,000
    owe?                                           •      100-199                                      •   10,001-25,000                               •   More than 100,000
                                                   •      200-999

19. How m u c h do you                             •     $0-$50.000                                    • H l , 0 0 0 . 0 0 1 - $ 1 0 million          •    $500,000,001-51 billion
    estimate your a s s e t s to                   •     $50,001-$100,000                              • $10,000,001-550 million                      •    $1,000,000,001-$10 billion
    be worth?                                      •     $100,001-$500,000                             • $50,000,001-5100 million                     •    $10,000,000,001-550 billion
                                                   •     $500,001-$1 million                           • $100,000,001-5500 million                    •    More than $50 billion

20. How m u c h do you                             •     $0-$50,000                                    18^1,000,001-$10 million                       •    $500,000,001-51 billion
    estimate your liabilities                      •     $50,001-5100,000                              •   $10,000,001-550 million                    •    $1,000,000,001-510 billion
    to b e ?                                       •     $100,001-$500,000                             •   $50,000,001-5100 million                   •    $10,000,000,001-550 billion
                                                   •     $500,001-51 million                           •   $100,000,001-5500 million                  •    More than $50 billion
             Sign B e l o w

                                                   I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                            correct.
                                                  If I have chosen to file under Chapter 7,1 am aware that 1 may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                  of title 1 1 , United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                  under Chapter 7.

                                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                  this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                  1 request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                  with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                  18 U.S.C. §§ 152. 1341, 1519, and 3571.



                                                                                                                                      Signature of Debtor 2

                                                         Executed on                                                                   Executed on
                                                                                   M   I Pt)   /YYYY                                                  MM / DD     /YYYY
       i,'>siim»vi^mmmiiriiii^:kiiff^Mrkkmmermi^.:i^^<^ - .


 Official Form 101                                                Voluntary Petition for Individuals Filing for Bankruptcy                                                 pages
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5:29 PM                A Plus Lamination & Finishing inc. - Combo
05/14/18                        A/P Aging Summary
                                                         As of May 14, 2018

                                                        Current        1-30          31-60        61-90          >90           TOTAL

      Actega North America, Inc.                              0.00           0.00          0.00       0.00       3,046.51        3,046.51
      ALEXANDER E . B O R E L L                            750.00            0.00          0.00       0.00            0.00          750.00
      Amtrust North America                                   0.00           0.00          0.00       0.00       4,987.70        4,987.70
      APF INC.-002                                            0.00           0.00          0.00       0.00            0.00             0.00
      Armas Machine Shop, Inc.                                0.00           0.00          0.00       0.00            0.00             0.00
      Auto Nation Chevrolet Dorel                          173.16            0.00          0.00       0,00            0.00          173.16
      Capital One Bank                                        0.00           0.00       214.85        0.00       1,961.98        2,176.83
      Checksfor less                                          0.00           0.00          0.00       0.00            0.00             0.00
      City of HIaieah                                         0.00        136.09           0.00       0.00            0.00          136.09
      Comcast Business                                        0.00           0.00      415.32         0.00            0.00         415.32
      COSMO CLAIM 2018                                        0.00    18,692.54            0.00       0.00            0.00     18,692.54
      Cosmo Films Inc.-V                                      0.00   -15,800.57            0.00       0.00     15,800.57               0.00
      Credit Management, L P                                  0.00           0.00          0.00       0.00            0.00             0.00
      0 & K CLAIM                                             0.00           0.00          0.00       0.00       3,500.00        3,500.00
      D & K INTERNATIONAL, INC.                               0.00           0.00          0.00       0.00      4,500.00         4,500.00
      DDREPRO                                                 0.00           0.00          0.00       0.00          14.00            14.00
      Delran, Inc.                                            0.00           0.00          0.00       0.00            0.00             0.00
     Department of Water & S e w e r s                     242.15            0.00          0.00       0.00            0.00         242,15
     Derprosa (Taghleef Industries)                           0.00    14,594.33            0.00       0.00       1,322.97      15,917.30
     DISTRIGRAPH INC.                                         0.00           0.00          0.00       0.00      7,956.17         7,956.17
     Ooral Digital Reprographics, Corp.                       0.00        -14.98           0.00       0.00          14.98              0.00
     FLORIDA F L E X I B L E S C R E E N P R                  0.00           0.00        61 50        0.00            0.00           61.50
     FPL                                                 1,868.49            0.00          0.00       0.00            0.00       1,868.49
     Francisco Gabriel Perez LOAN                             0.00           0.00    3,000.00         0.00         750.00       3,750.00
     Frontline Asset Strategies, L L C                        0.00           0.00         0.00        0.00      1,000.00         1,000.00
     GRAINGER                                                 0.00           0.00         000         0.00            6.30             5.30
     HOME D E P O T                                           0.00           0.00         0.00        0.00            0.00            0.00
     INTERNAL R E V E N U E S E R V I C E                     0.00           0.00         0.00        0.00     15,503.44       15,503.44
     KANGDE XIN AMERICA, L L C                                0.00           0.00         0.00        0.00      7,594.09        7,594.09
     LAIRD P L A S T I C S                                    0.00           0.00         0.00        0.00        219.40           219.40
     MARATHON C O U R I E R                                  0.00          20.00       252.00         0.00           0.00          272.00
     MATT D. GOLDMAN T R U S T ACCOUNT                       0.00           0.00          0.00        0.00      1,250.00        1,250.00
    METRO P C S A P L U S AGO                                0.00           0.00          0.00       2.60           -2.60             0.00
    MlAMl-DADE COUNTY TAX C O L L E C T O R                  0.00     16,478.09           0.00       0.00       2,669.73      19,147.82
    Miami Dade Expressway Authority (MDX)                    0.00           0.00          0.00       0.00         311.08           311.08
    MYRON C O R P .                                         14.00           0.00          0.00       0.00            0.00            14.00
    Nobelus L L C                                            0.00           0.00          0.00       0.00       1,578.90        1,578.90
    NUBIA P E R E Z LOANS                                    0.00           0.00     7,100.00      236.94            0.00       7,336.94
    OFFICE DEPOT                                             0.00           0.00          000        0.07           -0.07             0.00
    P A P E R KNIGHT 2018                                    0.00        220.00           0.00       0.00            0.00         220.00
    PHONES R U S , Inc                                       0.00           0.00          0.00       0.00         224.70          224.70
    Platinum Graphics                                        0.00        440.00           0.00       0.00            0.00         440.00
    PROpack Industries, Inc.                                 0.00           0.00          0.00       0.00            0.00             0.00
    QUILL CORPORATION                                        0.00        129.44           0.00       0.00            0.00         129.44
    Santander Consumer USA                                   0.00      2,029.72           0.00       0.00            0.00       2,029.72
    Tape Group USA, Inc.                                     0.00           0.00          0.00       0.00       1,330.00        1,330.00
    TOTAL PACK                                               0.00        162.71           0,00       0.00            0.00         162.71
    Transllwrap Company, Inc.                                0.00           0.00          0.00       0.00       1,944.83        1,944.83
    UNIVERSAL P R E S S R O O M P R O D U C T S L L C        0.00           0.00          0.00       0.00     23,695.65       23,695.65
    UNIVERSAL WIPING C L O T H                               0.00           0.00          0.00     109.00            0.00         109.00
    UPS-V                                                    0.00           0.00         0.00        0.00            0.00             0.00
    URBAPRINT, L L C                                         0.00           0.00         0.00        0.00            000              0.00
    Valley National Bank -2525                               0.00           0.00         0.00        0.00     28,355.00       28,355.00
    Valley National Bank Loan -2198 small                    0.00           0.00         0.00        0.00    100,786.77      100,786.77
    Vencol                                                   0.00      1,739.43          0.00        0.00            0.00       1,739.43
    VH FINANCIAL S E R V I C E S INC                        0.00         125.00       675.00         0,00         225.00        1,025.00
    W A S T E MANAGEMENT O F DADE COUNTY                    0.00         451.72          0.00        0.00           0.00          451.72
   TOTAL                                                3,047.80     39,403.52      11,718.67      348.61    230,646.10      286,064.70
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5:27 PM                 A Plus LaminatioM & Finishing inc. - Combo
05/14/18                            BaiancG Sheet
Accrual Basis                                                      As Of May     14,   2018


                                                                                                         May 14,18

        ASSETS
          Current Assets
            Checking/Savings
              1000 BANKS
                1005 Wells Frgo -5536                                                                       9,843.43
                1001 • Wells Fargo-7624                                                                   -19,681.58
                1002 • WF Savings Recurruing-9447                                                             454.06
                 Total 1000 • BANKS                                                                               -9^.09

             Total Checking/Savings                                                                               -9,384.09
             Accounts Receivable
               1100 • A C C O U N T S R E C E I V A B L E S (Generated account for AR tran)
                 1101 • Accounts Receivable                                                                46,328.64
                 1100 ' A C C O U N T S R E C E I V A B L E S (Generated account for AR tran) - Otfier      5,889.99
                Total 11 DO • A C C O U N T S R E C E I V A B L E S (Generated account for AR tran)              52,218.63

             Total Accounts Receivable                                                                           52,218.63
             Otfier Current A s s e t s
               1200 • O T H E R C U R R E N T A S S E T S
                  1201 • Accounts Recelvable-A* (Generated account for transac)                             4,166.96
                  1203 • Employee Advances                                                                 19,463.73
                  1204 • "Inventory Asset                                                                      8149
                  1206 • Prepaid E x p e n s e s                                                           45,773.78
                  1206 • Raw Materials Inventory                                                           78,142.50
                Total 1200 • O T H E R C U R R E N T A S S E T S                                                147,628.46

                12001 • Undeposited Funds (Funds received, but not yet deposited to a bank account)              26,153.45
             Total Other Current A s s e t s                                                                    173,781.91

          Total Current Assets                                                                                 216,616.45
          Fixed /tssets
            1300 FIXED A S S E T S
              1304 • Accum. Depreciation - Equlpmen                                                      -370,636.00
              1307 • Accum. Depreciation - Other                                                           -12,795.00
              1308 • Automobiles                                                                            40,482.91
              1309 • Equipment                                                                            718,416.95
              1310 • Furniture and Fixtures                                                                  1,569.87

             Total 1 3 0 0 - F I X E D A S S E T S                                                             377,038.73

         Total Fixed A s s e t s                                                                               377,038.73
          Other Assets
            1400 • OTHER A S S E T S
              1401 • Accum. Amortlz. - Org. C o s t s                                                    -11,277 00
              1402 • Deposits                                                                              9,542.85
              1403 • Other Noncurrent Assets                                                             879,126.00

            Total 1400 • O T H E R A S S E T S                                                                 877,391.86

         Total Other A s s e t s                                                                               877,391.85

       TOTAL A S S E T S                                                                                      1,471,047.03
       LIABILITIES & EQUITY
         Liabilities
           Current Liabilities
              Accounts Payable
                  1 5 0 0 - A c c o u n t s Payable                                                            285,064,70
                Total Accounts Payable                                                                         285,064.70

                Credit Cards
                  1600 - C R E D I T C A R D
                    1601 Capital O n e - 1 1 9 5                                                             -214.85
                    1602 - Credit One -4708 (Credit One)                                                   -5,214.22
                                                                                                                              Pagel
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5:27 PM                A Plus Lamination & Finishing inc. - Combo
05/14/18                           Balance Sheet
Accrual Basis                                                     As Of May   14,   2018


                                                                                           May 14^ 18

                     1603 • Shell-823                                                           978^09
                  Total 1600     C R E D I T CARD                                                  -4,450.98

                Total Credit C a r d s                                                             -4,450 98
                Other Current Liabilities
                  1700 • O T H E R C U R R E N T LIABILITY
                    1702 • "Sales Tax Payable                                                   411.43
                    1703 • Wages Payable                                                    270,591 89
                    1700 • O T H E R C U R R E N T LIABILITY - Other                        -24,892.54

                  Total1700 • O T H E R C U R R E N T LIABILITY                                  246,110.78

                Total Other Current Liabilities                                                  246,110.78

            Total Current Liabilities                                                            526,724.50
            Long Term Liabilities
              1800 • LONG T E R M LIABILITY
                1801 • 1st United Bank Loan                                                -184,006.67
                1802 • Jim H Hawk (466K)                                                    184,714.06
                1803 • Nubia M Perez                                                        174,883 00
                1804 'Nubia M Perez ( H E L O C )                                            98,449 00
                1805 • Matt D Goldman                                                       111,500.00
                1806 • Valley National Bank-2198                                            106,916.56
                1807 • Valley National Bank - 2626                                          728,749.73
                1800 • LONG T E R M LIABILITY - Other                                        -7.100.00
                Total 1800 • LONG T E R M LIABILITY                                            T214,105^8

            Total Long Term Liabilities                                                        1,214^105,68

          Total Liabilities                                                                    1,740,830.18
          Equity
            3000 • Beginning Balance Equity                                                     -174,764.12
            3001 • Common Stock                                                                      100.00
            3003 • Opening Bal Equity                                                           -366,506 26
            3005 - Retained Earnings                                                             216,423 09
            Net Income                                                                            12,383.54
          Total Equity                                                                          l312.363T5

       TOTAL LIABILITIES & EQUITY                                                              1,428,466.43




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 Debtor 1                                                                                          Case numtier [iikmmn)_
              PlrMName     MIddJ* Mame              Last Name




 F o r you if you are filing this          T h e law allows you, a s a n individual, to represent yourself in bankruptcy court, but you
 bankruptcy without a n                    s h o u l d u n d e r s t a n d that many people find It extremely difficult to represent
 attorney                                  t h e m s e l v e s s u c c e s s f u l l y . B e c a u s e bankruptcy h a s long-term financial and legal
                                           c o n s e q u e n c e s , you are strongly urged to hire a qualified attorney.
 If you are represented by
 a n attorney, you do not                  T o be successful, you must correctly file and handle your bankruptcy c a s e . T h e rules are very
 need to file this page.                   technical, and a mistake or inaction may affect your rights. For example, your case may be
                                           dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                           hearing, or cooperate with the court, c a s e trustee. U.S. trustee, bankruptcy administrator, or audit
                                           firm if your c a s e is selected for audit. If that happens, you could lose your right to file another
                                           case, or you may lose protections. Including the benefit of the automatic stay.

                                           You must list all your property and debts in the schedules that you are required to file with the
                                           court. E v e n if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                           in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                           property or properly claim it a s exempt, you may not be able to keep the property. The judge can
                                           also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                           case, such a s destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                           c a s e s are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                           Bankruptcy fraud Is a serious crime; you could be fined and imprisoned.

                                           If you decide to file without an attorney, the court expects you to follow the rules a s if you had
                                           hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal R u l e s of
                                           Bankruptcy Procedure, and the local rules of the court in which your c a s e is filed. Y o u must also
                                           be familiar with any state exemption laws that apply.


                                           Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                           consequences?
                                           •   No
                                           B'Yes

                                           Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                           inaccurate or incomplete, you could be fined or imprisoned?
                                           •   No
                                           a-Ves

                                           Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                           a^No
                                           G   Yes. Name of Person                                                                              .
                                                    Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                           By signing here, I acknowledge that I understand the risks involved in filing without an attorney,
                                           have read and understood this notice, and I am aware that filing a bankruptcy c a s e without an
                                           attorney may causg,me to lose my rights or property if I do not properly handle the case.




                                                                                                            Signature of Debtor 2



                                                                                                                             MM /   DD / YYYY

                                          Contact phone                                                     Contact phone


                                         • cellphone            - ^ ^ - ^ 1 0 '    I    O    ^              Cell phone


                                           Email address         g ^ ^ \ ( A s \ o y Y N O Q/V\0)t1-(^^ Email address
                                                                                                                                                 mk:mk ' L-LiLLiA-

  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                        pages
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  Debtor   1 t\!\AoiCL
                 FlrBt N a m e   Middle N « d e
                                                  l^ifcAL Pe^rez                                                    Case number (/r*nomi)_




              Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                  About Debtor 1:                                                         About Debtor 2 (Spouse Only In a Joint Case):
  15., Tell the court w h e t h e r
       you have r e c e i v e d a
       briefing about credit                      You must check one:                                                      You must check one:
       counseling.
                                                  Q I received a briefing from an approved credit                         G I received a briefing from an approved credit
                                                    counseling agency within the 180 days before I                          counseling agency within the 180 days before I
     The law requires that you                      filed this bankruptcy petition, and I received a                        filed this bankruptcy petition, and I received a
     receive a briefing about credit                certificate of completion.                                              certificate of completion.
     counseling before you file for
     bankruptcy. You must                                 Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
     truthfully check one of the                          plan, if any, that you developed with the agency.                   plan, if any, that you developed witti the agency.
     following choices. If you
                                                  •       I received a briefing from an approved credit                   G i received a briefing from an approved credit
     cannot do so, you are not
                                                          counseling agency within the 180 days before I                    counseling agency within the 180 days before I
     eligible to file.
                                                          filed this bankruptcy petition, but I do not have a               filed this bankruptcy petition, but I do not have a
                                                          certificate of completion.                                        certificate of completion.
     If you file anyway, the court
                                                          Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
     can dismiss your case, you
                                                          you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
     will lose whatever filing fee
                                                          plan, if any.                                                       plan, if any.
     you paid, and your creditors
     can begin collection activities
                                                          i certify that I asked for credit counseling                    G I certify that I asked for credit counseling
     again.
                                                          services from an approved agency, but was                         services from an approved agency, but was
                                                          unable to obtain those services during the 7                      unable to obtain those services during the 7
                                                          days after I made my request, and exigent                         days after I made my request, and exigent
                                                          circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                                          of the requirement.                                               of the requirement.
                                                      To ask for a 30-day temporary waiver of the                             To ask for a 30-day temporary waiver of the
                                                      requirement, attach a separate sheet explaining                         requirement, attach a separate sheet explaining
                                                      what efforts you made to obtain the briefing, why                       what efforts you made to obtain the briefing, why
                                                      you were unable to obtain it tiefore you filed for                      you were unable to obtain it before you filed for
                                                      bankruptcy, and what exigent circumstances                              bankruptcy, and what exigent circumstances
                                                      required you to file this case.                                         required you to file this case.

                                                      Your case may be dismissed if the court is                             Your case may be dismissed if the court is
                                                      dissatisfied with your reasons for not receiving a                     dissatisfied with your reasons for not receiving a
                                                      briefing before you filed for bankruptcy.                              briefing before you filed for bankruptcy.
                                                      If the court is satisfied with your reasons, you must                  If the court is satisfied with your reasons, you must
                                                      still receive a briefing within 30 days after you file.                still receive a briefing within 30 days after you file.
                                                      You must file a certificate from the approved                          You must file a certificate from the approved
                                                      agency, along with a copy of the payment plan you                      agency, along with a copy of the payment plan you
                                                      developed, if any. If you do not do so, your case                      developed, if any. If you do not do so. your case
                                                      may be dismissed.                                                      may be dismissed.
                                                      Any extension of the 30-day deadline Is granted                        Any extension of the 30-day deadline is granted
                                                      only for cause and is limited to a maximum of 15                       only for cause and is limited to a maximum of 15
                                                      days.                                                                  days.

                                              •       I am not required to receive a briefing about                      G I am not required to receive a briefing about
                                                      credit counseling because of:                                        credit counseling trecause of:

                                                      •      Incapacity.   I have a mental illness or a mental               G Incapacity.     I have a mental illness or a mental
                                                                           deficiency that makes me                                            deficiency that makes me
                                                                           incapable of realizing or making                                    incapable of realizing or making
                                                                           rational decisions about finances.                                  rational decisions about finances.
                                                      •     Disability.    My physical disability causes me                  G Disability.     My physical disability causes me
                                                                           to be unable to participate in a                                    to be unable to participate In a
                                                                           briefing in person, by phone, or                                    briefing In person, by phone, or
                                                                           through the internet, even after I                                  through the internet, even after I
                                                                           reasonably tried to do so.                                          reasonably tried to do so.
                                                      •     Active duty. I am currently on active military                   G Active duty. I am currently on active military
                                                                         duty in a military combat zone.                                    duty in a military combat zone.
                                                      If you believe you are not required to receive a                       If you believe you are not required to receive a
                                                      briefing about credit counseling, you must file a                      briefing about credit counseling, you must file a
                                                      motion for waiver of credit counseling with the court.                 motion for waiver of credit counseling with the court.




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 Debtor 1       hl(A lo//^         Mrft)<cc         //<-                  Pe/^e-Ey                        Case number (/known).
                F«N«me          Middle Name               Leal Name




 _          „        ..                       I, ttie attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
 l-or your attorney, IT you are                   proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
 represented by o n e                         available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                              the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
 If you are not r e p r e s e n t e d         knowledge after an inquiry that the information in the schedules filed with the petition is Incorrect.
 by a n attorney, you d o not
 n e e d to file this page.
                                                                2f=X'                                             Date
                                                 Signature of Attorney for Debtor                                                  MM        /   DD   /WW




                                                                           -r-i   < J
                                                 Printed nafhe'       '



                                                 Firm name



                                                 Number      Street                                   tr^"               ^         <=^




                                                 City                                                            State             ZIP Code




                                                 Contact phone    f 7 . 7 ) 0            ~3                        Email address     A^^i         O'ffj'(     6     3'l   ^   ^/l^   // •
                                                                                                                                         7

                                                 Bar number                                                      State




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                               guaranty of payment and perf
                                                                             ormance-

                  This Guaranty of Payment and Performance (this
                                                                      '"Guaranty") is made as of the 4® day of
    •      December, 2017. by NUBTA M. PFRF.7, (the "Gua
                                                                 rantor"). with an address of 5559 NW 36,h
           Avenue, Miami, TL 33142, in favor of VAL
                                                          LY NATIONAL. BANK, its successors or
          ("Lender"), as successor by merger to V Unite                                                    assigns
                                                            d Bank ("Ist United"), with an address of 1455
          Valley Road, Wayne, NJ 07470.


                                                      RECITALS

                   A PLUS LAMINATION & FINISHING
                                                            , INC. (sometimes hereinafter each indiv
          and all collectively referred to as "Borr                                                    idually
                                                    ower") has requested and Lender has
                                                                                           agreed to extend
          credit, renew an existing loan and/or make
                                                      a loan to Borrower not to exceed the Princ
          of Light Hundred Three Thousand Eight                                                  ipal amount
                                                     een Dollars and Thirty-Two Cents ($803
                                                                                               ,018.32) (the
          "LfiSlf'T as evidenced by that certain U. S. Smal
                                                             l Business Administra
                                                                       tion ("SBA'T Note in the:
          principal amount of One Million Three
                                                Hundred Fifty Thousand Dollars ($1,350,00
          executed and delivered by Borrower on May                                       0.00)
                                                            5, 2007. to ls< United with a maturity date
          August 1, 2017. which was modified by                                                                of
                                                     a Change to Terms Agreement executed
          by Borrower to 1st United on April 15, 2013                                              and delivered
                                                         in the principal amount of One Million Thirty
         Thousand Seven Hundred Eighteen Dolla                                                              -Five
                                                      rs and Thirty-Two Cents ($1,035,718.32)
                                                                                                    , and which
         was further modified by a Change in Terras
                                                    Agreement executed and delivered by Borro
                                                                                                           wer to
         r United on April 15, 2014 in the principal
                                                          amount of Nine Hundred Seventy-Five Thou
         Two Hundred Eighteen Dollars and Thirt                                                             sand
                                                      y-Two Cents ($975,218.32) (together with
         renewals, extensions, modifications and amen                                                  all other
                                                         dments thereto, the "Note"), which Note
         the extension of a commercial SBA loan made                                                  evidenced
                                                            by 1 si United to Borrower on or about May
         2007, in the original principal amount of                                                             3,
                                                      One Million Three Hundred Fifty Thousand
                                                                                                          Dollars
         |$ 1,3 50,000,00) (as amended, extended and/or
                                                           renewed, the "Loan"). As a condition precedent
         to Lender making the Loan. Lender has
                                                    required Guarantor to execute and delive
                                                                                             r this Guaranty
         to Lender.   Any capitalized term used and not defin
                                                                ed in this Guaranty shall have the mean
         given to such term in the Note (as modi                                                         ing
                                                  fied, extended and renewed).
                                                                                            .

                                                   AGREEMENTS

                Guarantor will receive a material benefit from
                                                                 Lender making the Loan to Borrower, For
         good and valuable consideration, the receip
                                                       t and adequacy of which are hereby ackno
        and in order to induce Lender to make                                                         wledged,
                                                   the Loan to Borrower, Guarantor hereb
                                                                                                y guarantees to
        .Lender trie prompt and full payment of
                                                   the indebtedness and obligations described
                                                                                                  below
                                                                                             in this
        Guaranty (collectively called the "Guarante
                                                    ed Objurations ft. this Guaranty being upon
        following terms and cond                                                                 the
                                   itions;

                Section J.     Guaranty of Payment.

                Guarantor hereby unconditionally and
                                                            irrevocably guarantees to Lender the
        payment when due, whether by lapse of                                                       punctual
                                                     time, by acceleration of maturity, or other
.       principal, interest (including interest accru
                                                                                                 wise, of all
                                                      ing after maturity and after the commencem
                                                                                                  ent of any




        Nubia Guaranty
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         bankruptcy or insolvency proceeding by or against Borrower, whether or not allowed in
                                                                                                               such
         proceeding),   prepayment   premiums,    fees,     late   charges,   costs,   expenses,   iodenrnification
         indebtedness, and other sums of money now or hereafter due and owing, or which Borrower
                                                                                                                    is
         obligated to pay, pursuant to the terras of the Loan Documents (as such term is defined
                                                                                                             Irr '.he
         Note), which Loan Documents include, without limitation, the Note, the Loan;
                                                                                      Agreement, that
         certain Mortgage (as such tern is defined in the Note), Assignment of Rents
                                                                                      (as such term is
         defined in the Note), Environmental Indemnity Agreement (as such term is defined in the
                                                                                                            Note),
        and all other documents, agreements and instruments executed and/or delivered in
                                                                                             connection
        with or contemplated by the Loan, as the same msiy ' from time to time be
                                                                                               amended,
        supplemented, restated or otherwise modified (collectively, the "Indebtedn
                                                                                          ess"').    The
        Indebtedness includes all reasonable costs and expenses incurred by Lender in seeking
                                                                                              to enforce
        Lender's rights and remedies with respect to the indebtedness, and to protect, defend,
                                                                                                maintain
        or enforce Lender's liens or security interests, including, without limitation,
                                                                                        collection costs,
        default rates of interest, reasonable attorneys' fees and costs at trial add appellate
                                                                                               levels and
        related costs, and costs of alternative dispute resolution, whether or not suit is filed or other
        proceedings are initiated thereon.   This Guaranty covers the Indebtedness presently outstanding
        and the Indebtedness arising subsequent to the date hereof, including all amounts advanced
                                                                                                                 by
        Lender in stages or installments.    The guaranty of Guarantor as set forth in this Section is-a
        continuing guaranty of payment and not. a guaranty of collection.


              The foregoing obligations guaranteed tinder this Section are defined as the "Guarantee
                                                                                                     d.
        Payment Obligations".    The Guaranteed Payment Obligations are included as part of the
        Guaranteed Obligations for all purposes of this Guaranty.


               Section 2.      Guaranty of Performance.


               Guarantor hereby unconditionally and irrevocably guarantees to Lender the complete
        performance when due of all other Obligations of Borrower under ail of the Loan Documents
                                                                                                  ,
        including, without- limiting the generality of the foregoing, all such Obligations of Borrower
                                                                                                                 to
        duly and punctually perform and observe all other terms, covenants and conditions
                                                                                                     of the Note,
        the Loan Agreement, the Mortgage, the Environmental Indemnity Agreement, and
                                                                                                   all other Loan
        Documents,

               The foregoing obligations guaranteed under this Section are defined as the "Guarantee
                                                                                                                  d
        Performance Obil gatioi! s T The Guaranteed Performance Obligations are included as part of the
        Guaranteed Obligations for all purposes of this Guaranty.


               The liability and obligations under this Section shall not he limited or .restricted by the
        existence of, or any terms of. the guaranty of payment under Section I.

    I


               Section 3.      Primary Liability of Guarantor.


               (a)      This Guaranty is an absolute, irrevocable and unconditional guaranty of payment
        and performance, and Guarantor shall he liable for the payment and. performance of the
        Guaranteed Obligations as a primary obligor. This Guaranty shall be effective as a waiver of
        and Guarantor hereby expressly waives, any right to which Guarantor may otherwise have been



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      entitled, whether existing under statute, at
                                                   Jaw or in equity, to require Lender to take
      recourse or proceedings against any collateral,                                             prior
                                                      security or person. It shall not be necessary
      Lender, in order to enforce such payment or                                                    far
                                                   performance by Guarantor, first to institute
      pursue or exhaust any rights or remedies                                                  suit  or
                                                  against Borrower or other person liable on
      indebtedne                                                                                  such
               ss or performance, or to enforce any rights
                                                           against any security given to secure such
     indebtedness or for such performance, or
                                               to join Borrower or any other person liable
     payment or performance of the Guaranteed                                                 for the
                                                  Obligations or any part, thereof in any
                                                                                           action to
     enforce this Guaranty, or to resort to any other
                                                            means of obtaining payment or performan
                                                                                              ce of
     the Guaranteed Obligations provided, howe
                                                  ver, that nothing herein contained shall
     Lender from suing an the Note or exercising                                            prevent
                                                 any other right under the Loan Documents
                                                                                          .

               Cb)    Suit may be brought or demand may be made
                                                                        against Borrower or against any or
      all parties who have signed this Guaranty
                                                   or any other guaranty- covering all or any
                                                                                                part of the
      Guaranteed Obligations, or against any
                                                one or more of them, separately or togeth
                                                                                               er, without
      impairing the rights of Lender against any
                                                     patty hereto. Any time that Lender is entitle
     exercise its rights or remedies hereunder, it                                                     d to
                                                   may in its discretion elect to demand paym
                                                                                                ent and/or
     performance. If Lender elects to demand
                                                   performance, it shall at all times thereafter
     right to demand payment until ail of the                                                     have the
                                                Guaranteed Obligations have been paid and
                                                                                                performed
     in full. If Lender elects to demand paym
                                                   ent, it shall at all times thereafter have the
    demand performance until all of the Guara
                                                                                                   right to
                                                   nteed Obligations have been paid and
                                                                                            performed in
    full


            (c)     The liability of Guarantor or any other
                                                                 Person hereunder for Guaranteed
    Obligations arising out of or related to the
                                                  Environmental Indemnity Agreement shall
    limited or affected in any way by any provi                                             not be
                                                sion in this Guaranty, the other Loan Docu
                                                                                           ments or
    applicable law limiting the liability of Borrower. Guara
                                                             ntor or such other Person, or Lender's
    recourse or rights to a deficiency judgment.

            Section 4.     Certain Agreements and Waivers by Guara
                                                                         ntor.          ,

             (a)     Guarantor agrees that neither Lender's
                                                               rights or remedies nor Guarantor's
    obligations under the terms of this Guaranty
                                                 shall be released, diminished, impaired, reduc
    affected by any one or more of the follow                                                   ed or
                                               ing events, actions, facts, or circumstances,
    liability of Guarantor under this Guaranty                                               and  the
                                                 shall be absolute, unconditional and irrevo
                                                                                               cable
    irrespective of:


                   (i)     any limitation on the liability of or recou
                                                                        rse against, any other person in
           any Loan Document or arising under
                                                   any law;


                   (ii)   any claim or defense that this Guaranty was
                                                                        made without consideration or
           is not supported by adequate consideration
                                                       or that the obligations of Guarantor hereu
                                                                                                  nder
           exceed or are more burdensome than those
                                                       of Borrower under the other Loan Documents
                                                                                                     ;

                   (hi)   the taking or accepting of any other security
                                                                            or guaranty for, or right of
           recourse with respect to, aov or all of the
                                                         Guaranteed Obligations;




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                   (iv)    the operation of any laws (other than statutes of limitati
                                                                                         on) regarding the
           limitation of actions, all of which are hereby waived
                                                                    as a defense to any action or
           proceeding brought by Lender against Guarantor, to the
                                                                  fullest extent permitted by law;

                   (v)     any homestead exemption or any other exemption under-a
                                                                                          pplicable law;

                   (vi)    any release, surrender, abandonment, exchange, alterati
                                                                                   on, sale or other
           disposition,   subordination, deterioration, waste, failure to protect
                                                                                       or preserve,
           impairment* or loss of, or any failure- to create or perfect any lien
                                                                                   or security interest with
           respect to, or any other dealings with, any collateral
                                                                       or security at any time existing or
           purported, believed or expected to exist in connection
                                                                        with any or all of the Guaranteed
           Obligations, or any impairment of Guarantor's recours
                                                                    e against any person or collateral;

                 (vii)  whether express or by operation of law, any partial release
                                                                                     of the liability
          of Guarantor hereunder (except to the extent paid, perform
                                                                     ed or expressly so released) or
          any complete or partial release of Borrower or any other
                                                                         person liable, directly or
          indirectly, for the payment or performance of any or all
                                                                       of the Guaranteed Obligations;

                  (via)   the   insolvency,    bankruptcy,    dissolution,     liquidation,   termination,
          receivership,   reorganization,   merger,   consolidation,    change     of form,   structure   or
          ownership, sale of all assets, or lack of corporate, partner
                                                                        ship or other power of Borrower
          or any other person at any time liable for the payment
                                                                 of any or all of the Guaranteed
          Obligations;


                  (ix.)   either with or without notice to or consent of Guaran
                                                                                        tor, any renewal
          extension, modification, supplement subordination or rearran
                                                                             gement of die terms of any
          or all of. the Guaranteed Obligations and/or any of
                                                                  the Loan Documents, including
          material alterations of the terms of payment (including
                                                                   changes in maturity date(s) and
          interest rate(s) or performance (including changes with
                                                                     respect to construction of the
          Improvements) or any other terms thereof, or any waiver,
                                                                       termination, or release of, or
          consent to departure from, any of the Loan Documents or any
                                                                      other guaranty of any or all
          of the Guaranteed Obligations, or any adjustment,
                                                                   indulgence, forbearance, or
          compromise that may be granted from time to time by Lender
                                                                        to Borrower or any other
          person at any time liable for the payment or perform
                                                                 ance of any or all of the Guaranteed
          Obligations;

                <x)    any neglect, lack of diligence, delay, omission, failure,
                                                                                     or refusal of
         Lender to take or prosecute (or in taking or prosecuting)
                                                                   any action for the collection or
         enforcement of any of the Guaranteed Obligations, or to foreclo
                                                                               se or take or prosecute
         any action, to foreclose (or in foreclosing or taking or prosec
                                                                         uting any action to foreclose)
         upon any security therefor, or to exercise (or in exercising)
                                                                       any other right or power with
         respect to any security therefor, or to take or prosecute (or
                                                                        in taking or prosecuting) any
         action in connection with any Loan Document, or any failure
                                                                          to sell or otherwise dispose
         of in a commercially reasonable manner- any collate
                                                                    ral securing any or all of the
         Guaranteed Obligations;




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                  (xi)    any failure of Lender to notify Guarantor
                                                                        of any creation, renewal
           extension, rearrangement, modification, supple
                                                          ment, subordination, or assignment of the
           Guaranteed Obligations or any past thereof,
                                                       or of any Loan Document, or of any release
           of or change in any security, or of the occurrence
                                                                or existence of any Event of Default, or
           of any other action taken or refrained from
                                                          being taken by Lender against Borrower or
           any security or other recourse, or of any new agree
                                                               ment between Lender and Borrower, it
           being understood that Lender shall not be requir
                                                             ed to give Guarantor any notice of any
           kind under any circumstances with respect
                                                          to or in connection with the Guaranteed
           Obligations, any and ail rights to notice Guarantor
                                                               may have otherwise had being hereby
           waived by Guarantor, and Guarantor shall
                                                            be responsible for obtaining for itself:
           information regarding Borrower, including any
                                                         changes in the business or financial
           condition of Borrower, and Guarantor ackno
                                                 wledges and agrees that Lender shall have no
          duty to notify Guarantor of any information
                                                      which Lender may have concerning
          Borrower;


                  fx it)    the existence of any claim, counterclaim,
                                                                      set-off or other right that
          Guarantor may at any time have against Borrower.
                                                            Lender, or any other person, whether
          or not arising in connection with this Guara
                                                       nty, the Note, the Loan Agreement, the:
          Mortgage, the Environmental Indemnity Agree
                                                          ment, or any other Loan Document;
          provided, however, that: tire foregoing shall not
                                                              be deemed a waiver of Guarantor's right
          to assert any compulsory counterclaim mainta
                                                           ined in a court of the United States or the
          State of Florida if such counterclaim is comp
                                                         elled under local law or procedure;

                 (xiii)    the unenforceability of all or any part of the
                                                                          Guaranteed Obligations
          against Borrower, whether because the Guara
                                                      nteed Obligations exceed the amount
          permitted by law or violate any usury law,
                                                     or because the persons creating the
          Guaranteed Obligations acted in excess of their
                                                            authority, or because of a lack of validity
          or enforceability of or defect or deficiency
                                                         In any of the Loan Documents, or because
          Borrower has any valid defense, claim
                                                or offset with respect thereto, or becau
                                                                                         se
         Borrower's obligation ceases to exist by opera
                                                        tion of law, or because of any other reason
         or circumstance, it being agreed that Guarantor
                                                           shall remain liable hereon regardless of
         whether Borrower or any other person be found
                                                          not liable on the Guaranteed Obligations,
         or any part thereof tor any reason (and
                                                 regardless of any joinde      r of Borrower or any
         other party in any action to obtain payme
                                                   nt or performance of any or all of the
         Guaranteed Obligations);


                 (xiv)     any order, ruling or plan of reorganization eman
                                                                             ating from proceedings
         •under Title i 1. of the United States Code with respec
                                                                 t to Borrower or any o titer person,
         including any extension, reduction, composition
                                                            , or other alteration of the Guaranteed
         Obligations, whether or not consented to by
                                                     Lender, or any action taken or omitted by
         Lender in any such proceedings, Including
                                                   any election to have Lender's claim allowe
                                                                                              d
         as being secured, partially secured or unsecured,
                                                           any extension of credit by Lender in any
         such proceedings or the taking and holdin
                                                      g by Lender of any security for any such
         extension of credit;




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                    (xv)   any other condition, event, omission, or action that would in the
                                                                                                absence
            of this paragraph result in the release or discharge of the Guarantor
                                                                                  from the performance
            or observance of any obligation, covenant or agreement containe
                                                                              d in this Guaranty or any
            other agreement;
                                                                                                    •

                    (xvi)   any early termination of any of the Guaranteed Obligations; or

                   (xvii) Lender's enforcement or forbearance from enforcement
                                                                               of the Guaranteed
            Obligations on a net or gross basis,                .

            (b)    In the event any payment by Borrower or any other person
                                                                                to Lender is held to"
    constitute a preference, fraudulent.- transfer or other voidable
                                                                     .payment under any bankruptcy,
    insolvency or similar law, or if for any other reason Lender is required
                                                                               to refund such payment or
    pay the amount thereof to any othbr party, such payment
                                                            by Borrower or any other party to
    Lender shall not constitute a release of Guarantor from any liabi
                                                                        lity hereunder, and this Guaranty
    shall continue to be effective or shall be reinstated (notwithstanding
                                                                             any prior release, surrender
    or discharge by Lender of this Guaranty or of Guarantor), as
                                                                     the case may be, with respect to,
    and this Guaranty shall apply to, any and all amounts so refunded
                                                                  by Lender or paid- by Lender tcy
    another person (which amounts shall constitute part of the Guarant
                                                                       eed Obligations), and any
    interest paid by Lender and any reasonable attorneys' tees, costs and
                                                                               expenses paid or incurred
    by Lender in connection with any such event.


           (c)     It is the intent of Guarantor and Lender that the obligatio
                                                                               ns and liabilities of
    Guarantor hereunder are absolute, irrevocable and unconditional under
                                                                               any and all circumstances
    and that until the Guaranteed Obligations -are fully and finally
                                                                     paid and performed, and not.           •
    subject to refund or disgorgement, the obligations and liabilities of Guarant
                                                                                   or hereunder shall not
    be discharged or released, in whole or in part, by any act or occurren
                                                                               ce that might, bid for the
    provisions of this Guaranty, be deemed a legal, or equitable discharg
                                                                          e or release of a guarantor.

           (d)     Guarantor's obligations shall not be affected, impaired, lessened
                                                                                          or released by
    loans, credits or other financial accommodations now existing or hereafte
                                                                                  r advanced by Lender
    to Borrower in    excess   of the   Guaranteed Obligations.     All     payments,   repayments   and
    prepayments of the Loan, whether voluntary or involuntary, received
                                                                             by Lender from Borrower,
    any other person or any other source (other than from Guarantor pursuan
                                                                              t to a demand by Lender
    hereunder), and any amounts realized from any collateral for the
                                                                          Loan, shall be deemed to be
    applied first to any portion of the Loan which is not covered by this
                                                                               Guaranty, and last to the
   Guaranteed Obligations, and this Guaranty shall bind Guarantor to
                                                                       die extent of any Guaranteed
   Obligations that may remain owing to Lender. Lender shall have
                                                                        the right to apply any sums
   paid, by Guarantor to any portion of the Loan in Lender's sole and absolute
                                                                               discretion.

    i     (e)     If acceleration of the time for payment of any amount payable by Borrowe
                                                                                           r under
   the Note, the Loan Agreement, or any other Loan Document is stayed
                                                                          or delayed by any law or
   tribunal, all such amounts shall nonetheless be payable by Guarantor on demand
                                                                                        by Lender.

          (0      Guarantor hereby waives and agrees not to assert or take advantage of
                                                                                                 (i) any-
   right or claim of right to cause a .marshalling of any of Borrower's assets
                                                                                    or the assets of any




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          other party now or hereafter held as security for the
                                                                      Indebtedness; (It) the defense of laches In
    •     any ac tion hereunder or for the payment of the Indebt
                                                                      edness and performance of any obligation
          hereby guaranteed; (Hi) any defense that may arise
                                                                   by reason of the incapacity, lack of authority,
          death or disability of Guarantor, any other guarantor
                                                                        of the Loan, or Borrower or any other
          person or entity, or the voluntary or involuntary
                                                                dissolution of Borrower, or the failure of Lende
                                                                                                                      r
          to file or enforce a claim against the estate (either in
                                                                       administration, bankruptcy, or any other
          proceeding) of Borrower or any other person or entity;
                                                               (iv) any defense based on the failure of
         Lender to give notice of the existence, creatio
                                                          n, or incurring of any new ox additional
         indebtedness or obligation, or of any action or
                                                          nonaction on the part of any other person
         whomsoever, or any modification of the terms of
                                                         the Loan Documents, or the Indebtedness, in
         connection with any obligation, hereby guaran
                                                           teed; (v) any defease based upon an election
                                                                                                                 of
         remedies by Lender which destroys or otherwise impair
                                                                       s any subrogation rights of Guarantor or
         any other guarantor of the Loan or the right of
                                                                Guarantor to proceed against Borrower or any
         other guarantor for reimbursement, or both; (vi)
                                                                  any defense based upon failure of Lender to
         commence an action against Borrower; (vii) any
                                                                defense based upon acceptance of tins Guaranty
         by Lender: (viii) any defense based upon the invalid
                                                                     ity or unenforceability of any of the Loan
         Documents; (ix) any defense based upon any comple
                                                                    te or partial release of liability contained in
         any of the Loan Documents; (x) any defense
                                                         based upon any transfer by Borrower of all or
                                                                                                               any
         part, of the collateral for the Loan; (xi) any defens
                                                                 e based upon the failure of Lender to perfect
         any security or to extend, or renew the perfection
                                                           of any security; and (xii) any other legal or
         equitable defenses whatsoever to which Guarantor might
                                                                otherwise be entitled.

                 Section 5 .    Subordination.

                If, for any reason whatsoever. Borrower is now
                                                               or hereafter becomes indebted to
         Guarantor:


                (a)      such indebtedness and all interest thereon and
                                                                        all liens, security interests and
        rights now or hereafter existing with respect to proper
                                                                     ty of Borrower securing such indebtedness
        shall, at all limes, be subordinate in all respects
                                                                to the Guaranteed Obligations and to all liens,
        security interests and rights now or hereafter existin
                                                                 g to secure the Guaranteed Obligations;

                (b)     Guarantor shall not be entitled to enforce or
                                                                        receive payment, directly or
        indirectly, of any such indebtedness of Borrower
                                                         to Guarantor until the Guaranteed Obligations
        have been fully and finally paid and performed;


                (c)     Guarantor hereby assigns and grants to Lende
                                                                     r a security interest in all such
        indebtedness and security therefor, if any, of Borrow
                                                              er to Guarantor now existing or hereafter
        arising, including any dividends and payments
                                                            pursuant to debtor relief or insolvency
        proceedings referred to below,      in the event of receivership, bankruptcy, reorga
                                                                                              nization,
        arrangement or other debtor relief or insolvency
                                                               proceedings involving Borrower as debtor,
        Lender shall have the right to prove its claim in
                                                          any such proceeding so as to establish its rights
.       hereunder and shall have the right to receive directl
                                                              y from the receiver, trustee or other custodian
        (whether or not an Event of Default shall have occurr
                                                                 ed or be continuing under any of the Loan
        Documents), dividends and payments that are
                                                           payable upon any obligation of Borrower to
        Guarantor now existing or hereafter arising,
                                                        and to have all benefits of any security therefo
                                                                                                         r.




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      until the Guaranteed
                           Obligations have          been fully and fin
     notwithstanding, the                                                  ally paid and perfo
                               foregoing provisions.                                              rmed.    If,
     distribution that is pro                          Guarantor should rec
                                hibited as provided                           eive any payment, cla
                                                    ab ove in this Section, Guara                      im  or
     Lender immediately.                                                          ntor shall pay the sam
                                Guarantor hereby ag                                                      e to
                                                     reeing that it shall
     distribution .in. trust for                                            receive the paymen
                                  Lender and shall hav                                            t claim or
     pay it immediately                                e absolutely no domi
                           to Lender; and                                     nion over the same exc
                                                                                                       ept to

             (d)    Guarantor shall promp
                                             tly upon request of Le
    documents and perfo                                              nder from time to tim
                          rm such acts as Lend                                              e execute such
    interest and to perm                           er may reasonably req
                         it or facilitate exercis                         uire to evidence and
                                                  e of its rights under                         perfect its
    and delivery of pro                                                 this Section, including
                        ofs of claim, furthe                                                     execution
                                                r assignments and se
    Lender of any promi                                               curity agreements,
                                                                                           and dellvepflo
                          ssory notes or other
    Guarantor.                                     instruments evidenc
                 All promissory no                                      ing indebtedness of
                                       tes, accou
                                               nts receivable ledge                           Borrower to
    hereafter held by Gu                                            rs or other- evidence
                            arantor, of obligatio                                          s, now or
    written notice thereo                     ns  of Borrower to Gu
                          n that the indebtedne                      arantor shall conta
                                                                                         in a Specific
    subject to the terms                        ss evidenced thereb
                         of this Guaranty.                          y is subordinated un
                                                                                           der and is

            Section 6.        Qffrer liability of Qffiff
                                                        aatpr y Spyrovy^.
           If Guarantor is or be
                                     comes liable, by en
   owing by Borrowe                                          dorsement or otherw
                         r to Lender other                                    ise, for any indebted
                                              than under this Gu                                       ness
   manner impaired or                                         aranty, such liabil
                        affected hereby, and                                      ity shall not be in
                                              the rights of Lender                                       any
   any and all other rig                                             hereunder shall be cu
                         hts that Lender ma                                                   mu  lative of
                                             y have against Guara
   indebted to Lender for                                            ntor. If Borrower is
                            any indebtedness oth                                             or becomes
                                                 er than or in excess
   any 'payment received                                                of the Guaranteed Ob
                          or recovery realized                                                  ligations,
  may be applied to suc                        up on such other indebted
                          h other indebtedness.                            ness of Borrower to
                                                  This Guaranty is ind                              Lender
  limited by) any other                                                  ependent of (and sh
                          guaranty now existi                                                  all  not be
  under this Guaranty                         ng  or hereafter given.
                       is in addition to any                             Further, Guarantor's
                                             and all other liability                              lia bility
  capacity to Lender.                                                Guarantor may have
                                                                                            in any other

          Section 7.      kend^r Am; Pfccfo
                                                     SWP <rf Information.
         This Guaranty is for
                                the benefit, of Lender
  event of an assignme                                  and Lender's successor
                        nt of the Guaranteed                                     s and assigns, and in
                                                Obligations, or any pa                                   the
  hereunder, to the exten                                              rt thereof, the rights
                          t applicable to the Gu                                              and benefits
 with such Guaranteed                             aranteed Obligations
                         Obligations. Guara                              so assigned, may be tra
                                               nto r waives notice of an                          nsferred
 Guaranteed Obligatio                                                     y transfer or assignme
                       ns or any part thereo                                                      nt of the
                                               f. Leader may sell or
 therein to one or more                                               offer to sell the Loan
                            assign
                                 ees or participants. Gu                                       or inte rests
 deliver any and all instru                                  arantor shall execute,
                           ments- reasonably reque                                    acknowledge and
 the extent, if any, sp                              ste d by Lender in connection
                         ecified in any such,                                         therewith, and to
participants) shall have                        assignment or participa
                          the same rights and bene                          tion, such assignee-(s)
                                                     fits with respect to the Lo                      or
persen(s) would have                                                             an Documents as such
                      if such personfs) were
assignee or participant                       Le nder hereunder. Lend
                          or prospective assignee                          er may disclose to any
                                                                                                   such
regulatory body havin                                  or participant, to Lend
                       g jurisdiction over Le                                   er's affiliates, to any
appropriate in Lender's                          nder and to any other
                           reasonable judgment, an                            parties as necessary or
obtains pertaining to                                  y information Lender no
                        the Guaranteed Obliga                                      w has or hereafter
                                                  tions, this Guaranty,
                                                                             or Guarantor, including



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      information regarding any security for the
                                                      Guaranteed Obligations or for this Guara
                                                                                                    nty, and/or
      credit or other information on Guarantor and/o
                                                          r any other person liable, directly or indirectly,
      any part of the Guaranteed Obligations.                                                                  for


             Section 8.         Binding Effect; Joint and Several Liability.


             This Guaranty is binding not only on Guara
                                                                 ntor, but also on Guarantor's heirs, personal
     representatives, successors and assigns.
                                                   If this Guaranty is signed by more than
                                                                                             one person, then
     all ol the obligations of Guarantor arisin
                                                    g hereunder shall be jointly and severally
                                                                                         binding on
     each of the undersigned, and their respe
                                              ctive heirs, personal representatives, succe
                                                                                           ssors and
     assigns, and the term "Guarantor" shall mean
                                                        all of such persons and each of them indivi
                                                                                                     dually.

            Section 9.         Governing- Law.

            The validity, enforcement, and interpretati
                                                        on of this Guaranty, shall for all purposes
    .governed by and construed in accordance with                                                     be
                                                    the laws of the State of Florida (exclusive
    conflict of laws principles) and applicable                                                    of its
                                                  United States federal law, and is intended
    performed in accordance with, and only to                                                     to  be
                                               the extent permitted by, such laws. All obliga
    Guarantor hereunder are payable and perfo                                                  tions  of
                                                rmable at the place or places where the Guara
    Obligations                                                                                   nteed
                 are payable and performable.


            Section 10.        invalidity of Pertain Provisions.

            If any provision of this Guaranty or the applic
                                                            ation thereof to any person or circumstance
    shall, for any reason and to any extent, be
                                                  declared to be invalid or unenforceable, neithe
    rema                                                                                           r the
          ining provisions of this Guaranty nor the
                                                    application of such provision to any other
    or circumstance shall be affected thereby,                                                   person
                                                and the remaining provisions of this Guara
    applicability of such provision to other                                                nty,  or the
                                             persons or circumstances, as applicable,
                                                                                       shall remain in
    effect and be enforceable to the maximum
                                               extent permitted by applicable law.   '

           Section 1 1 .      Costs and Expenses of Enforcement.

          Guarantor agrees to pay to Lender on dema
                                                    nd ail reasonable costs and expenses incurr
   by Lender in seeking to enforce Lender's                                                     ed
                                             rights and remedies under this Guaranty,
   court costs, costs                                                                   including
                           of alternative dispute resolution and
                                                                 reasonable attorneys' fees and costs,
   whether or not suit is filed or other proce
                                                  edings are initiated hereon. All such reaso
   and expenses incurred by Lender shall                                        nable costs
                                         constitute a portion of the Guaranteed
                                                                                Obligations
   hereunder, shall be subject to the provisions
                                                      hereof with respect to the Guaranteed Oblig
                                                                                                      ations
   and shall be payable by Guarantor within ten
                                                     (10) days of written demand by Lender.

          Section 12.        No Usurv,

          ft is not the intention of Leader or Guara
                                                              ntor to obligate Guarantor to pay intere
                                                                                             st in
   excess of that lawfully permitted to be paid
                                                 by Guarantor under applicable law. Should
   determined that any portion of the Guaranteed                                             it be
                                                      Obligations or any other amount payable
   Guarantor under this Guaranty constitutes intere                                             by
                                                    st in excess of the maximum amount of intere
                                                                                                 st




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 that Guarantor, in Guarantors capacity as guarantor, may lawfully he required to pay under
 applicable law, the obligation of Guarantor to pay such interest shall automat a ally be limited to
 the payment thereof in. the maximum, amount so permitted under applicable law. The provisions .
 of this Section shall override and control all other provisions of this Guaranty and of any other
 agreement between Guarantor and Lender.


        Section 1 3,   Representations. Warranties, and Covenants of Guarantor.

        Until the Guaranteed Obligations are paid and performed in lull and each and every term,
 covenant and condition of this Guaranty is fully performed, Guarantor hereby represents,               - •
 warrants, and covenants that: (a) Guarantor has a financial interest in Borrower and will derive,%,,
 material and substantial benefit, directly or indirectly, from the making of the Loan to Borrower
 and from the making of this Guaranty % Guarantor; (b) this Guaranty is valid, and Is binding
 upon and enforceable again,s! Guarantor; (c) Guarantor Is not, and the execution, delivery and
 performance* by Guarantor of this Guaranty will not cause Guarantor to be, in violation of or in
 default with respect to any law or in default (or at risk of acceleration of indebtedness) under any
 agreement or restriction by which Guarantor is bound or affected: (d) except as previously             __
 disclosed to Lender in writing, there is no litigation pe tiding or to the knowledge of < tuaranto
 threatened by or before any tribunal against or affecting Guarantor; (e) all financial statements
 and information heretofore furnished to Lender by Guarantor do, and all financial statements and
 information hereafter furnished to Lender by Guarantor will, fully and accurately. In all material
 aspects, present the condition (financial or otherwise) of Guarantor as of their dates and the
 results of Guarantor's operations for the periods therein specified, and, since the date of the most
 recent financial statements of Guarantor heretofore furnished to Lender, no material adverse
 change has occurred in. the financial condition of Guarantor, nor, except as heretofore disclosed
 in writing to Lender, has Guarantor incurred any material liability, direct or indirect, fixed or
 contingent; (f) after giving effect to this Guaranty, Guarantor is solvent, is not engaged or about
 to engage in business or a transaction for which the property of Guarantor is an unreasonably
 small capital, and does not intend to incur or believe that if will incur debts that will be beyond
 its ability to pay as such debts mature; (g) Guarantor has read and fully understands the
 provisions contained in the Note, the Loan Agreement, the Mortgage, the Environmental
 Indemnity Agreement and the other Loan Documents. No Loan Documents or other document,
 certificate or statement (including, without limitation, any financial statements provided to
 Lender by Guarantor) furnished, to Lender by or on behalf of Guarantor contains any untrue
 statement of a material fact or omits to state a material feet necessary m order to make the
 statements contained herein and therein not misleading. Guarantor acknowledges that all. such
 statements, representations and warranties shall be deemed to have been relied upon by Lender
 as 'an inducement to make the Loan to Borrower. Guarantor's representations, warranties and
 covenants are a material inducement to Lender to enter into the other Loan Documents shall
 survive the execution hereof and any bankruptcy, foreclosure* transfer of security or other event
  affecting Borrower, Guarantor, any other party, or any security for all or any part of the
 Guaranteed Obligations.




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             Section 14.       Notices.


            All notices front tbe Guarantor to Lender and Lender to Guarant
                                                                             or required or permitted
     by any provision of this Guaranty shall be in writing and sent by
                                                                         certified mail or nationally
     recognized overnight delivery service or hand-delivered. All
                                                                     notices to Guarantor shall be
     sufficiently given if mailed or delivered to Guarantor's address shown above,
                                                                                       and all notices to
     Lender, shall be mailed arid delivered to Lender at the address
                                                                        shown above, or such other
     address as Lender may specify in writing from time to time.
                                                                      Any notice required under this
     Guaranty shall be given in writing, and shall be effective when
                                                                        actually delivered or one (})
     business day after deposit with a nationally recognized overnigh
                                                                         t courier or, if mailed, five
     business days after deposit In the United States mail Any party
                                                                          may designate a change of
     address by written notice to the other party, received by such other
                                                                           party at least ten (10) days
     he tore such change of address is to becoi     >

            Section- 1 5 ..   Cumulative Rights.

            AH of the rights and remedies of Lender under this Guarant
                                                                       y and the other Loan
     Documents are cumulative of each other and of any and all other
                                                                         rights at law or in equity, and
     the exercise by Lender of any one or more of such rights and
                                                                       remedies shall not preclude the
     simultaneous or later exercise by Lender of any or all such other rights
                                                                                and remedies. No single
    or partial exercise of any right or remedy shall exhaust it
                                                                      or preclude any other or further
    exercise thereof, and every right and remedy may be exercised at
                                                                         any time and from time to time.
    No failure by Lender to exercise, nor delay in exercising, any
                                                                      right or remedy shall operate as a
    waiver of such right or remedy or as a waiver of any Event of Default.
                                                                                 No notice to or demand
    on Guarantor in any case shall of itself entitle Guarantor to any
                                                                       other or further notice or demand
    in similar or other circumstances. No provision of litis Guarant
                                                                           y or any right or remedy of
    Lender with respect hereto, or any default or breach, can he waived,
                                                                                nor can this Guaranty or
    Guarantor be released or discharged in any way or to any extent
                                                                         except specifically in each case
    by a writing intended for that purpose (and which refers specific
                                                                         ally to this Guaranty) executed
    and delivered by Lender to Guarantor.


           Section 16,        Term of Guaranty.


            This Guaranty shall continue in effect until all the Guaranteed Obligati
                                                                                     ons and all of the
    obligations of Guarantor to Lender under this Guaranty are fully
                                                                      and finally paid, performed and
    discharged and are not subject to any bankruptcy preference period
                                                                         or any other disgorgement.

           Section 17.        Subrogation.


            Guarantor shall not have any right of subrogation under any of
                                                                            the Loan Documents or
    any  right to participate in any security for foe Guaranteed Obligati
                                                                              ons or any right to
    reimbursement, exoneration, contribution, indemnification or
                                                                     any similar rights, until the
    Guaranteed Obligations have been fully and finally paid,
                                                                    performed and discharged in
.   accordance with Section 16 above, and Guarantor hereby waives
                                                                   all of such rights.




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               Section 18,      No Transfer of Assets.

                Guarantor glial! not, during the term of the Loan, transfer any material, portion of his
        assets unless such transfer is in the ordinary course of Guarantor's business, for fair market value
        anci such fair market value is given to Guarantor, in Ms sole name, and such transfer will not
       have a materia! adverse effect on the financial condition of Guarantor and/or .his ability to
       perform his obligations hereunder, as determined by Lender in its sole and absolute discretion.


               Section 19.      Event of Default,

               If any of the following events occur, an event of default ("Event of Default") under this
       Guaranty* shall exist:      (a) failure of timely payment or performance of the Guaranteed.
       Obligations or a default or event of default under any Loan Document (as such terms are defined,
       in the Loan Document); (b) a bread! of any agreement or representation contained or referred to
       in the Guaranty, or any of the f     t Documents* or contained in mt
                                                                         any other contract or agreement
       of Guarantor with Lender or its affiliates, whether now existing or hereafter arising; (e) the death
       of. the incompetence of, appointment of            guardian, for, appointment of a receiver a for.
       assignment for the benefit of creditors of, or the commencement of any insolvency or bankruptcy,
       proceeding by. or against. Guarantor; and (d) Lender determines in good, faith, in its sole
       discretion, that the prospects for payment or performance of the Guaranteed Obligations are
       impaired or a material adverse change has occurred in the business or prospects of Borrower or
       Guarantor, financial or otherwise.                                                                -

               Section 2 1 .    limg.MEssracg.


               Time shall be of the essence in this Guaranty with respect to all of Guarantor's
       obligations hereunder.


               Section 22.      Entire Agreement: Construction.

               •This Guaranty embodies the entire agreement between Lender and Guarantor with
       respect to the guaranty by Guarantor of the Guaranteed Obligations. This Guaranty supersedes
       all prior agreements and understandings, if any, with respect to the guaranty by Guarantor of the
       Guaranteed Obligations. This Guaranty shall be effective upon execution by Guarantor and
       delivery to Lender..    This Guaranty may not be modified, amended or superseded except in a
       writing signed by Lender and Guarantor referencing this Guaranty by its date and specifically
       identifying the portions hereof that are to be modified, amended or superseded. As used herein,
       the words "include" and Including" shall be interpreted as if followed by the words "without
       limitation,"    •                                           .

   f
              Section 23.       Forum.

               Guarantor hereby irrevocably submits generally and unconditionally for itself and 'in
       respect of its property to the jurisdiction of any state court or any United States federal, court
       sitting in Miami-Dade County. Florida. Guarantor hereby irrevocably wai ves, to the fullest
    extent permitted by law, any objection that Guarantor may now or hereafter have to the laying of




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     venue in any such court and any claim that any
                                                           suck court is an inconvenient forum.   Nothing
     contained herein shall, however, prevent Lender
                                                             from bringing any action or exercising any
     rights in the Courts of the State of Florida sitting in
                                                             or for Broward County, Florida or the United
     States District Courts sitting in or for such Count
                                                                y and Guarantor irrevocably agrees and
     consents to such venue and jurisdiction and expressly
                                                                 waives any objections as to venue and
     jurisdiction in any such courts.   Guarantor hereby agrees and consents that, in additio
                                                                                                  n to any
     methods of service of process provided for under applica
                                                                   ble law, all service of process in any
     such. suit, action or proceeding in any state court
                                                         or any United States federal court sitting in the
     state specified in the governing law section, of
                                                          this Guaranty may. be made by certified or
     registered mail, return receipt requested, directed
                                                         to Guarantor at its address for notice set forth
     m this Guaranty, or at a subsequent address of which
                                                          Lender received actual notice from.
     Guarantor in accordance with the notice section
                                                       of this Guaranty, and sendee so made shall be
     complete five (5) days after the same shall have
                                                      been, so mailed. Nothing herein, shall affect the
     rigid of Leader to serve process in any manner permit
                                                             ted by law or limit the right, of Lender to
     bring proceedings against Guarantor in any other
                                                      court or jurisdiction.

            Section 24.     WAIVER OF JURY TRIAL.:


          GUARANTOR     HEREBY    KNOWINGLY,     VOLUNTARILY      AM)
     INTENTIONALLY WAIVES THE RIGHT ANY
                                        MAY HAVE TO A TRIAL BY JURY IN
     RESPECT OF ANY LITIGATION BASED
                                     HEREON OR ARISING OUT OF, UNDER
     OR IN CONNECTION WITH THIS GUAR
                                         ANTY AND ANY AGREEMENT
     CONTEMPLATED TO BE EXECUTED IN CONJ
                                         UNCTION HEREWITH, OR ANY
    COURSE OF CONDUCT, COURSE OF
                                     DEALING, STATEMENTS (WHETHER
    VERBAL- OR WRITTEN) OR ACTIONS OF
                                      ANY PARTY. THIS PROVISION IS A
    MATERIAL INDUCEMENT FOR LENDER
                                    ENTERING INTO THIS AGREEMENT.



                                 (CONTINUES ON THE FOLLOWING PAGE]                     .   .




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                 IN WITNESS WHEREOF, Guarantor has duly executed
                                                                 this Guaranty as of the date
        first written above.

        Witnesses;
                                                                           GUARANTOR:
                                                                           NUMA. M. PEREZ,, mdmduatty




       Print
                                          .w
                                                                          Nate       JTa



       Priiffmrne:                                    Gr5




       STATE OF FLORIDA             '                  '}
                                                       )SS:
       COUNTY OF MIAMI-DADE
                                                       )

                 The foregoing Guaranty was acknowledged before me
                                                                                       this   7     day of December,
       201 7, by Nubia M, Perez, individually as the Guaran
                                                                          tor, as her individual act. Nubia M. Perez is
       personally known to me or has produced a Hone                      Oft to ^ U\a>n3C as identification, and took
      an oath.




                                                               NOTARY TOBMC.                            ,
                     ^           Stephan Desroches             Print Name:                    ^roc
                                                                                                 Sftyk
                                                                                                   hc* m
                                   State of Florida
                                                               My Commission Expires:         OS/OS/ BjQI 0
                   \   y My Commission Expires 03/08
                              Commission No. FF 968971




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       Lender;
                                 VALLEY NATIONAL BANK
       narrower:                 A PLUS LAMINATION &
                                                                     FINISHING, INC.
       Guarantors;              FRANCISCO PEREZ; & NUB
       Transaction:                                           IA M. PEREZ
                                Note & Mortgage Modlfiea
                                                         tle® awl Extension Agreeme
                                                                                    nt


           G;LARANT0R, NUBIA M,
                                           PEREZ'S waiver of exe
                                                                               mption from garnishm
                                                                                                               ent

      IF YOU PROVIDE MORE
                                       THAN ONE-HALF OF THE
                                                    PORT FOR A CHILD OR      SUP
      DEPENDENT, ALL OR PAR                                             OTHER
                            T OF YOUR INCOME IS EXE
      UNDER FLORIDA LAW.                            MPT FROM GARNISHMENT
                          YOU CAN WAIVE THIS PRO
      DOCUMENT. BY SIGNIN                         TECTION ONLY BY SIGNIN
                          G BELOW, YOU AS BOR                            G THIS
                                              ROWER AGREE TO WA
      PROTECTION FROM GAR                                         IVE THE
                           NISHMENT.


     1 certify that I have read and unde
                                           rstood the notice above before
     referenced above, and agree to                                           signing the attached GUARAN
                                        waive the protection from Garnish                                   TY-
                                                                               ment"



     SignatraB^^fi^^E                  ;A MrlPpB?---
                                                                                        Date
     STATE OF FLORIDA
     COUNTY Of MIAMI-DADE


             The foregoing waiver was acknowle
                                                      dged before me this 7          day of December 2017. by NUBS A
    M.PEREZ, individually, who
                                      { ] is personally known to roe
                                                                        or who [ ] has produced his
      Ftmdq Mwm U ecu **                           as identification.


    (Sea!)
                 J**,          Stepban Desroches
                /•Ny*      Stats of Florida
                V Y My Commission Expires 03/08/2020                 Notary PuSfic
                           Commission No. FF 968971                  Print Nmm:*

    i have fully explained this docu
                                      ment to the Guarantor.


   VALLEY NATIONAL BAN
                                  K

   •B>L
   Name:
   Its:,
                                                                     Date:




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   IN THE COUNTY COURT IN AND FOR MIAMI-DADE COUNTY, FLORIDA


                                                      CASE NO: 20 1 8-8 1 87-CC-05 (04)


   BRIAN HOLLAND et al,
           Plaintiff,


   vs.




   APLUS LAMINATION &
   FINISHING, INC.,


           Defendant.



                        ORDER OF BANKRUPTCY STAY AND CLOSING CASE


           Based on a suggestion of bankruptcy, the cause is automatically STAYED. The action shall

   be administratively closed until further order of court. The parties are directed to advise the court in

   writing when the stay is lifted and the case is ready to proceed.

           DONE AND ORDERED in Chambers at Miami-Dad^CouMy, Florida on May 15, 2018.
                                                                   /




                                                            ALEXANDER S. BOKOR
                                                            County Court Judge


           THE CLERK IS ORDERED NOT TO                                       s\Gtt£°
          DESTROY FILE UNTIL FURTHER                                               0iy»
           ORDER OF THE COURT


   Copies furnished to all parties




                                                                                            Exhibit F
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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-ACJ

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

               LANDLORD’S MOTION TO DISMISS CHAPTER 11 BANKRUPTCY
                  PETITION FOR BAD FAITH AND FRAUD ON THE COURT
                     AND FOR RELIEF FROM THE AUTOMATIC STAY

            Brian Holland and Andrea Holland also known as Brian Holland 5561 Rent Account

   (“Landlord”) respectfully request that the Court dismiss Nubia Marcella Perez’s (“Debtor”)

   chapter 11 bankruptcy petition for bad faith and fraud on the court or in the alternative grant

   Landlord relief from the automatic stay, under 11 U.S.C. §362, to continue its state court eviction

   action.

       I.       Background.

            Debtor is the President of A Plus Lamination and Finishing Inc. (“Tenant”), which is an

   active Florida corporation. A printout from Sunbiz is attached as Exhibit “A.” Tenant entered a

   one-year commercial lease (“Lease”) with Landlord to rent property located at 5559 NW 36th

   Avenue Miami, Florida 33142 (“Property”). The Lease’s one-year term runs from August 1, 2017

   to July 31, 2018. A copy of the Lease is attached as Exhibit “B.”

             Tenant agreed to pay $8,666.67 in monthly rent, plus sales tax, water, and fees to lease the

   Property. See Ex. B. Tenant defaulted on the Lease by failing to make the March 1, 2018 rent

   payment and all subsequent payments. On April 13, 2018, Landlord initiated an eviction action


                                                             1
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   against Tenant in the County Court in and for Miami-Dade County, case number 2018-008187-

   CC-05 (“Eviction Action”).

          On May 10, 2018, Judge Alexander Boker ordered Tenant to deposit rent into the court

   registry (“Deposit Order”). A copy of the Deposit Order is attached as Exhibit “C.” Tenant was

   ordered to deposit funds as follows: (1) $9,000 by May 7, 2018; (2) $9,000 by May 14, 2018; (3)

   Tenant was ordered make additional timely deposits as additional rent became due; and (4)

   Tenant’s failure to make timely deposits constitutes “an absolute waiver of its defenses, other

   than payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final

   Judgment for Removal of Tenant and Writ of Possession to issue forthwith without the

   necessity of further hearing pursuant to Section 83.232, Florida Statutes.” See Ex. C (emphasis

   added). Landlord and Tenant were ordered to attend a mediation on May 15, 2018, after the timely

   deposit of Tenant’s May 14, 2018, $9,000 payment. Id.

          Tenant did not make the May 14, 2018, $9,000 deposit into the court registry, resulting in

   a waiver of its defenses and entitling Landlord to immediate default final judgment and writ of

   possession. A copy of the Eviction Action docket is attached as Exhibit “D.” On the day after

   missing this payment, Debtor, who is Tenant’s President, filed an individual chapter 11

   bankruptcy, but claimed to be a small business debtor that does business under Tenant’s name. A

   copy of the bankruptcy petition is attached as Exhibit “E.” This assertion made it appear that

   Tenant was filing bankruptcy, and on May 17, 2018, only three days after failing to make the

   second $9,000 deposit, the Eviction Action was stayed because of the pending bankruptcy. A copy

   of the bankruptcy stay order is attached as Exhibit “F.” As of the date of this motion, Tenant




                                                            2
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   retains possession of the Property, but has not made any payments to Landlord nor has Tenant

   made any additional deposits into the court registry.

       II.      Debtor’s bankruptcy petition is a bad faith filing and fraud on the court.

             Debtor filed the bankruptcy petition for the sole purpose of hindering Landlord’s Eviction

   Action. The Court has inherent authority to dismiss an action when a litigant has perpetuated a

   fraud on the court. In re Houston, 305 B.R. 111, 114 (Bankr. M.D. Fla. 2003) (“When a party lies

   about matters pertinent to his own claim, or a portion of it, and perpetrates a fraud, dismissal of

   the whole case is proper.”). Also, a chapter 11 bankruptcy action may be dismissed “for cause”

   under section 1112 of the Bankruptcy Code if the petition was not filed in good faith. In re Phoenix

   Piccadilly, Ltd., 849 F.2d 1393, 1394 (11th Cir. 1988); In re Nat. Land Corp., 825 F.2d 296, 297

   (11th Cir. 1987). In determining bad faith, “the courts may consider any factors which evidence

   ‘an intent to abuse the judicial process and the purposes of the reorganization provisions’ or, in

   particular, factors which evidence that the petition was filed ‘to delay or frustrate the legitimate

   efforts of secured creditors to enforce their rights.’” In re Phoenix Piccadilly, Ltd., 849 F.2d at

   1394 (citing In re Albany Partners, Ltd., 749 F.2d at 674).

             Courts have considered the following non-exclusive factors: (1) the debtor has only one

   asset; (2) debtor has few unsecured creditors whose claims are small in relation to the claims of

   the secured creditors; (3) debtor has few employees; (4) there is a pending foreclosure action (5)

   debtor’s financial problems involve a financial dispute between the debtor and the secured

   creditors, which can be resolved in the pending state court action; and (6) the timing of the debtor's

   filing evidences an intent to delay or frustrate the legitimate efforts of the debtor's secured creditors

   to enforce their rights. In re Phoenix Piccadilly, Ltd., 849 F.2d at 1394–95. “In determining the


                                                            3
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   existence of bad faith, all facts and circumstances of a case must be considered by the Court.” In

   re Indian Rocks Landscaping of Indian Rocks Beach, Inc. (“Indian Rock Landscaping”), 77 B.R.

   909, 911 (Bankr. M.D. Fla. 1987).

           For example, in Indian Rock Landscaping, the court found bad faith when debtor filed

   bankruptcy merely to forestall a state court eviction action. 77 B.R. at 911 (“of great importance

   in the determination of bad faith filing is the fact that the Debtor filed its Chapter 11 Petition merely

   to forestall and delay the state court eviction action and to gain the protection of the automatic

   stay.”). In making this decision, the Indian Rock Landscaping court considered the fact that the

   hearing on the eviction action was set for April 15, 1987 at 9:45 a.m. and debtor, seeking to avoid

   that hearing, filed its bankruptcy petition at 9:08 a.m. on the same day as the hearing. Id. Similarly,

   the court found bad faith when bankruptcy was initiated to prevent an entity from exercising its

   option to purchase real property. In re Panache Dev. Co., Inc., 123 B.R. 929, 932 (Bankr. S.D. Fla.

   1991) (noting that the timing of the filing and the misstatements in the bankruptcy schedules

   evidence “motives [that] are a specific abuse of the Bankruptcy Court system.”).

           Debtor filed a personal chapter 11 bankruptcy only one day after Tenant violated the State

   Court’s order directing it to deposit $9,000 into the court registry, resulting in a waiver of Tenant’s

   defenses and entitling Landlord to immediate default final judgment and writ of possession. Tenant

   is not the Debtor in this bankruptcy proceeding, but Debtor, who is Tenant’s President, claims to

   be filing bankruptcy as a small business debtor that does business under Tenant’s name. Tenant is

   an active Florida corporation, and “[a] general principle of corporate law is that a corporation is a

   separate legal entity, distinct from the persons comprising them.” Gasparini v. Pordomingo, 972

   So. 2d 1053, 1055 (Fla. 3d DCA 2008). Debtor’s intentional misstatements in the chapter 11


                                                            4
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   petition resulted in a stay of the Eviction Action. Debtor’s intentional misstatements and the timing

   of this bankruptcy filing evidences bad faith and fraud on the court. Thus, the Court should dismiss

   Debtor’s bankruptcy petition and either ban a future bankruptcy filing by Tenant or rule that

   Landlord’s Eviction Action will not be subject to an automatic stay if Tenant files a future

   bankruptcy.

      III.      Landlord is entitled to relief from the automatic stay.

             In the alternative, Landlord requests relief from the automatic stay, so it can conclude the

   Eviction Action. An automatic stay may be terminated for “cause” pursuant to section 362(d)(1)

   of the Bankruptcy Code if a petition was filed in bad faith. In re Phoenix Piccadilly, Ltd., 849 F.2d

   at 1394. The Court’s “bad faith” analysis for granting relief from the automatic stay is identical to

   the analysis for dismissal of a bad faith filing. Id. (“what amounts to bad faith is the same for both

   proceedings”). The In re Phoenix Piccadilly, Ltd. court found bad faith when evidence showed

   that debtor’s bankruptcy petition was filed to forestall a pending foreclosure proceeding. Id.

             As discussed above, Debtor filed this bankruptcy petition and made intentional

   misstatements for the sole purpose of obtaining a stay of the Eviction Action. Debtor’s petition

   was filed after Tenant failed to comply with the Deposit Order, and in a frantic attempt to stop

   Landlord from exercising its right to obtain immediate default final judgment and writ of

   possession. Moreover, Tenant is not the Debtor in this bankruptcy proceeding, although Debtor’s

   misstatements make it appear as if Tenant is filing bankruptcy. Debtor’s misstatements resulted in

   an improper stay of the Eviction Action. The Court should grant Landlord relief from the automatic

   stay due to Debtors bad faith, allowing Landlord to proceed with the Eviction Action.




                                                            5
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      IV.      Conclusion.

            Debtor’s bankruptcy petition was filed in bad faith and constitutes a fraud on this Court.

   Thus, Landlord is entitled to dismissal of the bankruptcy petition or, in the alternative, relief from

   the automatic stay. Landlord also requests that the Court bar Tenant from filing a future bankruptcy

   petition or issue an order excluding Landlord’s Eviction Action from an automatic stay if Tenant

   files a future bankruptcy.

            Dated: May 30, 2018.

                                                         s/ Peter D. Russin
                                                        Peter D. Russin, Esquire
                                                        Florida Bar No. 765902
                                                        prussin@meladnrussin.com
                                                        Utibe I. Ikpe, Esq.
                                                        Florida Bar Number: 90301
                                                        uikpe@melandrussin.com
                                                        MELAND RUSSIN & BUDWICK, P.A.
                                                        3200 Southeast Financial Center
                                                        200 South Biscayne Boulevard
                                                        Miami, Florida 33131
                                                        Telephone: (305) 358-6363
                                                        Telecopy: (305) 358-1221

                                                        Attorneys for Brian Holland and Andrea Holland




                                                            6
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                                          CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a true and correct copy of the foregoing was served on May

   29, 2018, via the Court’s Notice of Electronic Filing upon registered Users listed on the attached

   hereto as Exhibit 1 and via Regular U.S. Mail on all parties listed on the Court’s Matrix attached

   hereto as Exhibit 2.

                                                        s/ Peter D. Russin
                                                        Peter D. Russin, Esquire




                                                            7
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Mailing Information for Case 18-15825-AJC
Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for this
case.

    • Thomas G Neusom tgnoffice34@gmail.com
    • Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov




                                                                                           Exhibit 1
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Label Matrix for local noticing     Actega North America645
                                                         Inc          Brian Holland
113C-1                               26537 Network Place              13105 NW Le Jeune Rd
Case 18-15825-AJC                    Chicago, IL 60673-1265           Opa Locka, FL 33054-4435
Southern District of Florida
Miami
Wed May 30 13:40:34 EDT 2018
Capital One Bank                     Cosmo Claim 2018                 D & K International Inc
POB 71083                            Rosenfeld Stein Batta, PA        Ryan E Sprechman
Charlotte, NC 28272-1083             21490 West Dixie Hwy             2775 Sunny Isle Blvd #100
                                     Aventura, FL 33180-1144          Miami, FL 33160-4078


Distrigraph Inc                      Francisco Gabriel Perez Loan     Internal Revenue Service
Gabriel Fernandez                    3845 Sw 149th Pl                 POB 80110
5248 SW 93rd Ave                     Miami, FL 33185-3931             Cincinnati, OH 45280-0110
Cooper City, FL 33328-4225


Matt D Goldman Trust                 Miami-Dade County Tax            Noelus LLC
Account                              Collector                        POB 639027
7190 SW 100 St                       140 West Flagler St              Cincinnati, OH 45263-9027
Miami, FL 33156-3069                 14th Floor
                                     Miami, FL 33130-1561

Nubia Perez Loans                    Office of the US Trustee         SANTANDER CONSUMER USA
5559 NW 36th Ave                     51 S.W. 1st Ave.                 P.O. Box 560284
Miami, FL 33142-2709                 Suite 1204                       Dallas, TX 75356-0284
                                     Miami, FL 33130-1614


Santander Consumer USA               Transilwrap Company Inc          Universal Pressroom
POB 660633                           9201 W Belmont Ave               Productsa LLC
Dallas, TX 75266-0633                Franklin Park, IL 60131-2842     POB 1697
                                                                      Woodstock, GA 30188-1366


Valley National Bank -2625           Valley National Bank Loan        Vencol
Newtex Small Business                2198 Small Street                8209 NW 70th St
Finance, LLC                         POB 952                          Miami, FL 33166-2743
POB 2006                             Wayne, NJ 07474-0952
Hicksville, NY 11802-2006

Nubia Marcella Perez                 Thomas G Neusom
5559 NW 36 Ave                       4737 N. Ocean Drive, #129
Miami, FL 33142-2709                 Fort Lauderdale, FL 33308-2920




                                                                                 Exhibit 2
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 Honda Department of State                                                                                          Division ot: Corporations




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      Department of Stale    / Division ot Corporations   / Search Records   / Detail By Document Number /




         Detail by Entity Name
         Florida Profit Corporation

         A PLUS LAMINATION & FINISHING, INC,

         Filing Information

         Document Number                       P060001 54680

         FEI/EIN Number                        XX-XXXXXXX

         Date Filed                            12/18/2006

         State                                 FL

         Status                                ACTIVE

         Last Event                            REINSTATEMENT

         Event Date Filed                      09/29/2010

         Principal Address

         5559 NW36TH AVENUE
         MIAMI, FL 33142



         Changed: 10/02/2007

         Mailing Address

         5559 NW36TH AVENUE
         MIAMI, FL 33142



         Changed: 10/02/2007

         Registered Agent Name & Address

         PEREZ, NUBIA M

         5559 NW 36TH AVENUE
         MIAMI, FL 33142



         Address Changed: 10/02/2007

         Officer/Director Detail

         Name & Address


         Title PRESIDENT


         PEREZ, NUBIA M

         5559 NW36TH AVENUE
         MIAMI, FL 33142



         Annual Reports

          Report Year               Filed Date




http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype-Entity...                                     5/30/2018
                                                                                                                    Exhibit A
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      2016                      03/22/2016

      2017                      02/24/2017

      2018                      03/26/2018



      Document Images


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      02/05/2009 - ANNUAL REPOR            View image in PDF format


      01/09/2008 - ANNUAL REPOR            View image in PDF format


      10/02/2007 •••• RFiNS'l A i FMF NT   View image in PDF formal


      12/18/2006 -• Domestic Profit        View image in PDF formal




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 RENT: S 8.666.67                                                   FOLIO #         BH 5561                        BAY: 5559 NW 36th AVENUE
 TAX:     S 606.67                                                                                                 TERMS: 08/01/2017-07/31/2018
 WATER: TENANT PAYS                                                                                                YEARS : (HONE YEARS
 TRASH: TENANT PAYS                                                                                                NEW            RENEWAL             X
 SEC. SERV. TENANT PAYS                                                                                            SECURITY : S 17.333.34
 TOTAL: $9.273.34                                                BUSINESS LEASE                                    OTHER:

 THIS AGREEMENT, entered into this           iST   day of AUGUST. 2017           between     BRIAN HOLLAND AND ANDREA HOLLAND a.k.a BRIAN
HOLLAND 5561 RENT ACCOUNT hereinafter called the "LESSOR", party of the first part, and APLUS LAMINATION & FINISHING. LESSEE" or
tenant, party of the second part, in the County of DADE and State of FLORIDA :

That the Lessor, for and in consideration of the rents herein reserved to be paid by the Lessee, for and in consideration of the covenants to be kept and
performed by the Lessee does hereby lease, let and demise unto the Lessee, the following described property located at:
  5559 NW 36™ AVENUE. MIAMI, FL 33142

ACCEPTANCE OF                    1 . The Lessee in consideration of the demise of said property by the Lessor, and for the further considerations herein set
DEMISE BY LESSEE:               has rented, leased and hired, and does hereby rent, lease and hire the said property for the Lessor, on the terms and conditions
                                hereinafter stated. Sq. Footage occupied +/- I6.00Q Sq. Feet.

DURATION OF                     2. The Primary Term and duration of this Lease shall be for a period of            ( I) ONE YEARS         . commencing
TERM:                              1st   dav of AUGUST. 2017 and terminating dre 31st               day of JULY. 2017

AMOUNT OF RENT                  3. The Lessee shall pay unto the Lessor the minimum rent for the full Term of this Lease the total rental in the sum of
MANNER OF PAYMENT:               ONE HUNDRED FOUR THOUSAND DOLLARS                                                    Q4/1QQ--(S 104.000.041

MONIES REQUIRED                 S9.273.34 on signing of this Lease, receipt in which is hereby acknowledged, to be applied as follows:
TO MOVE IN                      S 8.666.67 as rent in advance for the period of 08/01/2017 to 08/31/2017 , and S 606.67 for Sales Tax, TENANT PAYS
                                for Water, TENANT PAYS FOR Trash and TENANT PAYS FOR Security Service; plus 7% Sales Tax.
                                 The balance of the rent shall be payable as follows:

Is'   YEAR                      AUGUST 1. 2017 THRU JULY 31. 2018 the rent will be S 8.666.67 per month; payable on the 1st dav of each month until
                                entire rental is paid, plus Florida Sales Tax. If the rent is not paid by the first day of any month, the rent for that month will be
                                S9.533.34 plus Florida Sales Tax.

      YEAR                                               the ront will bo S                 per month; payable on the 1st dav ofeach month until entire rental is paid.
                                plusFloridn Sales Tax. If the rent is not poid bv the first dav of any month, the rent for that month will bo S       plus Florida Sales


3Kt) YEAR                                               the rent will bo $                   per month; payable on the 1st day of each month until entire rental is paid,
                                plus Florida Sales Tax. If the rent is not paid bv die first day of any month, the rent for that month will be &    plus Florida Sales


4™ YEAR                                                 the ront will be S                   per month; payable on tho 1st day ofeach month until entire rental is paid.
                                plus Florida Sales Tax. If the rent is not paid bv the first day of any mouth, the rent for that month will bo S   plus Florida Sales
                                Te*r

5* YEAR                                                 the rent will be S_                  per month; payable on the I st day ofeach month until entire rental is paid,
                                plus Florida Sales Tax. If the rent is not paid bv die first dav of any month, the rent for that month will be S    plus Florida Sales
                                Tejtr

AMOUNT OF SECURITY              4. Simultaneously with the execution of this Lease, the Lessee shall deposit with the Lessor the sum of
MANNER OF PAYMENT:                     SEVENTEEN THOUSAND THREE HUNDRED THIRTY THREE DOLLARS AND 34/100                                            (S 17.333.341
                                receipt of which said sum is hereby acknowledged by the Lessor, as a security deposit to guarantee the full and faithful
                                performance of ail the terms, conditions and obligations to be performed by the Lessee under the terms of this Lease; same to be
                                returned upon the expiration of this Lease after all cost of returning the premises to there original condition, reasonable wear and
                                tear excepted, thereafter it shall be applied to all remaining obligations including but not limited to, rent in arrears, this deposit
                                does not relieve the Lessee of his obligations to pay each and every payment when due hereunder. The Lessor may demand
                                additional security during the term of this lease, should it be deemed necessary in order lo guarantee that die premises shall be
                                restored to the original condition. ***ADDITIONAL DEPOSIT OF S2.000.00 REQUIRED ***

                                A. Lessee's security must always equal TWO (2) months rent or more on all lease increases and renewalsi

ADDITIONAL PAYMENT             5. Lessee shall pay all occupational licenses, and other licenses, which are necessary in the operation of the business to be
REQUIREMENTS:                  carried on in the demised premises. All utility services which may be provided to the premises, including but not limited to: water,
                               gas, electric, telephone, as they from time to time shall accrue and be due and payable. Lessee will be required to have garbage
                               senice pickup. Lessee shall pay all Sales and Use Taxes due as a result of business conducted on the premises, and Personal
                               Property Taxes assessed against the personality situate thereon.

ADDITIONAL                     6. PAYMENTS ARE TO BE MADE PAYABLE TO: BRIAN HOLLAND 5561 RENT ACCOUNT
AGREEMENTS:                        Located at: 1 3 1 05 NW LE JEUNE ROAD. OPA LOCKA. FLORIDA 33054


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                                                                                                                                        Exhibit B
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USF. AND            7. THE LESSEE SHALL USE AND OCCUPY THE PREMISES FOR PA1NT.FIN1SH1NG.DYE & CUT OF
OCCUPANCY:                 LAMINATION and tor rio other purpose.


REAL ESTATE         8. Real Estate taxes for the year 2007          assessed against the building will he paid by the lessor and said year will be
PROPERTY TAX:       considered the base year in any succeeding year. Any increases ih taxes over (he base year's taxes will be paid proportionately by
                    all the Lessee's of the building in the proportion that their respective premises bear to the total leased premises. Lessee shall pay to
                    the lessor his proportional increase within 1 5 days after the Lessor notifies the Lessee that the real estate taxes have been paid by
                    the Lessor.


INSURANCE:          9. Ixjssee covenants to provide on or before the commencement of this lease at lessee's expense; comprehensive genera! liability
                    insurance relating to lessees premises on an occurrence basis with minimum limits of liability in an amount rio less than
                    5500,000.00 for bodily injury, personal injur)- or death to any one person. S 1 ,000,000.00 for bodily injur)-, personal injur)- or
                    death to more than one person, and S 100,000.00 with respect to damage to property by water or otherwise; and fire and extended
                    coverage, vandalism, and special extended coverage in an amount adequate to cover the cost or replacement of all improvements
                    in the premises as well as the cost of all fixtures and contents therein. The above coverages must be maintained in force at all
                    times. All of die aforesaid insurance shall be issued in the name of Lessor and Lessee. In the event ofpayment of any loss covered
                    by such policy, Lessor shall be paid first by Ihe insurance company for its loss. Lessee accepts all liability lor the interior and
                    exterior of the occupied space and surrounding area. If lessee cannot show proof of insurance. Lessee shall indemnify and hold
                    harmless the Owner, their Agents and Employees from and against all claims, damages losses and expenses, including attorney
                    fees arising from or resulting from the occupancy of the premises.

EXTENSIVE           ! 0. In the event that the premises shall be destroyed by fire or other casualty, whereby the premises shall be rendered
DAMAGED:            untenantable, then the Lessor shall have the option to render said premises tcnantablc by repairs within one hundred eighty days
                    therefrom. If the premises are not rendered tenantable within said period, Lessee may cancel this lease by notice in writing to
                    Lessor within ten days of the expiration of said one hundred eighty days period. In the event of cancellation the rent shall be paid
                    only to the date of such cancellation. Under no circumstances shall Lessor be responsible to Lessee for any damage occasioned by
                    the inability of Lessee to use the premises during any period that the same shall be destroyed or damaged or injured by fire or
                    other casualty. Except to the extent, specifically set forth herein, none of the rent payable by Lessee or any of Lessee's obligations
                    hereunder, shall be affected by any damage to or destruction of the premises by any cause whatsoever, and Lessee hereby
                    specificaily waives any and all additional rights it may otherwise have under any law or statue.

DAMAGE             i 1 . Lessor will not be liable or responsible for any damage or loss, either to person or property sustained by Lessee or by
AND LOSS:           other pctsons, due to the building or any part thereof becoming defective or out of repair due to any accident in or about the
                    premises or due to the act or neglect of any Lessee or occupant of the building. This provision shall apply particularly, but not
                    exclusively, to damage or loss to Lessee's merchandise, equipment, inventory, fixtures or other personal property and to Lessee's
                    business, caused by water, roof leakage, odors, bursting or leaking of pipes or plumbing, wind, rain, hurricane, acts of God or
                    other casuaities, or caused by any defect, latent or otherwise in any structure, equipment, pipe, wires or otherwise, comprising all
                    or part of the premises- or the building of which the premises are a part, and shall apply equally, whether such damage is caused by
                    the act or neglect of other tenants, occupants of the building or any other person, and whether such damage be caused or
                    occasioned by any circumstances above mentioned, or by any other thing or circumstances whether of a like or wholly different
                    nature. If any such damage is caused by the act or neglect of Lessee, Lessor may at its option, repair such damage, whether caused
                    to the building or tenants thereof, and Lessee agrees to reimburse Lessor ior cost of 9ueii repair, which shall be at Lessor's actual
                    cost plus twenty percent (20%) overhead and administration fee. All personal property upon the premises shall be at the risk of
                    Lessee, and Lessor shall not be liable for any damage thereto or theft thereof. Lessor shall not be liable for damages or repairs
                    resulting from the stoppage or interruption of water, light, heat, janitor or elevators service caused by riot, strike, accident, or any
                    cause over which Lessor has no control, nor shall Lessor be liable for any act or neglect of janitors or other employees not
                    authorized by Lessor, nor shall any such failure, delay or default of janitors or employees be construed or considered as an actual
                    or constructive eviction of lessee, nor shall it in any way operate to release Lessee from performance of the covenants herein
                    agreed to be performed by Lessee. In the event that Lessor is required to make repairs to the premises following the termination
                    (natural or premature) of this Lease, lessee shall be responsible for the cost of said repairs and for rent for the period of time
                    required to complete such repairs on a per diem basis calculated by the rental rate then in effect, all of which sums may be
                    claimed against Lessee's security deposit in accordance with the provisions of Chapter 83, Florida Statutes.

INDEMNIFICATION:    12. Lessee shall indemnify and save Lessor harmless from and against any and all claims, demands, suits, actions, damages,
                    liability and expense, including attorney's fees, for or in connection with any accident, injury or damage whatsoever caused to any
                    person or property arising, directly or indirectly out of the Lessee's tenancy hereunder, or occurring in, on or about the premises or
                    a tiy part thereof, on the sidewalks adjoining the same and any common areas and facilities within nor appurtenant to the premises

                    or arising directly or indirectly from any act or omission of Lessee, its agents, contractors, employees, servants, invites, licenses,
                    or subtenant, acts of God or otherwise Lessee shall within five days thereof give notice in writing to Lessor of any fall or other
                    accident in any fixtures' or equipment thereon. The comprehensive general liability insurance coverage maintained by Lessee
                    pursuant to this lease shall specifically insure the contractual obligation of Lessee as set forth in this paragraph.

MAINTENANCE OF      13. Lessee shall maintain all of the electric, electrical fixtures, air conditioning, "plumbing, plumbing fixtures, exhaust fans,
THE PREMISES:       concrete floors, carpeting, tile, entry and overhead garage doors, locks, fire sprinklers, roof, interior walls, interior paint, windows,
                    paved area and landscaping in front of die premises, and sewer stoppages. All of the aforesaid items shall apply regardless of
                    ownership. Lessee shall be solely responsible for the payment of repairs to maintain all of the above items and shall replace any


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                  item beyond repair, to the satisfaction of the lessor; and lessee will have ten days from date of notice to make such repairs. Lessor
                  has the right to increase the security or cleanup any damage caused by glue or any other material at the expense of Lessee, which
                  shall be at Lessor's actual cost plus twenty percent (20%) overhead and administration fee.


 IMPROVEMENTS.    1 4. On the last day of this lease, Lessee shall quit and surrender the premises, together with all of the fixtures, alterations,
 ALTERATIONS,     additions and improvements which may have been made in, on. or to the premises, except movable furniture, or unattached
 FIXTURES, AND    movable trade fixtures. Lessee shall broom clean, in as good condition and repair as the premises were in at the beginning
 EQUIPMENT        of the term of this lease, reasonable wear and tear accepted. All the air conditioning and other mechanical equipment of
                  evety nature, must remain on the premises, and the Lessee fully acknowledges that all other improvement, including but
                  not limited to offices, partitions, lighting fixtures, electrical wiring, plumbing fixtures. A/C units, mezzanines, carpeting, tile,
                  paneling, etc must remain on the premises regardless of ownership.

SUBORDINATION     15. LESSEE agrees that if Lessor secures a construction and/or first mortgage on the demised premises from a
AGREEMENT:        recognized lending institution; and that this lease is and shall be subordinate to the lien of said construction and/orfirst mortgage;
                  and the lessee agrees that it will execute such subordination or other documents or agreements as may be requested or required by
                  such lending institution; however, and that the mortgage and/or subordination agreement, as the lending institution may direct,
                  shall contain a provision which states, in effect, that the lessee shall not be disturbed in its possession and occupancy of the
                  premises during the term of this lease, not withstanding any such mortgage or mortgages, provided that the lessee shall comply
                  with and perform its obligations hereunder.

APPROVAL AND       1 6. LESSEE must obtain written approval from the lessor before any changes, alterations or improvements are made to the
PERMITS           interior or exterior portions of the building. At lessee's expense, lessee is required to obtain the necessary permits and plans; a
                  copy of each is to be given to the lessor prior to the commencement of any work . Any and all improvements made to the premises
                  and attached to the real property must be approved by the Lessor and all attached improvements will remain on the property of the
                  Lessor forever more, unless Lessor requires Lessee to remove upon termination of the lease agreement.

NOTICE TO         1 7. LESSEE must notify the Lessor in writing, no later than 90 days before the expiration of this lease, of its intentions to
VACATE:          cither vacate, negotiate a new lease or exercise the option agreement, if any. If Lessee fails to notify lessor, in writing, the Lessor
                 shall have the authority and right to rent the premises, and the Lessee shall vacate the premises immediately on the last day of this
                 lease and will forfeit all security which will be applied to unpaid rent until the space is leased and any remaining security will be
                 refunded. A refund of any portion of security or tender of refund of any portion of security shall not operate as a waiver of
                 Lessor's rights to retain any or all security under this section. Should Lessee hold over and remain in possession ofthe Premises at
                 the expiration of any term hereby created, Lessee shall, by virtue of this paragraph, become a Lessee by the month at twice the
                 Rent per month of the last monthly installment of Rent above provided to be paid, which said monthly tenancy shall be subject to
                 all the conditions and covenants of this Lease as though the same had been a monthly tenancy instead of a tenancy as provided
                 herein, and Lessee shall give to Lessor at least thirty (30) days' written notice of any intention to remove from the Premises, and
                 shall be entitled to ten ( 1 0) days' notice from Lessor in the event Lessor desires possession of the Premises; provided, however,
                 that said Lessee by the month shall not be entitled to ten (10) days' notice in the event said Rent is not paid in advance without
                 demand, the usual ten (10) days' written notice being hereby expressly waived.

NOISE, ODORS,    18.  LESSEE will not use the interior and/or exterior portion of the premises so as to cause noise, noxious odors,
                 accumulation of waste and garbage, vibrations from machinery, or any other disturbance or nuisance which may create
                  undue annoyance or hardship to another tenant of the lessor, and/or damage or impairment to Lessor's property.
                 Bands will not be allowed to practice until after 6:00 PM and up to midnight. Lessee will not be allowed to disturb other tenants
                 while practicing or this lease will become null and void.

SIGNS:           1 9. LESSEE must obtain approval from the Lessor prior to erecting any signs. Lessor shall have the right to determine the size,
                 materials and lighting thereof; and the Lessor, may, at its option, order and have the signs installed from one source, same to be at
                 the expense of the Lessee. No painting of signs shall be permitted direct to the masonry. Lessee fully understands that the Lessor
                 may remove, without notice, any such signs which w ill be in violation of this lease. At the termination of this lease, at Lessee's
                 sole expense. Lessee shall remove all signs and restore the building's masonry paint to its original state. If directory sign becomes
                 available. Lessee will be responsible for all expenses associated with its position on such a directory sign, including the pro-rata
                 costs of erecting and maintaining such a directory sign.

RECEIVERSHIP,    20. LESSEE expressly covenants that, unless agreed in writing by Lessor, neither adverse zoning nor other governmental
BANKRUPTCY,      regulations, nor receivership, bankruptcy, insolvency, nor any other event, shall operate to relieve Lessee from the
INSOLVENCY:      obligations of Lessee hereunder, and Lessee waives the defense of impossibility of performance, whether arising thereby
                 or by reason of any other matter or event, however caused.

PARKING AREA     21. LESSEE will use the parking spaces directly in front of Lessee's premises. Any vehicle not operational and which
RESTRICTIONS:    remains in front of Lessee's premises for a period of five days or more, will be considered "Junk" and Lessor will have the right to
                 have such "Junk" vehicle or vehicles towed from the premises and Lessee shall be responsible for all towing expenses. Lessee also
                 will not use the outside of the premises for storing auto pans, machinery, equipment, or anything other than Lessee's vehicles.
                 Lessor shall have the right to remove all of the above articles at the expense of the Lessee.

SUBLETTING       22. LESSEE may not assign this lease, or let or underlet the whole or any part of said premises without the written consent
OF PREMISES:      of the Lessor, provided: the Lessee remains liable on the within lease, and the assignee shall execute an assumption of this lease
                 agreement in recordable form.



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INSURANCE            23. LESSEE will not use ihe premises for any purpose which may increase ihe base rate of fire, extended coverage
PAYMENT:             and liability insurance; that in the event the standard base rates cannot be obtained by reason of the Lessee's use of the premises,
                     then and in that event, the Lessee sbali forthwith upon notice, either desist from said unacceptable use and-'or pay such additional
                     insurance premiums. Lessee acknowledges that the standard insurance rate for the year 2007        assessed against the building
                     will be paid by the Lessor and said year will be considered the base premium year. In any succeeding year, any increases in the
                     insurance premium over the base year's insurance will be paid proportionally by all the Lessees of the building in the proportion
                     that theif respective premises bears to the total leased premises. Lessee shall pay to the Lessor his proportional increase within 1 5
                     days after the Lessor notifies the Lessee that Lessor has paid the increase.


ADDITIONAL           24.       a/ LESSEE will pay the rent as herein specified without noiice.
COVENANTS OF                   b/ LESSEE will furnish u mail box.
THE LEASE:                     c/ LESSEE will furnish (he accessary type fire extinguisher, exit signs and emergency lights to meet ail codes,
                               d/ LESSEE will furnish an adequate trash chntainer and proof submitted to the Lessor within 30 days or a
                                         dumpster will be ordered at Lessee's own expense,
                               e/ LESSEE is required to have waste and recycling service as required by the Lessor and all governing
                                         Municipalities.
                               f/ LESSEE will not keep flammable chemicals on the premises, unless properly ventilated.
                               g/ LESSEE will comply with all lawful requirements of the Board of Health, Police and Fire Departments,
                                       Municipal, Count}-, State and Federal authorities respecting the manner in which Lessee uses the
                                                       leased premises.
                               h/ LESSEE will not be permitted to have pets or guard dugs of any kind.
                               1/ LESSEE PAYS TENANT PAYS WATER CHARGE and IS SUBJECT TO CHANGE AT ANYTIME
                               j/ LESSEE Will not be allowed on the roof without written permission from the Lessor. If Lessee shall install
                                        any type of equipment oh the roof, such as an air conditioner, antennas, air vents, etc., the Lessor shall
                                         not be responsible for any damage caused by leakage to the premises, which may also result in damage
                                         to Lessee's personal property. In the event of damage due to the above said, Lessee shall be responsible
                                         far repairing the entire roof area above Lessee's premises as soon as possible an at the expense of Lessee,
                               k/ Absolutely no car repair, painting or storage of cars on the exterior of the premises. Painting wiil not be
                                         allowed on the interior of the premises without an approved fire rated spray booth. Any violation of
                                             the above wiil cause this lease to become null and void.

                 25. LESSEE has examined Ihe premises and is familiar with the condition thereof, and accepts the same in their present condition.
                 Lessor has made no representations or warranties to Lessee respecting the condition of the premises.

LESSOR'S RIGHT   26. The LESSOR, its' agents, or employees, shall have the right to enter said premises during all reasonable hours, to
OF ENTRY:        examine make repairs, alterations, etc. as may be deemed necessary. Lessor, in his sole judgment may enter the premises at any time
                 and by any means, if there appears to be an emergency with the premises. No additional locks or bolts of any kind shall be placed
                 upon any of the doors or windows by Lessee, nor shall any changes be made in the existing locks or the mechanism thereof unless
                 Lessee shall simultaneously therewith give keys to the same to Lessor. If Lessee shall make any modifications such as welding plates
                 or changes to doors or windows. Lessee will be responsible to replace doors or windows at lessee's expense.

LEGAL:           27. a/ In the event of a default by Lessee entitling Lessor to serve a three day notice of eviction pursuant in Florida Statute Section
                 83.20, as uow or hereafter existing and if Lessor or Lessors attorneys shall serve siich a notice upon Lessee, Lessee agrees to pay an
                 attorneys fee of Fifty ($50.00) Dollars for each time that service of said notice is effected. Said notice shall be deemed served if
                 accomplished in a manner described by law or by certified mail, return receipt requested.
                      b/ The parties acknowledge and agree that all provisions contained herein with respect to liquidated damages are reasonable, in
                 amount it being the agreement of the parties, that, as of the date hereof, actual damages that may be suffered by Lessor in the event of
                 default or breaches of die terms hereof by Lessee are incapable of ascertainment.
                     c/ Lessee agrees to pay all legal fees and expenses incurred by Lessor in enforcing any of the terms hereof, or in the defense of
                 any action brought by Lessee hereuhder, or incident to any other litigation or negotiation in which Lessor shall become involved,
                 subsequent to the date of the execution hereof, through or on account of this lease, including but not limited to appellate fees, if
                 applicable.
                     H With respect to any provision of this lease which provides that Lessor shall not unreasonably withhold or unreasonably delay
                 any consent or any approval. Lessee, in no event, shall be entitled to make nor shall Lessee make any claim for and Lessee Hereby
                 waives any claim for money damages; nor shall Lessee claim any money damages by way of set off, counterclaim or defense, based
                 upon any claim or assertion by Lessee that Lessor has unreasonably withheld or unreasonably delayed any consent or approval; but
                 Lessee's sole remedy shall be an action or proceeding to enforce any such provision.
                     e/ It is expressly agreed by the parties hereto that Lessor shall have no liability to Lessee whatsoever if Lessor shall be unable to
                 deliver possession of the premises to Lessee on the date of the commencement of the term hereof for any reason whatsoever,
                 including* but not limited to. the fact thai the building in which the premises are located has not been completely or sufficiently-
                 completed to make the premises ready for occupancy. Under such circumstances, the rental reserved and covenanted to be paid herein
                 shall be abated pending the making available of the premises to Lessee. No such failure to deliver possession of the premises on the
                 commencement date of the term of this lease shall in any manner affect the validity of this lease or its terms.
                     f/ Lessee shall not be entitled to any abatement of rent or rental value or diminution of rent in any eviction or distress action of
                 proceeding instituted by the Lessor for non-payment of rent or additional rent or in any eviction or distress action or proceeding by
                 reason of any breach of default by the Lessor of any covenant contained in this lease or its part to be performed. Lessee will not
                 interpose any counterclaim of whatever iiaUirc or description in any such proceeding. The Lessee shall hot have the right of set off by
                 way of damages, recoupment, or counterclaim for any damages which Lessee may have sustained by reason of Lessor's failure to


                                                                       4
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               perform any of the terms, covenants or conditions contained in this Lease. Lessee shall, however, have the right to commence
               independent action for any relief to which Lessee may deem it is entitled.
                   g/ If Lessee vacates or abandons the demised premises in violation of this lease agreement, any property shall be deemed to have
               been abandoned and may either be retained by Lessor as the property of, or may be sold at public or private sale with such terms
               Lessor, in good faith see fit. Any property of Lessee sold at the public or private sales shall be applied by Lessor against (1) the
               expenses of Lessor for removal, storage or sale of the personal property. (2) the arrears of rent or future rent payable under this lease
               agreement, and (3) any other damages to which Lessor may be entitled under this lease agreement. The balance of such amounts, if
               any, shall be given to Lessee.
                   h/ Lessee hereby waives all right of subrogation against Lessor as respects any insurance proceeds that it may collect from its own
               insurance carrier.
                    M It is mutually agreed by and between Lessor and Lessee that the respective parties herein hereby waive trial byjury in any action
               or proceeding brought by either party pertaining to any matter whatsoever arising out of or in any way connected with this lease or
              Lessee's occupancy of the premises. Any action brought by either party arising from or in any way pertaining to this lease or Lessees
              occupancy of the premises shall be brought in a state court of competent jurisdiction in the County in which the Premises is located.
                  j / Unless expressly so stated in writing by Lessor, no act or thing done or omitted by Lessor or Lessor's agents during the term of
              this lease shall constitute an eviction by Lessor, nor shall any such act or thing done be deemed an acceptance of the surrender of the
              premises and no agreement to accept a surrender shall be valid unless in writing signed by Lessor. No employee of Lessor or Lessor's
              agent shall have any power to accept the keys of the premises prior to the termination of this lease. The delivery of keys to any
              employee of Lessor shall not operate as a termination of the lease or a surrender of the premises. However, the non-delivery of keys to
              Lessor at the termination (natural or premature) of any lease agreement shall operate to continue the obligatioas of Lessee for payment
              of rent irrespective of its possession of the premises until such time as the keys are delivered to Lessor.
                   k/ Lessee shall not do any act or make any contract which may create or be the foundation for any lien or other encumbrance upon
              any interest of Lessor in the premises. If as the result of any act. or omission or alleged act or omission of Lessee, any mechanic's,
               materialmen's, laborer's or other lien charge or order for the payment of money or other encumbrance shall be filed against Lessor or
              any portion of premises, whether or not such lien, charge, order or encumbrance is valid or enforceable as such. Lessee shall, at its
              own cost and expense, cause the same to be discharged of record or bonded within ten days after notice to Lessee of the filing thereof.
              Lessee shall indemnify and save harmless Lessor from all cost, liabilities, suits, penalties, claims and demands, including reasonable
              attorney's fees, resulting therefrom. At Lessor's option Lessee will fumish lien waivers or a bond in form and with surety satisfactory
              to Lessor prior to commencing any work in connection with making alterations or improvements to the premises, if Lessee fails to
              comply with the foregoing provisions, Lessor shall have the option of discharging or bonding any such lien, charge, order or
              encumbrance, and Lessee agrees to reimburse Lessor for all costs, expense and other sums of money in connection therewith upon
              demand all materialmen, contractors, artisans, mechanics, laborers and any other persons now or hereafter contracting with Lessee for
              the furnishing of any labor, services, materials, supplies or equipment with respect to any portion of the premises are hereby charges
              with notice that they must look exclusively to Lessee to obtain payment for same, and Lessee agrees to so inform such persons.
                   1/ Wherever throughout this lease, the Lessee is required to do any act or expend any money to a third party, including but not
              limited to the repair and maintenance of the premises, trash removal, if Lessee refuses or neglects to perform any such act or make
              any such payment Lessor may, without notice, cause said act to be performed or expend said money on behalf of and or the account of
              Lessee, and in such event, Lessee shall reimburse Lessor for all such expenditures within ten days from demand therefore by Lessor.
                   m/ All sums of money which may, in addition to the rent herein provided, be due and payable by Lessee to Lessor pursuant to any
              of the terms of this lease, shall be considered as additional rental.
                  n/ Any notice, approval, consent or other communication required or permitted to be served pursuant to this lease shall be
              considered served on Lessor if delivered to Lessor and receipted therefore in writing or delivered to Lessor and receipted therefore by
              certified mail with return receipt requested, at the address set forth herein or such other address as Lessor from time to time designated
              in writing, and any notices, approvals, consents or other communications required or permitted to be delivered to Lessee shall be
              deemed delivered il' delivered to the premises, or deposited in the United States mail, postage prepaid, and addressed to the premises,
                 o/ This agreement shall be governed by the laws of the State of Florida.
                 p/ Nothing contained in this lease shall be construed to create the relationship of principal and agent, partnership, joint venture or
              any other relationship between the parties hereto other than the relationship of Lessor and Lessee.
                 q/ If the Lessor deems it necessary' to obtain security service for the protection of the tenants, in that event the Lessor shall have the
              authority to assess each tenant within the premises an amount based upon square footage of the tenants premises. The payment will be
              assessed and become due and payable with the monthly rent. This assessment shall be based upon the actual cost of service.
                  r/ In the event the business is sold the Lessor has the option to adjust the rent and a new lease shall be made between
              the new buyer and the Lessor.
                 si Under no circumstances shall glue, lacquer thinner or other toxins or any other items that could be environmentally liazardous be
              permitted to ooze, seep or be spilled into the ground. Any violations of the above, shall cause the tenant to be personally responsible to
              bear the total expense of the curing of the problems created by his negligence and shall satisfy- all of the Municipal, State and Federal
              agency requirements and cost to correct the condition.
                M Lessee shall indemnify and hold harmless the owner and their agents and employees from and against all claims, damages, losses
              and expenses including attorney's fees arising from or resulting from the occupancy of the premises, including damage or loss to
              contents of personal property from water, lire, theft, or any other reason.
                 u/RADON GAS NOTIFICATION: (the following notification may be required in some states): Radon is a naturally occurring
              radioactive gas that, when it has accumulated in a building in sufficient quantities, may present health risks to persons who arc
              exposed to it over time. Levels of radon that exceed federal state guidelines have been found in buildings. Additional information
              regarding radon and radon testing may be obtained from your county public health unit.




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                                           645



              WJTO1KS WHEREOF, the parties hereto set (heir hands and seals on the day and year first above written.                                                                       *


                                                                                    BRIAN HOLLAND AND ANDREA HOLLAND a.k.u
                                                                                    BRIAN HOLLAND 556 1 RENT ACQ




          \\vrfv.z/                                                                 BRIAN K. HOLLA.NT5I .VMKaCER



                                                                                    Al'LUS LAMIN ATION                    £G



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          wrfjfEss                                                                  MAKCEjk                                            ISLAMllSS                INISHING

TENANT MUST FURNISH TrHT LANDLORD WITH CERTIFICATE OF INSURANCE AS STATED IN THE RJwjCSE.

I ENANT MUST FURNISH THE LANDLORD WITH A FULL COPY OF CORPORATE DOCUMENTS.

POSSESSION OF THE ABOVE DESCRIBED PREMISES WILL NOT BE GIVEN TO TENANT UNTIL;


I.      TENANT MUST FURNISH THE LANDLORD WITH CERTIFICATE OF INSURANCE AS STATED IN THE LEASE.
2.      TENANT MUST FURNISH THE LANDLORD WITH A FULL COPY OF CORPORATE DOCUMENTS.
3.      POSSESSION OF THE ABOVE DESCRIBED PREMISES WILL NOT BE GIVEN TO TENANT UNTIL:
                    A.          THIS APPLICATION HAS BEEN CHECKED AND APPROVED BY LANDLORD.
                    B.          THE LEASE HAS BEEN SIGNED AND THE RENT AND SECURITY HAVE BEEN DEPOSITED WITH THE LANDLORD.
                    C.          THE TENANT HAS PROVIDED THE PROCESS NUMBER FOR THE OCCUPATIONAL LICENSE WITH THE APPROPRIATE CU V
                                 MUNldPAI TIT AND TENANT MAS 30 DAYS FROM SIGNING THIS APPLICATION TO PROVIDE LANDLORD A COPY OF THE
                                OCCUPATIONAL LICENSE, CERTIFICATED OF USE & FIRE INSPECTION PERMIT FOR TENANT FILE.
                    D.          THE TENANT HAS PROVIDED A RECEIPT AS PROOF THAT THE WATER ACCOUN T HAS BEEN ACTIVATED
                    E.          IF THE BUILDING HAS A FIRE ALARM PANEL. TENANT IS RESPONSE)!. E FOR MAINTAINING THE MONI TORINO SERVICE AND
                                PROVIDE THE LANDLORD PROOF OF SERVICE
                    F.          ALL REQUIRED DOCUMENTS HAVE BEEN PROVIDED.
A.      THE LANDLORD HAS THE OPTION TO ACCEPT OR REJECT THIS APPLICATION. IF ACCEPTED, THE DEPOSIT SPECIFIED ABOVE WILL BE CREDITED ON
        THE ACCOUNT OF THE FIRST MONT H'S RENT. IF NOT ACCEPTED. THE DEPOSIT WILL BE RETURNED. THE TENANT HEREBY WAIVES ANY CLAIM FOR
        THE DAMAGES BY REASON OF NON-ACCEPTANCE OF THIS APPLICATION. WHICH THE LANDI .ORD MAY REJECT WITHOUT ST AUNG ANY REASON
        FOR SAME.
5.      NO DOGS, CATS OR OTHER ANIMALS WILL BE ALLOWED ON THE PREMISES.
6.      THE LANDLORD WILL NOT BE RESPONSIBLE FOR OCCUPANCY ON THE ABOVE MENTIONED BAY TO THE TENANT, DUE TO ANY DEL AY.
7.      THE LESSEE SHALL BE RESPONSIBLE TO OBTAIN THE NECESSARY FEDERAL, STATE AND LOCAL LICENSES TO CONDUCT LESSEE'S BUSINESS AT THE
        ABOVE ADDRESS AND SHAI.I BEAR ALL COSTS NECESSARY TO OBTAIN SUCH LICENSES,

          In consideration of the letting of the premises within mentioned to the within named Tenant and the sunt of S 1 .00 paid to the undersigned by the within named Landlord, die
          undesigned docs hereby covenant and agree, to and with the Landlord and Landlord's legal representatives and assigns, that if default shall at any time be made by the
          Tenant in the payment of any rent or the performance ofany of the terms, covenants or agreements contained the within lease on the Tenant's to be paid and performed, the
          undersigned will well and truly pay tiie said rent, or any arrears hereof that may be due unto die landlord as well as any damages that may arise as consequence ot such lion-
          performance without requiring notice of any default from the Landlord and the Undersigned agrees that this guaranty shall not be atfected by reasoil of the assertion by
          Landlord against Tenant of any rights or remedies reserved to Landlord in said lease or by reason of summary or other proceedings against Tenant or by reason of any
          extension of indulgences granted by Tenant. The undersigned waives trial by jury in any action or proceeding brought by eirher Landlord or the undersigned against die
          other oii ai   natters relating to saidjea.se or this guaranty.


                                                                                               BRIAN HOLLAND                        EA HOLLAND a.k.n
                                                                                               BRIAN HOi J^MrgflirrRICV



          WITN!                                                                                BRIAN K. HOL/AND, MANAGER




                                                                                            Of APIA'S LAMINATION & FINISHING


          W1TM&                                                                                                   1APRI-S1
                                                                                                                                            ^22
                                                                                                                                     -fOR APLU347?> MI NATION & FINISHING




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          BRIAN HOLLAND AND ANDREA                                           IN THE COUNTY COURT IN AND
                                                            FOR
          HOLLAND a/k/a/ BRIAN HOLLAND                               MIAMI-DADE COUNTY
          5561 RENT ACCOUNT,
                                                                     CIVIL DIVISION
                   Plaintiff,
          vs.                                                                                       CASE        NO:
                                                                     18-8187 CC 05

          APLUS LAMINATION & FINISHING
          INC., a Florida Corporation and all
          other occupants,

                   Defendants.



                       ORDER DIRECTING DEPOSIT OF RENT INTO REGISTRY OF COURT

                   THIS CAUSE CAME ON TO BE HEARD before me. on May 3, 2018, upon Plaintiff's
          Motion for Order Directing Deposit of Rent Into Registry of Court, and. having appeared counsel for
          Plaintiff and Defendant and the respective parties, after hat ing heard argument from counsel, having
          reviewed the Court file and being otherwise fully advised in the premises, it is:

                   ORDERED AND ADJUDGED:

                   1 . Plaintiff s Motion for Order Directing Deposit of Rent Into Registrv of Court be and the same
          is hereby granted

                   2. The Defendant. APLUS LAMINATION & FINISHING. INC., is hereby ordered to deposit the
          sum of $9,000.00 into the Miami-Dade County Registry of Court on or before May 7, 2018.

                   3. The Defendant, APLUS LAMINATION & FINISHING, INC., is hereby ordered to deposit the
          sum of $9,000.00 into the Miami-Dade County Registry of Court on or before May 14, 2018.

                   3. The Defendant shall further timely deposit the rent as it becomes due into the Registry of
          Court.

                   4. The Defendant's failure to timely pay the ordered sums into the Registry of Court shall
          constitute and absolute waiver of its defenses, other than payment or proof of payment, and Plaintiff shall
          be entitled to a Default/Default Final judgment for Removal of Tenant and a Writ of Possession to issue
          forthw ith without the necessity of further hearing pursuant to Section 83 .232. Florida Statutes.

                 5. Upon Defendant making timely deposit into the Registry of Court of the sums due on May 7.
          2018 and May 14, 201 8. the parties shall appear for mediation oil May 15, 2018 at 1:30 PM.


                   DONE AND ORDERED in Chambers at Miami-Dade County, Florida, on 05/10/18.




                                                    ALEXANDER S. BOKOR
                                                    COUNTY COURT JUDGE


          The parties served with this Order are indicated in the accompanying 11th Circuit email
          confirmation which includes all emails provided by the submitter.                    The movant shall




                                                                                                             Exhibit C
https://www2.miami-dadeclerk.com/ocs/ViewerHTML5.aspx?QS=B6%2f9EwnZlIiih%2b... 5/30/2018
                                                                        Page 2 of 2
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          IMMEDIATELY serve a true and correct copy of this Order, by mail, facsimile, email or
          hand -delivery, to all parties/counsel of record for whom service is not indicated by the
          accompanying 11th Circuit confirmation, and file proof of service with the Clerk of Court.


          Signed original order sent electronically to the Clerk of Courts for filing in the Court file.

          Conformed copies to:

          JOSEPH R, COLLETTI. P A.
          Attorney for Plaintiff

          ALEXANDER E. BORELL. ESQ
          Attorney for Defendant




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     Miami-Dade County Civil, Family and Probate Courts
                     Online System


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    BRIAN HOLLAND ET AL VS. APLUS LAMINATION & FINISHING, INC.
    Local Case Number: 2018-008187-CC-05
    Filing Date: 04/13/2018
    State Case Number: 132018CC008187000005
    Case Type: Evictions < $15,000
    Consolidated Case No.: N/A
    Judicial Section: CC04
    Case Status: OPEN



    Ä Parties                                                              Number of Parties: 4   +


    å Hearing Details                                                     Number of Hearing: 2    +


    ± Dockets                                                             Dockets Retrieved: 26   −




                                                                                   Exhibit D
https://www2.miami-dadeclerk.com/ocs/Search.aspx                                            5/30/2018
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     Export to

                                                               Event
            Number   Date         Book/Page   Docket Entry     Type      Comments


           23       05/17/2018               Order Case       Event
                                              Pending
                                              Bankruptcy
                                              Stay

           22       05/17/2018               Mediators        Event     CASE CANCELLED
                                              Report

           21       05/17/2018               Memorandum       Event
                                              of Disposition

           20       05/15/2018               Notice of        Event
                                              Filing:

                     05/15/2018               Mediation        Hearing

           19       05/10/2018               Order:           Event     DIRECTING DEPOSIT OF
                                                                         RENT INTO REGISTRY OF
                                                                         COURT

           18       05/09/2018               Order of         Event
                                              Referral to
                                              Mediation Unit

            16       05/07/2018               Receipt:         Event     RECEIPT#:2430012 AMT
                                                                         PAID:$9,142.50
                                                                         NAME:NUBIA
                                                                         PEREZ/APLUS LAMATION
                                                                         COMMENT:RENT DEPOSIT
                                                                         ALLOCATION CODE
                                                                         QUANTITY UNIT AMOUNT
                                                                         2106-COURT REGISTRY
                                                                         DEP 1 $9,000.00 $9,000.00
                                                                         2108-COURT REGISTRY
                                                                         FEE 1 $142.50 $142.50
                                                                         TENDER TYPE:CHECK

           15       05/04/2018               Memorandum       Event
                                              of Disposition

                     05/03/2018               Status           Hearing
                                              Hearing

           17       04/27/2018               Notice of        Event     05/03/2018
                                              Hearing-




https://www2.miami-dadeclerk.com/ocs/Search.aspx                                              5/30/2018
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                                                               Event
           Number   Date         Book/Page   Docket Entry      Type    Comments

          14       04/25/2018               Affidavit as to   Event
                                             Costs

          13       04/25/2018               Affidavit of      Event
                                             Non-Payment

          12       04/25/2018               Non-Military      Event
                                             Affidavit

          11       04/25/2018               Service           Event
                                             Returned

          10       04/25/2018               Motion:           Event


          9        04/25/2018               Answer and        Event
                                             Affirmative
                                             Defense

          8        04/25/2018               Notice of         Event
                                             Appearance

           7        04/24/2018               Receipt:          Event   RECEIPT#:2350016 AMT
                                                                       PAID:$5,082.50
                                                                       NAME:APLUS LAMINATION
                                                                       COMMENT:RENT DEPOSIT
                                                                       ALLOCATION CODE
                                                                       QUANTITY UNIT AMOUNT
                                                                       2106-COURT REGISTRY
                                                                       DEP 1 $5,000.00 $5,000.00
                                                                       2108-COURT REGISTRY
                                                                       FEE 1 $82.50 $82.50
                                                                       TENDER TYPE:CHECK T

           6        04/18/2018               Receipt:          Event   RECEIPT#:2200061 AMT
                                                                       PAID:$10.00 COMMENT:
                                                                       ALLOCATION CODE
                                                                       QUANTITY UNIT AMOUNT
                                                                       2139-SUMMONS ISSUE FEE
                                                                       1 $10.00 $10.00 TENDER
                                                                       TYPE:CHECK TENDER
                                                                       AMT:$10.00 RECEIPT
                                                                       DATE:04/18/2018
                                                                       REGISTER#:220
                                                                       CASHIER:NMERKER




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                                                                        Event
              Number     Date           Book/Page     Docket Entry      Type       Comments

              5          04/18/2018                   Summons and       Event      Parties: Aplus Lamination &
                                                      Complaint                    Finishing Inc.
                                                      Mailed

                         04/18/2018                   5 Day             Service
                                                      Summons
                                                      Issued

              4          04/18/2018                   5 Day             Event      Parties: Aplus Lamination &
                                                      Summons                      Finishing Inc.
                                                      Issued

              3          04/17/2018                    Receipt:         Event      RECEIPT#:3430137 AMT
                                                                                   PAID:$185.00
                                                                                   NAME:COLLETTI, JOSEPH
                                                                                   R. 4770 BISCAYNE BLVD
                                                                                   STE 1400 MIAMI FL 33137-
                                                                                   3243 COMMENT:
                                                                                   ALLOCATION CODE
                                                                                   QUANTITY UNIT AMOUNT
                                                                                   2100-COUNTY FILING FEE
                                                                                   1 $185.00 $185.00 TENDER
                                                                                   TYPE:E-FILING ACH
                                                                                   TENDER AMT:$1

             2          04/13/2018                   Motion:           Event      FOR DIRECTING DEPOSIT
                                                                                   OF RENT INTO REGISTRY
                                                                                   OF COURT.

             1          04/13/2018                    Complaint        Event




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     Fill in this information to identify your case

I United States Bankruptcy Court for the:

Sdui-^t^r'        District ol/'Jr      i

i Case number {if known):                                               . Chapter you are filing under:
                                                                          • Chapter?
                                                                         IS Chapter 11
                                                                          • Chapter12
                                                                         •   Chapter 13                                              •   C h e c k if this is an
                                                                                                                                         a m e n d e d filing



Official Form 101
Voluntary Petition for Individuals Filing for B a n k r u p t c y                                                                                             12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When Information is needed about the spouses separately, the form uses Debtor 1 and
 Debtor 2 to distinguish Iretween them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
 same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(If known). Answer every question.


              identify Yourself

                                           About Debtor 1:                                                 About Debtor 2 (Spouse Only In a Joint Case):
1.    Y o u r full name

      Write the name that Is on your
      government-issued picture
                                           First name                                                      Firet name
      identification (for example,         rust iiaiiic
      your driver's license or               M.fXV-CcHcL
      passport).                           Middle name                                                     Middle name

      Bring your picture
      identification to your meeting       Last name                                                       Last name
      with the trustee.
                                           Suffix (Sr.. Jr., II, III)                                      Sufnx(Sr.. Jr..ll, III)




2. All other n a m e s you
   have u s e d in the last 8              First name                                                      First name
   years

      Include your married or              Middle name                                                     Middle name
      maiden names.
                                           Last name                                                      Last name



                                           First name                                                     First name


                                       Middle name                                                        Middle name


                                       Last name                                                          Last name




     Only the last 4 digits of
                                       XXX          -     XX                                              XXX      -    XX
     your S o c i a l Security
     number or federal                 OR                                                                 OR
     Individual T a x p a y e r
     Identification n u m b e r        9 XX -             XX     -                                        9 XX -        XX

     (ITIN)


Official Form 1 0 1                                       Voluntary Petition for Individuals Filing for Bankruptcy                                 page 1




                                                                                                                                           Exhibit E
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 Debtor                                                                                                    Case number      ijikmwrti_
                               Middle Name




                                             About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


 4. A n y b u s i n e s s n a m e s
    and E m p l o y e r                      •     I have not used any business names or EINs.                    O I have not used any business names or EINs.
    identification Numbers
    (EIN) you have u s e d In
    the last 8 y e a r s                                                                                          Business name

     Include trade names and
     doing business as names
                                             Business name                                                        Business name




                                             EIN                                                                  EIN




5. Where you live                                                                                                 If Debtor 2 lives at a different address:



                                         i       _   .
                                         Number             Street                                                Number          Street




                                                                                            m   m    .
                                                                                                               City                                     State      ZIP Code



                                                                                                               County


                                         If your mailing address Is different from the one                     If Debtor 2's mailing address is different from
                                         above, fill It in here. Note that the court will send                 yours, fill It In here. Note that the court will send
                                         any notices to you at this mailing address.                           any notices to this mailing address.



                                         Number             Street                                             Number            Street



                                         P.O. Box                                                              P.O. Box



                                         City                                       State       ZIP Code       City                                     State     ZIP Code




6. W h y you are c h o o s i n g         Check one:                                                           Check one:
   f/i/sd/sfricftofllefor
   bankruptcy                                    Over the last 1 8 0 days before filing this petition,        •     Over the last 1 8 0 days Ijefore filing this petition,
                                                 I have lived In this district longer than in any                   I have lived in this district longer than in any
                                                 other district,                                                    other district.

                                        •        I have another reason. Explain.                              •     I have another reason. Explain.
                                                 (See 2 8 U.S.C. § 1 4 0 8 . )                                      ( S e e 2 8 U.S.C. § 1 4 0 8 . )




 Ofricial Form 1 0 1                                     Voluntary Petition for Individuals Filing for Bankruptcy                                         page 2
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 Debtor     1 tOuka tVy^celU Tb^ez                                                                       Case number        iiikftown)_




                 Tell the Court About Your Bankruptcy Case


 7.     The chapter of the                Check one. (For a brief description of each, s e e Notice Required by 11 U.S.C. §342(b} for Individuals Filing
        Bankruptcy C o d e you         for Bankruptcy (Form 2 0 1 0 ) ) . Also, go to the top of page 1 and check the appropriate box.
        are c h o o s i n g to file
                                          •    Chapter 7
        under
                                       Q r C h a p t e r 11

                                       •       C h a p t e r 12

                                       •       C h a p t e r 13


 8.     How you will pay the fee      •       I will pay the entire fee w h e n I file my petition. P l e a s e c h e c k with the clerk's office in your
                                              local court for more details about how you m a y pay. Typically, if you a r e paying the fee
                                              yourself, you m a y pay with c a s h , c a s h i e r ' s c h e c k , or money order. If your attorney Is
                                              submitting your payment on your behalf, your attorney m a y pay with a credit c a r d or c h e c k
                                              with a pre-prlnted a d d r e s s .


                                      S H ' n e e d to pay the fee in installments. If you c h o o s e this option, sign a n d attach the
                                          Application for individuals to Pay The Filing Fee in instaiiments (Official Form 1 0 3 A ) .


                                      •       I r e q u e s t that my fee be waived ( Y o u may request this option only If you a r e filing for Chapter 7 .
                                              B y law, a judge m a y , but is not required to, waive your f e e , a n d m a y do s o only if your income is
                                              less than 1 5 0 % of the official poverty line that applies to your family s i z e a n d you a r e unable to
                                              pay the fee in installments). If you c h o o s e this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 1 0 3 B ) a n d file it with your petition.



9.      Have you filed for            I^NO
        bankruptcy within the
        last 8 y e a r s ?            •       Y e s . District                                 When                            Case number
                                                                                                       MM / D D / Y Y Y Y

                                                      District                                 Wtien                           Case number
                                                                                                       MM/   DD/YYYY

                                                      District                                 When                            Case number
                                                                                                       MM/   DD/YYYY




10. A r e a n y bankruptcy
    c a s e s pending or being
    filed by a s p o u s e w h o is   L I Y e s . Debtor                                                                     . Reiationship to you

    not filing this c a s e with                  District                                                                     Case number, if known
    you, or by a b u s i n e s s                                                                       MM/DD / Y Y Y Y
    partner, or by a n
    affiliate?
                                                      Debtor                                                                   Relationship to you

                                                      District                                 When                            Case number, if known_
                                                                                                       M M / D D / YYYY




11. Do you rent y o ur                • NQ   Go to line 1 2 .
    residence?                        • yes.
                                             Has your landlord obtained an eviction judgment against you?

                                                      H    No. Go to line 1 2 .
                                                      •    Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 1 0 1 A ) and file it as
                                                           part of this bankruptcy petition.




                                                      Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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  Debtor 1                                                                                                     Case number       [Hi(nown)_
                 Firet Name      Middle Name                   Cast Name




               Report About Any Businesses You Own as a Sole Proprietor


. 1 2 . A r e you a s o l e proprietor         Kl    No. Go to Part 4.
        off any ffull-
                  u l l - oor
                            r part-l
                              part-time
        business?                              L I Y e s . Name and location of business
      A sole proprietorship is a
      business you operate as an
      individual, and is not a                             Name of business, if any
      separate legal entity such as
      a corporation, partnership, or
      LLC.                                                 Number          Street

       If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                               City                                                      State                ZIP Code



                                                           Check the appropriate box to describe your        business:

                                                           •      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                           •      Single Asset Real Estate (as defined in 11 U.S.C. § 101(516))

                                                           •     Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                           •     Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                           Q     None of the above


 13. Are you filing under                  if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
     Chapter 11 of the                     can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
     Bankruptcy C o d e a n d              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     are you a small    business
     debtor?
                                           •        No. I am not filing under Chapter 11.
     For a definition of small
     business debtor, see                  •        No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
     11 U.S.C. § 101(510),                              the Bankruptcy Code.

                                                           I am filing under Chapter 11 and I am a small business debtor according to the definition In the
                                                           Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you o w n or h a v e a n y
     property that p o s e s or is
     alleged to p o s e a threat           •        Yes.    What is the hazard?
     of imminent a n d
     Identifiable hazard to
     public health or s a f e t y ?
     Or do you o w n any
     property that n e e d s
     Immediate attention?                                   If Immediate attention is needed, why is it needed?

    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?

                                                           Where is the property?
                                                                                      Number        Street




                                                                                      City                                                      Slate    ZIP Code


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 Debtor 1                                                                                                                     Case number (**m>Mi)_
                  Flist NaniB         Midde Name                      LasI Natre




              A n s w e r T h e s e Q u e s t i o n s for Reporting P u r p o s e s

                                                       16a. A r e your debts primarily c o n s u m e r d e b t s ? Consumer debts are defined in 11 U.S.C. § 101(8)
 16. What kind of debts do                                  as "incurred by an individual primarily for a personal, family, or housetiold purpose."
     you h a v e ?
                                                              •   No. Go to line 16b.
                                                              •   Y e s . Go to line 17.

                                                    16b. Are your debts primarily b u s i n e s s d e b t s ? Business debts are debts that you incurred to obtain
                                                         money for a business or investment or through the operation of the business or investment.
                                                              •          Go to line 16c.
                                                                  f e s . Go to line 17.

                                                    16c. State ttie type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                                                        am not filing under Chapter 7. Go to line 18.

    Do you estimate that after                      •     Y e s . I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property Is                                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                                  •      njj,
    administrative e x p e n s e s
    are paid that funds will be                                   •     Yes
    available for distribution
    to u n s e c u r e d c r e d i t o r s ?

18. How many creditors do                          • 1f49                                              •   1,000-5,000                                 •   25,001-50,000
    you estimate that y o u                        [1^50-99                                            •   5,001-10,000                                •   50,001-100,000
    owe?                                           •      100-199                                      •   10,001-25,000                               •   More than 100,000
                                                   •      200-999

19. How m u c h do you                             •     $0-$50.000                                    • H l , 0 0 0 . 0 0 1 - $ 1 0 million          •    $500,000,001-51 billion
    estimate your a s s e t s to                   •     $50,001-$100,000                              • $10,000,001-550 million                      •    $1,000,000,001-$10 billion
    be worth?                                      •     $100,001-$500,000                             • $50,000,001-5100 million                     •    $10,000,000,001-550 billion
                                                   •     $500,001-$1 million                           • $100,000,001-5500 million                    •    More than $50 billion

20. How m u c h do you                             •     $0-$50,000                                    18^1,000,001-$10 million                       •    $500,000,001-51 billion
    estimate your liabilities                      •     $50,001-5100,000                              •   $10,000,001-550 million                    •    $1,000,000,001-510 billion
    to b e ?                                       •     $100,001-$500,000                             •   $50,000,001-5100 million                   •    $10,000,000,001-550 billion
                                                   •     $500,001-51 million                           •   $100,000,001-5500 million                  •    More than $50 billion
             Sign B e l o w

                                                   I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                            correct.
                                                  If I have chosen to file under Chapter 7,1 am aware that 1 may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                  of title 1 1 , United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                  under Chapter 7.

                                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                  this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                  1 request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                  with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                  18 U.S.C. §§ 152. 1341, 1519, and 3571.



                                                                                                                                      Signature of Debtor 2

                                                         Executed on                                                                   Executed on
                                                                                   M   I Pt)   /YYYY                                                  MM / DD     /YYYY
       i,'>siim»vi^mmmiiriiii^:kiiff^Mrkkmmermi^.:i^^<^ - .


 Official Form 101                                                Voluntary Petition for Individuals Filing for Bankruptcy                                                 pages
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5:29 PM                A Plus Lamination & Finishing inc. - Combo
05/14/18                        A/P Aging Summary
                                                         As of May 14, 2018

                                                        Current        1-30          31-60        61-90          >90           TOTAL

      Actega North America, Inc.                              0.00           0.00          0.00       0.00       3,046.51        3,046.51
      ALEXANDER E . B O R E L L                            750.00            0.00          0.00       0.00            0.00          750.00
      Amtrust North America                                   0.00           0.00          0.00       0.00       4,987.70        4,987.70
      APF INC.-002                                            0.00           0.00          0.00       0.00            0.00             0.00
      Armas Machine Shop, Inc.                                0.00           0.00          0.00       0.00            0.00             0.00
      Auto Nation Chevrolet Dorel                          173.16            0.00          0.00       0,00            0.00          173.16
      Capital One Bank                                        0.00           0.00       214.85        0.00       1,961.98        2,176.83
      Checksfor less                                          0.00           0.00          0.00       0.00            0.00             0.00
      City of HIaieah                                         0.00        136.09           0.00       0.00            0.00          136.09
      Comcast Business                                        0.00           0.00      415.32         0.00            0.00         415.32
      COSMO CLAIM 2018                                        0.00    18,692.54            0.00       0.00            0.00     18,692.54
      Cosmo Films Inc.-V                                      0.00   -15,800.57            0.00       0.00     15,800.57               0.00
      Credit Management, L P                                  0.00           0.00          0.00       0.00            0.00             0.00
      0 & K CLAIM                                             0.00           0.00          0.00       0.00       3,500.00        3,500.00
      D & K INTERNATIONAL, INC.                               0.00           0.00          0.00       0.00      4,500.00         4,500.00
      DDREPRO                                                 0.00           0.00          0.00       0.00          14.00            14.00
      Delran, Inc.                                            0.00           0.00          0.00       0.00            0.00             0.00
     Department of Water & S e w e r s                     242.15            0.00          0.00       0.00            0.00         242,15
     Derprosa (Taghleef Industries)                           0.00    14,594.33            0.00       0.00       1,322.97      15,917.30
     DISTRIGRAPH INC.                                         0.00           0.00          0.00       0.00      7,956.17         7,956.17
     Ooral Digital Reprographics, Corp.                       0.00        -14.98           0.00       0.00          14.98              0.00
     FLORIDA F L E X I B L E S C R E E N P R                  0.00           0.00        61 50        0.00            0.00           61.50
     FPL                                                 1,868.49            0.00          0.00       0.00            0.00       1,868.49
     Francisco Gabriel Perez LOAN                             0.00           0.00    3,000.00         0.00         750.00       3,750.00
     Frontline Asset Strategies, L L C                        0.00           0.00         0.00        0.00      1,000.00         1,000.00
     GRAINGER                                                 0.00           0.00         000         0.00            6.30             5.30
     HOME D E P O T                                           0.00           0.00         0.00        0.00            0.00            0.00
     INTERNAL R E V E N U E S E R V I C E                     0.00           0.00         0.00        0.00     15,503.44       15,503.44
     KANGDE XIN AMERICA, L L C                                0.00           0.00         0.00        0.00      7,594.09        7,594.09
     LAIRD P L A S T I C S                                    0.00           0.00         0.00        0.00        219.40           219.40
     MARATHON C O U R I E R                                  0.00          20.00       252.00         0.00           0.00          272.00
     MATT D. GOLDMAN T R U S T ACCOUNT                       0.00           0.00          0.00        0.00      1,250.00        1,250.00
    METRO P C S A P L U S AGO                                0.00           0.00          0.00       2.60           -2.60             0.00
    MlAMl-DADE COUNTY TAX C O L L E C T O R                  0.00     16,478.09           0.00       0.00       2,669.73      19,147.82
    Miami Dade Expressway Authority (MDX)                    0.00           0.00          0.00       0.00         311.08           311.08
    MYRON C O R P .                                         14.00           0.00          0.00       0.00            0.00            14.00
    Nobelus L L C                                            0.00           0.00          0.00       0.00       1,578.90        1,578.90
    NUBIA P E R E Z LOANS                                    0.00           0.00     7,100.00      236.94            0.00       7,336.94
    OFFICE DEPOT                                             0.00           0.00          000        0.07           -0.07             0.00
    P A P E R KNIGHT 2018                                    0.00        220.00           0.00       0.00            0.00         220.00
    PHONES R U S , Inc                                       0.00           0.00          0.00       0.00         224.70          224.70
    Platinum Graphics                                        0.00        440.00           0.00       0.00            0.00         440.00
    PROpack Industries, Inc.                                 0.00           0.00          0.00       0.00            0.00             0.00
    QUILL CORPORATION                                        0.00        129.44           0.00       0.00            0.00         129.44
    Santander Consumer USA                                   0.00      2,029.72           0.00       0.00            0.00       2,029.72
    Tape Group USA, Inc.                                     0.00           0.00          0.00       0.00       1,330.00        1,330.00
    TOTAL PACK                                               0.00        162.71           0,00       0.00            0.00         162.71
    Transllwrap Company, Inc.                                0.00           0.00          0.00       0.00       1,944.83        1,944.83
    UNIVERSAL P R E S S R O O M P R O D U C T S L L C        0.00           0.00          0.00       0.00     23,695.65       23,695.65
    UNIVERSAL WIPING C L O T H                               0.00           0.00          0.00     109.00            0.00         109.00
    UPS-V                                                    0.00           0.00         0.00        0.00            0.00             0.00
    URBAPRINT, L L C                                         0.00           0.00         0.00        0.00            000              0.00
    Valley National Bank -2525                               0.00           0.00         0.00        0.00     28,355.00       28,355.00
    Valley National Bank Loan -2198 small                    0.00           0.00         0.00        0.00    100,786.77      100,786.77
    Vencol                                                   0.00      1,739.43          0.00        0.00            0.00       1,739.43
    VH FINANCIAL S E R V I C E S INC                        0.00         125.00       675.00         0,00         225.00        1,025.00
    W A S T E MANAGEMENT O F DADE COUNTY                    0.00         451.72          0.00        0.00           0.00          451.72
   TOTAL                                                3,047.80     39,403.52      11,718.67      348.61    230,646.10      286,064.70
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5:27 PM                 A Plus LaminatioM & Finishing inc. - Combo
05/14/18                            BaiancG Sheet
Accrual Basis                                                      As Of May     14,   2018


                                                                                                         May 14,18

        ASSETS
          Current Assets
            Checking/Savings
              1000 BANKS
                1005 Wells Frgo -5536                                                                       9,843.43
                1001 • Wells Fargo-7624                                                                   -19,681.58
                1002 • WF Savings Recurruing-9447                                                             454.06
                 Total 1000 • BANKS                                                                               -9^.09

             Total Checking/Savings                                                                               -9,384.09
             Accounts Receivable
               1100 • A C C O U N T S R E C E I V A B L E S (Generated account for AR tran)
                 1101 • Accounts Receivable                                                                46,328.64
                 1100 ' A C C O U N T S R E C E I V A B L E S (Generated account for AR tran) - Otfier      5,889.99
                Total 11 DO • A C C O U N T S R E C E I V A B L E S (Generated account for AR tran)              52,218.63

             Total Accounts Receivable                                                                           52,218.63
             Otfier Current A s s e t s
               1200 • O T H E R C U R R E N T A S S E T S
                  1201 • Accounts Recelvable-A* (Generated account for transac)                             4,166.96
                  1203 • Employee Advances                                                                 19,463.73
                  1204 • "Inventory Asset                                                                      8149
                  1206 • Prepaid E x p e n s e s                                                           45,773.78
                  1206 • Raw Materials Inventory                                                           78,142.50
                Total 1200 • O T H E R C U R R E N T A S S E T S                                                147,628.46

                12001 • Undeposited Funds (Funds received, but not yet deposited to a bank account)              26,153.45
             Total Other Current A s s e t s                                                                    173,781.91

          Total Current Assets                                                                                 216,616.45
          Fixed /tssets
            1300 FIXED A S S E T S
              1304 • Accum. Depreciation - Equlpmen                                                      -370,636.00
              1307 • Accum. Depreciation - Other                                                           -12,795.00
              1308 • Automobiles                                                                            40,482.91
              1309 • Equipment                                                                            718,416.95
              1310 • Furniture and Fixtures                                                                  1,569.87

             Total 1 3 0 0 - F I X E D A S S E T S                                                             377,038.73

         Total Fixed A s s e t s                                                                               377,038.73
          Other Assets
            1400 • OTHER A S S E T S
              1401 • Accum. Amortlz. - Org. C o s t s                                                    -11,277 00
              1402 • Deposits                                                                              9,542.85
              1403 • Other Noncurrent Assets                                                             879,126.00

            Total 1400 • O T H E R A S S E T S                                                                 877,391.86

         Total Other A s s e t s                                                                               877,391.85

       TOTAL A S S E T S                                                                                      1,471,047.03
       LIABILITIES & EQUITY
         Liabilities
           Current Liabilities
              Accounts Payable
                  1 5 0 0 - A c c o u n t s Payable                                                            285,064,70
                Total Accounts Payable                                                                         285,064.70

                Credit Cards
                  1600 - C R E D I T C A R D
                    1601 Capital O n e - 1 1 9 5                                                             -214.85
                    1602 - Credit One -4708 (Credit One)                                                   -5,214.22
                                                                                                                              Pagel
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5:27 PM                A Plus Lamination & Finishing inc. - Combo
05/14/18                           Balance Sheet
Accrual Basis                                                     As Of May   14,   2018


                                                                                           May 14^ 18

                     1603 • Shell-823                                                           978^09
                  Total 1600     C R E D I T CARD                                                  -4,450.98

                Total Credit C a r d s                                                             -4,450 98
                Other Current Liabilities
                  1700 • O T H E R C U R R E N T LIABILITY
                    1702 • "Sales Tax Payable                                                   411.43
                    1703 • Wages Payable                                                    270,591 89
                    1700 • O T H E R C U R R E N T LIABILITY - Other                        -24,892.54

                  Total1700 • O T H E R C U R R E N T LIABILITY                                  246,110.78

                Total Other Current Liabilities                                                  246,110.78

            Total Current Liabilities                                                            526,724.50
            Long Term Liabilities
              1800 • LONG T E R M LIABILITY
                1801 • 1st United Bank Loan                                                -184,006.67
                1802 • Jim H Hawk (466K)                                                    184,714.06
                1803 • Nubia M Perez                                                        174,883 00
                1804 'Nubia M Perez ( H E L O C )                                            98,449 00
                1805 • Matt D Goldman                                                       111,500.00
                1806 • Valley National Bank-2198                                            106,916.56
                1807 • Valley National Bank - 2626                                          728,749.73
                1800 • LONG T E R M LIABILITY - Other                                        -7.100.00
                Total 1800 • LONG T E R M LIABILITY                                            T214,105^8

            Total Long Term Liabilities                                                        1,214^105,68

          Total Liabilities                                                                    1,740,830.18
          Equity
            3000 • Beginning Balance Equity                                                     -174,764.12
            3001 • Common Stock                                                                      100.00
            3003 • Opening Bal Equity                                                           -366,506 26
            3005 - Retained Earnings                                                             216,423 09
            Net Income                                                                            12,383.54
          Total Equity                                                                          l312.363T5

       TOTAL LIABILITIES & EQUITY                                                              1,428,466.43




                                                                                                               Page 2
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 Debtor 1                                                                                          Case numtier [iikmmn)_
              PlrMName     MIddJ* Mame              Last Name




 F o r you if you are filing this          T h e law allows you, a s a n individual, to represent yourself in bankruptcy court, but you
 bankruptcy without a n                    s h o u l d u n d e r s t a n d that many people find It extremely difficult to represent
 attorney                                  t h e m s e l v e s s u c c e s s f u l l y . B e c a u s e bankruptcy h a s long-term financial and legal
                                           c o n s e q u e n c e s , you are strongly urged to hire a qualified attorney.
 If you are represented by
 a n attorney, you do not                  T o be successful, you must correctly file and handle your bankruptcy c a s e . T h e rules are very
 need to file this page.                   technical, and a mistake or inaction may affect your rights. For example, your case may be
                                           dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                           hearing, or cooperate with the court, c a s e trustee. U.S. trustee, bankruptcy administrator, or audit
                                           firm if your c a s e is selected for audit. If that happens, you could lose your right to file another
                                           case, or you may lose protections. Including the benefit of the automatic stay.

                                           You must list all your property and debts in the schedules that you are required to file with the
                                           court. E v e n if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                           in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                           property or properly claim it a s exempt, you may not be able to keep the property. The judge can
                                           also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                           case, such a s destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                           c a s e s are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                           Bankruptcy fraud Is a serious crime; you could be fined and imprisoned.

                                           If you decide to file without an attorney, the court expects you to follow the rules a s if you had
                                           hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal R u l e s of
                                           Bankruptcy Procedure, and the local rules of the court in which your c a s e is filed. Y o u must also
                                           be familiar with any state exemption laws that apply.


                                           Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                           consequences?
                                           •   No
                                           B'Yes

                                           Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                           inaccurate or incomplete, you could be fined or imprisoned?
                                           •   No
                                           a-Ves

                                           Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                           a^No
                                           G   Yes. Name of Person                                                                              .
                                                    Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                           By signing here, I acknowledge that I understand the risks involved in filing without an attorney,
                                           have read and understood this notice, and I am aware that filing a bankruptcy c a s e without an
                                           attorney may causg,me to lose my rights or property if I do not properly handle the case.




                                                                                                            Signature of Debtor 2



                                                                                                                             MM /   DD / YYYY

                                          Contact phone                                                     Contact phone


                                         • cellphone            - ^ ^ - ^ 1 0 '    I    O    ^              Cell phone


                                           Email address         g ^ ^ \ ( A s \ o y Y N O Q/V\0)t1-(^^ Email address
                                                                                                                                                 mk:mk ' L-LiLLiA-

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  Debtor   1 t\!\AoiCL
                 FlrBt N a m e   Middle N « d e
                                                  l^ifcAL Pe^rez                                                    Case number (/r*nomi)_




              Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                  About Debtor 1:                                                         About Debtor 2 (Spouse Only In a Joint Case):
  15., Tell the court w h e t h e r
       you have r e c e i v e d a
       briefing about credit                      You must check one:                                                      You must check one:
       counseling.
                                                  Q I received a briefing from an approved credit                         G I received a briefing from an approved credit
                                                    counseling agency within the 180 days before I                          counseling agency within the 180 days before I
     The law requires that you                      filed this bankruptcy petition, and I received a                        filed this bankruptcy petition, and I received a
     receive a briefing about credit                certificate of completion.                                              certificate of completion.
     counseling before you file for
     bankruptcy. You must                                 Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
     truthfully check one of the                          plan, if any, that you developed with the agency.                   plan, if any, that you developed witti the agency.
     following choices. If you
                                                  •       I received a briefing from an approved credit                   G i received a briefing from an approved credit
     cannot do so, you are not
                                                          counseling agency within the 180 days before I                    counseling agency within the 180 days before I
     eligible to file.
                                                          filed this bankruptcy petition, but I do not have a               filed this bankruptcy petition, but I do not have a
                                                          certificate of completion.                                        certificate of completion.
     If you file anyway, the court
                                                          Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
     can dismiss your case, you
                                                          you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
     will lose whatever filing fee
                                                          plan, if any.                                                       plan, if any.
     you paid, and your creditors
     can begin collection activities
                                                          i certify that I asked for credit counseling                    G I certify that I asked for credit counseling
     again.
                                                          services from an approved agency, but was                         services from an approved agency, but was
                                                          unable to obtain those services during the 7                      unable to obtain those services during the 7
                                                          days after I made my request, and exigent                         days after I made my request, and exigent
                                                          circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                                          of the requirement.                                               of the requirement.
                                                      To ask for a 30-day temporary waiver of the                             To ask for a 30-day temporary waiver of the
                                                      requirement, attach a separate sheet explaining                         requirement, attach a separate sheet explaining
                                                      what efforts you made to obtain the briefing, why                       what efforts you made to obtain the briefing, why
                                                      you were unable to obtain it tiefore you filed for                      you were unable to obtain it before you filed for
                                                      bankruptcy, and what exigent circumstances                              bankruptcy, and what exigent circumstances
                                                      required you to file this case.                                         required you to file this case.

                                                      Your case may be dismissed if the court is                             Your case may be dismissed if the court is
                                                      dissatisfied with your reasons for not receiving a                     dissatisfied with your reasons for not receiving a
                                                      briefing before you filed for bankruptcy.                              briefing before you filed for bankruptcy.
                                                      If the court is satisfied with your reasons, you must                  If the court is satisfied with your reasons, you must
                                                      still receive a briefing within 30 days after you file.                still receive a briefing within 30 days after you file.
                                                      You must file a certificate from the approved                          You must file a certificate from the approved
                                                      agency, along with a copy of the payment plan you                      agency, along with a copy of the payment plan you
                                                      developed, if any. If you do not do so, your case                      developed, if any. If you do not do so. your case
                                                      may be dismissed.                                                      may be dismissed.
                                                      Any extension of the 30-day deadline Is granted                        Any extension of the 30-day deadline is granted
                                                      only for cause and is limited to a maximum of 15                       only for cause and is limited to a maximum of 15
                                                      days.                                                                  days.

                                              •       I am not required to receive a briefing about                      G I am not required to receive a briefing about
                                                      credit counseling because of:                                        credit counseling trecause of:

                                                      •      Incapacity.   I have a mental illness or a mental               G Incapacity.     I have a mental illness or a mental
                                                                           deficiency that makes me                                            deficiency that makes me
                                                                           incapable of realizing or making                                    incapable of realizing or making
                                                                           rational decisions about finances.                                  rational decisions about finances.
                                                      •     Disability.    My physical disability causes me                  G Disability.     My physical disability causes me
                                                                           to be unable to participate in a                                    to be unable to participate In a
                                                                           briefing in person, by phone, or                                    briefing In person, by phone, or
                                                                           through the internet, even after I                                  through the internet, even after I
                                                                           reasonably tried to do so.                                          reasonably tried to do so.
                                                      •     Active duty. I am currently on active military                   G Active duty. I am currently on active military
                                                                         duty in a military combat zone.                                    duty in a military combat zone.
                                                      If you believe you are not required to receive a                       If you believe you are not required to receive a
                                                      briefing about credit counseling, you must file a                      briefing about credit counseling, you must file a
                                                      motion for waiver of credit counseling with the court.                 motion for waiver of credit counseling with the court.




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 Debtor 1       hl(A lo//^         Mrft)<cc         //<-                  Pe/^e-Ey                        Case number (/known).
                F«N«me          Middle Name               Leal Name




 _          „        ..                       I, ttie attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
 l-or your attorney, IT you are                   proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
 represented by o n e                         available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                              the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
 If you are not r e p r e s e n t e d         knowledge after an inquiry that the information in the schedules filed with the petition is Incorrect.
 by a n attorney, you d o not
 n e e d to file this page.
                                                                2f=X'                                             Date
                                                 Signature of Attorney for Debtor                                                  MM        /   DD   /WW




                                                                           -r-i   < J
                                                 Printed nafhe'       '



                                                 Firm name



                                                 Number      Street                                   tr^"               ^         <=^




                                                 City                                                            State             ZIP Code




                                                 Contact phone    f 7 . 7 ) 0            ~3                        Email address     A^^i         O'ffj'(     6     3'l   ^   ^/l^   // •
                                                                                                                                         7

                                                 Bar number                                                      State




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                               guaranty of payment and perf
                                                                             ormance-

                  This Guaranty of Payment and Performance (this
                                                                      '"Guaranty") is made as of the 4® day of
    •      December, 2017. by NUBTA M. PFRF.7, (the "Gua
                                                                 rantor"). with an address of 5559 NW 36,h
           Avenue, Miami, TL 33142, in favor of VAL
                                                          LY NATIONAL. BANK, its successors or
          ("Lender"), as successor by merger to V Unite                                                    assigns
                                                            d Bank ("Ist United"), with an address of 1455
          Valley Road, Wayne, NJ 07470.


                                                      RECITALS

                   A PLUS LAMINATION & FINISHING
                                                            , INC. (sometimes hereinafter each indiv
          and all collectively referred to as "Borr                                                    idually
                                                    ower") has requested and Lender has
                                                                                           agreed to extend
          credit, renew an existing loan and/or make
                                                      a loan to Borrower not to exceed the Princ
          of Light Hundred Three Thousand Eight                                                  ipal amount
                                                     een Dollars and Thirty-Two Cents ($803
                                                                                               ,018.32) (the
          "LfiSlf'T as evidenced by that certain U. S. Smal
                                                             l Business Administra
                                                                       tion ("SBA'T Note in the:
          principal amount of One Million Three
                                                Hundred Fifty Thousand Dollars ($1,350,00
          executed and delivered by Borrower on May                                       0.00)
                                                            5, 2007. to ls< United with a maturity date
          August 1, 2017. which was modified by                                                                of
                                                     a Change to Terms Agreement executed
          by Borrower to 1st United on April 15, 2013                                              and delivered
                                                         in the principal amount of One Million Thirty
         Thousand Seven Hundred Eighteen Dolla                                                              -Five
                                                      rs and Thirty-Two Cents ($1,035,718.32)
                                                                                                    , and which
         was further modified by a Change in Terras
                                                    Agreement executed and delivered by Borro
                                                                                                           wer to
         r United on April 15, 2014 in the principal
                                                          amount of Nine Hundred Seventy-Five Thou
         Two Hundred Eighteen Dollars and Thirt                                                             sand
                                                      y-Two Cents ($975,218.32) (together with
         renewals, extensions, modifications and amen                                                  all other
                                                         dments thereto, the "Note"), which Note
         the extension of a commercial SBA loan made                                                  evidenced
                                                            by 1 si United to Borrower on or about May
         2007, in the original principal amount of                                                             3,
                                                      One Million Three Hundred Fifty Thousand
                                                                                                          Dollars
         |$ 1,3 50,000,00) (as amended, extended and/or
                                                           renewed, the "Loan"). As a condition precedent
         to Lender making the Loan. Lender has
                                                    required Guarantor to execute and delive
                                                                                             r this Guaranty
         to Lender.   Any capitalized term used and not defin
                                                                ed in this Guaranty shall have the mean
         given to such term in the Note (as modi                                                         ing
                                                  fied, extended and renewed).
                                                                                            .

                                                   AGREEMENTS

                Guarantor will receive a material benefit from
                                                                 Lender making the Loan to Borrower, For
         good and valuable consideration, the receip
                                                       t and adequacy of which are hereby ackno
        and in order to induce Lender to make                                                         wledged,
                                                   the Loan to Borrower, Guarantor hereb
                                                                                                y guarantees to
        .Lender trie prompt and full payment of
                                                   the indebtedness and obligations described
                                                                                                  below
                                                                                             in this
        Guaranty (collectively called the "Guarante
                                                    ed Objurations ft. this Guaranty being upon
        following terms and cond                                                                 the
                                   itions;

                Section J.     Guaranty of Payment.

                Guarantor hereby unconditionally and
                                                            irrevocably guarantees to Lender the
        payment when due, whether by lapse of                                                       punctual
                                                     time, by acceleration of maturity, or other
.       principal, interest (including interest accru
                                                                                                 wise, of all
                                                      ing after maturity and after the commencem
                                                                                                  ent of any




        Nubia Guaranty
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         bankruptcy or insolvency proceeding by or against Borrower, whether or not allowed in
                                                                                                               such
         proceeding),   prepayment   premiums,    fees,     late   charges,   costs,   expenses,   iodenrnification
         indebtedness, and other sums of money now or hereafter due and owing, or which Borrower
                                                                                                                    is
         obligated to pay, pursuant to the terras of the Loan Documents (as such term is defined
                                                                                                             Irr '.he
         Note), which Loan Documents include, without limitation, the Note, the Loan;
                                                                                      Agreement, that
         certain Mortgage (as such tern is defined in the Note), Assignment of Rents
                                                                                      (as such term is
         defined in the Note), Environmental Indemnity Agreement (as such term is defined in the
                                                                                                            Note),
        and all other documents, agreements and instruments executed and/or delivered in
                                                                                             connection
        with or contemplated by the Loan, as the same msiy ' from time to time be
                                                                                               amended,
        supplemented, restated or otherwise modified (collectively, the "Indebtedn
                                                                                          ess"').    The
        Indebtedness includes all reasonable costs and expenses incurred by Lender in seeking
                                                                                              to enforce
        Lender's rights and remedies with respect to the indebtedness, and to protect, defend,
                                                                                                maintain
        or enforce Lender's liens or security interests, including, without limitation,
                                                                                        collection costs,
        default rates of interest, reasonable attorneys' fees and costs at trial add appellate
                                                                                               levels and
        related costs, and costs of alternative dispute resolution, whether or not suit is filed or other
        proceedings are initiated thereon.   This Guaranty covers the Indebtedness presently outstanding
        and the Indebtedness arising subsequent to the date hereof, including all amounts advanced
                                                                                                                 by
        Lender in stages or installments.    The guaranty of Guarantor as set forth in this Section is-a
        continuing guaranty of payment and not. a guaranty of collection.


              The foregoing obligations guaranteed tinder this Section are defined as the "Guarantee
                                                                                                     d.
        Payment Obligations".    The Guaranteed Payment Obligations are included as part of the
        Guaranteed Obligations for all purposes of this Guaranty.


               Section 2.      Guaranty of Performance.


               Guarantor hereby unconditionally and irrevocably guarantees to Lender the complete
        performance when due of all other Obligations of Borrower under ail of the Loan Documents
                                                                                                  ,
        including, without- limiting the generality of the foregoing, all such Obligations of Borrower
                                                                                                                 to
        duly and punctually perform and observe all other terms, covenants and conditions
                                                                                                     of the Note,
        the Loan Agreement, the Mortgage, the Environmental Indemnity Agreement, and
                                                                                                   all other Loan
        Documents,

               The foregoing obligations guaranteed under this Section are defined as the "Guarantee
                                                                                                                  d
        Performance Obil gatioi! s T The Guaranteed Performance Obligations are included as part of the
        Guaranteed Obligations for all purposes of this Guaranty.


               The liability and obligations under this Section shall not he limited or .restricted by the
        existence of, or any terms of. the guaranty of payment under Section I.

    I


               Section 3.      Primary Liability of Guarantor.


               (a)      This Guaranty is an absolute, irrevocable and unconditional guaranty of payment
        and performance, and Guarantor shall he liable for the payment and. performance of the
        Guaranteed Obligations as a primary obligor. This Guaranty shall be effective as a waiver of
        and Guarantor hereby expressly waives, any right to which Guarantor may otherwise have been



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      entitled, whether existing under statute, at
                                                   Jaw or in equity, to require Lender to take
      recourse or proceedings against any collateral,                                             prior
                                                      security or person. It shall not be necessary
      Lender, in order to enforce such payment or                                                    far
                                                   performance by Guarantor, first to institute
      pursue or exhaust any rights or remedies                                                  suit  or
                                                  against Borrower or other person liable on
      indebtedne                                                                                  such
               ss or performance, or to enforce any rights
                                                           against any security given to secure such
     indebtedness or for such performance, or
                                               to join Borrower or any other person liable
     payment or performance of the Guaranteed                                                 for the
                                                  Obligations or any part, thereof in any
                                                                                           action to
     enforce this Guaranty, or to resort to any other
                                                            means of obtaining payment or performan
                                                                                              ce of
     the Guaranteed Obligations provided, howe
                                                  ver, that nothing herein contained shall
     Lender from suing an the Note or exercising                                            prevent
                                                 any other right under the Loan Documents
                                                                                          .

               Cb)    Suit may be brought or demand may be made
                                                                        against Borrower or against any or
      all parties who have signed this Guaranty
                                                   or any other guaranty- covering all or any
                                                                                                part of the
      Guaranteed Obligations, or against any
                                                one or more of them, separately or togeth
                                                                                               er, without
      impairing the rights of Lender against any
                                                     patty hereto. Any time that Lender is entitle
     exercise its rights or remedies hereunder, it                                                     d to
                                                   may in its discretion elect to demand paym
                                                                                                ent and/or
     performance. If Lender elects to demand
                                                   performance, it shall at all times thereafter
     right to demand payment until ail of the                                                     have the
                                                Guaranteed Obligations have been paid and
                                                                                                performed
     in full. If Lender elects to demand paym
                                                   ent, it shall at all times thereafter have the
    demand performance until all of the Guara
                                                                                                   right to
                                                   nteed Obligations have been paid and
                                                                                            performed in
    full


            (c)     The liability of Guarantor or any other
                                                                 Person hereunder for Guaranteed
    Obligations arising out of or related to the
                                                  Environmental Indemnity Agreement shall
    limited or affected in any way by any provi                                             not be
                                                sion in this Guaranty, the other Loan Docu
                                                                                           ments or
    applicable law limiting the liability of Borrower. Guara
                                                             ntor or such other Person, or Lender's
    recourse or rights to a deficiency judgment.

            Section 4.     Certain Agreements and Waivers by Guara
                                                                         ntor.          ,

             (a)     Guarantor agrees that neither Lender's
                                                               rights or remedies nor Guarantor's
    obligations under the terms of this Guaranty
                                                 shall be released, diminished, impaired, reduc
    affected by any one or more of the follow                                                   ed or
                                               ing events, actions, facts, or circumstances,
    liability of Guarantor under this Guaranty                                               and  the
                                                 shall be absolute, unconditional and irrevo
                                                                                               cable
    irrespective of:


                   (i)     any limitation on the liability of or recou
                                                                        rse against, any other person in
           any Loan Document or arising under
                                                   any law;


                   (ii)   any claim or defense that this Guaranty was
                                                                        made without consideration or
           is not supported by adequate consideration
                                                       or that the obligations of Guarantor hereu
                                                                                                  nder
           exceed or are more burdensome than those
                                                       of Borrower under the other Loan Documents
                                                                                                     ;

                   (hi)   the taking or accepting of any other security
                                                                            or guaranty for, or right of
           recourse with respect to, aov or all of the
                                                         Guaranteed Obligations;




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                   (iv)    the operation of any laws (other than statutes of limitati
                                                                                         on) regarding the
           limitation of actions, all of which are hereby waived
                                                                    as a defense to any action or
           proceeding brought by Lender against Guarantor, to the
                                                                  fullest extent permitted by law;

                   (v)     any homestead exemption or any other exemption under-a
                                                                                          pplicable law;

                   (vi)    any release, surrender, abandonment, exchange, alterati
                                                                                   on, sale or other
           disposition,   subordination, deterioration, waste, failure to protect
                                                                                       or preserve,
           impairment* or loss of, or any failure- to create or perfect any lien
                                                                                   or security interest with
           respect to, or any other dealings with, any collateral
                                                                       or security at any time existing or
           purported, believed or expected to exist in connection
                                                                        with any or all of the Guaranteed
           Obligations, or any impairment of Guarantor's recours
                                                                    e against any person or collateral;

                 (vii)  whether express or by operation of law, any partial release
                                                                                     of the liability
          of Guarantor hereunder (except to the extent paid, perform
                                                                     ed or expressly so released) or
          any complete or partial release of Borrower or any other
                                                                         person liable, directly or
          indirectly, for the payment or performance of any or all
                                                                       of the Guaranteed Obligations;

                  (via)   the   insolvency,    bankruptcy,    dissolution,     liquidation,   termination,
          receivership,   reorganization,   merger,   consolidation,    change     of form,   structure   or
          ownership, sale of all assets, or lack of corporate, partner
                                                                        ship or other power of Borrower
          or any other person at any time liable for the payment
                                                                 of any or all of the Guaranteed
          Obligations;


                  (ix.)   either with or without notice to or consent of Guaran
                                                                                        tor, any renewal
          extension, modification, supplement subordination or rearran
                                                                             gement of die terms of any
          or all of. the Guaranteed Obligations and/or any of
                                                                  the Loan Documents, including
          material alterations of the terms of payment (including
                                                                   changes in maturity date(s) and
          interest rate(s) or performance (including changes with
                                                                     respect to construction of the
          Improvements) or any other terms thereof, or any waiver,
                                                                       termination, or release of, or
          consent to departure from, any of the Loan Documents or any
                                                                      other guaranty of any or all
          of the Guaranteed Obligations, or any adjustment,
                                                                   indulgence, forbearance, or
          compromise that may be granted from time to time by Lender
                                                                        to Borrower or any other
          person at any time liable for the payment or perform
                                                                 ance of any or all of the Guaranteed
          Obligations;

                <x)    any neglect, lack of diligence, delay, omission, failure,
                                                                                     or refusal of
         Lender to take or prosecute (or in taking or prosecuting)
                                                                   any action for the collection or
         enforcement of any of the Guaranteed Obligations, or to foreclo
                                                                               se or take or prosecute
         any action, to foreclose (or in foreclosing or taking or prosec
                                                                         uting any action to foreclose)
         upon any security therefor, or to exercise (or in exercising)
                                                                       any other right or power with
         respect to any security therefor, or to take or prosecute (or
                                                                        in taking or prosecuting) any
         action in connection with any Loan Document, or any failure
                                                                          to sell or otherwise dispose
         of in a commercially reasonable manner- any collate
                                                                    ral securing any or all of the
         Guaranteed Obligations;




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                  (xi)    any failure of Lender to notify Guarantor
                                                                        of any creation, renewal
           extension, rearrangement, modification, supple
                                                          ment, subordination, or assignment of the
           Guaranteed Obligations or any past thereof,
                                                       or of any Loan Document, or of any release
           of or change in any security, or of the occurrence
                                                                or existence of any Event of Default, or
           of any other action taken or refrained from
                                                          being taken by Lender against Borrower or
           any security or other recourse, or of any new agree
                                                               ment between Lender and Borrower, it
           being understood that Lender shall not be requir
                                                             ed to give Guarantor any notice of any
           kind under any circumstances with respect
                                                          to or in connection with the Guaranteed
           Obligations, any and ail rights to notice Guarantor
                                                               may have otherwise had being hereby
           waived by Guarantor, and Guarantor shall
                                                            be responsible for obtaining for itself:
           information regarding Borrower, including any
                                                         changes in the business or financial
           condition of Borrower, and Guarantor ackno
                                                 wledges and agrees that Lender shall have no
          duty to notify Guarantor of any information
                                                      which Lender may have concerning
          Borrower;


                  fx it)    the existence of any claim, counterclaim,
                                                                      set-off or other right that
          Guarantor may at any time have against Borrower.
                                                            Lender, or any other person, whether
          or not arising in connection with this Guara
                                                       nty, the Note, the Loan Agreement, the:
          Mortgage, the Environmental Indemnity Agree
                                                          ment, or any other Loan Document;
          provided, however, that: tire foregoing shall not
                                                              be deemed a waiver of Guarantor's right
          to assert any compulsory counterclaim mainta
                                                           ined in a court of the United States or the
          State of Florida if such counterclaim is comp
                                                         elled under local law or procedure;

                 (xiii)    the unenforceability of all or any part of the
                                                                          Guaranteed Obligations
          against Borrower, whether because the Guara
                                                      nteed Obligations exceed the amount
          permitted by law or violate any usury law,
                                                     or because the persons creating the
          Guaranteed Obligations acted in excess of their
                                                            authority, or because of a lack of validity
          or enforceability of or defect or deficiency
                                                         In any of the Loan Documents, or because
          Borrower has any valid defense, claim
                                                or offset with respect thereto, or becau
                                                                                         se
         Borrower's obligation ceases to exist by opera
                                                        tion of law, or because of any other reason
         or circumstance, it being agreed that Guarantor
                                                           shall remain liable hereon regardless of
         whether Borrower or any other person be found
                                                          not liable on the Guaranteed Obligations,
         or any part thereof tor any reason (and
                                                 regardless of any joinde      r of Borrower or any
         other party in any action to obtain payme
                                                   nt or performance of any or all of the
         Guaranteed Obligations);


                 (xiv)     any order, ruling or plan of reorganization eman
                                                                             ating from proceedings
         •under Title i 1. of the United States Code with respec
                                                                 t to Borrower or any o titer person,
         including any extension, reduction, composition
                                                            , or other alteration of the Guaranteed
         Obligations, whether or not consented to by
                                                     Lender, or any action taken or omitted by
         Lender in any such proceedings, Including
                                                   any election to have Lender's claim allowe
                                                                                              d
         as being secured, partially secured or unsecured,
                                                           any extension of credit by Lender in any
         such proceedings or the taking and holdin
                                                      g by Lender of any security for any such
         extension of credit;




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                    (xv)   any other condition, event, omission, or action that would in the
                                                                                                absence
            of this paragraph result in the release or discharge of the Guarantor
                                                                                  from the performance
            or observance of any obligation, covenant or agreement containe
                                                                              d in this Guaranty or any
            other agreement;
                                                                                                    •

                    (xvi)   any early termination of any of the Guaranteed Obligations; or

                   (xvii) Lender's enforcement or forbearance from enforcement
                                                                               of the Guaranteed
            Obligations on a net or gross basis,                .

            (b)    In the event any payment by Borrower or any other person
                                                                                to Lender is held to"
    constitute a preference, fraudulent.- transfer or other voidable
                                                                     .payment under any bankruptcy,
    insolvency or similar law, or if for any other reason Lender is required
                                                                               to refund such payment or
    pay the amount thereof to any othbr party, such payment
                                                            by Borrower or any other party to
    Lender shall not constitute a release of Guarantor from any liabi
                                                                        lity hereunder, and this Guaranty
    shall continue to be effective or shall be reinstated (notwithstanding
                                                                             any prior release, surrender
    or discharge by Lender of this Guaranty or of Guarantor), as
                                                                     the case may be, with respect to,
    and this Guaranty shall apply to, any and all amounts so refunded
                                                                  by Lender or paid- by Lender tcy
    another person (which amounts shall constitute part of the Guarant
                                                                       eed Obligations), and any
    interest paid by Lender and any reasonable attorneys' tees, costs and
                                                                               expenses paid or incurred
    by Lender in connection with any such event.


           (c)     It is the intent of Guarantor and Lender that the obligatio
                                                                               ns and liabilities of
    Guarantor hereunder are absolute, irrevocable and unconditional under
                                                                               any and all circumstances
    and that until the Guaranteed Obligations -are fully and finally
                                                                     paid and performed, and not.           •
    subject to refund or disgorgement, the obligations and liabilities of Guarant
                                                                                   or hereunder shall not
    be discharged or released, in whole or in part, by any act or occurren
                                                                               ce that might, bid for the
    provisions of this Guaranty, be deemed a legal, or equitable discharg
                                                                          e or release of a guarantor.

           (d)     Guarantor's obligations shall not be affected, impaired, lessened
                                                                                          or released by
    loans, credits or other financial accommodations now existing or hereafte
                                                                                  r advanced by Lender
    to Borrower in    excess   of the   Guaranteed Obligations.     All     payments,   repayments   and
    prepayments of the Loan, whether voluntary or involuntary, received
                                                                             by Lender from Borrower,
    any other person or any other source (other than from Guarantor pursuan
                                                                              t to a demand by Lender
    hereunder), and any amounts realized from any collateral for the
                                                                          Loan, shall be deemed to be
    applied first to any portion of the Loan which is not covered by this
                                                                               Guaranty, and last to the
   Guaranteed Obligations, and this Guaranty shall bind Guarantor to
                                                                       die extent of any Guaranteed
   Obligations that may remain owing to Lender. Lender shall have
                                                                        the right to apply any sums
   paid, by Guarantor to any portion of the Loan in Lender's sole and absolute
                                                                               discretion.

    i     (e)     If acceleration of the time for payment of any amount payable by Borrowe
                                                                                           r under
   the Note, the Loan Agreement, or any other Loan Document is stayed
                                                                          or delayed by any law or
   tribunal, all such amounts shall nonetheless be payable by Guarantor on demand
                                                                                        by Lender.

          (0      Guarantor hereby waives and agrees not to assert or take advantage of
                                                                                                 (i) any-
   right or claim of right to cause a .marshalling of any of Borrower's assets
                                                                                    or the assets of any




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          other party now or hereafter held as security for the
                                                                      Indebtedness; (It) the defense of laches In
    •     any ac tion hereunder or for the payment of the Indebt
                                                                      edness and performance of any obligation
          hereby guaranteed; (Hi) any defense that may arise
                                                                   by reason of the incapacity, lack of authority,
          death or disability of Guarantor, any other guarantor
                                                                        of the Loan, or Borrower or any other
          person or entity, or the voluntary or involuntary
                                                                dissolution of Borrower, or the failure of Lende
                                                                                                                      r
          to file or enforce a claim against the estate (either in
                                                                       administration, bankruptcy, or any other
          proceeding) of Borrower or any other person or entity;
                                                               (iv) any defense based on the failure of
         Lender to give notice of the existence, creatio
                                                          n, or incurring of any new ox additional
         indebtedness or obligation, or of any action or
                                                          nonaction on the part of any other person
         whomsoever, or any modification of the terms of
                                                         the Loan Documents, or the Indebtedness, in
         connection with any obligation, hereby guaran
                                                           teed; (v) any defease based upon an election
                                                                                                                 of
         remedies by Lender which destroys or otherwise impair
                                                                       s any subrogation rights of Guarantor or
         any other guarantor of the Loan or the right of
                                                                Guarantor to proceed against Borrower or any
         other guarantor for reimbursement, or both; (vi)
                                                                  any defense based upon failure of Lender to
         commence an action against Borrower; (vii) any
                                                                defense based upon acceptance of tins Guaranty
         by Lender: (viii) any defense based upon the invalid
                                                                     ity or unenforceability of any of the Loan
         Documents; (ix) any defense based upon any comple
                                                                    te or partial release of liability contained in
         any of the Loan Documents; (x) any defense
                                                         based upon any transfer by Borrower of all or
                                                                                                               any
         part, of the collateral for the Loan; (xi) any defens
                                                                 e based upon the failure of Lender to perfect
         any security or to extend, or renew the perfection
                                                           of any security; and (xii) any other legal or
         equitable defenses whatsoever to which Guarantor might
                                                                otherwise be entitled.

                 Section 5 .    Subordination.

                If, for any reason whatsoever. Borrower is now
                                                               or hereafter becomes indebted to
         Guarantor:


                (a)      such indebtedness and all interest thereon and
                                                                        all liens, security interests and
        rights now or hereafter existing with respect to proper
                                                                     ty of Borrower securing such indebtedness
        shall, at all limes, be subordinate in all respects
                                                                to the Guaranteed Obligations and to all liens,
        security interests and rights now or hereafter existin
                                                                 g to secure the Guaranteed Obligations;

                (b)     Guarantor shall not be entitled to enforce or
                                                                        receive payment, directly or
        indirectly, of any such indebtedness of Borrower
                                                         to Guarantor until the Guaranteed Obligations
        have been fully and finally paid and performed;


                (c)     Guarantor hereby assigns and grants to Lende
                                                                     r a security interest in all such
        indebtedness and security therefor, if any, of Borrow
                                                              er to Guarantor now existing or hereafter
        arising, including any dividends and payments
                                                            pursuant to debtor relief or insolvency
        proceedings referred to below,      in the event of receivership, bankruptcy, reorga
                                                                                              nization,
        arrangement or other debtor relief or insolvency
                                                               proceedings involving Borrower as debtor,
        Lender shall have the right to prove its claim in
                                                          any such proceeding so as to establish its rights
.       hereunder and shall have the right to receive directl
                                                              y from the receiver, trustee or other custodian
        (whether or not an Event of Default shall have occurr
                                                                 ed or be continuing under any of the Loan
        Documents), dividends and payments that are
                                                           payable upon any obligation of Borrower to
        Guarantor now existing or hereafter arising,
                                                        and to have all benefits of any security therefo
                                                                                                         r.




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      until the Guaranteed
                           Obligations have          been fully and fin
     notwithstanding, the                                                  ally paid and perfo
                               foregoing provisions.                                              rmed.    If,
     distribution that is pro                          Guarantor should rec
                                hibited as provided                           eive any payment, cla
                                                    ab ove in this Section, Guara                      im  or
     Lender immediately.                                                          ntor shall pay the sam
                                Guarantor hereby ag                                                      e to
                                                     reeing that it shall
     distribution .in. trust for                                            receive the paymen
                                  Lender and shall hav                                            t claim or
     pay it immediately                                e absolutely no domi
                           to Lender; and                                     nion over the same exc
                                                                                                       ept to

             (d)    Guarantor shall promp
                                             tly upon request of Le
    documents and perfo                                              nder from time to tim
                          rm such acts as Lend                                              e execute such
    interest and to perm                           er may reasonably req
                         it or facilitate exercis                         uire to evidence and
                                                  e of its rights under                         perfect its
    and delivery of pro                                                 this Section, including
                        ofs of claim, furthe                                                     execution
                                                r assignments and se
    Lender of any promi                                               curity agreements,
                                                                                           and dellvepflo
                          ssory notes or other
    Guarantor.                                     instruments evidenc
                 All promissory no                                      ing indebtedness of
                                       tes, accou
                                               nts receivable ledge                           Borrower to
    hereafter held by Gu                                            rs or other- evidence
                            arantor, of obligatio                                          s, now or
    written notice thereo                     ns  of Borrower to Gu
                          n that the indebtedne                      arantor shall conta
                                                                                         in a Specific
    subject to the terms                        ss evidenced thereb
                         of this Guaranty.                          y is subordinated un
                                                                                           der and is

            Section 6.        Qffrer liability of Qffiff
                                                        aatpr y Spyrovy^.
           If Guarantor is or be
                                     comes liable, by en
   owing by Borrowe                                          dorsement or otherw
                         r to Lender other                                    ise, for any indebted
                                              than under this Gu                                       ness
   manner impaired or                                         aranty, such liabil
                        affected hereby, and                                      ity shall not be in
                                              the rights of Lender                                       any
   any and all other rig                                             hereunder shall be cu
                         hts that Lender ma                                                   mu  lative of
                                             y have against Guara
   indebted to Lender for                                            ntor. If Borrower is
                            any indebtedness oth                                             or becomes
                                                 er than or in excess
   any 'payment received                                                of the Guaranteed Ob
                          or recovery realized                                                  ligations,
  may be applied to suc                        up on such other indebted
                          h other indebtedness.                            ness of Borrower to
                                                  This Guaranty is ind                              Lender
  limited by) any other                                                  ependent of (and sh
                          guaranty now existi                                                  all  not be
  under this Guaranty                         ng  or hereafter given.
                       is in addition to any                             Further, Guarantor's
                                             and all other liability                              lia bility
  capacity to Lender.                                                Guarantor may have
                                                                                            in any other

          Section 7.      kend^r Am; Pfccfo
                                                     SWP <rf Information.
         This Guaranty is for
                                the benefit, of Lender
  event of an assignme                                  and Lender's successor
                        nt of the Guaranteed                                     s and assigns, and in
                                                Obligations, or any pa                                   the
  hereunder, to the exten                                              rt thereof, the rights
                          t applicable to the Gu                                              and benefits
 with such Guaranteed                             aranteed Obligations
                         Obligations. Guara                              so assigned, may be tra
                                               nto r waives notice of an                          nsferred
 Guaranteed Obligatio                                                     y transfer or assignme
                       ns or any part thereo                                                      nt of the
                                               f. Leader may sell or
 therein to one or more                                               offer to sell the Loan
                            assign
                                 ees or participants. Gu                                       or inte rests
 deliver any and all instru                                  arantor shall execute,
                           ments- reasonably reque                                    acknowledge and
 the extent, if any, sp                              ste d by Lender in connection
                         ecified in any such,                                         therewith, and to
participants) shall have                        assignment or participa
                          the same rights and bene                          tion, such assignee-(s)
                                                     fits with respect to the Lo                      or
persen(s) would have                                                             an Documents as such
                      if such personfs) were
assignee or participant                       Le nder hereunder. Lend
                          or prospective assignee                          er may disclose to any
                                                                                                   such
regulatory body havin                                  or participant, to Lend
                       g jurisdiction over Le                                   er's affiliates, to any
appropriate in Lender's                          nder and to any other
                           reasonable judgment, an                            parties as necessary or
obtains pertaining to                                  y information Lender no
                        the Guaranteed Obliga                                      w has or hereafter
                                                  tions, this Guaranty,
                                                                             or Guarantor, including



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      information regarding any security for the
                                                      Guaranteed Obligations or for this Guara
                                                                                                    nty, and/or
      credit or other information on Guarantor and/o
                                                          r any other person liable, directly or indirectly,
      any part of the Guaranteed Obligations.                                                                  for


             Section 8.         Binding Effect; Joint and Several Liability.


             This Guaranty is binding not only on Guara
                                                                 ntor, but also on Guarantor's heirs, personal
     representatives, successors and assigns.
                                                   If this Guaranty is signed by more than
                                                                                             one person, then
     all ol the obligations of Guarantor arisin
                                                    g hereunder shall be jointly and severally
                                                                                         binding on
     each of the undersigned, and their respe
                                              ctive heirs, personal representatives, succe
                                                                                           ssors and
     assigns, and the term "Guarantor" shall mean
                                                        all of such persons and each of them indivi
                                                                                                     dually.

            Section 9.         Governing- Law.

            The validity, enforcement, and interpretati
                                                        on of this Guaranty, shall for all purposes
    .governed by and construed in accordance with                                                     be
                                                    the laws of the State of Florida (exclusive
    conflict of laws principles) and applicable                                                    of its
                                                  United States federal law, and is intended
    performed in accordance with, and only to                                                     to  be
                                               the extent permitted by, such laws. All obliga
    Guarantor hereunder are payable and perfo                                                  tions  of
                                                rmable at the place or places where the Guara
    Obligations                                                                                   nteed
                 are payable and performable.


            Section 10.        invalidity of Pertain Provisions.

            If any provision of this Guaranty or the applic
                                                            ation thereof to any person or circumstance
    shall, for any reason and to any extent, be
                                                  declared to be invalid or unenforceable, neithe
    rema                                                                                           r the
          ining provisions of this Guaranty nor the
                                                    application of such provision to any other
    or circumstance shall be affected thereby,                                                   person
                                                and the remaining provisions of this Guara
    applicability of such provision to other                                                nty,  or the
                                             persons or circumstances, as applicable,
                                                                                       shall remain in
    effect and be enforceable to the maximum
                                               extent permitted by applicable law.   '

           Section 1 1 .      Costs and Expenses of Enforcement.

          Guarantor agrees to pay to Lender on dema
                                                    nd ail reasonable costs and expenses incurr
   by Lender in seeking to enforce Lender's                                                     ed
                                             rights and remedies under this Guaranty,
   court costs, costs                                                                   including
                           of alternative dispute resolution and
                                                                 reasonable attorneys' fees and costs,
   whether or not suit is filed or other proce
                                                  edings are initiated hereon. All such reaso
   and expenses incurred by Lender shall                                        nable costs
                                         constitute a portion of the Guaranteed
                                                                                Obligations
   hereunder, shall be subject to the provisions
                                                      hereof with respect to the Guaranteed Oblig
                                                                                                      ations
   and shall be payable by Guarantor within ten
                                                     (10) days of written demand by Lender.

          Section 12.        No Usurv,

          ft is not the intention of Leader or Guara
                                                              ntor to obligate Guarantor to pay intere
                                                                                             st in
   excess of that lawfully permitted to be paid
                                                 by Guarantor under applicable law. Should
   determined that any portion of the Guaranteed                                             it be
                                                      Obligations or any other amount payable
   Guarantor under this Guaranty constitutes intere                                             by
                                                    st in excess of the maximum amount of intere
                                                                                                 st




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 that Guarantor, in Guarantors capacity as guarantor, may lawfully he required to pay under
 applicable law, the obligation of Guarantor to pay such interest shall automat a ally be limited to
 the payment thereof in. the maximum, amount so permitted under applicable law. The provisions .
 of this Section shall override and control all other provisions of this Guaranty and of any other
 agreement between Guarantor and Lender.


        Section 1 3,   Representations. Warranties, and Covenants of Guarantor.

        Until the Guaranteed Obligations are paid and performed in lull and each and every term,
 covenant and condition of this Guaranty is fully performed, Guarantor hereby represents,               - •
 warrants, and covenants that: (a) Guarantor has a financial interest in Borrower and will derive,%,,
 material and substantial benefit, directly or indirectly, from the making of the Loan to Borrower
 and from the making of this Guaranty % Guarantor; (b) this Guaranty is valid, and Is binding
 upon and enforceable again,s! Guarantor; (c) Guarantor Is not, and the execution, delivery and
 performance* by Guarantor of this Guaranty will not cause Guarantor to be, in violation of or in
 default with respect to any law or in default (or at risk of acceleration of indebtedness) under any
 agreement or restriction by which Guarantor is bound or affected: (d) except as previously             __
 disclosed to Lender in writing, there is no litigation pe tiding or to the knowledge of < tuaranto
 threatened by or before any tribunal against or affecting Guarantor; (e) all financial statements
 and information heretofore furnished to Lender by Guarantor do, and all financial statements and
 information hereafter furnished to Lender by Guarantor will, fully and accurately. In all material
 aspects, present the condition (financial or otherwise) of Guarantor as of their dates and the
 results of Guarantor's operations for the periods therein specified, and, since the date of the most
 recent financial statements of Guarantor heretofore furnished to Lender, no material adverse
 change has occurred in. the financial condition of Guarantor, nor, except as heretofore disclosed
 in writing to Lender, has Guarantor incurred any material liability, direct or indirect, fixed or
 contingent; (f) after giving effect to this Guaranty, Guarantor is solvent, is not engaged or about
 to engage in business or a transaction for which the property of Guarantor is an unreasonably
 small capital, and does not intend to incur or believe that if will incur debts that will be beyond
 its ability to pay as such debts mature; (g) Guarantor has read and fully understands the
 provisions contained in the Note, the Loan Agreement, the Mortgage, the Environmental
 Indemnity Agreement and the other Loan Documents. No Loan Documents or other document,
 certificate or statement (including, without limitation, any financial statements provided to
 Lender by Guarantor) furnished, to Lender by or on behalf of Guarantor contains any untrue
 statement of a material fact or omits to state a material feet necessary m order to make the
 statements contained herein and therein not misleading. Guarantor acknowledges that all. such
 statements, representations and warranties shall be deemed to have been relied upon by Lender
 as 'an inducement to make the Loan to Borrower. Guarantor's representations, warranties and
 covenants are a material inducement to Lender to enter into the other Loan Documents shall
 survive the execution hereof and any bankruptcy, foreclosure* transfer of security or other event
  affecting Borrower, Guarantor, any other party, or any security for all or any part of the
 Guaranteed Obligations.




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             Section 14.       Notices.


            All notices front tbe Guarantor to Lender and Lender to Guarant
                                                                             or required or permitted
     by any provision of this Guaranty shall be in writing and sent by
                                                                         certified mail or nationally
     recognized overnight delivery service or hand-delivered. All
                                                                     notices to Guarantor shall be
     sufficiently given if mailed or delivered to Guarantor's address shown above,
                                                                                       and all notices to
     Lender, shall be mailed arid delivered to Lender at the address
                                                                        shown above, or such other
     address as Lender may specify in writing from time to time.
                                                                      Any notice required under this
     Guaranty shall be given in writing, and shall be effective when
                                                                        actually delivered or one (})
     business day after deposit with a nationally recognized overnigh
                                                                         t courier or, if mailed, five
     business days after deposit In the United States mail Any party
                                                                          may designate a change of
     address by written notice to the other party, received by such other
                                                                           party at least ten (10) days
     he tore such change of address is to becoi     >

            Section- 1 5 ..   Cumulative Rights.

            AH of the rights and remedies of Lender under this Guarant
                                                                       y and the other Loan
     Documents are cumulative of each other and of any and all other
                                                                         rights at law or in equity, and
     the exercise by Lender of any one or more of such rights and
                                                                       remedies shall not preclude the
     simultaneous or later exercise by Lender of any or all such other rights
                                                                                and remedies. No single
    or partial exercise of any right or remedy shall exhaust it
                                                                      or preclude any other or further
    exercise thereof, and every right and remedy may be exercised at
                                                                         any time and from time to time.
    No failure by Lender to exercise, nor delay in exercising, any
                                                                      right or remedy shall operate as a
    waiver of such right or remedy or as a waiver of any Event of Default.
                                                                                 No notice to or demand
    on Guarantor in any case shall of itself entitle Guarantor to any
                                                                       other or further notice or demand
    in similar or other circumstances. No provision of litis Guarant
                                                                           y or any right or remedy of
    Lender with respect hereto, or any default or breach, can he waived,
                                                                                nor can this Guaranty or
    Guarantor be released or discharged in any way or to any extent
                                                                         except specifically in each case
    by a writing intended for that purpose (and which refers specific
                                                                         ally to this Guaranty) executed
    and delivered by Lender to Guarantor.


           Section 16,        Term of Guaranty.


            This Guaranty shall continue in effect until all the Guaranteed Obligati
                                                                                     ons and all of the
    obligations of Guarantor to Lender under this Guaranty are fully
                                                                      and finally paid, performed and
    discharged and are not subject to any bankruptcy preference period
                                                                         or any other disgorgement.

           Section 17.        Subrogation.


            Guarantor shall not have any right of subrogation under any of
                                                                            the Loan Documents or
    any  right to participate in any security for foe Guaranteed Obligati
                                                                              ons or any right to
    reimbursement, exoneration, contribution, indemnification or
                                                                     any similar rights, until the
    Guaranteed Obligations have been fully and finally paid,
                                                                    performed and discharged in
.   accordance with Section 16 above, and Guarantor hereby waives
                                                                   all of such rights.




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               Case 18-15825-AJC
Case 1:18-cv-24463-FAM
              Case       Document
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                                  Doc 1-1  Filedon
                                           Filed   FLSD Docket
                                                 05/15/18
                                                 05/15/18 Page01/11/2019
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                                                               12 of 15
                                                                     15  Page 198 of
                                        645


               Section 18,      No Transfer of Assets.

                Guarantor glial! not, during the term of the Loan, transfer any material, portion of his
        assets unless such transfer is in the ordinary course of Guarantor's business, for fair market value
        anci such fair market value is given to Guarantor, in Ms sole name, and such transfer will not
       have a materia! adverse effect on the financial condition of Guarantor and/or .his ability to
       perform his obligations hereunder, as determined by Lender in its sole and absolute discretion.


               Section 19.      Event of Default,

               If any of the following events occur, an event of default ("Event of Default") under this
       Guaranty* shall exist:      (a) failure of timely payment or performance of the Guaranteed.
       Obligations or a default or event of default under any Loan Document (as such terms are defined,
       in the Loan Document); (b) a bread! of any agreement or representation contained or referred to
       in the Guaranty, or any of the f     t Documents* or contained in mt
                                                                         any other contract or agreement
       of Guarantor with Lender or its affiliates, whether now existing or hereafter arising; (e) the death
       of. the incompetence of, appointment of            guardian, for, appointment of a receiver a for.
       assignment for the benefit of creditors of, or the commencement of any insolvency or bankruptcy,
       proceeding by. or against. Guarantor; and (d) Lender determines in good, faith, in its sole
       discretion, that the prospects for payment or performance of the Guaranteed Obligations are
       impaired or a material adverse change has occurred in the business or prospects of Borrower or
       Guarantor, financial or otherwise.                                                                -

               Section 2 1 .    limg.MEssracg.


               Time shall be of the essence in this Guaranty with respect to all of Guarantor's
       obligations hereunder.


               Section 22.      Entire Agreement: Construction.

               •This Guaranty embodies the entire agreement between Lender and Guarantor with
       respect to the guaranty by Guarantor of the Guaranteed Obligations. This Guaranty supersedes
       all prior agreements and understandings, if any, with respect to the guaranty by Guarantor of the
       Guaranteed Obligations. This Guaranty shall be effective upon execution by Guarantor and
       delivery to Lender..    This Guaranty may not be modified, amended or superseded except in a
       writing signed by Lender and Guarantor referencing this Guaranty by its date and specifically
       identifying the portions hereof that are to be modified, amended or superseded. As used herein,
       the words "include" and Including" shall be interpreted as if followed by the words "without
       limitation,"    •                                           .

   f
              Section 23.       Forum.

               Guarantor hereby irrevocably submits generally and unconditionally for itself and 'in
       respect of its property to the jurisdiction of any state court or any United States federal, court
       sitting in Miami-Dade County. Florida. Guarantor hereby irrevocably wai ves, to the fullest
    extent permitted by law, any objection that Guarantor may now or hereafter have to the laying of




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               Case 18-15825-AJC
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Case 1:18-cv-24463-FAM         JC 12-1
                         Document Doc 1-1
                                  Doc  1-1   Filedon05/15/18
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                                            Filed     FLSD Docket
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                                                                   13 of 15
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                                                                             Page 199 of
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     venue in any such court and any claim that any
                                                           suck court is an inconvenient forum.   Nothing
     contained herein shall, however, prevent Lender
                                                             from bringing any action or exercising any
     rights in the Courts of the State of Florida sitting in
                                                             or for Broward County, Florida or the United
     States District Courts sitting in or for such Count
                                                                y and Guarantor irrevocably agrees and
     consents to such venue and jurisdiction and expressly
                                                                 waives any objections as to venue and
     jurisdiction in any such courts.   Guarantor hereby agrees and consents that, in additio
                                                                                                  n to any
     methods of service of process provided for under applica
                                                                   ble law, all service of process in any
     such. suit, action or proceeding in any state court
                                                         or any United States federal court sitting in the
     state specified in the governing law section, of
                                                          this Guaranty may. be made by certified or
     registered mail, return receipt requested, directed
                                                         to Guarantor at its address for notice set forth
     m this Guaranty, or at a subsequent address of which
                                                          Lender received actual notice from.
     Guarantor in accordance with the notice section
                                                       of this Guaranty, and sendee so made shall be
     complete five (5) days after the same shall have
                                                      been, so mailed. Nothing herein, shall affect the
     rigid of Leader to serve process in any manner permit
                                                             ted by law or limit the right, of Lender to
     bring proceedings against Guarantor in any other
                                                      court or jurisdiction.

            Section 24.     WAIVER OF JURY TRIAL.:


          GUARANTOR     HEREBY    KNOWINGLY,     VOLUNTARILY      AM)
     INTENTIONALLY WAIVES THE RIGHT ANY
                                        MAY HAVE TO A TRIAL BY JURY IN
     RESPECT OF ANY LITIGATION BASED
                                     HEREON OR ARISING OUT OF, UNDER
     OR IN CONNECTION WITH THIS GUAR
                                         ANTY AND ANY AGREEMENT
     CONTEMPLATED TO BE EXECUTED IN CONJ
                                         UNCTION HEREWITH, OR ANY
    COURSE OF CONDUCT, COURSE OF
                                     DEALING, STATEMENTS (WHETHER
    VERBAL- OR WRITTEN) OR ACTIONS OF
                                      ANY PARTY. THIS PROVISION IS A
    MATERIAL INDUCEMENT FOR LENDER
                                    ENTERING INTO THIS AGREEMENT.



                                 (CONTINUES ON THE FOLLOWING PAGE]                     .   .




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               Case 18-15825-AJC
              Case  18-15825-A
Case 1:18-cv-24463-FAM         JC 12-1
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                                                                   14 of 15
                                                                         15
                                                                             Page 200 of
                                          645


                 IN WITNESS WHEREOF, Guarantor has duly executed
                                                                 this Guaranty as of the date
        first written above.

        Witnesses;
                                                                           GUARANTOR:
                                                                           NUMA. M. PEREZ,, mdmduatty




       Print
                                          .w
                                                                          Nate       JTa



       Priiffmrne:                                    Gr5




       STATE OF FLORIDA             '                  '}
                                                       )SS:
       COUNTY OF MIAMI-DADE
                                                       )

                 The foregoing Guaranty was acknowledged before me
                                                                                       this   7     day of December,
       201 7, by Nubia M, Perez, individually as the Guaran
                                                                          tor, as her individual act. Nubia M. Perez is
       personally known to me or has produced a Hone                      Oft to ^ U\a>n3C as identification, and took
      an oath.




                                                               NOTARY TOBMC.                            ,
                     ^           Stephan Desroches             Print Name:                    ^roc
                                                                                                 Sftyk
                                                                                                   hc* m
                                   State of Florida
                                                               My Commission Expires:         OS/OS/ BjQI 0
                   \   y My Commission Expires 03/08
                              Commission No. FF 968971




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       Lender;
                                 VALLEY NATIONAL BANK
       narrower:                 A PLUS LAMINATION &
                                                                     FINISHING, INC.
       Guarantors;              FRANCISCO PEREZ; & NUB
       Transaction:                                           IA M. PEREZ
                                Note & Mortgage Modlfiea
                                                         tle® awl Extension Agreeme
                                                                                    nt


           G;LARANT0R, NUBIA M,
                                           PEREZ'S waiver of exe
                                                                               mption from garnishm
                                                                                                               ent

      IF YOU PROVIDE MORE
                                       THAN ONE-HALF OF THE
                                                    PORT FOR A CHILD OR      SUP
      DEPENDENT, ALL OR PAR                                             OTHER
                            T OF YOUR INCOME IS EXE
      UNDER FLORIDA LAW.                            MPT FROM GARNISHMENT
                          YOU CAN WAIVE THIS PRO
      DOCUMENT. BY SIGNIN                         TECTION ONLY BY SIGNIN
                          G BELOW, YOU AS BOR                            G THIS
                                              ROWER AGREE TO WA
      PROTECTION FROM GAR                                         IVE THE
                           NISHMENT.


     1 certify that I have read and unde
                                           rstood the notice above before
     referenced above, and agree to                                           signing the attached GUARAN
                                        waive the protection from Garnish                                   TY-
                                                                               ment"



     SignatraB^^fi^^E                  ;A MrlPpB?---
                                                                                        Date
     STATE OF FLORIDA
     COUNTY Of MIAMI-DADE


             The foregoing waiver was acknowle
                                                      dged before me this 7          day of December 2017. by NUBS A
    M.PEREZ, individually, who
                                      { ] is personally known to roe
                                                                        or who [ ] has produced his
      Ftmdq Mwm U ecu **                           as identification.


    (Sea!)
                 J**,          Stepban Desroches
                /•Ny*      Stats of Florida
                V Y My Commission Expires 03/08/2020                 Notary PuSfic
                           Commission No. FF 968971                  Print Nmm:*

    i have fully explained this docu
                                      ment to the Guarantor.


   VALLEY NATIONAL BAN
                                  K

   •B>L
   Name:
   Its:,
                                                                     Date:




                                                          Page 1 5
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                                      645


   IN THE COUNTY COURT IN AND FOR MIAMI-DADE COUNTY, FLORIDA


                                                      CASE NO: 20 1 8-8 1 87-CC-05 (04)


   BRIAN HOLLAND et al,
           Plaintiff,


   vs.




   APLUS LAMINATION &
   FINISHING, INC.,


           Defendant.



                        ORDER OF BANKRUPTCY STAY AND CLOSING CASE


           Based on a suggestion of bankruptcy, the cause is automatically STAYED. The action shall

   be administratively closed until further order of court. The parties are directed to advise the court in

   writing when the stay is lifted and the case is ready to proceed.

           DONE AND ORDERED in Chambers at Miami-Dad^CouMy, Florida on May 15, 2018.
                                                                   /




                                                            ALEXANDER S. BOKOR
                                                            County Court Judge


           THE CLERK IS ORDERED NOT TO                                       s\Gtt£°
          DESTROY FILE UNTIL FURTHER                                               0iy»
           ORDER OF THE COURT


   Copies furnished to all parties




                                                                                            Exhibit F
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                                       645
Form CGFCRD3 (12/1/15)

                                 United States Bankruptcy Court
                                        Southern District of Florida
                                          www.flsb.uscourts.gov
                                                                                Case Number: 18−15825−AJC
                                                                                Chapter: 11

In re:
Nubia Marcella Perez
dba A Plus Lamination & Finishing Inc
5559 NW 36 Ave
Miami, FL 33142

SSN: xxx−xx−9901




                                         NOTICE OF HEARING


NOTICE IS HEREBY GIVEN that a hearing will be held on June 27, 2018 at 11:00 AM at the following
location:

C. Clyde Atkins U.S. Courthouse
301 North Miami Avenue
Courtroom 7
Miami FL 33128

to consider the following:

Motion for Relief From The Automatic Stay Filed by Creditors Andrea Holland , Brian Holland [Part
2 of ECF #24]


THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 6/1/18                                         CLERK OF COURT
                                                      By: Susan Gutierrez
                                                      Courtroom Deputy
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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-AJC

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

                     CERTIFICATE OF SERVICE OF NOTICES OF HEARING
                       AND COMPLIANCE WITH LOCAL RULE 9073-1(D)

            I HEREBY CERTIFY that true and correct copies of the following were served in the
   manner indicated:

            1.      Notice of Hearing on Landlord’s Motion to Dismiss Chapter 11Bankruptcy Petition

   for Bad Faith and Fraud on the Court [ECF No. 27], was served on June 1, 2018, via the Court’s

   Notice of Electronic Filing upon the Registered Users listed on the attached Exhibit 1;

            2.      Notice of Hearing on Landlord’s Motion for Sanctions Pursuant to Bankruptcy

   Rule 9011 and 11 U.S.C. § 105 [ECF No. 28], was served on June 1, 2018, via the Court’s Notice

   of Electronic Filing upon the Registered Users listed on the attached Exhibit 2;

            3.      Notice of Hearing on Landlord’s Motion for Relief from the Automatic Stay [ECF

   No. 29], was served on June 1, 2018, via the Court’s Notice of Electronic Filing upon the

   Registered Users listed on the attached Exhibit 3;




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                                                             1
                                        LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 220 of
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          4.       True and correct copies of ECF Nos. 27, 28 and 29 were served via Regular U.S.
   Mail on June 5, 2018 upon the Master Service List attached as Exhibit 4.

          Dated: June 5, 2018.
                                                         s/ Peter D. Russin
                                                        Peter D. Russin, Esquire
                                                        Florida Bar No. 765902
                                                        prussin@meladnrussin.com
                                                        Utibe I. Ikpe, Esq.
                                                        Florida Bar Number: 90301
                                                        uikpe@melandrussin.com
                                                        MELAND RUSSIN & BUDWICK, P.A.
                                                        3200 Southeast Financial Center
                                                        200 South Biscayne Boulevard
                                                        Miami, Florida 33131
                                                        Telephone: (305) 358-6363
                                                        Telecopy: (305) 358-1221

                                                        Attorneys for Brian Holland and Andrea Holland




                                                            2
                                       LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
      3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 221 of
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MIME-Version:1.0
From:FLSB_ECF_Notification@FLSB.USCOURTS.GOV
To:Courtmail@localhost.localdomain
Bcc: USTPRegion21.MM.ECF@usdoj.gov, ltannenbaum@melandrussin.com, mrbnefs@yahoo.com, prussin@ecf.courtdrive.com, ltannenbaum@ecf.courtdrive.c
Do not notice for BK case:

Message-Id:<45292000@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Notice of Hearing

Content-Type: text/html

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and parties in a case (including pro se
litigants) to receive one free electronic copy of all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all
other users. To avoid later charges, download a copy of each document during this first viewing. However, if the referenced document is a transcript, the free copy
and 30-page limit do not apply.

                                                                          U.S. Bankruptcy Court

                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Gutierrez, Susan entered on 6/1/2018 at 1:44 PM EDT and filed on 6/1/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 27

Docket Text:
Notice of Hearing (Re: [24] Motion to Dismiss Case for Bad Faith and Fraud on the Court Filed by Creditors Andrea Holland, Brian Holland.) Hearing scheduled for
06/27/2018 at 11:00 AM at C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave Courtroom 7 (AJC), Miami, FL 33128. (Gutierrez, Susan)

The following document(s) are associated with this transaction:


18-15825-AJC Notice will be electronically mailed to:

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice34@gmail.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Peter D. Russin, Esq on behalf of Creditor Andrea Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Peter D. Russin, Esq on behalf of Creditor Brian Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com




                                                                                                                                                Exhibit 1
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 222 of
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MIME-Version:1.0
From:FLSB_ECF_Notification@FLSB.USCOURTS.GOV
To:Courtmail@localhost.localdomain
Bcc: USTPRegion21.MM.ECF@usdoj.gov, ltannenbaum@melandrussin.com, mrbnefs@yahoo.com, prussin@ecf.courtdrive.com, ltannenbaum@ecf.courtdrive.c
Do not notice for BK case:

Message-Id:<45292015@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Notice of Hearing

Content-Type: text/html

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and parties in a case (including pro se
litigants) to receive one free electronic copy of all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all
other users. To avoid later charges, download a copy of each document during this first viewing. However, if the referenced document is a transcript, the free copy
and 30-page limit do not apply.

                                                                          U.S. Bankruptcy Court

                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Gutierrez, Susan entered on 6/1/2018 at 1:46 PM EDT and filed on 6/1/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 28

Docket Text:
Notice of Hearing (Re: [25] Motion For Sanctions Pursuant to FRBP 9011 Attorney Misconduct Against Debtor and Debtor's Counsel and 11 U.S.C. § 105 Filed by Creditors
Andrea Holland, Brian Holland.) Hearing scheduled for 06/27/2018 at 11:00 AM at C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave Courtroom 7 (AJC), Miami, FL
33128. (Gutierrez, Susan)

The following document(s) are associated with this transaction:


18-15825-AJC Notice will be electronically mailed to:

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice34@gmail.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Peter D. Russin, Esq on behalf of Creditor Andrea Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Peter D. Russin, Esq on behalf of Creditor Brian Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com




                                                                                                                                                Exhibit 2
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MIME-Version:1.0
From:FLSB_ECF_Notification@FLSB.USCOURTS.GOV
To:Courtmail@localhost.localdomain
Bcc: USTPRegion21.MM.ECF@usdoj.gov, ltannenbaum@melandrussin.com, mrbnefs@yahoo.com, prussin@ecf.courtdrive.com, ltannenbaum@ecf.courtdrive.c
Do not notice for BK case:

Message-Id:<45292036@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Notice of Hearing

Content-Type: text/html

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and parties in a case (including pro se
litigants) to receive one free electronic copy of all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all
other users. To avoid later charges, download a copy of each document during this first viewing. However, if the referenced document is a transcript, the free copy
and 30-page limit do not apply.

                                                                          U.S. Bankruptcy Court

                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Gutierrez, Susan entered on 6/1/2018 at 1:47 PM EDT and filed on 6/1/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 29

Docket Text:
Notice of Hearing (Re: [26] Motion for Relief From The Automatic Stay Filed by Creditors Andrea Holland , Brian Holland [Part 2 of ECF #24]) Hearing scheduled for
06/27/2018 at 11:00 AM at C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave Courtroom 7 (AJC), Miami, FL 33128. (Gutierrez, Susan)

The following document(s) are associated with this transaction:


18-15825-AJC Notice will be electronically mailed to:

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice34@gmail.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Peter D. Russin, Esq on behalf of Creditor Andrea Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Peter D. Russin, Esq on behalf of Creditor Brian Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com




                                                                                                                                                Exhibit 3
          Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 224 of
Label Matrix for local noticing     Actega North America645
                                                         Inc          Brian Holland
113C-1                                   26537 Network Place          13105 NW Le Jeune Rd
Case 18-15825-AJC                        Chicago, IL 60673-1265       Opa Locka, FL 33054-4435
Southern District of Florida
Miami
Tue Jun 5 12:21:49 EDT 2018
Capital One Bank                         Cosmo Claim 2018             Cosmo Films, Inc
POB 71083                                Rosenfeld Stein Batta, PA    Coface North America Insurance Company
Charlotte, NC 28272-1083                 21490 West Dixie Hwy         650 College Road East, Suite 2005
                                         Aventura, FL 33180-1144      Princeton, NJ 08540-6779


Cosmos Films, Inc.                       D & K International Inc      Distrigraph Inc
Coface North America Insurance Company   Ryan E Sprechman             Gabriel Fernandez
65 College Road East, Suite 2005         2775 Sunny Isle Blvd #100    5248 SW 93rd Ave
Princeton, NJ 08540                      Miami, FL 33160-4078         Cooper City, FL 33328-4225


Francisco Gabriel Perez Loan             Internal Revenue Service     Matt D Goldman Trust
3845 Sw 149th Pl                         POB 80110                    Account
Miami, FL 33185-3931                     Cincinnati, OH 45280-0110    7190 SW 100 St
                                                                      Miami, FL 33156-3069


Miami-Dade County Tax                    Noelus LLC                   Nubia Perez Loans
Collector                                POB 639027                   5559 NW 36th Ave
140 West Flagler St                      Cincinnati, OH 45263-9027    Miami, FL 33142-2709
14th Floor
Miami, FL 33130-1561

Office of the US Trustee                 SANTANDER CONSUMER USA       Santander Consumer USA
51 S.W. 1st Ave.                         P.O. Box 560284              POB 660633
Suite 1204                               Dallas, TX 75356-0284        Dallas, TX 75266-0633
Miami, FL 33130-1614


Transilwrap Company Inc                  Universal Pressroom          Valley National Bank -2625
9201 W Belmont Ave                       Productsa LLC                Newtex Small Business
Franklin Park, IL 60131-2842             POB 1697                     Finance, LLC
                                         Woodstock, GA 30188-1366     POB 2006
                                                                      Hicksville, NY 11802-2006

Valley National Bank Loan                Vencol                       Andrea Holland
2198 Small Street                        8209 NW 70th St              c/o Peter D. Russin, Esq.
POB 952                                  Miami, FL 33166-2743         Meland Russin & Budwick, P.A.
Wayne, NJ 07474-0952                                                  200 South Biscayne Blvd., Suite 3200
                                                                      Miami, FL 33131-5323

Brian Holland                            Nubia Marcella Perez         Thomas G Neusom
c/o Peter D. Russin, Esq.                5559 NW 36 Ave               4737 N. Ocean Drive, #129
Meland Russin & Budwick, P.A.            Miami, FL 33142-2709         Fort Lauderdale, FL 33308-2920
200 South Biscayne Blvd., Suite 3200
Miami, FL 33131-5323




                                                                                 Exhibit 4
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 225 of
                                      645




     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4                                                      CASE NO: 18-15825
          DEBTOR
     5
                                                            EMERGENCY MOTION FOR ORDER
     6                                                      TO RELEASE GARNISHED FUNDS TO
          NUJBIA PEREZ DBA
                                                            DEBTOR
          A PLUS LAMINATION.
     7
     8
     9
    10
    11
    12   1.COMES NOW, THE Debtor, Nubia Marcella Perez, doing Business as Aplus Lamination and
    13   Finishing, Inc., requesting that the Court enter an Order for Wells Fargo and the Miami state
    14
         Court to release funds garnished by D&K International pursuant to Federal Rule of
    15
         Bankruptcy Procedure 2016.
    16
    17
    18   2.The State Court docket is being concurrently filed for the Court’s review. The State Court
    19   case number is 2017-004987-SP-23 The Docket is filed as Exhibit 1.
    20
    21
         3.A letter from Wells Fargo stating they would not release the funds without a Court Order
    22
    23   necessitated the filing of this Motion. The letter from Wells Fargo is Exhibit 2.

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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 226 of
                                      645




     1
     2   4.The entire account containing approximately Nine Thousand Dollars ($9,000.00) was

     3   garnished even though only Four Thousand Dollars ($4,000.00) was owed to D &K
     4
         International.
     5
     6
         5.D And K International and Nubia Perez doing business as APlus Lamination have
     7
     8   entered into a settlement agreement which was signed by the parties and filed in the State

     9   Court action.
    10
    11
         6.The funds were going to be used for a deposit into the Court registry for an eviction case
    12
         and used to make payroll payments.
    13
    14
    15   7.The State Court action is taking place in Miami at the North Dade Justice Center. The
    16   State Court may want Bankruptcy Court Approval to remove the garnishment brcause a
    17
         suggestion of Bankruptcy has been filed in the State Court case
    18
    19
    20   8.The funds are needed by the debtor to continue business operations and pay past due

    21   bills.
    22
    23
         9.A settlement Agreement and motion to end the Garnishment has been filed in State Court by d
    24
         and K International. The settlement Agreement is filed as Exhibit 3.
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 227 of
                                      645




         WHEREFORE, Debtor prays that the Court:
     1
     2
     3   1.Enter an order that the garnishment end and funds be distributed pursuant to the terms of the
     4   D and K International and A Plus Settlement Agreement.
     5
     6   2.Grant any other relief the Court believes is reasonable and just.
     7
     8   Dated: June 12, 2018:

     9
    10
                                                               By:/s/Thomas Neusom
    11
                                                               Attorney For Debtor
    12                                                         Bar No. 0037178
                                                               4737 N. Ocean Drive, #129
    13                                                         Fort Lauderdale, FL 33308
                                                               Email: tgnoffice35@gmail.com
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 228 of
                                      645




     1
     2                              CERTIFICATE OF SERVICE
     3   I HEREBY CERTIFY that a true and correct copy of the foregoing EMERGENCY MOTION
     4   FOR ORDER TO RELEASE GARNISHED FUNDS TO DEBTOR

     5    was furnished by email to the following on June 12, 2018, to the parties on the Electronic filing
         service list and to D And K international by email.
     6
     7
     8
                                                             By:/s/Thomas Neusom
     9                                                       Attorney For Debtor
                                                             Bar No. 0037174
    10                                                       4737 N. Ocean Drive, #129
    11                                                       Fort Lauderdale, FL 33308
                                                             Email: tgnoffice35@gmail.com
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 229 of
                                      645


   North Dade Justice Center

   D & K INTL INC VS A PLUS LAMINATION & FINISHING INC
   Local Case Number: 2017-004987-SP-23
   Filing Date: 03/20/2017
   State Case Number: 132017SC004987000023
   Case Type: SP Contract and Indebtedness (Up to $5,000)
   Consolidated Case No.: N/A
   Judicial Section: ND02
   Case Status: CLOSED

   Parties
                                                Number of Parties: 3
   Export to


   Party Description Party Name                                Attorney Information     Other Attorney(s)

                                                               B#: 341479
   Plaintiff            D & K Intl Inc
                                                               N: Sprechman, Steven B

                                                               B#:
   Defendant            A Plus Lamination & Finishing Inc
                                                               N:

                                                               B#:
   Garnishee            Wells Fargo Bank
                                                               N:

   Hearing Details
                                                Number of Hearing: 1
   Export to


   Hearing Date        Hearing Time         Hearing Code         Description

   04/26/2017          9:30AM               SPPTC                Small Claims Pre-Trial Conference

   Dockets
                                               Dockets Retrieved: 34

   Export to


                                                         Event
    Number Date           Book/Page Docket Entry                       Comments
                                                         Type

                                                                       Due Date:
                                                                       Complete Date:
    31         06/08/2018 :              Stipulation     Event
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 230 of
                                      645



                                                 Event
    Number Date       Book/Page Docket Entry               Comments
                                                 Type

                                                           Due Date:
                                                           Complete Date:
                                   Suggestion of
    30     05/25/2018 30999:2237                 Event
                                   Bankruptcy
                                                           Parties: A Plus Lamination & Finishing
                                                           Inc

                                                           Due Date:
                                   Answer of               Complete Date:
    29     05/24/2018 :                          Event
                                   Garnishee



                                   Writ of                 Due Date:
                                   Garnishment             Complete Date:
    28     05/17/2018 :                          Event
                                   Returned
                                   Executed

                                                           TO DEFENDANT

                                                           Due Date:
    27     05/14/2018 :            Notice:       Event
                                                           Complete Date:




                                                           RECEIPT#:2720039 AMT PAID:$85.00
                                                           NAME:SPRECHMAN, STEVEN B 2775
                                                           NE 163RD ST STE 100 MIAMI FL
                                                           33160-4078 COMMENT: ALLOCATION
                                                           CODE QUANTITY UNIT AMOUNT
                                                           2134-WRIT (GARD) ADD FE 1 $85.00
    26     05/02/2018 :            Receipt:      Event     $85.00 TENDER TYPE:CHECK
                                                           TENDER AMT:$85.0

                                                           Due Date:
                                                           Complete Date:




                                                           Due Date:
                                   Writ of                 Complete Date:
           05/01/2018 :            Garnishment   Service
                                   Issued


                                                           Due Date:
    25     05/01/2018 :            Writ of       Event
                                                           Complete Date:
                                   Garnishment
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 231 of
                                      645



                                               Event
    Number Date       Book/Page Docket Entry           Comments
                                               Type

                                Issued                 Parties: D & K Intl Inc; Wells Fargo Bank

                                                       Due Date:
                                Affidavit of           Complete Date:
    24     04/06/2018 :         Amount Due     Event
                                and Owning


                                                       Due Date:
                                Motion for             Complete Date:
    23     04/06/2018 :                        Event
                                Garnishment


                                                       RECEIPT#:2370014 AMT PAID:$3.00
                                                       ALLOCATION CODE QUANTITY UNIT
                                                       AMOUNT 2121-CERTIFIED 1 $2.00
                                                       $2.00 2120-COPY 1 $1.00 $1.00
                                                       TENDER TYPE:CHECK TENDER
                                                       AMT:$3.00 TENDER TYPE:CHECK
    22     01/05/2018 :         Receipt:       Event   TENDER AMT:$4.00 TENDER

                                                       Due Date:
                                                       Complete Date:




                                                       OF SERVICE OF DISCOVERY
                                                       REQUESTS

    21     12/22/2017 :         Notice:        Event   Due Date:
                                                       Complete Date:




                                                       VACATING FINAL JUDGMENT
                                                       DATED 11/27/17

    20     12/01/2017 :         Order:         Event   Due Date:
                                                       Complete Date:




                                                       DUPLICATE CONSENT FINAL
    19     11/27/2017 :         Order:         Event   JUDGMENT WITHOUT A TOTAL

                                                       Due Date:
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 232 of
                                      645



                                                     Event
    Number Date       Book/Page Docket Entry                 Comments
                                                     Type

                                                             Complete Date:




                                                             CONSENT

                                                             Due Date:
                                   Final Judgment
    18     11/21/2017 30768:2721                  Event      Complete Date:
                                   by Judge
                                                             Parties: A Plus Lamination & Finishing
                                                             Inc

                                                             Due Date:
                                   Affidavit as to           Complete Date:
    17     10/23/2017 :                            Event
                                   Attorney Fees


                                                             Due Date:
                                   Affidavit as to           Complete Date:
    16     10/23/2017 :                              Event
                                   Costs


                                                             Due Date:
                                   Affidavit as to           Complete Date:
    15     10/23/2017 :                              Event
                                   Interest


                                                             Due Date:
                                   Affidavit of              Complete Date:
    14     10/23/2017 :                         Event
                                   Non-Payment


                                                             TO ENFORCE STIPULATION

                                                             Due Date:
    13     10/23/2017 :            Motion:           Event
                                                             Complete Date:




                                                             STIP
                                 Order of
    12     04/26/2017 30516:3291                     Event
                                 Dismissal                   Due Date:
                                                             Complete Date:
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 233 of
                                      645



                                               Event
    Number Date       Book/Page Docket Entry              Comments
                                               Type

                                                          Parties: A Plus Lamination & Finishing
                                                          Inc

                                                          STIP

                                Order of                  Due Date:
    11     04/26/2017 :                        Judgment
                                Dismissal                 Complete Date:




                                                          Due Date:
                                                          Complete Date:
                                Service
    10     04/26/2017 :                        Event
                                Returned
                                                          Parties: A Plus Lamination & Finishing
                                                          Inc

                                                          Due Date:
                                Memorandum                Complete Date:
    9      04/26/2017 :                        Event
                                of Disposition


                                                          Due Date:
                                                          Complete Date:
    8      04/26/2017 :         Stipulation    Event



                                                          Due Date:
                                Small Claims              Complete Date:
           04/26/2017 :         Pre-Trial      Hearing
                                Conference


                                                          Due Date:
                                Service                   Complete Date:
    7      04/25/2017 :                        Event
                                Returned


                                                          RECEIPT#:3180013 AMT PAID:$10.00
                                                          ALLOCATION CODE QUANTITY UNIT
                                                          AMOUNT 2139-SUMMONS ISSUE FEE
                                                          1 $10.00 $10.00 TENDER
    6      04/06/2017 :         Receipt:       Event
                                                          TYPE:CHECK TENDER AMT:$10.00
                                                          TENDER TYPE:CHECK TENDER
                                                          AMT:$10.00 TENDER TYPE:CHECK

                                                          Due Date:
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 234 of
                                      645



                                               Event
    Number Date       Book/Page Docket Entry             Comments
                                               Type

                                                         Complete Date:




                                                         Due Date:
                                SP Pretrial              Complete Date:
    5      04/04/2017 :                        Event
                                Date


                                                         Due Date:
                                SP Pre Trial             Complete Date:
           04/04/2017 :         Summons        Service
                                Issued


                                                         Due Date:
                                                         Complete Date:
                                Pre Trial
    4      04/04/2017 :                        Event
                                Summons
                                                         Parties: A Plus Lamination & Finishing
                                                         Inc

                                                         RECEIPT#:3540043 AMT
                                                         PAID:$300.00 NAME:SPRECHMAN,
                                                         STEVEN B 2775 NE 163RD ST STE
                                                         100 MIAMI FL 33160-4078
                                                         ALLOCATION CODE QUANTITY UNIT
                                                         AMOUNT 2100-COUNTY FILING FEE
                                                         1 $300.00 $300.00 TENDER TYPE:E-
    3      03/21/2017 :         Receipt:       Event     FILING ACH TENDER AMT:$300.00
                                                         RECEIP

                                                         Due Date:
                                                         Complete Date:




                                                         $4500.00

                                Statement of             Due Date:
    2      03/20/2017 :                        Event
                                Claim                    Complete Date:




    1      03/20/2017 :         Small Claims   Event
                                Batch Cover
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 235 of
                                      645



                                            Event
    Number Date    Book/Page Docket Entry           Comments
                                            Type

                             Sheet
Case 1:18-cv-24463-FAM        Document
                Deposits Bankruptcy         12-1 Entered on FLSD Docket 01/11/2019 Page 236 of
                                    Department
                P. O. Box 3908                    645
                     Portland, OR 97208-3908



     May 17, 2018

     U. S. Mail

     THOMAS G NEUSOM
     4737 N OCEAN DR #129
     LAUDERDALE BY THE SEA, FL 33308

     Subject: Important information about bankruptcy of NUBIA MARCELLA PEREZ
     Bankruptcy Case No. 18-15825

     Dear THOMAS G NEUSOM:

     Wells Fargo Bank, N.A. ("Wells Fargo") has received notification of your client's bankruptcy filing. Wells
     Fargo is required by operation of Section 542 of the Bankruptcy Code to act in good faith to prevent the
     payment of pre-petition debts from a non Debtor in Possession account.

     What you need to know
       • Wells Fargo has placed a debit restraint on any open deposit accounts held in your client’s name that
          was opened prior to the filing of case 18-15825. The restraints will remain on your client’s accounts
          until Wells Fargo is provided a court order which allows your client continued use of the specific
          deposit accounts.
       •    If your client does not have such an order, Wells Fargo will issue a Cashier’s Check payable to your
            client as Debtor in Possession or transfer funds to Debtor in Possession accounts opened with Wells
            Fargo.

     If you have any questions, please call us at 503-721-5300, Monday through Friday, 8:30 a.m. to 5:00 p.m.
     Pacific Time.
     Thank you.

     Sincerely,




     Luana Tafoya
     Operations Manager
     Deposits Bankruptcy Department

     cc:   NUBIA PEREZ
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 237 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 238 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 239 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 240 of
                                      645




     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4                                                      CASE NO: 18-15825
          DEBTOR
     5
                                                            EMERGENCY MOTION FOR ORDER
     6                                                      TO RELEASE GARNISHED FUNDS TO
          NUJBIA PEREZ DBA
                                                            DEBTOR
          A PLUS LAMINATION.
     7
     8
     9
    10
    11
    12   1.COMES NOW, THE Debtor, Nubia Marcella Perez, doing Business as Aplus Lamination and
    13   Finishing, Inc., requesting that the Court enter an Order for Wells Fargo and the Miami state
    14
         Court to release funds garnished by D&K International pursuant to Federal Rule of
    15
         Bankruptcy Procedure 2016.
    16
    17
    18   2.The State Court docket is being concurrently filed for the Court’s review. The State Court
    19   case number is 2017-004987-SP-23 The Docket is filed as Exhibit 1.
    20
    21
         3.A letter from Wells Fargo stating they would not release the funds without a Court Order
    22
    23   necessitated the filing of this Motion. The letter from Wells Fargo is Exhibit 2.

    24
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 241 of
                                      645




     1
     2   4.The entire account containing approximately Nine Thousand Dollars ($9,000.00) was

     3   garnished even though only Four Thousand Dollars ($4,000.00) was owed to D &K
     4
         International.
     5
     6
         5.D And K International and Nubia Perez doing business as APlus Lamination have
     7
     8   entered into a settlement agreement which was signed by the parties and filed in the State

     9   Court action.
    10
    11
         6.The funds were going to be used for a deposit into the Court registry for an eviction case
    12
         and used to make payroll payments.
    13
    14
    15   7.The State Court action is taking place in Miami at the North Dade Justice Center. The
    16   State Court may want Bankruptcy Court Approval to remove the garnishment brcause a
    17
         suggestion of Bankruptcy has been filed in the State Court case
    18
    19
    20   8.The funds are needed by the debtor to continue business operations and pay past due

    21   bills.
    22
    23
         9.A settlement Agreement and motion to end the Garnishment has been filed in State Court by d
    24
         and K International. The settlement Agreement is filed as Exhibit 3.
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 242 of
                                      645




         WHEREFORE, Debtor prays that the Court:
     1
     2
     3   1.Enter an order that the garnishment end and funds be distributed pursuant to the terms of the
     4   D and K International and A Plus Settlement Agreement.
     5
     6   2.Grant any other relief the Court believes is reasonable and just.
     7
     8   Dated: June 12, 2018:

     9
    10
                                                               By:/s/Thomas Neusom
    11
                                                               Attorney For Debtor
    12                                                         Bar No. 0037178
                                                               4737 N. Ocean Drive, #129
    13                                                         Fort Lauderdale, FL 33308
                                                               Email: tgnoffice35@gmail.com
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 243 of
                                      645




     1
     2                              CERTIFICATE OF SERVICE
     3   I HEREBY CERTIFY that a true and correct copy of the foregoing EMERGENCY MOTION
     4   FOR ORDER TO RELEASE GARNISHED FUNDS TO DEBTOR

     5    was furnished by email to the following on June 12, 2018, to the parties on the Electronic filing
         service list and to D And K international by email.
     6
     7
     8
                                                             By:/s/Thomas Neusom
     9                                                       Attorney For Debtor
                                                             Bar No. 0037174
    10                                                       4737 N. Ocean Drive, #129
    11                                                       Fort Lauderdale, FL 33308
                                                             Email: tgnoffice35@gmail.com
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 244 of
                                      645


   North Dade Justice Center

   D & K INTL INC VS A PLUS LAMINATION & FINISHING INC
   Local Case Number: 2017-004987-SP-23
   Filing Date: 03/20/2017
   State Case Number: 132017SC004987000023
   Case Type: SP Contract and Indebtedness (Up to $5,000)
   Consolidated Case No.: N/A
   Judicial Section: ND02
   Case Status: CLOSED

   Parties
                                                Number of Parties: 3
   Export to


   Party Description Party Name                                Attorney Information     Other Attorney(s)

                                                               B#: 341479
   Plaintiff            D & K Intl Inc
                                                               N: Sprechman, Steven B

                                                               B#:
   Defendant            A Plus Lamination & Finishing Inc
                                                               N:

                                                               B#:
   Garnishee            Wells Fargo Bank
                                                               N:

   Hearing Details
                                                Number of Hearing: 1
   Export to


   Hearing Date        Hearing Time         Hearing Code         Description

   04/26/2017          9:30AM               SPPTC                Small Claims Pre-Trial Conference

   Dockets
                                               Dockets Retrieved: 34

   Export to


                                                         Event
    Number Date           Book/Page Docket Entry                       Comments
                                                         Type

                                                                       Due Date:
                                                                       Complete Date:
    31         06/08/2018 :              Stipulation     Event
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 245 of
                                      645



                                                 Event
    Number Date       Book/Page Docket Entry               Comments
                                                 Type

                                                           Due Date:
                                                           Complete Date:
                                   Suggestion of
    30     05/25/2018 30999:2237                 Event
                                   Bankruptcy
                                                           Parties: A Plus Lamination & Finishing
                                                           Inc

                                                           Due Date:
                                   Answer of               Complete Date:
    29     05/24/2018 :                          Event
                                   Garnishee



                                   Writ of                 Due Date:
                                   Garnishment             Complete Date:
    28     05/17/2018 :                          Event
                                   Returned
                                   Executed

                                                           TO DEFENDANT

                                                           Due Date:
    27     05/14/2018 :            Notice:       Event
                                                           Complete Date:




                                                           RECEIPT#:2720039 AMT PAID:$85.00
                                                           NAME:SPRECHMAN, STEVEN B 2775
                                                           NE 163RD ST STE 100 MIAMI FL
                                                           33160-4078 COMMENT: ALLOCATION
                                                           CODE QUANTITY UNIT AMOUNT
                                                           2134-WRIT (GARD) ADD FE 1 $85.00
    26     05/02/2018 :            Receipt:      Event     $85.00 TENDER TYPE:CHECK
                                                           TENDER AMT:$85.0

                                                           Due Date:
                                                           Complete Date:




                                                           Due Date:
                                   Writ of                 Complete Date:
           05/01/2018 :            Garnishment   Service
                                   Issued


                                                           Due Date:
    25     05/01/2018 :            Writ of       Event
                                                           Complete Date:
                                   Garnishment
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 246 of
                                      645



                                               Event
    Number Date       Book/Page Docket Entry           Comments
                                               Type

                                Issued                 Parties: D & K Intl Inc; Wells Fargo Bank

                                                       Due Date:
                                Affidavit of           Complete Date:
    24     04/06/2018 :         Amount Due     Event
                                and Owning


                                                       Due Date:
                                Motion for             Complete Date:
    23     04/06/2018 :                        Event
                                Garnishment


                                                       RECEIPT#:2370014 AMT PAID:$3.00
                                                       ALLOCATION CODE QUANTITY UNIT
                                                       AMOUNT 2121-CERTIFIED 1 $2.00
                                                       $2.00 2120-COPY 1 $1.00 $1.00
                                                       TENDER TYPE:CHECK TENDER
                                                       AMT:$3.00 TENDER TYPE:CHECK
    22     01/05/2018 :         Receipt:       Event   TENDER AMT:$4.00 TENDER

                                                       Due Date:
                                                       Complete Date:




                                                       OF SERVICE OF DISCOVERY
                                                       REQUESTS

    21     12/22/2017 :         Notice:        Event   Due Date:
                                                       Complete Date:




                                                       VACATING FINAL JUDGMENT
                                                       DATED 11/27/17

    20     12/01/2017 :         Order:         Event   Due Date:
                                                       Complete Date:




                                                       DUPLICATE CONSENT FINAL
    19     11/27/2017 :         Order:         Event   JUDGMENT WITHOUT A TOTAL

                                                       Due Date:
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 247 of
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                                                     Event
    Number Date       Book/Page Docket Entry                 Comments
                                                     Type

                                                             Complete Date:




                                                             CONSENT

                                                             Due Date:
                                   Final Judgment
    18     11/21/2017 30768:2721                  Event      Complete Date:
                                   by Judge
                                                             Parties: A Plus Lamination & Finishing
                                                             Inc

                                                             Due Date:
                                   Affidavit as to           Complete Date:
    17     10/23/2017 :                            Event
                                   Attorney Fees


                                                             Due Date:
                                   Affidavit as to           Complete Date:
    16     10/23/2017 :                              Event
                                   Costs


                                                             Due Date:
                                   Affidavit as to           Complete Date:
    15     10/23/2017 :                              Event
                                   Interest


                                                             Due Date:
                                   Affidavit of              Complete Date:
    14     10/23/2017 :                         Event
                                   Non-Payment


                                                             TO ENFORCE STIPULATION

                                                             Due Date:
    13     10/23/2017 :            Motion:           Event
                                                             Complete Date:




                                                             STIP
                                 Order of
    12     04/26/2017 30516:3291                     Event
                                 Dismissal                   Due Date:
                                                             Complete Date:
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 248 of
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                                               Event
    Number Date       Book/Page Docket Entry              Comments
                                               Type

                                                          Parties: A Plus Lamination & Finishing
                                                          Inc

                                                          STIP

                                Order of                  Due Date:
    11     04/26/2017 :                        Judgment
                                Dismissal                 Complete Date:




                                                          Due Date:
                                                          Complete Date:
                                Service
    10     04/26/2017 :                        Event
                                Returned
                                                          Parties: A Plus Lamination & Finishing
                                                          Inc

                                                          Due Date:
                                Memorandum                Complete Date:
    9      04/26/2017 :                        Event
                                of Disposition


                                                          Due Date:
                                                          Complete Date:
    8      04/26/2017 :         Stipulation    Event



                                                          Due Date:
                                Small Claims              Complete Date:
           04/26/2017 :         Pre-Trial      Hearing
                                Conference


                                                          Due Date:
                                Service                   Complete Date:
    7      04/25/2017 :                        Event
                                Returned


                                                          RECEIPT#:3180013 AMT PAID:$10.00
                                                          ALLOCATION CODE QUANTITY UNIT
                                                          AMOUNT 2139-SUMMONS ISSUE FEE
                                                          1 $10.00 $10.00 TENDER
    6      04/06/2017 :         Receipt:       Event
                                                          TYPE:CHECK TENDER AMT:$10.00
                                                          TENDER TYPE:CHECK TENDER
                                                          AMT:$10.00 TENDER TYPE:CHECK

                                                          Due Date:
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 249 of
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                                               Event
    Number Date       Book/Page Docket Entry             Comments
                                               Type

                                                         Complete Date:




                                                         Due Date:
                                SP Pretrial              Complete Date:
    5      04/04/2017 :                        Event
                                Date


                                                         Due Date:
                                SP Pre Trial             Complete Date:
           04/04/2017 :         Summons        Service
                                Issued


                                                         Due Date:
                                                         Complete Date:
                                Pre Trial
    4      04/04/2017 :                        Event
                                Summons
                                                         Parties: A Plus Lamination & Finishing
                                                         Inc

                                                         RECEIPT#:3540043 AMT
                                                         PAID:$300.00 NAME:SPRECHMAN,
                                                         STEVEN B 2775 NE 163RD ST STE
                                                         100 MIAMI FL 33160-4078
                                                         ALLOCATION CODE QUANTITY UNIT
                                                         AMOUNT 2100-COUNTY FILING FEE
                                                         1 $300.00 $300.00 TENDER TYPE:E-
    3      03/21/2017 :         Receipt:       Event     FILING ACH TENDER AMT:$300.00
                                                         RECEIP

                                                         Due Date:
                                                         Complete Date:




                                                         $4500.00

                                Statement of             Due Date:
    2      03/20/2017 :                        Event
                                Claim                    Complete Date:




    1      03/20/2017 :         Small Claims   Event
                                Batch Cover
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 250 of
                                      645



                                            Event
    Number Date    Book/Page Docket Entry           Comments
                                            Type

                             Sheet
Case 1:18-cv-24463-FAM        Document
                Deposits Bankruptcy         12-1 Entered on FLSD Docket 01/11/2019 Page 251 of
                                    Department
                P. O. Box 3908                    645
                     Portland, OR 97208-3908



     May 17, 2018

     U. S. Mail

     THOMAS G NEUSOM
     4737 N OCEAN DR #129
     LAUDERDALE BY THE SEA, FL 33308

     Subject: Important information about bankruptcy of NUBIA MARCELLA PEREZ
     Bankruptcy Case No. 18-15825

     Dear THOMAS G NEUSOM:

     Wells Fargo Bank, N.A. ("Wells Fargo") has received notification of your client's bankruptcy filing. Wells
     Fargo is required by operation of Section 542 of the Bankruptcy Code to act in good faith to prevent the
     payment of pre-petition debts from a non Debtor in Possession account.

     What you need to know
       • Wells Fargo has placed a debit restraint on any open deposit accounts held in your client’s name that
          was opened prior to the filing of case 18-15825. The restraints will remain on your client’s accounts
          until Wells Fargo is provided a court order which allows your client continued use of the specific
          deposit accounts.
       •    If your client does not have such an order, Wells Fargo will issue a Cashier’s Check payable to your
            client as Debtor in Possession or transfer funds to Debtor in Possession accounts opened with Wells
            Fargo.

     If you have any questions, please call us at 503-721-5300, Monday through Friday, 8:30 a.m. to 5:00 p.m.
     Pacific Time.
     Thank you.

     Sincerely,




     Luana Tafoya
     Operations Manager
     Deposits Bankruptcy Department

     cc:   NUBIA PEREZ
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                                      645
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                                      645
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                                      645



                           THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

 IN RE:                                                   CASE NO.: 18-15825-BKC-AJC
                                                          FL BAR NO.: 377546
 NUBIA MARCELLA PEREZ
                                                          Chapter 11
        Debtor.
                  ___________ /

                                       NOTICE OF APPEARANCE

        HOWARD S. TOLAND, ESQUIRE of the law firm of MITRANI, RYNOR, ADAMSKY &

 TOLAND PA . enters his appearance as counsel for Valley National Bank successor by merger to 1st

 United Bank (“Valley National Bank”) creditors in the above-styled cause, and pursuant to Section

 1109 (b) of the United States Bankruptcy Code and Bankruptcy Rule 9010(B) and such counsel hereby

 requests , pursuant to Bankruptcy Rules 2002 and 9007 and section 1109 (b) of the Bankruptcy Code,

 that all notices given or required to be given in this case, and all papers, pleadings, motions and

 applications served or required to be served, be given to and served upon the undersigned at the address

 and telephone number set forth below.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the United States Bankruptcy Code, the

 foregoing demand includes not only the notices and papers referred to in the Bankruptcy Rules

 specified above, but also includes, without limitation, notices of any application, motion, petition,

 pleading, request, complaint or demand, whether formal or informal, whether written or oral, and

 whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex, or otherwise, which

 would affect or seem to affect in any way interests of the Creditor with respect to the Debtor or any

 related entity, the property of the Debtor, or any of the Creditor's collateral or interest with respect to

 the Debtor or its property or proceeds thereof or property in which the Debtor may claim an interest.
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        This appearance and request for notice is without prejudice to the Creditor's rights, remedies

 and claims against other entities or any objection that may be made to the subject matter jurisdiction of

 the Court and shall not be deemed or construed to submit the Creditor to the jurisdiction of the court.

 All rights, remedies and claims are hereby expressly reserved.


                                                      MITRANI, RYNOR, ADAMSKY & TOLAND.
                                                      Attorney for Valley National Bank
                                                      Htoland@mitrani.com
                                                      1200 Weston Road
                                                      Penthouse
                                                      Weston, FL 33326
                                                      (954) 335-1010


                                                      BY:/s/ Howard S. Toland
                                                        HOWARD S. TOLAND, ESQUIRE
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                                      645




     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4                                                    CASE NO: 18-15825
          DEBTOR
     5
                                                          OPPOSITION TO LANDLORD
     6                                                    HOLLAND’S MOTION FOR
          NUJBIA PEREZ DBA
                                                          SANCTIONS
          A PLUS LAMINATION.
     7
     8
     9
    10   1.COMES NOW, THE Debtor, Nubia Marcella Perez, Opposing the Motion for Sanctions of
    11   Landlord in Case No. 18-15825.
    12
    13
         2. Debtor opposes the Motion of Landlord for Sanctions.
    14
    15
    16   3. Debtor was involved in an eviction case with landlord.
    17
    18
         4. Debtor was under a court Order to deposit funds into the Court registry. Debtor is
    19
         unaware of anything in the Order that said that Debtor could not seek bankruptcy
    20
    21   protection.

    22
    23   5.Debtor intended to follow the Court’s order and deposit funds into the registry.
    24
    25
    26
    27
                                                      1
    28
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     1
     2   6.When attempting to get the funds to put into the registry, Debtor was told the funds had

     3   been garnished by D And K International. Due to the garnishment Debtro was unable to
     4
         place the funds into the registry.
     5
     6
         7.Debtor has attempted to negotiate a resolution of the rent issue with the landlord.
     7
     8
     9   8.Landlord is not entitled to sanctions pursuant to Bankruptcy Rule 9011 and
    10   U.S.C. S. 105.
    11
    12
         Dated: June 26, 2018:
    13
    14
    15
    16                                                     By:/s/Thomas Neusom
                                                           Attorney For Debtor
    17
                                                           Bar No. 003717
    18                                                     (954)200-3536
                                                           4737 N. Ocean Drive, #129
    19                                                     Fort Lauderdale, FL 33308
                                                           Email: tgnoffice35@gmail.com
    20
    21
    22
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 259 of
                                      645




     1                              CERTIFICATE OF SERVICE
     2   I HEREBY CERTIFY that a true and correct copy of the foregoing OPPOSITION TO
     3   LANDLORD HOLLAND’S MOTION FOR SANCTIONS
          was furnished by email to the following on June 26, 2018, to the parties on the efiling portal
     4   service list by email.

     5
     6
     7                                                        By:/s/Thomas Neusom
                                                              Attorney For Debtor
     8                                                        Bar No. 0037174
     9                                                        Phone; (954)200-3536
                                                              4737 N. Ocean Drive, #129
    10                                                        Fort Lauderdale, FL 33308
                                                              Email: tgnoffice35@gmail.com
    11
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                                          645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 1                          Date Rcvd: Jun 29, 2018
                                      Form ID: pdf004                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 01, 2018.
cr             +Andrea Holland,   c/o Peter D. Russin, Esq.,   Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,   Miami, FL 33131-5323
cr             +Brian Holland,   c/o Peter D. Russin, Esq.,   Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,   Miami, FL 33131-5323

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 01, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 29, 2018 at the address(es) listed below:
              Howard S Toland   on behalf of Creditor    Valley National Bank htoland@mitrani.com
              Howard S Toland   on behalf of Creditor    Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom   on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
                                                                                             TOTAL: 7
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                                          645




           ORDERED in the Southern District of Florida on June 28, 2018.




                                                                 A. Jay Cristol, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________
                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION
                                            www.flsb.uscourts.gov

          IN RE:                                                       CASE NO. 18-15825-AJC

          NUBIA MARCELLA PEREZ,                                        Chapter 11

                Debtor.
          ____________________________________/

              OMNIBUS ORDER ON (1) LANDLORD’S MOTION TO DISMISS CHAPTER 11
           BANKRUPTCY PETITION FOR BAD FAITH AND FRAUD ON THE COURT AND FOR
           RELIEF FROM THE AUTOMATIC STAY, (2) UNITED STATES TRUSTEE’S MOTION
          TO DISMISS OR CONVERT CASE, (3) DEBTOR’S MOTION TO DISMISS BANKRUPTCY
                CASE, AND (4) LANDLORD’S MOTION FOR SANCTIONS PURSUANT TO
                            BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                   THIS MATTER came before the Court on June 27, 2018 at 11:00 a.m. upon (1) Brian Holland

          and Andrea Holland also known as Brian Holland 5561 Rent Account (“Landlord”) Motion to Dismiss

          the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the Court and for Relief from the

          Automatic Stay [ECF 24]; (2) United States Trustee’s (“US Trustee”) Motion to Dismiss or Convert the

          Case [ECF 46]; (3) Debtor’s Motion to Dismiss Bankruptcy [ECF 49]; and (4) Landlord’s Motion for

          Sanctions Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25]. The Court having heard

          argument from counsel, reviewed the motions, and having been duly advised in the premises, it is
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      ORDERED AND ADJUDGED as follows:

              1. The motions to dismiss [ECF 24 ,46, and 49] filed by Landlord, Trustee, and Debtor are

      GRANTED, and the Bankruptcy Petition is DISMISSED WITH PREJUDICE as to the filing of any

      bankruptcy petition in any federal bankruptcy court in the United States of America by the above-named

      Debtor for 180 days from entry of this Order.

              2. The motion for relief from stay [ECF 26] is DENIED AS MOOT.

              3. The Debtor’s Emergency Motion for Order to Release Garnished Funds to Debtor [ECF 42]

      is accordingly DENIED AS MOOT, and the hearing scheduled thereon is cancelled.

              4. The Debtor shall file any pending Monthly Operating Reports within fourteen (14) days of the

      entry of this Order and simultaneously pay the United States Trustee any unpaid sum due pursuant to

      28 U.S.C. Section 1930(a)(6).

              5. The Debtor shall pay the Bankruptcy Clerk of the Court any outstanding fees, costs and

      charges in connection with this case within fourteen (14) days of the entry of this Order.

              6. All rights regarding sanctions and bad faith conduct are reserved. The Court will conduct an

      evidentiary hearing on Landlord’s Motion for Sanctions pursuant to Bankruptcy Rule 9011 and 11

      U.S.C. § 105 [ECF 25] on July 27, 2018 at 2:00 p.m. in Courtroom 7, C. Clyde Atkins U.S. Courthouse,

      301 North Miami Avenue, Miami, Florida.

              7. Debtor and Landlord shall disclose all witnesses and exchange copies of all exhibits by July

      16, 2018.

              8. The U.S. Trustee may appear as an interested party and make arguments at the evidentiary

      hearing using any exhibit or witness that is disclosed by Debtor or Landlord. The U.S. Trustee is not

      required to prepare or distribute an independent witness or exhibit list.

              9. This Court shall retain jurisdiction to enforce the provisions of this Order.


                                                        ###
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                                      645


      Submitted By (and amended by the Court):

      Utibe I. Ikpe, Esquire
      Florida Bar No. 90301
      uikpe@melandrussin.com
      MELAND RUSSIN & BUDWICK, P.A.
      Counsel for Brian Holland and Andrea Holland
      200 South Biscayne Boulevard, Ste 3200
      Miami, Florida 33131
      Telephone: (305) 358-6363
      Telefax: (305) 358-1221

      Copies furnished to:
      Utibe I. Ikpe, Esquire, is directed to serve copies of this Order on all parties in interest and to file a
      Certificate of Service.
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                                      645


                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-AJC

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

                                         CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the Omnibus Order on (1) Landlord’s

   Motion to Dismiss Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the Court and for Relief

   from the Automatic Stay, (2) United States Trustee’s Motion to Dismiss or Convert Case, (3) Debtor’s

   Motion to Dismiss Bankruptcy Case, and (4) Landlord’s Motion for Sanctions Pursuant to Bankruptcy Rule

   9011 and 11 U.S.C. § 105 [ECF No. 52] was served on June 29, 2018, via the Court’s Notice of

   Electronic Filing upon registered Users listed on the attached Exhibit 1.

            Dated: July 3, 2018.
                                                          s/ Peter D. Russin
                                                         Peter D. Russin, Esquire
                                                         Florida Bar No. 765902
                                                         prussin@meladnrussin.com
                                                         Utibe I. Ikpe, Esq.
                                                         Florida Bar Number: 90301
                                                         uikpe@melandrussin.com
                                                         MELAND RUSSIN & BUDWICK, P.A.
                                                         3200 Southeast Financial Center
                                                         200 South Biscayne Boulevard
                                                         Miami, Florida 33131
                                                         Telephone: (305) 358-6363
                                                         Telecopy: (305) 358-1221

                                                         Attorneys for Brian Holland and Andrea Holland




                                                             1
                                        LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
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                                      645


MIME-Version:1.0
From:FLSB_ECF_Notification@FLSB.USCOURTS.GOV
To:Courtmail@localhost.localdomain
Bcc: Johanna.Armengol@usdoj.gov, USTPRegion21.MM.ECF@usdoj.gov, htoland@mitrani.com, ltannenbaum@melandrussin.com, mrbnefs@yahoo.com, prussin
Do not notice for BK case:

Message-Id:<45486663@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Order on Miscellaneous Motion

Content-Type: text/html

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and parties in a case (including pro se
litigants) to receive one free electronic copy of all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all
other users. To avoid later charges, download a copy of each document during this first viewing. However, if the referenced document is a transcript, the free copy
and 30-page limit do not apply.

                                                                          U.S. Bankruptcy Court

                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Snipes, Jeanne entered on 6/29/2018 at 8:40 AM EDT and filed on 6/29/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 52

Docket Text:
Omnibus Order On (1) Landlord's Motion to Dismiss Chapter 11 Bankruptcy Petition For Bad Faith and Fraud on the Court and For Relief From the Automatic Stay (Re: #
[24]), (2) United States Trustee's Motion to Dismiss or Convert Case (Re: # [46]), (3) Debtor's Motion to Dismiss Bankruptcy Case (Re: # [49]), and (4) Landlord's Motion
For Sanctions Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105. Evidentiary Hearing On: (Re: [25] Motion For Sanctions Pursuant to FRBP 9011 Attorney Misconduct
Against Debtor and Debtor's Counsel and 11 U.S.C. § 105 Filed by Creditors Andrea Holland, Brian Holland.) Evidentiary Hearing scheduled for 07/27/2018 at 02:00 PM at
C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave Courtroom 7 (AJC), Miami, FL 33128. Dismissal Shall Be with 180 Days Prejudice [Filing Fee Balance Due: $0.00].
(Snipes, Jeanne)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:order.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1068065210 [Date=6/29/2018] [FileNumber=45486661-
0] [ca6adeed3f1d9a0a3d94df2bd9394a763d7f99dfdf029fabbf38d48ca40726447f
372d007c0fd2af05c650dc71d96ecf85e85cf369b09eda7e638bc6cc06096b]]

18-15825-AJC Notice will be electronically mailed to:

Johanna Armengol on behalf of U.S. Trustee Office of the US Trustee
Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice35@gmail.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Peter D. Russin, Esq on behalf of Creditor Andrea Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Peter D. Russin, Esq on behalf of Creditor Brian Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Howard S Toland on behalf of Creditor Newtek Small Business Finance Inc
htoland@mitrani.com

Howard S Toland on behalf of Creditor Valley National Bank
htoland@mitrani.com




                                                                                                                                                Exhibit 1
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                                      July 05,
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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-AJC

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

                                        LANDLORD’S WITNESS LIST

            Landlord Brian Holland and Andrea Holland a/k/a Brian Holland 5561 Rent Account

   (“Landlord”), intends to call the following witnesses at the evidentiary hearing on Landlord’s

   Motion for Sanctions Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25], which is

   set for an evidentiary hearing on July 27, 2018 at 2:00 p.m.:

   Landlord’s Representative

   c/o Meland Russin and Budwick
   3200 Southeast Financial Center
   200 South Biscayne Boulevard
   Miami, Florida 33131

   Brief summary of testimony: The representative will testify about the commercial lease Landlord
   entered with A plus Lamination and Finishing Inc. (“A Plus Lamination”), the state court eviction
   action Landlord filed against A Plus Lamination, and the bankruptcy filed by Nubia Marcella Perez
   (“Debtor”).

   Nubia Marcella Perez

   c/o The Law Office of Thomas G. Neusom
   4737 N Ocean Dr # 129
   Fort Lauderdale, FL 33308

   Brief summary of testimony: Debtor, who is the President of A Plus Lamination, will testify about
   the commercial lease A plus Lamination entered with Landlord, the eviction action Landlord filed
   against A Plus Lamination, and the personal chapter 11 bankruptcy Debtor filed with this Court.




                                                             1
                                        LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
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   Cathey Ware

   c/o The Law Office of Thomas G. Neusom
   4737 N Ocean Dr # 129
   Fort Lauderdale, FL 3330

   Brief summary of testimony: Ms. Ware is Debtor’s business consultant and assisted Debtor in
   filing her personal chapter 11 bankruptcy. Ms. Ware will testify about A Plus Lamination, the
   eviction action Landlord filed against A Plus Lamination, and Debtor’s chapter 11 bankruptcy.

   Joseph R. Colletti, Esq.

   c/o Joseph R. Colletti, P.A.
   4770 Biscayne Blvd
   Suite 1400
   Miami, FL 33137

   Brief summary of testimony: Mr. Colletti is Landlord’s counsel in the state court eviction action
   against A Plus Lamination. Mr. Colletti will testify about the eviction action, including its
   automatic stay.

   All witnesses listed on Debtor’s witness list.

   All rebuttal witnesses.

   All impeachment witnesses.


      Dated: July 16, 2018.
                                                         s/ Peter D. Russin
                                                        Peter D. Russin, Esquire
                                                        Florida Bar No. 765902
                                                        prussin@meladnrussin.com
                                                        Utibe I. Ikpe, Esq.
                                                        Florida Bar Number: 90301
                                                        uikpe@melandrussin.com
                                                        MELAND RUSSIN & BUDWICK, P.A.
                                                        3200 Southeast Financial Center
                                                        200 South Biscayne Boulevard
                                                        Miami, Florida 33131
                                                        Telephone: (305) 358-6363
                                                        Telecopy: (305) 358-1221

                                                        Attorneys for Brian Holland and Andrea Holland


                                                            2
                                       LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
      3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
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                                          CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a true and correct copy of the foregoing was served on July

   16, 2018, via the Court’s Notice of Electronic Filing upon registered Users listed on the attached

   hereto as Exhibit 1 and via Regular U.S. Mail on all parties listed on the Court’s Matrix attached

   hereto as Exhibit 2.

                                                        s/ Peter D. Russin
                                                        Peter D. Russin, Esquire




                                                            3
                                       LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
      3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
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Mailing Information for Case 18-15825-AJC
Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for this case.

    • Johanna Armengol Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
    • Thomas G Neusom tgnoffice35@gmail.com
    • Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
    • Nathalie C. Rodriguez nrodriguez@rasflaw.com
    • Peter D. Russin prussin@melandrussin.com,
      ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com
    • Howard S Toland htoland@mitrani.com




                                                                                                                    Exhibit 1
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Label Matrix for local noticing     Nationstar Mortgage 645
                                                        LLC           Newtek Small Business Finance Inc
113C-1                                    RAS Crane, LLC                           c/o Howard S Toland , Esq
Case 18-15825-AJC                         10700 Abbott’s Bridge Road               1200 Weston Road
Southern District of Florida              Suite 170                                Penthouse
Miami                                     Duluth, GA 30097-8461                    Weston, Fl 33326-1987
Mon Jul 16 11:48:36 EDT 2018
Valley National Bank                      Actega North America Inc                 Brian Holland
c/o Mitrani, Rynor, Adamsky & Toland PA   26537 Network Place                      13105 NW Le Jeune Rd
1200 weston road                          Chicago, IL 60673-1265                   Opa Locka, FL 33054-4435
PH
Weston, FL 33326-1987

Capital One Bank                          Capital One Bank (USA), N.A.             Cosmo Claim 2018
POB 71083                                 PO Box 71083                             Rosenfeld Stein Batta, PA
Charlotte, NC 28272-1083                  Charlotte, NC 28272-1083                 21490 West Dixie Hwy
                                                                                   Aventura, FL 33180-1144


Cosmo Films, Inc                          Cosmos Films, Inc.                       D & K International Inc
Coface North America Insurance Company    Coface North America Insurance Company   Ryan E Sprechman
650 College Road East, Suite 2005         65 College Road East, Suite 2005         2775 Sunny Isle Blvd #100
Princeton, NJ 08540-6779                  Princeton, NJ 08540                      Miami, FL 33160-4078


Distrigraph Inc                           Francisco Gabriel Perez Loan             Internal Revenue Service
Gabriel Fernandez                         3845 Sw 149th Pl                         Centralized Insolvency Operation
5248 SW 93rd Ave                          Miami, FL 33185-3931                     P.O. Box 7346
Cooper City, FL 33328-4225                                                         Philadelphia, PA 19101-7346


Internal Revenue Service                  Matt D Goldman Trust                     Miami-Dade County Tax
POB 80110                                 Account                                  Collector
Cincinnati, OH 45280-0110                 7190 SW 100 St                           140 West Flagler St
                                          Miami, FL 33156-3069                     14th Floor
                                                                                   Miami, FL 33130-1561

NATIONSTAR MORTGAGE LLC D/B/A             Noelus LLC                               Nubia Perez Loans
MR. COOPER                                POB 639027                               5559 NW 36th Ave
ATTN: BANKRUPTCY DEPT                     Cincinnati, OH 45263-9027                Miami, FL 33142-2709
PO BOX 619096
DALLAS, TX 75261-9096

Office of the US Trustee                  SANTANDER CONSUMER USA                   Santander Consumer USA
51 S.W. 1st Ave.                          P.O. Box 560284                          POB 660633
Suite 1204                                Dallas, TX 75356-0284                    Dallas, TX 75266-0633
Miami, FL 33130-1614


Transilwrap Company Inc                   Universal Pressroom                      Valley National Bank -2625
9201 W Belmont Ave                        Productsa LLC                            Newtex Small Business
Franklin Park, IL 60131-2842              POB 1697                                 Finance, LLC
                                          Woodstock, GA 30188-1366                 POB 2006
                                                                                   Hicksville, NY 11802-2006

Valley National Bank Loan                 Vencol                                   Andrea Holland
2198 Small Street                         8209 NW 70th St                          c/o Peter D. Russin, Esq.
POB 952                                   Miami, FL 33166-2743                     Meland Russin & Budwick, P.A.
Wayne, NJ 07474-0952                                                               200 South Biscayne Blvd., Suite 3200
                                                                                   Miami, FL 33131-5323
                                                                                              Exhibit 2
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Brian Holland                       Nubia Marcella Perez645           Thomas G Neusom
c/o Peter D. Russin, Esq.              5559 NW 36 Ave                 4737 N. Ocean Drive, #129
Meland Russin & Budwick, P.A.          Miami, FL 33142-2709           Fort Lauderdale, FL 33308-2920
200 South Biscayne Blvd., Suite 3200
Miami, FL 33131-5323
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     1
     2        IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4                                            CASE NO: 18-15825
          DEBTOR
     5
                                                  WITNESS AND EXHIBIT LIST
     6                                            FOR EVIDENTIARY HEARING
          NUJBIA PEREZ DBA
          A PLUS LAMINATION.
     7
     8
     9
    10   WITNESS
    11   ATTORNEY PETER RUSSIN
    12
    13
    14
    15   EXHIBITS

    16   STATE EVICTION CASE DOCKET
    17   RENT REGISTRY ORDER
    18
         BANKRUPTCY PROPOSED DISMISSAL ORDERS
    19
         BANKRUPTCY DISMISSAL ORDERS
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     1
     2   Dated: July 16, 2018:

     3
     4
     5
     6                                            By:/s/Thomas Neusom
                                                  Attorney For Debtor
     7                                            Bar No. 0037178
                                                  4737 N. Ocean Drive, #129
     8
                                                  Fort Lauderdale, FL 33308
     9                                            Email: tgnoffice35@gmail.com

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     2                          CERTIFICATE OF SERVICE
     3   I HEREBY CERTIFY that a true and correct copy of the foregoing WITNESS AND EXHIBIT
         LIST FOR EVIDENTIARY HEARING was furnished by email to the following on July 16,
     4   2018, to the parties on the efiling portal service list by email.
     5
     6
     7                                               By:/s/Thomas Neusom
     8                                               Attorney For Debtor
                                                     Bar No. 0037174
     9                                               Phone; (954)200-3536
                                                     4737 N. Ocean Drive, #129
    10                                               Fort Lauderdale, FL 33308
                                                     Email: tgnoffice35@gmail.com
    11
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     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4                                                        CASE NO: 18-15825
          DEBTOR
     5
                                                              MOTION TO STRIKE OR FOR
     6                                                        SUMMARY DENIAL OF LANDLORD
          NUJBIA MAR ELLA PEREZ.
                                                              HOLLAND’S MOTION FOR
     7                                                        SANCTIONS DUE TO LACK OF
                                                              JURISDICTION AND OTHER
     8                                                        GROUNDS
     9
    10
    11   1.COMES NOW, Nubia Marcella Perez and Attorney Thomas Neusom, under the applicable
    12   State And Federal Rule, Opposing the Motion for Sanctions of Landlord Holland in Case No.
    13
         18-15825.
    14
    15      A. A Federal court cannot act as a State Appellate Court. The Landlord Holland needs
    16         and needed to seek relief in the State Court and the Bankruptcy Court cannot act as
               a State Trial Appellate Court, which Holland is seeking
    17
         Holland filed an eviction against A Plus Lamination And Finishing in Miami Dade County with
    18
         Case Number 18-8187CC05.        Holland is seeking sanctions against Perez and her Counsel
    19
    20   Thomas Neusom in Federal Bankruptcy Court for what happened in a State Court eviction

    21   action, and the State Court has not ruled that Holland is entitled for sanctions for what happened
    22   in State Court. A hearing in the eviction case is scheduled for July 30, 2018. It is procedurally
    23
         improper for the Bankruptcy Court to grant the sanctions Holland is seeking due to lack of
    24
         jurisdiction and numerous legal doctrines.
    25
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     2   An abstention doctrine is any of several doctrines that a United States court may (or in some
     3
         cases must) apply to refuse to hear a case if hearing the case would potentially intrude upon the
     4
         powers of another court. Such doctrines are usually invoked where lawsuits involving the same
     5
     6   issues are brought in two different court systems at the same time (such as federal and state

     7   courts).
     8
     9
    10   The United States has a federal court system with limitations on the cases that it can hear, while

    11   each state has its own individual court system. In some instances, the jurisdiction of these courts
         overlap, so a lawsuit between two parties may be brought in either or both courts. The latter
    12
         circumstance can lead to confusion, waste resources, as well as cause the appearance that one
    13   court is disrespecting the other. Both federal and state courts have developed rules determining
    14   when one court will defer to another's jurisdiction over a particular case.

    15
         Colorado River abstention
    16
         Finally, Colorado River abstention, from Colorado River Water Conservation District v. United
    17
         States, 424 U.S. 800 (1976) comes into play where parallel litigation is being carried out,
    18
         particularly where federal and state court proceedings are simultaneously being carried out to
    19
    20   determine the rights of parties with respect to the same questions of law. Under such

    21   circumstances, it makes little sense for two courts to expend the time and effort to achieve a
    22
         resolution of the question.
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     1
     2   Unlike other abstention doctrines, application of the Colorado River doctrine is prudential and
     3
         discretionary, and is based less on comity or respect between different court systems than on the
     4
         desire to avoid wasteful duplication of litigation. The classification of the doctrine as a form of
     5
     6   abstention has been disputed, with some courts simply calling it a "doctrine of exceptional

     7   circumstances". Each of the various federal circuits has come up with its own list of factors to
     8
         weigh in determining whether a federal court should abstain from hearing a case under this
     9
         doctrine. Typically, such factors include:
    10
    11
    12   Note on the Rooker-Feldman doctrine[edit]
         The Rooker-Feldman doctrine has some characteristics of an abstention doctrine, because it
    13
         prohibits federal court review of state court actions. However, it does not require federal courts
    14
         to abstain from hearing cases pending action in the state court, but instead deems that federal
    15   courts lack jurisdiction to hear cases already fully decided in state courts. The doctrine is not a
    16   judicially created exception to federal jurisdiction. Rather, the Rooker and Feldman cases simply
    17   recognized the fact that Congress has not granted the federal district or appeals courts statutory
         jurisdiction to consider appeals of state court decisions, only the US Supreme Court via a writ of
    18
         certiorari). It is an open question whether Congress could grant such jurisdiction.
    19
    20
         If Holland could establish there has been a violation in State Court he may be able to bring that
    21
    22   to the attention to the Bankruptcy Court but he cannot properly do it the way it is being done

    23   hear.
    24
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     1
     2
         We cannot assume why the State court did what it did. The Eviction attorney could have filed a
     3
     4   Motion For Reconsideration and Rehearing. We cannot procedurally properly make a

     5   determination on the State Court action in this Federal Court in this way by Holland’s sanction
     6
         motion, it is illegal.
     7
     8
            the order in which the courts assumed jurisdiction over property
     9      the order in which the courts assumed jurisdiction over the parties
            the relative inconvenience of the fora
    10      the relative progress of the two actions (added by Moses H. Cone Memorial Hospital v.
    11       Mercury Constr. Corp. in 1983)
            the desire to avoid piecemeal litigation
    12      whether federal law provides the rule of decision
            whether the state court will adequately protect the rights of all parties
    13
            whether the federal filing was vexatious (intended to harass the other party) or reactive (in
    14       response to adverse rulings in the state court).

    15
         It was procedurally improper for Landlord to abandon the State Court eviction action and seek
    16
    17   relief in the Federal Bankruptcy Court. The abstention doctrine is to stop inconsistent verdicts

    18   like what could happen if the Court were to grant Holland relief in this Bankruptcy case.
    19
    20   The Bankruptcy Court has no jurisdiction to act as a State Appellate Court even under

    21   BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105.

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     1
     2      B. FRAUD ON THE COURT

     3   The Motion For Sanctions also contains inaccurate information that was brought up at the
     4   dismissal hearing. Attorney Thomas Neusom did not work on the eviction. The eviction attorney
     5
         was Alex Borrell. Due to the sanction Motion not mentioning who the Eviction Attorney was
     6
         and implying it was Thomas Neusom, a fraud was and is currently being perpetrated on the
     7
         Court.
     8
     9
         The Bankruptcy Court stated if Neusom did not file the Suggestion Of Bankruptcy he was off
    10
         the hook. Attorney Peter Russin, who filed the Motion for sanctions on behalf of Holland knows
    11
    12   Neusom did not represent Perez in State Court, yet Russin and Landlord Holland did not

    13   withdraw the sanctions motion and are moving forward with it despite the fact that it implies that
    14   Neusom was the eviction attorney, which he was not and he did not file anything in the eviction
    15
         case.
    16
    17   Bankruptcy Rule 9011 was incorrectly used and invoked because Holland did not comply with
    18
         the 21 day safe harbor provision.
    19
    20   Attorney Thomas Neusom was not the eviction attorney and was not at the hearing when the stay
    21   was imposed.
    22
    23   If the Landlord’s Attorney did not agree with the stay, they should have filed a Motion For

    24   Rehearing in the State Court and they could have filed an Appeal to get the stay lifted if the stay
    25
         was improperly granted.
    26
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     1   Due to the landlord Attorney’s failure to take proper action in the state court proceeding the stay
     2
         may have been put in improperly and it stayed when it shouldn’t have but this was actually a
     3
         decision for the state court judge to make and it depended on a number of issues such as the
     4
     5   Lease. The Bankruptcy Court can also lift the stay but it can’t rule on a state Court Order like a

     6   state trial or Appellate Court due to abstention doctrines.

     7
         If the State Court judge made a mistake this could and should have been brought to the Judges
     8
     9   Attention by Motion For Reconsideration or Rehearing and then appealed to the Third DCA.

    10   Waiting for the Bankruptcy Court was error. And Debtor should also not be responsible for the
    11   fact that the hearing was not set for more than 27 days after it was requested.
    12
    13   There is also no damage from the Bankruptcy because after the Bankruptcy was dismissed
    14   Landlord gave Tenant A Plus additional weeks to move from the subject property and did not
    15
         Immediately resume State eviction Court proceedings, so there can’t be damage for doing what
    16
         you would have done or did when it was the Landlord’s choice. It was the right choice because A
    17
         Plus has a lease for a new location and should be completely out of Landlord Holland’s property
    18
    19   by the end of July when the lease ends.

    20
         At this time it is still unclear whether the Stay was improperly or properly granted, and it is still
    21
    22   unclear because the debtor had a personal guarantee with the Small Business Administration

    23   which would meant that the stay was properly granted, which it likely was due to the language of

    24   the rent registry Order
    25
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     1
     2
         This is a legal question requiring a State Court Judicial Determination because that Court issued
     3
         the Rent Registry order and is the proper Court to make determinations about it and the Federal
     4
     5   Bankruptcy Court cannot properly grant sanctions due to abstention doctrines.

     6
         Landlord incorrectly utilizes In Re Mcbride because the Court Registry Order did not mention or
     7
         prohibit seeking bankruptcy protection. Mcbride also dealt with a foreclosure case and not an
     8
     9   eviction case. In re McBride Estates, Ltd., 154 B.R. at 343.

    10
    11   This Bankruptcy Court also essentially ruled against Landlord when their request for dismissal
    12
         with prejudice was sought in their proposed dismissal order and the Court denied it against A
    13
         Plus Lamination.
    14
    15
         Perez and Neusom are unaware of anything in the Rent Registry Order that said that
    16
         Tenant could not seek bankruptcy protection. The proper Judge to interpret a violation
    17
    18   Of the Order is Judge Alexander Boker. A hearing is currently scheduled before Judge

    19   Boker on July 30, 2018.

    20
    21
         When attempting to get the funds to put into the registry, Perez was told the funds had
    22
         been garnished by D And K International. Due to the garnishment A Plus was unable to
    23
         place the funds into the registry. There was no bad faith.
    24
    25
    26   A Plus has attempted to negotiate a resolution of the rent issue with the landlord.
    27
                                                         7
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     4
         Landlord is not entitled to sanctions pursuant to Bankruptcy Rule 9011 and
     5
         U.S.C. S. 105.
     6
     7
     8   Thomas Neusom did not file a Suggestion of Bankruptcy or anything in the eviction case.

     9
    10   The Bankruptcy case was dismissed June 29, 2018.
    11
    12
         The parties are close to reaching a settlement and the Bankruptcy Court should Strike or
    13
    14   summarily deny Landlord Holland’s motion or find a lack of jurisdiction to hear the

    15   motion. Landlord is concurrently seeking a determination in Federal Bankruptcy Court
    16   that needs to be heard by the state eviction court if heard at all.
    17
    18
    19
    20   .Dated: July 26, 2018:

    21
    22
    23
    24                                                       By:/s/Thomas Neusom
                                                             Attorney For Debtor
    25                                                       Bar No. 003717
                                                             (954)200-3536
    26                                                       4737 N. Ocean Drive, #129
    27                                                       Fort Lauderdale, FL 33308
                                                         8
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                                                            Email: tgnoffice35@gmail.com
     1
     2
     3
     4
                                   CERTIFICATE OF SERVICE
     5
     6   I HEREBY CERTIFY that a true and correct copy of the foregoing MOTION TO STRIKE OR
         FOR SUMMARY DENIAL OF LANDLORD HOLLAND’S MOTION FOR SANCTIONS
     7   DUE TO LACK OF JURISDICTION AND OTHER GROUNDS
          was furnished by email to the following on July 26, 2018, to the parties on the efiling portal
     8   service list by email.
     9
    10
    11                                                      By:/s/Thomas Neusom
    12                                                      Attorney For Debtor
                                                            Bar No. 0037174
    13                                                      Phone; (954)200-3536
                                                            4737 N. Ocean Drive, #129
    14                                                      Fort Lauderdale, FL 33308
                                                            Email: tgnoffice35@gmail.com
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            ORDERED in the Southern District of Florida on July 27, 2018.




                                                              A. Jay Cristol, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________

                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION
                                            www.flsb.uscourts.gov


          In re:                                                   Case No.: 18-15825-ACJ

          NUBIA MARCELLA PEREZ,                                    Chapter 11

                       Debtors.
          ____________________________________/

                         ORDER GRANTING LANDLORD’S ORE TENUS MOTION
                         TO CONTINUE HEARING ON LANDLORD’S MOTION FOR
                   SANCTIONS PURSUANT TO BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                    THIS MATTER came before the Court on July 27, 2018 at 2:00pm on Landlord’s Ore

          Tenus Motion to Continue the Hearing on Landlord’s Motion for Sanctions pursuant to Bankruptcy

          Rule 9011 and 11 U.S.C. § 105 (“Motion”) [ECF 25]. The Court, having reviewed the Motion,

          and having been duly advised of the premises, it is hereby ORDERED AND ADJUDGED as

          follows:

                    1.    Landlord’s Ore Tenus Motion for Continuance is GRANTED.




                                                        1
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           2.      The hearing on Landlord’s Motion for Sanctions pursuant to Bankruptcy Rule 9011

   and 11 U.S.C. § 105 [ECF 25] is rescheduled for August 15, 2018 at 3:00 p.m.

                                                    ###

   Submitted By:
   Utibe I. Ikpe, Esquire
   Florida Bar No. 90301
   uikpe@melandrussin.com
   Meland Russin and Budwick
   3200 Southeast Financial Center
   200 South Biscayne Blvd.
   Miami, Florida 33131
   T: 305.358.6363
   F: 305.358.1221

   Copies furnished to:
   Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.




                                                      2
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Form CGFCRD3 (12/1/15)

                                 United States Bankruptcy Court
                                        Southern District of Florida
                                          www.flsb.uscourts.gov
                                                                                Case Number: 18−15825−AJC
                                                                                Chapter: 11

In re:
Nubia Marcella Perez
dba A Plus Lamination & Finishing Inc
5559 NW 36 Ave
Miami, FL 33142

SSN: xxx−xx−9901




                                         NOTICE OF HEARING


NOTICE IS HEREBY GIVEN that a hearing will be held on August 15, 2018 at 03:00 PM at the following
location:

C. Clyde Atkins U.S. Courthouse
301 North Miami Avenue
Courtroom 7
Miami FL 33128

to consider the following:

First Motion for Abstention on Sanction Motion Filed by Debtor Nubia Marcella Perez. ECF#60


THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 7/30/18                                        CLERK OF COURT
                                                      By: Susan Gutierrez
                                                      Courtroom Deputy
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                                      645


                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-AJC

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

                                         CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the Order Granting Landlord’s Ore

   Tenus Motion to Continue Hearing on Landlord’s Motion for Sanctions Pursuant to Bankruptcy Rule 9011

   and 11 U.S.C. § 105 [ECF No. 61] was served on July 30, 2018, via the Court’s Notice of Electronic

   Filing upon registered Users listed on the attached Exhibit 1.

            Dated: July 31, 2018.

                                                         s/ Utibe I. Ikpe
                                                         Peter D. Russin, Esquire
                                                         Florida Bar No. 765902
                                                         prussin@meladnrussin.com
                                                         Utibe I. Ikpe, Esq.
                                                         Florida Bar Number: 90301
                                                         uikpe@melandrussin.com
                                                         MELAND RUSSIN & BUDWICK, P.A.
                                                         3200 Southeast Financial Center
                                                         200 South Biscayne Boulevard
                                                         Miami, Florida 33131
                                                         Telephone: (305) 358-6363
                                                         Telecopy: (305) 358-1221

                                                         Attorneys for Brian Holland and Andrea Holland




                                                             1
                                        LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 291 of
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MIME-Version:1.0
From:FLSB_ECF_Notification@FLSB.USCOURTS.GOV
To:Courtmail@localhost.localdomain
Bcc: Johanna.Armengol@usdoj.gov, USTPRegion21.MM.ECF@usdoj.gov, htoland@mitrani.com, ltannenbaum@melandrussin.com, mrbnefs@yahoo.com, prussin
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Message-Id:<45692148@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Order Continuing Hearing

Content-Type: text/html

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and parties in a case (including pro se
litigants) to receive one free electronic copy of all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all
other users. To avoid later charges, download a copy of each document during this first viewing. However, if the referenced document is a transcript, the free copy
and 30-page limit do not apply.

                                                                          U.S. Bankruptcy Court

                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Snipes, Jeanne entered on 7/30/2018 at 10:08 AM EDT and filed on 7/30/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 61

Docket Text:
Order Granting Landlord's Ore Tenus Motion to Continue Hearing On (Re: [25] Landlord's Motion for Sanctions filed by Creditor Brian Holland, Creditor Andrea Holland).
Hearing scheduled for 08/15/2018 at 03:00 PM at C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave Courtroom 7 (AJC), Miami, FL 33128. (Snipes, Jeanne)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:Order_Granting_Motion_for_Continuance_(02146114xA9CE2).pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1068065210 [Date=7/30/2018] [FileNumber=45692146-
0] [001230f44123e1243a7f77c399ba8cee9a358ddd951a748f875cec8d5c9830a9a0
7ef1e6fe23d3b93080f2a7335e1479d77c96a821b892be6b7902df32906eb8]]

18-15825-AJC Notice will be electronically mailed to:

Johanna Armengol on behalf of U.S. Trustee Office of the US Trustee
Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice35@gmail.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Nathalie C. Rodriguez on behalf of Creditor Nationstar Mortgage LLC
nrodriguez@rasflaw.com

Peter D. Russin, Esq on behalf of Creditor Andrea Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Peter D. Russin, Esq on behalf of Creditor Brian Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Howard S Toland on behalf of Creditor Newtek Small Business Finance Inc
htoland@mitrani.com

Howard S Toland on behalf of Creditor Valley National Bank
htoland@mitrani.com




                                                                                                                                                Exhibit 1
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     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4                                                       CASE NO: 18-15825
          DEBTOR
     5
                                                             SUPPLEMENT TO MOTION TO
     6                                                       STRIKE OR FOR SUMMARY DENIAL
          NUJBIA MAR ELLA PEREZ.
                                                             OF LANDLORD HOLLAND’S MOTION
     7                                                       FOR SANCTIONS DUE TO LACK OF
                                                             JURISDICTION AND OTHER
     8                                                       GROUNDS
     9
    10
    11   1.COMES NOW, Nubia Marcella Perez and Attorney Thomas Neusom, under the applicable
    12   State And Federal Rule, Supplementing their Opposition to the Motion for Sanctions of
    13
         Landlord Holland in Case No. 18-15825.
    14
    15      A. A Federal court cannot act as a State Appellate Court. The Landlord Holland needs
    16         and needed to seek relief in the State Court and the Bankruptcy Court cannot act as
               a State Trial Court or State Appellate Court, which Holland is seeking
    17
    18   Holland filed an eviction against A Plus Lamination And Finishing in Miami Dade County with
    19
         Case Number 18-8187CC05.       Holland is seeking sanctions against Perez and her Counsel
    20
         Thomas Neusom in Federal Bankruptcy Court for what happened in a State Court eviction
    21
         Action that has ended.
    22
    23
         The landlord Holland obtained a Lifting Of The Stay, a Writ Of Possession and have obtained
    24
         possession of the subject property. The eviction case is closed at this time and Holland has
    25
         refused to return the A Plus Lamination Security Deposit or follow proper procedures in
    26
    27
                                                         1
    28
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         violation of State Law.
     1
     2
         The Bankruptcy Court has no legal basis or jurisdiction to further adjudicate this State Court
     3
         matter under numerous legal doctrines.
     4
     5
         An abstention doctrine is any of several doctrines that a United States court may (or in some
     6
     7   cases must) apply to refuse to hear a case if hearing the case would potentially intrude upon the

     8   powers of another court. Such doctrines are usually invoked where lawsuits involving the same
     9
         issues are brought in two different court systems at the same time (such as federal and state
    10
         courts).
    11
    12   A copy of the State Court eviction case Docket is attached as Exhibit 1.

    13
         The United States has a federal court system with limitations on the cases that it can hear, while
    14
         each state has its own individual court system. In some instances, the jurisdiction of these courts
    15   overlap, so a lawsuit between two parties may be brought in either or both courts. The latter
    16   circumstance can lead to confusion, waste resources, as well as cause the appearance that one

    17   court is disrespecting the other. Both federal and state courts have developed rules determining
         when one court will defer to another's jurisdiction over a particular case.
    18
    19   Colorado River abstention
    20
         Finally, Colorado River abstention, from Colorado River Water Conservation District v. United
    21   States, 424 U.S. 800 (1976) comes into play where parallel litigation is being carried out,
    22
         particularly where federal and state court proceedings are simultaneously being carried out to
    23
         determine the rights of parties with respect to the same questions of law. Under such
    24
    25   circumstances, it makes little sense for two courts to expend the time and effort to achieve a
    26
         resolution of the question.
    27
                                                          2
    28
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     1
     2   Unlike other abstention doctrines, application of the Colorado River doctrine is prudential and
     3
         discretionary, and is based less on comity or respect between different court systems than on the
     4
         desire to avoid wasteful duplication of litigation. The classification of the doctrine as a form of
     5
     6   abstention has been disputed, with some courts simply calling it a "doctrine of exceptional

     7   circumstances". Each of the various federal circuits has come up with its own list of factors to
     8
         weigh in determining whether a federal court should abstain from hearing a case under this
     9
    10   doctrine. Typically, such factors include:

    11
    12   Note on the Rooker-Feldman doctrine

    13
         The Rooker-Feldman doctrine has some characteristics of an abstention doctrine, because it
    14
         prohibits federal court review of state court actions. However, it does not require federal courts
    15   to abstain from hearing cases pending action in the state court, but instead deems that federal
    16   courts lack jurisdiction to hear cases already fully decided in state courts. The doctrine is not a
    17   judicially created exception to federal jurisdiction. Rather, the Rooker and Feldman cases simply
         recognized the fact that Congress has not granted the federal district or appeals courts statutory
    18
         jurisdiction to consider appeals of state court decisions, only the US Supreme Court via a writ of
    19   certiorari). It is an open question whether Congress could grant such jurisdiction.
    20
    21   Here, the State Court eviction action has fully concluded and the Judge Borker has ruled and

    22   closed the matter. In this particular case Holland has no basis or right to seek additional
         remedies in Federal Court in a State Court case that has concluded.
    23
    24
    25   Any detriments experienced by Holland were the result of the mishandling of the State Court

    26   litigation that could have easily been handled in State Court under the Florida Rules of Civil
    27
                                                           3
    28
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         Procedure. Seeking relief in Federal Court for what one should have obtained in State Court is
     1
     2   subject to abstention and the Bankruptcy must legally abstain from hearing Holland’s motion for
     3
         sanctions under Colorado Rover, Rooker Feldman, the Florida Rules of Civil Procedure and
     4
         other laws.
     5
     6   We cannot assume why the State court did what it did. The Eviction attorney could have filed a

     7   Motion For Reconsideration and Rehearing. We cannot procedurally properly make a
     8
         determination on the State Court action in this Federal Court in this way by Holland’s sanction
     9
    10   motion, it is illegal.

    11
            the order in which the courts assumed jurisdiction over property
    12      the order in which the courts assumed jurisdiction over the parties
    13      the relative inconvenience of the fora
            the relative progress of the two actions (added by Moses H. Cone Memorial Hospital v.
    14       Mercury Constr. Corp. in 1983)
            the desire to avoid piecemeal litigation
    15      whether federal law provides the rule of decision
    16      whether the state court will adequately protect the rights of all parties
            whether the federal filing was vexatious (intended to harass the other party) or reactive (in
    17       response to adverse rulings in the state court).
    18
    19   It was procedurally improper for Landlord to abandon the State Court eviction action and seek

    20   relief in the Federal Bankruptcy Court. The abstention doctrine is to stop inconsistent verdicts
    21   like what could happen if the Court were to grant Holland relief in a Bankruptcy case that has
    22
         been dismissed.
    23
    24   The Bankruptcy Court has no jurisdiction to act as a State Appellate Court even under
    25
         BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105.
    26
    27
                                                           4
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     1
     2      B. FAILURE TO JOIN AN INDISPENSIBLE PARTY AND FRAUD ON THE
               COURT
     3
         The Motion For Sanctions also contains inaccurate information that was brought up at the
     4
     5   dismissal hearing. Attorney Thomas Neusom did not work on the eviction. The eviction attorney

     6   was Alex Borrell. Due to the sanction Motion not mentioning who the Eviction Attorney was

     7   and implying it was Thomas Neusom, a fraud was and is currently being perpetrated on the
     8
         Court and Federal Rule of Procedure 19 is being violated.
     9
    10
                       Rule 19. Required Joinder of Parties
    11
         (a) PERSONS REQUIRED TO BE JOINED IF FEASIBLE.
    12       (1) Required Party. A person who is subject to service of process and whose
           joinder will not deprive the court of subject-matter jurisdiction must be joined as
    13     a party if:

    14         (A) in that person's absence, the court cannot accord complete relief among
             existing parties; or
    15
               (B) that person claims an interest relating to the subject of the action and is
    16       so situated that disposing of the action in the person's absence may:
                 (i) as a practical matter impair or impede the person's ability to protect the
    17
               interest; or
    18          (ii) leave an existing party subject to a substantial risk of incurring double,
               multiple, or otherwise inconsistent obligations because of the interest.
    19
             (2) Joinder by Court Order. If a person has not been joined as required, the
    20     court must order that the person be made a party. A person who refuses to join
           as a plaintiff may be made either a defendant or, in a proper case, an involuntary
    21
           plaintiff.
    22       (3) Venue. If a joined party objects to venue and the joinder would make venue
           improper, the court must dismiss that party.
    23
         (b) WHEN JOINDER IS NOT FEASIBLE. If a person who is required to be joined if feasible
    24   cannot be joined, the court must determine whether, in equity and good
         conscience, the action should proceed among the existing parties or should be
    25
         dismissed. The factors for the court to consider include:
    26       (1) the extent to which a judgment rendered in the person's absence might
           prejudice that person or the existing parties;
    27
                                                        5
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             (2) the extent to which any prejudice could be lessened or avoided by:
     1
                (A) protective provisions in the judgment;
     2
                (B) shaping the relief; or
     3          (C) other measures;
     4       (3) whether a judgment rendered in the person's absence would be adequate;
           and
     5
             (4) whether the plaintiff would have an adequate remedy if the action were
     6     dismissed for nonjoinder.
     7   (c) PLEADING THE REASONS FOR NONJOINDER. When asserting a claim for relief, a party
         must state:
     8       (1) the name, if known, of any person who is required to be joined if feasible
           but is not joined; and
     9
             (2) the reasons for not joining that person.
    10
         (d) EXCEPTION FOR CLASS ACTIONS. This rule is subject to Rule 23.
    11
    12
         The Bankruptcy Court stated if Neusom did not file the Suggestion Of Bankruptcy he was off
    13
    14   the hook. Attorney Peter Russin, who filed the Motion for sanctions on behalf of Holland knows

    15   Neusom did not represent Perez in State Court, yet Russin and Landlord Holland did not
    16   withdraw the sanctions motion, join the indispensible party, if there is one, and are moving
    17
         forward with there motion it despite the fact that it implies that Neusom was the eviction
    18
         attorney, which he was not and he did not file anything in the eviction case.
    19
    20
         It is fundamental that all proper parties must be joined or included in an action seeking relief, and
    21
         the Court was likely alluding to this at the last hearing when it informed Holland his action must
    22
         be brought against the proper party and how this determination will be made.
    23
    24
         Bankruptcy Rule 9011 was also incorrectly used and invoked because Holland did not comply
    25
         with the 21 day safe harbor provision.
    26
    27
                                                          6
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         Attorney Thomas Neusom was not the eviction attorney and was not at the hearing when the stay
     1
     2   was imposed. The state court judge determined it should be imposed and no one in the State

     3   Court action apparently contested this and this is where the real problem lies.
     4
     5   If the Landlord’s Attorney did not agree with the stay, they should have filed a Motion For

     6   Rehearing in the State Court and they could have filed an Appeal to get the stay lifted if the stay

     7   was improperly granted. The Federal Court can also lift stays, but in this case the matter could
     8
         and should have been raised in State Court.
     9
    10   Due to the landlord Attorney’s failure to take proper action in the state court proceeding the stay
    11   may have been put in improperly and it stayed when it shouldn’t have but this was actually a
    12
         decision for the state court judge to make and it depended on a number of issues such as the
    13
         Lease. The Bankruptcy Court can also lift the stay but it can’t rule on a state Court Order like a
    14
    15   state trial or Appellate Court due to abstention doctrines.

    16
         If the State Court judge made a mistake this could and should have been brought to the Judges
    17
         Attention by Motion For Reconsideration or Rehearing and then appealed to the Third DCA.
    18
    19   Waiting for the Bankruptcy Court was error. And Debtor should also not be responsible for the

    20   fact that the hearing was not set for more than 27 days after it was requested.
    21
    22   There is also no damage from the Bankruptcy because after the Bankruptcy was dismissed

    23   Landlord was given possession of the property by Writ of Possession and currently has

    24   possession.
    25
    26
         At this time it is still unclear whether the Stay was improperly or properly granted, and it is still
    27
                                                           7
    28
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     1   unclear because the debtor had a personal guarantee with the Small Business Administration
     2
         which would meant that the stay was properly granted, which it likely was due to the language of
     3
         the rent registry Order
     4
     5
     6   This is a legal question requiring a State Court Judicial Determination because that Court issued

     7   the Rent Registry order and is the proper Court to make determinations about it and the Federal
     8
         Bankruptcy Court cannot properly grant sanctions due to abstention doctrines.
     9
    10   Landlord incorrectly utilizes In Re Mcbride because the Court Registry Order did not mention or
    11   prohibit seeking bankruptcy protection. Mcbride also dealt with a foreclosure case and not an
    12
         eviction case. In re McBride Estates, Ltd., 154 B.R. at 343.
    13
    14
    15   This Bankruptcy Court also essentially ruled against Landlord when their request for dismissal

    16   with prejudice was sought in their proposed dismissal order and the Court denied it against A

    17   Plus Lamination.
    18
    19   Perez and Neusom are unaware of anything in the Rent Registry Order that said that

    20   Tenant could not seek bankruptcy protection. The proper Judge to interpret a violation
    21
         Of the Order is and was Judge Alexander Boker.
    22
    23
         Landlord is not entitled to sanctions pursuant to Bankruptcy Rule 9011 and
    24
    25   U.S.C. S. 105.

    26
    27
                                                         8
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         Thomas Neusom did not file a Suggestion of Bankruptcy or anything in the eviction case.
     1
     2   The Bankruptcy case was dismissed June 29, 2018.

     3
     4
         The Bankruptcy Court should abstain from hearing Landlords Motion due to its state court
     5
         nature, Strike it or summarily deny Landlord Holland’s motion or find a lack of jurisdiction
     6
         to hear the motion. Landlord is concurrently seeking a determination in Federal
     7
     8   Bankruptcy Court that needs to be heard by the state eviction court if heard at all.

     9
    10   .Dated: August 14, 2018:
    11
    12
                                                           By:/s/Thomas Neusom
    13                                                     Attorney For Debtor
    14                                                     Bar No. 003717
                                                           (954)200-3536
    15                                                     4737 N. Ocean Drive, #129
                                                           Fort Lauderdale, FL 33308
    16                                                     Email: tgnoffice35@gmail.com
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                                      645




     1
     2                              CERTIFICATE OF SERVICE
     3   I HEREBY CERTIFY that a true and correct copy of the foregoing SUPPLEMENT TO
     4   MOTION TO STRIKE OR FOR SUMMARY DENIAL OF LANDLORD HOLLAND’S
         MOTION FOR SANCTIONS DUE TO LACK OF JURISDICTION AND OTHER
     5   GROUNDS
          was furnished by email to the following on August 14, 2018, to the parties on the efiling portal
     6   service list by email.
     7
     8
     9                                                        By:/s/Thomas Neusom
    10                                                        Attorney For Debtor
                                                              Bar No. 0037174
    11                                                        Phone; (954)200-3536
                                                              4737 N. Ocean Drive, #129
    12                                                        Fort Lauderdale, FL 33308
                                                              Email: tgnoffice35@gmail.com
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   BRIAN HOLLAND ET AL VS. APLUS LAMINATION & FINISHING,
   INC.
   Local Case Number: 2018-008187-CC-05
   Filing Date: 04/13/2018
   State Case Number: 132018CC008187000005
   Case Type: Evictions < $15,000
   Consolidated Case No.: N/A
   Judicial Section: CC04
   Case Status: CLOSED




                                               Event
   Number Date        Book/Page Docket Entry            Comments
                                               Type

                                                        BRIAN HOLLAND 5561 RENT
                                                        ACCOUNT
                                 Court Registry
   39      08/13/2018 :          Voucher        Event   Due Date:
                                 Issued                 Complete Date:




                                                        RECEIPT#:2810007 AMT
                                                        PAID:$3.00 COMMENT:
                                                        ALLOCATION CODE
                                                        QUANTITY UNIT AMOUNT
                                                        2120-COPY 1 $1.00 $1.00 2121-
                                                        CERTIFIED 1 $2.00 $2.00
   38      08/13/2018 :          Receipt:      Event    TENDER TYPE:CASH TENDER
                                                        AMT:$5.00 TENDER
                                                        TYPE:CHANGE TENDER
                                                        AMT:($2

                                                        Due Date:
                                                        Complete Date:
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                                                  Event
   Number Date       Book/Page Docket Entry                  Comments
                                                  Type




                                                             RECEIPT#:3170004 AMT
                                                             PAID:$25.00 COMMENT:
                                                             ALLOCATION CODE
                                                             QUANTITY UNIT AMOUNT
                                                             2120-COPY 11 $1.00 $11.00
                                                             2121-CERTIFIED 7 $2.00
                                                             $14.00 TENDER TYPE:CASH
   37     08/10/2018 :            Receipt:        Event      TENDER AMT:$30.00 TENDER
                                                             TYPE:CHANGE TENDER
                                                             AMT:(

                                                             Due Date:
                                                             Complete Date:




                                                             Due Date:
                                  Writ of                    Complete Date:
          07/31/2018 :            Possession      Service
                                  Issued


                                                             HANDED TO ATTORNEY
                                                             JOSEPH R. COLLETTI BAR#
                                                             216194
                                  Writ of
   35     07/31/2018 :            Possession      Event      Due Date:
                                  Issued                     Complete Date:

                                                             Parties: Holland Brian; Aplus
                                                             Lamination & Finishing Inc.

                                                             Due Date:
                                                             Complete Date:
                                  Default Final
   34     07/30/2018 31083:3122                   Event
                                  Judgment
                                                             Parties: Aplus Lamination &
                                                             Finishing Inc.

   33     07/30/2018 :                            Judgment
                                  Default Final              Due Date:
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                                              Event
   Number Date       Book/Page Docket Entry             Comments
                                              Type

                               Judgment                 Complete Date:




                               Order to                 Due Date:
                               Disburse                 Complete Date:
   32     07/30/2018 :                        Event
                               Court Registry
                               Monies

                                                        LIFTYING BANKRUPTSY STAY

                                                        Due Date:
   31     07/30/2018 :         Order:         Event
                                                        Complete Date:




                                                        Due Date:
                               Memorandum               Complete Date:
   30     07/30/2018 :                        Event
                               of Disposition



                                                        RECEIPT#:3090001 AMT
                                                        PAID:$3.00 COMMENT:
                                                        ALLOCATION CODE
                                                        QUANTITY UNIT AMOUNT
                                                        2120-COPY 1 $1.00 $1.00 2121-
                                                        CERTIFIED 1 $2.00 $2.00
                                                        TENDER TYPE:CASH TENDER
   29     07/30/2018 :         Receipt:       Event     AMT:$5.00 TENDER
                                                        TYPE:CHANGE TENDER
                                                        AMT:($2

                                                        Due Date:
                                                        Complete Date:




                                                        JUDGE SET
          07/30/2018 :         Status Hearing Hearing

                                                        Due Date:
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                                              Event
   Number Date       Book/Page Docket Entry           Comments
                                              Type

                                                      Complete Date:




                                                      RECEIPT#:2830003 AMT
                                                      PAID:$10.00 COMMENT:
                                                      ALLOCATION CODE
                                                      QUANTITY UNIT AMOUNT
                                                      2120-COPY 6 $1.00 $6.00 2121-
                                                      CERTIFIED 2 $2.00 $4.00
                                                      TENDER TYPE:CASH TENDER
   27     07/26/2018 :         Receipt:       Event   AMT:$10.00 RECEIPT
                                                      DATE:07/26/2018
                                                      REGISTER#:283

                                                      Due Date:
                                                      Complete Date:




                                                      OF STATUS CONFERENCE

                                                      Due Date:
   28     07/25/2018 :         Notice:        Event
                                                      Complete Date:




                                                      Due Date:
                               Motion to Disb         Complete Date:
   26     07/02/2018 :         Crt Reg        Event
                               Monies


                                                      Due Date:
                               Motion for             Complete Date:
   25     07/02/2018 :         Default        Event
                               Judgment


                                                      RECEIPT#:2710003 AMT
   24     06/12/2018 :         Receipt:       Event   PAID:$34.00 COMMENT:
                                                      ALLOCATION CODE
                                                      QUANTITY UNIT AMOUNT
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                                              Event
   Number Date       Book/Page Docket Entry             Comments
                                              Type

                                                        2120-COPY 18 $1.00 $18.00
                                                        2121-CERTIFIED 8 $2.00
                                                        $16.00 TENDER TYPE:CASH
                                                        TENDER AMT:$40.00 TENDER
                                                        TYPE:CHANGE TENDER
                                                        AMT:(

                                                        Due Date:
                                                        Complete Date:




                               Order Case               Due Date:
                               Pending                  Complete Date:
   23     05/17/2018 :                        Event
                               Bankruptcy
                               Stay

                                                        CASE CANCELLED

                               Mediators                Due Date:
   22     05/17/2018 :                        Event
                               Report                   Complete Date:




                                                        Due Date:
                               Memorandum               Complete Date:
   21     05/17/2018 :                        Event
                               of Disposition



                                                        Due Date:
                               Notice of                Complete Date:
   20     05/15/2018 :                        Event
                               Filing:



                                                        Due Date:
                                                        Complete Date:
          05/15/2018 :         Mediation      Hearing
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                                              Event
   Number Date       Book/Page Docket Entry             Comments
                                              Type

                                                        DIRECTING DEPOSIT OF
                                                        RENT INTO REGISTRY OF
                                                        COURT

   19     05/10/2018 :         Order:         Event
                                                        Due Date:
                                                        Complete Date:




                                                        Due Date:
                               Order of                 Complete Date:
   18     05/09/2018 :         Referral to    Event
                               Mediation Unit


                                                        RECEIPT#:2430012 AMT
                                                        PAID:$9,142.50 NAME:NUBIA
                                                        PEREZ/APLUS LAMATION
                                                        COMMENT:RENT DEPOSIT
                                                        ALLOCATION CODE
                                                        QUANTITY UNIT AMOUNT
                                                        2106-COURT REGISTRY DEP 1
                                                        $9,000.00 $9,000.00 2108-
   16     05/07/2018 :         Receipt:       Event     COURT REGISTRY FEE 1
                                                        $142.50 $142.50 TENDER
                                                        TYPE:CHECK

                                                        Due Date:
                                                        Complete Date:




                                                        Due Date:
                               Memorandum               Complete Date:
   15     05/04/2018 :                        Event
                               of Disposition



                                                        Due Date:
                                                        Complete Date:
          05/03/2018 :         Status Hearing Hearing
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                                              Event
   Number Date       Book/Page Docket Entry            Comments
                                              Type

                                                       05/03/2018

                               Notice of               Due Date:
   17     04/27/2018 :                        Event
                               Hearing-                Complete Date:




                                                       Due Date:
                               Affidavit as to         Complete Date:
   14     04/25/2018 :                         Event
                               Costs



                                                       Due Date:
                               Affidavit of            Complete Date:
   13     04/25/2018 :                      Event
                               Non-Payment



                                                       Due Date:
                               Non-Military            Complete Date:
   12     04/25/2018 :                        Event
                               Affidavit



                                                       Due Date:
                               Service                 Complete Date:
   11     04/25/2018 :                        Event
                               Returned



                                                       Due Date:
                                                       Complete Date:
   10     04/25/2018 :         Motion:        Event



                                                       Due Date:
                               Answer and              Complete Date:
   9      04/25/2018 :         Affirmative    Event
                               Defense


                               Notice of               Due Date:
   8      04/25/2018 :                        Event
                               Appearance              Complete Date:
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                                              Event
   Number Date       Book/Page Docket Entry           Comments
                                              Type




                                                      RECEIPT#:2350016 AMT
                                                      PAID:$5,082.50 NAME:APLUS
                                                      LAMINATION
                                                      COMMENT:RENT DEPOSIT
                                                      ALLOCATION CODE
                                                      QUANTITY UNIT AMOUNT
                                                      2106-COURT REGISTRY DEP 1
                                                      $5,000.00 $5,000.00 2108-
   7      04/24/2018 :         Receipt:       Event   COURT REGISTRY FEE 1
                                                      $82.50 $82.50 TENDER
                                                      TYPE:CHECK T

                                                      Due Date:
                                                      Complete Date:




                                                      RECEIPT#:2200061 AMT
                                                      PAID:$10.00 COMMENT:
                                                      ALLOCATION CODE
                                                      QUANTITY UNIT AMOUNT
                                                      2139-SUMMONS ISSUE FEE 1
                                                      $10.00 $10.00 TENDER
                                                      TYPE:CHECK TENDER
                                                      AMT:$10.00 RECEIPT
   6      04/18/2018 :         Receipt:       Event   DATE:04/18/2018
                                                      REGISTER#:220
                                                      CASHIER:NMERKER

                                                      Due Date:
                                                      Complete Date:




                                                      Due Date:
                               Summons and            Complete Date:
   5      04/18/2018 :         Complaint   Event
                               Mailed                 Parties: Aplus Lamination &
                                                      Finishing Inc.
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                                              Event
   Number Date       Book/Page Docket Entry             Comments
                                              Type

                                                        Due Date:
                               5 Day                    Complete Date:
          04/18/2018 :         Summons        Service
                               Issued


                                                        Due Date:
                               5 Day                    Complete Date:
   4      04/18/2018 :         Summons        Event
                               Issued                   Parties: Aplus Lamination &
                                                        Finishing Inc.

                                                        RECEIPT#:3430137 AMT
                                                        PAID:$185.00
                                                        NAME:COLLETTI, JOSEPH R.
                                                        4770 BISCAYNE BLVD STE
                                                        1400 MIAMI FL 33137-3243
                                                        COMMENT: ALLOCATION
                                                        CODE QUANTITY UNIT
                                                        AMOUNT 2100-COUNTY
   3      04/17/2018 :         Receipt:       Event     FILING FEE 1 $185.00 $185.00
                                                        TENDER TYPE:E-FILING ACH
                                                        TENDER AMT:$1

                                                        Due Date:
                                                        Complete Date:




                                                        FOR DIRECTING DEPOSIT OF
                                                        RENT INTO REGISTRY OF
                                                        COURT.

   2      04/13/2018 :         Motion:        Event
                                                        Due Date:
                                                        Complete Date:




   1      04/13/2018 :         Complaint      Event
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     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4                                                     CASE NO: 18-15825
          DEBTOR
     5
                                                           SUPPLEMENT TO OPPOSITION TO
     6                                                     LANDLORD HOLLAND’S MOTION
          NUJBIA MAR ELLA PEREZ.
                                                           FOR SANCTIONS
     7
     8
     9
    10
    11   1.COMES NOW, Nubia Marcella Perez and Attorney Thomas Neusom, under the applicable
    12   State And Federal Rule, Supplementing their Opposition to Landlord Holland’s Motion For
    13
         Sanctions which was filed on June 26, 2018 in Case No. 18-15825. The State Court eviction
    14
         case Holland is seeking relief for Case number is 18-8187CC05.
    15
    16   Respondents oppose the Motion of Landlord for Sanctions.

    17   Debtor was involved in an eviction case with landlord.
    18   Debtor was under a court Order to deposit funds into the Court registry. Debtor is
    19   unaware of anything in the Order that said that Debtor could not seek bankruptcy
         protection and may not have even sought it against Holland.
    20
         Debtor intended to follow the Court’s order and deposit funds into the registry.
    21
    22   When attempting to get the funds to put into the registry, Debtor was told the funds had
         been garnished by D And K International. Due to the garnishment Debtro was unable to
    23   place the funds into the registry.

    24   Debtor has attempted to negotiate a resolution of the rent issue with the landlord.
    25
         Landlord is not entitled to sanctions pursuant to Bankruptcy Rule 9011 and U.S.C. S. 105.
    26
    27
                                                       1
    28
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     1
     2   Landlord is asking the Bankruptcy Court to review the Rent Registry Order and rule that
         the filing of a Bankruptcy petition by Nubia Perez entitles them to Sanctions.
     3
     4
     5   In my Motion To Abstain, Strike or Grant Summary Denial I explain that this is procedurally
         improper as an intrusion into a State Court case by a Federal Court.
     6
     7
     8   The hope is that the Court will abstain under Colorado River, Rooker Fedlman and other
         grounds. But if it doesn’t, it should still deny Landlord’s motion on legal grounds.
     9
    10
    11   The Rent Registry Order says that the tenant must deposit rent, and if it doesn’t, the tenant
         waives Defenses. Nowhere in the Rent Registry Order does it say Tenant can not file
    12   Bankruptcy. And in addition to this, Bankruptcy is not a Defense for purposes of the Rent
         Registry Order.
    13
    14
    15      A. BANKRUPTCY IS NOT PROHIBITED BY THE RENT REGISTRY ORDER AND IT IS NOT A
               DEFENSE FOR PURPOSES OF THE RENT REGISTRY ORDER.
    16
    17   One place where a list of defenses are contained is the Florida Rules of Civil Procedure.

    18
    19
         RULE 1.110. GENERAL RULES OF PLEADING
    20
         (a) Forms of Pleadings. Forms of action and technical forms for seeking relief and
    21
         of pleas, pleadings, or motions are abolished.
    22
         (b) Claims for Relief. A pleading which sets forth a claim for relief, whether an
    23
         original claim, counterclaim, crossclaim, or third-party claim, must state a cause of
    24   action and shall contain (1) a short and plain statement of the grounds upon which
    25
         the court’s jurisdiction depends, unless the court already has jurisdiction and the
         claim needs no new grounds of jurisdiction to support it, (2) a short and plain
    26   statement of the ultimate facts showing that the pleader is entitled to relief, and (3)
    27   a demand for judgment for the relief to which the pleader deems himself or herself
                                                       2
    28
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     1   entitled. Relief in the alternative or of several different types may be demanded.
         Every complaint shall be considered to pray for general relief.
     2
     3   (c) The Answer. In the answer a pleader shall state in short and plain terms the
         pleader’s defenses to each claim asserted and shall admit or deny the averments on
     4   which the adverse party relies. If the defendant is without knowledge, the
     5   defendant shall so state and such statement shall operate as a denial. Denial shall
         fairly meet the substance of the averments denied. When a pleader intends in good
     6   faith to deny only a part of an averment, the pleader shall specify so much of it as
     7   is true and shall deny the remainder. Unless the pleader intends in good faith to
         controvert all of the averments of the preceding pleading, the pleader may make
     8
         denials as specific denials of designated averments or may generally deny all of the
     9   averments except such designated averments as the pleader expressly admits, but
         when the pleader does so intend to controvert all of its averments, including
    10
         averments of the grounds upon which the court’s jurisdiction depends, the pleader
    11   may do so by general denial.
    12
         (d) Affirmative Defenses. In pleading to a preceding pleading a party shall set
    13   forth affirmatively accord and satisfaction, arbitration and award, assumption of
    14   risk, contributory negligence, discharge in bankruptcy, duress, estoppel, failure of
         consideration, fraud, illegality, injury by fellow servant, laches, license, payment,
    15   release, res judicata, statute of frauds, statute of limitations, waiver, and any other
    16   matter constituting an avoidance or affirmative defense. When a party has
         mistakenly designated a defense as a counterclaim or a counterclaim as a defense,
    17   the court, on terms if justice so requires, shall treat the pleading as if there had
    18   been a proper designation. Affirmative defenses appearing on the face of a prior
         pleading may be asserted as grounds for a motion or defense Florida Rules of Civil
    19   Procedure 25
    20
    21
    22
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     1   under rule 1.140(b); provided this shall not limit amendments under rule 1.190
         even if such ground is sustained.
     2
     3 (e) Effect of Failure to Deny. Averments in a pleading to which a responsive
       pleading is required, other than those as to the amount of damages, are admitted
     4 when not denied in the responsive pleading. Averments in a pleading to which no
     5 responsive pleading is required or permitted shall be taken as denied or avoided.
     6   (f) Separate Statements. All averments of claim or defense shall be made in
     7   consecutively numbered paragraphs, the contents of each of which shall be limited
         as far as practicable to a statement of a single set of circumstances, and a paragraph
     8
         may be referred to by number in all subsequent pleadings. Each claim founded
     9   upon a separate transaction or occurrence and each defense other than denials shall
         be stated in a separate count or defense when a separation facilitates the clear
    10
         presentation of the matter set forth.
    11
    12
         (g) Joinder of Causes of Action; Consistency. A pleader may set up in the same
         action as many claims or causes of action or defenses in the same right as the
    13   pleader has, and claims for relief may be stated in the alternative if separate items
    14   make up the cause of action, or if 2 or more causes of action are joined. A party
         may also set forth 2 or more statements of a claim or defense alternatively, either
    15   in 1 count or defense or in separate counts or defenses. When 2 or more statements
    16   are made in the alternative and 1 of them, if made independently, would be
         sufficient, the pleading is not made insufficient by the insufficiency of 1 or more of
    17   the alternative statements. A party may also state as many separate claims or
    18   defenses as that party has, regardless of consistency and whether based on legal or
         equitable grounds or both. All pleadings shall be construed so as to do substantial
    19   justice.
    20
         (h) Subsequent Pleadings. When the nature of an action permits pleadings
    21   subsequent to final judgment and the jurisdiction of the court over the parties has
    22   not terminated, the initial pleading subsequent to final judgment shall be
         designated a supplemental complaint or petition. The action shall then proceed in
    23
         the same manner and time as though the supplemental complaint or petition were
    24   the initial pleading in the action, including the issuance of any needed process.
         This subdivision shall not apply to proceedings that may be initiated by motion
    25
         under these rules.
    26
    27
                                                   4
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     1
         RULE 1.140. DEFENSES
     2
     3   (a) When Presented.
         (1) Unless a different time is prescribed in a statute of Florida, a defendant must
     4   serve an answer within 20 days after service of original process and the initial
     5   pleading on the defendant, or not later than the date fixed in a notice by
         publication. A party served with a pleading stating a crossclaim against that party
     6   must serve an answer to it within 20 days after service on that party. The plaintiff
     7   must serve an answer to a counterclaim within 20 days after service of the
         counterclaim. If a reply is required, the reply must be served within 20 days after
     8
         service of the answer.
     9   (2) (A) Except when sued pursuant to section 768.28, Florida Statutes, the state of
         Florida, an agency of the state, or an officer or employee of the state sued in an
    10
         official capacity must serve an answer to the complaint or crossclaim, or a reply to
    11   a counterclaim, within 40 days after service.
    12
         (B) When sued pursuant to section 768.28, Florida Statutes, the Department of
         Financial Services or the defendant state agency has 30 days from the date of
    13   service within which to serve an answer to the complaint or crossclaim or a reply
    14   to a counterclaim.
         (3) The service of a motion under this rule, except a motion for judgment on the
    15   pleadings or a motion to strike under subdivision (f), alters these periods of time so
    16   that if the court denies the motion or postpones its disposition until the trial on the
         merits, the responsive pleadings must be served within 10 days after the filing of
    17   the court’s order or, if the court grants a motion for a more definite statement, the
    18   responsive pleadings must be served within 10 days after service of the more
         definite statement unless a different time is fixed by the court in either case.
    19   (4) If the court permits or requires an amended or responsive pleading or a more
    20   definite statement, the pleading or statement must be served within 10 days after
         the filing of the court’s order unless a different time is fixed by the court.
    21
         Responses to the pleadings or statements must be served within 10 days of service
    22   of the pleadings or statements.
    23
       (b) How Presented. Every defense in law or fact to a claim for relief in a pleading
    24 must be asserted in the responsive pleading, if one is required, but the following
    25
       defenses may be made by motion at the option of the pleader: (1) lack of Florida
       Rules of Civil Procedure 30
    26
    27
                                                    5
    28
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     1   jurisdiction over the subject matter, (2) lack of jurisdiction over the person, (3)
         improper venue, (4) insufficiency of process, (5) insufficiency of service of
     2   process, (6) failure to state a cause of action, and (7) failure to join indispensable
     3   parties. A motion making any of these defenses must be made before pleading if a
         further pleading is permitted. The grounds on which any of the enumerated
     4   defenses are based and the substantial matters of law intended to be argued must be
     5   stated specifically and with particularity in the responsive pleading or motion. Any
         ground not stated must be deemed to be waived except any ground showing that
     6   the court lacks jurisdiction of the subject matter may be made at any time. No
     7   defense or objection is waived by being joined with other defenses or objections in
         a responsive pleading or motion. If a pleading sets forth a claim for relief to which
     8
         the adverse party is not required to serve a responsive pleading, the adverse party
     9   may assert any defense in law or fact to that claim for relief at the trial, except that
         the objection of failure to state a legal defense in an answer or reply must be
    10
         asserted by motion to strike the defense within 20 days after service of the answer
    11   or reply.
    12
       (c) Motion for Judgment on the Pleadings. After the pleadings are closed, but
    13 within such time as not to delay the trial, any party may move for judgment on the
    14 pleadings.
    15 (d) Preliminary Hearings. The defenses 1 to 7 in subdivision (b) of this rule,
    16 whether made in a pleading or by motion, and the motion for judgment in
       subdivision (c) of this rule must be heard and determined before trial on
    17 application of any party unless the court orders that the hearing and determination
    18 must be deferred until the trial.
    19   (e) Motion for More Definite Statement. If a pleading to which a responsive
    20   pleading is permitted is so vague or ambiguous that a party cannot reasonably be
         required to frame a responsive pleading, that party may move for a more definite
    21
         statement before interposing a responsive pleading. The motion must point out the
    22   defects complained of and the details desired. If the motion is granted and the order
         of the court is not obeyed within 10 days after the filing of the order or such other
    23
         time as the court may fix, the court may strike the pleading to which the motion
    24   was directed or make such order as it deems just.
    25
       (f) Motion to Strike. A party may move to strike or the court may strike
    26 redundant, immaterial, impertinent, or scandalous matter from any pleading at any
    27 time. Florida Rules of Civil Procedure
                                                    6
    28
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     1 (g) Consolidation of Defenses. A party who makes a motion under this rule may
       join with it the other motions herein provided for and then available to that party. If
     2 a party makes a motion under this rule but omits from it any defenses or objections
     3 then available to that party that this rule permits to be raised by motion, that party
       shall not thereafter make a motion based on any of the defenses or objections
     4 omitted, except as provided in subdivision (h)(2) of this rule.
     5
         (h) Waiver of Defenses.
     6   (1) A party waives all defenses and objections that the party does not present either
     7   by motion under subdivisions (b), (e), or (f) of this rule or, if the party has made no
         motion, in a responsive pleading except as provided in subdivision (h)(2).
     8
         (2) The defenses of failure to state a cause of action or a legal defense or to join an
     9   indispensable party may be raised by motion for judgment on the pleadings or at
         the trial on the merits in addition to being raised either in a motion under
    10
         subdivision (b) or in the answer or reply. The defense of lack of jurisdiction of the
    11   subject matter may be raised at any time.
    12
         Nowhere in the Florida Rules of Civil Procedure is Bankruptcy listed as a Defense.
    13
         And nowhere in the Rent Registry Order is Bankruptcy listed as a Defense. That is because
    14   Bankruptcy is not a Defense.
    15
    16
         Bankruptcy is a Constitutionally based Federal Law and remedy. Wikipedia says
    17
    18   Bankruptcy is a legal status of a person or other entity that cannot repay debts to creditors. In
         most jurisdictions, bankruptcy is imposed by a court order, often initiated by the debtor.
    19
    20
         11 USC S. 301 says that Bankruptcy is a case and not a Defense.
    21
    22 §301. Voluntary cases
           (a) A voluntary case under a chapter of this title is commenced by the filing with the bankruptcy court of a
    23   petition under such chapter by an entity that may be a debtor under such chapter.
           (b) The commencement of a voluntary case under a chapter of this title constitutes an order for relief under such
    24   chapter.
         (Pub. L. 95–598, Nov. 6, 1978, 92 Stat. 2558; Pub. L. 109–8, title V, §501(b), Apr. 20, 2005, 119 Stat.
    25   118.)

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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 320 of
                                      645




     1
     2   The Bankruptcy rules of Procedure does not say that Bankruptcy is a Defense. It is a remedy.

     3
     4   Rule 1001. Scope of Rules and Forms; Short Title
            The Bankruptcy Rules and Forms govern procedure in cases under title 11 of the United States Code. The rules
     5
         shall be cited as the Federal Rules of Bankruptcy Procedure and the forms as the Official Bankruptcy Forms. These
         rules shall be construed, administered, and employed by the court and the parties to secure the just, speedy, and
     6   inexpensive determination of every case and proceeding.
     7   (As amended Mar. 30, 1987, eff. Aug. 1, 1987; Apr. 30, 1991, eff. Aug. 1, 1991; Apr. 27, 2017, eff. Dec. 1, 2017.)
                                         NOTES OF ADVISORY COMMITTEE ON RULES-1983
     8      Section 247 of Public Law 95–598, 92 Stat. 2549 amended 28 U.S.C. §2075 by omitting the last sentence. The
         effect of the amendment is to require that procedural rules promulgated pursuant to 28 U.S.C. §2075 be consistent
     9   with the bankruptcy statute, both titles 11 and 28 U.S.C. Thus, although Rule 1001 sets forth the scope of the
         bankruptcy rules and forms, any procedural matters contained in title 11 or 28 U.S.C. with respect to cases filed
    10   under 11 U.S.C. would control. See 1 Collier, Bankruptcy 3.04 [2][c] (15th ed. 1980).
            28 U.S.C. §151 establishes a United States Bankruptcy Court in each district as an adjunct to the district court.
    11   This provision does not, however, become effective until April 1, 1984. Public Law 95–598, §402(b). From October
         1, 1979 through March 31, 1984, the courts of bankruptcy as defined in §1(10) of the Bankruptcy Act, and created in
    12   §2a of that Act continue to be the courts of bankruptcy. Public Law 95–598, §404(a). From their effective date these
         rules and forms are to be applicable in cases filed under chapters 7, 9, 11 and 13 of title 11 regardless of whether the
    13   court is established by the Bankruptcy Act or by 28 U.S.C. §151. Rule 9001 contains a broad and general definition
         of "bankruptcy court," "court" and "United States Bankruptcy Court" for this purpose.
    14
            "Bankruptcy Code" or "Code" as used in these rules means title 11 of the United States Code, the codification of
    15   the bankruptcy law. Public Law 95–598, §101. See Rule 9001.
           "Bankruptcy Act" as used in the notes to these rules means the Bankruptcy Act of 1898 as amended which was
    16   repealed by §401(a) of Public Law 95–598.
    17     These rules apply to all cases filed under the Code except as otherwise specifically stated.
            The final sentence of the rule is derived from former Bankruptcy Rule 903. The objective of "expeditious and
    18   economical administration" of cases under the Code has frequently been recognized by the courts to be "a chief
         purpose of the bankruptcy laws." See Katchen v. Landy, 382 U.S. 323, 328 (1966): Bailey v. Glover, 88 U.S. (21
    19   Wall.) 342, 346–47 (1874): Ex parte Christy, 44 U.S. (3 How.) 292, 312–14, 320–22 (1845). The rule also
         incorporates the wholesome mandate of the last sentence of Rule 1 of the Federal Rules of Civil Procedure. 2
    20   Moore, Federal Practice 1.13 (2d ed. 1980); 4 Wright & Miller, Federal Practice and Procedure-Civil §1029
         (1969).
    21
    22   A review of Florida Law and Court Rules and the Bankruptcy Code and Rules makes it clear that
         Bankruptcy is not a Defense for purposes of the Rent Registry Order.
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                                      645




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     2
     3      B. THE BANKRUPTCY COURT IS PRECLUDED OF SANCTIONING PEREZ AND NUBIA
               UNDER THE DOCTRINE OF ABSTENTION, RES JUDICATA AND COLLATERAL ESTOPPEL
     4
     5   Abstention is sought by Neusom. If the Court does not abstain from hearing the motion, the
         Doctrines of Res Judicata and Collateral estoppels preclude it from granting sanctions.
     6
         The doctrines of res judicata and collateral estoppel often come into play when a subsequent
     7   case, similar to a case already adjudicated, is filed. The rationale behind the doctrines is that an
     8   issue or cause of action fully litigated should not be litigated again. Res judicata is often referred
         to as "claim preclusion". Collateral estoppel is often referred to as "issue preclusion".
     9   Res judicata is raised when a party thinks that a particular claim was already, or could have been,
    10   litigated and therefore, should not be litigated again. When addressing a res judicata argument, a
         court will usually look at three factors. First, the court will consider whether there was previous
    11   litigation in which identical claims were raised, or in which identical claims could have been
         raised. The second factor to be considered is that the parties must be the same parties as those
    12   who litigated the original action. The third factor is that the original action must have received
         final judgment on the merits.
    13
    14   Here, Landlord is seeking sanctions in regards to a State Court action which has been fully
         litigated and is closed. The doctrines of Res Judicata and Collateral Estoppel prevent the
    15   Bankruptcy Court from allowing further litigation of the eviction case because the Florida State
         eviction Court has ruled and closed the case.
    16
    17   Federal courts must give judgments litigated either in the same court or in other federal courts
         full preclusive effect.4 Pursuant to 28 U.S.C. § 1738, federal courts must afford state court
    18   judgments “the same preclusive effect as would be given that judgment under the law of the
         State in which the judgment was rendered.” Migra v. Warren City Sch. Dist. Bd. of Educ., 465
    19   U.S. 75, 81 (1984); see also Kremer v. Chem. Constr. Corp., 456 U.S. 461, 466 (1982) (“Section
    20   1738 requires federal courts to give the same preclusive effect to state court judgments that those
         judgments would be given in the courts of the State from which the judgments emerged.”).
    21
         The Bankruptcy Court should grant the Motion to abstain, but if it does not, it can not grant
    22   sanctions for what happened in State Court under the doctrines of Res Judicata, Collateral
    23   estoppels and the accompanying rules.

    24   The State Court eviction docket is being concurrently filed as Exhibit 1.
    25
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                                      645




     1
     2   .Dated: August 15, 2018:

     3
     4                                            By:/s/Thomas Neusom
     5                                            Attorney For Debtor
                                                  Bar No. 003717
     6                                            (954)200-3536
                                                  4737 N. Ocean Drive, #129
     7                                            Fort Lauderdale, FL 33308
     8                                            Email: tgnoffice35@gmail.com

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                                      645




     1
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     3
     4                              CERTIFICATE OF SERVICE
     5   I HEREBY CERTIFY that a true and correct copy of the foregoing SUPPLEMENT TO
     6   OPPOSITION TO LANDLORD HOLLAND’S MOTION FOR SANCTIONS
          was furnished by email to the following on August 15, 2018, to the parties on the efiling portal
     7   service list by email.

     8
     9
    10                                                        By:/s/Thomas Neusom
                                                              Attorney For Debtor
    11                                                        Bar No. 0037174
    12                                                        Phone; (954)200-3536
                                                              4737 N. Ocean Drive, #129
    13                                                        Fort Lauderdale, FL 33308
                                                              Email: tgnoffice35@gmail.com
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                                      645




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   BRIAN HOLLAND ET AL VS. APLUS LAMINATION & FINISHING,
   INC.
   Local Case Number: 2018-008187-CC-05
   Filing Date: 04/13/2018
   State Case Number: 132018CC008187000005
   Case Type: Evictions < $15,000
   Consolidated Case No.: N/A
   Judicial Section: CC04
   Case Status: CLOSED




                                               Event
   Number Date        Book/Page Docket Entry            Comments
                                               Type

                                                        BRIAN HOLLAND 5561 RENT
                                                        ACCOUNT
                                 Court Registry
   39      08/13/2018 :          Voucher        Event   Due Date:
                                 Issued                 Complete Date:




                                                        RECEIPT#:2810007 AMT
                                                        PAID:$3.00 COMMENT:
                                                        ALLOCATION CODE
                                                        QUANTITY UNIT AMOUNT
                                                        2120-COPY 1 $1.00 $1.00 2121-
                                                        CERTIFIED 1 $2.00 $2.00
   38      08/13/2018 :          Receipt:      Event    TENDER TYPE:CASH TENDER
                                                        AMT:$5.00 TENDER
                                                        TYPE:CHANGE TENDER
                                                        AMT:($2

                                                        Due Date:
                                                        Complete Date:
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                                      645



                                                  Event
   Number Date       Book/Page Docket Entry                  Comments
                                                  Type




                                                             RECEIPT#:3170004 AMT
                                                             PAID:$25.00 COMMENT:
                                                             ALLOCATION CODE
                                                             QUANTITY UNIT AMOUNT
                                                             2120-COPY 11 $1.00 $11.00
                                                             2121-CERTIFIED 7 $2.00
                                                             $14.00 TENDER TYPE:CASH
   37     08/10/2018 :            Receipt:        Event      TENDER AMT:$30.00 TENDER
                                                             TYPE:CHANGE TENDER
                                                             AMT:(

                                                             Due Date:
                                                             Complete Date:




                                                             Due Date:
                                  Writ of                    Complete Date:
          07/31/2018 :            Possession      Service
                                  Issued


                                                             HANDED TO ATTORNEY
                                                             JOSEPH R. COLLETTI BAR#
                                                             216194
                                  Writ of
   35     07/31/2018 :            Possession      Event      Due Date:
                                  Issued                     Complete Date:

                                                             Parties: Holland Brian; Aplus
                                                             Lamination & Finishing Inc.

                                                             Due Date:
                                                             Complete Date:
                                  Default Final
   34     07/30/2018 31083:3122                   Event
                                  Judgment
                                                             Parties: Aplus Lamination &
                                                             Finishing Inc.

   33     07/30/2018 :                            Judgment
                                  Default Final              Due Date:
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                                      645



                                              Event
   Number Date       Book/Page Docket Entry             Comments
                                              Type

                               Judgment                 Complete Date:




                               Order to                 Due Date:
                               Disburse                 Complete Date:
   32     07/30/2018 :                        Event
                               Court Registry
                               Monies

                                                        LIFTYING BANKRUPTSY STAY

                                                        Due Date:
   31     07/30/2018 :         Order:         Event
                                                        Complete Date:




                                                        Due Date:
                               Memorandum               Complete Date:
   30     07/30/2018 :                        Event
                               of Disposition



                                                        RECEIPT#:3090001 AMT
                                                        PAID:$3.00 COMMENT:
                                                        ALLOCATION CODE
                                                        QUANTITY UNIT AMOUNT
                                                        2120-COPY 1 $1.00 $1.00 2121-
                                                        CERTIFIED 1 $2.00 $2.00
                                                        TENDER TYPE:CASH TENDER
   29     07/30/2018 :         Receipt:       Event     AMT:$5.00 TENDER
                                                        TYPE:CHANGE TENDER
                                                        AMT:($2

                                                        Due Date:
                                                        Complete Date:




                                                        JUDGE SET
          07/30/2018 :         Status Hearing Hearing

                                                        Due Date:
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                                              Event
   Number Date       Book/Page Docket Entry           Comments
                                              Type

                                                      Complete Date:




                                                      RECEIPT#:2830003 AMT
                                                      PAID:$10.00 COMMENT:
                                                      ALLOCATION CODE
                                                      QUANTITY UNIT AMOUNT
                                                      2120-COPY 6 $1.00 $6.00 2121-
                                                      CERTIFIED 2 $2.00 $4.00
                                                      TENDER TYPE:CASH TENDER
   27     07/26/2018 :         Receipt:       Event   AMT:$10.00 RECEIPT
                                                      DATE:07/26/2018
                                                      REGISTER#:283

                                                      Due Date:
                                                      Complete Date:




                                                      OF STATUS CONFERENCE

                                                      Due Date:
   28     07/25/2018 :         Notice:        Event
                                                      Complete Date:




                                                      Due Date:
                               Motion to Disb         Complete Date:
   26     07/02/2018 :         Crt Reg        Event
                               Monies


                                                      Due Date:
                               Motion for             Complete Date:
   25     07/02/2018 :         Default        Event
                               Judgment


                                                      RECEIPT#:2710003 AMT
   24     06/12/2018 :         Receipt:       Event   PAID:$34.00 COMMENT:
                                                      ALLOCATION CODE
                                                      QUANTITY UNIT AMOUNT
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                                      645



                                              Event
   Number Date       Book/Page Docket Entry             Comments
                                              Type

                                                        2120-COPY 18 $1.00 $18.00
                                                        2121-CERTIFIED 8 $2.00
                                                        $16.00 TENDER TYPE:CASH
                                                        TENDER AMT:$40.00 TENDER
                                                        TYPE:CHANGE TENDER
                                                        AMT:(

                                                        Due Date:
                                                        Complete Date:




                               Order Case               Due Date:
                               Pending                  Complete Date:
   23     05/17/2018 :                        Event
                               Bankruptcy
                               Stay

                                                        CASE CANCELLED

                               Mediators                Due Date:
   22     05/17/2018 :                        Event
                               Report                   Complete Date:




                                                        Due Date:
                               Memorandum               Complete Date:
   21     05/17/2018 :                        Event
                               of Disposition



                                                        Due Date:
                               Notice of                Complete Date:
   20     05/15/2018 :                        Event
                               Filing:



                                                        Due Date:
                                                        Complete Date:
          05/15/2018 :         Mediation      Hearing
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                                              Event
   Number Date       Book/Page Docket Entry             Comments
                                              Type

                                                        DIRECTING DEPOSIT OF
                                                        RENT INTO REGISTRY OF
                                                        COURT

   19     05/10/2018 :         Order:         Event
                                                        Due Date:
                                                        Complete Date:




                                                        Due Date:
                               Order of                 Complete Date:
   18     05/09/2018 :         Referral to    Event
                               Mediation Unit


                                                        RECEIPT#:2430012 AMT
                                                        PAID:$9,142.50 NAME:NUBIA
                                                        PEREZ/APLUS LAMATION
                                                        COMMENT:RENT DEPOSIT
                                                        ALLOCATION CODE
                                                        QUANTITY UNIT AMOUNT
                                                        2106-COURT REGISTRY DEP 1
                                                        $9,000.00 $9,000.00 2108-
   16     05/07/2018 :         Receipt:       Event     COURT REGISTRY FEE 1
                                                        $142.50 $142.50 TENDER
                                                        TYPE:CHECK

                                                        Due Date:
                                                        Complete Date:




                                                        Due Date:
                               Memorandum               Complete Date:
   15     05/04/2018 :                        Event
                               of Disposition



                                                        Due Date:
                                                        Complete Date:
          05/03/2018 :         Status Hearing Hearing
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                                              Event
   Number Date       Book/Page Docket Entry            Comments
                                              Type

                                                       05/03/2018

                               Notice of               Due Date:
   17     04/27/2018 :                        Event
                               Hearing-                Complete Date:




                                                       Due Date:
                               Affidavit as to         Complete Date:
   14     04/25/2018 :                         Event
                               Costs



                                                       Due Date:
                               Affidavit of            Complete Date:
   13     04/25/2018 :                      Event
                               Non-Payment



                                                       Due Date:
                               Non-Military            Complete Date:
   12     04/25/2018 :                        Event
                               Affidavit



                                                       Due Date:
                               Service                 Complete Date:
   11     04/25/2018 :                        Event
                               Returned



                                                       Due Date:
                                                       Complete Date:
   10     04/25/2018 :         Motion:        Event



                                                       Due Date:
                               Answer and              Complete Date:
   9      04/25/2018 :         Affirmative    Event
                               Defense


                               Notice of               Due Date:
   8      04/25/2018 :                        Event
                               Appearance              Complete Date:
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                                              Event
   Number Date       Book/Page Docket Entry           Comments
                                              Type




                                                      RECEIPT#:2350016 AMT
                                                      PAID:$5,082.50 NAME:APLUS
                                                      LAMINATION
                                                      COMMENT:RENT DEPOSIT
                                                      ALLOCATION CODE
                                                      QUANTITY UNIT AMOUNT
                                                      2106-COURT REGISTRY DEP 1
                                                      $5,000.00 $5,000.00 2108-
   7      04/24/2018 :         Receipt:       Event   COURT REGISTRY FEE 1
                                                      $82.50 $82.50 TENDER
                                                      TYPE:CHECK T

                                                      Due Date:
                                                      Complete Date:




                                                      RECEIPT#:2200061 AMT
                                                      PAID:$10.00 COMMENT:
                                                      ALLOCATION CODE
                                                      QUANTITY UNIT AMOUNT
                                                      2139-SUMMONS ISSUE FEE 1
                                                      $10.00 $10.00 TENDER
                                                      TYPE:CHECK TENDER
                                                      AMT:$10.00 RECEIPT
   6      04/18/2018 :         Receipt:       Event   DATE:04/18/2018
                                                      REGISTER#:220
                                                      CASHIER:NMERKER

                                                      Due Date:
                                                      Complete Date:




                                                      Due Date:
                               Summons and            Complete Date:
   5      04/18/2018 :         Complaint   Event
                               Mailed                 Parties: Aplus Lamination &
                                                      Finishing Inc.
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                                              Event
   Number Date       Book/Page Docket Entry             Comments
                                              Type

                                                        Due Date:
                               5 Day                    Complete Date:
          04/18/2018 :         Summons        Service
                               Issued


                                                        Due Date:
                               5 Day                    Complete Date:
   4      04/18/2018 :         Summons        Event
                               Issued                   Parties: Aplus Lamination &
                                                        Finishing Inc.

                                                        RECEIPT#:3430137 AMT
                                                        PAID:$185.00
                                                        NAME:COLLETTI, JOSEPH R.
                                                        4770 BISCAYNE BLVD STE
                                                        1400 MIAMI FL 33137-3243
                                                        COMMENT: ALLOCATION
                                                        CODE QUANTITY UNIT
                                                        AMOUNT 2100-COUNTY
   3      04/17/2018 :         Receipt:       Event     FILING FEE 1 $185.00 $185.00
                                                        TENDER TYPE:E-FILING ACH
                                                        TENDER AMT:$1

                                                        Due Date:
                                                        Complete Date:




                                                        FOR DIRECTING DEPOSIT OF
                                                        RENT INTO REGISTRY OF
                                                        COURT.

   2      04/13/2018 :         Motion:        Event
                                                        Due Date:
                                                        Complete Date:




   1      04/13/2018 :         Complaint      Event
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                                       645
Form CGFCRD8 (12/1/15)

                                 United States Bankruptcy Court
                                        Southern District of Florida
                                          www.flsb.uscourts.gov
                                                                                Case Number: 18−15825−AJC
                                                                                Chapter: 11

In re:
Nubia Marcella Perez
dba A Plus Lamination & Finishing Inc
5559 NW 36 Ave
Miami, FL 33142

SSN: xxx−xx−9901


                                 NOTICE OF EVIDENTIARY HEARING


NOTICE IS HEREBY GIVEN THAT AN EVIDENTIARY HEARING will be held on September 28, 2018 at
02:00 PM, at the following location:

C. Clyde Atkins U.S. Courthouse, 301 North Miami Avenue, Courtroom 7, Miami, FL 33128

to consider the following:

Motion For Sanctions Pursuant to FRBP 9011 Attorney Misconduct Against Debtor and Debtor's
Counsel and 11 U.S.C. § 105 Filed by Creditors Andrea Holland, Brian Holland. ECF#25

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.


Dated: 8/16/18                                        CLERK OF COURT
                                                      By: Susan Gutierrez
                                                      Courtroom Deputy
    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 335 of
                                          645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: gutierrez                    Page 1 of 1                          Date Rcvd: Aug 16, 2018
                                      Form ID: CGFCRD8                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 18, 2018.
               +Utibe I Ikpe,   200 S Biscayne Blvd #3200,   Miami, FL 33131-5323

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 18, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 16, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 336 of
                                      645
Form CGFCRD8 (12/1/15)

                                  United States Bankruptcy Court
                                         Southern District of Florida
                                           www.flsb.uscourts.gov
                                                                                Case Number: 18−15825−AJC
                                                                                Chapter: 11

In re:
 Nubia Marcella Perez
 dba A Plus Lamination & Finishing Inc
 5559 NW 36 Ave
 Miami, FL 33142

 SSN: xxx−xx−9901


                                  NOTICE OF EVIDENTIARY HEARING


NOTICE IS HEREBY GIVEN THAT AN EVIDENTIARY HEARING will be held on September 28, 2018 at
02:00 PM, at the following location:

C. Clyde Atkins U.S. Courthouse, 301 North Miami Avenue, Courtroom 7, Miami, FL 33128

to consider the following:

Motion For Sanctions Pursuant to FRBP 9011 Attorney Misconduct Against Debtor and Debtor's
Counsel and 11 U.S.C. § 105 Filed by Creditors Andrea Holland, Brian Holland. ECF#25

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.


Dated: 8/16/18                                        CLERK OF COURT
                                                      By: Susan Gutierrez
                                                      Courtroom Deputy
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 337 of
                                      645


                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-AJC

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

                  CERTIFICATE OF SERVICE OF NOTICE OF EVIDENTIARY
                  HEARING AND COMPLIANCE WITH LOCAL RULE 9073-1(D)

            I HEREBY CERTIFY that a true and correct copy of the Notice of Evidentiary Hearing on

   Landlord’s Motion for Sanctions Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF No. 66]

   was served on August 16, 2018, via the Court’s Notice of Electronic Filing upon registered Users

   listed on the attached Exhibit 1.

            Dated: August 20, 2018.

                                                         s/ Utibe I. Ikpe
                                                         Peter D. Russin, Esquire
                                                         Florida Bar No. 765902
                                                         prussin@meladnrussin.com
                                                         Utibe I. Ikpe, Esq.
                                                         Florida Bar Number: 90301
                                                         uikpe@melandrussin.com
                                                         MELAND RUSSIN & BUDWICK, P.A.
                                                         3200 Southeast Financial Center
                                                         200 South Biscayne Boulevard
                                                         Miami, Florida 33131
                                                         Telephone: (305) 358-6363
                                                         Telecopy: (305) 358-1221

                                                         Attorneys for Brian Holland and Andrea Holland




                                                             1
                                        LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 338 of
                                      645


MIME-Version:1.0
From:FLSB_ECF_Notification@FLSB.USCOURTS.GOV
To:Courtmail@localhost.localdomain
Bcc: Johanna.Armengol@usdoj.gov, USTPRegion21.MM.ECF@usdoj.gov, htoland@mitrani.com, ltannenbaum@melandrussin.com, mrbnefs@yahoo.com, ltannen
Do not notice for BK case:

Message-Id:<45824618@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Notice of Evidentiary Hearing

Content-Type: text/html

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and parties in a case (including pro se
litigants) to receive one free electronic copy of all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all
other users. To avoid later charges, download a copy of each document during this first viewing. However, if the referenced document is a transcript, the free copy
and 30-page limit do not apply.

                                                                          U.S. Bankruptcy Court

                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Gutierrez, Susan entered on 8/16/2018 at 12:04 PM EDT and filed on 8/16/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 66

Docket Text:
Notice of Evidentiary Hearing (Re: [25] Motion For Sanctions Pursuant to FRBP 9011 Attorney Misconduct Against Debtor and Debtor's Counsel and 11 U.S.C. § 105 Filed
by Creditors Andrea Holland, Brian Holland.) Evidentiary Hearing scheduled for 09/28/2018 at 02:00 PM at C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave Courtroom
7 (AJC), Miami, FL 33128. (Gutierrez, Susan)

The following document(s) are associated with this transaction:


18-15825-AJC Notice will be electronically mailed to:

Johanna Armengol on behalf of U.S. Trustee Office of the US Trustee
Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov

Utibe I Ikpe on behalf of Creditor Andrea Holland
uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Utibe I Ikpe on behalf of Creditor Brian Holland
uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice35@gmail.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Nathalie C. Rodriguez on behalf of Creditor Nationstar Mortgage LLC
nrodriguez@rasflaw.com

Peter D. Russin, Esq on behalf of Creditor Andrea Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Peter D. Russin, Esq on behalf of Creditor Brian Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Howard S Toland on behalf of Creditor Newtek Small Business Finance Inc
htoland@mitrani.com

Howard S Toland on behalf of Creditor Valley National Bank
htoland@mitrani.com




                                                                                                                                                Exhibit 1
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                                             645




           ORDERED in the Southern District of Florida on August 20, 2018.




                                                              A. Jay Cristol, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________

                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No. 18-15825-BKC-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtor.
          ____________________________________/

          OMNIBUS ORDER (1) DENYING DEBTOR’S MOTION TO STRIKE FOR SUMMARY
          DENIAL OF LANDLORD HOLLAND’S MOTION FOR SANCTIONS DUE TO LACK
             OF JURISDICTION AND SUPPLEMENT THERETO; AND (2) RESETTING
                          LANDLORD’S MOTION FOR SANCTIONS

                   THIS MATTER came before the Court for an evidentiary hearing on August 15, 2018 at

          3:00 pm (the “Hearing”) upon (1) Debtor’s Motion to Strike for Summary Denial of Landlord

          Holland’s Motion for Sanctions Due to Lack of Jurisdiction and Other Grounds [ECF 60]; Debtor’s

          Supplement to Motion to Strike for Summary Denial of Landlord Holland’s Motion for Sanctions

          Due to Lack of Jurisdiction and Other Grounds [ECF 64]; and Landlord’s Motion for Sanctions

          Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 filed by Creditor Brian Holland and Andrea

          Holland’s a/k/a Brian Holland 5561 Rent Account (“Landlord”) [ECF 25]. The Court, having



                                                        1
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   reviewed the motions, having heard argument from counsel, and based on the reasons stated on

   the record at the Hearing, it is

           ORDERED AND ADJUDGED as follows:

           1.      Debtor’s Motion to Strike for Summary Denial of Landlord Holland’s Motion for

   Sanctions Due to Lack of Jurisdiction and Other Grounds [ECF 60] and Debtor’s Supplement to

   Motion to Strike for Summary Denial of Landlord Holland’s Motion for Sanctions Due to Lack of

   Jurisdiction and Other Grounds [ECF 64] are DENIED WITH PREJUDICE.

           2.      The Bankruptcy Court has jurisdiction to hear Landlord’s Motion for Sanctions

   Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25].

           3.      The evidentiary hearing on Landlord’s Motion for Sanctions Pursuant to

   Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25] is rescheduled to September 28, 2018 at 2:00

   p.m. at C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave, Courtroom 7, Miami, FL 33128.

           4.      To the extent not already exchanged (see paragraph 5 below), the Parties shall

   exchange witness lists and copies of all exhibits by September 4, 2018.

           5.      Debtor’s counsel, Thomas Neusom, received copies of Landlord’s Exhibits in

   Court on August 15, 2018 and acknowledged receipt.

                                                    ###

   Submitted By:
   Utibe Ikpe, Esquire
   Florida Bar No. 90301
   uikpe@melandrussin.com
   Meland Russin and Budwick
   200 South Biscayne Blvd., Ste 3200
   Miami, Florida 33131
   T: 305.358.6363
   F: 305.358.1221

   Copies furnished to:
   Utibe Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.

                                                     2
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                                      645


                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-AJC

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

                                         CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the Omnibus Order (1) Denying

   Debtor’s Motion to Strike for Summary Denial of Landlord Holland’s Motion for Sanctions Due

   to Lack of Jurisdiction and Supplement Thereto; and (2) Resetting Landlord’s Motion for

   Sanctions [ECF No. 69] was served on August 21, 2018, via the Court’s Notice of Electronic Filing

   upon registered Users listed on the attached Exhibit 1.

            Dated: August 22, 2018.

                                                         s/ Utibe I. Ikpe
                                                         Peter D. Russin, Esquire
                                                         Florida Bar No. 765902
                                                         prussin@meladnrussin.com
                                                         Utibe I. Ikpe, Esq.
                                                         Florida Bar Number: 90301
                                                         uikpe@melandrussin.com
                                                         MELAND RUSSIN & BUDWICK, P.A.
                                                         3200 Southeast Financial Center
                                                         200 South Biscayne Boulevard
                                                         Miami, Florida 33131
                                                         Telephone: (305) 358-6363
                                                         Telecopy: (305) 358-1221

                                                         Attorneys for Brian Holland and Andrea Holland




                                                             1
                                        LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 342 of
                                      645


MIME-Version:1.0
From:FLSB_ECF_Notification@FLSB.USCOURTS.GOV
To:Courtmail@localhost.localdomain
Bcc: Johanna.Armengol@usdoj.gov, USTPRegion21.MM.ECF@usdoj.gov, htoland@mitrani.com, ltannenbaum@melandrussin.com, mrbnefs@yahoo.com, ltannen
Do not notice for BK case:

Message-Id:<45854923@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Order on Motion for Abstention

Content-Type: text/html

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litigants) to receive one free electronic copy of all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all
other users. To avoid later charges, download a copy of each document during this first viewing. However, if the referenced document is a transcript, the free copy
and 30-page limit do not apply.

                                                                          U.S. Bankruptcy Court

                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Snipes, Jeanne entered on 8/21/2018 at 11:27 AM EDT and filed on 8/21/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 69

Docket Text:
Omnibus Order (1) Denying Debtor's Motion to Strike For Summary Denial of Landlord Holland's Motion For Sanctions Due to Lack of Jurisdiction (Re: # [60])and
Supplement (Re: # [64]) thereto; and (2) Resetting Landlord's Motion For Sanctions, (Re: [25] Motion For Sanctions Pursuant to FRBP 9011 Attorney Misconduct Against
Debtor and Debtor's Counsel and 11 U.S.C. § 105 Filed by Creditors Andrea Holland, Brian Holland.) Evidentiary Hearing scheduled for 09/28/2018 at 02:00 PM at C. Clyde
Atkins U.S. Courthouse, 301 N Miami Ave Courtroom 7 (AJC), Miami, FL 33128. (Snipes, Jeanne)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:nubia.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1068065210 [Date=8/21/2018] [FileNumber=45854921-
0] [4a6cebaf8ba5836213e00085b64a02256191ce3b212909ad42e83bf61b1aa1334e
d039dda73ce403f1551331fa1aad51d2f644a979910729718b718c43d0877d]]

18-15825-AJC Notice will be electronically mailed to:

Johanna Armengol on behalf of U.S. Trustee Office of the US Trustee
Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov

Utibe I Ikpe on behalf of Creditor Andrea Holland
uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Utibe I Ikpe on behalf of Creditor Brian Holland
uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice35@gmail.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Nathalie C. Rodriguez on behalf of Creditor Nationstar Mortgage LLC
nrodriguez@rasflaw.com

Peter D. Russin, Esq on behalf of Creditor Andrea Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Peter D. Russin, Esq on behalf of Creditor Brian Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Howard S Toland on behalf of Creditor Newtek Small Business Finance Inc
htoland@mitrani.com

Howard S Toland on behalf of Creditor Valley National Bank
htoland@mitrani.com




                                                                                                                                                Exhibit 1
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                                      645




     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4                                                     CASE NO: 18-15825
          DEBTOR
     5
                                                           MOTION TO CANCEL AND
     6                                                     RESCHEDULE THE 2 PM SEPTEMBER
          NUJBIA MAR ELLA PEREZ.
                                                           28, 2018 HEARING
     7
     8
     9
    10
    11   1.COMES NOW, Attorney Thomas Neusom, under the applicable rule, moving the Court to
         Cancel and reschedule the hearing set for September 28, 2018 at 2 pm in this case.
    12
    13   2.Cancellation is sought because recently obtained two Bankruptcy Court CDs of the June
         27, 2018 hearing and July 27, 2018 hearing where the Court stated a condition precedent
    14   to the denial of Holland’s motion against Neusom.
    15   3.The Condition precedent to the denial of Holland’s motion has occurred and is explained
    16   on the CDS and Attorney Thomas Neusom is working on getting the CDs transcribed which
         should result in the immediate denial of Holland’s motion.
    17
         4.Additional time is needed to get the CDs transcribed and it is unlikely they will be ready
    18   for the September 28, 2018 hearing.
    19
         5.Due to additional time being needed, cancellation and rescheduling of the September 28,
    20   2018 hearing is requested.
    21   6.At the present time Neusom is available for a hearing on any day from October 22, 2018
    22   to October 26, 2018 for a rescheduled hearing. Hollands Counsel would not agree to a
         rescheduling and would not state availability for a new hearing date.
    23
          WHEREFORE, Neusom requests that:
    24
            1. The Court cancel the hearing scheduled for September 28, 2018 at 2 pm and reschedule it
    25
               one day from October 22, 2018 to October 26, 2018.
    26
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                                      645




         .Dated: September 20, 2018:
     1
     2
     3                                            By:/s/Thomas Neusom
                                                  Attorney For Nubia Perez
     4                                            Bar No. 003717
     5                                            (954)200-3536
                                                  4737 N. Ocean Drive, #129
     6                                            Fort Lauderdale, FL 33308
                                                  Email: tgnoffice35@gmail.com
     7
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                                      645




     1
     2
     3                              CERTIFICATE OF SERVICE
     4   I HEREBY CERTIFY that a true and correct copy of the foregoing MOTION TO CANCEL
     5   AND RESCHEDULE THE 2 PM SEPTEMBER 28, 2018 HEARING
          was furnished by email to the following on September 20, 2018, to the parties on the efiling
     6   portal service list by email.

     7
     8
     9                                                      By:/s/Thomas Neusom
                                                            Attorney For Debtor
    10                                                      Bar No. 0037174
    11                                                      Phone; (954)200-3536
                                                            4737 N. Ocean Drive, #129
    12                                                      Fort Lauderdale, FL 33308
                                                            Email: tgnoffice35@gmail.com
    13
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 Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 346 of
                                       645
Form CGFCRD3 (12/1/15)

                                 United States Bankruptcy Court
                                        Southern District of Florida
                                          www.flsb.uscourts.gov
                                                                                Case Number: 18−15825−AJC
                                                                                Chapter: 11

In re:
Nubia Marcella Perez
dba A Plus Lamination & Finishing Inc
5559 NW 36 Ave
Miami, FL 33142

SSN: xxx−xx−9901




                                         NOTICE OF HEARING


NOTICE IS HEREBY GIVEN that a hearing will be held on September 24, 2018 at 11:00 AM at the
following location:

C. Clyde Atkins U.S. Courthouse
301 North Miami Avenue
Courtroom 7
Miami FL 33128

to consider the following:

Motion to Continue Hearing On: [(69 Order on Motion for Abstention)] Filed by Debtor Nubia
Marcella Perez. ECF#71


THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 9/21/18                                        CLERK OF COURT
                                                      By: Susan Gutierrez
                                                      Courtroom Deputy
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 347 of
                                      645




     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4    DEBTOR                                             CASE NO: 18-15825
     5
                                                             OBJECTION TO THE TESTIMONY OF
          NUJBIA MAR ELLA PEREZ.                             COLETTI AND MOTION TO STRIKE
     6
                                                             AND FOR SUMMARY DENIAL OF
     7                                                       LANDLORD HOLLAND’S MOTION
                                                             FOR SANCTIONS
     8
     9
    10
    11
         1.Comes now attorney Thomas Neusom objecting to Joseph Colletti testifying about
    12   Confidential Inadmissible Settlement Communications stating anything related to conversations
         between Neusom and him because the calls were made to him in the Course of Settlement
    13   negotiations and were settlement communications. No representations or warranties were made
    14   to Colletti during the Course of the calls.

    15   2.Colletti is an experienced attorney and for him to try to claim Neusom misled him is shameful,
         and has no legal basis, particularly when Colletti had the Lease and I did not have it or had a
    16   chance to review it.
    17
         3.On the hearing audio CD at 4:48 Ikpe states Colletti filed the Notice of Cancellation due to
    18   what Neusom told him during settlement negotiations which is shameful, inadmissible under
         Federal Rule of Evidence 408. Colletti is a grown man, lawyer and responsible for himself.
    19   There is no other privity or connection between Neusom and Colletti where Neusom is
         responsible for Colletti. Colletti has now apparently sought legal advice. He should have sought
    20
         it before he acted if he needed. Holland’s motion for sanctions is sham..
    21
         4.Neusom could have ran into the eviction Court and informed them about the Bankruptcy
    22   and sought a stay, but he chose not to at that time. Colletti’s actions were his own and he
         assumed the risk.
    23
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                                      645




     1
     2
               Rule 408 – Compromise Offers and
     3
     4
                          Negotiations
         (a) Prohibited Uses. Evidence of the following is not admissible — on behalf of any party —
     5
         either to prove or disprove the validity or amount of a disputed claim or to impeach by a prior
     6   inconsistent statement or a contradiction:
         (1) furnishing, promising, or offering — or accepting, promising to accept, or offering to accept
     7   — a valuable consideration in compromising or attempting to compromise the claim; and

     8   (2) conduct or a statement made during compromise negotiations about the claim — except
         when offered in a criminal case and when the negotiations related to a claim by a public office in
     9   the exercise of its regulatory, investigative, or enforcement authority.
    10
         5.Neusom moves the Court to deny him to testify pursuant to Rule 408, moves the Court to
    11   strike the testimony he did give and to Summarily deny Holland’s Motion For Sanctions.
    12    WHEREFORE, Neusom and Perez request that the Court:
    13
            1. Deny Colletti’s illegal use of Settlement Communication conversations in violation of Rule of
    14         Evidence 408,

    15      2. Strike any evidence Colletti offered in violation of Federal Rule of Evidence 408,
    16
            3. Summarily deny Holland’s Motion For Sanctions.
    17
    18
         Dated: September 27, 2018:
    19
    20
    21                                                        By:/s/Thomas Neusom
                                                              Attorney For Debtor
    22                                                        Bar No. 003717
    23                                                        (954)200-3536
                                                              4737 N. Ocean Drive, #129
    24                                                        Fort Lauderdale, FL 33308
                                                              Email: tgnoffice35@gmail.com
    25
    26
    27
                                                          2
    28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 349 of
                                      645




     1
     2                            CERTIFICATE OF SERVICE
     3   I HEREBY CERTIFY that a true and correct copy of the foregoing OBJECTION TO THE
     4   TESTIMONY OF COLETTI AND MOTION TO STRIKE
         AND FOR SUMMARY DENIAL OF LANDLORD HOLLAND’S MOTION FOR
     5   SANCTIONS was furnished by email to the following on September 27, 2018, to the parties on
         the efiling portal service list by email.
     6
     7
     8
                                                         By:/s/Thomas Neusom
     9                                                   Attorney For Debtor
    10                                                   Bar No. 0037174
                                                         Phone; (954)200-3536
    11                                                   4737 N. Ocean Drive, #129
                                                         Fort Lauderdale, FL 33308
    12                                                   Email: tgnoffice35@gmail.com
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     1
     2          IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4    DEBTOR                                              CASE NO: 18-15825
     5
                                                              MOTION IN LIMINE TO THE
          NUJBIA MAR ELLA PEREZ.                              TESTIMONY OF JOSEPH COLETTI
     6
                                                              AND FOR SUMMARY DENIAL OF
     7                                                        LANDLORD HOLLAND’S MOTION
                                                              FOR SANCTIONS
     8
     9
    10
    11   1.Comes now attorney Thomas Neusom filing this Motion In Limine pursuant to the applicable
         rule to prevent Joseph Colletti from testifying about Confidential Inadmissible Settlement
    12   Communications stating anything related to conversations between Neusom and him because the
         calls were made to him in the Course of Settlement negotiations and were settlement
    13   communications.
    14
         2.A motion in limine is a motion that asks the judge to prevent certain pieces of evidence from
    15   being brought up during the trial. The phrase “in limine” is Latin and means “at the threshold.”
         Motions in limine are used to stop certain evidence “at the threshold” so that they don’t get “in
    16   the door” and infect the case.
    17   3.In most cases, motions in limine are made when the jury isn’t present. Often, before the jury
         pool is ever brought to the courtroom, attorneys will spend part of the day before trial or the
    18
         morning of trial presenting motions in limine to the judge and accepting the judge’s rulings on
    19   them. The jury is omitted from this process to ensure that there’s no chance of the jurors being
         influenced by evidence that may be improper or irrelevant.
    20
         4.Some examples of circumstances under which judges are likely to grant motions in limine are:
    21   (1) when evidence is not relevant to any of the issues in the case; (2) when evidence is extremely
         prejudicial to one party without being useful to the jury; or (3) when admitting it would violate a
    22   state or federal law or the rules of evidence.
    23
    24   5.Here, Colletti’s testimony violates a federal rule of evidence.

    25   6.Colletti is an experienced attorney and for him to try to claim Neusom misled him is shameful,
         and has no legal basis, particularly when Colletti had the Lease and I did not have it or had a
    26   chance to review it.
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     1   7.On the hearing audio CD at 4:48 Ikpe states Colletti filed the Notice of Cancellation due to
     2   what Neusom told him during settlement negotiations which inadmissible under Federal Rule of
         Evidence 408. Colletti is a grown man, lawyer and responsible for himself.
     3
         8.There is no other privity or connection between Neusom and Colletti where Neusom is
     4   responsible for Colletti. Colletti has now apparently sought legal advice. He should have sought
     5   it before he acted if he needed. Holland’s motion for sanctions is sham..

     6   9.Neusom could have ran into the eviction Court and informed them about the Bankruptcy
         and sought a stay, but he chose not to at that time. Colletti’s actions were his own and he
     7   assumed the risk.
     8
         10.Colleti’s testimony violates Rule 408 and should be subject to this Motion in Limine and
     9   not allowed.

    10
    11
    12         Rule 408 – Compromise Offers and
    13                    Negotiations
    14   (a) Prohibited Uses. Evidence of the following is not admissible — on behalf of any party —
    15   either to prove or disprove the validity or amount of a disputed claim or to impeach by a prior
         inconsistent statement or a contradiction:
    16   (1) furnishing, promising, or offering — or accepting, promising to accept, or offering to accept
         — a valuable consideration in compromising or attempting to compromise the claim; and
    17
         (2) conduct or a statement made during compromise negotiations about the claim — except
    18   when offered in a criminal case and when the negotiations related to a claim by a public office in
         the exercise of its regulatory, investigative, or enforcement authority.
    19
    20   12.Neusom moves the Court to deny Colletti to testify pursuant to this Motion in limine
         because it violates Rule 408 due to relating to settlement negotiations
    21
          13.WHEREFORE, Neusom and Perez request that the Court:
    22
    23      1. Grant this Motion In Limine,

    24      2. Deny Colletti’s illegal use of Settlement Communication conversations in violation of
    25         Rule of Evidence 408 by granting this Motion In Limine,

    26      3. Strike any evidence Colletti offered in violation of Federal Rule of Evidence 408 and
               prevent future inadmissible evidence by this Motion In Limine.
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     3
     4   .Dated: September 27, 2018:
     5
     6
                                                  By:/s/Thomas Neusom
     7                                            Attorney For Debtor
                                                  Bar No. 003717
     8                                            (954)200-3536
                                                  4737 N. Ocean Drive, #129
     9
                                                  Fort Lauderdale, FL 33308
    10                                            Email: tgnoffice35@gmail.com

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     1                          CERTIFICATE OF SERVICE
     2   I HEREBY CERTIFY that a true and correct copy of the foregoing MOTION IN LIMINE TO
     3   THE TESTIMONY OF JOSEPH COLETTI was furnished by email to the following on
         September 27, 2018, to the parties on the efiling portal service list by email.
     4
     5
     6
                                                      By:/s/Thomas Neusom
     7                                                Attorney For Debtor
                                                      Bar No. 0037174
     8                                                Phone; (954)200-3536
     9                                                4737 N. Ocean Drive, #129
                                                      Fort Lauderdale, FL 33308
    10                                                Email: tgnoffice35@gmail.com

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     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4    DEBTOR                                            CASE NO: 18-15825
     5
                                                            MOTION FOR REHEARING OF THE
          NUJBIA MAR ELLA PEREZ.                            DENIAL OF THE MOTION TO
     6
                                                            ABSTAIN FROM HEARING, STRIKE
     7                                                      OR SUMMARILY DENY LANDLORD
                                                            HOLLAND’S MOTION FOR
     8                                                      SANCTIONS DUE TO LACK OF
     9                                                      JURISDICTION AND OTHER
                                                            GROUNDS
    10
                                                               1. ABSTENTION
    11                                                         2. MOTION TO STRIKE
                                                               3. LACK OF PRIVITY
    12
                                                               4. ASSUMPTION OF RISK
    13                                                         5. LAW OF THE CASE
                                                               6. INCOMPETENT STATE COURT
    14                                                      LITIGATION
                                                               7. 21 DAY SAFE HARBOR
    15                                                      NONCOMPLIANCE
    16                                                         8. RES JUDICATA AND
                                                            COLLATERAL ESTOPPEL FROM
    17                                                      STATE EVICTION CASE
                                                               9. EQUAL PROTECTION CLAUSE
    18
    19
    20   COMES NOW, Attorney Thomas Neuom and Nubia Perez’s, seeking a rehearing of the Denial
         of their Motion To Abstain, to Strike, or for Summary Denial of Holland’s motion For Sanctions.
    21
    22   In Court and on the Court CD Transcript the court said if Neusom did not file the Suggestion of
         Bankruptcy he was off the hook for sanctions. It is undisputed that Neusom did not file a
    23   suggestion of bankruptcy therefore the Motion For Sanctions should be denied. And any claim
         that Neusom is responsible for someone else filing a Suggestion of Bankruptcy is frivolous. A
    24   Condition Precedent for dismissal has occurred and the Motion For Sanctions should be
         summarily denied.
    25
    26   The A Plus eviction judgment is final and no sanctions were awarded for the stay. The rules on
         finality of judgments should be respected and the Bankruptcy ourt should abstain from hearing
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         Holland’s sanction motion.
     1
     2
     3
         Rule 60 States:
     4
     5
               Rule 60 – Relief from a Judgment or
     6
     7
                              Order
         (a) Corrections Based on Clerical Mistakes; Oversights and Omissions. The court may correct a
     8   clerical mistake or a mistake arising from oversight or omission whenever one is found in a judgment,
     9   order, or other part of the record. The court may do so on motion or on its own, with or without notice.
         But after an appeal has been docketed in the appellate court and while it is pending, such a mistake may
    10   be corrected only with the appellate court’s leave.
         (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On motion and just terms, the
    11   court may relieve a party or its legal representative from a final judgment, order, or proceeding for the
         following reasons:
    12   (1) mistake, inadvertence, surprise, or excusable neglect;

    13   (2) newly discovered evidence that, with reasonable diligence, could not have been discovered in time to
         move for a new trial under Rule 59(b);
    14
         (3) fraud (whether previously called intrinsic or extrinsic), misrepresentation, or misconduct by an
    15   opposing party;

    16   (4) the judgment is void;

    17   (5) the judgment has been satisfied, released, or discharged; it is based on an earlier judgment that has
         been reversed or vacated; or applying it prospectively is no longer equitable; or
    18
    19   (6) any other reason that justifies relief.

    20   (c) Timing and Effect of the Motion.
         (1) Timing. A motion under Rule 60(b) must be made within a reasonable time—and for reasons (1), (2),
    21   and (3) no more than a year after the entry of the judgment or order or the date of the proceeding.
         (2) Effect on Finality. The motion does not affect the judgment’s finality or suspend its operation.
    22   (d) Other Powers to Grant Relief. This rule does not limit a court’s power to:
    23   (1) entertain an independent action to relieve a party from a judgment, order, or proceeding;

    24   (2) grant relief under 28 U.S.C. §1655 to a defendant who was not personally notified of the action; or

    25   (3) set aside a judgment for fraud on the court.
    26
         (e) Bills and Writs Abolished. The following are abolished: bills of review, bills in the nature of bills of
    27   review, and writs of coram nobis, coram vobis, and audita querela.
                                                               2
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     1
     2      A. THE MOTION TO ABSTAIN WAS WRONGFULLY DENIED

     3   The Court denied the Motion To Abstain, but granted it by limiting their motion to the
         Bankruptcy issues and not allowing claims on the State Court eviction action.
     4
     5   I object to Colletti’s testimony because the calls were made to him in the Course of Settlement
         negotiations and were settlement communications.
     6
         Colletti is an experienced attorney and for him to try to claim I misled him is shameful, and has
     7   no legal basis, particularly when Coletti had the Lease and I did not have it or had a chance to
         review it.
     8
     9   In Court and on the Court CD Transcript the court said if Neusom did not file the Suggestion of
         Bankruptcy he was off the hook for sanctions. It is undisputed that Neusom did not file a
    10   suggestion of bankruptcy therefore the Motion For Sanctions should be denied. And any claim
         that Neusom is responsible for someone else filing a Suggestion of Bankruptcy is frivolous. A
    11
         Condition Precedent for dismissal has occurred and the Motion For Sanctions should be
    12   summarily denied.

    13   This essentially undercuts Landlord’s claim for damages because the eviction was the basis for
         the claim for damages, but this is erroneous because Holland’s Motion For Sanctions is fully and
    14   completely dependent on things that took place in the eviction and that needed and could have
    15   been handled by the state court.

    16   The Court is essentially recasting the Sanctions motion while the appropriate thing would have
         been to abstain, strike, dismiss or deny the motion and let them refile with the correct
    17   information if they could. But the facts are now out and it is clear that the Motion is sham asnd
         frivolous.
    18
    19   At the hearing on August 16, 2018 Utibe Ikpe said that Hollands eviction attorney put in for the
         stay after he heard about the Nubia Perez bankruptcy. Engaging in such an act is a waiver of any
    20   defenses or of Holland bringing a motion for sanctions. Holland assumed the risk.
    21
         I could have filed a Suggestion of Bankruptcy when the petition was filed, but it depended on a
    22   number of factors and I was unsure if it should have been filed at that time and under the
         circumstances so I did not do it.
    23
         Holland hired an Attorney, Joseph Colletti, who mistakenly put in a stay and Holland hired
    24   another attorney to seek sanctions against Neusom for a stay that his Attorney put in. This is
    25   inconsistent illogical bad faith litigation. There is no privity between Neusom and Colletti. The
         only person Holland has a right to seek sanctions from is his own Attorney Colletti, who put in
    26   the stay without any request or authorization from Nubia Perez or Thomas Neusom that Neusom
         is aware of.
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     1
     2   Neusom did file a personal bankruptcy but he knew better than to immediately file a Notice
         of Appearance in the Eviction and file for a stay. A lot more research had to be done before
     3   someone acted like Holland’s attorney Coletti did. There is no basis for sanctions against
         Perez and Neusom for what Holland’s attorney Coletti did.
     4
     5   Due to the state Court dependence of the motion for sanctions it is quite clear that the
         Bankruptcy court should have granted the motion to abstain.
     6
         There is no basis for sanctions because Nubia Perez.
     7
     8   A Plus is legally entitled to a stay and would have obtained it with a business bankruptcy. A
         Plus did not have the contracts with the creditors and did not give them to me prior to the
     9   bankruptcy filing so I had to do the best I could initially and once the contracts and other
         needed paperwork came in I could amend the schedules and other pleadings in order to get
    10   everything right.
    11
         Holland’s attorney Utibe Ikpe said that Holland’s eviction Attorney Coletti filed the
    12   suggestion of bankruptcy. This was unexpected and I did not think he would do such a
         thing, but he apparently did.
    13
    14   Its wrong for Holland to seek sanctions against Nubia Perez and Thomas Neusom for what
         his own attorney, Coletti, unexpectedly did. But it may have been legally correct so there is
    15   no basis for sanctions. It was Colletti’s choice. And we were prepared to file the business
         bankruptcy when needed so we would have gotten the stay one way or another if needed.
    16
    17   Holland received Nine Thousand Dollars ($9,000.00)from the Court registry. And
         unilaterally decided to keep the Eighteen Thousand Dollar ($18,000) A Plus Security
    18   Deposit. They have already received Twenty Seven Dollars from Aplus and they are not
         entitled to anything else and are seeking a double recovery.
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     1
     2
     3      B. A Federal court cannot act as a State Appellate Court. The Landlord Holland needs
               and needed to seek relief in the State Court and the Bankruptcy Court cannot act as
     4         a State Trial Court or State Appellate Court, which Holland is seeking
     5
     6   Holland filed an eviction against A Plus Lamination And Finishing in Miami Dade County with
     7   Case Number 18-8187CC05.        Holland is seeking sanctions against Perez and her Counsel
     8
         Thomas Neusom in Federal Bankruptcy Court for what happened in a State Court eviction
     9
         Action that has ended.
    10
    11
         The landlord Holland obtained a Lifting Of The Stay, a Writ Of Possession and have obtained
    12
         possession of the subject property. The eviction case is closed at this time and Holland has
    13
         refused to return the A Plus Lamination Security Deposit or follow proper procedures in
    14
    15   violation of State Law.

    16
         The Bankruptcy Court has no legal basis or jurisdiction to further adjudicate this State Court
    17
         matter under numerous legal doctrines.
    18
    19
         An abstention doctrine is any of several doctrines that a United States court may (or in some
    20
    21   cases must) apply to refuse to hear a case if hearing the case would potentially intrude upon the

    22   powers of another court. Such doctrines are usually invoked where lawsuits involving the same
    23
         issues are brought in two different court systems at the same time (such as federal and state
    24
    25   courts).

    26   A copy of the State Court eviction case Docket is attached as Exhibit 1.
    27
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         The United States has a federal court system with limitations on the cases that it can hear, while
     1
         each state has its own individual court system. In some instances, the jurisdiction of these courts
     2
         overlap, so a lawsuit between two parties may be brought in either or both courts. The latter
     3   circumstance can lead to confusion, waste resources, as well as cause the appearance that one
     4   court is disrespecting the other. Both federal and state courts have developed rules determining
     5   when one court will defer to another's jurisdiction over a particular case.

     6
         Colorado River abstention
     7
     8   Finally, Colorado River abstention, from Colorado River Water Conservation District v. United
         States, 424 U.S. 800 (1976) comes into play where parallel litigation is being carried out,
     9
    10   particularly where federal and state court proceedings are simultaneously being carried out to

    11   determine the rights of parties with respect to the same questions of law. Under such
    12
         circumstances, it makes little sense for two courts to expend the time and effort to achieve a
    13
         resolution of the question.
    14
    15
         Unlike other abstention doctrines, application of the Colorado River doctrine is prudential and
    16
    17   discretionary, and is based less on comity or respect between different court systems than on the

    18   desire to avoid wasteful duplication of litigation. The classification of the doctrine as a form of
    19
         abstention has been disputed, with some courts simply calling it a "doctrine of exceptional
    20
         circumstances". Each of the various federal circuits has come up with its own list of factors to
    21
    22   weigh in determining whether a federal court should abstain from hearing a case under this
    23
         doctrine. Typically, such factors include:
    24
    25
         Note on the Rooker-Feldman doctrine
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         The Rooker-Feldman doctrine has some characteristics of an abstention doctrine, because it
     1
         prohibits federal court review of state court actions. However, it does not require federal courts
     2
         to abstain from hearing cases pending action in the state court, but instead deems that federal
     3   courts lack jurisdiction to hear cases already fully decided in state courts. The doctrine is not a
     4   judicially created exception to federal jurisdiction. Rather, the Rooker and Feldman cases simply
     5   recognized the fact that Congress has not granted the federal district or appeals courts statutory

     6   jurisdiction to consider appeals of state court decisions, only the US Supreme Court via a writ of
         certiorari). It is an open question whether Congress could grant such jurisdiction.
     7
     8   Here, the State Court eviction action has fully concluded and Judge Borker has ruled and
     9   closed the matter. In this particular case Holland has no basis or right to seek additional
    10   remedies in Federal Court in a State Court case that has concluded.

    11
         The Court stated that no credible argument was made for Abstention, but the State Court could
    12   have granted sanctions if it wanted to and that was the proper lace for them to be sought.

    13
    14   Any detriments experienced by Holland were the result of the mishandling of the State Court

    15   litigation by Colletti, and that could have easily been handled in State Court under the Florida
    16
         Rules of Civil Procedure. Seeking relief in Federal Court for what one should have obtained in
    17
    18   State Court is subject to abstention and the Bankruptcy must legally abstain from hearing

    19   Holland’s motion for sanctions under Colorado River, Rooker Feldman, the Florida Rules of
    20
         Civil Procedure and other laws.
    21
    22
         A Bankruptcy Court cannot assume why the State court did what it did. The Eviction attorney
    23   could have filed a Motion For Reconsideration, Rehearing or withdrawal of the suggestion of
         bankruptcy. We cannot procedurally properly make a determination on the State Court action in
    24   this Federal Court in this way by Holland’s sanction motion, it is illegal .
    25
    26      the order in which the courts assumed jurisdiction over property
            the order in which the courts assumed jurisdiction over the parties
    27
                                                           7
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            the relative inconvenience of the fora
     1
            the relative progress of the two actions (added by Moses H. Cone Memorial Hospital v.
     2       Mercury Constr. Corp. in 1983)
            the desire to avoid piecemeal litigation
     3      whether federal law provides the rule of decision
            whether the state court will adequately protect the rights of all parties
     4
            whether the federal filing was vexatious (intended to harass the other party) or reactive (in
     5       response to adverse rulings in the state court).

     6
         It was procedurally improper for Landlord to abandon the State Court eviction action and seek
     7
     8   relief in the Federal Bankruptcy Court. The abstention doctrine is to stop inconsistent verdicts

     9   like what could happen if the Court were to grant Holland relief in a Bankruptcy case that has
    10
         been dismissed.
    11
    12   The Bankruptcy Court has no jurisdiction to act as a State Appellate Court even under
    13   BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105.
    14
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    24       C. FAILURE TO JOIN AN INDISPENSIBLE PARTY AND FRAUD ON THE
                COURT
    25
         The Motion For Sanctions also contains inaccurate information that was brought up at the
    26
         dismissal hearing. Attorney Thomas Neusom did not work on the eviction. The eviction attorney
    27
                                                           8
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     1   was Alex Borrell. Due to the sanction Motion not mentioning who the Eviction Attorney was
     2
         and implying it was Thomas Neusom, a fraud was and is currently being perpetrated on the
     3
         Court and Federal Rule of Procedure 19 is being violated. I did not know Colletti filed the
     4
     5   suggestion of bankruptcy initially.

     6
     7
     8                 Rule 19. Required Joinder of Parties
     9   (a) PERSONS REQUIRED TO BE JOINED IF FEASIBLE.
             (1) Required Party. A person who is subject to service of process and whose
    10     joinder will not deprive the court of subject-matter jurisdiction must be joined as
           a party if:
    11
               (A) in that person's absence, the court cannot accord complete relief among
    12       existing parties; or
    13         (B) that person claims an interest relating to the subject of the action and is
             so situated that disposing of the action in the person's absence may:
    14
                 (i) as a practical matter impair or impede the person's ability to protect the
    15         interest; or

    16          (ii) leave an existing party subject to a substantial risk of incurring double,
               multiple, or otherwise inconsistent obligations because of the interest.
    17       (2) Joinder by Court Order. If a person has not been joined as required, the
    18     court must order that the person be made a party. A person who refuses to join
           as a plaintiff may be made either a defendant or, in a proper case, an involuntary
    19     plaintiff.

    20       (3) Venue. If a joined party objects to venue and the joinder would make venue
           improper, the court must dismiss that party.
    21   (b) WHEN JOINDER IS NOT FEASIBLE. If a person who is required to be joined if feasible
    22   cannot be joined, the court must determine whether, in equity and good
         conscience, the action should proceed among the existing parties or should be
    23   dismissed. The factors for the court to consider include:
             (1) the extent to which a judgment rendered in the person's absence might
    24     prejudice that person or the existing parties;

    25       (2) the extent to which any prejudice could be lessened or avoided by:

    26         (A) protective provisions in the judgment;
               (B) shaping the relief; or
    27
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                (C) other measures;
     1
             (3) whether a judgment rendered in the person's absence would be adequate;
     2     and
     3       (4) whether the plaintiff would have an adequate remedy if the action were
           dismissed for nonjoinder.
     4
         (c) PLEADING THE REASONS FOR NONJOINDER. When asserting a claim for relief, a party
     5   must state:
             (1) the name, if known, of any person who is required to be joined if feasible
     6     but is not joined; and
     7       (2) the reasons for not joining that person.

     8   (d) EXCEPTION FOR CLASS ACTIONS. This rule is subject to Rule 23.

     9
         Holland needs to join Colletti in any motion for sanctions because he is the one who did the act
    10
         that Holland is complaining of.
    11
    12
         The Bankruptcy Court stated if Neusom did not file the Suggestion Of Bankruptcy he was off
    13
         the hook. Attorney Peter Russin, who filed the Motion for sanctions on behalf of Holland knows
    14
    15   Neusom did not represent Perez in State Court, yet Russin and Landlord Holland did not

    16   withdraw the sanctions motion, join the indispensible party, if there is one, and are moving
    17   forward with there motion it despite the fact that it implies that Neusom was the eviction
    18
         attorney, which he was not and he did not file anything in the eviction case.
    19
    20
    21
    22
         It is fundamental that all proper parties must be joined or included in an action seeking relief, and
    23
         the Court was likely alluding to this at the last hearing when it informed Holland his action must
    24
    25   be brought against the proper party and how this determination will be made.

    26
            D. THE 21 DAY SAFE HARBOR PROVISION WAS NOT COMPLIED WITH AND
    27
                                                          10
    28
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                                      645




                 THE EXCEPTION DOES NOT APPLY
     1
     2   Bankruptcy Rule 9011 was also incorrectly used and invoked because Holland did not comply

     3   with the 21 day safe harbor provision. The sanction motion says it is for filing the bankruptcy
     4   and taking it to state Court. Therefore it is really about invoking it against the Registry order
     5
         and not the filing of the petition so the 21 day safe Harbor provision should have been complied
     6
         with.
     7
     8
     9
         Attorney Thomas Neusom was not the eviction attorney and was not at the hearing when the stay
    10
         was imposed. The state court judge determined it should be imposed and no one in the State
    11
    12   Court action apparently contested this and this is where the real problem lies.

    13
         If the Landlord’s Attorney did not agree with the stay, they should have filed a Motion For
    14
    15   Rehearing in the State Court and they could have filed an Appeal to get the stay lifted if the stay

    16   was improperly granted. The Federal Court can also lift stays, but in this case the matter could

    17   and should have been raised in State Court.
    18
    19   Due to the landlord Attorney’s failure to take proper action in the state court proceeding the stay

    20   may have been put in improperly and it stayed when it shouldn’t have but this was actually a
    21   decision for the state court judge to make and it depended on a number of issues such as the
    22
         Lease. The Bankruptcy Court can also lift the stay but it can’t rule on a state Court Order like a
    23
         state trial or Appellate Court due to abstention doctrines.
    24
    25
         If the State Court judge made a mistake this could and should have been brought to the Judges
    26
         Attention by Motion For Reconsideration or Rehearing and then appealed to the Third DCA.
    27
                                                          11
    28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 365 of
                                      645




     1   Waiting for the Bankruptcy Court was error. And Debtor should also not be responsible for the
     2
         fact that the hearing was not set for more than 27 days after it was requested.
     3
     4   There is also no damage from the Bankruptcy because after the Bankruptcy was dismissed
     5
         Landlord was given possession of the property by Writ of Possession and currently has
     6
         possession.
     7
     8
     9   At this time it is still unclear whether the Stay was improperly or properly granted, and it is still

    10   unclear because the debtor had a personal guarantee with the Small Business Administration
    11   which would meant that the stay was properly granted, which it likely was due to the language of
    12
         the rent registry Order
    13
    14
    15   This is a legal question requiring a State Court Judicial Determination because that Court issued

    16   the Rent Registry order and is the proper Court to make determinations about it and the Federal

    17   Bankruptcy Court cannot properly grant sanctions that impinge on or second guess the state
    18
         Court determination due to the abstention doctrines.
    19
    20   Landlord incorrectly utilizes In Re Mcbride because the Court Registry Order did not mention or
    21   prohibit seeking bankruptcy protection. Mcbride also dealt with a foreclosure case and not an
    22
         eviction case. In re McBride Estates, Ltd., 154 B.R. at 343.
    23
    24
         This Bankruptcy Court also essentially ruled against Landlord when their request for dismissal
    25
    26   with prejudice was sought in their proposed dismissal order and the Court denied it against A

    27
                                                           12
    28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 366 of
                                      645




         Plus Lamination.
     1
     2
         Perez and Neusom are unaware of anything in the Rent Registry Order that said that
     3
         Tenant could not seek bankruptcy protection. The proper Judge to interpret a violation
     4
     5   Of the Order is and was Judge Alexander Boker.

     6
     7   Landlord is not entitled to sanctions pursuant to Bankruptcy Rule 9011 and
     8
         U.S.C. S. 105.
     9
    10
    11   Thomas Neusom did not file a Suggestion of Bankruptcy or anything in the eviction case.

    12   The Bankruptcy case was dismissed June 29, 2018.
    13
    14
         The Bankruptcy Court should abstain from hearing Landlords Motion due to its state court
    15
         nature, Strike it or summarily deny Landlord Holland’s motion or find a lack of jurisdiction
    16
    17   to hear the motion. Landlord is concurrently seeking a determination in Federal

    18   Bankruptcy Court that needs to be heard by the state eviction court if heard at all.

    19
    20
    21
    22
    23
    24      E. THE WAY IN WHICH THIS MOTION HAS BEEN PRESENTED AND THE HEARING
               CONDUCTED HAS CAUSED DEBTOR’S COUNSEL NEUSOM TO BE CONCERNED ABOUT
    25         EQUAL PROTEC TION CLAUSE VIOLATIONS
    26
    27
                                                       13
    28
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                                      645




         The Equal Protection Clause is part of the Fourteenth Amendment to the United States Constitution. The
     1
         clause, which took effect in 1868, provides that no state shall deny to any person within its jurisdiction "the
     2   equal protection of the laws".

     3   A primary motivation for this clause was to validate the equality provisions contained in the Civil Rights Act of
         1866, which guaranteed that all people would have rights equal to those of all citizens. As a whole, the
     4   Fourteenth Amendment marked a large shift in American constitutionalism, by applying substantially more

     5   constitutional restrictions against the states than had applied before the Civil War.

         The meaning of the Equal Protection Clause has been the subject of much debate, and inspired the well-known
     6
         phrase "Equal Justice Under Law". This clause was the basis for Brown v. Board of Education (1954), the
     7   Supreme Court decision that helped to dismantle racial segregation, and also the basis for many other
         decisions rejecting discrimination against, and bigotry towards, people belonging to various groups.
     8   While the Equal Protection Clause itself applies only to state and local governments, the Supreme Court held in
     9   Bolling v. Sharpe (1954) that the Due Process Clause of the Fifth Amendment nonetheless imposes various
         equal protection requirements on the federal government.
    10
    11   At one point the Court threatened to put Attorney Thomas Neusom in federal Detention in regards to this
         Bankruptcy Case which is likely a clear violation of the Equal Protection Clause.
    12
         Creating liability for Coletti where none exists is a violation of the Equal Protection Clause. There is no privity
    13
         between Coletti and Neusom beyond privileged inadmissible settlement communications. Claiming there is a
    14   violation of the Equal protection clause because there is no legal basis for such a ruling. The ruling has not
         actually been made but if it was it would likely be a violation of Equal protection.
    15
    16   Holland’s motion is Sham. Based on Neusom’s experience, If he were to bring a claim like Holland and Colletti
         to try to make someone else responsible for hismistake it would assuredly be denied based on all I have seen
    17
         and experienced, but Coletti has been allowed to go forward by a fanciful leap of reasoning creating liability
    18   with no legal basis which is a clear violation of Equal Protection. I would not even have the nerve to bring such
         a motion.
    19
         The criminal sentencing disparities between whites and blacks in Florida State and Federal
    20
         Court’s that has been reported may be an indicia that Neusom is being subjected to Equal
    21   Protection violations which may be characteristic and institutionalized in some way. Neusom has
         not independently verified the disparities but has seen numerous allegations and reports about
    22   them such as the one that follows.
    23
    24
    25
    26
    27
                                                                  14
    28
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                                      645




     1              Analysis shows racial disparity in Florida jail sentencing
     2   Associated Press
         Dec 12, 2016
     3
     4
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
          SARASOTA, Fla. - An analysis of Florida's criminal justice system shows that black defendants spend longer time behind
    18    bars than white defendants for the same types of crimes.

    19
          The analysis by the Sarasota Herald-Tribune on Sunday shows that judges in nearly half the counties in Florida sentence
    20    blacks convicted of felony drug possession to more than double the time of whites. That's even when their backgrounds

    21    are the same.

    22
          The newspaper also says that a lack of diversity on the bench affects sentencing since white judges in Florida sentence
    23    black defendants to 20 percent more time on average for third-degree felonies than black judges.

    24
          Judges contacted by the Herald-Tribune denied discriminating by race.
    25
    26    Some shifted the blame to police officers and prosecutors.

    27
                                                                       15
    28
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                                      645




         I have previously sued a County and a private Business for discrimination and won.
     1
     2   Government disparate and unequal treatment between citizens or attorneys violates Equal

     3   Protection
     4
     5
         WHEREFORE, Neusom and Perez pray that the Court:
     6
            1. Grant the Motion For Abstention, or
     7      2. Strike Hallond’s Motion For Sanctions, or
     8      3. Summarily deny Holland’s Motion For Sanctions

     9
    10   .Dated: September 27, 2018:
    11
    12
                                                          By:/s/Thomas Neusom
    13                                                    Attorney For Debtor
                                                          Bar No. 003717
    14
                                                          (954)200-3536
    15                                                    4737 N. Ocean Drive, #129
                                                          Fort Lauderdale, FL 33308
    16                                                    Email: tgnoffice35@gmail.com
    17
    18
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    20
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                                                     16
    28
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     1
     2                              CERTIFICATE OF SERVICE
     3   I HEREBY CERTIFY that a true and correct copy of the foregoing MOTION FOR
     4   REHEARING OF THE DENIAL OF THE MOTION TO ABSTAIN FROM HEARING,
         STRIKE OR SUMMARILY DENY LANDLORD HOLLAND’S MOTION FOR
     5   SANCTIONS DUE TO LACK OF JURISDICTION AND OTHER GROUNDS
          was furnished by email to the following on September 27, 2018, to the parties on the efiling
     6   portal service list by email.
     7
     8
     9                                                      By:/s/Thomas Neusom
    10                                                      Attorney For Debtor
                                                            Bar No. 0037174
    11                                                      Phone; (954)200-3536
                                                            4737 N. Ocean Drive, #129
    12                                                      Fort Lauderdale, FL 33308
                                                            Email: tgnoffice35@gmail.com
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                                      645




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                                      645
Official Form 4 1 7 A (12/15)




                                       [Caption    as in Form 416A, 416B, or416D,                  as      appropriate]

                            NOTICE OF A P P E A L A N D STATEMENT OF ELECTION



        Part 1: Identify the appellant(s)
             1.   N a m e ( s ) of appellant(s):                                                                                                       ^



             2.   Position of appellant(s) In the adversary proceeding or bankruptcy case that Is the subject of this
                  appeal:

                  For appeals In an adversary proceeding.                      For appeals In a bankruptcy case and not In an
                  • Plaintiff                                                  adversary proceeding.
                  •Defendant                                                   B Debtor       /V    ^ / . - ^ f ?            ^
                  •   Other (describe)                                         •   creditor

                                                                               •   Trustee

                                                                               •   Other (describe)         /)               / n            v/    "f/oey^^             ^       /Js-IA^/^


        Part 2: Identify the subject of this appeal

             1.   Describe the judgment, order, or decree appealed from: /Pr?/o . ^-.l                                 0~f       a               (i/ir/-,        '7^       I, ^^/^^ >
            2.    State the date on which the judgment, order, or decree w a s entered: /i/\^4                                   \ jptiplsi^                /]

        Part 3: identify the other parties to the appeal                                            ^nj          s;,^/,rL^           i/la                        ] ]

        List the n a m e s of all parties to the judgment, order, or decree appealed from and the n a m e s , addresses,                                                   ^
        and telephone numbers of their attorneys (attach additional pages If necessary):

            1.    Party:    ^uk    )^ M.^.        IL r^..,MXomeY.        7lL         , ... , ,            /J^


                                                                        l4Yo\)2.X>0                       2/zd'


            2.    Party: JZi^      ^     J^j ) J         Attorney:     U-f-        .kc       Ih            pr.
                                                                     .2/10 [[^r^i'k                     FryHr            f^\s/l)iu                  ZlO d
                                                                      A/iV. m, ; f/L               T ? / T)
                                                                     (3^<)2KFf-6>^C>t




       Official Form 417A                            Notice of Appeal and Statement of Election                                                                  page 1
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 373 of
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    Part 4: Optional election to have appeal heard by District Court (applicable only in
    certain districts)

    If a Bankruptcy Appellate Panel Is available in this judicial district, the Bankruptcy Appellate Panel will
    hear this appeal unless, pursuant to 2 8 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
    United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
    United States District Court, check below. D o not check the box If the appellant w i s h e s the Bankruptcy
    Appellate Panel to hear the appeal.

               •   Appellant(s) elect to have the appeal heard by the United States District Court rather than by
                   the Bankruptcy Appellate Panel.

                                                                                   \      -A   %   d   ,        A,.. '

    Part 5: Sign beiow

                              ^ A Y ^ X ^ .                                   -        Date:           ^/'Z0}2A^]^
    Signature of attorney for'appellant(s) (or appellant(s)
    If not represented by an attorney)                                                   ?

    Name, address, a n d telephone number of attorney
    (or appellant(s) If not represented by an attorney):                                       :




    Fee w a i v e r notice: If appellant Is a child support creditor or Its representative and appellant has filed the
    form specified In § 304(g) of the Bankruptcy Reform Act of 1994, no fee Is required.




    Official Form 417A                     Notice of Appeal and Statement of Election                             page 2
                Case 18-15825-AJC
Case 1:18-cv-24463-FAM              Doc Entered
                         Document 12-1  69 Filedon08/21/18 Page
                                                   FLSD Docket   1 of 2
                                                               01/11/2019 Page 374 of
                                         645




    ORDERED in the Southern District of Florida on A u g u s t 20, 2018.




                                                            A. Jay Cristol, Judge
                                                            United States Bankruptcy Court



                              UNITED S T A T E S B A N K R U P T C Y COURT
                                SOUTHERN D I S T R I C T OF F L O R I D A

   Inre:              , ,                               .        Case No. 18-15825-BKC-AJC

   NUBIA M A R C E L E A P E R E Z ,                             Chapter 11

                  Debtor.
                                                /       -           ;                    •

   CM Nl BUS ORDER (1) DENY! NG DEBTOR'S M OTI ON TO STRIKE FOR SUM MARY
    DENIAL OF LANDLORD HOLLAND'SMOTION FOR SANCTIONS DUE TO LACK
       OF JURISDICTI ON AND SUPPLEM ENT THERETO; AND (2) RESETTI NG
                     LANDLORD'SMOTION FOR SANCTIONS

           THIS M A T T E R came before the Court for an evidentiary hearing on August 15, 2018 at

   3:00 pm (the "Hearing") upon (1) Debtor's Motion to Strike for Summary Denial of Landlord

   Holland's Motion for Sanctions Due to Lack of Jurisdiction and Other Grounds [ECF 60]; Debtor's

   Supplement to Motion to Strike for Summary Denial of Landlord Holland's Motion for Sanctions

   Due to Lack of Jurisdiction and Other Grounds [ECF 64]; and Landlord's Motion for Sanctions

   Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 filed by Creditor Brian Holland and Andrea

   Holland's a/kJa Brian Holland 5561 Rent Account {"Landlord") [ECF 25]. The Court, having




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   reviewed the motions, having heard argument from counsel, and based on the reasons stated on

   the record at the Hearing, it is

           ORDERED AND ADJUDGED as follows:

           1.      Debtor's Motion to Strike for Summary Denial of Landlord Holland's Motion for

   Sanctions Due to Lack of Jurisdiction and Other Grounds [ECF 60] and Debtor's Supplement to

   Motion to Strike for Summary Denial of Landlord Holland's Motion for Sanctions Due to Lack of

   Jurisdiction and Other Grounds [ECF 64] are D E N I E D W I T H P R E J U D I C E .

           2.      The Bankruptcy Court has jurisdiction to hear Landlord's Motion for Sanctions

   Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25].                             ?                   -        «

           3.      The evidentiary hearing on Landlord's Motion for Sanctions Pursuant to

   Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25] is rescheduled to September 28, 2018 at 2:00

   p.m. at C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave, Courtroom 7, Miami, F E 33128.

          4.      To the extent not already exchanged (see paragraph 5 below), the Parties shall

   exchange witness lists and copies of all exhibits by September 4,2018.

          5.      Debtor's counsel, Thomas Neusom, received copies of Landlord's Exhibits in

   Courton August 15, 2018 and acknowledged receipt.               |                )    .

                                                    ###

   Submitted By:                                          .
   Utibe Ikpe, Esquire                                                                  ...       . f .               / r , ..
   Florida Bar No. 90301
   uikpe(a),melandrussin.com                                      . ;           ,                         ,           . <
   Meland Russin and Budwick                                            ,               .
   200 South Biscayne Blvd., Ste 3200                                                   , ,
   Miami, Florida 33131                                       •             •
   T: 305.358.6363         ,     ,                                                                            •        .       -
   F: 305.358.1221

   Copies furnished to:
   Utibe Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.

                                                     2
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                Case 18-15825-AJC Doc 75
                                       645Filed 09/27/18 Page 1 of 18


                  /y                                                                               I n V'^yO'-

                 K^Ui^J^oAi^^ui^lO                                      tHHie^l         VcA^I
       1

       2          IN T H E B A N K R U T C Y COURT OF THE SOUTHERN DISTRICT OF FLORIDA
       3

       4     DEBTOR                                          CASE NO: 18-15825

                                                             MOTION FOR REHEARING OF THE
       6     NUJBIA MAR E L L A PEREZ.                       DENIAL OF THE MOTION TO
                                                             ABSTAIN FROM HEARING, S T R I K E
       7                                                     OR SUMMARILY DENY LANDLORD
                                                             HOLLAND'S MOTION FOR
       8                                                     SANCTIONS DUE TO L A C K OF
                                                             JURISDICTION AND OTHER
       9
                                                             GROUNDS
      10
                                                                 1. ABSTENTION
      11                                                         2. MOTION TO S T R I K E
                                                                 3. L A C K OF PRIVITY
      12
                                                                 4. ASSUMPTION OF RISK
      13                                                         5. LAW OF THE CASE
                                                                 6. INCOMPETENT STATE COURT
      14                                                     LITIGATION
                                                                 7. 21 DAY SAFE HARBOR
      15                                                     NONCOMPLIANCE
      16                                                         8. RES JUDICATA AND
                                                             C O L L A T E R A L ESTOPPEL FROM
      17                                                     STATE EVICTION CASE
                                                                 9. EQUAL PROTECTION CLAUSE
      18
      19
      20   C O M E S NOW, Attorney Thomas Neuom and Nubia Perez's, seeking a rehearing of the Denial
           of their Motion To Abstain, to Strike, or for Summary Denial of Holland's motion For Sanctions.

           In Court and on the Court CD Transcript the court said if Neusom did not file the Suggestion of
      22   Bankruptcy he was off the hook for sanctions. It is undisputed that Neusom did not file a
      23   suggestion of bankruptcy therefore the Motion For Sanctions should be denied. And any claim
           that Neusom is responsible for someone else filing a Suggestion of Bankruptcy is frivolous. A
      24   Condition Precedent for dismissal has occurred and the Motion For Sanctions should be
           summarily denied.
      25
           The A Plus eviction judgment is final and no sanctions were awarded for the stay. The mles on
      26
           finality of judgments should be respected and the Bankruptcy ourt should abstain from hearing
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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-AJC

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

                                         CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the Order Denying Debtor’s Motion

   to Cancel and Reschedule the 2 P.M. September 28, 2018 Hearing [ECF No. 76] was served on

   September 28, 2018, via the Court’s Notice of Electronic Filing upon registered Users listed on

   the attached Exhibit 1.

            Dated: October 2, 2018.

                                                         s/ Utibe I. Ikpe
                                                         Peter D. Russin, Esquire
                                                         Florida Bar No. 765902
                                                         prussin@meladnrussin.com
                                                         Utibe I. Ikpe, Esquire
                                                         Florida Bar Number: 90301
                                                         uikpe@melandrussin.com
                                                         MELAND RUSSIN & BUDWICK, P.A.
                                                         3200 Southeast Financial Center
                                                         200 South Biscayne Boulevard
                                                         Miami, Florida 33131
                                                         Telephone: (305) 358-6363
                                                         Telecopy: (305) 358-1221

                                                         Attorneys for Brian Holland and Andrea Holland




                                                             1
                                        LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 378 of
                                      645


MIME-Version:1.0
From:FLSB_ECF_Notification@FLSB.USCOURTS.GOV
To:Courtmail@localhost.localdomain
Bcc: Johanna.Armengol@usdoj.gov, USTPRegion21.MM.ECF@usdoj.gov, htoland@mitrani.com, ltannenbaum@melandrussin.com, mrbnefs@yahoo.com, ltannen
Do not notice for BK case:

Message-Id:<46131989@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Order on Motion to Continue Hearing

Content-Type: text/html

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and parties in a case (including pro se
litigants) to receive one free electronic copy of all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all
other users. To avoid later charges, download a copy of each document during this first viewing. However, if the referenced document is a transcript, the free copy
and 30-page limit do not apply.

                                                                          U.S. Bankruptcy Court

                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Snipes, Jeanne entered on 9/28/2018 at 10:17 AM EDT and filed on 9/28/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 76

Docket Text:
Order Denying Debtor's Motion To Cancel and Reschedule the 2 P.M. September 28, 2018 Hearing On: ([69] Order on Motion for Abstention). (Snipes, Jeanne)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:Order_denying_motion_to_cancel_evidentiary_hearing_(02170557xA9CE2).pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1068065210 [Date=9/28/2018] [FileNumber=46131987-
0] [09edfef4d08e0f33cc3eaa31e99dbbc77f28eb3f205762f12b12408a0a6f382ca6
1678ffff94bc85a0c2bbe946cf6fb256282c8ef1f4bdc5f34ff78cf9c19298]]

18-15825-AJC Notice will be electronically mailed to:

Johanna Armengol on behalf of U.S. Trustee Office of the US Trustee
Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov

Utibe I Ikpe on behalf of Creditor Andrea Holland
uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Utibe I Ikpe on behalf of Creditor Brian Holland
uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice35@gmail.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Nathalie C. Rodriguez on behalf of Creditor Nationstar Mortgage LLC
nrodriguez@rasflaw.com

Peter D. Russin, Esq on behalf of Creditor Andrea Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Peter D. Russin, Esq on behalf of Creditor Brian Holland
prussin@melandrussin.com,
ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

Howard S Toland on behalf of Creditor Newtek Small Business Finance Inc
htoland@mitrani.com

Howard S Toland on behalf of Creditor Valley National Bank
htoland@mitrani.com




                                                                                                                                                Exhibit 1
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                                      645
Official Form 4 1 7 A (12/15)




                                       [Caption    as in Form 416A, 416B, or416D,                  as      appropriate]

                            NOTICE OF A P P E A L A N D STATEMENT OF ELECTION



        Part 1: Identify the appellant(s)
             1.   N a m e ( s ) of appellant(s):                                                                                                       ^



             2.   Position of appellant(s) In the adversary proceeding or bankruptcy case that Is the subject of this
                  appeal:

                  For appeals In an adversary proceeding.                      For appeals In a bankruptcy case and not In an
                  • Plaintiff                                                  adversary proceeding.
                  •Defendant                                                   B Debtor       /V    ^ / . - ^ f ?            ^
                  •   Other (describe)                                         •   creditor

                                                                               •   Trustee

                                                                               •   Other (describe)         /)               / n            v/    "f/oey^^             ^       /Js-IA^/^


        Part 2: Identify the subject of this appeal

             1.   Describe the judgment, order, or decree appealed from: /Pr?/o . ^-.l                                 0~f       a               (i/ir/-,        '7^       I, ^^/^^ >
            2.    State the date on which the judgment, order, or decree w a s entered: /i/\^4                                   \ jptiplsi^                /]

        Part 3: identify the other parties to the appeal                                            ^nj          s;,^/,rL^           i/la                        ] ]

        List the n a m e s of all parties to the judgment, order, or decree appealed from and the n a m e s , addresses,                                                   ^
        and telephone numbers of their attorneys (attach additional pages If necessary):

            1.    Party:    ^uk    )^ M.^.        IL r^..,MXomeY.        7lL         , ... , ,            /J^


                                                                        l4Yo\)2.X>0                       2/zd'


            2.    Party: JZi^      ^     J^j ) J         Attorney:     U-f-        .kc       Ih            pr.
                                                                     .2/10 [[^r^i'k                     FryHr            f^\s/l)iu                  ZlO d
                                                                      A/iV. m, ; f/L               T ? / T)
                                                                     (3^<)2KFf-6>^C>t




       Official Form 417A                            Notice of Appeal and Statement of Election                                                                  page 1
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                                      645



    Part 4: Optional election to have appeal heard by District Court (applicable only in
    certain districts)

    If a Bankruptcy Appellate Panel Is available in this judicial district, the Bankruptcy Appellate Panel will
    hear this appeal unless, pursuant to 2 8 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
    United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
    United States District Court, check below. D o not check the box If the appellant w i s h e s the Bankruptcy
    Appellate Panel to hear the appeal.

               •   Appellant(s) elect to have the appeal heard by the United States District Court rather than by
                   the Bankruptcy Appellate Panel.

                                                                                   \      -A   %   d   ,        A,.. '

    Part 5: Sign beiow

                              ^ A Y ^ X ^ .                                   -        Date:           ^/'Z0}2A^]^
    Signature of attorney for'appellant(s) (or appellant(s)
    If not represented by an attorney)                                                   ?

    Name, address, a n d telephone number of attorney
    (or appellant(s) If not represented by an attorney):                                       :




    Fee w a i v e r notice: If appellant Is a child support creditor or Its representative and appellant has filed the
    form specified In § 304(g) of the Bankruptcy Reform Act of 1994, no fee Is required.




    Official Form 417A                     Notice of Appeal and Statement of Election                             page 2
                Case 18-15825-AJC
Case 1:18-cv-24463-FAM              Doc Entered
                         Document 12-1  69 Filedon08/21/18 Page
                                                   FLSD Docket   1 of 2
                                                               01/11/2019 Page 381 of
                                         645




    ORDERED in the Southern District of Florida on A u g u s t 20, 2018.




                                                            A. Jay Cristol, Judge
                                                            United States Bankruptcy Court



                              UNITED S T A T E S B A N K R U P T C Y COURT
                                SOUTHERN D I S T R I C T OF F L O R I D A

   Inre:              , ,                               .        Case No. 18-15825-BKC-AJC

   NUBIA M A R C E L E A P E R E Z ,                             Chapter 11

                  Debtor.
                                                /       -           ;                    •

   CM Nl BUS ORDER (1) DENY! NG DEBTOR'S M OTI ON TO STRIKE FOR SUM MARY
    DENIAL OF LANDLORD HOLLAND'SMOTION FOR SANCTIONS DUE TO LACK
       OF JURISDICTI ON AND SUPPLEM ENT THERETO; AND (2) RESETTI NG
                     LANDLORD'SMOTION FOR SANCTIONS

           THIS M A T T E R came before the Court for an evidentiary hearing on August 15, 2018 at

   3:00 pm (the "Hearing") upon (1) Debtor's Motion to Strike for Summary Denial of Landlord

   Holland's Motion for Sanctions Due to Lack of Jurisdiction and Other Grounds [ECF 60]; Debtor's

   Supplement to Motion to Strike for Summary Denial of Landlord Holland's Motion for Sanctions

   Due to Lack of Jurisdiction and Other Grounds [ECF 64]; and Landlord's Motion for Sanctions

   Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 filed by Creditor Brian Holland and Andrea

   Holland's a/kJa Brian Holland 5561 Rent Account {"Landlord") [ECF 25]. The Court, having




                                                    1
                Case 18-15825-AJC
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                                         645


   reviewed the motions, having heard argument from counsel, and based on the reasons stated on

   the record at the Hearing, it is

           ORDERED AND ADJUDGED as follows:

           1.      Debtor's Motion to Strike for Summary Denial of Landlord Holland's Motion for

   Sanctions Due to Lack of Jurisdiction and Other Grounds [ECF 60] and Debtor's Supplement to

   Motion to Strike for Summary Denial of Landlord Holland's Motion for Sanctions Due to Lack of

   Jurisdiction and Other Grounds [ECF 64] are D E N I E D W I T H P R E J U D I C E .

           2.      The Bankruptcy Court has jurisdiction to hear Landlord's Motion for Sanctions

   Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25].                             ?                   -        «

           3.      The evidentiary hearing on Landlord's Motion for Sanctions Pursuant to

   Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25] is rescheduled to September 28, 2018 at 2:00

   p.m. at C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave, Courtroom 7, Miami, F E 33128.

          4.      To the extent not already exchanged (see paragraph 5 below), the Parties shall

   exchange witness lists and copies of all exhibits by September 4,2018.

          5.      Debtor's counsel, Thomas Neusom, received copies of Landlord's Exhibits in

   Courton August 15, 2018 and acknowledged receipt.               |                )    .

                                                    ###

   Submitted By:                                          .
   Utibe Ikpe, Esquire                                                                  ...       . f .               / r , ..
   Florida Bar No. 90301
   uikpe(a),melandrussin.com                                      . ;           ,                         ,           . <
   Meland Russin and Budwick                                            ,               .
   200 South Biscayne Blvd., Ste 3200                                                   , ,
   Miami, Florida 33131                                       •             •
   T: 305.358.6363         ,     ,                                                                            •        .       -
   F: 305.358.1221

   Copies furnished to:
   Utibe Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.

                                                     2
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 383 of
                Case 18-15825-AJC Doc 75
                                       645Filed 09/27/18 Page 1 of 18


                  /y                                                                               I n V'^yO'-

                 K^Ui^J^oAi^^ui^lO                                      tHHie^l         VcA^I
       1

       2          IN T H E B A N K R U T C Y COURT OF THE SOUTHERN DISTRICT OF FLORIDA
       3

       4     DEBTOR                                          CASE NO: 18-15825

                                                             MOTION FOR REHEARING OF THE
       6     NUJBIA MAR E L L A PEREZ.                       DENIAL OF THE MOTION TO
                                                             ABSTAIN FROM HEARING, S T R I K E
       7                                                     OR SUMMARILY DENY LANDLORD
                                                             HOLLAND'S MOTION FOR
       8                                                     SANCTIONS DUE TO L A C K OF
                                                             JURISDICTION AND OTHER
       9
                                                             GROUNDS
      10
                                                                 1. ABSTENTION
      11                                                         2. MOTION TO S T R I K E
                                                                 3. L A C K OF PRIVITY
      12
                                                                 4. ASSUMPTION OF RISK
      13                                                         5. LAW OF THE CASE
                                                                 6. INCOMPETENT STATE COURT
      14                                                     LITIGATION
                                                                 7. 21 DAY SAFE HARBOR
      15                                                     NONCOMPLIANCE
      16                                                         8. RES JUDICATA AND
                                                             C O L L A T E R A L ESTOPPEL FROM
      17                                                     STATE EVICTION CASE
                                                                 9. EQUAL PROTECTION CLAUSE
      18
      19
      20   C O M E S NOW, Attorney Thomas Neuom and Nubia Perez's, seeking a rehearing of the Denial
           of their Motion To Abstain, to Strike, or for Summary Denial of Holland's motion For Sanctions.

           In Court and on the Court CD Transcript the court said if Neusom did not file the Suggestion of
      22   Bankruptcy he was off the hook for sanctions. It is undisputed that Neusom did not file a
      23   suggestion of bankruptcy therefore the Motion For Sanctions should be denied. And any claim
           that Neusom is responsible for someone else filing a Suggestion of Bankruptcy is frivolous. A
      24   Condition Precedent for dismissal has occurred and the Motion For Sanctions should be
           summarily denied.
      25
           The A Plus eviction judgment is final and no sanctions were awarded for the stay. The mles on
      26
           finality of judgments should be respected and the Bankruptcy ourt should abstain from hearing
       Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 384 of
                                             645




           ORDERED in the Southern District of Florida on August 20, 2018.




                                                              A. Jay Cristol, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________

                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No. 18-15825-BKC-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtor.
          ____________________________________/

          OMNIBUS ORDER (1) DENYING DEBTOR’S MOTION TO STRIKE FOR SUMMARY
          DENIAL OF LANDLORD HOLLAND’S MOTION FOR SANCTIONS DUE TO LACK
             OF JURISDICTION AND SUPPLEMENT THERETO; AND (2) RESETTING
                          LANDLORD’S MOTION FOR SANCTIONS

                   THIS MATTER came before the Court for an evidentiary hearing on August 15, 2018 at

          3:00 pm (the “Hearing”) upon (1) Debtor’s Motion to Strike for Summary Denial of Landlord

          Holland’s Motion for Sanctions Due to Lack of Jurisdiction and Other Grounds [ECF 60]; Debtor’s

          Supplement to Motion to Strike for Summary Denial of Landlord Holland’s Motion for Sanctions

          Due to Lack of Jurisdiction and Other Grounds [ECF 64]; and Landlord’s Motion for Sanctions

          Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 filed by Creditor Brian Holland and Andrea

          Holland’s a/k/a Brian Holland 5561 Rent Account (“Landlord”) [ECF 25]. The Court, having



                                                        1
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                                      645



   reviewed the motions, having heard argument from counsel, and based on the reasons stated on

   the record at the Hearing, it is

           ORDERED AND ADJUDGED as follows:

           1.      Debtor’s Motion to Strike for Summary Denial of Landlord Holland’s Motion for

   Sanctions Due to Lack of Jurisdiction and Other Grounds [ECF 60] and Debtor’s Supplement to

   Motion to Strike for Summary Denial of Landlord Holland’s Motion for Sanctions Due to Lack of

   Jurisdiction and Other Grounds [ECF 64] are DENIED WITH PREJUDICE.

           2.      The Bankruptcy Court has jurisdiction to hear Landlord’s Motion for Sanctions

   Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25].

           3.      The evidentiary hearing on Landlord’s Motion for Sanctions Pursuant to

   Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25] is rescheduled to September 28, 2018 at 2:00

   p.m. at C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave, Courtroom 7, Miami, FL 33128.

           4.      To the extent not already exchanged (see paragraph 5 below), the Parties shall

   exchange witness lists and copies of all exhibits by September 4, 2018.

           5.      Debtor’s counsel, Thomas Neusom, received copies of Landlord’s Exhibits in

   Court on August 15, 2018 and acknowledged receipt.

                                                    ###

   Submitted By:
   Utibe Ikpe, Esquire
   Florida Bar No. 90301
   uikpe@melandrussin.com
   Meland Russin and Budwick
   200 South Biscayne Blvd., Ste 3200
   Miami, Florida 33131
   T: 305.358.6363
   F: 305.358.1221

   Copies furnished to:
   Utibe Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.

                                                     2
       Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 386 of
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            ORDERED in the Southern District of Florida on September 28, 2018.




                                                                A. Jay Cristol, Judge
                                                                United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION
                                            www.flsb.uscourts.gov


          In re:                                                     Case No.: 18-15825-ACJ

          NUBIA MARCELLA PEREZ,                                      Chapter 11

                       Debtors.
          ____________________________________/

                         ORDER DENYING DEBTOR’S MOTION TO CANCEL AND
                         RESCHEDULE THE 2 P.M. SEPTEMBER 28, 2018 HEARING

                   THIS MATTER came before the Court on September 24, 2018 at 11:00 a.m. on Debtor’s

          Motion to Cancel and Reschedule the 2 p.m. September 28, 2018 Hearing (“Motion”) [ECF No.

          71]. The Court, having been advised of the issues and hearing the arguments of counsel, ORDERS

          AND ADJUDGES as follows:

                   1.    Debtor’s Motion [D.E. 71] is Denied.




                                                        1
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 387 of
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           2.      The evidentiary hearing on Creditors Brian and Andrea Holland’s Motion for

   Sanctions Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. §105 [ECF No. 25] shall take place as

   previously scheduled on September 28, 2018 at 2:00 p.m.

                                                    ###

   Submitted By:
   Utibe I. Ikpe, Esquire
   Florida Bar No. 90301
   uikpe@melandrussin.com
   Meland Russin and Budwick
   3200 Southeast Financial Center
   200 South Biscayne Blvd.
   Miami, Florida 33131
   T: 305.358.6363
   F: 305.358.1221


   Copies furnished to:
   Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.




                                                      2
 Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 388 of
                                       645
CGFA1 (4/11/16)



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov

                                                                                                             Case Number: 18−15825−AJC
                                                                                                             Chapter: 11




In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Nubia Marcella Perez
dba A Plus Lamination & Finishing Inc
5559 NW 36 Ave
Miami, FL 33142

SSN: xxx−xx−9901




                           Clerk's Certificate of Mailing of Notice of Appeal


To:

Office of the U.S. Trustee, Room 1204 Claude Pepper Federal Bldg 51 SW 1st Ave Miami FL 33130

Thomas Neusom
4737 N Ocean Dr #129
Ft. Laud, FL 33309

Utibe I Ikpe
200 South Biscayne Blvd. #3200
Miami, FL 33131


     I hereby certify, that pursuant to Bankruptcy Rule 8003, a copy of the attached
Notice of Appeal filed on 10/1/2018 was mailed on 10/4/18 to the above named parties.


Dated:10/2/18                                                                CLERK OF COURT
                                                                             By: Sheila Skinner−Grant
                                                                             Deputy Clerk (305) 714−1800


Enclosures:       Clerk's Instructions for Appeals
                  Transcript Request Form
                  Copy of Appeal




                                                                    Page 1 of 3
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                            United States Bankruptcy Court
                              Southern District of Florida
                                www.flsb.uscourts.gov
                         CLERK'S INSTRUCTIONS FOR APPEALS

 1.   All notices of appeal filed in the Bankruptcy Court under Federal Rule of Bankruptcy Procedure
      8003 and 8004 shall be transmitted promptly to the Clerk of the District Court for docketing and
      the opening of a new civil case [See U.S. District Court Local Rule 87.4]. Within 14 days after filing
      the notice of appeal or entry of an order disposing of the last timely motion of a type specified in
      Bankruptcy Rule 8002(b) (whichever is later), or entry of an order by the District Court granting
      leave to appeal, the appellant shall file with the clerk of the bankruptcy court a designation of the
      items to be included in the record on appeal and a statement of issues to be presented
      (Bankruptcy Rule 8009). Failure to timely file this designation and statement of issues may
      result in dismissal of the appeal pursuant to this court's Local Rule 8009−1(A) and Local
      Rule 87.4(c), United States District Court, Southern District of Florida. The designation shall
      include the title and docket number of each paper designated.



 2.   Within 14 days after the service of the designation and the statement of issues the appellee may
      file and serve on the appellant a designation of additional items to be included in the record on
      appeal, and if the appellee has filed a cross appeal, the appellee as cross appellant shall file and
      serve a statement of issues to be presented on the cross appeal, and a designation of additional
      items to be included in the record. The appellee's designation shall include the title and docket
      number of each additional item designated.



 3.   If any transcripts of untranscribed proceedings are designated by a party, that party shall
      immediately, upon the filing of the designation, order the transcript(s) from the court reporter and
      make satisfactory arrangements for payment of its costs. All transcript orders must be made on
      the local form "Transcript Request Form" enclosed for this purpose, and a copy filed with the clerk
      at the time of filing the designation (Bankruptcy Rule 8009). On receipt of a request for a
      transcript, the reporter shall complete the Reporter's Acknowledgment and file a copy with the
      clerk (Bankruptcy Rule 8010). [See also "Guidelines on Electronic Availability of Transcripts and
      Procedures for Transcript Redaction."]



 4.   When the record is complete for purposes of the appeal, the bankruptcy clerk will electronically
      transmit the record to the clerk of the district court. Once the record has been transmitted to the
      district court, any subsequently filed document relating to the appeal must be filed in the district
      court.



 5.   Motions For Leave To Appeal (Bankruptcy Rule 8004). The clerk will electronically transmit the
      motion, notice of appeal and any answer to the clerk of the district court as soon as all parties
      have filed answers or the time for filing an answer has expired. The designation and statement of
      the issues should not be filed with the clerk of the bankruptcy court as required under Bankruptcy
      Rule 8009, until entry of an order by the district court granting leave to appeal (Local Rule
      8004−1).


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 Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 390 of
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                                      UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF FLORIDA
                                                           OFFICE OF THE CLERK

                                                Transcript Request Form
Submit this form to the transcription company by email, fax or postal mail: Attn: __________________________
Transcriber:_________________________________________________________________________________
Email: _______________________________ Telephone: ____________________ Fax: ___________________

Case Number: _______________________ Adversary Number: __________________ Judge: _______________

Date of Hearing or Trial: ____________________________ Time of Hearing or Trial: _____________________

Debtor(s) Name: _____________________________________________________________________________

           The transcript being requested is included as a designated item for a pending appeal.
            (If this box is checked, the requestor must also file this form with the clerk pursuant to Bankruptcy Rule
           8009. The transcriber is responsible for notifying the clerk by electronic docket entry in the case the date
           the request was received and the date on which the transcriber expects to have the transcript completed
           (See Bankruptcy Rule 8010).
Select Delivery Method:

Check
Box                                                        Original      First Copy to Each   Each Additional Copy
Below                                                                    Party                to the Same Party

         Ordinary Transcript
         A transcript to be delivered within thirty (30)    $3.65         .90                  .60
         calendar days after receipt of an order.
         14−Day Transcript
         A transcript to be delivered within fourteen       $4.25         .90                  .60
         (14) calendar days after receipt of an order.
         Expedited Transcript A transcript to be
         delivered within seven                             $4.85         .90                  .60
         (7) calendar days after receipt of an order.
         Daily Transcript
         A transcript to be delivered following
         adjournment and prior to the normal opening        $6.05         1.20                 .90
         hour of the court on the following morning
         whether or not it actually is a court day.
         Hourly Transcript
         A transcript of proceedings ordered under          $7.25         1.20                 .90
         unusual circumstances to be delivered within
         two (2) hours.
By submitting this request, it is understood that:

        • A separate order must be placed for each transcript being requested.
        • All transcript requests must be submitted directly to the transcriber. Do not contact the clerk's office regarding
          the status of a request.
        • It is the responsibility of the requestor to verify that the transcript has not already been filed with the court.
        • It is the responsibility of parties to request redaction. See Local Bankruptcy Rule 5005−1(A)(2)(b), Local
          Form "Notice of Intent to Request Redaction of Transcript" (LF−61) and "Guidelines on Electronic
          Availability of Transcripts and Procedures for Transcript Redaction" (CG−11).



Print Your Name: _____________________________________________________________________________

Mailing Address: _____________________________________________________________________________

Email Address: _______________________________________________Telephone No.: ___________________
 Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 391 of
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CGFD71 (12/1/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Southern District of Florida
                                                        www.flsb.uscourts.gov

In re: Nubia Marcella Perez                                        Case Number: 18−15825−AJC
                                                                   Chapter: 11
                                                                   County of Residence or Place of Business: Miami
                                                                   U.S. District Court Case Number:


                                    TRANSMITTAL TO DISTRICT COURT
            Appeal pursuant to 28 U.S.C. § 158, Notice of Appeal and Statement of Election filed on 9/30/2018
            Motion for Leave to Appeal (copy of appeal attached)
            Request to Expedite Appeal attached.
            Motion to Withdraw Reference pursuant to Local Rule 5011−1(C):

                              Contested       Uncontested
            Withdrawal of Reference granted by U.S. District Court
            Report and Recommendation (Motion to Withdraw Reference)


                              The Party or Parties Included in the Record to District Court:

        Appellant/Movant: Nubia Marcella Perez          Attorney: Thomas G Neusom         Attorney:
                                                        4737 N Ocean Dr #129
                                                        Fort Lauderdale, FL 33308

        Appellee/Respondent: Andrea Holland and         Attorney: Utibe I Ikpe, Esq       Attorney:
        Brain Holland
                                                        200 S Biscayne Blvd, #3200
                                                        Miami, FL 33131


        Title and Date of Order Appealed, if applicable: OMNIBUS ORDER (1) DENYING DEBTORS MOTION TO
        STRIKE FOR SUMMARY DENIAL OF LANDLORD HOLLANDS MOTION FOR SANCTIONS DUE TO LACK OF
        JURISDICTION AND SUPPLEMENT THERETO; AND (2) RESETTING LANDLORDS MOTION FOR SANCTIONS
        − Dated 8/20/18 AND ORDER DENYING DEBTORS MOTION TO CANCEL AND RESCHEDULE THE 2 P.M.
        SEPTEMBER 28, 2018 HEARIN − Dated 9/28/18

        Entered on Docket Date: 8/21/18 AND 9/28/18                Docket Number: 69 AND 76



            Designation in Appeal (See Attached)
            Designation in Cross Appeal (See Attached)
            Copy of Docket
            Exhibits:
            Copies of Transcript(s) of Hearing(s) on:

            Respondent's Answer and/or Movant's Reply
            Other:



Dated:10/2/18                                                      CLERK OF COURT
                                                                   By: Diana Cohen
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 392 of
                                      645
                                         Deputy Clerk (305) 714−1800
       Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 393 of
                                             645




            ORDERED in the Southern District of Florida on October 2, 2018.




                                                                  A. Jay Cristol, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________



                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                               MIAMI DIVISION
                                              www.flsb.uscourts.gov


          In re:                                                        Case No.: 18-15825-ACJ

          NUBIA MARCELLA PEREZ,                                         Chapter 11

                       Debtors.
          ____________________________________/

                   ORDER DENYING DEBTOR’S MOTION IN LIMINE TO THE TESTIMONY
                        OF JOSEPH COLLETTI AND FOR SUMMARY DENIAL OF
                     LANDLORD HOLLAND’S MOTION FOR SANCTIONS [ECF NO. 74]

                    THIS MATTER came before the Court on September 28, 2018 at 2:00 p.m. on Debtor’s Motion

          in Limine to the testimony of Joseph Colletti and for Summary Denial of Landlord Holland’s Motion for

          Sanctions [ECF No. 74]. The Court, having been advised of the issues and hearing the arguments of

          counsel, ORDERS AND ADJUDGES as follows:

                    Debtor’s Motion [ECF No. 74] lacks merit and is Denied.

                                                         ###



                                                           1
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                                      645



   Submitted By:
   Utibe I. Ikpe, Esquire
   Florida Bar No. 90301
   uikpe@melandrussin.com
   MELAND RUSSIN & BUDWICK, P.A.
   3200 Southeast Financial Center
   200 South Biscayne Blvd.
   Miami, Florida 33131
   Telephone: (305) 358-6363
   Telefax: (305) 358-1221

   Copies furnished to:
   Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.




                                                      2
       Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 395 of
                                             645




            ORDERED in the Southern District of Florida on October 2, 2018.




                                                              A. Jay Cristol, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________

                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                              MIAMI DIVISION
                                             www.flsb.uscourts.gov


          In re:                                                   Case No.: 18-15825-ACJ

          NUBIA MARCELLA PEREZ,                                    Chapter 11

                       Debtors.
          ____________________________________/

            ORDER DENYING DEBTOR’S MOTION FOR REHEARING OF THE DENIAL OF
            THE MOTION TO ABSTAIN FROM HEARING, STRIKE, OR SUMMARILY DENY
               LANDLORD HOLLAND’S MOTION FOR SANCTIONS DUE TO LACK OF
                     JURISDICTION AND OTHER GROUNDS [ECF NO. 75]

                   THIS MATTER came before the Court on September 28, 2018 at 2:00 p.m. on Debtor’s

          Motion for Rehearing of the Denial of the Motion to Abstain from Hearing, Strike, or Summarily

          Deny Landlord Holland’s Motion for Sanctions Due to Lack of Jurisdiction and Other Grounds

          [ECF No. 75]. The Court, having been advised of the issues, ORDERS AND ADJUDGES as

          follows:

                   Debtor’s Motion [ECF No. 75] is Denied.

                                                       ###



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   Submitted By:
   Utibe I. Ikpe, Esquire
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   Copies furnished to:
   Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.




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            ORDERED in the Southern District of Florida on October 2, 2018.




                                                             A. Jay Cristol, Judge
                            UNITED STATES BANKRUPTCY        COURT
                                                    United States Bankruptcy Court
_____________________________________________________________________________
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov


          In re:                                                   Case No.: 18-15825-ACJ

          NUBIA MARCELLA PEREZ,                                    Chapter 11

                       Debtors.
          ____________________________________/


                    ORDER OVERRULING DEBTOR’S OBJECTION TO THE TESTIMONY
                     OF COLLETTI AND MOTION TO STRIKE FOR SUMMARY DENIAL
                         OF LANDLORD HOLLAND’S MOTION FOR SANCTIONS

                   THIS MATTER came before the Court on September 28, 2018 at 2:00 p.m. on Debtor’s

          Objection to the Testimony of Colletti and Motion to Strike for Summary Denial of Landlord

          Holland’s Motion for Sanctions [ECF No. 73]. The Court, having been advised of the issues and

          hearing the arguments of counsel, ORDERS AND ADJUDGES as follows:

                   Debtor’s Objection [ECF No. 73] lacks merit and is OVERRULED.

                                                      ###




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   Submitted By:
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   Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
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     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4    DEBTOR                                           CASE NO: 18-15825
     5
                                                           DEBTORS FINDINGS OF FACT AND
          NUJBIA MAR ELLA PEREZ.                           CONCLUSIONS OF LAW
     6
                                                           OPPOSING HOLLAND’S MOTION FOR
     7                                                     SANCTIONS
     8                                                        1. ABSTENTION
     9                                                        2. MOTION TO STRIKE
                                                              3. LACK OF PRIVITY
    10                                                        4. ASSUMPTION OF RISK
                                                              5. LAW OF THE CASE
    11                                                        6. INCOMPETENT STATE COURT
                                                           LITIGATION
    12
                                                              7. 21 DAY SAFE HARBOR
    13                                                     NONCOMPLIANCE
                                                              8. RES JUDICATA AND
    14                                                     COLLATERAL ESTOPPEL FROM
                                                           STATE EVICTION CASE
    15                                                        9. EQUAL PROTECTION CLAUSE
    16
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    23
    24   COMES NOW, Attorney Thomas Neuom and Nubia Perez’s, presenting Findings Of Fact And
         Conclusions of Law in regards to Holland’s Motion For Sanctions. As directed by the Court on
    25
         September 28, 2018.
    26
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         Debtor presented numerous motions to the Court which included a Motion To Abstain, to Strike,
     1   or for Summary Denial of Holland’s motion For Sanctions. A Motion In Limine and a Motion
     2   To Strike Colletti’s testimony due to a Violation of Rule 408 of the Federal Rules of Civil
         Procedure was also presented.
     3
         It is clear that there is no legal basis to grant Holland sanctions.
     4
     5   Holland’s primary witness was Colletti who said that during a telephone conversation with
         Neusom, which Neusom made for settlement purposes, he was told that a Bankruptcy was filed
     6   and because of this he cancelled a mediation and somehow a stay was entered in an eviction
         case.
     7
         Neusom was not an attorney in the eviction case and he was unaware that Colletti canceelled the
     8
         mediation and somehow arranged for a stay. Due to not being eviction Counsel he did not know
     9   Coletti was doing this and he did not know Coletti had done it until months later.

    10   Sometime around May 15, 2018, Holland hired Bankrutpcy Counsel and Colletti was informed
         that what he had did may have been incorrect even though the eviction Court Judge Boker agreed
    11   to it. Colletti blamed Neusom and sanctions were sought against him for what Colletti did in the
    12   eviction case. Perez’s eviction Counsel was Borell.

    13   Colletti violated the Rules of professional responsibility when he litigated the bankruptcy issues
         in the eviction case with insufficient knowledge and experience. He should have obviously
    14   obtained Co-counsel or sought advise before he acted and claims against Neusom are meritless.
    15
         4-1. CLIENT-LAWYER RELATIONSHIP RULE 4-1.1 COMPETENCE A lawyer must
    16   provide competent representation to a client. Competent representation requires the legal
         knowledge, skill, thoroughness, and preparation reasonably necessary for the representation.
    17   Comment Legal knowledge and skill In determining whether a lawyer employs the requisite
         knowledge and skill in a particular matter, relevant factors include the relative complexity and
    18
         specialized nature of the matter, the lawyer’s general experience, the lawyer’s training and
    19   experience in the field in question, the preparation and study the lawyer is able to give the
         matter, and whether it is feasible to refer the matter to, or associate or consult with, a lawyer of
    20   established competence in the field in question. In many instances the required proficiency is
         that of a general practitioner. Expertise in a particular field of law may be required in some
    21   circumstances. A lawyer need not necessarily have special training or prior experience to handle
    22   legal problems of a type with which the lawyer is unfamiliar. A newly admitted lawyer can be as
         competent as a practitioner with long experience. Some important legal skills, such as the
    23   analysis of precedent, the evaluation of evidence and legal drafting, are required in all legal
         problems. Perhaps the most fundamental legal skill consists of determining what kind of legal
    24   problems a situation may involve, a skill that necessarily transcends any particular specialized
         knowledge. A lawyer can provide adequate representation in a wholly novel field through
    25
         necessary study. Competent representation can also be provided through the association of a
    26   lawyer of established competence in the field in question. Competent representation may also
         involve the association or retention of a non-lawyer advisor of established technological
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         competence in the field in question. Competent representation also involves safeguarding
     1   confidential information relating to the representation, including, but not limited to, electronic
     2   transmissions and communications. In an emergency a lawyer may give advice or assistance in a
         matter in which the lawyer does not have the skill ordinarily required where referral to or
     3   consultation or association with another lawyer would be impractical. Even in an emergency,
         however, assistance should be limited to that reasonably necessary in the circumstances, for ill-
     4   considered action under emergency conditions can jeopardize the client’s interest. A lawyer may
     5   accept representation where the requisite level of competence can be achieved by reasonable
         preparation. This applies as well to a lawyer who is appointed as counsel for an unrepresented
     6   person. See also rule 4-6.2. Thoroughness and preparation Competent handling of a particular
         matter includes inquiry into and analysis of the factual and legal elements of the problem, and
     7   use of methods and procedures meeting the standards of competent practitioners. It also includes
         adequate preparation. The required attention and preparation are determined in part by what is at
     8
         stake; major litigation and complex transactions ordinarily require more extensive treatment than
     9   matters of lesser complexity and consequence. The lawyer should consult with the client about
         the degree of thoroughness and the level of preparation required as well as the estimated costs
    10   involved under the circumstances. Maintaining competence To maintain the requisite knowledge
         and skill, a lawyer should keep abreast of changes in the law and its practice, engage in
    11   continuing study and education, including an understanding of the benefits and risks associated
    12   with the use of technology, and comply with all continuing legal education requirements to
         which the lawyer is subject.
    13   Amended March 23, 2006, effective May 22, 2006 (SC04-2246), (933 So.2d 417); September
         29, 2016, effective January 1, 2017 (SC16-574), 200 So.3d 1225.
    14   RRTFB September 17, 2018
    15
    16
    17   The facts are that Neusom filed a personal Bankruptcy for Nubia Perezz. In the Petition he only
         answered the Bankruptcy petition questions.
    18
    19   The Court seemed to state that it would grant sanctions because Neusom spoke to Colletti about
         a bankruptcy and Colletti then took actions in the eviction. A finding for Holland granting
    20   sanctions would be a clearly erroneous ruling.
    21
    22
         In Court and on the Court CD Transcript the court said if Neusom did not file the Suggestion of
    23   Bankruptcy he may be offf the hook for sanctions. It is undisputed that Neusom did not file a
         suggestion of bankruptcy therefore the Motion For Sanctions should be denied. And any claim
    24   that Neusom is responsible for someone else filing a Suggestion of Bankruptcy is frivolous. A
         Condition Precedent for dismissal may have occurred and the Motion For Sanctions should
    25
         should have been summarily denied.
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     1
     2   The A Plus eviction judgment is final and no sanctions were awarded for the stay. The rules on
         finality of judgments should be respected and the Bankruptcy Court should abstain from hearing
     3   Holland’s sanction motion or deny it.
     4   Perez and Neusom pray that the Court will reverse its ruling and not grant sanctions for
     5   Holland.

     6
     7      A. THE MOTION TO ABSTAIN WAS WRONGFULLY DENIED
     8
         The Court denied the Motion To Abstain, but granted it by limiting their motion to the
     9   Bankruptcy issues and not allowing claims on the State Court eviction action.

    10   I object to Colletti’s testimony because the calls were made to him in the Course of Settlement
         negotiations and were settlement communications.
    11
    12   Colletti is an experienced attorney and for him to try to claim I misled him is shameful, and has
         no legal basis, particularly when Coletti had the Lease and I did not have it or had a chance to
    13   review it.
    14   In Court and on the Court CD Transcript the court said if Neusom did not file the Suggestion of
    15   Bankruptcy he was off the hook for sanctions. It is undisputed that Neusom did not file a
         suggestion of bankruptcy therefore the Motion For Sanctions should be denied. And any claim
    16   that Neusom is responsible for someone else filing a Suggestion of Bankruptcy is frivolous. A
         Condition Precedent for dismissal has occurred and the Motion For Sanctions should be
    17   summarily denied.
    18
         This essentially undercuts Landlord’s claim for damages because the eviction was the basis for
    19   the claim for damages, but this is erroneous because Holland’s Motion For Sanctions is fully and
         completely dependent on things that took place in the eviction and that needed and could have
    20   been handled by the state court.
    21
         The Court is essentially recasting the Sanctions motion while the appropriate thing would have
    22   been to abstain, strike, dismiss or deny the motion and let them refile with the correct
         information if they could. But the facts are now out and it is clear that the Motion is sham asnd
    23   frivolous.
    24   At the hearing on August 16, 2018 Utibe Ikpe said that Hollands eviction attorney put in for the
    25   stay after he heard about the Nubia Perez bankruptcy. Engaging in such an act is a waiver of any
         defenses or of Holland bringing a motion for sanctions. Holland assumed the risk.
    26
         I could have filed a Suggestion of Bankruptcy when the petition was filed, but it depended on a
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         number of factors and I was unsure if it should have been filed at that time and under the
     1   circumstances so I did not do it.
     2
         Holland hired an Attorney, Joseph Colletti, who mistakenly put in a stay and Holland hired
     3   another attorney to seek sanctions against Neusom for a stay that his Attorney put in. This is
         inconsistent illogical bad faith litigation. There is no privity between Neusom and Colletti. The
     4   only person Holland has a right to seek sanctions from is his own Attorney Colletti, who put in
     5   the stay without any request or authorization from Nubia Perez or Thomas Neusom that Neusom
         is aware of.
     6
     7
     8   Neusom did file a personal bankruptcy but he knew better than to immediately file a Notice
         of Appearance in the Eviction and file for a stay. A lot more research had to be done before
     9   someone acted like Holland’s attorney Coletti did. There is no basis for sanctions against
         Perez and Neusom for what Holland’s attorney Coletti did.
    10
    11   Due to the state Court dependence of the motion for sanctions it is quite clear that the
         Bankruptcy court should have granted the motion to abstain.
    12
         There is no basis for sanctions against Nubia Perez and the eviction Court is the proper
    13   forum for Holland to seek relief.
    14
         A Plus is legally entitled to a stay and would have obtained it with a business bankruptcy. If
    15   it needed to but Colletti’s actions made it unnecessary at that time.

    16   Its wrong for Holland to seek sanctions against Nubia Perez and Thomas Neusom for what
         his own attorney, Coletti, unexpectedly did. But it may have been legally correct so there is
    17
         no basis for sanctions. It was Colletti’s choice. And we were prepared to file the business
    18   bankruptcy when needed so we would have gotten the stay one way or another if needed.

    19   Holland received Nine Thousand Dollars ($9,000.00)from the Court registry. And
         unilaterally decided to keep the Eighteen Thousand Dollar ($18,000) A Plus Security
    20
         Deposit. They have already received Twenty Seven Dollars from Aplus and they are not
    21   entitled to anything else and are seeking a double recovery.

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     3
     4      B. A Federal court cannot act as a State Appellate Court. The Landlord Holland needs
     5         and needed to seek relief in the State Court and the Bankruptcy Court cannot act as
               a State Trial Court or State Appellate Court, which Holland is seeking
     6
     7   Holland filed an eviction against A Plus Lamination And Finishing in Miami Dade County with
     8
         Case Number 18-8187CC05.        Holland is seeking sanctions against Perez and her Counsel
     9
         Thomas Neusom in Federal Bankruptcy Court for what happened in a State Court eviction
    10
         Action that has been closed and a default Final Judgment has been entered, but there are ways for
    11
    12   them to properly litigate in State Court. I am opposing Counsel loyal to my client, so I can not

    13   tell them how to do the State Court litigation, but that is the proper place for them.
    14
    15   The landlord Holland obtained a Writ Of Possession and have obtained

    16   possession of the subject property. The eviction case is closed at this time and Holland has
    17   refused to return the A Plus Lamination Security Deposit or follow proper procedures in
    18
         violation of State Law.
    19
    20   The Bankruptcy Court has no legal basis or jurisdiction to further adjudicate this State Court
    21
         matter under numerous legal doctrines.
    22
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     1
         An abstention doctrine is any of several doctrines that a United States court may (or in some
     2
         cases must) apply to refuse to hear a case if hearing the case would potentially intrude upon the
     3
     4   powers of another court. Such doctrines are usually invoked where lawsuits involving the same

     5   issues are brought in two different court systems at the same time (such as federal and state
     6
         courts).
     7
     8   A copy of the State Court eviction case Docket is attached as Exhibit 1 along with other eviction

     9   case pleadings.
    10
         The United States has a federal court system with limitations on the cases that it can hear, while
    11
         each state has its own individual court system. In some instances, the jurisdiction of these courts
    12
         overlap, so a lawsuit between two parties may be brought in either or both courts. The latter
    13   circumstance can lead to confusion, waste resources, as well as cause the appearance that one
    14   court is disrespecting the other. Both federal and state courts have developed rules determining

    15   when one court will defer to another's jurisdiction over a particular case.

    16
         Colorado River abstention
    17
         Finally, Colorado River abstention, from Colorado River Water Conservation District v. United
    18
         States, 424 U.S. 800 (1976) comes into play where parallel litigation is being carried out,
    19
         particularly where federal and state court proceedings are simultaneously being carried out to
    20
    21   determine the rights of parties with respect to the same questions of law. Under such

    22   circumstances, it makes little sense for two courts to expend the time and effort to achieve a
    23
         resolution of the question.
    24
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     1
         Unlike other abstention doctrines, application of the Colorado River doctrine is prudential and
     2
         discretionary, and is based less on comity or respect between different court systems than on the
     3
     4   desire to avoid wasteful duplication of litigation. The classification of the doctrine as a form of

     5   abstention has been disputed, with some courts simply calling it a "doctrine of exceptional
     6
         circumstances". Each of the various federal circuits has come up with its own list of factors to
     7
     8   weigh in determining whether a federal court should abstain from hearing a case under this

     9   doctrine. Typically, such factors include:
    10
    11   Note on the Rooker-Feldman doctrine
    12
    13   The Rooker-Feldman doctrine has some characteristics of an abstention doctrine, because it
         prohibits federal court review of state court actions. However, it does not require federal courts
    14
         to abstain from hearing cases pending action in the state court, but instead deems that federal
    15
         courts lack jurisdiction to hear cases already fully decided in state courts. The doctrine is not a
    16   judicially created exception to federal jurisdiction. Rather, the Rooker and Feldman cases simply
    17   recognized the fact that Congress has not granted the federal district or appeals courts statutory
    18   jurisdiction to consider appeals of state court decisions, only the US Supreme Court via a writ of
         certiorari). It is an open question whether Congress could grant such jurisdiction.
    19
    20
         Here, the State Court eviction action has fully concluded and Judge Borker has ruled and
    21   closed the matter. In this particular case Holland has no basis or right to seek additional
    22   remedies in Federal Court in a State Court case that has concluded.

    23
         The Court stated that no credible argument was made for Abstention, but the State Court could
    24   have granted sanctions if it wanted to and that was the proper lace for them to be sought.
    25
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     1
         Any detriments experienced by Holland were the result of the mishandling of the State Court
     2
         litigation by Colletti, and that could have easily been handled in State Court under the Florida
     3
     4   Rules of Civil Procedure. Seeking relief in Federal Court for what one should have obtained in

     5   State Court is subject to abstention and the Bankruptcy Court should have legally abstained
     6
         from hearing Holland’s motion for sanctions under Colorado River, Rooker Feldman, the Florida
     7
     8   Rules of Civil Procedure and other laws.

     9   A Bankruptcy Court cannot assume why the State court did what it did. The Eviction attorney
    10   could have filed a Motion For Reconsideration, Rehearing or withdrawal of the suggestion of
         Bankruptcy promptly. We cannot procedurally properly make a determination on the State Court
    11   action in this Federal Court in the way of Holland’s sanction motion, it is illegal .
    12
    13   It was procedurally improper for Landlord to abandon the State Court eviction action and seek

    14   relief in the Federal Bankruptcy Court. The abstention doctrine is to stop inconsistent verdicts
    15   like what could happen if the Court were to grant Holland relief in a Bankruptcy case that has
    16
         been dismissed.
    17
    18   The Bankruptcy Court has no jurisdiction to act as a State Appellate Court even under
    19
         BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105.
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     2
            C. THE 21 DAY SAFE HARBOR PROVISION WAS NOT COMPLIED WITH AND
     3         THE EXCEPTION DOES NOT APPLY
     4   Bankruptcy Rule 9011 was also incorrectly used and invoked because Holland did not comply
     5
         with the 21 day safe harbor provision. The sanction motion says it is for filing the bankruptcy
     6
         Petition and taking it to state Court. Therefore it is really about invoking it against the Registry
     7
         order and not the filing of the petition so the 21 day safe Harbor provision should have been
     8
     9   complied with.

    10
    11   Attorney Thomas Neusom was not the eviction attorney and was not at the hearing when the stay
    12
         was imposed. The state court judge determined it should be imposed and no one in the State
    13
         Court action apparently contested this and this is where the real problem lies.
    14
    15
         If the Landlord’s Attorney did not agree with the stay, they should have filed a Motion For
    16
         Rehearing in the State Court and they could have filed an Appeal to get the stay lifted if the stay
    17
         was improperly granted. The Federal Court can also lift stays, but in this case the matter could
    18
    19   and should have been raised in State Court because there may have been a lack of the basis for

    20   the stay so no federal Court involvement was needed.
    21
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         Due to the landlord Attorney’s failure to take proper action in the state court proceeding the stay
     1
     2   may have been put in improperly and it stayed when it shouldn’t have but this was actually a

     3   decision for the state court judge to make and it depended on a number of issues such as the
     4   Lease. The Bankruptcy Court can also lift the stay but it can’t rule on a state Court Order like a
     5
         state trial or Appellate Court due to abstention doctrines.
     6
     7
     8
     9
    10
         Landlord incorrectly utilizes In Re Mcbride because the Court Registry Order did not mention or
    11
    12   prohibit seeking bankruptcy protection. Mcbride also dealt with a foreclosure case and not an

    13   eviction case. In re McBride Estates, Ltd., 154 B.R. at 343.
    14
    15
    16   Perez and Neusom are unaware of anything in the Rent Registry Order that said that

    17   Tenant could not seek bankruptcy protection. The proper Judge to interpret a violation
    18
         Of the Order is and was Judge Alexander Boker. Landlord is concurrently seeking a
    19
         determination in Federal Bankruptcy Court that needs to be heard by the state eviction
    20
         court if heard at all.
    21
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                                                CONCLUSION
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         Debtor’s findings of fact and conclusions of law analysis clearly show that Holland is not
     1
     2   entitled to the relief requested in his motion for sanctions.

     3
     4
         WHEREFORE, Neusom and Perez pray that the Court:
     5
            1. Grant the Motion For Abstention, or
     6      2. Strike Hallond’s Motion For Sanctions, or
            3. Summarily deny Holland’s Motion For Sanctions
     7
     8
     9   .Dated: October 2, 2018:
    10
    11
                                                            By:/s/Thomas Neusom
    12                                                      Attorney For Debtor
                                                            Bar No. 003717
    13                                                      (954)200-3536
                                                            4737 N. Ocean Drive, #129
    14
                                                            Fort Lauderdale, FL 33308
    15                                                      Email: tgnoffice35@gmail.com

    16
    17
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    27                              CERTIFICATE OF SERVICE
                                                  12
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     1   I HEREBY CERTIFY that a true and correct copy of the foregoing DEBTORS FINDINGS OF
     2   FACT AND CONCLUSIONS OF LAW OPPOSING HOLLAND’S MOTION FOR
         SANCTIONS was furnished by email to the following on October 2, 2018, to the parties on the
     3   efiling portal service list by email.

     4
     5
     6                                                    By:/s/Thomas Neusom
                                                          Attorney For Debtor
     7                                                    Bar No. 0037174
     8                                                    Phone; (954)200-3536
                                                          4737 N. Ocean Drive, #129
     9                                                    Fort Lauderdale, FL 33308
                                                          Email: tgnoffice35@gmail.com
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     1                                   EXHIBIT 1
     2                           EVICTION CASE PLEADINGS
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                   BRIAN H O L L A N D AND ANDREA                                     IN T H E COUNTY COURT IN A N D
                                                                        FOR
                   HOLLAND a/k/a/ BRIAN HOLLAND                               MIAMI-DADE COUNTY
                   5561 R E N T ACCOUNT.
                                                                              C I V I L DIVISION
                            Plaintiff.     ,. ,      .,.•.»   .......
                   vs.                                                                             . . .    ^^^^g
                                                                              18-8187 C C 0 5

                   A P L U S LAMINATION & FINISHING
                   INC., a Florida Corporation and all
                   other occupants.

                            Defendants.
                                                                    /

                                O R D E R D I R E C T I N G DEPOSIT OF R E N T INTO R E G I S T R Y O F COURT

                            T H I S C A U S E C A M E ON T O B E H E A R D before me, on May 3, 2018, upon Plamtifrs
                   Motion for Order Directing Deposit of Rent Into Registry of Court, and, having appeared counsel for
                   Plaintiff and Defendant and the respective parties, A e r having heard argument ffom counsel, having
                   reviewed the Court file and being otherwise folly advised in the premises, it is:

                            O R D E R E D AND A D J U D G E D :

                            1. PlamtitTs Motion for Order Directing Deposit of Rent Into Registry of Court be and the same
                   IS hereby granted.

                           2. The Defendant, A P L U S LAMINATION & FINISHING, INC.. is hereby ordered to deposit the
.-^^^              sum of $9,000,00 into the Miami-Dade County Ifogistrv of Court on or before May 7. 2018.

                           3. The Defendant, A P L U S LAMINATION & FINISHING, INC., is hereby ordered to deposit the
                   sum of $9,000.00 into the Miami-Dade County Registry of Court on or before May 14. 2018,

                            .3 The Defendant shall further timely deposit the rem as it becomes due into the Registry of
                   Court,

                            4 The Defendant's failure to timely pay the ordered sums into the Registry of Court shall
                   constitute and absolute waiver of its defenses, other than payment or proof of payment and Plaintiff shall
                   be entitled to a Dctault/Dcfault Final judgment for Removal of Tenant and a Writ of Possession to issue
                   forthwith without the necessity of fortlicr hearing pursuant to Section 83,232, Florida St^utcs.

                          5, Upon Defendant making timely deposit into the Registr% of Court of the sums due on Ma\.
                   2018 and May 14. 2018. the parties shall appear for mediation on May 15. 2018 at 1:30 PM.

                            DONE AND ORDERED in Chambers at Miami-Dade County, Florida, on 05/10/18.




                                                                ALEXANDER S. BOKOR
                                                                COUNTY COURT JUDGE

                   The parties served with this Order are indicated in the accompanying U t h Circuit email
                   confirmation which includes all emails provided by the submitter. The movant shall




         https://www2.miami-dadeclerk.com/ocs/ViewerHTML5.aspx?QS=B6%2f9EwnZlIiih%2b...                                         5/30/2018
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page
                                                                       Page2 414
                                                                             of2 of
                                      645




             IMMEDIATELY serve a true and correct copy of this Order, by mail, fecsimile, email or
             hand-delivery, to all parties/counsel of record for whom service is not indicated by the
             accompanying 11th Circuit confirmation, and file proof of service with the Clerk of Court.

             Signed original order sent electronically to the Clerk of Courts for filing in the Court file.
             Conformed copies to:                                   ^     . ^,   ^^   ,

             JOSEPH R. C O L L E T T I . P A
             Anomcx for PlaimifT

             A L E X A N D E R E B O R E L L . ESQ
             Attomcv for Defendant                              <




                                                     X   , 0-       t*^




  https://\v\v\v2.miami-dadeclerk.coni/ocsA^ie\verHTML5.aspx?QS=B6%2f9E\vnZIIiih%2b..                         5/30/2018
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 415 of
                                      645


                                                                                                                           Report Image problem (https;//www2.mlami-
                                                                                 dadeclerk.com/cocmvc/reportlmageissue?CaseNumber=2018-008187-CC-
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                                W THE aRCOIT COURT OF THE ELEVQfTM JUOIOAL CWCOTT W AND FOR MDE COUNTY. F L O T O S A

                                                                                                                                         C A ^ NUMBER

                       0 CIVIL                                    MEBOOFOISPOSmON                                                   2018.««1B7-CC.|!«
                       •     OTHER                                                                                                  SKUonMo.           CC04


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                           A i i d r ^ Holiuid; Brian H a l l s i d      Aplus LSRinadon & F i M M n s , Inc.




                       PUUMTIFF ATTORNEVtS)                           M F E N D A N T ATTORNEYISl                              OATE OF HEARtNO                  TYPE

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                           a DEFAULT         DnN«.4l»G«IENT           O E*FAULT J O I X » « T          • SUMMARY J U O S S E H T        O AfflTiEO JUDMIENT

                           • MICRmrtMMtSSAt.                              AMOUNT O f JUDGMEMT                             JWXIMENT FOR THE P L A I N n F F
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                                                                          CONDITION O F IMBFOSmON

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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 416 of
                                      645
     IN T H E C O U N T Y C O U R T IN A N D F O R M I A M I - D A D E C O U N T Y , F L O R I D A

    •        S M A L L C L A I M S DIVISION

             C I V I L DIVISION                                 C A S E NO:
                                                                S E C T I O N NO:




                                                                                                                                                c=:
                                                                                                                                                CO
                                                                                                                                                CZJ




                        Plaintiff(s)                                          Defendant(s)
                                                                                                                                                en


                        ORDER              GRANTING/DENYING



                       T H I S C A U S E c a m e before tfie Court on the                _ d a y of.



    o n P L A I N T I F F ' S / P C r e r i IDAfTlT-g^Motion



                                                                                                       a n d after hearing argument of c p u n s ^ i t is



                       O R D E R E D AND           ADJUDGED:




    DAY OF.




    C o p i e s ftjmlshed t o
    P a r t i e s / C o u n s e l of R e c o r d
    117.01-207 10/03
  Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 417 of
                                        645
IN T H E COUNTY COURT IN A N D F O R
MIAMI-DADE COUNTY, FLORIDA

C I V I L D I V I S I O N «, , o n   „ /. ,            < ^
C A S E N O : ! ^ -^[^H            -^^                 ^

BRIAN HOLLAND AND ANDREA
H O L L A N D aA/a B R I A N H O L L A N D
5561 R E N T A C C O U N T

          Plaintiff,                                                                                                                               E?          r,,^
vs.                                                                                                                                                                    I?
APLUS LAMINATION & FINISHING, INC.                                                                                                          V- j J - Z
and all other occupants,                                                                                                                        '• ' • 7               -n
          Defendants.

                                                                   '                                                                                               i   CD

                                                     D E F A U L T F I N A L J U D G M E N T F O R R E M O V A L O F T E N A N T•                   -         *
                                                                                                                                                              Px        s
                       T H I S C A U S E C A M E O N T O B E H E A R D before me upon Plaintiffs Complaint for Removal o f Tenant,

          it is:

                       ORDERED AND ADJUDGED:

                                     1. That a Default Final Judgment be and the same is hereby entered in favor of Plaintiff, B R I A N

          H O L L A N D A N D A N D R E A H O L L A N D aAc/a B R I A N H O L L A N D 5561 R E N T A C C O U N T ,                                  and against the

          Defendant, A P L U S            L A M I N A T I O N & F I N I S H I N G , I N C . , a Florida Corporation, for possession o f the premises

          located at 5559 N W 3 6 * Avenue, M i a m i , Miami-Dade County, Florida 33142, for which let Writ o f Possession

          issue forthwith.

                       2.   7 T - . « ri|n;,^>;fyr           *""       ; J i i. r. ...i . n i   J.MLIL.   i   i-   u,» fjn^nn ^ f ^ ^ ^ ^ ^ ^              for which let



            D O N E A N D O R D E R E D at M i a m i , Miami-Dade County, Florida dpg-~-v                              day o f July, 20^8|.^^jp.j^                     DATED




Copies furnished to:

JOSEPH R. C O L L E T T I , P.A.
Attorney for Plaintiff
4770 Biscayne Boulevard, Suite 1400
Miami, Florida 3313


ALEXANDER E. BORELL,
Attorney for Defendant
324 Datura Street
Suite 209
West Palm Beach, F L 33401
 Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 418 of
                                       645
CGFD71 (12/1/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Southern District of Florida
                                                        www.flsb.uscourts.gov

In re: Nubia Marcella Perez                                        Case Number: 18−15825−AJC
                                                                   Chapter: 11
                                                                   County of Residence or Place of Business: Miami
                                                                   U.S. District Court Case Number:


                                    TRANSMITTAL TO DISTRICT COURT
            Appeal pursuant to 28 U.S.C. § 158, Notice of Appeal and Statement of Election filed on 9/30/2018
            Motion for Leave to Appeal (copy of appeal attached)
            Request to Expedite Appeal attached.
            Motion to Withdraw Reference pursuant to Local Rule 5011−1(C):

                              Contested       Uncontested
            Withdrawal of Reference granted by U.S. District Court
            Report and Recommendation (Motion to Withdraw Reference)


                              The Party or Parties Included in the Record to District Court:

        Appellant/Movant: Nubia Marcella Perez          Attorney: Thomas G Neusom         Attorney:
                                                        4737 N Ocean Dr #129
                                                        Fort Lauderdale, FL 33308

        Appellee/Respondent: Andrea Holland and         Attorney: Utibe I Ikpe, Esq       Attorney:
        Brain Holland
                                                        200 S Biscayne Blvd, #3200
                                                        Miami, FL 33131


        Title and Date of Order Appealed, if applicable: OMNIBUS ORDER (1) DENYING DEBTORS MOTION TO
        STRIKE FOR SUMMARY DENIAL OF LANDLORD HOLLANDS MOTION FOR SANCTIONS DUE TO LACK OF
        JURISDICTION AND SUPPLEMENT THERETO; AND (2) RESETTING LANDLORDS MOTION FOR SANCTIONS
        − Dated 8/20/18 AND ORDER DENYING DEBTORS MOTION TO CANCEL AND RESCHEDULE THE 2 P.M.
        SEPTEMBER 28, 2018 HEARIN − Dated 9/28/18

        Entered on Docket Date: 8/21/18 AND 9/28/18                Docket Number: 69 AND 76



            Designation in Appeal (See Attached)
            Designation in Cross Appeal (See Attached)
            Copy of Docket
            Exhibits:
            Copies of Transcript(s) of Hearing(s) on:

            Respondent's Answer and/or Movant's Reply
            Other:



Dated:10/2/18                                                      CLERK OF COURT
                                                                   By: Diana Cohen
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 419 of
                                      645
                                         Deputy Clerk (305) 714−1800
    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 420 of
                                          645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: skinner-g                    Page 1 of 1                          Date Rcvd: Oct 02, 2018
                                      Form ID: CGFA1                     Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 04, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
cr             +Brian Holland,   c/o Peter D. Russin, Esq.,   Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,   Miami, FL 33131-5323

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 04, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 2, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 421 of
                                      645
CGFA1 (4/11/16)



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov

                                                                                                             Case Number: 18−15825−AJC
                                                                                                             Chapter: 11




In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
 Nubia Marcella Perez
 dba A Plus Lamination & Finishing Inc
 5559 NW 36 Ave
 Miami, FL 33142

 SSN: xxx−xx−9901




                           Clerk's Certificate of Mailing of Notice of Appeal


To:

Office of the U.S. Trustee, Room 1204 Claude Pepper Federal Bldg 51 SW 1st Ave Miami FL 33130

Thomas Neusom
4737 N Ocean Dr #129
Ft. Laud, FL 33309

Utibe I Ikpe
200 South Biscayne Blvd. #3200
Miami, FL 33131


     I hereby certify, that pursuant to Bankruptcy Rule 8003, a copy of the attached
Notice of Appeal filed on 10/1/2018 was mailed on 10/4/18 to the above named parties.


Dated:10/2/18                                                                CLERK OF COURT
                                                                             By: Sheila Skinner−Grant
                                                                             Deputy Clerk (305) 714−1800


Enclosures:       Clerk's Instructions for Appeals
                  Transcript Request Form
                  Copy of Appeal




                                                                    Page 1 of 3
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 422 of
                                      645

                              United States Bankruptcy Court
                                Southern District of Florida
                                  www.flsb.uscourts.gov
                           CLERK'S INSTRUCTIONS FOR APPEALS

   1.   All notices of appeal filed in the Bankruptcy Court under Federal Rule of Bankruptcy Procedure
        8003 and 8004 shall be transmitted promptly to the Clerk of the District Court for docketing and
        the opening of a new civil case [See U.S. District Court Local Rule 87.4]. Within 14 days after filing
        the notice of appeal or entry of an order disposing of the last timely motion of a type specified in
        Bankruptcy Rule 8002(b) (whichever is later), or entry of an order by the District Court granting
        leave to appeal, the appellant shall file with the clerk of the bankruptcy court a designation of the
        items to be included in the record on appeal and a statement of issues to be presented
        (Bankruptcy Rule 8009). Failure to timely file this designation and statement of issues may
        result in dismissal of the appeal pursuant to this court's Local Rule 8009−1(A) and Local
        Rule 87.4(c), United States District Court, Southern District of Florida. The designation shall
        include the title and docket number of each paper designated.



   2.   Within 14 days after the service of the designation and the statement of issues the appellee may
        file and serve on the appellant a designation of additional items to be included in the record on
        appeal, and if the appellee has filed a cross appeal, the appellee as cross appellant shall file and
        serve a statement of issues to be presented on the cross appeal, and a designation of additional
        items to be included in the record. The appellee's designation shall include the title and docket
        number of each additional item designated.



   3.   If any transcripts of untranscribed proceedings are designated by a party, that party shall
        immediately, upon the filing of the designation, order the transcript(s) from the court reporter and
        make satisfactory arrangements for payment of its costs. All transcript orders must be made on
        the local form "Transcript Request Form" enclosed for this purpose, and a copy filed with the clerk
        at the time of filing the designation (Bankruptcy Rule 8009). On receipt of a request for a
        transcript, the reporter shall complete the Reporter's Acknowledgment and file a copy with the
        clerk (Bankruptcy Rule 8010). [See also "Guidelines on Electronic Availability of Transcripts and
        Procedures for Transcript Redaction."]



   4.   When the record is complete for purposes of the appeal, the bankruptcy clerk will electronically
        transmit the record to the clerk of the district court. Once the record has been transmitted to the
        district court, any subsequently filed document relating to the appeal must be filed in the district
        court.



   5.   Motions For Leave To Appeal (Bankruptcy Rule 8004). The clerk will electronically transmit the
        motion, notice of appeal and any answer to the clerk of the district court as soon as all parties
        have filed answers or the time for filing an answer has expired. The designation and statement of
        the issues should not be filed with the clerk of the bankruptcy court as required under Bankruptcy
        Rule 8009, until entry of an order by the district court granting leave to appeal (Local Rule
        8004−1).


                                                Page 2 of 3
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 423 of
                                      645
                                       UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF FLORIDA
                                                            OFFICE OF THE CLERK

                                                 Transcript Request Form
Submit this form to the transcription company by email, fax or postal mail: Attn: __________________________
Transcriber:_________________________________________________________________________________
Email: _______________________________ Telephone: ____________________ Fax: ___________________

Case Number: _______________________ Adversary Number: __________________ Judge: _______________

Date of Hearing or Trial: ____________________________ Time of Hearing or Trial: _____________________

Debtor(s) Name: _____________________________________________________________________________

            The transcript being requested is included as a designated item for a pending appeal.
             (If this box is checked, the requestor must also file this form with the clerk pursuant to Bankruptcy Rule
            8009. The transcriber is responsible for notifying the clerk by electronic docket entry in the case the date
            the request was received and the date on which the transcriber expects to have the transcript completed
            (See Bankruptcy Rule 8010).
Select Delivery Method:

 Check
 Box                                                        Original      First Copy to Each   Each Additional Copy
 Below                                                                    Party                to the Same Party

          Ordinary Transcript
          A transcript to be delivered within thirty (30)    $3.65         .90                  .60
          calendar days after receipt of an order.
          14−Day Transcript
          A transcript to be delivered within fourteen       $4.25         .90                  .60
          (14) calendar days after receipt of an order.
          Expedited Transcript A transcript to be
          delivered within seven                             $4.85         .90                  .60
          (7) calendar days after receipt of an order.
          Daily Transcript
          A transcript to be delivered following
          adjournment and prior to the normal opening        $6.05         1.20                 .90
          hour of the court on the following morning
          whether or not it actually is a court day.
          Hourly Transcript
          A transcript of proceedings ordered under          $7.25         1.20                 .90
          unusual circumstances to be delivered within
          two (2) hours.
By submitting this request, it is understood that:

         • A separate order must be placed for each transcript being requested.
         • All transcript requests must be submitted directly to the transcriber. Do not contact the clerk's office regarding
           the status of a request.
         • It is the responsibility of the requestor to verify that the transcript has not already been filed with the court.
         • It is the responsibility of parties to request redaction. See Local Bankruptcy Rule 5005−1(A)(2)(b), Local
           Form "Notice of Intent to Request Redaction of Transcript" (LF−61) and "Guidelines on Electronic
           Availability of Transcripts and Procedures for Transcript Redaction" (CG−11).



Print Your Name: _____________________________________________________________________________

Mailing Address: _____________________________________________________________________________

Email Address: _______________________________________________Telephone No.: ___________________
    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 424 of
                                          645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: skinner-g                    Page 1 of 1                          Date Rcvd: Oct 02, 2018
                                      Form ID: pdf004                    Total Noticed: 2


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Oct 04, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
cr             +Brian Holland,   c/o Peter D. Russin, Esq.,   Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,   Miami, FL 33131-5323

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NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

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USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
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Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 04, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

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system on October 2, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 425 of
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 426 of
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 427 of
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 428 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 429 of
                                      645
       Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 430 of
                                             645




           ORDERED in the Southern District of Florida on October 4, 2018.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No.: 18-15825-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtors.
          ____________________________________/

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN AND
                        ANDREA HOLLAND’S MOTION FOR SANCTIONS UNDER
                             BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                   THIS MATTER came before the Court for an evidentiary hearing on September 28, 2018

          upon Creditors, Brian Holland and Andrea Holland’s (“Landlord”) Motion for Sanctions under

          Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF No. 25].

                                                INTRODUCTION

                   On May 30, 2018, Landlord filed a Motion for Sanctions under Bankruptcy Rule 9011 and

          11 U.S.C. § 105 against Debtor Nubia Marcella Perez (“Debtor”) and her counsel, Thomas




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   Neusom (“Neusom”)1 alleging that Debtor and Neusom filed a bankruptcy petition in bad faith for

   the sole purpose of staying a state court eviction action brought by Landlord against A Plus

   Lamination and Finishing, Inc. At trial, the Landlord presented no evidence regarding actions

   taken by the Debtor, but it did present evidence that Debtor’s attorney, Neusom, falsely advised

   Landlord’s manager and Landlord’s state court attorney that he had filed a bankruptcy petition on

   behalf of A Plus Lamination and Finishing, Inc., the defendant in the Florida county court eviction

   action. The Court, having considered the documentary evidence, witness testimony, and counsel’s

   arguments, enters its findings of fact and conclusions of law as follows:

                                        FINDINGS OF FACT

          1.      Debtor is an individual, and a principal and (apparently) the sole owner of A Plus

   Lamination and Finishing, Inc. Ex. 19.2

          2.      A Plus Lamination and Finishing, Inc. is an active Florida Corporation, which

   entered a one-year commercial lease (“Lease”) with Landlord to rent property located at 5559 NW

   36th Avenue Miami, Florida 33142 (“Property”). Ex. 21.

          3.      The Lease’s one-year term ran from August 1, 2017 to July 31, 2018. A Plus

   Lamination and Finishing, Inc. agreed to pay $8,666.67 in monthly rent plus sales tax and fees to

   lease the Property. Id.

          4.      A Plus Lamination and Finishing, Inc. defaulted on the Lease by failing to make

   the March 1, 2018 rent payment and subsequent payments. Ex. 1.




   1
          Neusom’s Florida Bar number is 37148.
   2
          All referenced exhibits were admitted into evidence during the evidentiary hearing.
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          5.       On April 13, 2018, Landlord initiated an eviction action against A Plus Lamination

   and Finishing, Inc. in the County Court in and for Miami-Dade County, Case No. 2018-008187-

   CC-05 (“Eviction Action”).

          6.      On May 10, 2018, Judge Alexander Bokor ordered A Plus Lamination and

   Finishing, Inc. to deposit rent into the court registry (“Deposit Order”). Ex. 6.

          7.      The Deposit Order required A Plus Lamination and Finishing, Inc. (1) to deposit

   $9,000 by May 7, 2018; (2) to deposit $9,000 by May 14, 2018; and (3) to make timely deposits

   as additional rent became due. Under the Deposit Order, A Plus Lamination and Finishing, Inc.’s

   failure to make timely deposits would constitute “an absolute waiver of its defenses, other than

   payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final Judgment

   for Removal of A Plus Lamination and Finishing, Inc. and Writ of Possession to issue forthwith

   without the necessity of further hearing pursuant to Section 83.232, Florida Statutes.”

          8.      Landlord and A Plus Lamination and Finishing, Inc. were also ordered to attend

   mediation on May 15, 2018 at 1:30 pm. Id.

          9.      A Plus Lamination and Finishing, Inc. failed to deposit into the court registry the

   $9,000 due on May 14, 2018, resulting in a waiver of defenses and entitling Landlord to immediate

   default final judgment and a writ of possession.

          10.      Neusom filed an Individual Chapter 11 bankruptcy petition (“Petition”) with this

   Court on behalf of Nubia Perez on May 15, 2018, the day after A Plus Lamination and Finishing,

   Inc. failed to make the deposit required by the state court Deposit Order. D.E. 1. Neusom executed

   the Petition on page eleven as counsel for Nubia Perez. Id.

          11.     On page 2 of the Petition, Neusom alleged that Nubia Perez is a small business

   debtor that does business under the name “A Plus Lamination and Finishing, Inc.” This is false.



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   A Plus Lamination and Finishing, Inc., the tenant in the eviction action, is a duly registered Florida

   corporation. It is not a trade name or a “doing business as” name. No evidence was presented that

   would establish A Plus Lamination and Finishing, Inc. is registered as a fictitious name for Nubia

   Perez.3

             12.   Despite the fact that A Plus Lamination and Finishing, Inc. was not in bankruptcy,

   and just hours before the mediation was scheduled to proceed on May 15, 2018, Neusom called

   Desiree Lindsay (“Lindsay”), Landlord’s employee, and Joseph Colletti (“Colletti”), Landlord’s

   Eviction Action counsel and advised them both that he filed a bankruptcy petition on behalf of A

   Plus Lamination and Finishing, Inc.

             13.   Neusom left a voice message for Lindsay advising her that he filed the Petition for

   A Plus Lamination and Finishing, Inc. Neusom also had two phone conversations with Colletti on

   May 15, 2018 where Neusom advised Colletti of A Plus Lamination and Finishing, Inc.’s

   bankruptcy filing, and Neusom’s intent to file a suggestion of bankruptcy in the Eviction Action.

   He also asked Colletti for the Eviction Action case number on the second phone call.

             14.   Colletti having been orally advised by Attorney Neusom that A Plus Lamination

   and Finishing, Inc. filed a bankruptcy petition, he immediately filed a Notice of Cancellation of

   Mediation, stating, “Defendant has filed a petition for relief with the bankruptcy court.” Ex. 8

             15.   Colletti’s testimony was forthcoming, straight-forward, and credible. Colletti took

   contemporaneous handwritten notes during his conversations with Neusom. Ex. 25.




   3
          Neusom filed additional pleadings in this case where he styled the bankruptcy case with
   Debtor’s name as “Nubia Marcella Perez DBA A Plus Lamination.” This Court believes that
   Neusom intended to give the impression that A Plus Lamination and Finishing, Inc. was in
   bankruptcy. See D.E.s 19, 38, 39 and 50.
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            16.   On May 15, 2018, the state court entered an Order of Bankruptcy Stay and Closing

   Case. See Ex. 7.

            17.   During the June 20, 2018, 341 meeting of creditors, Neusom and the Debtor

   admitted that her bankruptcy petition was filed to stop the Eviction Action, an indicia of bad faith

   under Phoenix Piccadilly standards, In re Phoenix Piccadilly, Ltd., 849 F.2d 1393 (11th Cir.1988):




   Ex.18.




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   Ex. 18 at 10:6-15.

          18.     On June 28, 2018, this Court dismissed this case with prejudice, granting (1)

   Landlord’s Motion to Dismiss the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the

   Court and for Relief from the Automatic Stay [D.E. 24], (2) United States Trustee’s Motion to

   Dismiss or Convert the Case [D.E. 46], and Debtor’s Motion to Dismiss Bankruptcy [D.E. 49].

   D.E. 52.

          19.     On July 2, 2018, with no erroneously alleged automatic stay in place, Landlord filed

   a Motion for Entry of Default Final Judgment in the Eviction Action, and the state court issued a

   Writ of Possession on July 31, 2018. Exs. 11 and 17.

          20.     Although Landlord obtained a writ of possession on July 31, 2018, A Plus

   Lamination and Finishing, Inc. did not vacate the premises until August 22, 2018.

          21.     Lindsay testified that Landlord had a tenant who wished to rent the Property on

   August 1, 2018, but because A Plus Lamination and Finishing, Inc. was still in the Property, the

   new tenant could not take possession. Landlord was forced to postpone the lease with the new

   tenant by one month, with the new lease commencing September 1, 2018. Ex. 24. Consequently,

   Landlord lost one month of rent under the new lease at $9,256.00.

          22.     As a result of Debtor and Neusom’s filing of the Petition and Neusom’s fraudulent

   representations of an alleged stay of the Eviction Action, Landlord hired the law firm of Meland

   Russin and Budwick, P.A. (“MRB”) to represent it in the bankruptcy case and MRB has incurred

   $40,768.33 in legal fees. Ex. 22.

          23.     MRB’s fees include, among other things, time for attending a 341 meeting of

   creditors; researching and drafting a Motion to Dismiss the Bankruptcy Petition for Bad Faith and

   Fraud on the Court; researching and drafting a Motion for Sanctions against Debtor and Neusom;


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   preparing for and attending a hearing on the Motion to Dismiss; preparing for and attending

   multiple hearings related to the Motion for Sanctions, which was continued twice at the request of

   Attorney Neusom; witness and exhibit preparation; numerous communications with Neusom,

   including settlement discussions and the preparation of an unexecuted settlement agreement. MRB

   also attended the three and one half hour evidentiary hearing on the Motion for Sanctions on

   Friday, September 28, 2018.

          24.        Colletti testified that he, too, filed additional motions and attended additional

   hearings in the Eviction Action that would not have been necessary had Neusom not

   misrepresented a bankruptcy stay was in effect. Colletti advised the state court of the dismissal of

   this case and resumed the Eviction Action. Ex. 14. Landlord paid Colletti an additional $2,000 in

   attorney’s fees to complete the eviction and obtain the writ of possession, which had been delayed

   by Neusom’s false statements.

          25.        Neusom argued that Colletti should have independently researched whether the

   Petition was properly filed in the name of A Plus Lamination and Finishing, Inc., rather than rely

   on Neusom’s representations that A Plus Lamination and Finishing, Inc. filed bankruptcy.

          26.        Landlord presented the testimony of two credible witnesses, both of whom testified

   that Neusom told them he filed a bankruptcy petition on behalf of A Plus Lamination and

   Finishing, Inc.

          27.        Respondent rested without testifying or presenting any witnesses.

                                        CONCLUSIONS OF LAW

          Landlord seeks sanctions against Debtor and Neusom under Bankruptcy Rule 9011 and 11

   U.S.C. § 105. Bankruptcy Rule 9011 states:




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                  By presenting to the court (whether by signing, filing, submitting, or later
                  advocating) a petition, pleading, written motion, or other paper, an attorney
                  or unrepresented party is certifying that to the best of the person's
                  knowledge, information, and belief, formed after an inquiry reasonable
                  under the circumstances,

                  (1)     it is not being presented for any improper purpose, such as to
                   harass or to cause unnecessary delay or needless increase in the cost of
                   litigation;


   (emphasis added). A sanction under this rule should deter repetition of misconduct. Sanctions may

   include non-monetary directives, as well as reimbursement of attorney’s fees and other expenses.

          The Court finds Neusom’s argument, that Colletti had a duty to investigate the validity of

   Neusom’s lie about A Plus Lamination and Finishing, Inc. filing for bankruptcy relief, to be

   misguided, disingenuous, and at odds with the unambiguous language of Rule 9011. Under Rule

   9011, Neusom has the responsibility to sign and file a petition after reasonable inquiry and not for

   an improper purpose or to cause unnecessary delay. By filing the Petition, Neusom certified that

   he conducted a reasonable inquiry, and the Petition was not being brought for an improper purpose

   or to cause unnecessary delay. The Court and other members of the Bar should be able to rely on

   the representations of other licensed attorneys.

          “The purpose of the automatic stay is to give the debtor breathing room. The automatic

   stay is not to be used as an abusive litigation tactic.” In re Smith, 257 B.R. 344, 351 (Bankr. N.D.

   Ala. 2001) (“The petition is excluded from the safe harbor provision of Rule 9011 because its

   filing has immediate serious consequences.”). In this case, however, the Debtor and Neusom used

   the Petition as an abusive litigation tactic. As the testimony at the 341 meeting reveals, and the

   testimonial and documentary evidence from trial indicates, Neusom filed the individual Petition

   on behalf of the Debtor, and included A Plus Lamination and Finishing, Inc. for the improper

   purpose of misleading the state court eviction counsel and the state court judge into staying the

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   Eviction Action. Neusom misrepresented Debtor’s identity in her Petition by alleging that Nubia

   Perez was doing business as A Plus Lamination and Finishing, Inc., when A Plus Lamination and

   Finishing, Inc. is actually a registered Florida corporation.

          Neusom’s misrepresentation to Colletti [that A Plus Lamination and Finishing, Inc. was in

   bankruptcy when it was not] resulted in the cancellation of the May 15, 2018 mediation, and

   generated the entry of an Order implementing a non-existent automatic stay and withholding

   issuance of a writ of possession to which Landlord was entitled as of May 15, 2018. The timing

   of the filing of the Petition and the admissions at the 341 meeting indicate that Neusom filed the

   Nubia Perez Petition for the improper purpose of delaying the Eviction Action, which

   unnecessarily increased the cost of litigation. However, the evidence is not clear that Nubia Perez

   understood what Neusom was doing, and there was no evidence that Nubia Perez told any lie that

   contributed to the Landlord’s counsel or the state court judge being misled. While Neusom knew

   or should have known that filing the Petition as a delay tactic was improper, the same cannot be

   said for the Debtor.

          The Court has the inherent power to sanction bad faith conduct under 11 U.S.C. § 105. In

   re IAMEC Funding, Inc., 236 B.R. 490, 491 (Bankr. M.D. Fla. 1999). The bad-faith filing of a

   bankruptcy petition is sanctionable under 11 U.S.C. § 105. In re Hidalgo, 96 B.R. 389, 390 (Bankr.

   S.D. Fla. 1988). Even more serious is lying to opposing counsel in an effort to mislead him, and

   ultimately the Court. Neusom’s lies caused the Landlord to incur legal fees in the alleged amount

   of $40,768.33 to MRB and $2,000 to Colletti. Landlord also lost $9,256.00 in rent for the month

   A Plus Lamination and Finishing, Inc. held over possession of the Property. In total, Landlord

   claims it lost $52,024.33 because of Neusom’s misconduct. The Court finds that not all the

   requested fees are compensable.



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          Based on the record and evidence admitted at the evidentiary hearing, the Court concludes

   that Attorney Thomas Neusom (Florida Bar number 37148) engaged in sanctionable, bad-faith

   conduct by (1) filing the Individual Chapter 11 Petition for the purpose of stopping the Eviction

   Action against a registered Florida corporation; and (2) misrepresenting Debtor’s identity in the

   Petition to cause confusion. Neusom wrongfully obtained the benefit of the automatic stay for a

   non-debtor by misrepresenting to Lindsay and Colletti that A Plus Lamination and Finishing, Inc.

   was in bankruptcy, thereby obtaining the cancellation of the May 15, 2018 mediation and

   postponement of the issuance of the writ of possession.

          Ironically, if Neusom had filed a bankruptcy petition on behalf of the corporation, he would

   have obtained a stay without having to lie. If Neusom filed a petition on behalf of A Plus

   Lamination and Finishing, Inc., the information he provided to Lindsay and Colletti would have

   been true and he would have achieved the same results that were produced in this case by lies. The

   Court is reminded of the old U.S. Marine Corp adage, “never attribute to malice that which can be

   explained by stupidity.” It is therefore

          ORDERED AND ADJUDGED that Landlord’s Motion for Sanctions under Bankruptcy

   Rule 9011 and 11 U.S.C. § 105 is GRANTED IN PART as follows:

          1. Neusom is liable to Landlord in the total amount of $31,256, representing $2,000 in

              legal fees to Colletti; $20,000 to MRB for legal fees and $9,256.00 for lost rent. If not

              paid within thirty (30) days, Landlord may request the entry of a final judgment for the

              sanctions awarded herein.

          2. Neusom is ENJOINED from practicing bankruptcy in any bankruptcy court in the

              United States for a period of one (1) year from entry of this Order, after which Neusom

              may apply for readmission to bankruptcy practice upon compliance with all the Local



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               Rules of the Court governing admission to practice and completing a total of eighteen

               (18) hours of Continuing Legal Education, consisting of twelve (12) hours of

               Continuing Legal Education in bankruptcy law and six (6) hours of ethics.

           3. The Clerk of Court is directed to forward certified copies of this Order to The Florida

               Bar at 651 E. Jefferson Street, Tallahassee, Florida, 32399 and to the Honorable

               Alexander Bokor, County Court Judge, at Dade County Courthouse. 73 West Flagler

               Street, Miami, FL 33130

                                                    ###


   Copies furnished by Clerk of Court to:

   Debtor
   Thomas Neusom, Esq.
   Utibe Ikpe, Esq.

   Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.




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                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: cohend                       Page 1 of 1                          Date Rcvd: Oct 03, 2018
                                      Form ID: pdf004                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 05, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
cr             +Andrea Holland,   c/o Peter D. Russin, Esq.,   Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,   Miami, FL 33131-5323
cr             +Brian Holland,   c/o Peter D. Russin, Esq.,   Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,   Miami, FL 33131-5323

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 05, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 3, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
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CGFD71 (12/1/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Southern District of Florida
                                                        www.flsb.uscourts.gov

In re: Nubia Marcella Perez                                        Case Number: 18−15825−AJC
                                                                   Chapter: 11
                                                                   County of Residence or Place of Business: Miami
                                                                   U.S. District Court Case Number:


                                    TRANSMITTAL TO DISTRICT COURT
            Appeal pursuant to 28 U.S.C. § 158, Notice of Appeal and Statement of Election filed on 9/30/2018
            Motion for Leave to Appeal (copy of appeal attached)
            Request to Expedite Appeal attached.
            Motion to Withdraw Reference pursuant to Local Rule 5011−1(C):

                              Contested       Uncontested
            Withdrawal of Reference granted by U.S. District Court
            Report and Recommendation (Motion to Withdraw Reference)


                              The Party or Parties Included in the Record to District Court:

        Appellant/Movant: Nubia Marcella Perez          Attorney: Thomas G Neusom         Attorney:
                                                        4737 N Ocean Dr #129
                                                        Fort Lauderdale, FL 33308

        Appellee/Respondent: Andrea Holland and         Attorney: Utibe I Ikpe, Esq       Attorney:
        Brain Holland
                                                        200 S Biscayne Blvd, #3200
                                                        Miami, FL 33131


        Title and Date of Order Appealed, if applicable: OMNIBUS ORDER (1) DENYING DEBTORS MOTION TO
        STRIKE FOR SUMMARY DENIAL OF LANDLORD HOLLANDS MOTION FOR SANCTIONS DUE TO LACK OF
        JURISDICTION AND SUPPLEMENT THERETO; AND (2) RESETTING LANDLORDS MOTION FOR SANCTIONS
        − Dated 8/20/18 AND ORDER DENYING DEBTORS MOTION TO CANCEL AND RESCHEDULE THE 2 P.M.
        SEPTEMBER 28, 2018 HEARIN − Dated 9/28/18

        Entered on Docket Date: 8/21/18 AND 9/28/18                Docket Number: 69 AND 76



            Designation in Appeal (See Attached)
            Designation in Cross Appeal (See Attached)
            Copy of Docket
            Exhibits:
            Copies of Transcript(s) of Hearing(s) on:

            Respondent's Answer and/or Movant's Reply
            Other:



Dated:10/2/18                                                      CLERK OF COURT
                                                                   By: Diana Cohen
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 443 of
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                                         Deputy Clerk (305) 714−1800
    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 444 of
                                          645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 1                          Date Rcvd: Oct 05, 2018
                                      Form ID: pdf004                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 07, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
               +Florida Bar,   651 E Jefferson St,   Tallahassee, FL 32399-2300
               +Honorable Alexander Bokor,   County Court Judge,   73 West Flagler St,   Miami, FL 33130-1731

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 07, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 5, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
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           ORDERED in the Southern District of Florida on October 4, 2018.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No.: 18-15825-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtors.
          ____________________________________/

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN AND
                        $1'5($+2//$1'¶6027ION FOR SANCTIONS UNDER
                             BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                   THIS MATTER came before the Court for an evidentiary hearing on September 28, 2018

          upon Creditors, Brian Holland and Andrea Holland¶V ³Landlord´ 0RWLRQIRU6DQFWLRQVXQGHU

          Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF No. 25].

                                                INTRODUCTION

                   On May 30, 2018, Landlord filed a Motion for Sanctions under Bankruptcy Rule 9011 and

          11 U.S.C. § 105 DJDLQVW 'HEWRU 1XELD 0DUFHOOD 3HUH] ³Debtor´  DQG KHU FRXQVHO 7KRPDV




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      1HXVRP ³Neusom´)1 alleging that Debtor and Neusom filed a bankruptcy petition in bad faith for

      the sole purpose of staying a state court eviction action brought by Landlord against A Plus

      Lamination and Finishing, Inc. At trial, the Landlord presented no evidence regarding actions

      WDNHQE\WKH'HEWRUEXWLWGLGSUHVHQWHYLGHQFHWKDW'HEWRU¶VDWWRUQH\1HXVRPIDOVHO\DGYLVHG

      /DQGORUG¶VPDQDJHUDQG/DQGORUG¶VVWDWHFRXUWDWWRUQH\WKDW he had filed a bankruptcy petition on

      behalf of A Plus Lamination and Finishing, Inc., the defendant in the Florida county court eviction

      action. 7KH&RXUWKDYLQJFRQVLGHUHGWKHGRFXPHQWDU\HYLGHQFHZLWQHVVWHVWLPRQ\DQGFRXQVHO¶V

      arguments, enters its findings of fact and conclusions of law as follows:

                                           FINDINGS OF FACT

             1.      Debtor is an individual, and a principal and (apparently) the sole owner of A Plus

      Lamination and Finishing, Inc. Ex. 19.2

             2.      A Plus Lamination and Finishing, Inc. is an active Florida Corporation, which

      entered a one-\HDUFRPPHUFLDOOHDVH ³Lease´ ZLWK/DQGORUGWRUHQWSURSHUW\ORFDWHGDW1:

      WK$YHQXH0LDPL)ORULGD ³Property´  Ex. 21.

             3.      7KH /HDVH¶V RQH-year term ran from August 1, 2017 to July 31, 2018. A Plus

      Lamination and Finishing, Inc. agreed to pay $8,666.67 in monthly rent plus sales tax and fees to

      lease the Property. Id.

             4.      A Plus Lamination and Finishing, Inc. defaulted on the Lease by failing to make

      the March 1, 2018 rent payment and subsequent payments. Ex. 1.




      1
             NeusRP¶VFlorida Bar number is 37148.
      2
             All referenced exhibits were admitted into evidence during the evidentiary hearing.
                                                       2
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             5.       On April 13, 2018, Landlord initiated an eviction action against A Plus Lamination

      and Finishing, Inc. in the County Court in and for Miami-Dade County, Case No. 2018-008187-

      CC- ³Eviction Action´ 

             6.      On May 10, 2018, Judge Alexander Bokor ordered A Plus Lamination and

      Finishing, Inc. WRGHSRVLWUHQWLQWRWKHFRXUWUHJLVWU\ ³Deposit Order´  Ex. 6.

             7.      The Deposit Order required A Plus Lamination and Finishing, Inc. (1) to deposit

      $9,000 by May 7, 2018; (2) to deposit $9,000 by May 14, 2018; and (3) to make timely deposits

      as additional rent became due. Under the Deposit Order, A Plus Lamination and Finishing, Inc.¶V

      failure to make timely deposits would FRQVWLWXWH³an absolute waiver of its defenses, other than

      payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final Judgment

      for Removal of A Plus Lamination and Finishing, Inc. and Writ of Possession to issue forthwith

      ZLWKRXWWKHQHFHVVLW\RIIXUWKHUKHDULQJSXUVXDQWWR6HFWLRQ)ORULGD6WDWXWHV´

             8.      Landlord and A Plus Lamination and Finishing, Inc. were also ordered to attend

      mediation on May 15, 2018 at 1:30 pm. Id.

             9.      A Plus Lamination and Finishing, Inc. failed to deposit into the court registry the

      $9,000 due on May 14, 2018, resulting in a waiver of defenses and entitling Landlord to immediate

      default final judgment and a writ of possession.

             10.      Neusom filed an Individual Chapter 11 bankruptcy petition (³3HWLWLRQ´ ZLWKWKLV

      Court on behalf of Nubia Perez on May 15, 2018, the day after A Plus Lamination and Finishing,

      Inc. failed to make the deposit required by the state court Deposit Order. D.E. 1. Neusom executed

      the Petition on page eleven as counsel for Nubia Perez. Id.

             11.     On page 2 of the Petition, Neusom alleged that Nubia Perez is a small business

      debtor that does business under the name ³A Plus Lamination and Finishing, Inc.´7KLVLVIDOVH



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      A Plus Lamination and Finishing, Inc., the tenant in the eviction action, is a duly registered Florida

      corporation. ,WLVQRWDWUDGHQDPHRUD³GRLQJEXVLQHVVDV´QDPHNo evidence was presented that

      would establish A Plus Lamination and Finishing, Inc. is registered as a fictitious name for Nubia

      Perez.3

                12.   Despite the fact that A Plus Lamination and Finishing, Inc. was not in bankruptcy,

      and just hours before the mediation was scheduled to proceed on May 15, 2018, Neusom called

      Desiree Lindsay ³Lindsay´ /DQGORUG¶VHPSOR\HH, and Joseph Colletti ³Colletti´ , /DQGORUG¶V

      Eviction Action counsel and advised them both that he filed a bankruptcy petition on behalf of A

      Plus Lamination and Finishing, Inc.

                13.   Neusom left a voice message for Lindsay advising her that he filed the Petition for

      A Plus Lamination and Finishing, Inc. Neusom also had two phone conversations with Colletti on

      May 15, 2018 where Neusom advised Colletti of A Plus Lamination and Finishing, Inc.¶V

      EDQNUXSWF\ILOLQJDQG1HXVRP¶VLQWHQWWRIile a suggestion of bankruptcy in the Eviction Action.

      He also asked Colletti for the Eviction Action case number on the second phone call.

                14.   Colletti having been orally advised by Attorney Neusom that A Plus Lamination

      and Finishing, Inc. filed a bankruptcy petition, he immediately filed a Notice of Cancellation of

      Mediation, stating, ³'HIHQGDQWKDVILOHGDSHWLWLRQIRUUHOLHIZLWKWKHEDQNUXSWF\FRXUW´([

                15.   Colletti¶VWHVWLPRQ\ZDVforthcoming, straight-forward, and credible. Colletti took

      contemporaneous handwritten notes during his conversations with Neusom. Ex. 25.




      3
             Neusom filed additional pleadings in this case where he styled the bankruptcy case with
      'HEWRU¶VQDPHDV³Nubia Marcella Perez DBA A Plus Lamination´7KLV&RXUWbelieves that
      Neusom intended to give the impression that A Plus Lamination and Finishing, Inc. was in
      bankruptcy. See D.E.s 19, 38, 39 and 50.
                                                        4
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               16.   On May 15, 2018, the state court entered an Order of Bankruptcy Stay and Closing

      Case. See Ex. 7.

               17.   During the June 20, 2018, 341 meeting of creditors, Neusom and the Debtor

      admitted that her bankruptcy petition was filed to stop the Eviction Action, an indicia of bad faith

      under Phoenix Piccadilly standards, In re Phoenix Piccadilly, Ltd., 849 F.2d 1393 (11th Cir.1988):




      Ex.18.




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      Ex. 18 at 10:6-15.

             18.     On June 28, 2018, this Court dismissed this case with prejudice, granting (1)

      /DQGORUG¶VMotion to Dismiss the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the

      Court and for Relief from the Automatic Stay [D.E. 24], (2) 8QLWHG6WDWHV7UXVWHH¶V0RWLRQWR

      Dismiss or Convert the Case [D.E. 46], and 'HEWRU¶V0RWLon to Dismiss Bankruptcy [D.E. 49].

      D.E. 52.

             19.     On July 2, 2018, with no erroneously alleged automatic stay in place, Landlord filed

      a Motion for Entry of Default Final Judgment in the Eviction Action, and the state court issued a

      Writ of Possession on July 31, 2018. Exs. 11 and 17.

             20.     Although Landlord obtained a writ of possession on July 31, 2018, A Plus

      Lamination and Finishing, Inc. did not vacate the premises until August 22, 2018.

             21.     Lindsay testified that Landlord had a tenant who wished to rent the Property on

      August 1, 2018, but because A Plus Lamination and Finishing, Inc. was still in the Property, the

      new tenant could not take possession. Landlord was forced to postpone the lease with the new

      tenant by one month, with the new lease commencing September 1, 2018. Ex. 24. Consequently,

      Landlord lost one month of rent under the new lease at $9,256.00.

             22.     As a result RI'HEWRUDQG1HXVRP¶VILOLQJRIWKH3HWLWLRQDQG1HXVRP¶VIUDXGXOHQW

      representations of an alleged stay of the Eviction Action, Landlord hired the law firm of Meland

      Russin and Budwick3$ ³MRB´ to represent it in the bankruptcy case and MRB has incurred

      $40,768.33 in legal fees. Ex. 22.

             23.     05%¶V IHHV LQFOXGH DPRQJ other things, time for attending a 341 meeting of

      creditors; researching and drafting a Motion to Dismiss the Bankruptcy Petition for Bad Faith and

      Fraud on the Court; researching and drafting a Motion for Sanctions against Debtor and Neusom;


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      preparing for and attending a hearing on the Motion to Dismiss; preparing for and attending

      multiple hearings related to the Motion for Sanctions, which was continued twice at the request of

      Attorney Neusom; witness and exhibit preparation; numerous communications with Neusom,

      including settlement discussions and the preparation of an unexecuted settlement agreement. MRB

      also attended the three and one half hour evidentiary hearing on the Motion for Sanctions on

      Friday, September 28, 2018.

             24.        Colletti testified that he, too, filed additional motions and attended additional

      hearings in the Eviction Action that would not have been necessary had Neusom not

      misrepresented a bankruptcy stay was in effect. Colletti advised the state court of the dismissal of

      this case and resumed the Eviction Action. Ex. 14. Landlord paid Colletti an additional $2,000 in

      DWWRUQH\¶VIHHVto complete the eviction and obtain the writ of possession, which had been delayed

      E\1HXVRP¶VIDOVHVWDWHPHQWV.

             25.        Neusom argued that Colletti should have independently researched whether the

      Petition was properly filed in the name of A Plus Lamination and Finishing, Inc., rather than rely

      RQ1HXVRP¶VUHSUHVHQWDWLRQVWKDW$3OXV/DPLQDWLRQ and Finishing, Inc. filed bankruptcy.

             26.        Landlord presented the testimony of two credible witnesses, both of whom testified

      that Neusom told them he filed a bankruptcy petition on behalf of A Plus Lamination and

      Finishing, Inc.

             27.        Respondent rested without testifying or presenting any witnesses.

                                           CONCLUSIONS OF LAW

             Landlord seeks sanctions against Debtor and Neusom under Bankruptcy Rule 9011 and 11

      U.S.C. § 105. Bankruptcy Rule 9011 states:




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                     By presenting to the court (whether by signing, filing, submitting, or later
                     advocating) a petition, pleading, written motion, or other paper, an attorney
                     or unrepresented party is certifying that to the best of the person's
                     knowledge, information, and belief, formed after an inquiry reasonable
                     under the circumstances,

                     (1)     it is not being presented for any improper purpose, such as to
                      harass or to cause unnecessary delay or needless increase in the cost of
                      litigation;


      (emphasis added). A sanction under this rule should deter repetition of misconduct. Sanctions may

      include non-monetary directives, as well as reimbursement of DWWRUQH\¶VIHHV and other expenses.

             7KH&RXUWILQGV1HXVRP¶Vargument, that Colletti had a duty to investigate the validity of

      1HXVRP¶V lie about A Plus Lamination and Finishing, Inc. filing for bankruptcy relief, to be

      misguided, disingenuous, and at odds with the unambiguous language of Rule 9011. Under Rule

      9011, Neusom has the responsibility to sign and file a petition after reasonable inquiry and not for

      an improper purpose or to cause unnecessary delay. By filing the Petition, Neusom certified that

      he conducted a reasonable inquiry, and the Petition was not being brought for an improper purpose

      or to cause unnecessary delay. The Court and other members of the Bar should be able to rely on

      the representations of other licensed attorneys.

             ³The purpose of the automatic stay is to give the debtor breathing room. The automatic

      stay is not to be used as an abusivHOLWLJDWLRQWDFWLF´ In re Smith, 257 B.R. 344, 351 (Bankr. N.D.

      $OD  ³7KHSHWLWLRQLV H[FOXGHGIURPWKHVDIHKDUERUSURYLVLRQ RI 5XOHEHFDXVHLWV

      ILOLQJKDVLPPHGLDWHVHULRXVFRQVHTXHQFHV´  In this case, however, the Debtor and Neusom used

      the Petition as an abusive litigation tactic. As the testimony at the 341 meeting reveals, and the

      testimonial and documentary evidence from trial indicates, Neusom filed the individual Petition

      on behalf of the Debtor, and included A Plus Lamination and Finishing, Inc. for the improper

      purpose of misleading the state court eviction counsel and the state court judge into staying the

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      Eviction Action. 1HXVRPPLVUHSUHVHQWHG'HEWRU¶VLGHQWLW\LQKHr Petition by alleging that Nubia

      Perez was doing business as A Plus Lamination and Finishing, Inc., when A Plus Lamination and

      Finishing, Inc. is actually a registered Florida corporation.

             Neusom¶V misrepresentation to Colletti [that A Plus Lamination and Finishing, Inc. was in

      bankruptcy when it was not] resulted in the cancellation of the May 15, 2018 mediation, and

      generated the entry of an Order implementing a non-existent automatic stay and withholding

      issuance of a writ of possession to which Landlord was entitled as of May 15, 2018. The timing

      of the filing of the Petition and the admissions at the 341 meeting indicate that Neusom filed the

      Nubia Perez Petition for the improper purpose of delaying the Eviction Action, which

      unnecessarily increased the cost of litigation. However, the evidence is not clear that Nubia Perez

      understood what Neusom was doing, and there was no evidence that Nubia Perez told any lie that

      FRQWULEXWHGWRWKH/DQGORUG¶VFRXQVHORUWKHVWDWHFRXUWMXGJHEHLQJPLVOHG:KLOHNeusom knew

      or should have known that filing the Petition as a delay tactic was improper, the same cannot be

      said for the Debtor.

             The Court has the inherent power to sanction bad faith conduct under 11 U.S.C. § 105. In

      re IAMEC Funding, Inc., 236 B.R. 490, 491 (Bankr. M.D. Fla. 1999). The bad-faith filing of a

      bankruptcy petition is sanctionable under 11 U.S.C. § 105. In re Hidalgo, 96 B.R. 389, 390 (Bankr.

      S.D. Fla. 1988). Even more serious is lying to opposing counsel in an effort to mislead him, and

      ultimately the Court. 1HXVRP¶VOLHV caused the Landlord to incur legal fees in the alleged amount

      of $40,768.33 to MRB and $2,000 to Colletti. Landlord also lost $9,256.00 in rent for the month

      A Plus Lamination and Finishing, Inc. held over possession of the Property. In total, Landlord

      claims it lost $52,024.33 because of Neusom¶V misconduct. The Court finds that not all the

      requested fees are compensable.



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             Based on the record and evidence admitted at the evidentiary hearing, the Court concludes

      that Attorney Thomas Neusom (Florida Bar number 37148) engaged in sanctionable, bad-faith

      conduct by (1) filing the Individual Chapter 11 Petition for the purpose of stopping the Eviction

      Action against a registered Florida corporation; and  PLVUHSUHVHQWLQJ'HEWRU¶VLGHQWLWy in the

      Petition to cause confusion. Neusom wrongfully obtained the benefit of the automatic stay for a

      non-debtor by misrepresenting to Lindsay and Colletti that A Plus Lamination and Finishing, Inc.

      was in bankruptcy, thereby obtaining the cancellation of the May 15, 2018 mediation and

      postponement of the issuance of the writ of possession.

             Ironically, if Neusom had filed a bankruptcy petition on behalf of the corporation, he would

      have obtained a stay without having to lie. If Neusom filed a petition on behalf of A Plus

      Lamination and Finishing, Inc., the information he provided to Lindsay and Colletti would have

      been true and he would have achieved the same results that were produced in this case by lies. The

      Court is reminded of the old U.S. 0DULQH&RUSDGDJH³QHYHUDWWULEXWHWRPDOLFHWKDWZKLFKFDQEH

      H[SODLQHGE\VWXSLGLW\´It is therefore

             ORDERED AND ADJUDGED that LDQGORUG¶V0RWLRQIRU6DQFWLRQV under Bankruptcy

      Rule 9011 and 11 U.S.C. § 105 is GRANTED IN PART as follows:

             1. Neusom is liable to Landlord in the total amount of $31,256, representing $2,000 in

                 legal fees to Colletti; $20,000 to MRB for legal fees and $9,256.00 for lost rent. If not

                 paid within thirty (30) days, Landlord may request the entry of a final judgment for the

                 sanctions awarded herein.

             2. Neusom is ENJOINED from practicing bankruptcy in any bankruptcy court in the

                 United States for a period of one (1) year from entry of this Order, after which Neusom

                 may apply for readmission to bankruptcy practice upon compliance with all the Local



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                  Rules of the Court governing admission to practice and completing a total of eighteen

                  (18) hours of Continuing Legal Education, consisting of twelve (12) hours of

                  Continuing Legal Education in bankruptcy law and six (6) hours of ethics.

              3. The Clerk of Court is directed to forward certified copies of this Order to The Florida

                  Bar at 651 E. Jefferson Street, Tallahassee, Florida, 32399 and to the Honorable

                  Alexander Bokor, County Court Judge, at Dade County Courthouse. 73 West Flagler

                  Street, Miami, FL 33130

                                                       ###


      Copies furnished by Clerk of Court to:

      Debtor
      Thomas Neusom, Esq.
      Utibe Ikpe, Esq.

      Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
      Certificate of Service.




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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-AJC

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

                                         CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the Findings of Fact and

   Conclusions of Law on Brian and Andrea Holland’s Motion for Sanctions Under Bankruptcy Rule

   9011 and 11 U.S.C. § 105 [ECF No. 91] was served on October 5, 2018, via the Court’s Notice of

   Electronic Filing upon registered Users listed on the attached Exhibit 1.

            Dated: October 8, 2018.

                                                         s/ Utibe I. Ikpe
                                                         Peter D. Russin, Esquire
                                                         Florida Bar No. 765902
                                                         prussin@meladnrussin.com
                                                         Utibe I. Ikpe, Esquire
                                                         Florida Bar Number: 90301
                                                         uikpe@melandrussin.com
                                                         MELAND RUSSIN & BUDWICK, P.A.
                                                         3200 Southeast Financial Center
                                                         200 South Biscayne Boulevard
                                                         Miami, Florida 33131
                                                         Telephone: (305) 358-6363
                                                         Telecopy: (305) 358-1221

                                                         Attorneys for Brian Holland and Andrea Holland




                                                             1
                                        LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
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From:FLSB_ECF_Notification@FLSB.USCOURTS.GOV
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Subject:18-15825-AJC Findings of Fact and Conclusions of Law

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and 30-page limit do not apply.

                                                                          U.S. Bankruptcy Court

                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Snipes, Jeanne entered on 10/5/2018 at 5:20 AM EDT and filed on 10/5/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 91

Docket Text:
Findings of Fact and Conclusions of Law On Brian and Andrea Holland's Motion For Sanctions Under Bankruptcy Rule 9011 and 11 U.S.C. § 105 (Re: [25] Motion for
Sanctions filed by Creditor Brian Holland, Creditor Andrea Holland). (Snipes, Jeanne)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:nubia_revised.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1068065210 [Date=10/5/2018] [FileNumber=46183117-
0] [41fb242d26b04feec0adbed0b10934c061d2079860e549f072e66112b5849218c4
9b2b0802efb792dfcbaa45544a81101a88f3930a129a35789926802f320339]]

18-15825-AJC Notice will be electronically mailed to:

Johanna Armengol on behalf of U.S. Trustee Office of the US Trustee
Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov

Utibe I Ikpe on behalf of Creditor Andrea Holland
uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Utibe I Ikpe on behalf of Creditor Brian Holland
uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
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Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Nathalie C. Rodriguez on behalf of Creditor Nationstar Mortgage LLC
nrodriguez@rasflaw.com

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Howard S Toland on behalf of Creditor Newtek Small Business Finance Inc
htoland@mitrani.com

Howard S Toland on behalf of Creditor Valley National Bank
htoland@mitrani.com




                                                                                                                                                Exhibit 1
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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


   In re:                                                                   Case No.: 18-15825-AJC

   NUBIA MARCELLA PEREZ,                                                    Chapter 11

                Debtors.
   ____________________________________/

                                         CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that true and correct copies of the following were served in the
   manner indicated:

            1.      Order Denying Debtor’s Motion In Limine to the Testimony of Joseph Colletti and

   for Summary Denial of Landlord Holland’s Motion for Sanctions [ECF No. 74] [ECF No. 82],

   was served on October 2, 2018, via the Court’s Notice of Electronic Filing upon the Registered

   Users listed on the attached Exhibit 1;

            2.      Order Denying Debtor’s Motion for Rehearing of the Denial of the Motion to

   Abstain from Hearing, Strike, or Summarily Deny Landlord Holland’s Motion for Sanctions Due

   to Lack of Jurisdiction and Other Grounds [ECF No. 75] [ECF No. 83], was served on October 2,

   2018, via the Court’s Notice of Electronic Filing upon the Registered Users listed on the attached

   Exhibit 2;




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                                                             1
                                        LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 459 of
                                      645




          3.       Order Denying Debtor’s Objection to the Testimony of Colletti and Motion to Strike

   for Summary Denial of Landlord Holland’s Motion for Sanctions [ECF No. 84], was served on

   October 2, 2018, via the Court’s Notice of Electronic Filing upon the Registered Users listed on

   the attached Exhibit 3.



                                                        s/ Utibe I. Ikpe
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                                                        Utibe I. Ikpe, Esquire
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                                                        Attorneys for Brian Holland and Andrea Holland




                                                            2
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                                      645


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To:Courtmail@localhost.localdomain
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Do not notice for BK case:

Message-Id:<46160349@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Order on Miscellaneous Motion

Content-Type: text/html

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                                                                          U.S. Bankruptcy Court

                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Snipes, Jeanne entered on 10/2/2018 at 2:32 PM EDT and filed on 10/2/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 82

Docket Text:
Order Denying Debtor's Motion In Limine to the Testimony of Joseph Colletti and For Summary Denial of Landlord Holland's Motion For Sanctions Re: # [74] (Snipes,
Jeanne)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:Denial_Order_ECF_No._74_(02172961xA9CE2).pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1068065210 [Date=10/2/2018] [FileNumber=46160347-
0] [c711742c2889a88efbd6ec96d767e682eda94799caf836d9f7c8162793792d10a2
3598be86f724025bdf5575a0f3862164acb0cd99386afda1f682066f3d4ab3]]

18-15825-AJC Notice will be electronically mailed to:

Johanna Armengol on behalf of U.S. Trustee Office of the US Trustee
Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov

Utibe I Ikpe on behalf of Creditor Andrea Holland
uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

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uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice35@gmail.com

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Nathalie C. Rodriguez on behalf of Creditor Nationstar Mortgage LLC
nrodriguez@rasflaw.com

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Howard S Toland on behalf of Creditor Newtek Small Business Finance Inc
htoland@mitrani.com

Howard S Toland on behalf of Creditor Valley National Bank
htoland@mitrani.com




                                                                                                                                                Exhibit 1
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                                      645


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Message-Id:<46160442@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Order on Miscellaneous Motion

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                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Snipes, Jeanne entered on 10/2/2018 at 2:36 PM EDT and filed on 10/2/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 83

Docket Text:
Order Denying Debtor's Motion For Rehearing of the Denial of the Motion to Abstain From Hearing, Strike, or Summarily Deny Landlord Holland's Motion For Sanctions
Due to Lack of Jurisdiction and Other Grounds Re: # [75] (Snipes, Jeanne)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:Denial_Order_ECF_No._75_(02172963xA9CE2).pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1068065210 [Date=10/2/2018] [FileNumber=46160440-
0] [1b698ed66b226a5644c3ba26af8e82aefd633044782ce738fd0f8b31f4970855e2
0411999fb2421ea1de9dbede22f5ef73b2b98eb291f61beb70e3793e700889]]

18-15825-AJC Notice will be electronically mailed to:

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Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov

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uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

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uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice35@gmail.com

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USTPRegion21.MM.ECF@usdoj.gov

Nathalie C. Rodriguez on behalf of Creditor Nationstar Mortgage LLC
nrodriguez@rasflaw.com

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ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

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ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

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                                                                                                                                                Exhibit 2
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                                      645


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Do not notice for BK case:

Message-Id:<46160500@FLSB.USCOURTS.GOV>
Subject:18-15825-AJC Order on Miscellaneous Motion

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                                                                       Southern District of Florida

Notice of Electronic Filing

The following transaction was received from Snipes, Jeanne entered on 10/2/2018 at 2:39 PM EDT and filed on 10/2/2018
Case Name:           Nubia Marcella Perez
Case Number:         18-15825-AJC
Document Number: 84

Docket Text:
Order Over Ruling Debtor's Objection to the Testimony of Colletti and Motion to Strike For Summary Denial of Landlord Holland's Motion For Sanctions Re: # [73] (Snipes,
Jeanne)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:order.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1068065210 [Date=10/2/2018] [FileNumber=46160498-
0] [186ca3aa1f2a7c08adc3eccc0a2739dea67492570b2fd8d03848ce1f385b2e2f3c
b2b7558d93d29dcf0a4469591bc575cb9e420c5d43c216e9914cb4157590fd]]

18-15825-AJC Notice will be electronically mailed to:

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Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov

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uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

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uikpe@melandrussin.com, ltannenbaum@melandrussin.com;mrbnefs@yahoo.com

Thomas G Neusom on behalf of Debtor Nubia Marcella Perez
tgnoffice35@gmail.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

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ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com

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                                                                                                                                                Exhibit 3
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                                      645




     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4    DEBTOR                                             CASE NO: 18-15825
     5
                                                             DEBTORS AND COUNSEL’S MOTION
          NUJBIA MAR ELLA PEREZ.                             FOR RECUSAL OF JUDGE A. JAY
     6
                                                             CRISTOL
     7
                                                                1. ABSTENTION
     8                                                          2. MOTION TO STRIKE
     9                                                          3. LACK OF PRIVITY
                                                                4. ASSUMPTION OF RISK
    10                                                          5. LAW OF THE CASE
                                                                6. INCOMPETENT STATE COURT
    11                                                       LITIGATION
                                                                7. 21 DAY SAFE HARBOR
    12
                                                             NONCOMPLIANCE
    13                                                          8. RES JUDICATA AND
                                                             COLLATERAL ESTOPPEL FROM
    14                                                       STATE EVICTION CASE
                                                                9. EQUAL PROTECTION CLAUSE
    15
    16
    17
    18
    19
    20
         COMES NOW, Attorney Thomas Neuom and Nubia Perez’s, requesting that
    21   Judge Cristol recuse himself from this case.
    22
    23   The Court has been presented with a Motion for sanctions and it has wrongfully granted the
         motion. This is clear error and Debtor and Debtor’s Counsel respectfully request that the Court
    24   recuse itself and let us get a new Judge who will hopefully be more objective and fair.
    25
    26
    27
                                                         1
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     1                      Rule 5004. Disqualification
     2
          (a) Disqualification of Judge. A bankruptcy judge shall be governed by 28 U.S.C. §455, and disqualified
     3    from presiding over the proceeding or contested matter in which the disqualifying circumstances arises or,
          if appropriate, shall be disqualified from presiding over the case.
     4    (b) Disqualification of Judge from Allowing Compensation. A bankruptcy judge shall be disqualified
          from allowing compensation to a person who is a relative of the bankruptcy judge or with whom the judge
     5    is so connected as to render it improper for the judge to authorize such compensation.

     6
     7         8 U.S. Code § 455 - Disqualification of justice,
     8                  judge, or magistrate judge
     9   US Code
         Notes
    10                                                                                  prev | next
          (a)
    11    Any justice, judge, or magistrate judge of the United States shall disqualify himself
          in any proceeding in which his impartiality might reasonably be questioned.
    12    (b) He shall also disqualify himself in the following circumstances:
          (1)
    13
          Where he has a personal bias or prejudice concerning a party, or personal
    14    knowledge of disputed evidentiary facts concerning the proceeding;
          (2)
    15    Where in private practice he served as lawyer in the matter in controversy, or a
          lawyer with whom he previously practiced law served during such association as a
    16    lawyer concerning the matter, or the judge or such lawyer has been a material
          witness concerning it;
    17
          (3)
    18    Where he has served in governmental employment and in such capacity
          participated as counsel, adviser or material witness concerning the proceeding or
    19    expressed an opinion concerning the merits of the particular case in controversy;
          (4)
    20    He knows that he, individually or as a fiduciary, or his spouse or minor child
          residing in his household, has a financial interest in the subject matter in
    21    controversy or in a party to the proceeding, or any other interest that could be
    22    substantially affected by the outcome of the proceeding;
          (5) He or his spouse, or a person within the third degree of relationship to either of
    23    them, or the spouse of such a person:
          (i)
    24    Is a party to the proceeding, or an officer, director, or trustee of a party;
          (ii)
    25    Is acting as a lawyer in the proceeding;
    26    (iii)
          Is known by the judge to have an interest that could be substantially affected by
    27
                                                              2
    28
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 465 of
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         the outcome of the proceeding;
     1   (iv)
     2   Is to the judge’s knowledge likely to be a material witness in the proceeding.

     3
     4
         A review of Rule 9011 clearly shows that granting the Sanctions motion was illegal.
     5
     6    Rule 9011. Signing of Papers; Representations to
     7     the Court; Sanctions; Verification and Copies of
     8                         Papers
     9   (a) SIGNATURE. Every petition, pleading, written motion, and other paper, except a
         list, schedule, or statement, or amendments thereto, shall be signed by at least one
    10   attorney of record in the attorney's individual name. A party who is not represented
         by an attorney shall sign all papers. Each paper shall state the signer's address and
    11   telephone number, if any. An unsigned paper shall be stricken unless omission of
         the signature is corrected promptly after being called to the attention of the
    12   attorney or party.
    13   (b) REPRESENTATIONS TO THE COURT. By presenting to the court (whether by signing,
         filing, submitting, or later advocating) a petition, pleading, written motion, or other
    14   paper, an attorney or unrepresented party is certifying that to the best of the
    15   person's knowledge, information, and belief, formed after an inquiry reasonable
         under the circumstances,— 1
    16        (1) it is not being presented for any improper purpose, such as to harass or to
            cause unnecessary delay or needless increase in the cost of litigation;
    17
             (2) the claims, defenses, and other legal contentions therein are warranted by
    18     existing law or by a nonfrivolous argument for the extension, modification, or
           reversal of existing law or the establishment of new law;
    19
             (3) the allegations and other factual contentions have evidentiary support or, if
    20     specifically so identified, are likely to have evidentiary support after a reasonable
           opportunity for further investigation or discovery; and
    21
             (4) the denials of factual contentions are warranted on the evidence or, if
    22     specifically so identified, are reasonably based on a lack of information or belief.

    23   (c) SANCTIONS. If, after notice and a reasonable opportunity to respond, the court
         determines that subdivision (b) has been violated, the court may, subject to the
    24   conditions stated below, impose an appropriate sanction upon the attorneys, law
         firms, or parties that have violated subdivision (b) or are responsible for the
    25   violation.
    26       (1) How Initiated.

    27
                                                        3
    28
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                                      645




                (A) By Motion. A motion for sanctions under this rule shall be made
     1       separately from other motions or requests and shall describe the specific
     2       conduct alleged to violate subdivision (b). It shall be served as provided in Rule
             7004. The motion for sanctions may not be filed with or presented to the court
     3       unless, within 21 days after service of the motion (or such other period as the
             court may prescribe), the challenged paper, claim, defense, contention,
     4       allegation, or denial is not withdrawn or appropriately corrected, except that
             this limitation shall not apply if the conduct alleged is the filing of a petition in
     5       violation of subdivision (b). If warranted, the court may award to the party
     6       prevailing on the motion the reasonable expenses and attorney's fees incurred
             in presenting or opposing the motion. Absent exceptional circumstances, a law
     7       firm shall be held jointly responsible for violations committed by its partners,
             associates, and employees.
     8
               (B) On Court's Initiative. On its own initiative, the court may enter an order
     9       describing the specific conduct that appears to violate subdivision (b) and
             directing an attorney, law firm, or party to show cause why it has not violated
    10       subdivision (b) with respect thereto.
    11      (2) Nature of Sanction; Limitations. A sanction imposed for violation of this rule
          shall be limited to what is sufficient to deter repetition of such conduct or
    12    comparable conduct by others similarly situated. Subject to the limitations in
          subparagraphs (A) and (B), the sanction may consist of, or include, directives of a
    13    nonmonetary nature, an order to pay a penalty into court, or, if imposed on
          motion and warranted for effective deterrence, an order directing payment to the
    14
          movant of some or all of the reasonable attorneys’ fees and other expenses
    15    incurred as a direct result of the violation.
               (A) Monetary sanctions may not be awarded against a represented party for a
    16
             violation of subdivision (b)(2).
    17         (B) Monetary sanctions may not be awarded on the court's initiative unless
             the court issues its order to show cause before a voluntary dismissal or
    18
             settlement of the claims made by or against the party which is, or whose
    19       attorneys are, to be sanctioned.
            (3) Order. When imposing sanctions, the court shall describe the conduct
    20
          determined to constitute a violation of this rule and explain the basis for the
    21    sanction imposed.
         (d) INAPPLICABILITY TO DISCOVERY. Subdivisions (a) through (c) of this rule do not
    22
         apply to disclosures and discovery requests, responses, objections, and motions
    23   that are subject to the provisions of Rules 7026 through 7037.
         (e) VERIFICATION. Except as otherwise specifically provided by these rules, papers
    24
         filed in a case under the Code need not be verified. Whenever verification is
    25   required by these rules, an unsworn declaration as provided in 28 U.S.C. §1746
         satisfies the requirement of verification.
    26
    27
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 467 of
                                      645




         (f) COPIES OF SIGNED OR VERIFIED PAPERS. When these rules require copies of a signed
     1   or verified paper, it shall suffice if the original is signed or verified and the copies
     2   are conformed to the original.
                                                       NOTES
     3
         (As amended Mar. 30, 1987, eff. Aug. 1, 1987; Apr. 30, 1991, eff. Aug. 1, 1991;
     4   Apr. 11, 1997, eff. Dec. 1, 1997.)

     5                       NOTES OF ADVISORY COMMITTEE ON RULES—1983
           Subdivision (a). Excepted from the papers which an attorney for a debtor must
     6
         sign are lists, schedules, statements of financial affairs, statements of executory
     7   contracts, Chapter 13 Statements and amendments thereto. Rule 1008 requires
         that these documents be verified by the debtor. Although the petition must also be
     8   verified, counsel for the debtor must sign the petition. See O

     9
         Granting sanctions undere 9011 was error because the Rule was comploied with. The issue does
    10   not even have to do with ay presentation ade to the Court. The sole basis for granting anctions
         seems to be be that Coletti made a mistake and now the Court wants me to pay for Coletti acting
    11   like a dunce.
    12
         The essence of liability is personal responsibility and the Court grnting sanctions against
    13   Neusomm because of what he allegedly told Coletti is error, unfoar, biased and prejudice.
    14   Black people in America have suffered enough. Imposing crushing sanction against me for a
    15   five minute phone call and not forcing Coletti to take responsibility for his own negligence is
         reprehensible and an abomination. It runs against justie and I will fight it all the way to the
    16   Untied States Supreme Court and the International Court of Justice if a venue is available and if
         necessary.
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 468 of
                                      645




     1                 11 U.S. Code § 105 - Power of court
     2   US Code
         Notes

     3                                                                               prev | next
          (a)
     4    The court may issue any order, process, or judgment that is necessary or
          appropriate to carry out the provisions of this title. No provision of this title
     5    providing for the raising of an issue by a party in interest shall be construed to
          preclude the court from, sua sponte, taking any action or making any determination
     6    necessary or appropriate to enforce or implement court orders or rules, or to
     7    prevent an abuse of process.
          (b)
     8    Notwithstanding subsection (a) of this section, a court may not appoint a receiver in
          a case under this title.
     9    (c)
          The ability of any district judge or other officer or employee of a district court to
    10    exercise any of the authority or responsibilities conferred upon the court under this
    11    title shall be determined by reference to the provisions relating to such judge,
          officer, or employee set forth in title 28. This subsection shall not be interpreted to
    12    exclude bankruptcy judges and other officers or employees appointed pursuant to
          chapter 6 of title 28 from its operation.
    13    (d) The court, on its own motion or on the request of a party in interest—
          (1)
    14    shall hold such status conferences as are necessary to further the expeditious and
          economical resolution of the case; and
    15
          (2) unless inconsistent with another provision of this title or with applicable Federal
    16    Rules of Bankruptcy Procedure, may issue an order at any such conference
          prescribing such limitations and conditions as the court deems appropriate to
    17    ensure that the case is handled expeditiously and economically, including an order
          that—
    18    (A)
          sets the date by which the trustee must assume or reject an executory contract or
    19
          unexpired lease; or
    20    (B) in a case under chapter 11 of this title—
          (i)
    21    sets a date by which the debtor, or trustee if one has been appointed, shall file a
          disclosure statement and plan;
    22    (ii)
          sets a date by which the debtor, or trustee if one has been appointed, shall solicit
    23
          acceptances of a plan;
    24    (iii)
          sets the date by which a party in interest other than a debtor may file a plan;
    25    (iv)
          sets a date by which a proponent of a plan, other than the debtor, shall solicit
    26    acceptances of such plan;
          (v)
    27
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    28
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                                      645




         fixes the scope and format of the notice to be provided regarding the hearing on
     1   approval of the disclosure statement; or
     2   (vi)
         provides that the hearing on approval of the disclosure statement may be combined
     3   with the hearing on confirmation of the plan.
         (Pub. L. 95–598, Nov. 6, 1978, 92 Stat. 2555; Pub. L. 98–353, title I, § 118, July
     4   10, 1984, 98 Stat. 344; Pub. L. 99–554, title II, § 203, Oct. 27, 1986, 100 Stat.
         3097; Pub. L. 103–394, title I, § 104(a), Oct. 22, 1994, 108 Stat. 4108; Pub. L.
     5   109–8, title IV, § 440, Apr. 20, 2005, 119 Stat. 114; Pub. L. 111–327, § 2(a)(3),
     6   Dec. 22, 2010, 124 Stat. 3557.)

     7   LII has no control over and does not endorse any external Internet site that
     8   contains links to or references LII.

     9
    10   Debtor presented numerous motions to the Court which included a Motion To Abstain, to Strike,
         or for Summary Denial of Holland’s motion For Sanctions. A Motion In Limine and a Motion
    11
         To Strike Colletti’s testimony due to a Violation of Rule 408 of the Federal Rules of Civil
    12   Procedure was also presented.

    13   It is clear that there is no legal basis to grant Holland sanctions.
    14   Holland’s primary witness was Colletti who said that during a telephone conversation with
    15   Neusom, which Neusom made for settlement purposes, he was told that a Bankruptcy was filed
         and because of this he cancelled a mediation and somehow a stay was entered in an eviction
    16   case.
    17   Neusom was not an attorney in the eviction case and he was unaware that Colletti canceelled the
         mediation and somehow arranged for a stay. Due to not being eviction Counsel he did not know
    18
         Coletti was doing this and he did not know Coletti had done it until months later.
    19
         Sometime around May 15, 2018, Holland hired Bankrutpcy Counsel and Colletti was informed
    20   that what he had did may have been incorrect even though the eviction Court Judge Boker agreed
         to it. Colletti blamed Neusom and sanctions were sought against him for what Colletti did in the
    21
         eviction case. Perez’s eviction Counsel was Borell.
    22
         Colletti violated the Rules of professional responsibility when he litigated the bankruptcy issues
    23   in the eviction case with insufficient knowledge and experience. He should have obviously
         obtained Co-counsel or sought advise before he acted and claims against Neusom are meritless.
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     1   4-1. CLIENT-LAWYER RELATIONSHIP RULE 4-1.1 COMPETENCE A lawyer must
     2   provide competent representation to a client. Competent representation requires the legal
         knowledge, skill, thoroughness, and preparation reasonably necessary for the representation.
     3   Comment Legal knowledge and skill In determining whether a lawyer employs the requisite
         knowledge and skill in a particular matter, relevant factors include the relative complexity and
     4   specialized nature of the matter, the lawyer’s general experience, the lawyer’s training and
     5   experience in the field in question, the preparation and study the lawyer is able to give the
         matter, and whether it is feasible to refer the matter to, or associate or consult with, a lawyer of
     6   established competence in the field in question. In many instances the required proficiency is
         that of a general practitioner. Expertise in a particular field of law may be required in some
     7   circumstances. A lawyer need not necessarily have special training or prior experience to handle
         legal problems of a type with which the lawyer is unfamiliar. A newly admitted lawyer can be as
     8
         competent as a practitioner with long experience. Some important legal skills, such as the
     9   analysis of precedent, the evaluation of evidence and legal drafting, are required in all legal
         problems. Perhaps the most fundamental legal skill consists of determining what kind of legal
    10   problems a situation may involve, a skill that necessarily transcends any particular specialized
         knowledge. A lawyer can provide adequate representation in a wholly novel field through
    11   necessary study. Competent representation can also be provided through the association of a
    12   lawyer of established competence in the field in question. Competent representation may also
         involve the association or retention of a non-lawyer advisor of established technological
    13   competence in the field in question. Competent representation also involves safeguarding
         confidential information relating to the representation, including, but not limited to, electronic
    14   transmissions and communications. In an emergency a lawyer may give advice or assistance in a
    15   matter in which the lawyer does not have the skill ordinarily required where referral to or
         consultation or association with another lawyer would be impractical. Even in an emergency,
    16   however, assistance should be limited to that reasonably necessary in the circumstances, for ill-
         considered action under emergency conditions can jeopardize the client’s interest. A lawyer may
    17   accept representation where the requisite level of competence can be achieved by reasonable
         preparation. This applies as well to a lawyer who is appointed as counsel for an unrepresented
    18
         person. See also rule 4-6.2. Thoroughness and preparation Competent handling of a particular
    19   matter includes inquiry into and analysis of the factual and legal elements of the problem, and
         use of methods and procedures meeting the standards of competent practitioners. It also includes
    20   adequate preparation. The required attention and preparation are determined in part by what is at
         stake; major litigation and complex transactions ordinarily require more extensive treatment than
    21   matters of lesser complexity and consequence. The lawyer should consult with the client about
    22   the degree of thoroughness and the level of preparation required as well as the estimated costs
         involved under the circumstances. Maintaining competence To maintain the requisite knowledge
    23   and skill, a lawyer should keep abreast of changes in the law and its practice, engage in
         continuing study and education, including an understanding of the benefits and risks associated
    24   with the use of technology, and comply with all continuing legal education requirements to
         which the lawyer is subject.
    25
         Amended March 23, 2006, effective May 22, 2006 (SC04-2246), (933 So.2d 417); September
    26   29, 2016, effective January 1, 2017 (SC16-574), 200 So.3d 1225.
         RRTFB September 17, 2018
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     2
     3   The facts are that Neusom filed a personal Bankruptcy for Nubia Perezz. In the Petition he only
         answered the Bankruptcy petition questions.
     4
     5   The Court seemed to state that it would grant sanctions because Neusom spoke to Colletti about
         a bankruptcy and Colletti then took actions in the eviction. A finding for Holland granting
     6   sanctions would be a clearly erroneous ruling.

     7
         In Court and on the Court CD Transcript the court said if Neusom did not file the Suggestion of
     8
         Bankruptcy he may be off the hook for sanctions. It is undisputed that Neusom did not file a
     9   suggestion of bankruptcy therefore the Motion For Sanctions should be denied. And any claim
         that Neusom is responsible for someone else filing a Suggestion of Bankruptcy is frivolous. A
    10   Condition Precedent for dismissal may have occurred and the Motion For Sanctions should
         should have been summarily denied.
    11
    12
    13   The A Plus eviction judgment is final and no sanctions were awarded for the stay. The rules on
         finality of judgments should be respected and the Bankruptcy Court should abstain from hearing
    14   Holland’s sanction motion or deny it.
    15
         Perez and Neusom pray that the Court will reverse its ruling and not grant sanctions for
    16   Holland.

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     2   A. THE MOTION TO ABSTAIN WAS WRONGFULLY DENIED

     3   The Court denied the Motion To Abstain, but granted it by limiting their motion to the
         Bankruptcy issues and not allowing claims on the State Court eviction action.
     4
     5   I object to Colletti’s testimony because the calls were made to him in the Course of Settlement
         negotiations and were settlement communications.
     6
         Colletti is an experienced attorney and for him to try to claim I misled him is shameful, and has
     7   no legal basis, particularly when Coletti had the Lease and I did not have it or had a chance to
     8   review it.

     9   In Court and on the Court CD Transcript the court said if Neusom did not file the Suggestion of
         Bankruptcy he was off the hook for sanctions. It is undisputed that Neusom did not file a
    10   suggestion of bankruptcy therefore the Motion For Sanctions should be denied. And any claim
         that Neusom is responsible for someone else filing a Suggestion of Bankruptcy is frivolous. A
    11
         Condition Precedent for dismissal has occurred and the Motion For Sanctions should be
    12   summarily denied.

    13   This essentially undercuts Landlord’s claim for damages because the eviction was the basis for
         the claim for damages, but this is erroneous because Holland’s Motion For Sanctions is fully and
    14   completely dependent on things that took place in the eviction and that needed and could have
    15   been handled by the state court.

    16   The Court is essentially recasting the Sanctions motion while the appropriate thing would have
         been to abstain, strike, dismiss or deny the motion and let them refile with the correct
    17   information if they could. But the facts are now out and it is clear that the Motion is sham asnd
    18   frivolous.

    19   At the hearing on August 16, 2018 Utibe Ikpe said that Hollands eviction attorney put in for the
         stay after he heard about the Nubia Perez bankruptcy. Engaging in such an act is a waiver of any
    20   defenses or of Holland bringing a motion for sanctions. Holland assumed the risk.
    21
         I could have filed a Suggestion of Bankruptcy when the petition was filed, but it depended on a
    22   number of factors and I was unsure if it should have been filed at that time and under the
         circumstances so I did not do it.
    23
         Holland hired an Attorney, Joseph Colletti, who mistakenly put in a stay and Holland hired
    24   another attorney to seek sanctions against Neusom for a stay that his Attorney put in. This is
    25   inconsistent illogical bad faith litigation. There is no privity between Neusom and Colletti. The
         only person Holland has a right to seek sanctions from is his own Attorney Colletti, who put in
    26   the stay without any request or authorization from Nubia Perez or Thomas Neusom that Neusom
         is aware of.
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     2   Neusom did file a personal bankruptcy but he knew better than to immediately file a Notice
         of Appearance in the Eviction and file for a stay. A lot more research had to be done before
     3   someone acted like Holland’s attorney Coletti did. There is no basis for sanctions against
         Perez and Neusom for what Holland’s attorney Coletti did.
     4
     5   Due to the state Court dependence of the motion for sanctions it is quite clear that the
         Bankruptcy court should have granted the motion to abstain.
     6
         There is no basis for sanctions against Nubia Perez and the eviction Court is the proper
     7   forum for Holland to seek relief.
     8
         A Plus is legally entitled to a stay and would have obtained it with a business bankruptcy. If
     9   it needed to but Colletti’s actions made it unnecessary at that time.
    10   Its wrong for Holland to seek sanctions against Nubia Perez and Thomas Neusom for what
    11   his own attorney, Coletti, unexpectedly did. But it may have been legally correct so there is
         no basis for sanctions. It was Colletti’s choice. And we were prepared to file the business
    12   bankruptcy when needed so we would have gotten the stay one way or another if needed.
    13   Holland received Nine Thousand Dollars ($9,000.00)from the Court registry. And
    14   unilaterally decided to keep the Eighteen Thousand Dollar ($18,000) A Plus Security
         Deposit. They have already received Twenty Seven Dollars from Aplus and they are not
    15   entitled to anything else and are seeking a double recovery.
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     1
     2   B. A Federal court cannot act as a State Appellate Court. The Landlord Holland needs
            and needed to seek relief in the State Court and the Bankruptcy Court cannot act as a
     3      State Trial Court or State Appellate Court, which Holland is seeking
     4
     5   Holland filed an eviction against A Plus Lamination And Finishing in Miami Dade County with

     6   Case Number 18-8187CC05.         Holland is seeking sanctions against Perez and her Counsel

     7   Thomas Neusom in Federal Bankruptcy Court for what happened in a State Court eviction
     8
         Action that has been closed and a default Final Judgment has been entered, but there are ways for
     9
         them to properly litigate in State Court. I am opposing Counsel loyal to my client, so I can not
    10
         tell them how to do the State Court litigation, but that is the proper place for them.
    11
    12
         The landlord Holland obtained a Writ Of Possession and have obtained
    13
         possession of the subject property. The eviction case is closed at this time and Holland has
    14
    15   refused to return the A Plus Lamination Security Deposit or follow proper procedures in

    16   violation of State Law.

    17
         The Bankruptcy Court has no legal basis or jurisdiction to further adjudicate this State Court
    18
    19   matter under numerous legal doctrines.

    20   Any detriments experienced by Holland were the result of the mishandling of the State Court
    21
         litigation by Colletti, and that could have easily been handled in State Court under the Florida
    22
         Rules of Civil Procedure. Seeking relief in Federal Court for what one should have obtained in
    23
    24   State Court is subject to abstention and the Bankruptcy Court should have legally abstained
    25
         from hearing Holland’s motion for sanctions under Colorado River, Rooker Feldman, the Florida
    26
         Rules of Civil Procedure and other laws.
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     1
         A Bankruptcy Court cannot assume why the State court did what it did. The Eviction attorney
     2   could have filed a Motion For Reconsideration, Rehearing or withdrawal of the suggestion of
         Bankruptcy promptly. We cannot procedurally properly make a determination on the State Court
     3
         action in this Federal Court in the way of Holland’s sanction motion, it is illegal .
     4
     5   It was procedurally improper for Landlord to abandon the State Court eviction action and seek
     6
         relief in the Federal Bankruptcy Court. The abstention doctrine is to stop inconsistent verdicts
     7
         like what could happen if the Court were to grant Holland relief in a Bankruptcy case that has
     8
         been dismissed.
     9
    10
         The Bankruptcy Court has no jurisdiction to act as a State Appellate Court even under
    11
         BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105.
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         C. COLLETTI ADMITTED THAT HE VIOLATED THE RULES OF PROFESSIONAL
     3      RESPONSIBILITY WHEN HE CANCELLED THE EVICTION MEDIATION AND
            HAD THE STAY ENTERED SO PEREZ AND NEUSOM CAN’T BE HELD LIABLE
     4      FOR HIS ACTIONS
     5
         Colletti violated the Rules of professional responsibility when he litigated the bankruptcy issues
     6   in the eviction case with insufficient knowledge and experience. He should have obviously
         obtained Co-counsel or sought advise before he acted and claims against Neusom are meritless.
     7
         4-1. CLIENT-LAWYER RELATIONSHIP RULE 4-1.1 COMPETENCE A lawyer must
     8
         provide competent representation to a client. Competent representation requires the legal
     9   knowledge, skill, thoroughness, and preparation reasonably necessary for the representation.
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    12   matter, and whether it is feasible to refer the matter to, or associate or consult with, a lawyer of
         established competence in the field in question. In many instances the required proficiency is
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    14   legal problems of a type with which the lawyer is unfamiliar. A newly admitted lawyer can be as
    15   competent as a practitioner with long experience. Some important legal skills, such as the
         analysis of precedent, the evaluation of evidence and legal drafting, are required in all legal
    16   problems. Perhaps the most fundamental legal skill consists of determining what kind of legal
         problems a situation may involve, a skill that necessarily transcends any particular specialized
    17   knowledge. A lawyer can provide adequate representation in a wholly novel field through
         necessary study. Competent representation can also be provided through the association of a
    18
         lawyer of established competence in the field in question. Competent representation may also
    19   involve the association or retention of a non-lawyer advisor of established technological
         competence in the field in question. Competent representation also involves safeguarding
    20   confidential information relating to the representation, including, but not limited to, electronic
         transmissions and communications. In an emergency a lawyer may give advice or assistance in a
    21   matter in which the lawyer does not have the skill ordinarily required where referral to or
    22   consultation or association with another lawyer would be impractical. Even in an emergency,
         however, assistance should be limited to that reasonably necessary in the circumstances, for ill-
    23   considered action under emergency conditions can jeopardize the client’s interest. A lawyer may
         accept representation where the requisite level of competence can be achieved by reasonable
    24   preparation. This applies as well to a lawyer who is appointed as counsel for an unrepresented
         person. See also rule 4-6.2. Thoroughness and preparation Competent handling of a particular
    25
         matter includes inquiry into and analysis of the factual and legal elements of the problem, and
    26   use of methods and procedures meeting the standards of competent practitioners. It also includes
         adequate preparation. The required attention and preparation are determined in part by what is at
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         stake; major litigation and complex transactions ordinarily require more extensive treatment than
     1   matters of lesser complexity and consequence. The lawyer should consult with the client about
     2   the degree of thoroughness and the level of preparation required as well as the estimated costs
         involved under the circumstances. Maintaining competence To maintain the requisite knowledge
     3   and skill, a lawyer should keep abreast of changes in the law and its practice, engage in
         continuing study and education, including an understanding of the benefits and risks associated
     4   with the use of technology, and comply with all continuing legal education requirements to
     5   which the lawyer is subject.
         Amended March 23, 2006, effective May 22, 2006 (SC04-2246), (933 So.2d 417); September
     6   29, 2016, effective January 1, 2017 (SC16-574), 200 So.3d 1225.
         RRTFB September 17, 2018
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     8
     9
         The facts are that Neusom filed a personal Bankruptcy for Nubia Perezz. In the Petition he only
    10   answered the Bankruptcy petition questions.
    11   The Court seemed to state that it would grant sanctions because Neusom spoke to Colletti about
    12   a bankruptcy and Colletti then took actions in the eviction. A finding for Holland granting
         sanctions would be a clearly erroneous ruling under the circumstances.
    13
    14
    15   Perez and Neusom are unaware of anything in the Rent Registry Order that said that

    16   Tenant could not seek bankruptcy protection. The proper Judge to interpret a violation

    17   Of the Order is and was Judge Alexander Boker. Landlord is concurrently seeking a
    18
         determination in Federal Bankruptcy Court that needs to be heard by the state eviction
    19
         court if heard at all.
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         D. THE COURT SHOULD NOT IGNORE THE FACTS AND TRY TO MAKE PEREZ AND NEUSOM
     1      RESPONSIBLE FOR COLLETTIS MISTAKE AND VIOLATE EQUAL PROTECTION
     2
         The Equal Protection Clause is part of the Fourteenth Amendment to the United States
     3   Constitution. Many view it as the attempt to uphold the professed “all men are created equal”
         clause written in the Constitution. The Equal protection law implies that no State has the right to
     4   deny anyone within jurisdiction equal protection of the law.
         The implementation of the Equal Protection Clause marked a pivotal point in the American
     5   Constitution. Before the Equal Protection Clause (part of the Fourteenth Amendment), the Bill of
         Rights was only limited to the protection of individuals from the Federal Government. Once the
     6   Fourteenth Amendment was enacted, the Constitution was extended to provide protection from
         State governments.
     7
         The Fourteenth Amendment was implemented in 1868, a short time after the American Civil
     8   War. It preceded the Thirteenth Amendment which abolished slavery, leading many former
         Confederate states to adopt Black Codes after the Civil War.To combat the list of Black Codes
     9   enacted in Southern states, Congress imposed the Civil Rights Act of 1866.
         This Act was a direct effect of the U.S. Supreme Court decision in the Dred Scott v. Sanford
    10   case. The law required that all citizen regardless of race and color have the equal benefits of all
         laws, as enjoyed by white citizens. The doubts that arose with the law under the Constitution
    11   that was in existence then lead Congress to implement changes to the Constitution, which
         became known as the Equal Protection Clause of the Fourteenth Amendment.
    12   In order to ensure the fair practice of the Equal Protection Clause, the U.S. Supreme Court
         decided to apply different tests to the different State classifications and its response to
    13   fundamental rights. Usually the Court finds a State classification Constitutional as long as it has
         a “rational basis” to a “legitimate state purpose”. The U.S. Supreme Court, however, established
    14
         a firmer sense of analysis to certain cases.
    15   To measure the form of equal protection it will scrutinize any distinction when it encounters
         suspect classifications. When the Supreme Court orders a classification subject to scrutiny, it
    16   must have substance that a State law or the State’s administration holds intentions to
         discriminate. If any intent of a State law provides discrimination, the U.S. Supreme Court further
    17   analyzes the basis of race, national origin and in some cases U.S. citizenship. In order for a
         classification to pass a U.S. Supreme test, the State must prove that that there is an imperative
    18   interest to the law and the classification is needed to further its interest. The U.S. Supreme
         Court will also apply strict scrutiny if any classification interferes with the fundamental rights,
    19   such as the First Amendment, the right to travel, or a persons right to privacy.
         The Equal Protection Clause was implemented to ensure the fair treatment of all legal citizens
    20   of the United States. All states must comply with the rulings of the Supreme Court, which
         continuously reviews the laws applied by each State to ensure it is following guidelines of fair
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         practice and treatment.
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         I’ve once heard it said that two wrongs don’t make a right. The Court seems to be saying
     1
         the Neusom and Colletti committed wrongs and Neusom now has to pay all of Colletti, his
     2   clients and co counsels fees and expenses. This is theft and a violation of Equal Protection
         to maker the black man pay the white man’s fees and expenses when the white man
     3   violated the rules of Professional Responsibility and was the one who actually made the
         mistake. All Neusom did was legally, legitimately and effectively advocate for his client.
     4
     5   Neusom contacted Colletti to inform him a personal bankruptcy had been filed and a
         business bankruptcy would also likely be filed. Perez or A Plus may be entitled to a Stay
     6   depending on who the lease agreement is with. Perez did not have it to give to me in
         advance so I had to get a copy if he had it.
     7
     8   Neusom had spoken to Kathy Ware about the Rent Registry Order and she told him that
         eviction attorney Alex Borell said a Bankruptcy would not be violated by it.
     9
         Colletti made the mistake, if there was one. He did not have to cancel the mediation and he
    10   said he did not enter the stay. The Court did it based on information it received and
    11   apparently believed it was the correct thing to do.

    12   All Neusom did was consult and contact the eviction related legal professionals to get the
         information to get it right. Everything was going to work out OK because if Colletti and
    13   Holland would not settle an additional Business Bankruptcy could be filed to get the stay if
    14   necessary.

    15   Once Colletti and the Court unexpectedly did what they did the need to file another
         bankruptcy immediately was un necessary and APlus and Neusom had any time they
    16   needed to negotiate rather than to have to immediately filr a business bankruptcy but ther
    17   option was there.

    18   For instance, the Garnishment with D&K International was removed and APlus received its
         approximately $9,000 in garnished funds back and other progress was made in the case.
    19   Holland even agreed to give APlus time to move out. Information was being obtained fron
    20   Creditors and the schedules were in the process of being corrected and Amended.
         Everything was going well from the perspective of Neusom and the case was being worked
    21   out.
    22
    23
         Holland and Colletti are not legally entitled to file in a case, change his mind asfter
    24   obtaining Bankruptcy Counsel and seek reimbursement from Neusom for Colletti and
         Holland’s actions. This is clear error and the Court should be able to see it.
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         Colletti violated and is violating the rules of Professional Responsibility and the Rule on
     1
         Competence with what he is doing and the Court needs to vacate granting sanctions or at
     2   least let another Judge evaluate and rule on the case and the Rule 60 Motion To Vacate that
         will be filed.
     3
     4
     5   Judge Cristol, please recuse yourself and let another Judge hear the Rule 60 Motion to
         Vacate your sanction Order. If he gets it right and vacates it this could avert years of
     6   appellate and other litigation and the case could be ruled on correctly. Please recuse
         yourself.
     7
     8
     9                                       CONCLUSION
    10   The Court’s Judgment wrongfully sanctions Neusom. The Court has largely ignored the
    11   arguments of Perez and Neusom and they request that the Court recuse itself for the
         pending Rule 60 Motion, during the Appeal and for the rest of the case..
    12
    13
    14   WHEREFORE, Neusom and Perez pray that the Court:

    15      1. Vacate and deny Holland’s Motion For Sanctions, or
            2. Recuse Judge Cristol from the case.
    16
    17
    18   .Dated: October 10, 2018:
    19
    20
                                                            By:/s/Thomas Neusom
    21                                                      Attorney For Debtor
                                                            Bar No. 003717
    22                                                      (954)200-3536
                                                            4737 N. Ocean Drive, #129
    23
                                                            Fort Lauderdale, FL 33308
    24                                                      Email: tgnoffice35@gmail.com

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     2
     3                              CERTIFICATE OF SERVICE
     4   I HEREBY CERTIFY that a true and correct copy of the foregoing MOTION FOR RECUSAL
     5   was furnished by email to the following on October 10, 2018, to the parties on the efiling portal
         service list by email.
     6
     7
     8
                                                             By:/s/Thomas Neusom
     9                                                       Attorney For Debtor
                                                             Bar No. 0037174
    10                                                       Phone; (954)200-3536
    11                                                       4737 N. Ocean Drive, #129
                                                             Fort Lauderdale, FL 33308
    12                                                       Email: tgnoffice35@gmail.com

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     6                                   EXHIBIT 1
     7                           EVICTION CASE PLEADINGS
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 D & K INTERNATIONAL, INC.                                                     IN THE COUNTY COURT IN AND
                                         Plaintiff,                            FOR MIAMI-DADE COUNTY,
                                                                                FLORIDA
 vs.

 A PLUS LAMINATION & FINISHING, INC.                                           CASE NO: 2017004987SP23
                                        Defendant(s)
 vs.
 WELLS FARGO BANK
                                       Garnishee.
 --------------------------------------,/

                               ORDER UPON STIPULATION OF SETTLEMENT,
                          DISSOLVING GARNISHMENT, AND DISBURSING PROCEEDS

           THIS CAUSE having come on by the agreement of the parties, and the Court being fully advised
 in the premises, it is ORDERED AND ADJUDGED that:

  1.        That the Garnishee, WELLS FARGO BANK, shall remove from the Defendant's account, and
           forward to the Plaintiff's Attorney, SPRECHMAN & FISHER, P.A., the sum of $3,895.74. Payment
           shall be made payable and sent to SPRECHMAN & FISHER, P.A. TRUST ACCOUNT;
           SPRECHMAN & FISHER, P.A., 2775 Sunny Isles Blvd., Suite 100, Miami, Florida 33160-4007,
           file #: 135442.

  2.       Upon payment by Garnishee of the above sum, Garnishee shall release any additional funds being
           held pursuant to the Writ of Garnishment back to the account holder(s).

  3.       Upon receipt and clearance of the above monies from Garnishee, a Satisfaction of Judgment shall
           be issued to the Defendant for recording at the Defendant's expense. Upon receipt and clearance
           of the above monies from Garnishee, the Garnishment action shall be dissolved as to the accounts
           referenced in the Answer of Garnishee and Garnishee shall bear no further liability with regard to
           those accounts.

          DONE AND ORDERED in Chambers at Miami-Dade County, Florida, on 06/18/18.




                                                                     _______________________________
                                                                     CARYN SCHWARTZ
                                                                     COUNTY COURT JUDGE

 The parties served with this Order are indicated in the accompanying 11th Circuit email
 confirmation which includes all emails provided by the submitter.              The movant shall
 IMMEDIATELY serve a true and correct copy of this Order, by mail, facsimile, email or hand-
 delivery, to all parties/counsel of record for whom service is not indicated by the accompanying
 11th Circuit confirmation, and file proof of service with the Clerk of Court.

 Signed original order sent electronically to the Clerk of Courts for filing in the Court file.

  Copies furnished to:
  SPRECHMAN & FISHER, P.A., 2775 Sunny Isles Blvd., Suite 100, Miami, Florida 33160-4007
  John B. Kent, Esq. for Garnishee. 1200 Riverplace Boulevard, Ste #800 Jacksonville, Florida 32207
  Thomas Neusom, Esq.4737 N. Ocean Drive, #129, Ft. Lauderdale, FI 33308-2920
  135442:P142 (ORO)
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  scan code: X630B
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                                        645
IN T H E COUNTY COURT IN A N D F O R
MIAMI-DADE COUNTY, FLORIDA

C I V I L D I V I S I O N «, , o n   „ /. ,            < ^
C A S E N O : ! ^ -^[^H            -^^                 ^

BRIAN HOLLAND AND ANDREA
H O L L A N D aA/a B R I A N H O L L A N D
5561 R E N T A C C O U N T

          Plaintiff,                                                                                                                               E?          r,,^
vs.                                                                                                                                                                    I?
APLUS LAMINATION & FINISHING, INC.                                                                                                          V- j J - Z
and all other occupants,                                                                                                                        '• ' • 7               -n
          Defendants.

                                                                   '                                                                                               i   CD

                                                     D E F A U L T F I N A L J U D G M E N T F O R R E M O V A L O F T E N A N T•                   -         *
                                                                                                                                                              Px        s
                       T H I S C A U S E C A M E O N T O B E H E A R D before me upon Plaintiffs Complaint for Removal o f Tenant,

          it is:

                       ORDERED AND ADJUDGED:

                                     1. That a Default Final Judgment be and the same is hereby entered in favor of Plaintiff, B R I A N

          H O L L A N D A N D A N D R E A H O L L A N D aAc/a B R I A N H O L L A N D 5561 R E N T A C C O U N T ,                                  and against the

          Defendant, A P L U S            L A M I N A T I O N & F I N I S H I N G , I N C . , a Florida Corporation, for possession o f the premises

          located at 5559 N W 3 6 * Avenue, M i a m i , Miami-Dade County, Florida 33142, for which let Writ o f Possession

          issue forthwith.

                       2.   7 T - . « ri|n;,^>;fyr           *""       ; J i i. r. ...i . n i   J.MLIL.   i   i-   u,» fjn^nn ^ f ^ ^ ^ ^ ^ ^              for which let



            D O N E A N D O R D E R E D at M i a m i , Miami-Dade County, Florida dpg-~-v                              day o f July, 20^8|.^^jp.j^                     DATED




Copies furnished to:

JOSEPH R. C O L L E T T I , P.A.
Attorney for Plaintiff
4770 Biscayne Boulevard, Suite 1400
Miami, Florida 3313


ALEXANDER E. BORELL,
Attorney for Defendant
324 Datura Street
Suite 209
West Palm Beach, F L 33401
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     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4    DEBTOR                                           CASE NO: 18-15825
     5
                                                           MOTION TO VACATE THE ORDER
          NUJBIA MARCELLA PEREZ.                           GRANTING HOLLAND’S MOTION FOR
     6
                                                           SANCTIONS ENTERED OCTOBER 4,
     7                                                     2018
     8                                                        1. ABSTENTION
     9                                                        2. MOTION TO STRIKE
                                                              3. LACK OF PRIVITY
    10                                                        4. ASSUMPTION OF RISK
                                                              5. LAW OF THE CASE
    11                                                        6. INCOMPETENT STATE COURT
                                                           LITIGATION
    12
                                                              7. 21 DAY SAFE HARBOR
    13                                                     NONCOMPLIANCE
                                                              8. RES JUDICATA AND
    14                                                     COLLATERAL ESTOPPEL FROM
                                                           STATE EVICTION CASE
    15                                                        9. EQUAL PROTECTION CLAUSE
    16
    17
    18
    19
    20
         1.COMES NOW, Nubia Marcella Perez and Attorney Thomas Neusom, under the applicable
    21
    22   State And Federal Rule, or more specifically, Rule 60 (b)of the Federal Rules of Civil

    23   Procedure, seeking a rehearing and vacating of the order granting Landlord’s Motion For
    24   Sanctions Pursuant to Bankruptcy Rule 9011 and US.C. Section 105 that was entered
    25
         October 4, 2018 by the Honorable Judge A. Jay Cristol.
    26
    27
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     1
     2   2.Rule 60 States:

     3
     4
               Rule 60 – Relief from a Judgment or
     5                        Order
     6   (a) Corrections Based on Clerical Mistakes; Oversights and Omissions. The court may correct a
         clerical mistake or a mistake arising from oversight or omission whenever one is found in a judgment,
     7   order, or other part of the record. The court may do so on motion or on its own, with or without notice.
         But after an appeal has been docketed in the appellate court and while it is pending, such a mistake may
     8   be corrected only with the appellate court’s leave.
         (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On motion and just terms, the
     9   court may relieve a party or its legal representative from a final judgment, order, or proceeding for the
         following reasons:
    10   (1) mistake, inadvertence, surprise, or excusable neglect;
    11
         (2) newly discovered evidence that, with reasonable diligence, could not have been discovered in time to
    12   move for a new trial under Rule 59(b);
         (3) fraud (whether previously called intrinsic or extrinsic), misrepresentation, or misconduct by an
    13   opposing party;

    14   (4) the judgment is void;
    15
         (5) the judgment has been satisfied, released, or discharged; it is based on an earlier judgment that has
    16   been reversed or vacated; or applying it prospectively is no longer equitable; or

    17   (6) any other reason that justifies relief.
    18
         (c) Timing and Effect of the Motion.
    19   (1) Timing. A motion under Rule 60(b) must be made within a reasonable time—and for reasons (1), (2),
         and (3) no more than a year after the entry of the judgment or order or the date of the proceeding.
    20   (2) Effect on Finality. The motion does not affect the judgment’s finality or suspend its operation.
         (d) Other Powers to Grant Relief. This rule does not limit a court’s power to:
    21   (1) entertain an independent action to relieve a party from a judgment, order, or proceeding;

    22   (2) grant relief under 28 U.S.C. §1655 to a defendant who was not personally notified of the action; or
    23
         (3) set aside a judgment for fraud on the court.
    24
         (e) Bills and Writs Abolished. The following are abolished: bills of review, bills in the nature of bills of
    25   review, and writs of coram nobis, coram vobis, and audita querela.
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     1
     2   3.The Court denied the Motion To Abstain, but granted it by limiting their motion to the
         Bankruptcy issues and not allowing claims on the State Court eviction action.
     3
         4. This essentially Undercuts Landlord’s claim for damages because the eviction was the
     4
         basis for the claim for damages, but this is erroneous because Holland’s Motion For
     5   Sanctions is fully and completely dependent on things that took place in the eviction and
         that needs to be handled by the state court as Respondents have argued.
     6
         5.The Court is essentially recasting the Sanctions motion while the appropriate thing would
     7
         have been to abstain, dismiss or deny the motion let them refile it if they could.
     8
     9   6.Debtor presented numerous motions to the Court which included a Motion To Abstain, to
         Strike, or for Summary Denial of Holland’s motion For Sanctions. A Motion In Limine and a
    10   Motion To Strike Colletti’s testimony due to a Violation of Rule 408 of the Federal Rules of
    11   Civil Procedure was also presented.

    12   7.It is clear that there is no legal basis to grant Holland sanctions.

    13   8.Holland’s primary witness was Colletti who said that during a telephone conversation with
         Neusom, which Neusom made for settlement purposes, he was told that a Bankruptcy was filed
    14
         and because of this he cancelled a mediation and somehow a stay was entered in an eviction
    15   case.

    16   9.Neusom was not an attorney in the eviction case and he was unaware that Colletti canceelled
         the mediation and somehow arranged for a stay. Due to not being eviction Counsel he did not
    17   know Coletti was doing this and he did not know Coletti had done it until months later.
    18
         10.Sometime around May 15, 2018, Holland hired Bankrutpcy Counsel and Colletti was
    19   informed that what he had did may have been incorrect even though the eviction Court Judge
         Boker agreed to it. Colletti blamed Neusom and sanctions were sought against him for what
    20   Colletti did in the eviction case. Perez’s eviction Counsel was Borell.
    21
         11.Colletti violated the Rules of professional responsibility when he litigated the bankruptcy
    22   issues in the eviction case with insufficient knowledge and experience. He should have
         obviously obtained Co-counsel or sought advice before he acted and claims against Neusom or
    23   Perez are meritless.
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         4-1. CLIENT-LAWYER RELATIONSHIP RULE 4-1.1 COMPETENCE A lawyer must
     1   provide competent representation to a client. Competent representation requires the legal
     2   knowledge, skill, thoroughness, and preparation reasonably necessary for the representation.
         Comment Legal knowledge and skill In determining whether a lawyer employs the requisite
     3   knowledge and skill in a particular matter, relevant factors include the relative complexity and
         specialized nature of the matter, the lawyer’s general experience, the lawyer’s training and
     4   experience in the field in question, the preparation and study the lawyer is able to give the
     5   matter, and whether it is feasible to refer the matter to, or associate or consult with, a lawyer of
         established competence in the field in question. In many instances the required proficiency is
     6   that of a general practitioner. Expertise in a particular field of law may be required in some
         circumstances. A lawyer need not necessarily have special training or prior experience to handle
     7   legal problems of a type with which the lawyer is unfamiliar. A newly admitted lawyer can be as
         competent as a practitioner with long experience. Some important legal skills, such as the
     8
         analysis of precedent, the evaluation of evidence and legal drafting, are required in all legal
     9   problems. Perhaps the most fundamental legal skill consists of determining what kind of legal
         problems a situation may involve, a skill that necessarily transcends any particular specialized
    10   knowledge. A lawyer can provide adequate representation in a wholly novel field through
         necessary study. Competent representation can also be provided through the association of a
    11   lawyer of established competence in the field in question. Competent representation may also
    12   involve the association or retention of a non-lawyer advisor of established technological
         competence in the field in question. Competent representation also involves safeguarding
    13   confidential information relating to the representation, including, but not limited to, electronic
         transmissions and communications. In an emergency a lawyer may give advice or assistance in a
    14   matter in which the lawyer does not have the skill ordinarily required where referral to or
    15   consultation or association with another lawyer would be impractical. Even in an emergency,
         however, assistance should be limited to that reasonably necessary in the circumstances, for ill-
    16   considered action under emergency conditions can jeopardize the client’s interest. A lawyer may
         accept representation where the requisite level of competence can be achieved by reasonable
    17   preparation. This applies as well to a lawyer who is appointed as counsel for an unrepresented
         person. See also rule 4-6.2. Thoroughness and preparation Competent handling of a particular
    18
         matter includes inquiry into and analysis of the factual and legal elements of the problem, and
    19   use of methods and procedures meeting the standards of competent practitioners. It also includes
         adequate preparation. The required attention and preparation are determined in part by what is at
    20   stake; major litigation and complex transactions ordinarily require more extensive treatment than
         matters of lesser complexity and consequence. The lawyer should consult with the client about
    21   the degree of thoroughness and the level of preparation required as well as the estimated costs
    22   involved under the circumstances. Maintaining competence To maintain the requisite knowledge
         and skill, a lawyer should keep abreast of changes in the law and its practice, engage in
    23   continuing study and education, including an understanding of the benefits and risks associated
         with the use of technology, and comply with all continuing legal education requirements to
    24   which the lawyer is subject.
         Amended March 23, 2006, effective May 22, 2006 (SC04-2246), (933 So.2d 417); September
    25
         29, 2016, effective January 1, 2017 (SC16-574), 200 So.3d 1225.
    26   RRTFB September 17, 2018

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     2
         12.The facts are that Neusom filed a personal Bankruptcy for Nubia Perezz. In the Petition he
     3   only answered the Bankruptcy petition questions.
     4   13.The Court seemed to state that it would grant sanctions because Neusom spoke to Colletti
     5   about a bankruptcy and Colletti then took actions in the eviction. A finding for Holland granting
         sanctions would be a clearly erroneous ruling under the circumstances.
     6
     7
         14.In Court and on the Court CD Transcript the court said if Neusom did not file the Suggestion
     8
         of Bankruptcy he may be off the hook for sanctions. It is undisputed that Neusom did not file a
     9   suggestion of bankruptcy therefore the Motion For Sanctions should be denied. And any claim
         that Neusom is responsible for someone else filing a Suggestion of Bankruptcy is frivolous. A
    10   Condition Precedent for dismissal may have occurred and the Motion For Sanctions should
         should have been summarily denied.
    11
    12
         15.The A Plus eviction judgment is final and no sanctions were awarded for the stay. The rules
    13   on finality of judgments should be respected and the Bankruptcy Court should abstain from
         hearing Holland’s sanction motion or deny it.
    14
    15   16.Perez and Neusom pray that the Court will reverse its ruling and not grant sanctions for
         Holland.
    16
    17
            A. THE MOTION TO ABSTAIN WAS WRONGFULLY DENIED
    18
    19   17.The Court denied the Motion To Abstain, but granted it by limiting their motion to the
         Bankruptcy issues and not allowing claims on the State Court eviction action.
    20
         18.I object to Colletti’s testimony because the calls were made to him in the Course of
    21
         Settlement negotiations and were settlement communications.
    22
         19.Colletti is an experienced attorney and for him to try to claim I misled him is shameful, and
    23   has no legal basis, particularly when Coletti had the Lease and I did not have it or had a chance
         to review it.
    24
    25
    26
         20.In Court and on the Court CD Transcript the court said if Neusom did not file the Suggestion
    27
                                                          5
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         of Bankruptcy he was off the hook for sanctions. It is undisputed that Neusom did not file a
     1   suggestion of bankruptcy therefore the Motion For Sanctions should be denied. And any claim
     2   that Neusom is responsible for someone else filing a Suggestion of Bankruptcy is frivolous. A
         Condition Precedent for dismissal has occurred and the Motion For Sanctions should be
     3   summarily denied.
     4   21.This essentially undercuts Landlord’s claim for damages because the eviction was the basis
     5   for the claim for damages, but this is erroneous because Holland’s Motion For Sanctions is fully
         and completely dependent on things that took place in the eviction and that needed and could
     6   have been handled by the state court.

     7   22.The Court is essentially recasting the Sanctions motion while the appropriate thing would
         have been to abstain, strike, dismiss or deny the motion and let them refile with the correct
     8
         information if they could. But the facts are now out and it is clear that the Motion is sham asnd
     9   frivolous.

    10   23.At the hearing on August 16, 2018 Utibe Ikpe said that Hollands eviction attorney put in for
         the stay after he heard about the Nubia Perez bankruptcy. Engaging in such an act is a waiver of
    11
         any defenses or of Holland bringing a motion for sanctions. Holland assumed the risk.
    12
         24.I could have filed a Suggestion of Bankruptcy when the petition was filed, but it depended on
    13   a number of factors and I was unsure if it should have been filed at that time and under the
         circumstances so I did not do it.
    14
    15   25.Holland hired an Attorney, Joseph Colletti, who mistakenly put in a stay and Holland hired
         another attorney to seek sanctions against Neusom for a stay that his Attorney put in. This is
    16   inconsistent illogical bad faith litigation. There is no privity between Neusom and Colletti. The
         only person Holland has a right to seek sanctions from is his own Attorney Colletti, who put in
    17   the stay without any request or authorization from Nubia Perez or Thomas Neusom that Neusom
         is aware of.
    18
    19   26.Neusom did file a personal bankruptcy but he knew better than to immediately file a
         Notice of Appearance in the Eviction and file for a stay. A lot more research had to be done
    20   before someone acted like Holland’s attorney Coletti did. There is no basis for sanctions
         against Perez and Neusom for what Holland’s attorney Coletti did.
    21
    22   27.Due to the state Court dependence of the motion for sanctions it is quite clear that the
         Bankruptcy court should have granted the motion to abstain.
    23
    24
    25
    26   28.There is no basis for sanctions against Nubia Perez and the eviction Court is the proper
         forum for Holland to seek relief.
    27
                                                          6
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         29.A Plus is legally entitled to a stay and would have obtained it with a business
     1
         bankruptcy. If it needed to but Colletti’s actions made it unnecessary at that time.
     2
          30.It is wrong for Holland to seek sanctions against Nubia Perez and Thomas Neusom for
     3   what his own attorney, Coletti, unexpectedly did. But it may have been legally correct so
         there is no basis for sanctions. It was Colletti’s choice. And we were prepared to file the
     4
         business bankruptcy when needed so we would have gotten the stay one way or another if
     5   needed.

     6   31.Holland received Nine Thousand Dollars ($9,000.00)from the Court registry. And
         unilaterally decided to keep the Eighteen Thousand Dollar ($18,000) A Plus Security
     7
         Deposit. They have already received Twenty Seven Dollars from Aplus and they are not
     8   entitled to anything else and are seeking a double recovery.

     9
    10      B. A Federal court cannot act as a State Appellate Court. The Landlord Holland needs
    11         and needed to seek relief in the State Court and the Bankruptcy Court cannot act as
               a State Trial Court or State Appellate Court, which Holland is seeking
    12
    13   32. Holland filed an eviction against A Plus Lamination And Finishing in Miami Dade County
    14
         with Case Number 18-8187CC05.         Holland is seeking sanctions against Perez and her Counsel
    15
         Thomas Neusom in Federal Bankruptcy Court for what happened in a State Court eviction
    16
         Action that has been closed and a default Final Judgment has been entered, but there are ways for
    17
    18   them to properly litigate in State Court. I am opposing Counsel loyal to my client, so I can not

    19   tell them how to do the State Court litigation, but that is the proper place for them to seek their
    20   remedy.
    21
    22
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    26
         33.The landlord Holland obtained a Writ Of Possession and have obtained
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                                                           7
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     1   possession of the subject property. The eviction case is closed at this time and Holland has
     2
         refused to return the A Plus Lamination Security Deposit or follow proper procedures in
     3
         violation of State Law.
     4
     5
         34.The Bankruptcy Court has no legal basis or jurisdiction to further adjudicate this State Court
     6
         matter under numerous legal doctrines.
     7
     8
     9   35.An abstention doctrine is any of several doctrines that a United States court may (or in some
    10
         cases must) apply to refuse to hear a case if hearing the case would potentially intrude upon the
    11
         powers of another court. Such doctrines are usually invoked where lawsuits involving the same
    12
    13   issues are brought in two different court systems at the same time (such as federal and state

    14   courts).
    15
    16
         36.Here, the State Court eviction action has fully concluded and Judge Borker has ruled and
    17   closed the matter. In this particular case Holland has no basis or right to seek additional
    18   remedies in Federal Court in a State Court case that has concluded.
    19
         37.The Court stated that no credible argument was made for Abstention, but the State Court
    20   could have granted sanctions if it wanted to and that was the proper lace for them to be sought.
    21
    22
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    24
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    26
         38.Any detriments experienced by Holland were the result of the mishandling of the State Court
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                                                          8
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     1
         litigation by Colletti, and that could have easily been handled in State Court under the Florida
     2
         Rules of Civil Procedure. Seeking relief in Federal Court for what one should have obtained in
     3
     4   State Court is subject to abstention and the Bankruptcy Court should have legally abstained

     5   from hearing Holland’s motion for sanctions under Colorado River, Rooker Feldman, the Florida
     6
         Rules of Civil Procedure and other laws.
     7
     8
         39.A Bankruptcy Court cannot assume why the State court did what it did. The Eviction
     9   attorney could have filed a Motion For Reconsideration, Rehearing or withdrawal of the
    10   suggestion of Bankruptcy promptly. We cannot procedurally properly make a determination on
         the State Court action in this Federal Court in the way of Holland’s sanction motion, it is illegal .
    11
    12   40.It was procedurally improper for Landlord to abandon the State Court eviction action and
    13   seek relief in the Federal Bankruptcy Court. The abstention doctrine is to stop inconsistent
         verdicts like what could happen if the Court were to grant Holland relief in a Bankruptcy case
    14   that has been dismissed.

    15
         41.The Bankruptcy Court has no jurisdiction to act as a State Appellate Court even under
    16
    17   BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105.

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    26
            C. THE 21 DAY SAFE HARBOR PROVISION WAS NOT COMPLIED WITH AND
    27         THE EXCEPTION DOES NOT APPLY
                                          9
    28
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     1   42.Bankruptcy Rule 9011 was also incorrectly used and invoked because Holland did not comply
     2
         with the 21 day safe harbor provision. The sanction motion says it is for filing the bankruptcy
     3
         Petition and taking it to state Court. Therefore it is really about invoking it against the Registry
     4
     5   order and not the filing of the petition so the 21 day safe Harbor provision should have been

     6   complied with.

     7
     8
         43.Attorney Thomas Neusom was not the eviction attorney and was not at the hearing when the
     9
         stay was imposed. The state court judge determined it should be imposed and no one in the
    10
         State Court action apparently contested this and this is where the real problem lies.
    11
    12
         44.If the Landlord’s Attorney did not agree with the stay, they should have filed a Motion For
    13
         Rehearing or withdrew what Colletti filed to cancel stop the mediation and possibly get the stay,
    14
    15   if he obtained it.

    16
         45.Due to the landlord Attorney’s failure to take proper action in the state court proceeding the
    17
         stay may have been put in improperly and it stayed when it shouldn’t have but this was actually a
    18
    19   decision for the state court judge to make and it depended on a number of issues such as the

    20   Lease.
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    25
         46.Landlord incorrectly utilizes In Re Mcbride because the Court Registry Order did not mention
    26   or prohibit seeking bankruptcy protection. Mcbride also dealt with a foreclosure case and not an

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         eviction case. In re McBride Estates, Ltd., 154 B.R. at 343.
     1
     2
     3   47.Perez and Neusom are unaware of anything in the Rent Registry Order that said that
     4   Tenant could not seek bankruptcy protection. The proper Judge to interpret a violation
     5
         Of the Order is and was Judge Alexander Boker. Landlord is concurrently seeking a
     6
         determination in Federal Bankruptcy Court that needs to be heard by the state eviction
     7
     8   court if heard at all.

     9
    10   48.APLUS Lamination Manager Kathy Ware told me that the APlus eviction Attorney Alex
    11
         Borell said that the Rent Registry Order would not be violated by the filing of a Bankruptcy.
    12
    13
    14   49.The Rent Registry Order does not say a Bankruptc is a violation and Judge Boker
         granted a Bankruptcy Stay without sanctioning or punishing APlus in any way.
    15
         50.The circumstances under which the Stay was entered is a separate issue. But the fact
    16   that Judge Boker was accepting of a Bankruptcy as not a violation of the Rent Registry
    17   Order is clear. So under these facts it would be clear error for the Bankruptcy Judge to
         declare a violation of another Judges order where the issuing Judge found no error and this
    18   is clearly distinguishable from Piccadilly which does not apply in this case and is not a basis
         for granting sanctions against Perez or Neusom under the circumstances.
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         51.Holland and Coletti’s entire basis for seeking sanctions seems to be based on a phone
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         conversation where Neusom allegedly told him something. This phone call was
     1
     2   inadmissible under Federal Rule of Evidence 408 as Compromise Negotiations and

     3   inadmissible hearsay under Rule 802. Even if the statement or call is admissible under an
     4
         exception like state of mind it would not be admissible for its truth, the way the Court is
     5
         admitting it.
     6
     7         Rule 408 – Compromise Offers and
     8
                          Negotiations
     9
         (a) Prohibited Uses. Evidence of the following is not admissible — on behalf of any party —
    10   either to prove or disprove the validity or amount of a disputed claim or to impeach by a prior
         inconsistent statement or a contradiction:
    11   (1) furnishing, promising, or offering — or accepting, promising to accept, or offering to accept
         — a valuable consideration in compromising or attempting to compromise the claim; and
    12
    13   (2) conduct or a statement made during compromise negotiations about the claim — except
         when offered in a criminal case and when the negotiations related to a claim by a public office in
    14   the exercise of its regulatory, investigative, or enforcement authority.

    15   (b) Exceptions. The court may admit this evidence for another purpose, such as proving a
         witness’s bias or prejudice, negating a contention of undue delay, or proving an effort to obstruct
    16   a criminal investigation or prosecution.
    17
    18
         Rule 802. The Rule Against Hearsay Hearsay is not admissible unless any of the
    19   following provides otherwise: • a federal statute; • these rules; or • other rules prescribed
    20   by the Supreme Court. (As amended Apr. 26, 2011, eff. Dec. 1, 2011.)

    21
    22   It is clear that granting sanctions is error.
    23
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    25
    26   52. Perez and Neusom made a very fair settlement offer to Holland based on what is owed.
         I
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                                      645




         do not want to and cannot tell Holland and his Attorneys how to practice law but the
     1
     2   Bookkeeper for Holland testified about the Twenty Thousand Dollar ($20,000.00)security

     3   deposit, the claimed balance owed so the facts are pretty clear. Holland’s remedy is in the
     4
         eviction court, not the Bankruptcy court with a bogus sham Motion for Sanctions which
     5
         clearly should not have been granted and which Neusom and Perez respectfully request
     6
         that the Court Vacate. Ordering Neusom to pay Thirty Thousand Dollars ($30,000.00) to
     7
     8   Colletti and Holland for Colletti’s mistake is clear error abnd is arguably a form of judicially

     9   sanctioned theft. It is and will be appealed and I sincerely believe the Order will not stand.
    10
    11
         52. And while not accepted as fair, the Court’s $30,000.00 sanction seems to be based on
    12
         two months of delay. This is also error because any competent eviction Attorney should
    13
    14   have or could have discovered there error in a few days and could have had the stay lifted if

    15   they wanted to. To charge Neusom for two month’s of Colletti’s mistake is unconscionable,
    16   illegal and wrong. Please Vacate this Order. I don’t have thirty thousand to give them even
    17
         if I wanted to to just get this over with so I could move on.
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                                      645




            D. RULE 9001 SAYS THAT SANCTIONS NEED TO BE APPROPRIATE AND LIMITED TO
     1         WHAT IS SUFFICIENT
     2
         53.Neusom is still unaware of any legitimate bases for granting sanctions against him for
     3
         Colletti’s admitted error. Nor is there a basis for granting sanctions under Rule 9011,
     4
     5
     6
          Rule 9011. Signing of Papers; Representations to
           the Court; Sanctions; Verification and Copies of
     7
                               Papers
     8   (a) SIGNATURE. Every petition, pleading, written motion, and other paper, except a
     9   list, schedule, or statement, or amendments thereto, shall be signed by at least one
         attorney of record in the attorney's individual name. A party who is not represented
    10   by an attorney shall sign all papers. Each paper shall state the signer's address and
         telephone number, if any. An unsigned paper shall be stricken unless omission of
    11   the signature is corrected promptly after being called to the attention of the
         attorney or party.
    12
         (b) REPRESENTATIONS TO THE COURT. By presenting to the court (whether by signing,
    13   filing, submitting, or later advocating) a petition, pleading, written motion, or other
         paper, an attorney or unrepresented party is certifying that to the best of the
    14   person's knowledge, information, and belief, formed after an inquiry reasonable
    15   under the circumstances,— 1

    16       (1) it is not being presented for any improper purpose, such as to harass or to
    17     cause unnecessary delay or needless increase in the cost of litigation;
             (2) the claims, defenses, and other legal contentions therein are warranted by
    18     existing law or by a nonfrivolous argument for the extension, modification, or
    19     reversal of existing law or the establishment of new law;
             (3) the allegations and other factual contentions have evidentiary support or, if
    20     specifically so identified, are likely to have evidentiary support after a reasonable
    21     opportunity for further investigation or discovery; and
             (4) the denials of factual contentions are warranted on the evidence or, if
    22     specifically so identified, are reasonably based on a lack of information or belief.
    23   (c) SANCTIONS. If, after notice and a reasonable opportunity to respond, the court
         determines that subdivision (b) has been violated, the court may, subject to the
    24   conditions stated below, impose an appropriate sanction upon the attorneys, law
    25   firms, or parties that have violated subdivision (b) or are responsible for the
         violation.
    26       (1) How Initiated.
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                (A) By Motion. A motion for sanctions under this rule shall be made
     1       separately from other motions or requests and shall describe the specific
     2       conduct alleged to violate subdivision (b). It shall be served as provided in Rule
             7004. The motion for sanctions may not be filed with or presented to the court
     3       unless, within 21 days after service of the motion (or such other period as the
             court may prescribe), the challenged paper, claim, defense, contention,
     4       allegation, or denial is not withdrawn or appropriately corrected, except that
             this limitation shall not apply if the conduct alleged is the filing of a petition in
     5       violation of subdivision (b). If warranted, the court may award to the party
     6       prevailing on the motion the reasonable expenses and attorney's fees incurred
             in presenting or opposing the motion. Absent exceptional circumstances, a law
     7       firm shall be held jointly responsible for violations committed by its partners,
             associates, and employees.
     8
               (B) On Court's Initiative. On its own initiative, the court may enter an order
     9       describing the specific conduct that appears to violate subdivision (b) and
             directing an attorney, law firm, or party to show cause why it has not violated
    10       subdivision (b) with respect thereto.
    11       (2) Nature of Sanction; Limitations. A sanction imposed for violation of this rule
           shall be limited to what is sufficient to deter repetition of such conduct or
    12     comparable conduct by others similarly situated. Subject to the limitations in
           subparagraphs (A) and (B), the sanction may consist of, or include, directives of a
    13     nonmonetary nature, an order to pay a penalty into court, or, if imposed on
           motion and warranted for effective deterrence, an order directing payment to the
    14
           movant of some or all of the reasonable attorneys’ fees and other expenses
    15     incurred as a direct result of the violation.
               (A) Monetary sanctions may not be awarded against a represented party for a
    16
             violation of subdivision (b)(2).
    17         (B) Monetary sanctions may not be awarded on the court's initiative unless
             the court issues its order to show cause before a voluntary dismissal or
    18
             settlement of the claims made by or against the party which is, or whose
    19       attorneys are, to be sanctioned.

    20
    21
         54.If the Court feels compelled to sanction it needs to be appropriate and limited. And the
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         caselaw cited in Hollands own motion gives guidance on what an appropriate sanction is.
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                                      645




     1   In Re Douglas, 141 B.R. 252 (Bankr. N.D. Ga. 1992)
     2   United States Bankruptcy Court, N.D. Georgia
         Filed: March 20th, 1992
     3   Precedential Status: Precedential
         Citations: 141 B.R. 252
     4   Docket Number: Bankruptcy No. A91-64357-SWC
         Judges: Stacey W. Cotton
     5
         When granting sanctions in the Douglas case the court concluded by stating:
     6
               “In its motion, California Federal seeks attorney's fees and expenses incurred in
     7      preparing and presenting the emergency motion to dismiss debtor's Chapter 13 case
          and its motion for sanctions. Bankruptcy Rule 9011 authorizes the court to impose ". . .
     8    an appropriate sanction, which may include an order to pay to the other party or parties
     9    the amount of the reasonable expenses incurred because of the filing of the document,
         including a reasonable attorney's fee." Fed.R.Bankr.P. 9011. Sanctions may include the
    10    reasonable expenses of pursuing the Rule 11 claim. Mike Ousley Prod. Inc., 952 F.2d at
           383-84. Counsel for California Federal has filed an affidavit setting forth an itemization
    11   of the services rendered and expenses incurred in preparing the motions to dismiss and
    12   for sanctions. This affidavit states that California Federal incurred $1,630.25 in fees and
           expenses. Having examined the itemization of services and expenses, the court finds
    13         and concludes that the hourly rates charged are within the range of hourly rates
              charged by attorneys and paraprofessionals of comparable skill, experience and
    14       reputation. The services rendered were reasonable and necessary in the filing and
         prosecution of these motions in response to this abusive and improper serial bankruptcy
    15
              filing. Accordingly, California Federal's motion for sanctions is granted. The court
    16              imposes sanctions upon debtor's counsel, Milton D. Jones, for California
               Federal'sattorney's fees and expenses in the sum of $1,630.25.” 141 B.R. 252 (1992)
    17
          In re Harold DOUGLAS, Debtor. CALIFORNIA FEDERAL BANK, FSB, Movant,
    18    v. Harold DOUGLAS, Respondent. Bankruptcy No. A91-64357-SWC. United States Bankruptcy Court, N.D. Georgia, Atlanta
          Division. March 20, 1992.
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     1   In Re Morgan, 85 B.R. 622 (Bankr. M.D. Fla. 1987)
     2   United States Bankruptcy Court, M.D. Florida
         Filed: October 26th, 1987
     3   Precedential Status: Precedential
         Citations: 85 B.R. 622
     4   Docket Number: Bankruptcy No. 87-4663
         Judges: Alexander L. Paskay
     5
         When granting sanctions in the Morgan case, the Court concluded by stating:
     6
     7   “Clearly, it was not the intent of Congress to allow Debtors to file Chapter 7 Petitions for the
     8   singular purpose of delaying the inevitable conclusion of foreclosure. As it is admitted by the
         Debtor's counsel that the sole purpose for filing the Debtor's petition was to prevent and delay
     9   the foreclosure sale by C & S, this Court is satisfied that sanctions in the amount of $1,000.00
         should be imposed jointly and severally against the Debtor and her attorney, Michael Steinberg,
    10   to compensate for attorney fees incurred in connection with the aborted foreclosure sale.
    11   It should be noted, however, that the imposition of these sanctions should be conditioned upon
         the occurrence of a proposed sale of the property in dispute, as in the event the property is sold,
    12   C & S will receive compensation for attorney fees incurred by means of the sale proceeds.
    13   Accordingly, it is
    14   ORDERED, ADJUDGED AND DECREED that the Motion for Sanctions against Debtor and
         Debtor's Counsel be, and the same is hereby, granted, and Janet Morgan and Michael Steinberg
    15   are hereby directed to pay C & S $1,000.00 in the event the proposed sale of the Debtor's
         property does not occur. It is further
    16
         ORDERED, ADJUDGED AND DECREED that in the event the proposed sale does not occur, C
    17   & S may seek an Order by this Court directing Janet Morgan and Michael Steinberg to make
         payment in the amount of $1,000.00 as sanctions.”85 B.R. 622 (1987) In re Janet K. MORGAN,
    18   Debtor. Bankruptcy No. 87-4663. United States Bankruptcy Court, M.D. Florida, Tampa
    19   Division. October 26, 1987.

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                                      645




     1
     2   In Re McBride Estates, Ltd., 154 B.R. 339 (Bankr. N.D. Fla. 1993)
     3   United States Bankruptcy Court, N.D. Florida
     4   Filed: March 26th, 1993
         Precedential Status: Precedential
         Citations: 154 B.R. 339
     5   Docket Number: Bankruptcy No. 92-07497
         Judges: Lewis M. Killian, Jr.
     6
     7
         When granting sanctions in In Re Mcbride the Court concluded by stating:
     8
         “Based on the foregoing findings, we find that the filing of the Chapter 11 petition by McBride
     9
         and its resistance to Barnett's motion for relief from the stay were done for an improper purpose,
    10   that is the unnecessary delay in the completion of the foreclosure sale by Barnett Bank, and that
         such petition and opposition were not well grounded in fact or warranted by existing law or good
    11   faith argument for the extension, modification, or reversal of existing law. B.R. 9011. The costs
         incurred by Barnett as a result of the actions of McBride Estates and its attorney in filing the
    12
         petition for relief under Chapter 11 and resisting the motion for relief from stay are as follows:
    13   1) $1,440.88 publication costs for foreclosure sale.
    14
         2) $190.00 paralegal expenses preparing for foreclosure sale.
    15
         3) $2,340.50 attorney's fees in connection with the motion for relief from stay.
    16
         *344 4) $60.00 filing fee for motion for relief from stay.
    17
    18   5) $500 attorney's fees in connection with the motion for sanctions.

    19   Total $4,531.38.

    20   154 B.R. B339 (1993) In re McBRIDE ESTATES, LTD. Debtor. Bankruptcy No. 92-07497.
         United States Bankruptcy Court, N.D. Florida, Tallahassee Division. March 26, 1993.
    21
    22   The In In Re Mcbride the sanction was $2,840.00.
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                                      645




         55. A review of the three of Holland’s own cited cases shows that an appropriate sanction ranges
     1
         from One Thousand Dollars ($1,000.00) to Two Thousand Eight Hundred Dollars Forty Dollars.
     2
         ($2,840.00).
     3
     4   56.The Thirty Thousand Dollar ($30,000.00) sanction the Court is attempting to impose on
         Neusom is clearly excessive, unwarranted , is not appropriate or limited and does not comply
     5   with 9001.
     6
     7   57.Neusom and Perez deny wrongdoing, do not admit to liability and believe granting sanctions
         is wrong. Despite this, if the Court were to impose a sanction of $2,000.00 with no restrictions
     8   on practice or other conditions, Neusom will agree to pay a sanction of Two Thousand Dollars
     9   ($2,000.00) on behalf of Neusom and Perez if this will conclude the matter and this dismissed
         Bankruptcy case for all purposes. The current appeal filed in connection hereto,
    10
         18-CV-24051-RNS will be dismissed.
    11
    12   58.The eviction case with its security deposit, dumpster fee claims and other issues is a separate
    13   matter.

    14
    15
                                               CONCLUSION
    16
    17   59.Holland’s motion for sanctions is without merit and the Order granting sanctions should

    18   be vacated. Neusom and Perez have presented a resolution to try to end this matter.
    19
    20
         60.WHEREFORE, Neusom and Perez pray that the Court:
    21
            1. Vacate the current Order dated October 4, 2018 by Judge Cristol granting sanctions,
    22
            2. Enter an order denying sanctions or enter an appropriate order
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                                      645




     1
     2   Dated: October 16, 2018:

     3
     4                                            By:/s/Thomas Neusom
     5                                            Attorney For Debtor
                                                  Bar No. 003717
     6                                            (954)200-3536
                                                  4737 N. Ocean Drive, #129
     7                                            Fort Lauderdale, FL 33308
                                                  Email: tgnoffice35@gmail.com
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     1                            CERTIFICATE OF SERVICE
     2   I HEREBY CERTIFY that a true and correct copy of the foregoing MOTION TO VACATE
     3   THE ORDER GRANTING HOLLAND’S MOTION FOR SANCTIONS ENTERED
         OCTOBER 4, 2018 was furnished by email to the following on October 10, 2018, to the parties
     4   on the efiling portal service list by email.

     5
     6
     7                                                    By:/s/Thomas Neusom
                                                          Attorney For Debtor
     8                                                    Bar No. 0037174
     9                                                    Phone; (954)200-3536
                                                          4737 N. Ocean Drive, #129
    10                                                    Fort Lauderdale, FL 33308
                                                          Email: tgnoffice35@gmail.com
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     1
     2                                   EXHIBIT 1
     3     OCTOBER 4, 2018 ORDER RULE 60 VACATING IS SOUGHT AGAINST
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    Case 1:18-cv-24463-FAM  Document 12-1
                   Case 18-15825-AJC      Entered
                                      Doc 93  Filedon10/07/18
                                                      FLSD Docket
                                                              Page01/11/2019
                                                                   1 of 12   Page 523 of
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                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 1                          Date Rcvd: Oct 05, 2018
                                      Form ID: pdf004                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 07, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
               +Florida Bar,   651 E Jefferson St,   Tallahassee, FL 32399-2300
               +Honorable Alexander Bokor,   County Court Judge,   73 West Flagler St,   Miami, FL 33130-1731

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 07, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 5, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
    Case 1:18-cv-24463-FAM  Document 12-1
                   Case 18-15825-AJC      Entered
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                                                      FLSD Docket
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           ORDERED in the Southern District of Florida on October 4, 2018.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No.: 18-15825-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtors.
          ____________________________________/

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN AND
                        $1'5($+2//$1'¶6027ION FOR SANCTIONS UNDER
                             BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                   THIS MATTER came before the Court for an evidentiary hearing on September 28, 2018

          upon Creditors, Brian Holland and Andrea Holland¶V ³Landlord´ 0RWLRQIRU6DQFWLRQVXQGHU

          Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF No. 25].

                                                INTRODUCTION

                   On May 30, 2018, Landlord filed a Motion for Sanctions under Bankruptcy Rule 9011 and

          11 U.S.C. § 105 DJDLQVW 'HEWRU 1XELD 0DUFHOOD 3HUH] ³Debtor´  DQG KHU FRXQVHO 7KRPDV




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      1HXVRP ³Neusom´)1 alleging that Debtor and Neusom filed a bankruptcy petition in bad faith for

      the sole purpose of staying a state court eviction action brought by Landlord against A Plus

      Lamination and Finishing, Inc. At trial, the Landlord presented no evidence regarding actions

      WDNHQE\WKH'HEWRUEXWLWGLGSUHVHQWHYLGHQFHWKDW'HEWRU¶VDWWRUQH\1HXVRPIDOVHO\DGYLVHG

      /DQGORUG¶VPDQDJHUDQG/DQGORUG¶VVWDWHFRXUWDWWRUQH\WKDW he had filed a bankruptcy petition on

      behalf of A Plus Lamination and Finishing, Inc., the defendant in the Florida county court eviction

      action. 7KH&RXUWKDYLQJFRQVLGHUHGWKHGRFXPHQWDU\HYLGHQFHZLWQHVVWHVWLPRQ\DQGFRXQVHO¶V

      arguments, enters its findings of fact and conclusions of law as follows:

                                           FINDINGS OF FACT

             1.      Debtor is an individual, and a principal and (apparently) the sole owner of A Plus

      Lamination and Finishing, Inc. Ex. 19.2

             2.      A Plus Lamination and Finishing, Inc. is an active Florida Corporation, which

      entered a one-\HDUFRPPHUFLDOOHDVH ³Lease´ ZLWK/DQGORUGWRUHQWSURSHUW\ORFDWHGDW1:

      WK$YHQXH0LDPL)ORULGD ³Property´  Ex. 21.

             3.      7KH /HDVH¶V RQH-year term ran from August 1, 2017 to July 31, 2018. A Plus

      Lamination and Finishing, Inc. agreed to pay $8,666.67 in monthly rent plus sales tax and fees to

      lease the Property. Id.

             4.      A Plus Lamination and Finishing, Inc. defaulted on the Lease by failing to make

      the March 1, 2018 rent payment and subsequent payments. Ex. 1.




      1
             NeusRP¶VFlorida Bar number is 37148.
      2
             All referenced exhibits were admitted into evidence during the evidentiary hearing.
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             5.       On April 13, 2018, Landlord initiated an eviction action against A Plus Lamination

      and Finishing, Inc. in the County Court in and for Miami-Dade County, Case No. 2018-008187-

      CC- ³Eviction Action´ 

             6.      On May 10, 2018, Judge Alexander Bokor ordered A Plus Lamination and

      Finishing, Inc. WRGHSRVLWUHQWLQWRWKHFRXUWUHJLVWU\ ³Deposit Order´  Ex. 6.

             7.      The Deposit Order required A Plus Lamination and Finishing, Inc. (1) to deposit

      $9,000 by May 7, 2018; (2) to deposit $9,000 by May 14, 2018; and (3) to make timely deposits

      as additional rent became due. Under the Deposit Order, A Plus Lamination and Finishing, Inc.¶V

      failure to make timely deposits would FRQVWLWXWH³an absolute waiver of its defenses, other than

      payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final Judgment

      for Removal of A Plus Lamination and Finishing, Inc. and Writ of Possession to issue forthwith

      ZLWKRXWWKHQHFHVVLW\RIIXUWKHUKHDULQJSXUVXDQWWR6HFWLRQ)ORULGD6WDWXWHV´

             8.      Landlord and A Plus Lamination and Finishing, Inc. were also ordered to attend

      mediation on May 15, 2018 at 1:30 pm. Id.

             9.      A Plus Lamination and Finishing, Inc. failed to deposit into the court registry the

      $9,000 due on May 14, 2018, resulting in a waiver of defenses and entitling Landlord to immediate

      default final judgment and a writ of possession.

             10.      Neusom filed an Individual Chapter 11 bankruptcy petition (³3HWLWLRQ´ ZLWKWKLV

      Court on behalf of Nubia Perez on May 15, 2018, the day after A Plus Lamination and Finishing,

      Inc. failed to make the deposit required by the state court Deposit Order. D.E. 1. Neusom executed

      the Petition on page eleven as counsel for Nubia Perez. Id.

             11.     On page 2 of the Petition, Neusom alleged that Nubia Perez is a small business

      debtor that does business under the name ³A Plus Lamination and Finishing, Inc.´7KLVLVIDOVH



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      A Plus Lamination and Finishing, Inc., the tenant in the eviction action, is a duly registered Florida

      corporation. ,WLVQRWDWUDGHQDPHRUD³GRLQJEXVLQHVVDV´QDPHNo evidence was presented that

      would establish A Plus Lamination and Finishing, Inc. is registered as a fictitious name for Nubia

      Perez.3

                12.   Despite the fact that A Plus Lamination and Finishing, Inc. was not in bankruptcy,

      and just hours before the mediation was scheduled to proceed on May 15, 2018, Neusom called

      Desiree Lindsay ³Lindsay´ /DQGORUG¶VHPSOR\HH, and Joseph Colletti ³Colletti´ , /DQGORUG¶V

      Eviction Action counsel and advised them both that he filed a bankruptcy petition on behalf of A

      Plus Lamination and Finishing, Inc.

                13.   Neusom left a voice message for Lindsay advising her that he filed the Petition for

      A Plus Lamination and Finishing, Inc. Neusom also had two phone conversations with Colletti on

      May 15, 2018 where Neusom advised Colletti of A Plus Lamination and Finishing, Inc.¶V

      EDQNUXSWF\ILOLQJDQG1HXVRP¶VLQWHQWWRIile a suggestion of bankruptcy in the Eviction Action.

      He also asked Colletti for the Eviction Action case number on the second phone call.

                14.   Colletti having been orally advised by Attorney Neusom that A Plus Lamination

      and Finishing, Inc. filed a bankruptcy petition, he immediately filed a Notice of Cancellation of

      Mediation, stating, ³'HIHQGDQWKDVILOHGDSHWLWLRQIRUUHOLHIZLWKWKHEDQNUXSWF\FRXUW´([

                15.   Colletti¶VWHVWLPRQ\ZDVforthcoming, straight-forward, and credible. Colletti took

      contemporaneous handwritten notes during his conversations with Neusom. Ex. 25.




      3
             Neusom filed additional pleadings in this case where he styled the bankruptcy case with
      'HEWRU¶VQDPHDV³Nubia Marcella Perez DBA A Plus Lamination´7KLV&RXUWbelieves that
      Neusom intended to give the impression that A Plus Lamination and Finishing, Inc. was in
      bankruptcy. See D.E.s 19, 38, 39 and 50.
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               16.   On May 15, 2018, the state court entered an Order of Bankruptcy Stay and Closing

      Case. See Ex. 7.

               17.   During the June 20, 2018, 341 meeting of creditors, Neusom and the Debtor

      admitted that her bankruptcy petition was filed to stop the Eviction Action, an indicia of bad faith

      under Phoenix Piccadilly standards, In re Phoenix Piccadilly, Ltd., 849 F.2d 1393 (11th Cir.1988):




      Ex.18.




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      Ex. 18 at 10:6-15.

             18.     On June 28, 2018, this Court dismissed this case with prejudice, granting (1)

      /DQGORUG¶VMotion to Dismiss the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the

      Court and for Relief from the Automatic Stay [D.E. 24], (2) 8QLWHG6WDWHV7UXVWHH¶V0RWLRQWR

      Dismiss or Convert the Case [D.E. 46], and 'HEWRU¶V0RWLon to Dismiss Bankruptcy [D.E. 49].

      D.E. 52.

             19.     On July 2, 2018, with no erroneously alleged automatic stay in place, Landlord filed

      a Motion for Entry of Default Final Judgment in the Eviction Action, and the state court issued a

      Writ of Possession on July 31, 2018. Exs. 11 and 17.

             20.     Although Landlord obtained a writ of possession on July 31, 2018, A Plus

      Lamination and Finishing, Inc. did not vacate the premises until August 22, 2018.

             21.     Lindsay testified that Landlord had a tenant who wished to rent the Property on

      August 1, 2018, but because A Plus Lamination and Finishing, Inc. was still in the Property, the

      new tenant could not take possession. Landlord was forced to postpone the lease with the new

      tenant by one month, with the new lease commencing September 1, 2018. Ex. 24. Consequently,

      Landlord lost one month of rent under the new lease at $9,256.00.

             22.     As a result RI'HEWRUDQG1HXVRP¶VILOLQJRIWKH3HWLWLRQDQG1HXVRP¶VIUDXGXOHQW

      representations of an alleged stay of the Eviction Action, Landlord hired the law firm of Meland

      Russin and Budwick3$ ³MRB´ to represent it in the bankruptcy case and MRB has incurred

      $40,768.33 in legal fees. Ex. 22.

             23.     05%¶V IHHV LQFOXGH DPRQJ other things, time for attending a 341 meeting of

      creditors; researching and drafting a Motion to Dismiss the Bankruptcy Petition for Bad Faith and

      Fraud on the Court; researching and drafting a Motion for Sanctions against Debtor and Neusom;


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      preparing for and attending a hearing on the Motion to Dismiss; preparing for and attending

      multiple hearings related to the Motion for Sanctions, which was continued twice at the request of

      Attorney Neusom; witness and exhibit preparation; numerous communications with Neusom,

      including settlement discussions and the preparation of an unexecuted settlement agreement. MRB

      also attended the three and one half hour evidentiary hearing on the Motion for Sanctions on

      Friday, September 28, 2018.

             24.        Colletti testified that he, too, filed additional motions and attended additional

      hearings in the Eviction Action that would not have been necessary had Neusom not

      misrepresented a bankruptcy stay was in effect. Colletti advised the state court of the dismissal of

      this case and resumed the Eviction Action. Ex. 14. Landlord paid Colletti an additional $2,000 in

      DWWRUQH\¶VIHHVto complete the eviction and obtain the writ of possession, which had been delayed

      E\1HXVRP¶VIDOVHVWDWHPHQWV.

             25.        Neusom argued that Colletti should have independently researched whether the

      Petition was properly filed in the name of A Plus Lamination and Finishing, Inc., rather than rely

      RQ1HXVRP¶VUHSUHVHQWDWLRQVWKDW$3OXV/DPLQDWLRQ and Finishing, Inc. filed bankruptcy.

             26.        Landlord presented the testimony of two credible witnesses, both of whom testified

      that Neusom told them he filed a bankruptcy petition on behalf of A Plus Lamination and

      Finishing, Inc.

             27.        Respondent rested without testifying or presenting any witnesses.

                                           CONCLUSIONS OF LAW

             Landlord seeks sanctions against Debtor and Neusom under Bankruptcy Rule 9011 and 11

      U.S.C. § 105. Bankruptcy Rule 9011 states:




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                     By presenting to the court (whether by signing, filing, submitting, or later
                     advocating) a petition, pleading, written motion, or other paper, an attorney
                     or unrepresented party is certifying that to the best of the person's
                     knowledge, information, and belief, formed after an inquiry reasonable
                     under the circumstances,

                     (1)     it is not being presented for any improper purpose, such as to
                      harass or to cause unnecessary delay or needless increase in the cost of
                      litigation;


      (emphasis added). A sanction under this rule should deter repetition of misconduct. Sanctions may

      include non-monetary directives, as well as reimbursement of DWWRUQH\¶VIHHV and other expenses.

             7KH&RXUWILQGV1HXVRP¶Vargument, that Colletti had a duty to investigate the validity of

      1HXVRP¶V lie about A Plus Lamination and Finishing, Inc. filing for bankruptcy relief, to be

      misguided, disingenuous, and at odds with the unambiguous language of Rule 9011. Under Rule

      9011, Neusom has the responsibility to sign and file a petition after reasonable inquiry and not for

      an improper purpose or to cause unnecessary delay. By filing the Petition, Neusom certified that

      he conducted a reasonable inquiry, and the Petition was not being brought for an improper purpose

      or to cause unnecessary delay. The Court and other members of the Bar should be able to rely on

      the representations of other licensed attorneys.

             ³The purpose of the automatic stay is to give the debtor breathing room. The automatic

      stay is not to be used as an abusivHOLWLJDWLRQWDFWLF´ In re Smith, 257 B.R. 344, 351 (Bankr. N.D.

      $OD  ³7KHSHWLWLRQLV H[FOXGHGIURPWKHVDIHKDUERUSURYLVLRQ RI 5XOHEHFDXVHLWV

      ILOLQJKDVLPPHGLDWHVHULRXVFRQVHTXHQFHV´  In this case, however, the Debtor and Neusom used

      the Petition as an abusive litigation tactic. As the testimony at the 341 meeting reveals, and the

      testimonial and documentary evidence from trial indicates, Neusom filed the individual Petition

      on behalf of the Debtor, and included A Plus Lamination and Finishing, Inc. for the improper

      purpose of misleading the state court eviction counsel and the state court judge into staying the

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      Eviction Action. 1HXVRPPLVUHSUHVHQWHG'HEWRU¶VLGHQWLW\LQKHr Petition by alleging that Nubia

      Perez was doing business as A Plus Lamination and Finishing, Inc., when A Plus Lamination and

      Finishing, Inc. is actually a registered Florida corporation.

             Neusom¶V misrepresentation to Colletti [that A Plus Lamination and Finishing, Inc. was in

      bankruptcy when it was not] resulted in the cancellation of the May 15, 2018 mediation, and

      generated the entry of an Order implementing a non-existent automatic stay and withholding

      issuance of a writ of possession to which Landlord was entitled as of May 15, 2018. The timing

      of the filing of the Petition and the admissions at the 341 meeting indicate that Neusom filed the

      Nubia Perez Petition for the improper purpose of delaying the Eviction Action, which

      unnecessarily increased the cost of litigation. However, the evidence is not clear that Nubia Perez

      understood what Neusom was doing, and there was no evidence that Nubia Perez told any lie that

      FRQWULEXWHGWRWKH/DQGORUG¶VFRXQVHORUWKHVWDWHFRXUWMXGJHEHLQJPLVOHG:KLOHNeusom knew

      or should have known that filing the Petition as a delay tactic was improper, the same cannot be

      said for the Debtor.

             The Court has the inherent power to sanction bad faith conduct under 11 U.S.C. § 105. In

      re IAMEC Funding, Inc., 236 B.R. 490, 491 (Bankr. M.D. Fla. 1999). The bad-faith filing of a

      bankruptcy petition is sanctionable under 11 U.S.C. § 105. In re Hidalgo, 96 B.R. 389, 390 (Bankr.

      S.D. Fla. 1988). Even more serious is lying to opposing counsel in an effort to mislead him, and

      ultimately the Court. 1HXVRP¶VOLHV caused the Landlord to incur legal fees in the alleged amount

      of $40,768.33 to MRB and $2,000 to Colletti. Landlord also lost $9,256.00 in rent for the month

      A Plus Lamination and Finishing, Inc. held over possession of the Property. In total, Landlord

      claims it lost $52,024.33 because of Neusom¶V misconduct. The Court finds that not all the

      requested fees are compensable.



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             Based on the record and evidence admitted at the evidentiary hearing, the Court concludes

      that Attorney Thomas Neusom (Florida Bar number 37148) engaged in sanctionable, bad-faith

      conduct by (1) filing the Individual Chapter 11 Petition for the purpose of stopping the Eviction

      Action against a registered Florida corporation; and  PLVUHSUHVHQWLQJ'HEWRU¶VLGHQWLWy in the

      Petition to cause confusion. Neusom wrongfully obtained the benefit of the automatic stay for a

      non-debtor by misrepresenting to Lindsay and Colletti that A Plus Lamination and Finishing, Inc.

      was in bankruptcy, thereby obtaining the cancellation of the May 15, 2018 mediation and

      postponement of the issuance of the writ of possession.

             Ironically, if Neusom had filed a bankruptcy petition on behalf of the corporation, he would

      have obtained a stay without having to lie. If Neusom filed a petition on behalf of A Plus

      Lamination and Finishing, Inc., the information he provided to Lindsay and Colletti would have

      been true and he would have achieved the same results that were produced in this case by lies. The

      Court is reminded of the old U.S. 0DULQH&RUSDGDJH³QHYHUDWWULEXWHWRPDOLFHWKDWZKLFKFDQEH

      H[SODLQHGE\VWXSLGLW\´It is therefore

             ORDERED AND ADJUDGED that LDQGORUG¶V0RWLRQIRU6DQFWLRQV under Bankruptcy

      Rule 9011 and 11 U.S.C. § 105 is GRANTED IN PART as follows:

             1. Neusom is liable to Landlord in the total amount of $31,256, representing $2,000 in

                 legal fees to Colletti; $20,000 to MRB for legal fees and $9,256.00 for lost rent. If not

                 paid within thirty (30) days, Landlord may request the entry of a final judgment for the

                 sanctions awarded herein.

             2. Neusom is ENJOINED from practicing bankruptcy in any bankruptcy court in the

                 United States for a period of one (1) year from entry of this Order, after which Neusom

                 may apply for readmission to bankruptcy practice upon compliance with all the Local



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                  Rules of the Court governing admission to practice and completing a total of eighteen

                  (18) hours of Continuing Legal Education, consisting of twelve (12) hours of

                  Continuing Legal Education in bankruptcy law and six (6) hours of ethics.

              3. The Clerk of Court is directed to forward certified copies of this Order to The Florida

                  Bar at 651 E. Jefferson Street, Tallahassee, Florida, 32399 and to the Honorable

                  Alexander Bokor, County Court Judge, at Dade County Courthouse. 73 West Flagler

                  Street, Miami, FL 33130

                                                       ###


      Copies furnished by Clerk of Court to:

      Debtor
      Thomas Neusom, Esq.
      Utibe Ikpe, Esq.

      Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
      Certificate of Service.




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            ORDERED in the Southern District of Florida on October 16, 2018.




                                                                       A. Jay Cristol, Judge
                                                                       United States Bankruptcy Court
_____________________________________________________________________________

                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                    www.flsb.uscourts.gov



          In re:                                                  Case No. 18-15825-AJC
          Nubia Marcella Perez                                    Chapter 11
                                                                  Adversary Proceeding No.
          SSN-XXX-XX-9901                                         U.S. District Court Case No. 18-cv-24051-RNS

                        Debtor                  /



                        Plaintiff,
          vs.



                        Defendant           /


                                     ORDER DISMISSING BANKRUPTCY APPEAL

                   A Notice of Appeal was filed on 9/30/2018                     Debtor, Nubia Marcella Perez
                                                                           , by __________________________
          ____________________________________________________________________________
                                      OMNIBUS ORDER (1) DENYING DEBTOR’S MOTION TO STRIKE FOR
          appealing an order entitled ______________________________________________________
          Summary Denial of Landlord Holland's Motion For Sanctions Due to Lack of Jurisdiction and Supplement
          ____________________________________________________________________________
          thereto; and (2)resetting Landlord's Motion for Sanctions and Order Denying Motion to Re-schedule Hr.
          ____________________________________________________________________________
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            A review of the record indicates that:
            [ ]      The appeal was filed after the time specified in Bankruptcy Rule 8002. [See also
                     Local Rule 8002-1(A).]
            [✔]      Appellant failed to timely file the designation of the items for the record or its
                     statement of the issues as required by Bankruptcy Rule 8009. [See also Local
                     Rule 8009-1(A).]
            [ ]      A “Notice of Deficiency Related to Filing an Appeal” was provided by the Clerk to
                     the appellant indicating that the filing fee required by Bankruptcy Rule
                     8003(a)(3)(c) has not been remitted and the appellant has not timely remedied
                     this deficiency. [See also Local Rule 8003-1.]


            Accordingly, it is


            ORDERED that this appeal is DISMISSED as authorized and directed by Local Rule
   87.4(c) of the U.S. District Court.
                                                      ###


   The clerk shall serve a copy of this order on all parties to the appeal and the U.S. Trustee




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           ORDERED in the Southern District of Florida on October 18, 2018.




                                                                 A. Jay Cristol, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________


                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          In re:                                               Case No. 18-15825-BKC-AJC

          NUBIA PEREZ,

                Debtors.
          __________________________________/

                                 ORDER DENYING MOTION FOR RECUSAL

                   THIS MATTER came before the Court upon the Debtors [sic] and Counsel’s Motion

          for Recusal of Judge A. Jay Cristol, filed October 15, 2018 (ECF 96). In its Motion, movants

          have attempted to assert that this Court is bias and prejudiced against them. However, the

          allegations in the Motion do not support the relief requested.

                   A bankruptcy judge shall be governed by 28 U.S.C. §455, and disqualified from

          presiding over the proceeding or contested matter in which the disqualifying circumstance arises

          or, if appropriate, shall be disqualified from presiding over the case. Pursuant to 28 U.S.C.




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   §455(a), a judge has a duty to disqualify himself when “his impartiality might reasonably be

   questioned.” See In re International Business Machines, 618 F.2d 923 (2d Cir. 1980) (statute

   provides objective standard for recusal, creating the so-called “appearance of justice” rule). In

   determining whether a judge should disqualify himself, one must ask what a reasonable person

   knowing all the relevant facts would think about the impartiality of the judge.

          The Motion in this case is wholly insufficient as it states no grounds on which this Court

   should consider disqualifying itself. To disqualify a judge, one must allege bias derived from an

   extra-judicial source. U.S. v. Grinnell, 384 U.S. 563, 583, 86 S.Ct. 1698, 1710, 16 L.Ed.2d 778

   (1966). “The nature of the judge's bias must be personal and not judicial.” In re Beard, 811 F.2d

   818, 827 (4th Cir. 1987). There is no basis alleged in the Motion to support the claim that this

   Court harbors extra-judicial personal prejudice or bias.

          The Debtor has alleged no factual basis for doubting the Court's impartiality.Prior to the

   filing of this case, the Court did not know of this Debtor or her attorney, and the Court holds no

   prejudice towards Debtor or her attorney. This is not a matter of prejudgment, but rather Debtor

   and Attorney Neusom are not pleased with the findings, judgments and adjudications regarding

   Attorney Neusom’s actions in this case, as more particularly described in this Court’s Findings

   of Fact and Conclusions of Law on Brian and Andrea Holland’s Motion for Sanctions under

   Bankruptcy Rule 9011 and 11 U.S.C. § 105 (ECF 91).

          The Motion to recuse was not filed until the adverse findings, rulings and determinations

   were made against Attorney Neusom based upon his misconduct, which was proven at a duly

   noticed evidentiary hearing. Section 455 is not intended “to enable a discontented litigant to

   oust a judge because of adverse rulings made, for such rulings are reviewable otherwise. Berger




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   v. US, 255 U.S. 22, 31, 41 S.Ct. 230, 232, 65 L.Ed. 481, 483 (1921). Granting the relief

   requested would certainly relieve this Court of any further duties pertaining to this matter; but,

   this Court has an obligation to hear all matters assigned to it unless some reasonable factual basis

   to doubt the impartiality or fairness of the tribunal is shown by some kind of probative evidence.

   This Court having no personal bias or prejudice with respect to Attorney Neusom or the Debtor

   that would warrant recusal or disqualification, it is

          ORDERED AND ADJUDGED that the Debtors [sic] and Counsel’s Motion for Recusal

   of Judge A. Jay Cristol, filed October 15, 2018 (ECF 96) is DENIED.

                                                    ###

   Copies furnished to:

   Thomas Neusom, Esq.
   Peter Russin, Esq.




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           ORDERED in the Southern District of Florida on October 18, 2018.




                                                                  A. Jay Cristol, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________


                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          In re:                                                Case No. 18-15825-BKC-AJC

          NUBIA PEREZ,

                Debtors.
          __________________________________/

                                   ORDER DENYING MOTION TO VACATE

                   THIS MATTER came before the Court upon the Motion to Vacate the Order Granting

          Holland’s Motion for Sanctions Entered October 4, 2018 (ECF 97). The Court has reviewed the

          Motion and finds the relief requested therein is not supported by the facts of this case or the law.

          The Motion raises no new issues of law or fact that this Court did not previously consider when

          entering its Findings of Fact and Conclusions of Law on Brian and Andrea Holland’s Motion for

          Sanctions under Bankruptcy Rule 9011 and 11 U.S.C. § 105 (ECF 91). Therefore, it is




                                                           1
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                                      645



          ORDERED AND ADJUDGED that the Motion to Vacate the Order Granting Holland’s

   Motion for Sanctions Entered October 4, 2018 (ECF 97) is DENIED.

                                              ###

   Copies furnished to:

   Thomas Neusom, Esq.
   Peter Russin, Esq.




                                               2
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                                          645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 1                          Date Rcvd: Oct 16, 2018
                                      Form ID: pdf004                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 18, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
cr             +Andrea Holland,   c/o Peter D. Russin, Esq.,   Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,   Miami, FL 33131-5323
cr             +Brian Holland,   c/o Peter D. Russin, Esq.,   Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,   Miami, FL 33131-5323

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 18, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 16, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
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                                          645




            ORDERED in the Southern District of Florida on October 16, 2018.




                                                                       A. Jay Cristol, Judge
                                                                       United States Bankruptcy Court
_____________________________________________________________________________

                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                    www.flsb.uscourts.gov



          In re:                                                  Case No. 18-15825-AJC
          Nubia Marcella Perez                                    Chapter 11
                                                                  Adversary Proceeding No.
          SSN-XXX-XX-9901                                         U.S. District Court Case No. 18-cv-24051-RNS

                        Debtor                  /



                        Plaintiff,
          vs.



                        Defendant           /


                                     ORDER DISMISSING BANKRUPTCY APPEAL

                   A Notice of Appeal was filed on 9/30/2018                     Debtor, Nubia Marcella Perez
                                                                           , by __________________________
          ____________________________________________________________________________
                                      OMNIBUS ORDER (1) DENYING DEBTOR’S MOTION TO STRIKE FOR
          appealing an order entitled ______________________________________________________
          Summary Denial of Landlord Holland's Motion For Sanctions Due to Lack of Jurisdiction and Supplement
          ____________________________________________________________________________
          thereto; and (2)resetting Landlord's Motion for Sanctions and Order Denying Motion to Re-schedule Hr.
          ____________________________________________________________________________
          (rev. 12/01/15)
                                                         Page 1 of 2
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 544 of
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               A review of the record indicates that:
               [ ]      The appeal was filed after the time specified in Bankruptcy Rule 8002. [See also
                        Local Rule 8002-1(A).]
               [✔]      Appellant failed to timely file the designation of the items for the record or its
                        statement of the issues as required by Bankruptcy Rule 8009. [See also Local
                        Rule 8009-1(A).]
               [ ]      A “Notice of Deficiency Related to Filing an Appeal” was provided by the Clerk to
                        the appellant indicating that the filing fee required by Bankruptcy Rule
                        8003(a)(3)(c) has not been remitted and the appellant has not timely remedied
                        this deficiency. [See also Local Rule 8003-1.]


               Accordingly, it is


               ORDERED that this appeal is DISMISSED as authorized and directed by Local Rule
      87.4(c) of the U.S. District Court.
                                                         ###


      The clerk shall serve a copy of this order on all parties to the appeal and the U.S. Trustee




      (rev. 12/01/15)
                                                      Page 2 of 2
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                                       645
Official Form 417A (12/15)




                                      [Caption as in Form 416A, 416B, or 416D, as appropriate]

                            N O T I C E O F A P P E A L AND S T A T E M E N T O F E L E C T I O N



        Part 1: Identify the appellant(s)

            1.    Name(s) of appellant(s):


           2. Position of appellant(s) in the adversary proceeding or bankruptcy case that Is the subject of this
                  appeal:             ^                         ^ A      .^r               -     ^- ^

                 . For appeals In an adversary proceeding.                  For appeals In a bankruptcy case and not In an
                   •   Plaintiff                                            adversary proceeding.
                   •   Defendant                                            ^Debtor
                   •   Other (describe)                                     • Creditor

                                                                            •   Trustee
                                                                            2l.Other (described       /j       -f - / ^ ^ n ey



        Part 2: Identify the subject of this appeal

            1.    Describe the judgment, order, or decree appealed txom:f~':yi J ) / ^ ^ r t-f f~( c-f AyoJ Ccn c I ^ • ' J o>^j OT^^K"

           2. state the date on which the judgment, order, or decree was entered:                                 (Oc -Icle        ^ .16

        Part 3: Identify the other parties to the appeal

       List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
       and telephone numbers of their attorneys (attach additional pages If necessary):

            1.    Party: KJIA ii^f.       Arrr^        Attorney:    77,


           2. Party:                                   Attorney:




    3. Oy^n:           LiA< O'^-^"'^ Q lA P'^^y               1r7   y) D<r6y,}r            /t/lfy.^,j 7^ f^^^kc                  FZry                 ^   7-yCy:{f'l
                                   C^^y/,^j       p.rUnJs           A^^'t..^              p-,r    r^^^p,^^                     ^^e^i?'A^ch                r^A




       Official Form 417A                          Notice of Appeal and Statement of Election                                                page 1

  7/, Oj-c^er            Pe^y]y.y                 M d f ] c^           /d            e C (A A         T<^ dcj^ A- J^y Cd J sf o j 0^                            10//^M

         Or-Je.y^            Poiny                At^ ^ ^       -           A^//\e          c t„ f;        J      6     k-t^      7 ^ ^ 4 c ^ / ^ f ^^/^rJp^
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 546 of
                                      645



    Part 4: Optional election to have appeal heard by District Court (applicable only in
    certain districts)

    If a Bankruptcy Appellate Panel is available In this judicial district, the Bankruptcy Appellate Panel will
    hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
    United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
    United States District Court, check below. Do not check the box If the appellant wishes the Bankruptcy
    Appellate Panel to hear the appeal.

                   •       Appellant(s) elect to have the appeal heard by the United States District Court rather than by
                           the Bankruptcy Appellate Panel.



    Part 5: Sign below

       7^^^^^<r-»^                 ^yArOAr^                                                  Date:   0 ciole^   / % tOl9,
    Signature of attorney for appellant(s) (or appellant(s)
    If not represented by an attorney)

    Name, address, and telephone number of attorney
    (or appellant(s) If not represented by an attorney):
        7~/yOytAy4<r yj eAJ6r>d

                       r              p,       Pi                /       .




    Fee waiver notice: If appellant Is a child support creditor or Its representative and appellant has filed the
    form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee Is required.




    Official F o r m 4 1 7 A                        Notice of Appeal and Statement of Election                        page 2
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                                                                   1 of 12   Page 547 of
                                           645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 1                          Date Rcvd: Oct 05, 2018
                                      Form ID: pdf004                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 07, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
               +Florida Bar,   651 E Jefferson St,   Tallahassee, FL 32399-2300
               +Honorable Alexander Bokor,   County Court Judge,   73 West Flagler St,   Miami, FL 33130-1731

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 07, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 5, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
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           ORDERED in the Southern District of Florida on October 4, 2018.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No.: 18-15825-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtors.
          ____________________________________/

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN AND
                        $1'5($+2//$1'¶6027ION FOR SANCTIONS UNDER
                             BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                   THIS MATTER came before the Court for an evidentiary hearing on September 28, 2018

          upon Creditors, Brian Holland and Andrea Holland¶V ³Landlord´ 0RWLRQIRU6DQFWLRQVXQGHU

          Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF No. 25].

                                                INTRODUCTION

                   On May 30, 2018, Landlord filed a Motion for Sanctions under Bankruptcy Rule 9011 and

          11 U.S.C. § 105 DJDLQVW 'HEWRU 1XELD 0DUFHOOD 3HUH] ³Debtor´  DQG KHU FRXQVHO 7KRPDV




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      1HXVRP ³Neusom´)1 alleging that Debtor and Neusom filed a bankruptcy petition in bad faith for

      the sole purpose of staying a state court eviction action brought by Landlord against A Plus

      Lamination and Finishing, Inc. At trial, the Landlord presented no evidence regarding actions

      WDNHQE\WKH'HEWRUEXWLWGLGSUHVHQWHYLGHQFHWKDW'HEWRU¶VDWWRUQH\1HXVRPIDOVHO\DGYLVHG

      /DQGORUG¶VPDQDJHUDQG/DQGORUG¶VVWDWHFRXUWDWWRUQH\WKDW he had filed a bankruptcy petition on

      behalf of A Plus Lamination and Finishing, Inc., the defendant in the Florida county court eviction

      action. 7KH&RXUWKDYLQJFRQVLGHUHGWKHGRFXPHQWDU\HYLGHQFHZLWQHVVWHVWLPRQ\DQGFRXQVHO¶V

      arguments, enters its findings of fact and conclusions of law as follows:

                                           FINDINGS OF FACT

             1.      Debtor is an individual, and a principal and (apparently) the sole owner of A Plus

      Lamination and Finishing, Inc. Ex. 19.2

             2.      A Plus Lamination and Finishing, Inc. is an active Florida Corporation, which

      entered a one-\HDUFRPPHUFLDOOHDVH ³Lease´ ZLWK/DQGORUGWRUHQWSURSHUW\ORFDWHGDW1:

      WK$YHQXH0LDPL)ORULGD ³Property´  Ex. 21.

             3.      7KH /HDVH¶V RQH-year term ran from August 1, 2017 to July 31, 2018. A Plus

      Lamination and Finishing, Inc. agreed to pay $8,666.67 in monthly rent plus sales tax and fees to

      lease the Property. Id.

             4.      A Plus Lamination and Finishing, Inc. defaulted on the Lease by failing to make

      the March 1, 2018 rent payment and subsequent payments. Ex. 1.




      1
             NeusRP¶VFlorida Bar number is 37148.
      2
             All referenced exhibits were admitted into evidence during the evidentiary hearing.
                                                       2
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             5.       On April 13, 2018, Landlord initiated an eviction action against A Plus Lamination

      and Finishing, Inc. in the County Court in and for Miami-Dade County, Case No. 2018-008187-

      CC- ³Eviction Action´ 

             6.      On May 10, 2018, Judge Alexander Bokor ordered A Plus Lamination and

      Finishing, Inc. WRGHSRVLWUHQWLQWRWKHFRXUWUHJLVWU\ ³Deposit Order´  Ex. 6.

             7.      The Deposit Order required A Plus Lamination and Finishing, Inc. (1) to deposit

      $9,000 by May 7, 2018; (2) to deposit $9,000 by May 14, 2018; and (3) to make timely deposits

      as additional rent became due. Under the Deposit Order, A Plus Lamination and Finishing, Inc.¶V

      failure to make timely deposits would FRQVWLWXWH³an absolute waiver of its defenses, other than

      payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final Judgment

      for Removal of A Plus Lamination and Finishing, Inc. and Writ of Possession to issue forthwith

      ZLWKRXWWKHQHFHVVLW\RIIXUWKHUKHDULQJSXUVXDQWWR6HFWLRQ)ORULGD6WDWXWHV´

             8.      Landlord and A Plus Lamination and Finishing, Inc. were also ordered to attend

      mediation on May 15, 2018 at 1:30 pm. Id.

             9.      A Plus Lamination and Finishing, Inc. failed to deposit into the court registry the

      $9,000 due on May 14, 2018, resulting in a waiver of defenses and entitling Landlord to immediate

      default final judgment and a writ of possession.

             10.      Neusom filed an Individual Chapter 11 bankruptcy petition (³3HWLWLRQ´ ZLWKWKLV

      Court on behalf of Nubia Perez on May 15, 2018, the day after A Plus Lamination and Finishing,

      Inc. failed to make the deposit required by the state court Deposit Order. D.E. 1. Neusom executed

      the Petition on page eleven as counsel for Nubia Perez. Id.

             11.     On page 2 of the Petition, Neusom alleged that Nubia Perez is a small business

      debtor that does business under the name ³A Plus Lamination and Finishing, Inc.´7KLVLVIDOVH



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      A Plus Lamination and Finishing, Inc., the tenant in the eviction action, is a duly registered Florida

      corporation. ,WLVQRWDWUDGHQDPHRUD³GRLQJEXVLQHVVDV´QDPHNo evidence was presented that

      would establish A Plus Lamination and Finishing, Inc. is registered as a fictitious name for Nubia

      Perez.3

                12.   Despite the fact that A Plus Lamination and Finishing, Inc. was not in bankruptcy,

      and just hours before the mediation was scheduled to proceed on May 15, 2018, Neusom called

      Desiree Lindsay ³Lindsay´ /DQGORUG¶VHPSOR\HH, and Joseph Colletti ³Colletti´ , /DQGORUG¶V

      Eviction Action counsel and advised them both that he filed a bankruptcy petition on behalf of A

      Plus Lamination and Finishing, Inc.

                13.   Neusom left a voice message for Lindsay advising her that he filed the Petition for

      A Plus Lamination and Finishing, Inc. Neusom also had two phone conversations with Colletti on

      May 15, 2018 where Neusom advised Colletti of A Plus Lamination and Finishing, Inc.¶V

      EDQNUXSWF\ILOLQJDQG1HXVRP¶VLQWHQWWRIile a suggestion of bankruptcy in the Eviction Action.

      He also asked Colletti for the Eviction Action case number on the second phone call.

                14.   Colletti having been orally advised by Attorney Neusom that A Plus Lamination

      and Finishing, Inc. filed a bankruptcy petition, he immediately filed a Notice of Cancellation of

      Mediation, stating, ³'HIHQGDQWKDVILOHGDSHWLWLRQIRUUHOLHIZLWKWKHEDQNUXSWF\FRXUW´([

                15.   Colletti¶VWHVWLPRQ\ZDVforthcoming, straight-forward, and credible. Colletti took

      contemporaneous handwritten notes during his conversations with Neusom. Ex. 25.




      3
             Neusom filed additional pleadings in this case where he styled the bankruptcy case with
      'HEWRU¶VQDPHDV³Nubia Marcella Perez DBA A Plus Lamination´7KLV&RXUWbelieves that
      Neusom intended to give the impression that A Plus Lamination and Finishing, Inc. was in
      bankruptcy. See D.E.s 19, 38, 39 and 50.
                                                        4
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               16.   On May 15, 2018, the state court entered an Order of Bankruptcy Stay and Closing

      Case. See Ex. 7.

               17.   During the June 20, 2018, 341 meeting of creditors, Neusom and the Debtor

      admitted that her bankruptcy petition was filed to stop the Eviction Action, an indicia of bad faith

      under Phoenix Piccadilly standards, In re Phoenix Piccadilly, Ltd., 849 F.2d 1393 (11th Cir.1988):




      Ex.18.




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      Ex. 18 at 10:6-15.

             18.     On June 28, 2018, this Court dismissed this case with prejudice, granting (1)

      /DQGORUG¶VMotion to Dismiss the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the

      Court and for Relief from the Automatic Stay [D.E. 24], (2) 8QLWHG6WDWHV7UXVWHH¶V0RWLRQWR

      Dismiss or Convert the Case [D.E. 46], and 'HEWRU¶V0RWLon to Dismiss Bankruptcy [D.E. 49].

      D.E. 52.

             19.     On July 2, 2018, with no erroneously alleged automatic stay in place, Landlord filed

      a Motion for Entry of Default Final Judgment in the Eviction Action, and the state court issued a

      Writ of Possession on July 31, 2018. Exs. 11 and 17.

             20.     Although Landlord obtained a writ of possession on July 31, 2018, A Plus

      Lamination and Finishing, Inc. did not vacate the premises until August 22, 2018.

             21.     Lindsay testified that Landlord had a tenant who wished to rent the Property on

      August 1, 2018, but because A Plus Lamination and Finishing, Inc. was still in the Property, the

      new tenant could not take possession. Landlord was forced to postpone the lease with the new

      tenant by one month, with the new lease commencing September 1, 2018. Ex. 24. Consequently,

      Landlord lost one month of rent under the new lease at $9,256.00.

             22.     As a result RI'HEWRUDQG1HXVRP¶VILOLQJRIWKH3HWLWLRQDQG1HXVRP¶VIUDXGXOHQW

      representations of an alleged stay of the Eviction Action, Landlord hired the law firm of Meland

      Russin and Budwick3$ ³MRB´ to represent it in the bankruptcy case and MRB has incurred

      $40,768.33 in legal fees. Ex. 22.

             23.     05%¶V IHHV LQFOXGH DPRQJ other things, time for attending a 341 meeting of

      creditors; researching and drafting a Motion to Dismiss the Bankruptcy Petition for Bad Faith and

      Fraud on the Court; researching and drafting a Motion for Sanctions against Debtor and Neusom;


                                                      6
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      preparing for and attending a hearing on the Motion to Dismiss; preparing for and attending

      multiple hearings related to the Motion for Sanctions, which was continued twice at the request of

      Attorney Neusom; witness and exhibit preparation; numerous communications with Neusom,

      including settlement discussions and the preparation of an unexecuted settlement agreement. MRB

      also attended the three and one half hour evidentiary hearing on the Motion for Sanctions on

      Friday, September 28, 2018.

             24.        Colletti testified that he, too, filed additional motions and attended additional

      hearings in the Eviction Action that would not have been necessary had Neusom not

      misrepresented a bankruptcy stay was in effect. Colletti advised the state court of the dismissal of

      this case and resumed the Eviction Action. Ex. 14. Landlord paid Colletti an additional $2,000 in

      DWWRUQH\¶VIHHVto complete the eviction and obtain the writ of possession, which had been delayed

      E\1HXVRP¶VIDOVHVWDWHPHQWV.

             25.        Neusom argued that Colletti should have independently researched whether the

      Petition was properly filed in the name of A Plus Lamination and Finishing, Inc., rather than rely

      RQ1HXVRP¶VUHSUHVHQWDWLRQVWKDW$3OXV/DPLQDWLRQ and Finishing, Inc. filed bankruptcy.

             26.        Landlord presented the testimony of two credible witnesses, both of whom testified

      that Neusom told them he filed a bankruptcy petition on behalf of A Plus Lamination and

      Finishing, Inc.

             27.        Respondent rested without testifying or presenting any witnesses.

                                           CONCLUSIONS OF LAW

             Landlord seeks sanctions against Debtor and Neusom under Bankruptcy Rule 9011 and 11

      U.S.C. § 105. Bankruptcy Rule 9011 states:




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                     By presenting to the court (whether by signing, filing, submitting, or later
                     advocating) a petition, pleading, written motion, or other paper, an attorney
                     or unrepresented party is certifying that to the best of the person's
                     knowledge, information, and belief, formed after an inquiry reasonable
                     under the circumstances,

                     (1)     it is not being presented for any improper purpose, such as to
                      harass or to cause unnecessary delay or needless increase in the cost of
                      litigation;


      (emphasis added). A sanction under this rule should deter repetition of misconduct. Sanctions may

      include non-monetary directives, as well as reimbursement of DWWRUQH\¶VIHHV and other expenses.

             7KH&RXUWILQGV1HXVRP¶Vargument, that Colletti had a duty to investigate the validity of

      1HXVRP¶V lie about A Plus Lamination and Finishing, Inc. filing for bankruptcy relief, to be

      misguided, disingenuous, and at odds with the unambiguous language of Rule 9011. Under Rule

      9011, Neusom has the responsibility to sign and file a petition after reasonable inquiry and not for

      an improper purpose or to cause unnecessary delay. By filing the Petition, Neusom certified that

      he conducted a reasonable inquiry, and the Petition was not being brought for an improper purpose

      or to cause unnecessary delay. The Court and other members of the Bar should be able to rely on

      the representations of other licensed attorneys.

             ³The purpose of the automatic stay is to give the debtor breathing room. The automatic

      stay is not to be used as an abusivHOLWLJDWLRQWDFWLF´ In re Smith, 257 B.R. 344, 351 (Bankr. N.D.

      $OD  ³7KHSHWLWLRQLV H[FOXGHGIURPWKHVDIHKDUERUSURYLVLRQ RI 5XOHEHFDXVHLWV

      ILOLQJKDVLPPHGLDWHVHULRXVFRQVHTXHQFHV´  In this case, however, the Debtor and Neusom used

      the Petition as an abusive litigation tactic. As the testimony at the 341 meeting reveals, and the

      testimonial and documentary evidence from trial indicates, Neusom filed the individual Petition

      on behalf of the Debtor, and included A Plus Lamination and Finishing, Inc. for the improper

      purpose of misleading the state court eviction counsel and the state court judge into staying the

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      Eviction Action. 1HXVRPPLVUHSUHVHQWHG'HEWRU¶VLGHQWLW\LQKHr Petition by alleging that Nubia

      Perez was doing business as A Plus Lamination and Finishing, Inc., when A Plus Lamination and

      Finishing, Inc. is actually a registered Florida corporation.

             Neusom¶V misrepresentation to Colletti [that A Plus Lamination and Finishing, Inc. was in

      bankruptcy when it was not] resulted in the cancellation of the May 15, 2018 mediation, and

      generated the entry of an Order implementing a non-existent automatic stay and withholding

      issuance of a writ of possession to which Landlord was entitled as of May 15, 2018. The timing

      of the filing of the Petition and the admissions at the 341 meeting indicate that Neusom filed the

      Nubia Perez Petition for the improper purpose of delaying the Eviction Action, which

      unnecessarily increased the cost of litigation. However, the evidence is not clear that Nubia Perez

      understood what Neusom was doing, and there was no evidence that Nubia Perez told any lie that

      FRQWULEXWHGWRWKH/DQGORUG¶VFRXQVHORUWKHVWDWHFRXUWMXGJHEHLQJPLVOHG:KLOHNeusom knew

      or should have known that filing the Petition as a delay tactic was improper, the same cannot be

      said for the Debtor.

             The Court has the inherent power to sanction bad faith conduct under 11 U.S.C. § 105. In

      re IAMEC Funding, Inc., 236 B.R. 490, 491 (Bankr. M.D. Fla. 1999). The bad-faith filing of a

      bankruptcy petition is sanctionable under 11 U.S.C. § 105. In re Hidalgo, 96 B.R. 389, 390 (Bankr.

      S.D. Fla. 1988). Even more serious is lying to opposing counsel in an effort to mislead him, and

      ultimately the Court. 1HXVRP¶VOLHV caused the Landlord to incur legal fees in the alleged amount

      of $40,768.33 to MRB and $2,000 to Colletti. Landlord also lost $9,256.00 in rent for the month

      A Plus Lamination and Finishing, Inc. held over possession of the Property. In total, Landlord

      claims it lost $52,024.33 because of Neusom¶V misconduct. The Court finds that not all the

      requested fees are compensable.



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             Based on the record and evidence admitted at the evidentiary hearing, the Court concludes

      that Attorney Thomas Neusom (Florida Bar number 37148) engaged in sanctionable, bad-faith

      conduct by (1) filing the Individual Chapter 11 Petition for the purpose of stopping the Eviction

      Action against a registered Florida corporation; and  PLVUHSUHVHQWLQJ'HEWRU¶VLGHQWLWy in the

      Petition to cause confusion. Neusom wrongfully obtained the benefit of the automatic stay for a

      non-debtor by misrepresenting to Lindsay and Colletti that A Plus Lamination and Finishing, Inc.

      was in bankruptcy, thereby obtaining the cancellation of the May 15, 2018 mediation and

      postponement of the issuance of the writ of possession.

             Ironically, if Neusom had filed a bankruptcy petition on behalf of the corporation, he would

      have obtained a stay without having to lie. If Neusom filed a petition on behalf of A Plus

      Lamination and Finishing, Inc., the information he provided to Lindsay and Colletti would have

      been true and he would have achieved the same results that were produced in this case by lies. The

      Court is reminded of the old U.S. 0DULQH&RUSDGDJH³QHYHUDWWULEXWHWRPDOLFHWKDWZKLFKFDQEH

      H[SODLQHGE\VWXSLGLW\´It is therefore

             ORDERED AND ADJUDGED that LDQGORUG¶V0RWLRQIRU6DQFWLRQV under Bankruptcy

      Rule 9011 and 11 U.S.C. § 105 is GRANTED IN PART as follows:

             1. Neusom is liable to Landlord in the total amount of $31,256, representing $2,000 in

                 legal fees to Colletti; $20,000 to MRB for legal fees and $9,256.00 for lost rent. If not

                 paid within thirty (30) days, Landlord may request the entry of a final judgment for the

                 sanctions awarded herein.

             2. Neusom is ENJOINED from practicing bankruptcy in any bankruptcy court in the

                 United States for a period of one (1) year from entry of this Order, after which Neusom

                 may apply for readmission to bankruptcy practice upon compliance with all the Local



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                  Rules of the Court governing admission to practice and completing a total of eighteen

                  (18) hours of Continuing Legal Education, consisting of twelve (12) hours of

                  Continuing Legal Education in bankruptcy law and six (6) hours of ethics.

              3. The Clerk of Court is directed to forward certified copies of this Order to The Florida

                  Bar at 651 E. Jefferson Street, Tallahassee, Florida, 32399 and to the Honorable

                  Alexander Bokor, County Court Judge, at Dade County Courthouse. 73 West Flagler

                  Street, Miami, FL 33130

                                                       ###


      Copies furnished by Clerk of Court to:

      Debtor
      Thomas Neusom, Esq.
      Utibe Ikpe, Esq.

      Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
      Certificate of Service.




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           ORDERED in the Southern District of Florida on August 20, 2018.




                                                              A. Jay Cristol, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________

                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No. 18-15825-BKC-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtor.
          ____________________________________/

          OMNIBUS ORDER (1) DENYING DEBTOR’S MOTION TO STRIKE FOR SUMMARY
          DENIAL OF LANDLORD HOLLAND’S MOTION FOR SANCTIONS DUE TO LACK
             OF JURISDICTION AND SUPPLEMENT THERETO; AND (2) RESETTING
                          LANDLORD’S MOTION FOR SANCTIONS

                   THIS MATTER came before the Court for an evidentiary hearing on August 15, 2018 at

          3:00 pm (the “Hearing”) upon (1) Debtor’s Motion to Strike for Summary Denial of Landlord

          Holland’s Motion for Sanctions Due to Lack of Jurisdiction and Other Grounds [ECF 60]; Debtor’s

          Supplement to Motion to Strike for Summary Denial of Landlord Holland’s Motion for Sanctions

          Due to Lack of Jurisdiction and Other Grounds [ECF 64]; and Landlord’s Motion for Sanctions

          Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 filed by Creditor Brian Holland and Andrea

          Holland’s a/k/a Brian Holland 5561 Rent Account (“Landlord”) [ECF 25]. The Court, having



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   reviewed the motions, having heard argument from counsel, and based on the reasons stated on

   the record at the Hearing, it is

           ORDERED AND ADJUDGED as follows:

           1.      Debtor’s Motion to Strike for Summary Denial of Landlord Holland’s Motion for

   Sanctions Due to Lack of Jurisdiction and Other Grounds [ECF 60] and Debtor’s Supplement to

   Motion to Strike for Summary Denial of Landlord Holland’s Motion for Sanctions Due to Lack of

   Jurisdiction and Other Grounds [ECF 64] are DENIED WITH PREJUDICE.

           2.      The Bankruptcy Court has jurisdiction to hear Landlord’s Motion for Sanctions

   Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25].

           3.      The evidentiary hearing on Landlord’s Motion for Sanctions Pursuant to

   Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25] is rescheduled to September 28, 2018 at 2:00

   p.m. at C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave, Courtroom 7, Miami, FL 33128.

           4.      To the extent not already exchanged (see paragraph 5 below), the Parties shall

   exchange witness lists and copies of all exhibits by September 4, 2018.

           5.      Debtor’s counsel, Thomas Neusom, received copies of Landlord’s Exhibits in

   Court on August 15, 2018 and acknowledged receipt.

                                                    ###

   Submitted By:
   Utibe Ikpe, Esquire
   Florida Bar No. 90301
   uikpe@melandrussin.com
   Meland Russin and Budwick
   200 South Biscayne Blvd., Ste 3200
   Miami, Florida 33131
   T: 305.358.6363
   F: 305.358.1221

   Copies furnished to:
   Utibe Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.

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           ORDERED in the Southern District of Florida on October 18, 2018.




                                                                  A. Jay Cristol, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________


                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          In re:                                                Case No. 18-15825-BKC-AJC

          NUBIA PEREZ,

                Debtors.
          __________________________________/

                                   ORDER DENYING MOTION TO VACATE

                   THIS MATTER came before the Court upon the Motion to Vacate the Order Granting

          Holland’s Motion for Sanctions Entered October 4, 2018 (ECF 97). The Court has reviewed the

          Motion and finds the relief requested therein is not supported by the facts of this case or the law.

          The Motion raises no new issues of law or fact that this Court did not previously consider when

          entering its Findings of Fact and Conclusions of Law on Brian and Andrea Holland’s Motion for

          Sanctions under Bankruptcy Rule 9011 and 11 U.S.C. § 105 (ECF 91). Therefore, it is




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          ORDERED AND ADJUDGED that the Motion to Vacate the Order Granting Holland’s

   Motion for Sanctions Entered October 4, 2018 (ECF 97) is DENIED.

                                              ###

   Copies furnished to:

   Thomas Neusom, Esq.
   Peter Russin, Esq.




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           ORDERED in the Southern District of Florida on October 18, 2018.




                                                                 A. Jay Cristol, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________


                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          In re:                                               Case No. 18-15825-BKC-AJC

          NUBIA PEREZ,

                Debtors.
          __________________________________/

                                 ORDER DENYING MOTION FOR RECUSAL

                   THIS MATTER came before the Court upon the Debtors [sic] and Counsel’s Motion

          for Recusal of Judge A. Jay Cristol, filed October 15, 2018 (ECF 96). In its Motion, movants

          have attempted to assert that this Court is bias and prejudiced against them. However, the

          allegations in the Motion do not support the relief requested.

                   A bankruptcy judge shall be governed by 28 U.S.C. §455, and disqualified from

          presiding over the proceeding or contested matter in which the disqualifying circumstance arises

          or, if appropriate, shall be disqualified from presiding over the case. Pursuant to 28 U.S.C.




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   §455(a), a judge has a duty to disqualify himself when “his impartiality might reasonably be

   questioned.” See In re International Business Machines, 618 F.2d 923 (2d Cir. 1980) (statute

   provides objective standard for recusal, creating the so-called “appearance of justice” rule). In

   determining whether a judge should disqualify himself, one must ask what a reasonable person

   knowing all the relevant facts would think about the impartiality of the judge.

          The Motion in this case is wholly insufficient as it states no grounds on which this Court

   should consider disqualifying itself. To disqualify a judge, one must allege bias derived from an

   extra-judicial source. U.S. v. Grinnell, 384 U.S. 563, 583, 86 S.Ct. 1698, 1710, 16 L.Ed.2d 778

   (1966). “The nature of the judge's bias must be personal and not judicial.” In re Beard, 811 F.2d

   818, 827 (4th Cir. 1987). There is no basis alleged in the Motion to support the claim that this

   Court harbors extra-judicial personal prejudice or bias.

          The Debtor has alleged no factual basis for doubting the Court's impartiality.Prior to the

   filing of this case, the Court did not know of this Debtor or her attorney, and the Court holds no

   prejudice towards Debtor or her attorney. This is not a matter of prejudgment, but rather Debtor

   and Attorney Neusom are not pleased with the findings, judgments and adjudications regarding

   Attorney Neusom’s actions in this case, as more particularly described in this Court’s Findings

   of Fact and Conclusions of Law on Brian and Andrea Holland’s Motion for Sanctions under

   Bankruptcy Rule 9011 and 11 U.S.C. § 105 (ECF 91).

          The Motion to recuse was not filed until the adverse findings, rulings and determinations

   were made against Attorney Neusom based upon his misconduct, which was proven at a duly

   noticed evidentiary hearing. Section 455 is not intended “to enable a discontented litigant to

   oust a judge because of adverse rulings made, for such rulings are reviewable otherwise. Berger




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   v. US, 255 U.S. 22, 31, 41 S.Ct. 230, 232, 65 L.Ed. 481, 483 (1921). Granting the relief

   requested would certainly relieve this Court of any further duties pertaining to this matter; but,

   this Court has an obligation to hear all matters assigned to it unless some reasonable factual basis

   to doubt the impartiality or fairness of the tribunal is shown by some kind of probative evidence.

   This Court having no personal bias or prejudice with respect to Attorney Neusom or the Debtor

   that would warrant recusal or disqualification, it is

          ORDERED AND ADJUDGED that the Debtors [sic] and Counsel’s Motion for Recusal

   of Judge A. Jay Cristol, filed October 15, 2018 (ECF 96) is DENIED.

                                                    ###

   Copies furnished to:

   Thomas Neusom, Esq.
   Peter Russin, Esq.




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            ORDERED in the Southern District of Florida on October 2, 2018.




                                                                  A. Jay Cristol, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________



                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                               MIAMI DIVISION
                                              www.flsb.uscourts.gov


          In re:                                                        Case No.: 18-15825-ACJ

          NUBIA MARCELLA PEREZ,                                         Chapter 11

                       Debtors.
          ____________________________________/

                   ORDER DENYING DEBTOR’S MOTION IN LIMINE TO THE TESTIMONY
                        OF JOSEPH COLLETTI AND FOR SUMMARY DENIAL OF
                     LANDLORD HOLLAND’S MOTION FOR SANCTIONS [ECF NO. 74]

                    THIS MATTER came before the Court on September 28, 2018 at 2:00 p.m. on Debtor’s Motion

          in Limine to the testimony of Joseph Colletti and for Summary Denial of Landlord Holland’s Motion for

          Sanctions [ECF No. 74]. The Court, having been advised of the issues and hearing the arguments of

          counsel, ORDERS AND ADJUDGES as follows:

                    Debtor’s Motion [ECF No. 74] lacks merit and is Denied.

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   Submitted By:
   Utibe I. Ikpe, Esquire
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   uikpe@melandrussin.com
   MELAND RUSSIN & BUDWICK, P.A.
   3200 Southeast Financial Center
   200 South Biscayne Blvd.
   Miami, Florida 33131
   Telephone: (305) 358-6363
   Telefax: (305) 358-1221

   Copies furnished to:
   Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.




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Official Form 417A (12/15)




   jSA^     ^/\J             ^      ^    ^      /"Capf/on a s / n Form 4f6A, 4166, o r 4 f 6 D , as appropr/afey

                                        NOTICE OF APPEAL AND STATEMENT OF ELECTION



          Part 1: Identify the appellant(s)

                1.       .a.e,s,o,appe,l3n^                                 ^          ^      ^       ^ ^ ^ ^ ^             ^


                2.       Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this
                         appeal:

                         For appeals in an adversary proceeding.                   For appeals in a bankruptcy case and not in an
                         •       Plaintiff                                         adversary proceeding.
                         •       Defendant                                         •       Debtor
            -        :   •       Other (describe)                                  •       Creditor

                                                                                   •       Trustee

                                                                                  gl Other (describe) A       "t''//>-/i        ^   i   f   S-h^     ^


          Part 2: Identify the subject of this a p p e a f ^^'^^'^'^ ^ ' ^ r ^ No. / * ' c i / -                                        Z^o^\^MS
                1.       Describe the judgment, order, or decree appealed from:

                2.       Statethedateonwhichthejudgment, order, or decree was entered:                               Al rS, A -^^           Z 0 li

          Part 3: Identify the other parties to the appeal

          List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
          and telephone numbers of their attorneys (attach additional pages if necessary):

                1.       Party:              ^ ;&   fcrt    ^     Attorney:                  Qyyr^U      Ni           t ^




                2.       Party:                                 Attorney:




          Official Form 417A                                Notice of Appeal and Statement of Election                                         page 1
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    Part 4: Optional election to have appeal heard by District Court (applicable only in
    certain districts)

    If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
    hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
    United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
    United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
    Appellate Panel to hear the appeal.

               •    Appellant(s) elect to have the appeal heard by the United States District Court rather than by
                    the Bankruptcy Appellate Panel.



    Part 5: Sign beiow


    Signature of attorney for appellant(s) (or appellant(s)
    if not represented by an attorney)

    Name, address, and telephone number of attorney
    (or appellant(s) if not represented by an attorney):


          /C-..^/    l.<-n   J   J.h j f-L 3ZA.04



    Fee waiver notice: If appellant is a child support creditor or its representative and appeliant has filed the
    form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.




    Official Form 417A                     Notice of Appeal and Statement of Election
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                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 1                          Date Rcvd: Oct 05, 2018
                                      Form ID: pdf004                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 07, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
               +Florida Bar,   651 E Jefferson St,   Tallahassee, FL 32399-2300
               +Honorable Alexander Bokor,   County Court Judge,   73 West Flagler St,   Miami, FL 33130-1731

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 07, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 5, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
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           ORDERED in the Southern District of Florida on October 4, 2018.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No.: 18-15825-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtors.
          ____________________________________/

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN AND
                        $1'5($+2//$1'¶6027ION FOR SANCTIONS UNDER
                             BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                   THIS MATTER came before the Court for an evidentiary hearing on September 28, 2018

          upon Creditors, Brian Holland and Andrea Holland¶V ³Landlord´ 0RWLRQIRU6DQFWLRQVXQGHU

          Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF No. 25].

                                                INTRODUCTION

                   On May 30, 2018, Landlord filed a Motion for Sanctions under Bankruptcy Rule 9011 and

          11 U.S.C. § 105 DJDLQVW 'HEWRU 1XELD 0DUFHOOD 3HUH] ³Debtor´  DQG KHU FRXQVHO 7KRPDV




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      1HXVRP ³Neusom´)1 alleging that Debtor and Neusom filed a bankruptcy petition in bad faith for

      the sole purpose of staying a state court eviction action brought by Landlord against A Plus

      Lamination and Finishing, Inc. At trial, the Landlord presented no evidence regarding actions

      WDNHQE\WKH'HEWRUEXWLWGLGSUHVHQWHYLGHQFHWKDW'HEWRU¶VDWWRUQH\1HXVRPIDOVHO\DGYLVHG

      /DQGORUG¶VPDQDJHUDQG/DQGORUG¶VVWDWHFRXUWDWWRUQH\WKDW he had filed a bankruptcy petition on

      behalf of A Plus Lamination and Finishing, Inc., the defendant in the Florida county court eviction

      action. 7KH&RXUWKDYLQJFRQVLGHUHGWKHGRFXPHQWDU\HYLGHQFHZLWQHVVWHVWLPRQ\DQGFRXQVHO¶V

      arguments, enters its findings of fact and conclusions of law as follows:

                                           FINDINGS OF FACT

             1.      Debtor is an individual, and a principal and (apparently) the sole owner of A Plus

      Lamination and Finishing, Inc. Ex. 19.2

             2.      A Plus Lamination and Finishing, Inc. is an active Florida Corporation, which

      entered a one-\HDUFRPPHUFLDOOHDVH ³Lease´ ZLWK/DQGORUGWRUHQWSURSHUW\ORFDWHGDW1:

      WK$YHQXH0LDPL)ORULGD ³Property´  Ex. 21.

             3.      7KH /HDVH¶V RQH-year term ran from August 1, 2017 to July 31, 2018. A Plus

      Lamination and Finishing, Inc. agreed to pay $8,666.67 in monthly rent plus sales tax and fees to

      lease the Property. Id.

             4.      A Plus Lamination and Finishing, Inc. defaulted on the Lease by failing to make

      the March 1, 2018 rent payment and subsequent payments. Ex. 1.




      1
             NeusRP¶VFlorida Bar number is 37148.
      2
             All referenced exhibits were admitted into evidence during the evidentiary hearing.
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             5.       On April 13, 2018, Landlord initiated an eviction action against A Plus Lamination

      and Finishing, Inc. in the County Court in and for Miami-Dade County, Case No. 2018-008187-

      CC- ³Eviction Action´ 

             6.      On May 10, 2018, Judge Alexander Bokor ordered A Plus Lamination and

      Finishing, Inc. WRGHSRVLWUHQWLQWRWKHFRXUWUHJLVWU\ ³Deposit Order´  Ex. 6.

             7.      The Deposit Order required A Plus Lamination and Finishing, Inc. (1) to deposit

      $9,000 by May 7, 2018; (2) to deposit $9,000 by May 14, 2018; and (3) to make timely deposits

      as additional rent became due. Under the Deposit Order, A Plus Lamination and Finishing, Inc.¶V

      failure to make timely deposits would FRQVWLWXWH³an absolute waiver of its defenses, other than

      payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final Judgment

      for Removal of A Plus Lamination and Finishing, Inc. and Writ of Possession to issue forthwith

      ZLWKRXWWKHQHFHVVLW\RIIXUWKHUKHDULQJSXUVXDQWWR6HFWLRQ)ORULGD6WDWXWHV´

             8.      Landlord and A Plus Lamination and Finishing, Inc. were also ordered to attend

      mediation on May 15, 2018 at 1:30 pm. Id.

             9.      A Plus Lamination and Finishing, Inc. failed to deposit into the court registry the

      $9,000 due on May 14, 2018, resulting in a waiver of defenses and entitling Landlord to immediate

      default final judgment and a writ of possession.

             10.      Neusom filed an Individual Chapter 11 bankruptcy petition (³3HWLWLRQ´ ZLWKWKLV

      Court on behalf of Nubia Perez on May 15, 2018, the day after A Plus Lamination and Finishing,

      Inc. failed to make the deposit required by the state court Deposit Order. D.E. 1. Neusom executed

      the Petition on page eleven as counsel for Nubia Perez. Id.

             11.     On page 2 of the Petition, Neusom alleged that Nubia Perez is a small business

      debtor that does business under the name ³A Plus Lamination and Finishing, Inc.´7KLVLVIDOVH



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      A Plus Lamination and Finishing, Inc., the tenant in the eviction action, is a duly registered Florida

      corporation. ,WLVQRWDWUDGHQDPHRUD³GRLQJEXVLQHVVDV´QDPHNo evidence was presented that

      would establish A Plus Lamination and Finishing, Inc. is registered as a fictitious name for Nubia

      Perez.3

                12.   Despite the fact that A Plus Lamination and Finishing, Inc. was not in bankruptcy,

      and just hours before the mediation was scheduled to proceed on May 15, 2018, Neusom called

      Desiree Lindsay ³Lindsay´ /DQGORUG¶VHPSOR\HH, and Joseph Colletti ³Colletti´ , /DQGORUG¶V

      Eviction Action counsel and advised them both that he filed a bankruptcy petition on behalf of A

      Plus Lamination and Finishing, Inc.

                13.   Neusom left a voice message for Lindsay advising her that he filed the Petition for

      A Plus Lamination and Finishing, Inc. Neusom also had two phone conversations with Colletti on

      May 15, 2018 where Neusom advised Colletti of A Plus Lamination and Finishing, Inc.¶V

      EDQNUXSWF\ILOLQJDQG1HXVRP¶VLQWHQWWRIile a suggestion of bankruptcy in the Eviction Action.

      He also asked Colletti for the Eviction Action case number on the second phone call.

                14.   Colletti having been orally advised by Attorney Neusom that A Plus Lamination

      and Finishing, Inc. filed a bankruptcy petition, he immediately filed a Notice of Cancellation of

      Mediation, stating, ³'HIHQGDQWKDVILOHGDSHWLWLRQIRUUHOLHIZLWKWKHEDQNUXSWF\FRXUW´([

                15.   Colletti¶VWHVWLPRQ\ZDVforthcoming, straight-forward, and credible. Colletti took

      contemporaneous handwritten notes during his conversations with Neusom. Ex. 25.




      3
             Neusom filed additional pleadings in this case where he styled the bankruptcy case with
      'HEWRU¶VQDPHDV³Nubia Marcella Perez DBA A Plus Lamination´7KLV&RXUWbelieves that
      Neusom intended to give the impression that A Plus Lamination and Finishing, Inc. was in
      bankruptcy. See D.E.s 19, 38, 39 and 50.
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               16.   On May 15, 2018, the state court entered an Order of Bankruptcy Stay and Closing

      Case. See Ex. 7.

               17.   During the June 20, 2018, 341 meeting of creditors, Neusom and the Debtor

      admitted that her bankruptcy petition was filed to stop the Eviction Action, an indicia of bad faith

      under Phoenix Piccadilly standards, In re Phoenix Piccadilly, Ltd., 849 F.2d 1393 (11th Cir.1988):




      Ex.18.




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      Ex. 18 at 10:6-15.

             18.     On June 28, 2018, this Court dismissed this case with prejudice, granting (1)

      /DQGORUG¶VMotion to Dismiss the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the

      Court and for Relief from the Automatic Stay [D.E. 24], (2) 8QLWHG6WDWHV7UXVWHH¶V0RWLRQWR

      Dismiss or Convert the Case [D.E. 46], and 'HEWRU¶V0RWLon to Dismiss Bankruptcy [D.E. 49].

      D.E. 52.

             19.     On July 2, 2018, with no erroneously alleged automatic stay in place, Landlord filed

      a Motion for Entry of Default Final Judgment in the Eviction Action, and the state court issued a

      Writ of Possession on July 31, 2018. Exs. 11 and 17.

             20.     Although Landlord obtained a writ of possession on July 31, 2018, A Plus

      Lamination and Finishing, Inc. did not vacate the premises until August 22, 2018.

             21.     Lindsay testified that Landlord had a tenant who wished to rent the Property on

      August 1, 2018, but because A Plus Lamination and Finishing, Inc. was still in the Property, the

      new tenant could not take possession. Landlord was forced to postpone the lease with the new

      tenant by one month, with the new lease commencing September 1, 2018. Ex. 24. Consequently,

      Landlord lost one month of rent under the new lease at $9,256.00.

             22.     As a result RI'HEWRUDQG1HXVRP¶VILOLQJRIWKH3HWLWLRQDQG1HXVRP¶VIUDXGXOHQW

      representations of an alleged stay of the Eviction Action, Landlord hired the law firm of Meland

      Russin and Budwick3$ ³MRB´ to represent it in the bankruptcy case and MRB has incurred

      $40,768.33 in legal fees. Ex. 22.

             23.     05%¶V IHHV LQFOXGH DPRQJ other things, time for attending a 341 meeting of

      creditors; researching and drafting a Motion to Dismiss the Bankruptcy Petition for Bad Faith and

      Fraud on the Court; researching and drafting a Motion for Sanctions against Debtor and Neusom;


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      preparing for and attending a hearing on the Motion to Dismiss; preparing for and attending

      multiple hearings related to the Motion for Sanctions, which was continued twice at the request of

      Attorney Neusom; witness and exhibit preparation; numerous communications with Neusom,

      including settlement discussions and the preparation of an unexecuted settlement agreement. MRB

      also attended the three and one half hour evidentiary hearing on the Motion for Sanctions on

      Friday, September 28, 2018.

             24.        Colletti testified that he, too, filed additional motions and attended additional

      hearings in the Eviction Action that would not have been necessary had Neusom not

      misrepresented a bankruptcy stay was in effect. Colletti advised the state court of the dismissal of

      this case and resumed the Eviction Action. Ex. 14. Landlord paid Colletti an additional $2,000 in

      DWWRUQH\¶VIHHVto complete the eviction and obtain the writ of possession, which had been delayed

      E\1HXVRP¶VIDOVHVWDWHPHQWV.

             25.        Neusom argued that Colletti should have independently researched whether the

      Petition was properly filed in the name of A Plus Lamination and Finishing, Inc., rather than rely

      RQ1HXVRP¶VUHSUHVHQWDWLRQVWKDW$3OXV/DPLQDWLRQ and Finishing, Inc. filed bankruptcy.

             26.        Landlord presented the testimony of two credible witnesses, both of whom testified

      that Neusom told them he filed a bankruptcy petition on behalf of A Plus Lamination and

      Finishing, Inc.

             27.        Respondent rested without testifying or presenting any witnesses.

                                           CONCLUSIONS OF LAW

             Landlord seeks sanctions against Debtor and Neusom under Bankruptcy Rule 9011 and 11

      U.S.C. § 105. Bankruptcy Rule 9011 states:




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                     By presenting to the court (whether by signing, filing, submitting, or later
                     advocating) a petition, pleading, written motion, or other paper, an attorney
                     or unrepresented party is certifying that to the best of the person's
                     knowledge, information, and belief, formed after an inquiry reasonable
                     under the circumstances,

                     (1)     it is not being presented for any improper purpose, such as to
                      harass or to cause unnecessary delay or needless increase in the cost of
                      litigation;


      (emphasis added). A sanction under this rule should deter repetition of misconduct. Sanctions may

      include non-monetary directives, as well as reimbursement of DWWRUQH\¶VIHHV and other expenses.

             7KH&RXUWILQGV1HXVRP¶Vargument, that Colletti had a duty to investigate the validity of

      1HXVRP¶V lie about A Plus Lamination and Finishing, Inc. filing for bankruptcy relief, to be

      misguided, disingenuous, and at odds with the unambiguous language of Rule 9011. Under Rule

      9011, Neusom has the responsibility to sign and file a petition after reasonable inquiry and not for

      an improper purpose or to cause unnecessary delay. By filing the Petition, Neusom certified that

      he conducted a reasonable inquiry, and the Petition was not being brought for an improper purpose

      or to cause unnecessary delay. The Court and other members of the Bar should be able to rely on

      the representations of other licensed attorneys.

             ³The purpose of the automatic stay is to give the debtor breathing room. The automatic

      stay is not to be used as an abusivHOLWLJDWLRQWDFWLF´ In re Smith, 257 B.R. 344, 351 (Bankr. N.D.

      $OD  ³7KHSHWLWLRQLV H[FOXGHGIURPWKHVDIHKDUERUSURYLVLRQ RI 5XOHEHFDXVHLWV

      ILOLQJKDVLPPHGLDWHVHULRXVFRQVHTXHQFHV´  In this case, however, the Debtor and Neusom used

      the Petition as an abusive litigation tactic. As the testimony at the 341 meeting reveals, and the

      testimonial and documentary evidence from trial indicates, Neusom filed the individual Petition

      on behalf of the Debtor, and included A Plus Lamination and Finishing, Inc. for the improper

      purpose of misleading the state court eviction counsel and the state court judge into staying the

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      Eviction Action. 1HXVRPPLVUHSUHVHQWHG'HEWRU¶VLGHQWLW\LQKHr Petition by alleging that Nubia

      Perez was doing business as A Plus Lamination and Finishing, Inc., when A Plus Lamination and

      Finishing, Inc. is actually a registered Florida corporation.

             Neusom¶V misrepresentation to Colletti [that A Plus Lamination and Finishing, Inc. was in

      bankruptcy when it was not] resulted in the cancellation of the May 15, 2018 mediation, and

      generated the entry of an Order implementing a non-existent automatic stay and withholding

      issuance of a writ of possession to which Landlord was entitled as of May 15, 2018. The timing

      of the filing of the Petition and the admissions at the 341 meeting indicate that Neusom filed the

      Nubia Perez Petition for the improper purpose of delaying the Eviction Action, which

      unnecessarily increased the cost of litigation. However, the evidence is not clear that Nubia Perez

      understood what Neusom was doing, and there was no evidence that Nubia Perez told any lie that

      FRQWULEXWHGWRWKH/DQGORUG¶VFRXQVHORUWKHVWDWHFRXUWMXGJHEHLQJPLVOHG:KLOHNeusom knew

      or should have known that filing the Petition as a delay tactic was improper, the same cannot be

      said for the Debtor.

             The Court has the inherent power to sanction bad faith conduct under 11 U.S.C. § 105. In

      re IAMEC Funding, Inc., 236 B.R. 490, 491 (Bankr. M.D. Fla. 1999). The bad-faith filing of a

      bankruptcy petition is sanctionable under 11 U.S.C. § 105. In re Hidalgo, 96 B.R. 389, 390 (Bankr.

      S.D. Fla. 1988). Even more serious is lying to opposing counsel in an effort to mislead him, and

      ultimately the Court. 1HXVRP¶VOLHV caused the Landlord to incur legal fees in the alleged amount

      of $40,768.33 to MRB and $2,000 to Colletti. Landlord also lost $9,256.00 in rent for the month

      A Plus Lamination and Finishing, Inc. held over possession of the Property. In total, Landlord

      claims it lost $52,024.33 because of Neusom¶V misconduct. The Court finds that not all the

      requested fees are compensable.



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             Based on the record and evidence admitted at the evidentiary hearing, the Court concludes

      that Attorney Thomas Neusom (Florida Bar number 37148) engaged in sanctionable, bad-faith

      conduct by (1) filing the Individual Chapter 11 Petition for the purpose of stopping the Eviction

      Action against a registered Florida corporation; and  PLVUHSUHVHQWLQJ'HEWRU¶VLGHQWLWy in the

      Petition to cause confusion. Neusom wrongfully obtained the benefit of the automatic stay for a

      non-debtor by misrepresenting to Lindsay and Colletti that A Plus Lamination and Finishing, Inc.

      was in bankruptcy, thereby obtaining the cancellation of the May 15, 2018 mediation and

      postponement of the issuance of the writ of possession.

             Ironically, if Neusom had filed a bankruptcy petition on behalf of the corporation, he would

      have obtained a stay without having to lie. If Neusom filed a petition on behalf of A Plus

      Lamination and Finishing, Inc., the information he provided to Lindsay and Colletti would have

      been true and he would have achieved the same results that were produced in this case by lies. The

      Court is reminded of the old U.S. 0DULQH&RUSDGDJH³QHYHUDWWULEXWHWRPDOLFHWKDWZKLFKFDQEH

      H[SODLQHGE\VWXSLGLW\´It is therefore

             ORDERED AND ADJUDGED that LDQGORUG¶V0RWLRQIRU6DQFWLRQV under Bankruptcy

      Rule 9011 and 11 U.S.C. § 105 is GRANTED IN PART as follows:

             1. Neusom is liable to Landlord in the total amount of $31,256, representing $2,000 in

                 legal fees to Colletti; $20,000 to MRB for legal fees and $9,256.00 for lost rent. If not

                 paid within thirty (30) days, Landlord may request the entry of a final judgment for the

                 sanctions awarded herein.

             2. Neusom is ENJOINED from practicing bankruptcy in any bankruptcy court in the

                 United States for a period of one (1) year from entry of this Order, after which Neusom

                 may apply for readmission to bankruptcy practice upon compliance with all the Local



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                  Rules of the Court governing admission to practice and completing a total of eighteen

                  (18) hours of Continuing Legal Education, consisting of twelve (12) hours of

                  Continuing Legal Education in bankruptcy law and six (6) hours of ethics.

              3. The Clerk of Court is directed to forward certified copies of this Order to The Florida

                  Bar at 651 E. Jefferson Street, Tallahassee, Florida, 32399 and to the Honorable

                  Alexander Bokor, County Court Judge, at Dade County Courthouse. 73 West Flagler

                  Street, Miami, FL 33130

                                                       ###


      Copies furnished by Clerk of Court to:

      Debtor
      Thomas Neusom, Esq.
      Utibe Ikpe, Esq.

      Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
      Certificate of Service.




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        /v'\ £ N fJ [: D                                   [Caption as in Form 416A, 4168, or 416D, as appropriate]

                                      NOTICE OF APPEAL AND STATEMENT OF ELECTION


                  Part 1: Identify the appellant(s)

                       1.   Name(s) of appellan~


                       2.   Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this
                            appeal:

                            For appeals in an adversary proceeding.                              For appeals in a bankruptcy case and not in an
                            0 Plaintiff                                                          adversary proceeding.
                            0 Defendant                                                          D Debtor
                            0 Other (describe) _ _ _ _ _ _ __                                    D Creditor
                                                                                                 D Trustee
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                  Part 2: Identify the subject of this appeal ' c o t V't l,; u /'/., i -.;,/ v . 1. -1 c n . RM_)·
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                       1.   Describe the judgment, order, or decree appealed from:                               0 C +c k.,    1' "    L/. Z. c I ct
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                  ,   2.      State the date on which the judgment, order. or decree was entered:      {) ct, ),                                         h   L/, 2 c 1 £
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                 Part 3: Identify the other parties to the appeal

                 List the names of all parties to the judgment, order. or decree appealed from and the names, addresses.
                 and telephone numbers of their attorneys {attach additional pages if necessary):

                      1.    Party:    tlrt. /1 '       4    (',re '[.         Attorney:      r h      0 1"1-) '1..f   N ~, l-1. j •   <•2
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                      2.    Party: ------~                                    Attorney: - - - - - - - - - - - - -




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                                                                                                       able only in
    Part 4: Optional election to have appeal heard by District Court {applic
    certain districts)

                                                                                    Bankrup tcy Appella te Panel will
    If a Bankrup tcy Appella te Panel is available in this judicial district, the
                                                                                elects to have the appeal heard by the
    hear this appeal unless, pursuan t to 28 U.S.C. § 158(c)(1 ), a party
                                                               notice wishes     to have  the appeal heard by the
    United States District Court. If an appellan t filing this
                                                  Do   not check  the  box   if the appellan t wishes the Bankrup tcy
    United States District Court. check below.
    Appellat e Panel to hear the appeal.
                                                                                                       rather than by
               0 Appella nt(s) elect to have the appeal heard by the United States District Court
                   the Bankrup tcy Appellat e Panel.



    Part 5: Sign below

                                                                                    Date:   /   0 /z:i // </
    Signatu re of attorney for appellan t(s) (or appellan t(s)
    if not represe nted by an attorney )

    Name, address , and telephon e number of attorney
    (or appellan t(s) if not repr.esen.ted by an attorney):
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                                                                                ntative and appellan t has filed the
    Fee waiver notice: If appellan t is a child support creditor or its represe
                                                 tcy Reform Act  of 1994,  no fee is required.
    form specifie d in § 304(g) of the Bankrup




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     Official Form 417 A                    Notice of Appeal and Statemen t of Election
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      ORDERED in the Southern District of Florida on October 4, 2018.




                                                         A. Jay Cristol, Judge
                                                         United States Bankruptcy Court




                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA

    In re:                                                    Case No.: 18-15825-AJC

    NUBIA MARCELLA PEREZ,                                     Chapter 11

                    Debtors.
   - - - - - - - - - - - - - - -I
              FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN AND
                 ANDREA HOLLAND'S MOTION FOR SANCTIONS UNDER
                       BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

             THIS MATTER came before the Court for an evidentiary hearing on September 28, 2018

    upon Creditors, Brian Holland and Andrea Holland's ("Landlord") Motion for Sanctions under

    Bankruptcy Rule 9011and11 U.S.C. § 105 [ECF No. 25].

                                          INTRODUCTION

             On May 30, 2018, Landlord filed a Motion for Sanctions under Bankruptcy Rule 9011 and

    11 U.S.C. § 105 against Debtor Nubia Marcella Perez ("Debtor") and her counsel, Thomas




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   Neusom ("Neusom") 1 alleging that Debtor and Neusom filed a bankruptcy petition in bad faith for

   the sole purpose of staying a state court eviction action brought by Landlord against A Plus

   Lamination and Finishing, Inc. At trial, the Landlord presented no evidence regarding actions

   taken by the Debtor, but it did present evidence that Debtor's attorney, Neusom, falsely advised

   Landlord's manager and Landlord's state court attorney that he had filed a bankruptcy petition on

   behalf of A Plus Lamination and Finishing, Inc., the defendant in the Florida county court eviction

   action. The Court, having considered the documentary evidence, witness testimony, and counsel's

   arguments, enters its findings of fact and conclusions of law as follows:

                                        FINDINGS OF FACT

           1.     Debtor is an individual, and a principal and (apparently) the sole owner of A Plus
                                            2
   Lamination and Finishing, Inc. Ex. 19.

          2.      A Plus Lamination and Finishing, Inc. is an active Florida Corporation, which

   entered a one-year commercial lease ("Lease") with Landlord to rent property located at 5559 NW

   36th Avenue Miami, Florida 33142 ("Property"). Ex. 21.

           3.      The Lease's one-year term ran from August 1, 2017 to July 31, 2018. A Plus

   Lamination and Finishing, Inc. agreed to pay $8,666.67 in monthly rent plus sales tax and fees to

   lease the Property. Id.

           4.      A Plus Lamination and Finishing, Inc. defaulted on the Lease by failing to make

   the March 1, 2018 rent payment and subsequent payments. Ex. 1.




           Neusom's Florida Bar number is 37148.
           All referenced exhibits were admitted into evidence during the evidentiary hearing.
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          5.       On April 13, 2018, Landlord initiated an eviction action against A Plus Lamination

   and Finishing, Inc. in the County Court in and for Miami-Dade County, Case No. 2018-008187-

   CC-05 ("Eviction Action").

          6.      On May 10, 2018, Judge Alexander Bokor ordered A Plus Lamination and

   Finishing, Inc. to deposit rent into the court registry ("Deposit Order"). Ex. 6.

          7.      The Deposit Order required A Plus Lamination and Finishing, Inc. (1) to deposit

   $9,000 by May 7, 2018; (2) to deposit $9,000 by May 14, 2018; and (3) to make timely deposits

   as additional rent became due. Under the Deposit Order, A Plus Lamination and Finishing, Inc. 's

   failure to make timely deposits would constitute "an absolute waiver of its defenses, other than

   payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final Judgment

   for Removal of A Plus Lamination and Finishing, Inc. and Writ of Possession to issue forthwith

   without the necessity of further hearing pursuant to Section 83.232, Florida Statutes."

          8.      Landlord and A Plus Lamination and Finishing, Inc. were also ordered to attend

   mediation on May 15, 2018 at 1:30 pm. Id.

          9.      A Plus Lamination and Finishing, Inc. failed to deposit into the court registry the

   $9,000 due on May 14, 2018, resulting in a waiver of defenses and entitling Landlord to immediate

   default final judgment and a writ of possession.

          I 0.     Neusom filed an Individual Chapter 11 bankruptcy petition ("Petition") with this

   Court on behalf of Nubia Perez on May 15, 2018, the day after A Plus Lamination and Finishing,

   Inc. failed to make the deposit required by the state court Deposit Order. D.E. 1. Neusom executed

   the Petition on page eleven as counsel for Nubia Perez. Id.

          11.     On page 2 of the Petition, Neusom alleged that Nubia Perez is a small business

   debtor that does business under the name "A Plus Lamination and Finishing, Inc." This is false.



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   A Plus Lamination and Finishing, Inc., the tenant in the eviction action, is a duly registered Florida

   corporation. It is not a trade name or a "doing business as" name. No evidence was presented that

   would establish A Plus Lamination and Finishing, Inc. is registered as a fictitious name for Nubia

   Perez. 3

              12.   Despite the fact that A Plus Lamination and Finishing, Inc. was not in bankruptcy,

   and just hours before the mediation was scheduled to proceed on May 15, 2018, Neusom called

   Desiree Lindsay ("Lindsay"), Landlord's employee, and Joseph Colletti ("Colletti"), Landlord's

   Eviction Action counsel and advised them both that he filed a bankruptcy petition on behalf of A

   Plus Lamination and Finishing, Inc.

              13.   Neusom left a voice message for Lindsay advising her that he filed the Petition for

   A Plus Lamination and Finishing, Inc. Neusom also had two phone conversations with Colletti on

   May 15, 2018 where Neusom advised Colletti of A Plus Lamination and Finishing, Inc.'s

   bankruptcy filing, and N eusom' s intent to file a suggestion of bankruptcy in the Eviction Action.

   He also asked Colletti for the Eviction Action case number on the second phone call.

              14.   Colletti having been orally advised by Attorney Neusom that A Plus Lamination

   and Finishing, Inc. filed a bankruptcy petition, he immediately filed a Notice of Cancellation of

   Mediation, stating, "Defendant has filed a petition for relief with the bankruptcy court." Ex. 8

              15.   Colletti's testimony was forthcoming, straight-forward, and credible. Colletti took

   contemporaneous handwritten notes during his conversations with Neusom. Ex. 25.




          Neusom filed additional pleadings in this case where he styled the bankruptcy case with
   Debtor's name as "Nubia Marcella Perez DBA A Plus Lamination." This Court believes that
   Neusom intended to give the impression that A Plus Lamination and Finishing, Inc. was in
   bankruptcy. See D.E.s 19, 38, 39 and 50.
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              16.      On May 15, 2018, the state court entered an Order of Bankruptcy Stay and Closing

    Case. See Ex. 7.

              17.      During the June 20, 2018, 341 meeting of creditors, Neusom and the Debtor

    admitted that her bankruptcy petition was filed to stop the Eviction Action, an indicia of bad faith

    under Phoenix Piccadilly standards, In re Phoenix Piccadilly, Ltd., 849 F.2d 1393 (11th Cir.1988):


          4                           MR. NEUSOM:          Yeah.   Well, I guess the
          5         really what happened was there was an eviction, and they

          6         were in the process of almost having a writ of possession,
          7         and so they did have to file.              There was also a
        8           garnishment of some funds.
          9                           So, there was, there was an emergency
      10            situation that participated the filing and required the
      11            filing, and at this point we may be able to resolve these

      12            issues outside of bankruptcy.              So we're going to probably
      13            resolve -- dismiss the bankruptcy.


   Ex.18.

       6                    Q.       Okay.     Ms. Perez, the question was, what was
       7        the reason that you -- I understand that your company is
       8        not doing well.          Why did you file for bankruptcy?
       9                             MR. NEUSOM:          Mention the eviction.
     10                              MS. ARMENGOL:          What was that?
     11                              MR. NEUSOM:          Can I talk to her?
     12                              MS. ARMENGOL:         Okay.
     13                              MR. NEUSOM:          You probably may want to talk
     14        about the eviction and the garnishment.                     I think those
     15        were, like, what happened.

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   Ex. 18 at 10:6-15.


           18.    On June 28, 2018, this Court dismissed this case with prejudice, granting (1)

   Landlord's Motion to Dismiss the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the

   Court and for Relief from the Automatic Stay [D.E. 24], (2) United States Trustee's Motion to

   Dismiss or Convert the Case [D.E. 46], and Debtor's Motion to Dismiss Bankruptcy [D.E. 49].

   D.E. 52.

          19.     On July 2, 2018, with no erroneously alleged automatic stay in place, Landlord filed

   a Motion for Entry of Default Final Judgment in the Eviction Action, and the state court issued a

   Writ of Possession on July 31, 2018. Exs. 11 and 17.

          20.     Although Landlord obtained a writ of possession on July 31, 2018, A Plus

   Lamination and Finishing, Inc. did not vacate the premises until August 22, 2018.

          21.     Lindsay testified that Landlord had a tenant who wished to rent the Property on

   August 1, 2018, but because A Plus Lamination and Finishing, Inc. was still in the Property, the

   new tenant could not take possession. Landlord was forced to postpone the lease with the new

   tenant by one month, with the new lease commencing September 1, 2018. Ex. 24. Consequently,

   Landlord lost one month ofrent under the new lease at $9,256.00.

          22.     As a result of Debtor and Neusom's filing of the Petition and Neusom's fraudulent

   representations of an alleged stay of the Eviction Action, Landlord hired the law firm of Meland

   Russin and Budwick, P.A. ("MRB") to represent it in the bankruptcy case and MRB has incurred

   $40,768.33 in legal fees. Ex. 22.

          23.     MRB's fees include, among other things, time for attending a 341 meeting of

   creditors; researching and drafting a Motion to Dismiss the Bankruptcy Petition for Bad Faith and

   Fraud on the Court; researching and drafting a Motion for Sanctions against Debtor and Neusom;


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    preparing for and attending a hearing on the Motion to Dismiss; preparing for and attending

    multiple hearings related to the Motion for Sanctions, which was continued twice at the request of

    Attorney Neusom; witness and exhibit preparation; numerous communications with Neusom,

    including settlement discussions and the preparation of an unexecuted settlement agreement. MRB

    also attended the three and one half hour evidentiary hearing on the Motion for Sanctions on

    Friday, September 28, 2018.

            24.       Colletti testified that he, too, filed additional motions and attended additional

    hearings in the Eviction Action that would not have been necessary had Neusom not

    misrepresented a bankruptcy stay was in effect. Colletti advised the state court of the dismissal of

    this case and resumed the Eviction Action. Ex. 14. Landlord paid Colletti an additional $2,000 in

    attorney's fees to complete the eviction and obtain the writ of possession, which had been delayed

    by Neusom's false statements.

           25.        Neusom argued that Colletti should have independently researched whether the

    Petition was properly filed in the name of A Plus Lamination and Finishing, Inc., rather than rely

    on Neusom's representations that A Plus Lamination and Finishing, Inc. filed bankruptcy.

           26.        Landlord presented the testimony of two credible witnesses, both of whom testified

   that Neusom told them he filed a bankruptcy petition on behalf of A Plus Lamination and

    Finishing, Inc.

           27.        Respondent rested without testifying or presenting any witnesses.


                                         CONCLUSIONS OF LAW

           Landlord seeks sanctions against Debtor and Neusom under Bankruptcy Rule 9011and11

   U.S.C. § 105. Bankruptcy Rule 9011 states:




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                  By presenting to the court (whether by signing, filing, submitting, or later
                  advocating) a petition, pleading, written motion, or other paper, an attorney
                  or unrepresented party is certifying that to the best of the person's
                  knowledge, information, and belief, formed after an inquiry reasonable
                  under the circumstances,


                  (1)      it is not being presented for any improper purpose, such as to
                   harass or to cause unnecessary delay or needless increase in the cost of
                   litigation;


   (emphasis added). A sanction under this rule should deter repetition of misconduct. Sanctions may

   include non-monetary directives, as well as reimbursement of attorney's fees and other expenses.

          The Court finds Neusom's argument, that Colletti had a duty to investigate the validity of

   Neusom's lie about A Plus Lamination and Finishing, Inc. filing for bankruptcy relief, to be

   misguided, disingenuous, and at odds with the unambiguous language of Rule 9011. Under Rule

   9011, Neusom has the responsibility to sign and file a petition after reasonable inquiry and not for

   an improper purpose or to cause unnecessary delay. By filing the Petition, Neusom certified that

   he conducted a reasonable inquiry, and the Petition was not being brought for an improper purpose

   or to cause unnecessary delay. The Court and other members of the Bar should be able to rely on

   the representations of other licensed attorneys.

           "The purpose of the automatic stay is to give the debtor breathing room. The automatic

   stay is not to be used as an abusive litigation tactic." In re Smith, 257 B.R. 344, 351 (Bankr. N.D.

   Ala. 2001) ("The petition is excluded from the safe harbor provision of Rule 9011 because its

   filing has immediate serious consequences."). In this case, however, the Debtor and Neusom used

   the Petition as an abusive litigation tactic. As the testimony at the 341 meeting reveals, and the

   testimonial and documentary evidence from trial indicates, Neusom filed the individual Petition

   on behalf of the Debtor, and included A Plus Lamination and Finishing, Inc. for the improper

   purpose of misleading the state court eviction counsel and the state court judge into staying the

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    Eviction Action. Neusom misrepresented Debtor's identity in her Petition by alleging that Nubia

    Perez was doing business as A Plus Lamination and Finishing, Inc., when A Plus Lamination and

   Finishing, Inc. is actually a registered Florida corporation.

           Neusom's misrepresentation to Colletti [that A Plus Lamination and Finishing, Inc. was in

   bankruptcy when it was not] resulted in the cancellation of the May 15, 2018 mediation, and

   generated the entry of an Order implementing a non-existent automatic stay and withholding

   issuance of a writ of possession to which Landlord was entitled as of May 15, 2018. The timing

   of the filing of the Petition and the admissions at the 341 meeting indicate that Neusom filed the

   Nubia Perez Petition for the improper purpose of delaying the Eviction Action, which

   unnecessarily increased the cost of litigation. However, the evidence is not clear that Nubia Perez

   understood what Neusom was doing, and there was no evidence that Nubia Perez told any lie that

   contributed to the Landlord's counsel or the state court judge being misled. While Neusom knew

   or should have known that filing the Petition as a delay tactic was improper, the same cannot be

   said for the Debtor.

          The Court has the inherent power to sanction bad faith conduct under 11 U.S.C. § 105. In

   re !AMEC Funding, Inc., 236 B.R. 490, 491 (Bankr. M.D. Fla. 1999). The bad-faith filing of a

   bankruptcy petition is sanctionable under 11 U.S.C. § 105. In re Hidalgo, 96 B.R. 389, 390 (Bankr.

   S.D. Fla. 1988). Even more serious is lying to opposing counsel in an effort to mislead him, and

   ultimately the Court. Neusom's lies caused the Landlord to incur legal fees in the alleged amount

   of $40,768.33 to MRB and $2,000 to Colletti. Landlord also lost $9,256.00 in rent for the month

   A Plus Lamination and Finishing, Inc. held over possession of the Property. In total, Landlord

   claims it lost $52,024.33 because of Neusom's misconduct. The Court finds that not all the

  requested fees are compensable.



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          Based on the record and evidence admitted at the evidentiary hearing, the Court concludes

   that Attorney Thomas Neusom (Florida Bar number 37148) engaged in sanctionable, bad-faith

   conduct by (1) filing the Individual Chapter 11 Petition for the purpose of stopping the Eviction

   Action against a registered Florida corporation; and (2) misrepresenting Debtor's identity in the

   Petition to cause confusion. Neusom wrongfully obtained the benefit of the automatic stay for a

   non-debtor by misrepresenting to Lindsay and Colletti that A Plus Lamination and Finishing, Inc.

   was in bankruptcy, thereby obtaining the cancellation of the May 15, 2018 mediation and

   postponement of the issuance of the writ of possession.

          Ironically, ifNeusom had filed a bankruptcy petition on behalf of the corporation, he would

   have obtained a stay without having to lie. If Neusom filed a petition on behalf of A Plus

   Lamination and Finishing, Inc., the information he provided to Lindsay and Colletti would have

   been true and he would have achieved the same results that were produced in this case by lies. The

   Court is reminded of the old U.S. Marine Corp adage, "never attribute to malice that which can be

   explained by stupidity." It is therefore

          ORDERED AND ADJUDGED that Landlord's Motion for Sanctions under Bankruptcy

   Rule 9011and11 U.S.C. § 105 is GRANTED IN PART as follows:

          1. Neusom is liable to Landlord in the total amount of $31,256, representing $2,000 in

              legal fees to Colletti; $20,000 to MRB for legal fees and $9,256.00 for lost rent. If not

              paid within thirty (30) days, Landlord may request the entry of a final judgment for the

              sanctions awarded herein.

          2. Neusom is ENJOINED from practicing bankruptcy in any bankruptcy court in the

              United States for a period of one (1) year from entry of this Order, after which Neusom

              may apply for readmission to bankruptcy practice upon compliance with all the Local



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               Rules of the Court governing admission to practice and completing a total of eighteen

               (18) hours of Continuing Legal Education, consisting of twelve (12) hours of

               Continuing Legal Education in bankruptcy law and six (6) hours of ethics.

           3. The Clerk of Court is directed to forward certified copies of this Order to The Florida

               Bar at 651 E. Jefferson Street, Tallahassee, Florida, 32399 and to the Honorable

               Alexander Bokor, County Court Judge, at Dade County Courthouse. 73 West Flagler

               Street, Miami, FL 33130

                                                     ###


   Copies furnished by Clerk of Court to:

   Debtor
   Thomas Neusom, Esq.
   Utibe Ikpe, Esq.

   Utibe I. lkpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.




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CGFA1 (10/12/2018)



                                         United States Bankruptcy Court
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                                                        www.flsb.uscourts.gov

                                                                                                             Case Number: 18−15825−AJC
                                                                                                             Chapter: 11




In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Nubia Marcella Perez
dba A Plus Lamination & Finishing Inc
5559 NW 36 Ave
Miami, FL 33142

SSN: xxx−xx−9901




                           Clerk's Certificate of Mailing of Notice of Appeal


To:

Office of the U.S. Trustee, Room 1204 Claude Pepper Federal Bldg 51 SW 1st Ave Miami FL 33130

Thomas Neusom
4737 N Ocean Dr #129
Ft Lauderdale, FL 33309

Utibe I Ikpe
200 S Biscayne Blvd #3200
Miami, FL 33131


      I hereby certify, that pursuant to Bankruptcy Rule 8003, a copy of the attached
Notice of Appeal filed on 10/24/2018 was mailed on 10/29/18 to the above named
parties.


Dated:10/25/18                                                               CLERK OF COURT
                                                                             By: Jeanne Snipes
                                                                             Deputy Clerk (305) 714−1800


Enclosures:       Clerk's Instructions for Appeals
                  Transcript Request Form
                  Copy of Appeal
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                            United States Bankruptcy Court
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                         CLERK'S INSTRUCTIONS FOR APPEALS

 1.   All notices of appeal filed in the Bankruptcy Court under Federal Rule of Bankruptcy Procedure
      8003 and 8004 shall be transmitted promptly to the Clerk of the District Court for docketing and
      the opening of a new civil case [See U.S. District Court Local Rule 87.4]. Within 14 days after filing
      the notice of appeal or entry of an order disposing of the last timely motion of a type specified in
      Bankruptcy Rule 8002(b) (whichever is later), or entry of an order by the District Court granting
      leave to appeal, the appellant shall file with the clerk of the bankruptcy court a designation of the
      items to be included in the record on appeal and a statement of issues to be presented
      (Bankruptcy Rule 8009). Failure to timely file this designation and statement of issues may
      result in dismissal of the appeal pursuant to this court's Local Rule 8009−1(A) and Local
      Rule 87.4(c), United States District Court, Southern District of Florida. The designation shall
      include the title and docket number of each paper designated.



 2.   Within 14 days after the service of the designation and the statement of issues the appellee may
      file and serve on the appellant a designation of additional items to be included in the record on
      appeal, and if the appellee has filed a cross appeal, the appellee as cross appellant shall file and
      serve a statement of issues to be presented on the cross appeal, and a designation of additional
      items to be included in the record. The appellee's designation shall include the title and docket
      number of each additional item designated.



 3.   If any transcripts of untranscribed proceedings are designated by a party, that party shall
      immediately, upon the filing of the designation, order the transcript(s) from the court reporter and
      make satisfactory arrangements for payment of its costs. All transcript orders must be made on
      the local form "Transcript Request Form" enclosed for this purpose, and a copy filed with the clerk
      at the time of filing the designation (Bankruptcy Rule 8009). On receipt of a request for a
      transcript, the reporter shall complete the Reporter's Acknowledgment and file a copy with the
      clerk (Bankruptcy Rule 8010). [See also "Guidelines on Electronic Availability of Transcripts and
      Procedures for Transcript Redaction."]



 4.   When the record is complete for purposes of the appeal, the bankruptcy clerk will electronically
      transmit the record to the clerk of the district court. Once the record has been transmitted to the
      district court, any subsequently filed document relating to the appeal must be filed in the district
      court.



 5.   Motions For Leave To Appeal (Bankruptcy Rule 8004). The clerk will electronically transmit the
      motion, notice of appeal and any answer to the clerk of the district court as soon as all parties
      have filed answers or the time for filing an answer has expired. The designation and statement of
      the issues should not be filed with the clerk of the bankruptcy court as required under Bankruptcy
      Rule 8009, until entry of an order by the district court granting leave to appeal (Local Rule
      8004−1).


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                                               Transcript Request Form
Submit this form to the transcription company by email, fax or postal mail: Attn: __________________________

Transcriber: _________________________________________________________________________________

Email: _______________________________ Telephone: ____________________ Fax: ___________________

Case Number: _______________________ Adversary Number: __________________ Judge: _______________

Date of Hearing or Trial: ____________________________ Time of Hearing or Trial: _____________________

Debtor(s) Name: _____________________________________________________________________________

          The transcript being requested is included as a designated item for a pending appeal [Docket
          Entry # _______]. (If this box is checked, the requestor must also file this form with the
          clerk pursuant to Bankruptcy Rule 8009. The transcriber is responsible for notifying the
          clerk by electronic docket entry in the case the date the request was received and the
          date on which the transcriber expects to have the transcript completed (See Bankruptcy
          Rule 8010).

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        adjournment and prior to the normal opening           $6.05                  $1.20                 $0.90
        hour of the court on the following morning
        whether or not it actually is a court day.
        Hourly Transcript
        A transcript of proceedings ordered under             $7.25                  $1.20                 $0.90
        unusual circumstances to be delivered within
        two (2) hours.



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By submitting this request, it is understood that:

      • A separate order must be placed for each transcript being requested.
      • All transcript requests must be submitted directly to the transcriber. Do not contact the clerk's office regarding
        the status of a request.
      • It is the responsibility of the requestor to verify that the transcript has not already been filed with the court.
      • It is the responsibility of parties to request redaction. See Local Bankruptcy Rule 5005−1(A)(2)(b), Local
        Form "Notice of Intent to Request Redaction of Transcript" (LF−61) and "Guidelines on Electronic
        Availability of Transcripts and Procedures for Transcript Redaction" (CG−11).


Print Your Name: _____________________________________________________________________________

Mailing Address: _____________________________________________________________________________

Email Address: ____________________________________________ Telephone No.: ___________________



                                                     Page 4 of 4
 Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 600 of
                                       645
CGFD71 (12/1/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Southern District of Florida
                                                        www.flsb.uscourts.gov

In re: Nubia Marcella Perez                                        Case Number: 18−15825−AJC
                                                                   Chapter: 11
                                                                   County of Residence or Place of Business: Miami
                                                                   U.S. District Court Case Number:


                                    TRANSMITTAL TO DISTRICT COURT
           Appeal pursuant to 28 U.S.C. § 158, Notice of Appeal and Statement of Election filed on 10/19/18 Amended on
          10/24/18
            Motion for Leave to Appeal (copy of appeal attached)
            Request to Expedite Appeal attached.
            Motion to Withdraw Reference pursuant to Local Rule 5011−1(C):

                              Contested       Uncontested
            Withdrawal of Reference granted by U.S. District Court
            Report and Recommendation (Motion to Withdraw Reference)


                              The Party or Parties Included in the Record to District Court:

        Appellant/Movant: Thomas G. Neusom, Esq         Attorney:                         Attorney:
                                                        4737 N Ocean Dr #129
                                                        Fort Lauderdale, FL 33308

        Appellee/Respondent: Brian Holland and          Attorney: Utibe I Ikpe, Esq       Attorney:
        Andrea Holland
                                                        200 S Biscayne Blvd, #3200
                                                        Miami, FL 33131


        Title and Date of Order Appealed, if applicable: FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN
        AND ANDREA HOLLANDS MOTION FOR SANCTIONS UNDER BANKRUPTCY RULE 9011 AND 11 U.S.C. §
        105 − Dated 10/4/18

        Entered on Docket Date: 10/5/18                            Docket Number: 91



            Designation in Appeal (See Attached)
            Designation in Cross Appeal (See Attached)
            Copy of Docket
            Exhibits:
            Copies of Transcript(s) of Hearing(s) on:

            Respondent's Answer and/or Movant's Reply
            Other:



Dated:10/25/18                                                     CLERK OF COURT
                                                                   By: Diana Cohen
                                                                   Deputy Clerk (305) 714−1800
 Case 1:18-cv-24463-FAM  Document 12-1
               Case 18-15825-AJC       EnteredFiled
                                  Doc 105-1     on FLSD  Docket
                                                    10/25/18    01/11/2019
                                                             Page   1 of 1 Page 601 of
                                        645
CGFD71 (12/1/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Southern District of Florida
                                                        www.flsb.uscourts.gov

In re: Nubia Marcella Perez                                        Case Number: 18−15825−AJC
                                                                   Chapter: 11
                                                                   County of Residence or Place of Business: Miami
                                                                   U.S. District Court Case Number:


                                    TRANSMITTAL TO DISTRICT COURT
           Appeal pursuant to 28 U.S.C. § 158, Notice of Appeal and Statement of Election filed on 10/19/18 Amended on
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            Motion for Leave to Appeal (copy of appeal attached)
            Request to Expedite Appeal attached.
            Motion to Withdraw Reference pursuant to Local Rule 5011−1(C):

                              Contested       Uncontested
            Withdrawal of Reference granted by U.S. District Court
            Report and Recommendation (Motion to Withdraw Reference)


                              The Party or Parties Included in the Record to District Court:

        Appellant/Movant: Thomas G. Neusom, Esq         Attorney:                         Attorney:
                                                        4737 N Ocean Dr #129
                                                        Fort Lauderdale, FL 33308

        Appellee/Respondent: Brian Holland and          Attorney: Utibe I Ikpe, Esq       Attorney:
        Andrea Holland
                                                        200 S Biscayne Blvd, #3200
                                                        Miami, FL 33131


        Title and Date of Order Appealed, if applicable: FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN
        AND ANDREA HOLLANDS MOTION FOR SANCTIONS UNDER BANKRUPTCY RULE 9011 AND 11 U.S.C. §
        105 − Dated 10/4/18

        Entered on Docket Date: 10/5/18                            Docket Number: 91



            Designation in Appeal (See Attached)
            Designation in Cross Appeal (See Attached)
            Copy of Docket
            Exhibits:
            Copies of Transcript(s) of Hearing(s) on:

            Respondent's Answer and/or Movant's Reply
            Other:



Dated:10/25/18                                                     CLERK OF COURT
                                                                   By: Diana Cohen
                                                                   Deputy Clerk (305) 714−1800
    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 602 of
                                          645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 1                          Date Rcvd: Oct 25, 2018
                                      Form ID: CGFA1                     Total Noticed: 6


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 27, 2018.
db             +Nubia Marcella Perez,    5559 NW 36 Ave,    Miami, FL 33142-2709
cr             +Andrea Holland,   c/o Peter D. Russin, Esq.,     Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,    Miami, FL 33131-5323
cr             +Brian Holland,   c/o Peter D. Russin, Esq.,     Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,    Miami, FL 33131-5323
cr             +Nationstar Mortgage LLC,    RAS Crane, LLC,    10700 Abbott’s Bridge Road,   Suite 170,
                 Duluth, GA 30097-8461
cr             +Newtek Small Business Finance Inc,    c/o Howard S Toland , Esq,    1200 Weston Road,   Penthouse,
                 Weston, Fl 33326-1987
cr             +Valley National Bank,    c/o Mitrani, Rynor, Adamsky & Toland PA,    1200 weston road,   PH,
                 Weston, FL 33326,     UNITED STATES 33326-1987

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 27, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 25, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 603 of
                                      645
CGFA1 (10/12/2018)



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov

                                                                                                             Case Number: 18−15825−AJC
                                                                                                             Chapter: 11




In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
 Nubia Marcella Perez
 dba A Plus Lamination & Finishing Inc
 5559 NW 36 Ave
 Miami, FL 33142

 SSN: xxx−xx−9901




                           Clerk's Certificate of Mailing of Notice of Appeal


To:

Office of the U.S. Trustee, Room 1204 Claude Pepper Federal Bldg 51 SW 1st Ave Miami FL 33130

Thomas Neusom
4737 N Ocean Dr #129
Ft Lauderdale, FL 33309

Utibe I Ikpe
200 S Biscayne Blvd #3200
Miami, FL 33131


      I hereby certify, that pursuant to Bankruptcy Rule 8003, a copy of the attached
Notice of Appeal filed on 10/24/2018 was mailed on 10/29/18 to the above named
parties.


Dated:10/25/18                                                               CLERK OF COURT
                                                                             By: Jeanne Snipes
                                                                             Deputy Clerk (305) 714−1800


Enclosures:       Clerk's Instructions for Appeals
                  Transcript Request Form
                  Copy of Appeal
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 604 of
                                      645
                                    Page 1 of 4
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 605 of
                                      645

                              United States Bankruptcy Court
                                Southern District of Florida
                                  www.flsb.uscourts.gov
                           CLERK'S INSTRUCTIONS FOR APPEALS

   1.   All notices of appeal filed in the Bankruptcy Court under Federal Rule of Bankruptcy Procedure
        8003 and 8004 shall be transmitted promptly to the Clerk of the District Court for docketing and
        the opening of a new civil case [See U.S. District Court Local Rule 87.4]. Within 14 days after filing
        the notice of appeal or entry of an order disposing of the last timely motion of a type specified in
        Bankruptcy Rule 8002(b) (whichever is later), or entry of an order by the District Court granting
        leave to appeal, the appellant shall file with the clerk of the bankruptcy court a designation of the
        items to be included in the record on appeal and a statement of issues to be presented
        (Bankruptcy Rule 8009). Failure to timely file this designation and statement of issues may
        result in dismissal of the appeal pursuant to this court's Local Rule 8009−1(A) and Local
        Rule 87.4(c), United States District Court, Southern District of Florida. The designation shall
        include the title and docket number of each paper designated.



   2.   Within 14 days after the service of the designation and the statement of issues the appellee may
        file and serve on the appellant a designation of additional items to be included in the record on
        appeal, and if the appellee has filed a cross appeal, the appellee as cross appellant shall file and
        serve a statement of issues to be presented on the cross appeal, and a designation of additional
        items to be included in the record. The appellee's designation shall include the title and docket
        number of each additional item designated.



   3.   If any transcripts of untranscribed proceedings are designated by a party, that party shall
        immediately, upon the filing of the designation, order the transcript(s) from the court reporter and
        make satisfactory arrangements for payment of its costs. All transcript orders must be made on
        the local form "Transcript Request Form" enclosed for this purpose, and a copy filed with the clerk
        at the time of filing the designation (Bankruptcy Rule 8009). On receipt of a request for a
        transcript, the reporter shall complete the Reporter's Acknowledgment and file a copy with the
        clerk (Bankruptcy Rule 8010). [See also "Guidelines on Electronic Availability of Transcripts and
        Procedures for Transcript Redaction."]



   4.   When the record is complete for purposes of the appeal, the bankruptcy clerk will electronically
        transmit the record to the clerk of the district court. Once the record has been transmitted to the
        district court, any subsequently filed document relating to the appeal must be filed in the district
        court.



   5.   Motions For Leave To Appeal (Bankruptcy Rule 8004). The clerk will electronically transmit the
        motion, notice of appeal and any answer to the clerk of the district court as soon as all parties
        have filed answers or the time for filing an answer has expired. The designation and statement of
        the issues should not be filed with the clerk of the bankruptcy court as required under Bankruptcy
        Rule 8009, until entry of an order by the district court granting leave to appeal (Local Rule
        8004−1).


                                                Page 2 of 4
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 606 of
                                      645
                                      UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov

                                                Transcript Request Form
Submit this form to the transcription company by email, fax or postal mail: Attn: __________________________

Transcriber: _________________________________________________________________________________

Email: _______________________________ Telephone: ____________________ Fax: ___________________

Case Number: _______________________ Adversary Number: __________________ Judge: _______________

Date of Hearing or Trial: ____________________________ Time of Hearing or Trial: _____________________

Debtor(s) Name: _____________________________________________________________________________

           The transcript being requested is included as a designated item for a pending appeal [Docket
           Entry # _______]. (If this box is checked, the requestor must also file this form with the
           clerk pursuant to Bankruptcy Rule 8009. The transcriber is responsible for notifying the
           clerk by electronic docket entry in the case the date the request was received and the
           date on which the transcriber expects to have the transcript completed (See Bankruptcy
           Rule 8010).

Select Delivery Method:

 Check                                                                        First Copy to Each     Each Additional Copy
 Box
                                                              Original               Party             to the Same Party
 Below                                                      [cost per page]
                                                                                   [cost per page]       [cost per page]

         Ordinary Transcript
         A transcript to be delivered within thirty (30)       $3.65                  $0.90                 $0.60
         calendar days after receipt of an order.
         14−Day Transcript
         A transcript to be delivered within fourteen          $4.25                  $0.90                 $0.60
         (14) calendar days after receipt of an order.
         7−Day Transcript
         A transcript to be delivered within seven (7)         $4.85                  $0.90                 $0.60
         calendar days after receipt of an order.
         3−Day Transcript
         A transcript to be delivered within three (3)         $5.45                  $1.05                 $0.75
         calendar days after receipt of an order.
         Daily Transcript
         A transcript to be delivered following
         adjournment and prior to the normal opening           $6.05                  $1.20                 $0.90
         hour of the court on the following morning
         whether or not it actually is a court day.
         Hourly Transcript
         A transcript of proceedings ordered under             $7.25                  $1.20                 $0.90
         unusual circumstances to be delivered within
         two (2) hours.



                                                              Page 3 of 4
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 607 of
                                      645
By submitting this request, it is understood that:

      • A separate order must be placed for each transcript being requested.
      • All transcript requests must be submitted directly to the transcriber. Do not contact the clerk's office regarding
        the status of a request.
      • It is the responsibility of the requestor to verify that the transcript has not already been filed with the court.
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Print Your Name: _____________________________________________________________________________

Mailing Address: _____________________________________________________________________________

Email Address: ____________________________________________ Telephone No.: ___________________



                                                     Page 4 of 4
    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 608 of
                                          645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 1                          Date Rcvd: Oct 25, 2018
                                      Form ID: pdf004                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 27, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
cr             +Andrea Holland,   c/o Peter D. Russin, Esq.,   Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,   Miami, FL 33131-5323
cr             +Brian Holland,   c/o Peter D. Russin, Esq.,   Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,   Miami, FL 33131-5323

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 27, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 25, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 609 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 610 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 611 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 612 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 613 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 614 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 615 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 616 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 617 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 618 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 619 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 620 of
                                      645
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 621 of
                                      645
   Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 622 of
                                         645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: cohend                       Page 1 of 2                          Date Rcvd: Oct 25, 2018
                                      Form ID: pdf004                    Total Noticed: 26


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 27, 2018.
db             +Nubia Marcella Perez,    5559 NW 36 Ave,    Miami, FL 33142-2709
cr             +Andrea Holland,    c/o Peter D. Russin, Esq.,    Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,     Miami, FL 33131-5323
cr             +Brian Holland,    c/o Peter D. Russin, Esq.,    Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,     Miami, FL 33131-5323
cr             +Nationstar Mortgage LLC,    RAS Crane, LLC,    10700 Abbott’s Bridge Road,     Suite 170,
                 Duluth, GA 30097-8461
cr             +Newtek Small Business Finance Inc,     c/o Howard S Toland , Esq,    1200 Weston Road,     Penthouse,
                 Weston, Fl 33326-1987
cr             +Valley National Bank,    c/o Mitrani, Rynor, Adamsky & Toland PA,     1200 weston road,     PH,
                 Weston, FL 33326,     UNITED STATES 33326-1987
94532777        Actega North America Inc,    26537 Network Place,     Chicago, IL 60673-1265
94532757       +Brian Holland,    13105 NW Le Jeune Rd,    Opa Locka, FL 33054-4435
94532760       +Cosmo Claim 2018,    Rosenfeld Stein Batta, PA,     21490 West Dixie Hwy,
                 Aventura, FL 33180-1144
94548665       +Cosmo Films, Inc,    Coface North America Insurance Company,     650 College Road East, Suite 2005,
                 Princeton, NJ 08540-6779
94548664        Cosmos Films, Inc.,    Coface North America Insurance Company,
                 65 College Road East, Suite 2005,     Princeton, NJ 08540
94532766       +D & K International Inc,    Ryan E Sprechman,    2775 Sunny Isle Blvd #100,
                 Miami, FL 33160-4078
94532767       +Francisco Gabriel Perez Loan,     3845 Sw 149th Pl,    Miami, FL 33185-3931
94532745       +Matt D Goldman Trust,    Account,    7190 SW 100 St,    Miami, FL 33156-3069
94568012       +NATIONSTAR MORTGAGE LLC D/B/A,     MR. COOPER,   ATTN: BANKRUPTCY DEPT,     PO BOX 619096,
                 DALLAS, TX 75261-9096
94532785        Noelus LLC,    POB 639027,   Cincinnati, OH 45263-9027
94532765       +Nubia Perez Loans,    5559 NW 36th Ave,    Miami, FL 33142-2709
94535811       +SANTANDER CONSUMER USA,    P.O. Box 560284,    Dallas, TX 75356-0284
94532778        Santander Consumer USA,    POB 660633,    Dallas, TX 75266-0633
94532780       +Transilwrap Company Inc,    9201 W Belmont Ave,     Franklin Park, IL 60131-2842
94532744       +Valley National Bank -2625,    Newtex Small Business,     Finance, LLC,   POB 2006,
                 Hicksville, NY 11802-2006
94532746        Valley National Bank Loan,    2198 Small Street,     POB 952,   Wayne, NJ 07474-0952
94532784       +Vencol,   8209 NW 70th St,    Miami, FL 33166-2743

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
94532779        E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Oct 26 2018 01:21:20     Capital One Bank,
                 POB 71083,   Charlotte, NC 28272-1083
94564786        E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Oct 26 2018 01:22:04
                 Capital One Bank (USA), N.A.,   PO Box 71083,   Charlotte, NC 28272-1083
94557767        E-mail/Text: cio.bncmail@irs.gov Oct 26 2018 01:23:29     Internal Revenue Service,
                 Centralized Insolvency Operation,   P.O. Box 7346,   Philadelphia, PA 19101-7346
                                                                                            TOTAL: 3

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
94532761*         Internal Revenue Service,    POB 80110,    Cincinnati, OH 45280-0110
94532762       ##+Distrigraph Inc,   Gabriel Fernandez,     5248 SW 93rd Ave,   Cooper City, FL 33328-4225
94532759       ##+Miami-Dade County Tax,    Collector,    140 West Flagler St,   14th Floor,   Miami, FL 33130-1561
94532758       ##+Universal Pressroom,   Productsa LLC,     POB 1697,   Woodstock, GA 30188-1366
                                                                                                 TOTALS: 0, * 1, ## 3

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 27, 2018                                            Signature: /s/Joseph Speetjens
    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 623 of
                                          645


District/off: 113C-1          User: cohend                Page 2 of 2                  Date Rcvd: Oct 25, 2018
                              Form ID: pdf004             Total Noticed: 26

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 25, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
Case 1:18-cv-24463-FAM  Document 12-1
               Case 18-15825-AJC       Entered
                                  Doc 105-1    on FLSD
                                             Filed       Docket
                                                   10/25/18     01/11/2019
                                                             Page  1 of 1  Page 624 of
                                        645
CGFD71 (12/1/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Southern District of Florida
                                                        www.flsb.uscourts.gov

In re: Nubia Marcella Perez                                        Case Number: 18−15825−AJC
                                                                   Chapter: 11
                                                                   County of Residence or Place of Business: Miami
                                                                   U.S. District Court Case Number:


                                    TRANSMITTAL TO DISTRICT COURT
            Appeal pursuant to 28 U.S.C. § 158, Notice of Appeal and Statement of Election filed on 10/19/18 Amended on
          10/24/18
            Motion for Leave to Appeal (copy of appeal attached)
            Request to Expedite Appeal attached.
            Motion to Withdraw Reference pursuant to Local Rule 5011−1(C):

                              Contested       Uncontested
            Withdrawal of Reference granted by U.S. District Court
            Report and Recommendation (Motion to Withdraw Reference)


                              The Party or Parties Included in the Record to District Court:

        Appellant/Movant: Thomas G. Neusom, Esq         Attorney:                         Attorney:
                                                        4737 N Ocean Dr #129
                                                        Fort Lauderdale, FL 33308

        Appellee/Respondent: Brian Holland and          Attorney: Utibe I Ikpe, Esq       Attorney:
        Andrea Holland
                                                        200 S Biscayne Blvd, #3200
                                                        Miami, FL 33131


        Title and Date of Order Appealed, if applicable: FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN
        AND ANDREA HOLLANDS MOTION FOR SANCTIONS UNDER BANKRUPTCY RULE 9011 AND 11 U.S.C. §
        105 − Dated 10/4/18

        Entered on Docket Date: 10/5/18                            Docket Number: 91



            Designation in Appeal (See Attached)
            Designation in Cross Appeal (See Attached)
            Copy of Docket
            Exhibits:
            Copies of Transcript(s) of Hearing(s) on:

            Respondent's Answer and/or Movant's Reply
            Other:



Dated:10/25/18                                                     CLERK OF COURT
                                                                   By: Diana Cohen
                                                                   Deputy Clerk (305) 714−1800
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 625 of
                                      645




     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4    DEBTOR                                            CASE NO: 18-15825
     5
                                                            COUNSEL’S MOTION FOR RECUSAL
          NUJBIA MAR ELLA PEREZ.                            OF JUDGE A. JAY CRISTOL AND
     6
                                                            REQUEST FOR STAY
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         COMES NOW, Attorney Thomas Neuom requesting that Judge Cristol recuse himself from this
    21   case and enter a stay in the case until a new Judge is brought in and during the pendency of the
         Appeal.
    22
    23   Counsel also demands that Judge Cristol recuse himself due to being disqualified due to being
         sued by attorney Thomas Neusom. The case number of the suit against Judge A. Jay Cristol is
    24   1:18CV24517.
    25   Neusom is also plan ning on filing a charge of discrimination with the EEOC against Judge
    26   Cristol. The charge may not fit the EEOC criteria but it is being investigated.

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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 626 of
                                      645




     1
     2                      Rule 5004. Disqualification
     3    (a) Disqualification of Judge. A bankruptcy judge shall be governed by 28 U.S.C. §455, and disqualified
          from presiding over the proceeding or contested matter in which the disqualifying circumstances arises or,
     4    if appropriate, shall be disqualified from presiding over the case.
          (b) Disqualification of Judge from Allowing Compensation. A bankruptcy judge shall be disqualified
     5    from allowing compensation to a person who is a relative of the bankruptcy judge or with whom the judge
          is so connected as to render it improper for the judge to authorize such compensation.
     6
     7
     8
               8 U.S. Code § 455 - Disqualification of justice,
                        judge, or magistrate judge
     9
         US Code
    10   Notes
                                                                                                      prev | next
    11    (a)
          Any justice, judge, or magistrate judge of the United States shall disqualify himself
    12    in any proceeding in which his impartiality might reasonably be questioned.
          (b) He shall also disqualify himself in the following circumstances:
    13
          (1)
    14    Where he has a personal bias or prejudice concerning a party, or personal
          knowledge of disputed evidentiary facts concerning the proceeding;
    15    (2)
          Where in private practice he served as lawyer in the matter in controversy, or a
    16    lawyer with whom he previously practiced law served during such association as a
          lawyer concerning the matter, or the judge or such lawyer has been a material
    17
          witness concerning it;
    18    (3)
          Where he has served in governmental employment and in such capacity
    19    participated as counsel, adviser or material witness concerning the proceeding or
          expressed an opinion concerning the merits of the particular case in controversy;
    20    (4)
          He knows that he, individually or as a fiduciary, or his spouse or minor child
    21
          residing in his household, has a financial interest in the subject matter in
    22    controversy or in a party to the proceeding, or any other interest that could be
          substantially affected by the outcome of the proceeding;
    23    (5) He or his spouse, or a person within the third degree of relationship to either of
          them, or the spouse of such a person:
    24    (i)
          Is a party to the proceeding, or an officer, director, or trustee of a party;
    25    (ii)
    26    Is acting as a lawyer in the proceeding;
          (iii)
    27
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 627 of
                                      645




         Is known by the judge to have an interest that could be substantially affected by
     1   the outcome of the proceeding;
     2   (iv)
         Is to the judge’s knowledge likely to be a material witness in the proceeding.
     3
     4   Judge Cristol is also disqualified due to showing Bias and unfairness in the case against
         Thomas Neusom.
     5
     6
         WHEREFORE, Neusom prays that the Court:
     7
            1. Recuse Judge Cristol from the case.
     8
     9
    10   .Dated: October 30, 2018:
    11
    12
                                                              By:/s/Thomas Neusom
    13                                                        Attorney For Debtor
                                                              Bar No. 003717
    14                                                        (954)200-3536
    15                                                        4737 N. Ocean Drive, #129
                                                              Fort Lauderdale, FL 33308
    16                                                        Email: tgnoffice35@gmail.com

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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 628 of
                                      645




     1
     2
     3                               CERTIFICATE OF SERVICE
     4   I HEREBY CERTIFY that a true and correct copy of the foregoing COUNSEL’S MOTION
     5   FOR RECUSAL OF JUDGE A. JAY CRISTOL AND REQUEST FOR STAY
          was furnished by email to the following on October 30, 2018, to the parties on the efiling portal
     6   service list by email.

     7
     8
     9                                                        By:/s/Thomas Neusom
                                                              Attorney For Debtor
    10                                                        Bar No. 0037174
    11                                                        Phone; (954)200-3536
                                                              4737 N. Ocean Drive, #129
    12                                                        Fort Lauderdale, FL 33308
                                                              Email: tgnoffice35@gmail.com
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 629 of
                                      645




   Federal Agency
   It looks like you feel that a federal agency has discriminated or retaliated
   against you. If so, you must contact an EEO Counselor at the federal agency
   where the alleged discrimination occurred. Each agency is required to post
   information about how to contact the agency’s EEO Office. The information
   will include the EEO Office location and what number to call to reach
   someone there. Generally, you must contact the EEO counselor within 45
   days from the day the discrimination occurred.
   After counseling, you can then file a formal EEO complaint with that federal
   agency.
   Under most circumstances, the agency is expected to complete its
   investigation of your complaint within 180 days from the day you filed it. You
   may then ask the agency to issue a decision, or you may request a
   hearing with an EEOC Administrative Judge (AJ).
   If you disagree with the outcome of the agency’s dismissal of your complaint,
   or decision or action after receiving an AJ decision, you may appeal it to
   EEOC’s Office of Federal Operations (OFO). If you filed an appeal, you may
   request that the EEOC reconsider the appellate decision, or petition the
   EEOC to clarify or enforce the appellate decision.
   You may also appeal to OFO a decision by an arbitrator or the Federal Labor
   Relations Authority (FLRA) on a grievance that contains claims of
   discrimination, or petition OFO to review a decision by the Merit Systems
   Protection Board (MSPB) on a complaint that includes claims of
   discrimination.
   You can use the EEOC Public Portal to learn how to file a formal EEO
   complaint with the federal agency, request a hearing before an EEOC
   Administrate Judge, and/or file an appeal with the Commission. To do this,
   you must answer a few preliminary questions first.
   Want to learn more before you get started? Follow these links:
   What laws does EEOC enforce?
   What types of discrimination does EEOC cover?
   Is what happened to me covered by EEOC laws?
   How do I contact an EEO counselor?
   How do I file a formal EEO complaint?
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 630 of
                                      645



   What are the regulatory rules for filing an EEO complaint?
   I need to locate the correct agency EEO official
   I have a concern about an agency’s processing of my complaint
   Frequently Asked Questions (FAQs) about the Hearing Process
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 631 of
                                      645




     1
     2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4    DEBTOR                                             CASE NO: 18-15825
     5
                                                             ATTORNEY THOMAS NEUSOM’S
          NUJBIA MAR ELLA PEREZ.                             REQUEST FOR STAY DURING
     6
                                                             PENDENCY OF THE APPEAL
     7
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    20
             1. COMES NOW, Attorney Thomas Neuom requesting that the Honorable Judge A.
    21   Cristol grant a stay of any further proceedings in his lower Bankruptcy Court after granting this
         request for Stay during Pendency of the Appeal and then recusing himself from this case. Upon
    22
         recusal a new Judge should be brought in subject to the Stay.
    23
         2.The relevant part of Bankruptcy Rule of 8007 states:
    24
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 632 of
                                      645




     1   3.
     2               Rule 8007. Stay Pending Appeal; Bonds;
     3                     Suspension of Proceedings
     4   (a) Initial Motion in the Bankruptcy Court.

     5          (1) In General. Ordinarily, a party must move first in the bankruptcy court for
              the following relief:
     6            (A) a stay of a judgment, order, or decree of the bankruptcy court pending
     7          appeal;
                  (B) the approval of a supersedeas bond;
     8
                  (C) an order suspending, modifying, restoring, or granting an injunction while
     9          an appeal is pending; or
    10            (D) the suspension or continuation of proceedings in a case or other relief
                permitted by subdivision (e).
    11
    12
                (2) Time to File. The motion may be made either before or after the notice of
    13        appeal is filed.

    14
    15   (b) Motion in the District Court, the BAP, or the Court of Appeals on Direct Appeal.

    16          (1) Request for Relief. A motion for the relief specified in subdivision (a)(1)—or
              to vacate or modify a bankruptcy court's order granting such relief—may be made
    17        in the court where the appeal is pending.

    18          (2) Showing or Statement Required. The motion must:

    19            (A) show that moving first in the bankruptcy court would be impracticable; or
                  (B) if a motion was made in the bankruptcy court, either state that the court
    20          has not yet ruled on the motion, or state that the court has ruled and set out
                any reasons given for the ruling.
    21
    22
                (3) Additional Content. The motion must also include:
    23
                  (A) the reasons for granting the relief requested and the facts relied upon;
    24
                  (B) affidavits or other sworn statements supporting facts subject to dispute;
    25          and

    26            (C) relevant parts of the record.

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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 633 of
                                      645




     1       (4) Serving Notice. The movant must give reasonable notice of the motion to all
     2     parties.

     3   (e) Continuation of Proceedings in the Bankruptcy Court. Despite Rule 7062 and
     4   subject to the authority of the district court, BAP, or court of appeals, the
         bankruptcy court may:
     5       (1) suspend or order the continuation of other proceedings in the case; or

     6       (2) issue any other appropriate orders during the pendency of an appeal to
           protect the rights of all parties in interest.
     7   (Added Apr. 25, 2014, eff. Dec. 1, 2014.)
     8                                              PRIOR RULE

     9     A prior Rule 8007, Apr. 25, 1983, eff. Aug. 1, 1983, as amended Mar. 30, 1987,
         eff. Aug. 1, 1987; Apr. 30, 1991, eff. Aug. 1, 1991, related to completion and
    10   transmission of the record and docketing of the appeal, prior to revision of Part
         VIII, Apr. 25, 2014, eff. Dec. 1, 2014.
    11
    12
         4. Judge Cristol must recuse himself after entering the stay due to being disqualified due to being
    13   sued by attorney Thomas Neusom. The case number of the Federal Court suit against Judge A.
    14   Jay Cristol is 1:18CV24517.

    15
    16   WHEREFORE, Neusom prays that the Court:
    17
            1. Stay further proceedings in Case No. 18-15825 during the Pendency of Thomas Neusom’s
    18         Bankruptcy Appeal with Case No. 18-cv-24463-FAM

    19      2. Recuse Judge Cristol from the case after entry of the Stay during the Appeal.
    20
    21
         .Dated: October 30, 2018:
    22
    23
    24                                                        By:/s/Thomas Neusom
                                                              Attorney For Debtor
    25                                                        Bar No. 003717
                                                              (954)200-3536
    26                                                        4737 N. Ocean Drive, #129
    27                                                        Fort Lauderdale, FL 33308
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Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 634 of
                                      645




                                                              Email: tgnoffice35@gmail.com
     1
     2
                                     CERTIFICATE OF SERVICE
     3
     4   I HEREBY CERTIFY that a true and correct copy of the foregoing COUNSEL’S MOTION
         FOR RECUSAL OF JUDGE A. JAY CRISTOL AND REQUEST FOR STAY
     5    was furnished by email to the following on October 30, 2018, to the parties on the efiling portal
         service list by email.
     6
     7
     8
                                                              By:/s/Thomas Neusom
     9                                                        Attorney For Debtor
    10                                                        Bar No. 0037174
                                                              Phone; (954)200-3536
    11                                                        4737 N. Ocean Drive, #129
                                                              Fort Lauderdale, FL 33308
    12                                                        Email: tgnoffice35@gmail.com
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       Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 635 of
                                             645




           ORDERED in the Southern District of Florida on October 31, 2018.




                                                                 A. Jay Cristol, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                Case No. 18-15825-BKC-AJC

          NUBIA PEREZ,

                Debtors.
          __________________________________/

                             ORDER DENYING SECOND MOTION FOR RECUSAL

                   THIS MATTER came before the Court upon Counsel’s Motion for Recusal of Judge A. Jay

          Cristol and Request for Stay, filed October 30, 2018 (ECF 111). This is the second such motion

          filed in this case. On October 18, 2018, the Court previously denied the first motion to recuse. It

          appears from the record that a notice of appeal has been filed with regard to that Order.

          Notwithstanding the prior denial of recusal and the pending appeal, this second motion to recuse was

          filed.

                   Upon review of this second motion, the Court finds no new issues of law or fact presented,
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 636 of
                                      645



   which the Court did not previously consider when entering its first Order denying recusal. As the

   Court stated in its first Order denying recusal, a bankruptcy judge has a duty to disqualify himself

   when his impartiality might reasonably be questioned. However, the motion in this case is wholly

   insufficient as it states no grounds on which this Court should consider disqualifying itself.

          Movant asserts this Court should recuse itself “due to being disqualified due to being sued

   by attorney Thomas Neusom. The case number of the suit against Judge A. Jay Cristol is

   1:18CV24517.” This Court has not been served in that case and knows nothing of the allegations

   therein.

          To disqualify a judge, one must allege bias derived from an extra-judicial source. U.S. v.

   Grinnell, 384 U.S. 563, 583, 86 S.Ct. 1698, 1710, 16 L.Ed.2d 778 (1966). “The nature of the judge's

   bias must be personal and not judicial.” In re Beard, 811 F.2d 818, 827 (4 Cir. 1987). The Debtor

   has alleged no factual basis for doubting the Court's impartiality, and there is no basis alleged to

   demonstrate the Court harbors any extra-judicial personal prejudice or bias.

          The Court holds no prejudice towards Debtor or her attorney. This is not a matter of

   prejudgment, but rather Attorney Neusom is not pleased with the findings, judgment and

   adjudications regarding sanctions imposed against him in this case, as more particularly described

   in this Court’s Findings of Fact and Conclusions of Law on Brian and Andrea Holland’s Motion for

   Sanctions under Bankruptcy Rule 9011 and 11 U.S.C. § 105 (ECF 91).

          This Court having no personal bias or prejudice with respect to Attorney Neusom or the

   Debtor that would warrant recusal or disqualification, it is

          ORDERED AND ADJUDGED that Counsel’s Motion for Recusal of Judge A. Jay Cristol

   and Request for Stay, filed October 30, 2018 (ECF 111) is DENIED.

                                                   ###
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 637 of
                                      645



   Copies furnished to:

   Thomas Neusom, Esq.
   Peter Russin, Esq.
       Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 638 of
                                             645




           ORDERED in the Southern District of Florida on October 31, 2018.




                                                                   A. Jay Cristol, Judge
                                                                   United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                 Case No. 18-15825-BKC-AJC

          NUBIA PEREZ,

                Debtors.
          __________________________________/

                         ORDER DENYING MOTION FOR STAY PENDING APPEAL

                   THIS MATTER came before the Court upon Attorney Thomas Neusom’s Request for Stay

          During Pendency of the Appeal (ECF 112). The motion does not set forth the requisite grounds

          entitling movant to a stay. The movant has not demonstrated a likelihood of success on appeal. The

          Court is not persuaded that movant will suffer irreparable damage if a stay is not issued, while the

          opposing party will suffer no harm if the stay is issued. Lastly, the Court believes there is no public

          interest implicated by the granting or denial of a stay in this case. Accordingly, it is

                   ORDERED AND ADJUDGED that Attorney Thomas Neusom’s Request for Stay During
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 639 of
                                      645



   Pendency of the Appeal (ECF 112) is DENIED.

                                             ###

   Copies furnished to:

   Thomas Neusom, Esq.
   Peter Russin, Esq.
       Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 640 of
                                             645




            ORDERED in the Southern District of Florida on November 8, 2018.




                                                                       A. Jay Cristol, Judge
                                                                       United States Bankruptcy Court
_____________________________________________________________________________

                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                    www.flsb.uscourts.gov



          In re:                                                  Case No. 18-15825-AJC
          Nubia Marcella Perrez                                   Chapter 11
                                                                  Adversary Proceeding No.
          SSN-XXX-XX-9901                                         U.S. District Court Case No. 18-cv-24463-FAM

                        Debtor                  /



                        Plaintiff,
          vs.



                        Defendant           /


                                     ORDER DISMISSING BANKRUPTCY APPEAL

                   A Notice of Appeal was filed on 10/24/2018                   Debtor, Nubia Marcella Perez
                                                                           , by __________________________
          ____________________________________________________________________________
                                      Findings of Fact and Conclusions of Law on Brian and Andrea Holland's
          appealing an order entitled ______________________________________________________
          Motion for Sanctions Under Bankruptcy Rule 9011 and 11 U.S.C. § 105
          ____________________________________________________________________________
          ____________________________________________________________________________
          (rev. 12/01/15)
                                                         Page 1 of 2
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 641 of
                                      645




            A review of the record indicates that:
            [ ]      The appeal was filed after the time specified in Bankruptcy Rule 8002. [See also
                     Local Rule 8002-1(A).]
            [✔]      Appellant failed to timely file the designation of the items for the record or its
                     statement of the issues as required by Bankruptcy Rule 8009. [See also Local
                     Rule 8009-1(A).]
            [ ]      A “Notice of Deficiency Related to Filing an Appeal” was provided by the Clerk to
                     the appellant indicating that the filing fee required by Bankruptcy Rule
                     8003(a)(3)(c) has not been remitted and the appellant has not timely remedied
                     this deficiency. [See also Local Rule 8003-1.]


            Accordingly, it is


            ORDERED that this appeal is DISMISSED as authorized and directed by Local Rule
   87.4(c) of the U.S. District Court.
                                                      ###


   The clerk shall serve a copy of this order on all parties to the appeal and the U.S. Trustee




   (rev. 12/01/15)
                                                   Page 2 of 2
   Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 642 of
                                         645
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 2                          Date Rcvd: Nov 08, 2018
                                      Form ID: pdf004                    Total Noticed: 26


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 10, 2018.
db             +Nubia Marcella Perez,    5559 NW 36 Ave,    Miami, FL 33142-2709
cr             +Andrea Holland,    c/o Peter D. Russin, Esq.,    Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,     Miami, FL 33131-5323
cr             +Brian Holland,    c/o Peter D. Russin, Esq.,    Meland Russin & Budwick, P.A.,
                 200 South Biscayne Blvd., Suite 3200,     Miami, FL 33131-5323
cr             +Nationstar Mortgage LLC,    RAS Crane, LLC,    10700 Abbott’s Bridge Road,     Suite 170,
                 Duluth, GA 30097-8461
cr             +Newtek Small Business Finance Inc,     c/o Howard S Toland , Esq,    1200 Weston Road,     Penthouse,
                 Weston, Fl 33326-1987
cr             +Valley National Bank,    c/o Mitrani, Rynor, Adamsky & Toland PA,     1200 weston road,     PH,
                 Weston, FL 33326,     UNITED STATES 33326-1987
94532777        Actega North America Inc,    26537 Network Place,     Chicago, IL 60673-1265
94532757       +Brian Holland,    13105 NW Le Jeune Rd,    Opa Locka, FL 33054-4435
94532760       +Cosmo Claim 2018,    Rosenfeld Stein Batta, PA,     21490 West Dixie Hwy,
                 Aventura, FL 33180-1144
94548665       +Cosmo Films, Inc,    Coface North America Insurance Company,     650 College Road East, Suite 2005,
                 Princeton, NJ 08540-6779
94548664        Cosmos Films, Inc.,    Coface North America Insurance Company,
                 65 College Road East, Suite 2005,     Princeton, NJ 08540
94532766       +D & K International Inc,    Ryan E Sprechman,    2775 Sunny Isle Blvd #100,
                 Miami, FL 33160-4078
94532767       +Francisco Gabriel Perez Loan,     3845 Sw 149th Pl,    Miami, FL 33185-3931
94532745       +Matt D Goldman Trust,    Account,    7190 SW 100 St,    Miami, FL 33156-3069
94568012       +NATIONSTAR MORTGAGE LLC D/B/A,     MR. COOPER,   ATTN: BANKRUPTCY DEPT,     PO BOX 619096,
                 DALLAS, TX 75261-9096
94532785        Noelus LLC,    POB 639027,   Cincinnati, OH 45263-9027
94532765       +Nubia Perez Loans,    5559 NW 36th Ave,    Miami, FL 33142-2709
94535811       +SANTANDER CONSUMER USA,    P.O. Box 560284,    Dallas, TX 75356-0284
94532778        Santander Consumer USA,    POB 660633,    Dallas, TX 75266-0633
94532780       +Transilwrap Company Inc,    9201 W Belmont Ave,     Franklin Park, IL 60131-2842
94532744       +Valley National Bank -2625,    Newtex Small Business,     Finance, LLC,   POB 2006,
                 Hicksville, NY 11802-2006
94532746        Valley National Bank Loan,    2198 Small Street,     POB 952,   Wayne, NJ 07474-0952
94532784       +Vencol,   8209 NW 70th St,    Miami, FL 33166-2743

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
94532779        E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Nov 09 2018 01:13:31     Capital One Bank,
                 POB 71083,   Charlotte, NC 28272-1083
94564786        E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Nov 09 2018 01:13:58
                 Capital One Bank (USA), N.A.,   PO Box 71083,   Charlotte, NC 28272-1083
94557767        E-mail/Text: cio.bncmail@irs.gov Nov 09 2018 01:09:48     Internal Revenue Service,
                 Centralized Insolvency Operation,   P.O. Box 7346,   Philadelphia, PA 19101-7346
                                                                                            TOTAL: 3

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
94532761*         Internal Revenue Service,    POB 80110,    Cincinnati, OH 45280-0110
94532762       ##+Distrigraph Inc,   Gabriel Fernandez,     5248 SW 93rd Ave,   Cooper City, FL 33328-4225
94532759       ##+Miami-Dade County Tax,    Collector,    140 West Flagler St,   14th Floor,   Miami, FL 33130-1561
94532758       ##+Universal Pressroom,   Productsa LLC,     POB 1697,   Woodstock, GA 30188-1366
                                                                                                 TOTALS: 0, * 1, ## 3

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 10, 2018                                             Signature: /s/Joseph Speetjens
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                                          645


District/off: 113C-1          User: snipesj               Page 2 of 2                  Date Rcvd: Nov 08, 2018
                              Form ID: pdf004             Total Noticed: 26

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 8, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
                                                                                             TOTAL: 10
    Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 644 of
                                          645




            ORDERED in the Southern District of Florida on November 8, 2018.




                                                                       A. Jay Cristol, Judge
                                                                       United States Bankruptcy Court
_____________________________________________________________________________

                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                    www.flsb.uscourts.gov



          In re:                                                  Case No. 18-15825-AJC
          Nubia Marcella Perrez                                   Chapter 11
                                                                  Adversary Proceeding No.
          SSN-XXX-XX-9901                                         U.S. District Court Case No. 18-cv-24463-FAM

                        Debtor                  /



                        Plaintiff,
          vs.



                        Defendant           /


                                     ORDER DISMISSING BANKRUPTCY APPEAL

                   A Notice of Appeal was filed on 10/24/2018                   Debtor, Nubia Marcella Perez
                                                                           , by __________________________
          ____________________________________________________________________________
                                      Findings of Fact and Conclusions of Law on Brian and Andrea Holland's
          appealing an order entitled ______________________________________________________
          Motion for Sanctions Under Bankruptcy Rule 9011 and 11 U.S.C. § 105
          ____________________________________________________________________________
          ____________________________________________________________________________
          (rev. 12/01/15)
                                                         Page 1 of 2
Case 1:18-cv-24463-FAM Document 12-1 Entered on FLSD Docket 01/11/2019 Page 645 of
                                      645



               A review of the record indicates that:
               [ ]      The appeal was filed after the time specified in Bankruptcy Rule 8002. [See also
                        Local Rule 8002-1(A).]
               [✔]      Appellant failed to timely file the designation of the items for the record or its
                        statement of the issues as required by Bankruptcy Rule 8009. [See also Local
                        Rule 8009-1(A).]
               [ ]      A “Notice of Deficiency Related to Filing an Appeal” was provided by the Clerk to
                        the appellant indicating that the filing fee required by Bankruptcy Rule
                        8003(a)(3)(c) has not been remitted and the appellant has not timely remedied
                        this deficiency. [See also Local Rule 8003-1.]


               Accordingly, it is


               ORDERED that this appeal is DISMISSED as authorized and directed by Local Rule
      87.4(c) of the U.S. District Court.
                                                         ###


      The clerk shall serve a copy of this order on all parties to the appeal and the U.S. Trustee




      (rev. 12/01/15)
                                                      Page 2 of 2
